Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 1 of 971




           Exhibit A




                              APP1
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 2 of 971




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

     SMARTMATIC USA CORP. ,                       )
  SMARTMA TIC HOLDING B.V., AND                   )
    SGO CORPORATION LIMITED,                      )
                                                  )
                  Plaintiffs,                     )
                                                          Civil Action No. 1:2 l-cv-02900-CJN
                      V.                          )
                                                  )
   HERRING NETWORKS. IN ., D/B/A                  )
   ONE AMERICA NEWS NETWOR K,                     )
                                                  )
                  Defendant.                      )

            DECLARATION OF KEVIN KUNEC IN SUPPORT OF
  OAN'S MOTION FOR PARTIAL SUMMARY JUDGMENT ON ACTUAL MALICE

I, Kevin Kunec, declare as follows:

        l.     My name is Kevin Kunec . I am over the age of twenty-one years, am of sound mind

and am otherwise fully competent to testi fy. All of the facts contained in this Declaration are based

upon my personal knowledge, unless stated otherwise, and are true and correct; and if called as a

witness, I could and would testify as follows.

        2.     I am making this declaration in support of OAN's Motion for Partial Summary

Judgment on Actual Malice ("Motion").

        3.     I am a paralegal at Jackson Walker LLP assisting in the representation of Defendant

Herring Networks, Inc. dba One America News Network ("OAN'') in the above captioned matter.

In that capacity, I submitted video footage to Dickman Davenport, Inc., a multimedia court

reporting company located at 4228 N. Central Expressway, Suite 101. Dallas. Texas 75206

"Dickman Davenport"), of the broadcasts that Plaintiffs allege are defamatory in their Complaint.

        4.     I have read and am familiar with the Complaint dated November 3, 2021 fil ed by

the Plaintiffs against OAN in this lawsuit (the "Complaint").




38316679v.12




                                            APP2
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 3 of 971




         5.     r have viewed and am familiar with the video of the complained of segment of the
November 12, 2020, OAN broadcast of Aper Hours with Alex Salvi, complained of in paragraphs

171(a), 184(a), and 227(a) of the Complaint (the " 11/12/2020 Video''). r provided the 11/12/2020

Video to Dickman Davenport in order to create a certified transcript of the audio contained in the

11/12/2020 Video. Attached hereto as Exhibit I is a true and correct copy of the certified transcript

of the 11/12/2020 Video that I received from Dickman Davenport.

         6.     I have viewed and am familiar with the video of the complained of segment of the

November 16, 2020, OAN broadcast of Tipping Point with Kara McKinney, complained of in

paragraphs 17l(c), 184(d)(e), 196(c)(d), and 227(c) of the Complaint (the "11/16/2020 Tipping

Point Video"). I provided the 11/16/2020 Tipping Point Video to Dickman Davenport in order to

create a certified transcript of the audio contained in the l l /16/2020 Tipping Point Video. Attached

hereto as Exhibit 2 is a true and correct copy of the certified transcript of the l l/ 16/2020 Tipping

Point Video that I received from Dickman Davenport.

         7.     I have viewed and am familiar with the video of the complained of segment of the

November 17, 2020, OAN broadcast of Tipping Point with Kara McKinney , complained of in

paragraphs 17 1(e), l 84(i)U), 196(t), 204(a). 218(d), and 227(t) of the Complaint (the '' 11 / 17/2020

Tipping Point Video"). I provided the 11/l 7/2020 Tipping Point Video to Dickman Davenport in

order to create a certified transcript of the audio contained in the 11 / 17/2020 Tipping Point Video.

Attached hereto as Exhibit 3 is a true and correct copy of the certified transcript of the 11 / 17/2020

Tipping Point Video that l received from Dickman Davenport.

         8.     I have viewed and am familiar with the video of the complained of segment of the

November 19, 2020, OAN broadcast of Real America with Dan Ball, complained of in paragraphs

171(i), 184(1), 205(b), and 227(g)(h) of the Complaint (the ''11/19/2020 Real America Video"). I




38 316679v.12




                                             APP3
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 4 of 971




provided the 11/19/2020 Real America Video to Dickman Davenport in order to create a certified

transcript of the audio contained in the 11/19/2020 Real America Video. Attached hereto as Exhibit

4 is a true and correct copy of the certified transcript of the 11/19/2020 Real America Video that l

received from Dickman Davenport.

        9.     I have viewed and am familiar with a video produced to OAN by the Plaintiffs in

this litigation that Plaintiffs claim was a broadcast by OAN at 6 AM ET on November 20. 2020.

as alleged in paragraphs 17l(n) and 227(k) of the Complaint (the "11/20/2020 6AM Video''). I

provided the 11/20/2020 6AM Video to Dickman Davenport in order to create a certified transcript

of the audio contained in the l l /20/2020 6AM Video. Attached hereto as Exhibit 5 is a true and

correct copy of the certified transcript of the 11 /20/2020 6AM Video that I received from Dickman

Davenport.

        l 0.   I have viewed and am familiar with a video produced to OAN by the Plaintiffs in

this litigation that Plaintiffs claim was a broadcast by OAN at 3 PM ET on November 20. 2020,

as alleged in paragraphs 171(0), 184(p), and 227(1) of the Complaint (the "11/20/2020 3 PM

Video''). I provided the 11/20/2020 3 PM Video to Dickman Davenport in order to create a

certified transcript of the audio contained in the l I /20/2020 3 PM Video. Attached hereto as

Exhibit 6 is a true and correct copy of the certified transcript of the I 1/20/2020 3 PM Video that I

received from Dickman Davenport.

        1 I.   I have viewed and am familiar with the video of the complained of segment of the

November 20, 2020, OAN broadcast of In Focus with Stephanie Hamill, complained of in

paragraphs l 71(p), 184(q), 196G), 205(c)(d)(e), and 227(m) (the "1 1/20/2020 In Focus Video"). I

provided the I 1/20/2020 In Focus Video to Dickman Davenport in order to create a certified

transcript of the audio contained in the I 1/20/2020 In Focus Video. Attached hereto as Exhibit 7




38316679v.12




                                            APP4
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 5 of 971




is a true and correct copy of the certified transcript of the I I /20/2020 In Focus Video t hat I received

from Dickman Davenport.

          12.     I have viewed and am familiar with the video of the complained of segment of the

November 20, 2020, OAN broadcast of Tipping Point with Kara "lvfcKinney, complained of in

paragraph 176(c) of the Complaint (the '' 11 /20/2020 Tipping Point Video''). I provided the

11/20/2020 Tipping Point Video to Dickman Davenport in order to create a certified transcript of

the audio contained in the 11/20/2020 Tipping Point Video. Attached hereto as Exhibit 8 is a true

and correct copy of the certified transcript of the 11/20/2020 Tipping Point Video that I received

from Dickman Davenport.

          13.     I have viewed and am familiar with the video of the complained of segment of the

November 18, 2020, OAN broadcast of Tipping Point with Kara McKinney, complained of in

paragraphs l 7l(q), 205(f)(g), and 218(1) of the Complaint (the ''11/18/2020 Tipping Point Video'').

In their Complaint, Plaintiffs erroneously state that it aired on November 22, 2020. I provided the

11/18/2020 Tipping Point Video to Dickman Davenport in order to create a certified transcript of

the audio contained in the 11/18/2020 Tipping Point Video. Attached hereto as Exhibit 9 is a true

and correct copy of the certified transcript of the 11/18/2020 Tipping Point Video that I received

from Dickman Davenport.

          14.     I have viewed and am familiar with the video of the complained of segment of the

November 23, 2020, OAN broadcast of Tipping Point with Kara Mc Kinney, complained of in

paragraphs 17l(s), l 84(t), 218(p)(q), and 227(n) of the Complaint (the '' 11 /23/2020 Tipping Point

Video"). I provided the 11/23/2020 T ipp ing Point Video to Dickman Davenport in order to create

a certified transcript of the audio contained in the 11 /23/2020 Tipping Point Video . Attached hereto




383 I 66 79v.12




                                              APP5
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 6 of 971




as Exhibit 10 is a true and correct copy of the certified transcript of the l l /23/2020 Tipping Point

 Video that I received from Dickman Davenport.

         15.    I have viewed and am familiar with the video of the complained of segment of the

November 27 2020, OAN broadcast of Tipping Point with Kara McKinney, complained of in

 paragraphs 171 (x), l 96(n). 218(t), and 227(r) of the Complaint (the ·' l l/27 /2020 Tipping Point

 Video"). In the Complaint, Plaintiffs erroneously state that it aired on November 28. 2020. I

 provided the l l/27 /2020 Tipping Point Video to Dickman Davenport in order to create a certified

transcript of the audio contained in the 11/27/2020 Tipping Point Video. Attached hereto as Exhibit

 11 is a true and correct copy of the certified transcript of the 1 l /27/2020 Tipping Point Video that

 I received from Dickman Davenport.

         16.    I have viewed and am familiar with the video of the complained of segment of the

December 1, 2020 , OAN broadcast of Tipping Point with Kara McKinney, complained of in

 paragraphs 17 l(z), 196(0), and 2 l 8(v) of the Complaint (the ·' 12/01 /2020 Tipping Point Video"). I

 provided the 12/01/2020 Tipping Point Video to Dickman Davenport in order to create a certified

transcript of the audio contained in the 12/0 I /2020 Tippi ng Point Video. Attached hereto as Ex hibit

 12 is a true and correct copy of the certified transcript of the 12/0 1/2020 Tipping Point Video that

I received from Dickman Davenport.

         17.    I have viewed and am familiar with the video of the complained of segment of the

 December 3, 2020, OAN broadcast of In Focus with Stephanie Hamill, complained of in

 paragraphs 171(aa), 218(w). and 227(s) of the Complaint (the "1 2/03/2020 In Focus Video"). I

 provided the 12/03/2020 In Focus Video to Dickman Davenport in order to create a certified

transcript of the audio contained in the 12/03/2020 In Focus Video. Attached hereto as Exhibit 13




 38316679v.12




                                             APP6
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 7 of 971




is a true and correct copy of the certified transcript of the 12/03/2020 In Focus Video that I received

from Dickman Davenport.

        18.    I have viewed and am familiar with the video of the complained of segment of the

December 7, 2020, OAN broadcast of Tipping Point with Kara McKinney, complained of in

paragraphs 17l (ff), 184(y), 205(k), and 227(v) of the Complaint (the "12/07/2020 Video"). I

provided the 12/07/2020 Video to Dickman Davenport in order to create a certified transcript of

the audio contained in the 12/07/2020 Video. Attached hereto as Exhibit 14 is a true and correct

copy of the certified transcript of the 12/07/2020 Video that I received from Dickman Davenport.

        19.    I have viewed and am familiar with the video of the complained of February 5,

2021 , OAN broadcast of an interview of Michael Lindell, complained of in paragraphs 158-159,

171 (ii), and 205(n) of the Complaint (the "02/05/2021 Lindell Video"). In the Complaint, Plaintiffs

erroneously state that it aired on February 8, 2021. I pro ided the 02/05/2020 Lindell Video to

Dickman Davenport in order to create a certified transcript of the audio contained in the

02/05/2020 Lindell Video. Attached hereto as Exhibit 15 is a true and correct copy of the certified

transcript of the 02/05/2020 Lindell Video that I received from Dickman Davenport.

        20.    I have viewed and am familiar with the video of the complained of February 5,

2021, airing of a Michael Lindell broadcast, Absolute Proof, complained of in paragraphs 171 (hh),

184(aa) and l 96(s)-(x) of the Complaint (the "02/05/2021 Absolute Proof Video''). I provided the

02/05/2020 Absolute Proof Video to Dickman Davenport in order to create a certified transcript

of the audio contained in the 02/05/2020 Absolute Proof Video. Attached hereto as Exhibit 16 is a

true and correct copy of the certified transcript of the 02/05/2020 Absolute Proof Video that I

received from Dickman Davenport.




38316679v.12




                                             APP7
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 8 of 971




        21.     I have viewed and am familiar with the video of the complained of segment of the

February 11 , 2021 , OAN broadcast of an interview of Michael Lindell by Steve Bannon,

complained of in paragraphs 1710j), 184(dd), and l 96(y) of the Complaint (the "02/ 11/2021 Steve

Bannon Video"). I provided the 02/l l /2021 Steve Bannon Video to Dickman Davenport in order

to create a certified transcript of the audio contained in the 02/ 11 /2021 Steve Bannon Video.

Attached hereto as Exhibit 17 is a true and correct copy of the certified transcript of the 02/ l l /2021

Steve Bannon Video that I received from Dickman Davenport.

        22.     I have viewed and am familiar with the video of the complained of April 3-4, 2021,

airing of a Michael Lindell broadcast, Scient[fic Proof, complained of in paragraphs 162, 163,

17l(kk), 184(ee). 184(ff), 196(z)-(bb), and 205(0) of the Complaint (the ""04/03-04/2021 Video").

I provided the 04/03-04/2021 Video to Dickman Davenport in order to create a certified transc ript

of the audio contained in the 04/03-04/2021 Video. Attached hereto as Exhibit 18 is a true and

correct copy of the certified transcript of the 04/03-04/202 1 Video that I received from Dickman

Davenport.

        23.     I have viewed and am familiar with the video of the complained of April 22, 2021 .

airing of a Michael Lindell broadcast, Absolute Interference, complained of in paragraphs 164,

165, 171(ll), and 196(cc) of the Complaint (the "04/22/2021 Video'') . I provided the 04/22/2021

Video to Dickman Davenport in order to create a certified transcript of the audio contained in the

04/22/2021 Video. Attached hereto as Exhibit 19 is a true and correct copy of the certified

transcript of the 04/22/2021 Video that I received from Dickman Davenport.

        24.     I have viewed and am familiar with the video of the complained of May 3, 2021,

OAN broadcast of an interview of Michael Lindell by Pearson Sharp, complained of in paragraphs

166, 171 (mm), 184(gg), and 196(dd) of the Complaint (the "05/03/2021 Video''). I provided the




38316679v.12




                                              APP8
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 9 of 971




05/03/2021 Video to Dickman Davenport in order to create a certified transcript of the audio

contained in the 05/03/2021 Video. Attached hereto as Exhi bit 20 is a true and correct copy of the

certified transcript of the 05/03/2021 Video that I received from Dickman Davenport.

        25.    I have viewed and am familiar with the video of the complained of June 5-6, 2021,

airing of a Michael Lindell broadcast, Absolutely 9-0, complained of in paragraphs 167, 168,

171 (nn), l 84(hh), 196(ee), and 205(p)-(r) of the Complaint (the "06/05-06/2021 Video"). I

provided the 06/05-06/2021 Video to Dickman Davenport in order to create a certified transcript

of the audio contained in the 06/05-06/2021 Video. Attached hereto as Exhibit 22 is a true and

correct copy of the certified transcript of the 06/05-06/2021 Video that I received from Dickman

Davenport.


        I declare under penalty of perjury that the foregoing is true and correct.

Executed on December    1 , 2023.




38316679v.12




                                            APP9
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 10 of 971




        Exhibit A-1




                             APP10
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 11 of 971

                                                                           1
                        Alex Salvi - November 12, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11   CERTIFIED TRANSCRIPTION OF
12       NOVEMBER 12, 2020
13   AFTER HOURS WITH ALEX SALVI
14

15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP11
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 12 of 971

                                                                           2
                        Alex Salvi - November 12, 2020


 1                   (Recording begins.)
 2                   MR. SALVI:     The Trump campaign is
 3   exhausting its remaining resources, utilizing recounts,
 4   lawsuits and allegations of voter fraud to keep the
 5   re-election efforts alive.        At the center of that latter
 6   argument today are concerns about the voting machine
 7   company known as Dominion.        It's a Canadian company with
 8   its headquarters in Denver, although much of the
 9   manufacturing is done in China, where it makes software
10   that local governments use to run their elections here
11   in the U.S.
12                   The New York Times reporting on Wednesday,
13   quote, Dominion voting systems, which makes software
14   that local governments around the nation use to help run
15   their elections, is now at the center of baseless claims
16   that software glitches led to mistakes and vote tallies
17   in Michigan and Georgia last week.          This article goes on
18   to list several examples of the voting system being at
19   the center of controversy, specifically in Michigan and
20   Georgia.
21                   So in regard to Michigan, quote, in the two
22   Michigan counties that had -- had mistake s, the
23   inaccuracies were because of human errors, not software
24   problems, according to the Michigan Department of State,
25   county officials and election security experts.             Only




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP12
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 13 of 971

                                                                           3
                        Alex Salvi - November 12, 2020


 1   one of the two Michigan counties used Dominion software.
 2                   And then in regard to Georgia, quote,
 3   Issues in three Georgia counties had other explanations.
 4   In one county, an apparent problem with Dominion
 5   software delayed officials' reporting of the vote
 6   tallies, but did not affect the actual vote count.              In
 7   two other counties, a separate company software slowed
 8   poll workers' ability to check in voters.
 9                   So many of you may be familiar with these
10   types of machines.      They're used in 28 states all across
11   the country, serving over 40 percent of U.S. voters.
12                   UNIDENTIFIED SPEAKER:        The system requires
13   voters to select candidates on a computer screen.              The
14   machine would print a paper ballot showing the voters'
15   choices, stamped with a QR code.         The voter would put
16   the ballot in a scanner which would scan the QR code.
17   Critics say the scanner would also encode a time stamp,
18   indicating the time of day the vote was cast.
19                   MR. SALVI:     So simple enough.       But the sign
20   of confidence from the New York Times, it may help some
21   of you sleep at night, but it also ignores years' worth
22   of alarms being raise raised about these systems.
23   Professor Andrew Appel, a computer scientist at
24   Princeton University has been raising the alarms about
25   Dominion voting systems for years.          In fact, back in




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP13
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 14 of 971

                                                                           4
                        Alex Salvi - November 12, 2020


 1   2008, he was asked to hack into one of those machines as
 2   part of an election lawsuit against officials in the
 3   state of New Jersey.
 4                   UNIDENTIFIED SPEAKER:        He says it could
 5   happen by simply swapping the machine's computer chip
 6   for his own.
 7                   PROFESSOR APPEL:       And I'll just have to
 8   replace this one chip with a fraudulent computer
 9   program.
10                   UNIDENTIFIED SPEAKER:        He was able to
11   change the votes the machine counted.
12                   PROFESSOR APPEL:       I figured out how to make
13   a slightly different computer program that just before
14   the close of the polls, it shifts some votes around from
15   one candidate to another.       And I wrote that computer
16   program onto a memory chip like this, and now to hack a
17   voting machine, you have to get seven minutes alone with
18   it with a screwdriver.
19                   MR. SALVI:     I understand, a lot has changed
20   since 2008, but the allegations against Dominion voting
21   did not stop them.      The Washington Examiner reporting
22   this week, quote, The Dominion voting systems which has
23   been used in multiple states where fraud has been
24   alleged in the 2020 U.S. election was rejected three
25   times by data communications experts from the Texas




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP14
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 15 of 971

                                                                           5
                        Alex Salvi - November 12, 2020


1    Secretary of State and Attorney General's Office for
2    failing to meet basic security standards.             But it's not
3    only Dominion.      It's also Dominion's subsidiaries, such
4    as Smartmatic, which was used for the Philippine
5    elections back in 2010 and 2013.
6                     The Washington Examiner reporting, quote,
7    Litigation over Smartmatic glitches alleges they
8    impacted the 2010 and 2013 midterm elections in the
9    Philippines, raising questions of cheating and fraud.
10   An independent review of the source codes used in the
11   machines found multiple problems, which concluded the
12   software inventory provided by Smartmatic is inadequate,
13   which brings into question the software credibility.
14                    So when you understand all of this, you
15   begin to realize why Republicans were concerned when
16   they learned this happened in Michigan.
17                    MICHIGAN GOP CHAIR:        In Antrim County,
18   ballots were counted for Democrats that were meant for
19   Republicans, causing a 6,000-vote swing against our
20   candidates.    The county clerk came forward and said
21   tabulating software glitched and caused a miscalculation
22   of the votes.      Since then, we have now discovered that
23   47 counties used this same software in the same
24   capacity.
25                    MR. SALVI:     Now, to be clear, at this




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP15
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 16 of 971

                                                                           6
                        Alex Salvi - November 12, 2020


 1   point, we don't have any independent evidence that any
 2   additional votes have been affected by these voting
 3   systems or that the results were tainted in any way by
 4   large-scale voter fraud.       But that doesn't mean that
 5   people should be shamed for asking because it's not out
 6   of the realm of possibility, and you don't have to take
 7   my word for it.
 8                   Remember Professor Appel, the Princeton
 9   professor from earlier, who's probably smarter than me,
10   he's been speaking out on these systems as recently as
11   last year.
12                   PROFESSOR APPEL:       If the machine is hacked,
13   then they can install software that marks votes on the
14   ballot after the voter last saw it.          And if the piece of
15   paper can be marked by the computer after the last time
16   the voter saw it, then the whole paper trail is
17   compromised.
18                   MR. SALVI:     Joining us now for updates on
19   the legal fight that may be ahead is Harmeet Dhillon,
20   the co-chair of the Republican National Lawyer's
21   Association and the CEO and founder of the Center for
22   American Liberty.      So, Harmeet, I'm really glad to have
23   you on the program tonight because we know that today,
24   there are some developments in favor of the Trump
25   campaign coming in the state of Pennsylvania as well.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP16
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 17 of 971

                                                                           7
                        Alex Salvi - November 12, 2020


 1                   But I want to get your input on the legal
 2   battle in general.      Do you believe that there is a
 3   strong case so far?
 4                   MS. DHILLON:      Yes.   There is a strong case,
 5   but a lot of people have kind of dumbed this down to
 6   just being fraud, and I don't think that that's --
 7   that's a way to win this election, quite frankly.              I
 8   think some of the big pieces are whether ballots were
 9   counted that shouldn't have been counted, and this may
10   have happened in multiple states where the law says
11   ballots have to be received by a certain date or they
12   have to have a date and a signature and an address on
13   them, or they have to have a secrecy envelope.             And some
14   of those things are not there.
15                   Other instances that could make a
16   difference in the outcome of the election is whether
17   ballots have to be recounted, where they weren't
18   witnessed by Republican volunteers.
19                   And finally, you have Georgia where they're
20   doing an automatic recount, an audit, and it -- and it's
21   by hand, using hand record, paper records.            So these are
22   the types of things that, taken together, could be
23   enough to make a difference in the outcome.            It is an
24   uphill battle to change multiple states, so those are
25   some of the challenges.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP17
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 18 of 971

                                                                           8
                        Alex Salvi - November 12, 2020


 1                    MR. SALVI:     And in fact, we're hearing from
 2   Republican state senators in Michigan too that they're
 3   also looking for a recount in that state.            But the
 4   development, when it comes to Pennsylvania, I think
 5   you're right to say that it doesn't necessarily have to
 6   do with fraud, but it has to do with some of these
 7   ballots coming in after the allotted time period, the
 8   deadline that was created and whether or not state
 9   executives have the power to make those kind of
10   deadlines because the constitution is pretty clear that
11   it's state legislatures that really have that power to
12   do so.
13                    So when we look ahead to possible
14   litigation brought forth by the Trump campaign, what do
15   they to prove?     It's not, as you were saying,
16   necessarily, bringing in widespread voter fraud
17   evidence, but more so looking at the law as it's
18   written, correct?
19                    MS. DHILLON:     That's right.      And the
20   Supreme Court has repeatedly ruled on this issue of the
21   elections and the elector's clause in the United States
22   Constitution, which in turn provides that only state
23   legislatures make the time, place and manner regulations
24   in our voting.
25                    And earlier this year, our governor in




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP18
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 19 of 971

                                                                           9
                        Alex Salvi - November 12, 2020


1    California attempted to unilaterally impose a change in
2    our voting laws, and we sued them, Republican National
3    Committee and our Republican lawyers sued them, and the
4    governor then went to the legislature to pass the same
5    regulations that he wanted.         And that's the correct way
6    to do it, although I disagree with the regulations.
7                     But in Pennsylvania, where there is a
8    Republican legislature and they refuse to extend the
9    deadline to receive the ballots to three days or more
10   after the election, the Secretary of State, who dislikes
11   the president, went ahead and did that on her own, and
12   then she got that certified by the Pennsylvania Supreme
13   Court.   That's the case before the United States Supreme
14   Court.
15                    And today's ruling that you mentioned
16   doesn't have to do with that issue, but it has to do
17   with a separate issue that the attorney -- that the
18   Secretary of State imposed on the state, and that is
19   that she attempted to extend the deadline by which
20   first-time voters must provide the state with voter ID.
21   That is, by statute, six days, which seems to be plenty
22   of time, right, that voting is a precious right and
23   people should treat it seriously to nine days.               And
24   that's what the Court today struck down, says she
25   doesn't have the authority to do that.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP19
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 20 of 971

                                                                           10
                        Alex Salvi - November 12, 2020


1                     MR. SALVI:     And I believe that's referred
2    to as curing the ballots, where they submitted the
3    ballot and they do have a time period where they can go
4    back and make the proper changes if need be.              But as we
5    were saying, it's not necessarily the job of an
6    executive official in a state to unilaterally extend
7    that time period.
8                     But I do want to touch on that first case
9    as well because Justice Samuel Alito, he did give the
10   Trump campaign another victory in a sort earlier this
11   week when he said that ballots that arrived after the
12   deadlines, they can still be counted, but they have to
13   be done so separately.        And now is the reason for that
14   because this could end up before the Supreme Court, and
15   in case there is any sort of remedy, they want to make
16   sure that these ballots aren't tainted in the sense that
17   they're all put together and you can't necessarily
18   differentiate between the two types?
19                    MS. DHILLON:      That is the issue.        Now, the
20   problem is that the Supreme Court already ordered that
21   before the election.       And, yet, a few days later when
22   these parties went back to court, the -- the Secretary
23   of State of Pennsylvania and the Trump side were unable
24   to tell the Court that, indeed, that segregation had
25   occurred, the -- because the counties in the state said




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP20
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 21 of 971

                                                                           11
                           Alex Salvi - November 12, 2020


1    they were unable to give that assurance.               So that's very
2    troubling.
3                      So in fact, there may not have been a
4    segregation occurring before that second order by -- by
5    Justice Alito.         So what does that mean?      Well, in
6    addition to the fact that there are 600,000 ballots that
7    apparently were not witnessed at all in Pennsylvania,
8    that could suggest a need for a recount.               Under
9    Pennsylvania law, the state is supposed to keep the
10   envelopes and supposed to have a date stamp on each
11   ballot or envelope what -- what day they received it.
12   So even though they didn't segregate them, those paper
13   records are supposed to be there.           Are they?     We shall
14   see.
15                     MR. SALVI:      And I think that is actually a
16   very important "maybe" because, for example, I'm trying
17   to think this out logically.            And if these ballots were
18   counted in their totality, for example, and the Supreme
19   Court eventually does take up a case and say, you know
20   what, anything that did arrive after this deadline
21   should not be counted because that's against the law as
22   it's written, we know that there are now conservative
23   text rules on the Supreme Court as well.
24                     So say, for example, that the state of
25   Pennsylvania did combine these ballots and they counted




                              Dickman Davenport, Inc
            214.855.5100     www.dickmandavenport.com    800.445.9548

                                     APP21
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 22 of 971

                                                                           12
                        Alex Salvi - November 12, 2020


1    them all, but now the Supreme Court rules, for example,
2    and says, you know what, anything that arrives after the
3    deadline can't be counted, but we don't really
4    necessarily have a way to differentiate between those,
5    what then happens?      Would it be an ask for a totally new
6    election?    Would it be asking for certain votes to be
7    counted in a different way?         Then what happens?
8                     MS. DHILLON:      Well, it's very interesting.
9    It's somewhat unprecedented, but you may recall that
10   there was a ballot harvesting scandal in the 2018
11   election in a neighboring nearby state of North Carolina
12   where I grew up and there was -- now where it's illegal.
13   And indeed, the Republican candidate staffer was accused
14   of -- of doing that.       And, you know, ultimately, a new
15   election was called as a remedy.
16                    And so, obviously, we don't want that,
17   but -- and I don't want to assume that the records
18   aren't there, necessarily, okay, but we -- you know, if
19   the records are there, we ought to be able to unscramble
20   that egg, as it were, and there should be a recount
21   anyway based on the fact that Republicans weren't
22   allowed to observe that.
23                    But, you know, bottom line, elections are
24   about numbers, right?       So right now, there's a
25   50,000-vote spread putatively between the two sides in




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP22
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 23 of 971

                                                                              13
                        Alex Salvi - November 12, 2020


 1   Pennsylvania.    The Secretary of State of Pennsylvania
 2   has come out and said it's about 10,000 or so ballots
 3   that were received after -- though I don't know how she
 4   can say that when she told the Supreme Court she's not
 5   sure how -- you know, whether those ballots are being
 6   segregated or not.
 7                   But if it is 10,000, you know, that's out
 8   of 40,000, so you have to find another way to glo- --
 9   close that gap, and there are places to do that.             The
10   places to do that include Philadelphia counting a number
11   of ballots, that according to state law are incomplete.
12   They don't have the date, they don't have the address,
13   they don't have the signature, necessarily, and they
14   don't have that secrecy envelope.         One of those
15   problems, those should not have been counted, okay?
16                   And then there's other counties that have
17   just simply voted in their local election boards to
18   ignore state law that requires ballots to be dated.                And
19   those are important laws and they are there for a
20   reason.   And so if you add up all of these
21   irregularities and you do a recount, it is possible to
22   make up that vote difference, but there are a lot of
23   "ifs" there.
24                   MR. SALVI:     Yeah.    And you know, I've heard
25   some people say this, too.        The media may have the first




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP23
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 24 of 971

                                                                           14
                        Alex Salvi - November 12, 2020


1    word when it comes to calling this election, but it
2    seems that there's no doubt that the federal courts will
3    have the last.      It seems like this is going to the
4    courts.    It's just a matter of how they end up deciding
5    on this.   So I advise everybody to just stay calm, wait
6    for these results to play out because at this point, it
7    is too close to call, as you were saying.             But Harmeet
8    Dhillon, I really appreciate you coming on the program
9    tonight, breaking down the complexities of this
10   situation.    Thank you.
11                    (Recording ends.)
12

13

14

15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP24
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 25 of 971

                                                                           15
                        Alex Salvi - November 12, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas 75206
20                               (214) 855-5100
                                 My commission expires: 7-31-25
21
22
23
24
25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP25
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 26 of 971

                                                                                            16
                        Alex Salvi - November 12, 2020

         A         assurance 11:1    capacity 5:24       company 2:7,7       Dallas 15:19
ability 3:8        attempted 9:1,19  Carolina 12:11        3:7               data 4:25
able 4:10 12:19    attorney 5:1 9:17 case 7:3,4 9:13     complexities 14:9   date 7:11,12
above-entitled     audit 7:20          10:8,15 11:19     compromised           11:10 13:12
  15:5             authority 9:25    cast 3:18             6:17              dated 13:18
accused 12:13      automatic 7:20    caused 5:21         computer 3:13       Davenport 15:17
action 15:8,10                       causing 5:19          3:23 4:5,8,13     day 3:18 11:11
                            B        center 2:5,15,19      4:15 6:15         days 9:9,21,23
actual 3:6
add 13:20          back 3:25 5:5       6:21              concerned 5:15        10:21
addition 11:6        10:4,22         Central 15:18       concerns 2:6        deadline 8:8 9:9
additional 6:2     ballot 3:14,16    CEO 6:21            concluded 5:11        9:19 11:20 12:3
address 7:12         6:14 10:3 11:11 certain 7:11 12:6   confidence 3:20     deadlines 8:10
  13:12              12:10           certified 1:11      conservative          10:12
advise 14:5        ballots 5:18 7:8    9:12 15:2,16        11:22             deciding 14:4
affect 3:6           7:11,17 8:7 9:9 certify 15:3,6,11   constitution 8:10   delayed 3:5
ahead 6:19 8:13      10:2,11,16 11:6 CHAIR 5:17            8:22              Democrats 5:18
  9:11               11:17,25 13:2,5 challenges 7:25     controversy 2:19    Denver 2:8
alarms 3:22,24       13:11,18        change 4:11 7:24    correct 8:18 9:5    Department 2:24
ALEX 1:13          based 12:21         9:1                 15:4              development 8:4
Alito 10:9 11:5    baseless 2:15     changed 4:19        counsel 15:6        developments
alive 2:5          basic 5:2         changes 10:4        count 3:6             6:24
allegations 2:4    battle 7:2,24     cheating 5:9        counted 4:11        Dhillon 6:19 7:4
  4:20             begins 2:1        check 3:8             5:18 7:9,9          8:19 10:19 12:8
alleged 4:24       believe 7:2 10:1  China 2:9             10:12 11:18,21      14:8
alleges 5:7        big 7:8           chip 4:5,8,16         11:25 12:3,7      Dickman 15:17
allotted 8:7       boards 13:17      choices 3:15          13:15             difference 7:16
allowed 12:22      bottom 12:23      claims 2:15         counties 2:22 3:1     7:23 13:22
American 6:22      breaking 14:9     clause 8:21           3:3,7 5:23        different 4:13
Andrew 3:23        bringing 8:16     clear 5:25 8:10       10:25 13:16         12:7
Antrim 5:17        brings 5:13       clerk 5:20          counting 13:10      differentiate
anyway 12:21       brought 8:14      close 4:14 13:9     country 3:11          10:18 12:4
apparent 3:4                           14:7              county 2:25 3:4     disagree 9:6
                            C
apparently 11:7                      co-chair 6:20         5:17,20           discovered 5:22
                   C 15:1,1          code 3:15,16        court 8:20 9:13     dislikes 9:10
Appel 3:23 4:7     California 9:1
  4:12 6:8,12                        codes 5:10            9:14,24 10:14     doing 7:20 12:14
                   call 14:7         combine 11:25         10:20,22,24       Dominion 2:7,13
appreciate 14:8    called 12:15
argument 2:6                         come 13:2             11:19,23 12:1       3:1,4,25 4:20
                   calling 14:1      comes 8:4 14:1        13:4                4:22 5:3
arrive 11:20       calm 14:5
arrived 10:11                        coming 6:25 8:7     courts 14:2,4       Dominion's 5:3
                   campaign 2:2        14:8              created 8:8         doubt 14:2
arrives 12:2         6:25 8:14 10:10 commission
article 2:17                                             credibility 5:13    dumbed 7:5
                   Canadian 2:7        15:20             Critics 3:17
asked 4:1          candidate 4:15    Committee 9:3       curing 10:2                  E
asking 6:5 12:6      12:13
Association 6:21                     communications                          E 15:1,1
                   candidates 3:13     4:25                     D            earlier 6:9 8:25
assume 12:17         5:20

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                 800.445.9548
                                          APP26
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 27 of 971

                                                                                             17
                         Alex Salvi - November 12, 2020

  10:10             favor 6:24                  H            9:17 10:19               M
efforts 2:5         federal 14:2        hack 4:1,16        Issues 3:3          machine 2:6 3:14
egg 12:20           fee 15:11           hacked 6:12                             4:11,17 6:12
election 2:25 4:2   fight 6:19                                      J
                                        hand 7:21,21                           machine's 4:5
  4:24 7:7,16       figured 4:12        happen 4:5         Jersey 4:3          machines 3:10
  9:10 10:21 12:6   finally 7:19        happened 5:16      job 10:5             4:1 5:11
  12:11,15 13:17    financially 15:9     7:10              Joining 6:18        manner 8:23
  14:1              find 13:8           happens 12:5,7     Justice 10:9 11:5   manufacturing
elections 2:10,15   Firm 15:18          Harmeet 6:19,22                         2:9
                                                                   K
  5:5,8 8:21        first 10:8 13:25     14:7                                  marked 6:15
  12:23             first-time 9:20                        keep 2:4 11:9
                                        harvesting 12:10   kind 7:5 8:9        marks 6:13
elector's 8:21      foregoing 15:3      headquarters 2:8                       matter 14:4 15:5
employed 15:7       forth 8:14                             know 6:23 11:19
                                        heard 13:24          11:22 12:2,14     mean 6:4 11:5
encode 3:17         forward 5:20        hearing 8:1                            meant 5:18
ends 14:11          found 5:11                               12:18,23 13:3,5
                                        help 2:14 3:20       13:7,24           media 13:25
envelope 7:13       founder 6:21        HOURS 1:13                             meet 5:2
  11:11 13:14       frankly 7:7                            known 2:7
                                        human 2:23                             memory 4:16
envelopes 11:10     fraud 2:4 4:23                                  L          mentioned 9:15
errors 2:23           5:9 6:4 7:6 8:6           I                              Michigan 2:17
                                                          large-scale 6:4
eventually 11:19      8:16              ID 9:20           law 7:10 8:17         2:19,21,22,24
everybody 14:5      fraudulent 4:8      ifs 13:23            11:9,21 13:11      3:1 5:16,17 8:2
evidence 6:1 8:17   full 15:12          ignore 13:18         13:18             midterm 5:8
Examiner 4:21       further 15:6,9,11   ignores 3:21      laws 9:2 13:19       minutes 4:17
  5:6                                   illegal 12:12     lawsuit 4:2          miscalculation
example 11:16,18           G            impacted 5:8      lawsuits 2:4          5:21
  11:24 12:1       gap 13:9             important 11:16 Lawyer's 6:20          mistake 2:22
examples 2:18      Garcia 15:2,16          13:19                               mistakes 2:16
                   general 7:2                            lawyers 9:3
executive 10:6                          impose 9:1        learned 5:16         multiple 4:23
executives 8:9     General's 5:1        imposed 9:18                            5:11 7:10,24
                   Georgia 2:17,20                        led 2:16
exhausting 2:3                          inaccuracies 2:23 legal 6:19 7:1
experts 2:25 4:25    3:2,3 7:19         inadequate 5:12 legislature 9:4,8              N
expires 15:20      give 10:9 11:1       include 13:10                          nation 2:14
                   glad 6:22                              legislatures 8:11
explanations 3:3                        incomplete 13:11     8:23              National 6:20 9:2
Expressway         glitched 5:21        independent 5:10 Liberty 6:22          nearby 12:11
  15:18            glitches 2:16 5:7       6:1                                 necessarily 8:5
                   glo- 13:8                              line 12:23
extend 9:8,19                           indicating 3:18   list 2:18              8:16 10:5,17
  10:6             go 10:3              input 7:1                                12:4,18 13:13
                   goes 2:17                              litigation 5:7
                                        install 6:13         8:14              need 10:4 11:8
         F         going 14:3           instances 7:15                         neighboring
F 15:1             GOP 5:17                               local 2:10,14
                                        interested 15:10     13:17               12:11
fact 3:25 8:1 11:3 governments          interesting 12:8                       neither 15:6
  11:6 12:21         2:10,14                              logically 11:17
                                        inventory 5:12    look 8:13            new 2:12 3:20 4:3
failing 5:2        governor 8:25        irregularities                           12:5,14
familiar 3:9         9:4                                  looking 8:3,17
                                           13:21          lot 4:19 7:5 13:22   night 3:21
far 7:3            grew 12:12           issue 8:20 9:16                        nine 9:23


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                     800.445.9548
                                             APP27
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 28 of 971

                                                                                               18
                        Alex Salvi - November 12, 2020

North 12:11        place 8:23          raising 3:24 5:9     requires 3:12       separate 3:7 9:17
 15:18             places 13:9,10      re-election 2:5        13:18             separately 10:13
NOVEMBER           play 14:6           realize 5:15         resources 2:3       seriously 9:23
 1:12              plenty 9:21         really 6:22 8:11     results 6:3 14:6    serving 3:11
number 13:10       point 6:1 14:6        12:3 14:8          review 5:10         seven 4:17
numbers 12:24      poll 3:8            realm 6:6            right 8:5,19 9:22   shamed 6:5
                   polls 4:14          reason 10:13           9:22 12:24,24     shifts 4:14
         O         possibility 6:6       13:20              ruled 8:20          Shorthand 15:2
observe 12:22      possible 8:13       recall 12:9          rules 11:23 12:1      15:17
obviously 12:16      13:21             receive 9:9          ruling 9:15         showing 3:14
occurred 10:25     power 8:9,11        received 7:11        run 2:10,14         side 10:23
occurring 11:4     precious 9:22         11:11 13:3                             sides 12:25
Office 5:1         president 9:11      record 7:21                  S           sign 3:19
official 10:6      pretty 8:10         recording 2:1        s 2:22              signature 7:12
officials 2:25 4:2 Princeton 3:24        14:11 15:4,8       SALVI 1:13 2:2        13:13
officials' 3:5       6:8               records 7:21           3:19 4:19 5:25    simple 3:19
okay 12:18 13:15 print 3:14              11:13 12:17,19       6:18 8:1 10:1     simply 4:5 13:17
order 11:4         probably 6:9        recount 7:20 8:3       11:15 13:24       situation 14:10
ordered 10:20      problem 3:4           11:8 12:20         Samuel 10:9         six 9:21
ought 12:19          10:20               13:21              saw 6:14,16         sleep 3:21
outcome 7:16,23 problems 2:24          recounted 7:17       saying 8:15 10:5    slightly 4:13
  15:10              5:11 13:15        recounts 2:3           14:7              slowed 3:7
                   professor 3:23      referred 10:1        says 4:4 7:10       smarter 6:9
          P                                                   9:24 12:2
                     4:7,12 6:8,9,12   refuse 9:8                               Smartmatic 5:4,7
paid 15:12         program 4:9,13      regard 2:21 3:2      scan 3:16             5:12
paid/will 15:12      4:16 6:23 14:8    Registration         scandal 12:10       software 2:9,13
paper 3:14 6:15    proper 10:4           15:18              scanner 3:16,17       2:16,23 3:1,5,7
  6:16 7:21 11:12 prove 8:15           regulations 8:23     scientist 3:23        5:12,13,21,23
part 4:2           provide 9:20          9:5,6              screen 3:13           6:13
parties 10:22      provided 5:12       rejected 4:24        screwdriver 4:18    somewhat 12:9
  15:7             provides 8:22       related 15:7         second 11:4         sort 10:10,15
pass 9:4           put 3:15 10:17      remaining 2:3        secrecy 7:13        source 5:10
Pennsylvania       putatively 12:25    remedy 10:15           13:14             SPEAKER 3:12
  6:25 8:4 9:7,12                        12:15              Secretary 5:1         4:4,10
  10:23 11:7,9,25           Q          Remember 6:8           9:10,18 10:22     speaking 6:10
  13:1,1           QR 3:15,16          repeatedly 8:20        13:1              specifically 2:19
people 6:5 7:5     question 5:13       replace 4:8          security 2:25 5:2   spread 12:25
  9:23 13:25       questions 5:9       Reporter 15:2,17     see 11:14           staffer 12:13
percent 3:11       quite 7:7           reporting 2:12       segregate 11:12     stamp 3:17 11:10
period 8:7 10:3,7 quote 2:13,21 3:2      3:5 4:21 5:6       segregated 13:6     stamped 3:15
Philadelphia         4:22 5:6          Republican 6:20      segregation         standards 5:2
  13:10                                  7:18 8:2 9:2,3,8     10:24 11:4        state 2:24 4:3 5:1
Philippine 5:4              R                               select 3:13
                                         12:13                                    6:25 8:2,3,8,11
Philippines 5:9    R 15:1              Republicans 5:15     senators 8:2          8:22 9:10,18,18
piece 6:14         raise 3:22            5:19 12:21         sense 10:16           9:20 10:6,23,25
pieces 7:8         raised 3:22

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                    800.445.9548
                                            APP28
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 29 of 971

                                                                                                19
                         Alex Salvi - November 12, 2020

  11:9,24 12:11     three 3:3 4:24 9:9   unscramble           witnessed 7:18     12:25
  13:1,11,18 15:3   time 3:17,18 6:15      12:19               11:7
states 3:10 4:23      8:7,23 9:22        updates 6:18         word 6:7 14:1             6
  7:10,24 8:21        10:3,7             uphill 7:24          workers' 3:8      6,000-vote 5:19
  9:13              times 2:12 3:20      use 2:10,14          worth 3:21        600,000 11:6
statute 9:21          4:25               utilizing 2:3        written 8:18      6581 15:17
stay 14:5           today 2:6 6:23                             11:22
                                                 V                                      7
stop 4:21             9:24                                    wrote 4:15
strong 7:3,4        today's 9:15         victory 10:10                          7-31-25 15:20
struck 9:24         told 13:4            video 15:4                  X          75206 15:19
submitted 10:2      tonight 6:23 14:9    volunteers 7:18
                                                                      Y                8
subsidiaries 5:3    totality 11:18       vote 2:16 3:5,6
                                           3:18 13:22         Yeah 13:24        855-5100 15:20
sued 9:2,3          totally 12:5
suggest 11:8        touch 10:8           voted 13:17          year 6:11 8:25
Suite 15:19         trail 6:16           voter 2:4 3:15 6:4   years 3:25
supposed 11:9,10    transcribed 15:8       6:14,16 8:16       years' 3:21
  11:13             transcription          9:20               York 2:12 3:20
Supreme 8:20          1:11 15:4,11       voters 3:8,11,13
                                                                     Z
  9:12,13 10:14     treat 9:23             9:20
  10:20 11:18,23    troubling 11:2       voters' 3:14                 0
  12:1 13:4         Trump 2:2 6:24       votes 4:11,14
sure 10:16 13:5       8:14 10:10,23        5:22 6:2,13                1
swapping 4:5        trying 11:16           12:6               10,000 13:2,7
swing 5:19          turn 8:22            voting 2:6,13,18     101 15:19
system 2:18 3:12    two 2:21 3:1,7         3:25 4:17,20,22    12 1:12
systems 2:13 3:22     10:18 12:25          6:2 8:24 9:2,22
  3:25 4:22 6:3     types 3:10 7:22                                   2
                                                 W            2008 4:1,20
  6:10                10:18
                                         wait 14:5            2010 5:5,8
          T                 U            want 7:1 10:8,15     2013 5:5,8
T 15:1,1            U.S 2:11 3:11         12:16,17            2018 12:10
tabulating 5:21       4:24               wanted 9:5           2020 1:12 4:24
tainted 6:3 10:16   ultimately 12:14     Washington 4:21      214 15:20
take 6:6 11:19      unable 10:23          5:6                 28 3:10
taken 7:22            11:1               way 6:3 7:7 9:5
tallies 2:16 3:6    understand 4:19       12:4,7 13:8                 3
tell 10:24            5:14               we're 8:1            312 15:18
Terri 15:2,16       UNIDENTIFI...        Wednesday 2:12
                                         week 2:17 4:22               4
Texas 4:25 15:3       3:12 4:4,10
  15:16,19          unilaterally 9:1      10:11               40 3:11
text 11:23            10:6               went 9:4,11          40,000 13:8
Thank 14:10         United 8:21 9:13      10:22               4228 15:18
things 7:14,22      University 3:24      weren't 7:17         47 5:23
think 7:6,8 8:4     unprecedented         12:21
                                                                      5
  11:15,17            12:9               widespread 8:16
                                         win 7:7              50,000-vote

                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                      800.445.9548
                                              APP29
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 30 of 971




        Exhibit A-2




                             APP30
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 31 of 971

                                                                           1
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12           CERTIFIED TRANSCRIPTION OF
13                 NOVEMBER 16, 2020
14   TIPPING POINT WITH KARA MCKINNEY SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP31
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 32 of 971

                                                                            2
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:      It's time for Tipping Point.
 3   Tonight, we go all in on exposing Dominion and the Great
 4   Reset and how we can still save our republic from the
 5   future the elites want for us.          Plus, massive turnout
 6   over the weekend for the Million MAGA March until Antifa
 7   and BLM crashed the party and some skulls along the way.
 8                    Then it's back to the dark ages for
 9   Michigan as the governor imposes more draconian
10   lockdowns.    And finally, we explore the dangers of a
11   possible Biden presidency when it comes to national
12   security, which is why we must stop the steal now.               I'm
13   your host, Kara McKinney, and this is Tipping Point.
14                    Politics can be as easy as stealing candy
15   from a baby, or in this case from cancer patients.
16   Newly released federal filings show Biden's cancer
17   charity spent approximately $0 on research and grant
18   money since it was founded back in 2017.            So where did
19   the almost $5 million it raised go?           To staff salaries
20   and travel expenditures, of course.
21                    That's because Biden staffed his cancer
22   charity with big-time lobbyists, which is funny because
23   his entire transition team is full of lobbyists as well,
24   not that he'll need a transition team, of course.               But
25   think about it this way.        If Biden was fine with selling




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP32
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 33 of 971

                                                                            3
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1   out cancer patients, of all people, a disease which
 2   devastated both his family and mine, then don't expect
 3   regular everyday Americans to fare any better.
 4                    Remember his time in the Obama White House,
 5   sending our jobs overseas, killing coal and
 6   manufacturing, shipping our men off to fight in endless
 7   wars, while at the same time, giving our enemies like
 8   China and Iran a leg up.        He's been selling out the
 9   American people for 50 years.         This is why it's
10   absolutely critical that we stop the steal, so President
11   Trump can continue dismantling these corrupt powers in
12   the nation's capitol for another four years.
13                    There's something we really need draw upon
14   right now, and that's called "the American spirit," the
15   spirit of independence that mocks those who hold
16   themselves up as our social betters, especially when
17   they come in the form of the lowlifes over at CNN, or
18   Democrats telling us that the fight is over and Biden
19   won.    That's a lie.     The electors haven't met yet and
20   the president has some strong legal channels still
21   pending.
22                    It's also a convenient lie, given that
23   Trump attorney, Sidney Powell, says a member of Biden's
24   transition team is also a member of the board of
25   directors for Smartmatic, which is a subsidiary of




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP33
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 34 of 971

                                                                           4
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    Dominion.    Small world, I guess.         Powell claims to have
2    evidence that proves the software was designed to rig
3    elections.    Now, that's an interesting choice of terms,
4    seeing as yet another member of Biden's proposed team
5    includes his long-time aide, Robert [sic] Klain, who
6    back in 2014 said, point blank, U.S. elections are
7    rigged.
8                    We'll get to all of that in just one
9    moment, but for now, let's analyze what else is going on
10   behind the scenes to bring all the pieces together.
11   Many of you know that something is up with the way world
12   leaders have been reacting to this coronavirus pandemic.
13   Perhaps it started with true, genuine fear, but over the
14   last few months of this blatant double standards, it's
15   becoming quite clear that officials know this virus
16   isn't as deadly as they claim, so they've absolutely no
17   problem breaking their own rules or letting their
18   rioting supporters do so as well.
19                   So the question is, what are we being
20   primed for exactly?       Some say socialism, but that's not
21   quite it.    First, let's listen to the fraudster himself,
22   Dr. Anthony Fauci.
23                   UNIDENTIFIED SPEAKER:         So are there
24   countries that you -- you know, there are countries that
25   seem to be doing well, then weren't doing.              So are the




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP34
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 35 of 971

                                                                           5
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    countries now that hold up as models for, you know,
2    pretty good response to this?
3                      DR. FAUCI:    You know, the answer is, yes,
4    but right now, it seems that every country is suffering.
5                      UNIDENTIFIED SPEAKER:       Yeah.
6                      DR. FAUCI:    We are often compared with
7    countries that are not comparable to us.              We are not a
8    little island of five million people that we can shut
9    off.    We're not a country that would accept if a ruler
10   tells us, You must do this.         I was talking with our UK
11   colleagues just today, who were saying the UK is very
12   similar to where we are now in outbreak because each of
13   our countries have that independent spirit of "we don't
14   want to be told what to do."         Well, I understand that,
15   but now is the time to do what you're told.              And I think
16   it really is something that we should be doing right
17   now.
18                     MS. MCKINNEY:     Imagine that.       It was never
19   about the virus to begin with.          This is about priming
20   Americans to lose their independent spirit so they can
21   shut up and do what they're told, even when their own
22   eyes and ears are telling them that the experts are
23   wrong.
24                     Have you ever heard about the Great Reset?
25   No, this isn't some strange tinfoil hat conspiracy push




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com      800.445.9548

                                  APP35
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 36 of 971

                                                                           6
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    by some anonymous guy on Facebook.           Instead, this is the
2    natural tendency for all evil people in power, the want
3    to consolidate that power in any way possible.               The
4    fewer the hands, the larger the spoils.             I'll let
5    Canandian prime minister, Justin Trudeau, explain.
6                    MR. TRUDEAU:       Building back better means
7    giving support to the most vulnerable, while maintaining
8    our momentum on reaching the 2030 agenda for sustainable
9    development and the SDGs.        Canada is here to listen and
10   to help.   This pandemic has provided an opportunity for
11   a reset.   This is our chance to accelerate our
12   pre-pandemic efforts, to reimagine economic systems that
13   actually address global challenges like extreme poverty,
14   inequality and climate change.
15                   MS. MCKINNEY:       So let's go through some
16   those buzzwords, starting with the slogan "Build Back
17   Better."   It's something you've also heard Joe Biden and
18   the UK prime minister, Boris Johnson, say.              And that's
19   no coincidence.     While it might just seem like Biden is
20   plagiarizing again, what you're actually hearing is the
21   marching orders he's been given.
22                   So let's go back to Smartmatics for a
23   second.    Its chairman is a member of the British House
24   of Lords, Mark Malloch-Brown.          He once served as a vice
25   chairman to George Soros's investment funds, and he's




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP36
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 37 of 971

                                                                           7
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    also held high ranking positions within the World Bank
2    and the World Econor- -- Economic Forum, both of which
3    Trudeau mentioned in that address.
4                    The founder of the World Economic Forum is
5    a man named Klaus Schwab, who recently published a book
6    brazenly titled, COVID-19, The Great Reset.              I mean,
7    come on.   It doesn't get any more obvious than that.
8    Schwab writes in quo- -- in part, quote, Many of us are
9    pondering when things will return to normal.              The short
10   response is never.      Nothing will ever return to the
11   broken sense of normalcy that prevailed prior to the
12   crisis because the coronavirus pandemic marks a
13   fundamental inflection point in our global trajectory.
14                   So what does he mean by this?            And by
15   extension, what does Trudeau, Biden and Boris Johnson
16   mean when they parrot that same globalist talking point?
17   The Great Reset means big government, big media, and big
18   business, aligning to dictate to us dumb rubes how we
19   should live, because they think they're smarter and they
20   know better.    It's a tale as old as time.           It's
21   something monarchs and later communist dictators all
22   thought and acted upon, albeit in different ways.
23                   In our current digital age, it's taken on
24   the form of a budding technocracy of elites who want to
25   control the economic, social and moral spheres of our




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP37
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 38 of 971

                                                                            8
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    lives.   Look around you right now.          Don't they already
2    do so to a large extent?
3                    Another member of Biden's transition team,
4    which, again, we're hoping to render it useless here, is
5    a formal Obama official and media guy, Richard Stengel.
6    Now you mean -- do you know what he believes?              That free
7    speech is overrated, because he thinks you don't deserve
8    a voice.   That's what he argued last year in a
9    Washington Post op-ed.
10                   Now that we know the "how" of this Great
11   Reset, let's look at the "what" of this Great Reset.
12   Conveniently, the World Economic Forum spelled it out
13   for us back in 2016 with a short video showing their
14   plans for the year 2030.        Long story short, it was on
15   Twitter as recently as Election Day of this year.                And
16   when I went back to find it this morning, it was
17   deleted.
18                   But don't worry, they can run, but they
19   can't hide, because the internet is forever.              Here's
20   another link I found to the video showing the more
21   egregious examples.
22                   (Plays video.)
23                   MS. MCKINNEY:       These are the takeaways.
24   They want to abolish private property, though keep in
25   mind they say you'll rent everything you need, so




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP38
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 39 of 971

                                                                                9
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1   someone will obviously still be owning something, it
 2   just won't be you or I.        They also are going to knock
 3   down the U.S. as the world's leading superpower, tell
 4   you when you can eat meat and how much.            They will also
 5   get rid of fossil fuels, which is code word for getting
 6   rid of your independence.        And they will replace you
 7   with refugees who will be dependent on the government
 8   and who won't ask too many questions.
 9                    This isn't some pipe dream they left in the
10   dust in 2016 either.       TIME Magazine wrote about this as
11   recently as October 22nd of this year under the
12   headline, The Great Reset, using many of these same
13   talking points.      They argue it's not about just big
14   government, but a smart big government.            And we all know
15   what Ronald Reagan, the former president, had to say
16   about that.
17                    FORMER PRESIDENT REAGAN:         I think you-all
18   know that I've always felt the nine most terrifying
19   words in the English language are "I'm from the
20   government and I'm here to help."
21                    MS. MCKINNEY:      (Inaudible) back into the
22   election.     Is this why Democrats didn't launch any major
23   October surprise?      Is this why they didn't seem worried
24   that Biden was spending more time in his basement than
25   on the campaign trail in the lead-up to election day?                  I




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP39
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 40 of 971

                                                                           10
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    mean, who needs to campaign when the fix is in?               And all
2    the most powerful people in the world are on your side
3    to make sure it stays that way.          Here with me now to
4    discuss these voting systems is Michael Johns, the
5    cofounder and leader of the National Tea Party Movement.
6                    Welcome back, Michael.
7                    MR. JOHNS:      Thank you.      How are you?
8                    MS. MCKINNEY:       Good.    So there's a lot
9    going on here.     So let's go book to the basics first.
10   So what are Dominion and Smartmatic, and are they
11   foreign owned and operated?
12                   MR. JOHNS:      Well, they both have foreign
13   op- -- extensive foreign operations.            Dominion is based
14   in Canada.    That's indisputable.          Smartmatic has been
15   operating around the world.         They attempted to set up a
16   base in south Florida and, instead, opted for a much
17   more complicated corporate structure that essentially
18   put offices in multiple places.
19                   I -- I think, importantly, this is a full
20   stop moment in American politics for people with any
21   ideology or of any part- -- party affiliation.               All the
22   alarms, in my judgment, are going off as it relates to
23   this.
24                   Firstly, from a technical standpoint, as
25   many technical experts have verified, when you have




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP40
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 41 of 971

                                                                           11
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    glitches in a particular system, and particularly if
2    it's in the software component of that sys- -- system,
3    it's very probable that they're going to be duplicated
4    in others.    So we have in Dominion, a voting system that
5    was utilized in 30 states, 2,000 jurisdictions.
6                    You know, it's also clear with the
7    emergence of -- of Smartmatic, that this company has
8    really been as much designed to ease voter fraud as it
9    has been to ensure safe elections.           You know,
10   importantly, we've talked about how Texas, to its great
11   credit, reviewed the Dominion system and rejected it as
12   totally unacceptable from a -- a cybersecurity
13   standpoint.
14                   My own, sort of, digging on this has shown
15   that Philadelphia actually also had rejected it once,
16   Louisiana has rejected it, meaning we have technical
17   experts on state levels that -- whose sole, really,
18   functional role is to assess the security of these
19   voting systems and broad numbers of people who said it
20   was susceptible to hacking and to human manip- --
21   manipulation.
22                   And, of course, obviously, as I think now
23   is widely known nationally, the -- the two documented
24   errors in Michigan and in Georgia both broke in Biden's
25   favor, both broke in swing states.           And in neither case




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP41
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 42 of 971

                                                                            12
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1   do I feel we've had an adequate explanation.             We've had
 2   statements, but even those statements have been
 3   evolving.    First it was a glitch.        When -- when I
 4   pointed out and others pointed out that a glitch
 5   suggests a broader technical problem, they quickly
 6   backed off of that position and then said, no, it was
 7   human error, which of course raises the even broader,
 8   you know, concern that the whole reason we have voting
 9   systems like this are to minimize and even preclude
10   human intervention in these elections.
11                    But they're suggesting that that was --
12   that was the case.      If you look into the actual
13   descriptions of the concerns of the Dominion system,
14   there's all kinds of ways that it could be manipulated
15   by individuals, and there's plenty, abundant amounts of
16   concerns, including raised by these various states and
17   cities that rejected this system that suggest it's
18   completely prone to cyber hacking.
19                    So literally after four years of being
20   lectured by Democrats that Donald Trump was not doing
21   enough to protect and defend our election from Russian
22   intervention, we have literally 30 states that have
23   adopted a system that clearly is susceptible to domestic
24   and international hacking.
25                    Now, what to do about it, you know, Kara, I




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP42
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 43 of 971

                                                                           13
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    mean, that's really, I think, the major concern.               I
2    mean, typically, you know, if this were a federal
3    investigation, you would conduct the investigation, you
4    would file the -- you'd file the complaint, you'd -- if
5    it were criminal components, you'd convene a grand jury.
6    And then, you know, with indictments, you'd come out and
7    announce it.
8                    In this case, we have the Trump legal team
9    having announced it, which in their defense, I think, is
10   a reflection of the fact that this clock is, as you
11   correctly pointed out, is ticking.           And so the action
12   has to be immediate and it has to be drastic.              All of
13   these systems need to be assessed.           There's a strong
14   case to be made for manual auditing if that's even
15   possible with these systems.
16                   But we absolutely cannot get to January 20
17   with one or other of these candidates being elected
18   president, right now with grave concerns about voter
19   fraud in -- in favor of -- of Joe Biden, and have
20   concerns that -- about the legitimacy of this election.
21                   Right now -- my concerns grow by the day,
22   and I think those are concerns that are increasingly
23   shared by a growing number of Americans.
24                   MS. MCKINNEY:       And one of biggest concerns
25   that I'm hearing from a lot of people is that foreign




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP43
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 44 of 971

                                                                            14
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1   governments seem to be tied in with these systems,
 2   whether it be Canada, Venezuela, Spain or even Germany.
 3   What can you tell us about that?
 4                    MR. JOHNS:     Well, there's been some
 5   reporting, and some of these systems in Germany were
 6   actually seized.      They clearly -- the -- you know,
 7   Smartmatic has had incredible ties with some of the --
 8   the greater far left concerns that we have, including
 9   this Lord Mark Malloch-Brown, who's very tight with
10   Soros, is on the Open Societies global board and a bunch
11   of other Soros boards, meaning this is not some casual
12   associate of George Soros.         This is kind of an
13   individual who is part of that inner circle.
14                    And we have -- and we have case after case.
15   Philippines is a -- is another great example where these
16   systems have been utilized and there's been nothing but
17   broad concerns.      Now, since we last talked, which was
18   not broadly known and still not broadly known, just so
19   happens that one of the two campaigns has a very strong
20   relationship with Smartmatic, and I probably don't have
21   to ask you to guess which one.          But we have an
22   individual named -- named Peter Neffenger who has been
23   handling what's typically called the -- the landing
24   teams for transitions where personnel are brought in for
25   the -- nothing short of the Department of Homeland




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP44
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 45 of 971

                                                                           15
      Tipping Point with Kara McKinney Segment - November 16, 2020


1    Security.
2                    This guy has been on the board of
3    Smartmatic, he has an extensive historical relationship
4    with the Atlantic Council, which, you know, one of the
5    great, I think, untold stories is the amount of foreign
6    money that's flooded in to Washington, D.C., including
7    think tanks over the last years.           And I come out of the
8    think tank environment and worked with, I think, the
9    best of the bunch in the Heritage Foundation.
10                   But he worked with the Atlantic Council,
11   known for lots of Qatar money, lots of China money, lots
12   of UAE money and even Burisma money that went into
13   Atlantic Council, which did not come out in the Hunter
14   Biden story.    So we have, I think -- and you can hear it
15   in legal counsel coming out of the Trump legal team,
16   major concerns.     And you know, my guidance right now is,
17   don't jump up and down with glee.           It's firstly
18   astonishing and reprehensible that we've allowed this to
19   occur.   And we have to begin as con- -- you know, as --
20   at least I say this as a conservative, as a -- as a
21   lifelong Republican, taking some responsibility for
22   these actions.
23                   Where were Republicans, where were
24   conservatives when these systems that were -- were shown
25   to be flawed were not -- were not adopted.              And by the




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP45
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 46 of 971

                                                                            16
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1   way, you know, Elizabeth Warren, Klobachur, there's
 2   Democrats who've raised concerns about -- about them as
 3   well.     So I think we have it, like, we're at a point
 4   right now where this has to be fixed.           It is
 5   inexcusable, it is not acceptable for us to sort of say,
 6   you know, yeah, there were some concerns out there and
 7   it probably didn't go well.         We've got to get that fixed
 8   before 2024.
 9                    No.   The -- the president who's sworn in on
10   January 20 absolutely has to have the full confidence of
11   the American people that that -- that individual was
12   elected in a free and fair election.           Right now, you
13   cannot say that at all.        And in a country that's still
14   roughly split 50/50 by ideology and party, that's a
15   recipe for immense divisiveness among our citizens.
16                    MS. MCKINNEY:      Exactly.    Exactly.     You're
17   exactly right.      And the only thing this -- this smacks
18   to me of intention here on the Democrats' part, as you
19   were saying and laying out, over these past few years,
20   red flags popping up here and there over these many,
21   many years, and the fact that Democrats knew that and
22   then pushed to bring these systems into as many as 30
23   states.     And Republicans as well, some Republicans as
24   well.     It tells me that something is not sitting right
25   here.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                   APP46
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 47 of 971

                                                                            17
      Tipping Point with Kara McKinney Segment - November 16, 2020


 1                    Thank you so much more breaking it all down
 2   for us, Michael.
 3                    MR. JOHNS:     Thank you, Kara.
 4                    (Recording ends.)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP47
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 48 of 971

                                                                           18
      Tipping Point with Kara McKinney Segment - November 16, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas 75206
20                               (214) 855-5100
                                 My commission expires: 7-31-25
21
22
23
24
25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP48
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 49 of 971

                                                            19
 Tipping Point with Kara McKinney Segment - November 16, 2020

         A          argued 8:8         boards 14:11     chairman 6:23        12:16 13:18,20
abolish 8:24        assess 11:18       book 7:5 10:9      6:25               13:21,22,24
above-entitled      assessed 13:13     Boris 6:18 7:15  challenges 6:13      14:8,17 15:16
  18:5              associate 14:12    brazenly 7:6     chance 6:11          16:2,6
absolutely 3:10     astonishing        breaking 4:17    change 6:14        conduct 13:3
  4:16 13:16          15:18             17:1            channels 3:20      confidence 16:10
  16:10             Atlantic 15:4,10   bring 4:10 16:22 charity 2:17,22    conservative
abundant 12:15        15:13            British 6:23     China 3:8 15:11      15:20
accelerate 6:11     attempted 10:15    broad 11:19      choice 4:3         conservatives
accept 5:9          attorney 3:23       14:17           circle 14:13         15:24
acceptable 16:5     auditing 13:14     broader 12:5,7   cities 12:17       consolidate 6:3
acted 7:22                             broadly 14:18,18 citizens 16:15     conspiracy 5:25
                            B          broke 11:24,25   claim 4:16         continue 3:11
action 13:11 18:8
  18:10             baby 2:15          broken 7:11      claims 4:1         control 7:25
actions 15:22       back 2:8,18 4:6    brought 14:24    clear 4:15 11:6    convene 13:5
actual 12:12          6:6,16,22 8:13   budding 7:24     clearly 12:23      convenient 3:22
address 6:13 7:3      8:16 9:21 10:6   Build 6:16         14:6             Conveniently
adequate 12:1       backed 12:6        Building 6:6     climate 6:14         8:12
adopted 12:23       Bank 7:1           bunch 14:10 15:9 clock 13:10        coronavirus 4:12
  15:25             base 10:16         Burisma 15:12    CNN 3:17             7:12
affiliation 10:21   based 10:13        business 7:18    coal 3:5           corporate 10:17
age 7:23            basement 9:24      buzzwords 6:16   code 9:5           correct 18:4
agenda 6:8          basics 10:9                         cofounder 10:5     correctly 13:11
                    becoming 4:15              C        coincidence 6:19   corrupt 3:11
ages 2:8
aide 4:5            begins 2:1        C 18:1,1          colleagues 5:11    Council 15:4,10
alarms 10:22        believes 8:6      called 3:14 14:23 come 3:17 7:7        15:13
albeit 7:22         best 15:9         campaign 9:25       13:6 15:7,13     counsel 15:15
aligning 7:18       better 3:3 6:6,17   10:1            comes 2:11           18:6
allowed 15:18         7:20            campaigns 14:19 coming 15:15         countries 4:24,24
American 3:9,14     betters 3:16      Canada 6:9        commission           5:1,7,13
  10:20 16:11       Biden 2:11,21,25    10:14 14:2        18:20            country 5:4,9
Americans 3:3         3:18 6:17,19    Canandian 6:5     communist 7:21       16:13
  5:20 13:23          7:15 9:24 13:19 cancer 2:15,16,21 company 11:7       course 2:20,24
amount 15:5           15:14             3:1             comparable 5:7       11:22 12:7
amounts 12:15       Biden's 2:16 3:23 candidates 13:17 compared 5:6        COVID-19 7:6
analyze 4:9           4:4 8:3 11:24   candy 2:14        complaint 13:4     crashed 2:7
announce 13:7       big 7:17,17,17    capitol 3:12      completely 12:18   credit 11:11
announced 13:9        9:13,14         case 2:15 11:25   complicated        criminal 13:5
anonymous 6:1       big-time 2:22       12:12 13:8,14     10:17            crisis 7:12
answer 5:3          biggest 13:24       14:14,14        component 11:2     critical 3:10
Anthony 4:22        blank 4:6         casual 14:11      components 13:5    current 7:23
Antifa 2:6          blatant 4:14      Central 18:18     con- 15:19         cyber 12:18
approximately       BLM 2:7           Certified 1:12    concern 12:8       cybersecurity
  2:17              board 3:24 14:10    18:2,16           13:1               11:12
argue 9:13            15:2            certify 18:3,6,11 concerns 12:13


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com              800.445.9548
                                           APP49
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 50 of 971

                                                            20
 Tipping Point with Kara McKinney Segment - November 16, 2020

         D           11:11 12:13       errors 11:24        fewer 6:4          funny 2:22
D.C 15:6            Donald 12:20       especially 3:16     fight 3:6,18       further 18:6,9,11
Dallas 18:19        double 4:14        essentially 10:17   file 13:4,4        future 2:5
dangers 2:10        Dr 4:22 5:3,6      everyday 3:3        filings 2:16
                    draconian 2:9      evidence 4:2        finally 2:10               G
dark 2:8
Davenport 18:17     drastic 13:12      evil 6:2            financially 18:9   Garcia 18:2,16
day 8:15 9:25       draw 3:13          evolving 12:3       find 8:16          genuine 4:13
  13:21             dream 9:9          exactly 4:20        fine 2:25          George 6:25
deadly 4:16         dumb 7:18            16:16,16,17       Firm 18:18           14:12
defend 12:21        duplicated 11:3    example 14:15       first 4:21 10:9    Georgia 11:24
defense 13:9        dust 9:10          examples 8:21          12:3            Germany 14:2,5
deleted 8:17                           expect 3:2          firstly 10:24      getting 9:5
                             E         expenditures           15:17           given 3:22 6:21
Democrats 3:18
  9:22 12:20 16:2   E 18:1,1             2:20              five 5:8           giving 3:7 6:7
  16:21             ears 5:22          experts 5:22        fix 10:1           glee 15:17
Democrats'          ease 11:8            10:25 11:17       fixed 16:4,7       glitch 12:3,4
  16:18             easy 2:14          expires 18:20       flags 16:20        glitches 11:1
Department          eat 9:4            explain 6:5         flawed 15:25       global 6:13 7:13
  14:25             economic 6:12      explanation 12:1    flooded 15:6         14:10
dependent 9:7         7:2,4,25 8:12    explore 2:10        Florida 10:16      globalist 7:16
descriptions        Econor- 7:2        exposing 2:3        foregoing 18:3     go 2:3,19 6:15,22
  12:13             efforts 6:12       Expressway          foreign 10:11,12     10:9 16:7
deserve 8:7         egregious 8:21       18:18                10:13 13:25     going 4:9 9:2
designed 4:2 11:8   either 9:10        extension 7:15         15:5              10:9,22 11:3
devastated 3:2      elected 13:17      extensive 10:13     forever 8:19       good 5:2 10:8
development 6:9       16:12              15:3              form 3:17 7:24     government 7:17
Dickman 18:17       election 8:15 9:22 extent 8:2          formal 8:5           9:7,14,14,20
dictate 7:18          9:25 12:21       extreme 6:13        former 9:15,17     governments
dictators 7:21        13:20 16:12      eyes 5:22           Forum 7:2,4 8:12     14:1
different 7:22      elections 4:3,6                        fossil 9:5         governor 2:9
                      11:9 12:10                 F         found 8:20         grand 13:5
digging 11:14
digital 7:23        electors 3:19      F 18:1              Foundation 15:9    grant 2:17
directors 3:25      elites 2:5 7:24    Facebook 6:1        founded 2:18       grave 13:18
discuss 10:4        Elizabeth 16:1     fact 13:10 16:21    founder 7:4        great 2:3 5:24 7:6
disease 3:1         emergence 11:7     fair 16:12          four 3:12 12:19      7:17 8:10,11
dismantling 3:11    employed 18:7      family 3:2          fraud 11:8 13:19     9:12 11:10
divisiveness        endless 3:6        far 14:8            fraudster 4:21       14:15 15:5
  16:15             ends 17:4          fare 3:3            free 8:6 16:12     greater 14:8
documented          enemies 3:7        Fauci 4:22 5:3,6    fuels 9:5          grow 13:21
  11:23             English 9:19       favor 11:25 13:19   full 2:23 10:19    growing 13:23
doing 4:25,25       ensure 11:9        fear 4:13              16:10 18:12     guess 4:1 14:21
  5:16 12:20        entire 2:23        federal 2:16 13:2   functional 11:18   guidance 15:16
domestic 12:23      environment        fee 18:11           fundamental        guy 6:1 8:5 15:2
Dominion 2:3 4:1      15:8             feel 12:1              7:13
                    error 12:7         felt 9:18                                     H
  10:10,13 11:4                                            funds 6:25
                                                                              hacking 11:20

                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                 800.445.9548
                                            APP50
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 51 of 971

                                                            21
 Tipping Point with Kara McKinney Segment - November 16, 2020

  12:18,24          5:20              kinds 12:14         lobbyists 2:22,23   means 6:6 7:17
handling 14:23    indictments 13:6    Klain 4:5           lockdowns 2:10      meat 9:4
hands 6:4         indisputable        Klaus 7:5           Long 8:14           media 7:17 8:5
happens 14:19       10:14             Klobachur 16:1      long-time 4:5       member 3:23,24
hat 5:25          individual 14:13    knew 16:21          look 8:1,11 12:12    4:4 6:23 8:3
he'll 2:24          14:22 16:11       knock 9:2           Lord 14:9           men 3:6
headline 9:12     individuals 12:15   know 4:11,15,24     Lords 6:24          mentioned 7:3
hear 15:14        inequality 6:14       5:1,3 7:20 8:6    lose 5:20           met 3:19
heard 5:24 6:17   inexcusable 16:5      8:10 9:14,18      lot 10:8 13:25      Michael 10:4,6
hearing 6:20      inflection 7:13       11:6,9 12:8,25    lots 15:11,11,11     17:2
  13:25           inner 14:13           13:2,6 14:6       Louisiana 11:16     Michigan 2:9
held 7:1          intention 16:18       15:4,16,19 16:1   lowlifes 3:17        11:24
help 6:10 9:20    interested 18:10      16:6                                  million 2:6,19 5:8
Heritage 15:9     interesting 4:3     known 11:23                M            mind 8:25
hide 8:19         international         14:18,18 15:11    MAGA 2:6            mine 3:2
high 7:1            12:24                                 Magazine 9:10       minimize 12:9
historical 15:3   internet 8:19               L           maintaining 6:7     minister 6:5,18
hold 3:15 5:1     intervention      landing 14:23         major 9:22 13:1     mocks 3:15
Homeland 14:25      12:10,22        language 9:19          15:16              models 5:1
hoping 8:4        investigation     large 8:2             Malloch-Brown       moment 4:9
host 2:13           13:3,3          larger 6:4             6:24 14:9           10:20
House 3:4 6:23    investment 6:25   launch 9:22           man 7:5             momentum 6:8
human 11:20       Iran 3:8          laying 16:19          manip- 11:20        monarchs 7:21
  12:7,10         island 5:8        lead-up 9:25          manipulated         money 2:18 15:6
Hunter 15:13                        leader 10:5            12:14               15:11,11,12,12
                          J         leaders 4:12          manipulation        months 4:14
         I       January 13:16      leading 9:3            11:21              moral 7:25
ideology 10:21     16:10            lectured 12:20        manual 13:14        morning 8:16
  16:14          jobs 3:5           left 9:9 14:8         manufacturing       Movement 10:5
Imagine 5:18     Joe 6:17 13:19     leg 3:8                3:6                multiple 10:18
immediate 13:12 Johns 10:4,7,12     legal 3:20 13:8       March 2:6
immense 16:15      14:4 17:3           15:15,15           marching 6:21               N
importantly      Johnson 6:18       legitimacy 13:20      Mark 6:24 14:9      named 7:5 14:22
  10:19 11:10      7:15             let's 4:9,21 6:15     marks 7:12           14:22
imposes 2:9      judgment 10:22        6:22 8:11 10:9     massive 2:5         nation's 3:12
Inaudible 9:21   jump 15:17         letting 4:17          matter 18:5         national 2:11
includes 4:5     jurisdictions 11:5 levels 11:17          McKinney 1:14        10:5
including 12:16  jury 13:5          lie 3:19,22            2:2,13 5:18        nationally 11:23
  14:8 15:6      Justin 6:5         lifelong 15:21         6:15 8:23 9:21     natural 6:2
increasingly                        link 8:20              10:8 13:24         need 2:24 3:13
  13:22                   K         listen 4:21 6:9        16:16               8:25 13:13
incredible 14:7  Kara  1:14  2:13   literally 12:19,22    mean 7:6,14,16      needs 10:1
independence       12:25 17:3       little 5:8             8:6 10:1 13:1,2    Neffenger 14:22
  3:15 9:6       keep 8:24          live 7:19             meaning 11:16       neither 11:25
independent 5:13 killing 3:5        lives 8:1              14:11               18:6
                 kind 14:12

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                  800.445.9548
                                           APP51
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 52 of 971

                                                            22
 Tipping Point with Kara McKinney Segment - November 16, 2020

never 5:18 7:10      16:18             powers 3:11         reaching 6:8        Richard 8:5
Newly 2:16         part- 10:21         pre-pandemic        reacting 4:12       rid 9:5,6
nine 9:18          particular 11:1      6:12               Reagan 9:15,17      rig 4:2
normal 7:9         particularly 11:1   preclude 12:9       really 3:13 5:16    rigged 4:7
normalcy 7:11      parties 18:7        presidency 2:11       11:8,17 13:1      right 3:14 5:4,16
North 18:18        party 2:7 10:5,21   president 3:10,20   reason 12:8           8:1 13:18,21
NOVEMBER             16:14              9:15,17 13:18      recipe 16:15          15:16 16:4,12
  1:13             patients 2:15 3:1    16:9               recording 2:1         16:17,24
number 13:23       pending 3:21        pretty 5:2            17:4 18:4,8       rioting 4:18
numbers 11:19      people 3:1,9 5:8    prevailed 7:11      red 16:20           Robert 4:5
                     6:2 10:2,20       prime 6:5,18        reflection 13:10    role 11:18
         O           11:19 13:25       primed 4:20         refugees 9:7        Ronald 9:15
Obama 3:4 8:5        16:11             priming 5:19        Registration        roughly 16:14
obvious 7:7        personnel 14:24     prior 7:11            18:18             rubes 7:18
obviously 9:1      Peter 14:22         private 8:24        regular 3:3         ruler 5:9
  11:22            Philadelphia        probable 11:3       reimagine 6:12      rules 4:17
occur 15:19          11:15             probably 14:20      rejected 11:11,15   run 8:18
October 9:11,23    Philippines 14:15    16:7                 11:16 12:17       Russian 12:21
offices 10:18      pieces 4:10         problem 4:17        related 18:7
official 8:5       pipe 9:9             12:5               relates 10:22                S
officials 4:15     places 10:18        prone 12:18         relationship        safe 11:9
old 7:20           plagiarizing 6:20   property 8:24         14:20 15:3        salaries 2:19
once 6:24 11:15    plans 8:14          proposed 4:4        released 2:16       save 2:4
op- 10:13          Plays 8:22          protect 12:21       Remember 3:4        saying 5:11 16:19
op-ed 8:9          plenty 12:15        proves 4:2          render 8:4          says 3:23
Open 14:10         Plus 2:5            provided 6:10       rent 8:25           scenes 4:10
operated 10:11     point 1:14 2:2,13   published 7:5       replace 9:6         Schwab 7:5,8
operating 10:15      4:6 7:13,16       push 5:25           Reporter 18:2,17    SDGs 6:9
operations 10:13     16:3              pushed 16:22        reporting 14:5      second 6:23
opportunity 6:10   pointed 12:4,4      put 10:18           reprehensible       security 2:12
opted 10:16          13:11                                   15:18               11:18 15:1
orders 6:21        points 9:13                 Q           republic 2:4        seeing 4:4
outbreak 5:12      politics 2:14       Qatar 15:11         Republican          SEGMENT 1:14
outcome 18:10        10:20             question 4:19         15:21             seized 14:6
overrated 8:7      pondering 7:9       questions 9:8       Republicans         selling 2:25 3:8
overseas 3:5       popping 16:20       quickly 12:5          15:23 16:23,23    sending 3:5
owned 10:11        position 12:6       quite 4:15,21       research 2:17       sense 7:11
owning 9:1         positions 7:1       quo- 7:8            reset 2:4 5:24      served 6:24
                   possible 2:11 6:3   quote 7:8             6:11 7:6,17       set 10:15
        P                                                                      shared 13:23
                     13:15                                   8:11,11 9:12
paid 18:12                                    R                                shipping 3:6
                   Post 8:9                                response 5:2 7:10
paid/will 18:12    poverty 6:13        R 18:1              responsibility      short 7:9 8:13,14
pandemic 4:12      Powell 3:23 4:1     raised 2:19 12:16     15:21               14:25
 6:10 7:12         power 6:2,3           16:2              return 7:9,10       Shorthand 18:2
parrot 7:16        powerful 10:2       raises 12:7         reviewed 11:11        18:17
part 7:8 14:13                         ranking 7:1

                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                   800.445.9548
                                            APP52
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 53 of 971

                                                            23
 Tipping Point with Kara McKinney Segment - November 16, 2020

show 2:16           standards 4:14       16:22            tight 14:9           14:16
showing 8:13,20     standpoint 10:24                      time 2:2 3:4,7
shown 11:14           11:13                       T         5:15 7:20 9:10            V
  15:24             started 4:13        T 18:1,1            9:24              various 12:16
shut 5:8,21         starting 6:16       takeaways 8:23    tinfoil 5:25        Venezuela 14:2
sic 4:5             state 11:17 18:3    taken 7:23        Tipping 1:14 2:2    verified 10:25
side 10:2           statements 12:2,2   tale 7:20           2:13              vice 6:24
Sidney 3:23         states 11:5,25      talked 11:10      titled 7:6          video 8:13,20,22
similar 5:12          12:16,22 16:23      14:17           today 5:11            18:4
sitting 16:24       stays 10:3          talking 5:10 7:16 told 5:14,15,21     virus 4:15 5:19
skulls 2:7          steal 2:12 3:10       9:13            Tonight 2:3         voice 8:8
slogan 6:16         stealing 2:14       tank 15:8         totally 11:12       voter 11:8 13:18
smacks 16:17        Stengel 8:5         tanks 15:7        trail 9:25          voting 10:4 11:4
Small 4:1           stop 2:12 3:10      Tea 10:5          trajectory 7:13       11:19 12:8
smart 9:14            10:20             team 2:23,24      transcribed 18:8    vulnerable 6:7
smarter 7:19        stories 15:5          3:24 4:4 8:3    transcription
                                          13:8 15:15                                  W
Smartmatic 3:25     story 8:14 15:14                        1:12 18:4,11
  10:10,14 11:7     strange 5:25        teams 14:24       transition 2:23     want 2:5 5:14 6:2
  14:7,20 15:3      strong 3:20 13:13   technical 10:24     2:24 3:24 8:3      7:24 8:24
Smartmatics           14:19               10:25 11:16     transitions 14:24   Warren 16:1
  6:22              structure 10:17       12:5            travel 2:20         wars 3:7
social 3:16 7:25    subsidiary 3:25     technocracy 7:24 Trudeau 6:5,6        Washington 8:9
socialism 4:20      suffering 5:4       tell 9:3 14:3       7:3,15             15:6
Societies 14:10     suggest 12:17       telling 3:18 5:22 true 4:13           way 2:7,25 4:11
software 4:2 11:2   suggesting 12:11    tells 5:10 16:24  Trump 3:11,23        6:3 10:3 16:1
sole 11:17          suggests 12:5       tendency 6:2        12:20 13:8        ways 7:22 12:14
Soros 14:10,11      Suite 18:19         terms 4:3           15:15             We'll 4:8
  14:12             superpower 9:3      Terri 18:2,16     turnout 2:5         we're 5:9 8:4
Soros's 6:25        support 6:7         terrifying 9:18   Twitter 8:15         16:3
sort 11:14 16:5     supporters 4:18     Texas 11:10 18:3 two 11:23 14:19      we've 11:10 12:1
south 10:16         sure 10:3             18:16,19        typically 13:2       12:1 15:18 16:7
Spain 14:2          surprise 9:23       Thank 10:7 17:1     14:23             weekend 2:6
SPEAKER 4:23        susceptible 11:20     17:3                                Welcome 10:6
  5:5                 12:23             thing 16:17                U          went 8:16 15:12
speech 8:7          sustainable 6:8     things 7:9        U.S 4:6 9:3         weren't 4:25
spelled 8:12        swing 11:25         think 2:25 5:15   UAE 15:12           White 3:4
spending 9:24       sworn 16:9            7:19 9:17 10:19 UK 5:10,11 6:18     who've 16:2
spent 2:17          sys- 11:2             11:22 13:1,9,22 unacceptable        widely 11:23
spheres 7:25        system 11:1,2,4       15:5,7,8,8,14     11:12             won 3:19
spirit 3:14,15        11:11 12:13,17      16:3            understand 5:14     word 9:5
  5:13,20             12:23             thinks 8:7        UNIDENTIFI...       words 9:19
split 16:14         systems 6:12 10:4   thought 7:22        4:23 5:5          worked 15:8,10
spoils 6:4            11:19 12:9        ticking 13:11     untold 15:5         world 4:1,11 7:1
staff 2:19            13:13,15 14:1,5   tied 14:1         useless 8:4          7:2,4 8:12 10:2
staffed 2:21          14:16 15:24       ties 14:7         utilized 11:5        10:15
                                                                              world's 9:3

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                             APP53
         Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 54 of 971

                                                            24
 Tipping Point with Kara McKinney Segment - November 16, 2020

worried 9:23       5 2:19
worry 8:18         50 3:9
writes 7:8         50/50 16:14
wrong 5:23
wrote 9:10                 6
                   6581 18:17
          X
                           7
        Y          7-31-25 18:20
yeah 5:5 16:6      75206 18:19
year 8:8,14,15
  9:11                    8
years 3:9,12       855-5100 18:20
  12:19 15:7
  16:19,21
you-all 9:17
          Z

          0
0 2:17
        1
101 18:19
16 1:13
        2
2,000 11:5
20 13:16 16:10
2014 4:6
2016 8:13 9:10
2017 2:18
2020 1:13
2024 16:8
2030 6:8 8:14
214 18:20
22nd 9:11
        3
30 11:5 12:22
 16:22
312 18:18
        4
4228 18:18
          5


                             Dickman Davenport, Inc
         214.855.5100       www.dickmandavenport.com        800.445.9548
                                      APP54
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 55 of 971




        Exhibit A-3




                             APP55
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 56 of 971

                                                                           1
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13           CERTIFIED TRANSCRIPTION OF
14                  NOVEMBER 17, 2020
15   TIPPING POINT WITH KARA MCKINNEY SEGMENT
16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP56
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 57 of 971

                                                                           2
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1                   (Recording begins.)
 2                   MS. MCKINNEY:      When the New York Post tried
 3   to do its due diligence in reporting on the Hunter Biden
 4   laptop story before the election, they got shot -- shot
 5   down by their colleagues and, of course, by big tech.
 6   Today, the heads of Twitter and Facebook testify before
 7   the Senate Judiciary Committee about that situation.
 8                   SENATOR LINDSEY GRAHAM:         What I want to try
 9   to find out is if you're not a newspaper at Twitter or
10   Facebook, then why do you have editorial control over
11   the New York Post?      They decided, and maybe for a good
12   reason, I don't know, that the New York Post edi- --
13   articles about Hunter Biden needed to be flagged,
14   excluded from distribution or made hard to find.             That,
15   to me, seems like you're the ultimate editor.
16                   MS. MCKINNEY:      It should surprise exactly
17   no one at this point after everything we've seen, the
18   big tech plays both sides.        They say they're not
19   publishers and, therefore, they should not -- they
20   should enjoy certain legal protections, while at the
21   same time, making editorial decisions as Senator Lindsey
22   Graham rightly pointed out.
23                   That amounts to election interference in my
24   opinion.   But the problem is that these hearings are
25   taking plas- -- take place after November 3rd, and in




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP57
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 58 of 971

                                                                           3
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1   some ways are the same political theater we've come to
 2   expect.   Republicans express outrage.          Nothing changes.
 3   The problem continues to get worse right under our
 4   noses, and then we act surprised when it blows up in our
 5   face.
 6                    And it doesn't get much worse than outright
 7   stealing an election.      That's the situation we're faced
 8   with right now.     But since the big tech problem was left
 9   open-ended in many ways or Silicon Valley overlords are
10   dictating what the public knows about this very real
11   coup attempt.     Here's Texas senator, Ted Cruz, grilling
12   Dorsey about that.
13                    SENATOR CRUZ:     Twitter's position is
14   essentially, voter fraud does not exist.           Are you aware
15   that just two weeks ago in the state of Texas, a woman
16   was charged with 134 counts of election fraud, are you
17   aware of that?
18                    MR. DORSEY:     I'm not aware of that.
19                    SENATOR CRUZ:     If I tweeted that statement
20   with a link to the indictment, would you put a warning
21   on it that says, Well, the Democratic Party position
22   right now is voter fraud doesn't exist?
23                    MR. DORSEY:     I -- I -- I don't think it's
24   useful to I get into hypotheticals, but I -- I don't
25   believe so.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP58
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 59 of 971

                                                                           4
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1                   SENATOR CRUZ:      You -- you don't believe so?
 2   Well, we're going to test that because I'm going to
 3   tweet that and we'll see what you put on it.
 4                   MS. MCKINNEY:      So far so good on the
 5   Senator's tweets, as you can see right now on your
 6   screen.   However, we all know that's because Cruz put
 7   Dorsey on the spot.      If you go to President Trump's
 8   page, however, it's covered in warning labels.             But big
 9   tech is just one part of problem, as are the individual
10   cases of voter fraud, such as ballots being cast under
11   the name of dead voters.
12                   The even bigger issues at play here are
13   systemic, for example, the voting system used in around
14   30 states, Dominion and its subsidiary, Smartmatic.              It
15   just so happens that a member of Biden's transition
16   team, Peter Neffenger is a member of the board of
17   directors for Smartmatic.       The chairman of that company
18   is also a board member for George Soros's Open Society
19   Foundation.
20                   That very same software was used a few --
21   few years back to rig elections in Venezuela.             Even the
22   New York Times reported on it, saying the software was,
23   quote, manipulated to report a skewed tally.            The
24   failing paper of record tried to downplay its own
25   reporting by saying the problem was an anomaly that was




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP59
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 60 of 971

                                                                           5
      Tipping Point With Kara McKinney Segment - November 17, 2020


1    caused by a lack of election monitors.
2                     Now, that's funny.        What do you call
3    Republican poll watchers being kicked out of the
4    oversight process to the sound of cheering Democrats in
5    cities from Detroit to Philadelphia, other than a lack
6    of election monitors.       Even the poll watchers who were
7    allowed to view the ballot-counting process were kept so
8    far away, they couldn't see anything.
9                     But it gets even worse.         According to
10   Dominion's own words, their software allows staff to
11   adjust talleys based on a review of scanned ballot
12   images.   And just one year ago, Democrat senators,
13   Elizabeth Warren, Amy Klobuchar and Ron Wyden issued a
14   formal complaint to Dominion voting systems, accusing
15   their voting systems of switching votes and causing
16   problems that threatened the integrity of our elections.
17   Sound familiar?
18                    Even though Dominion is a Canadian company
19   that has made donations to the Clinton Foundation and
20   hired a top Pelosi staffer as a lobbyist, even Canada
21   doesn't want them.      This is what their official Twitter
22   account posted Monday, quote, Elections Canada does not
23   use Dominion voting systems.         We use paper ballots
24   counted by hand in front of scrutineers and have never
25   used voting machines or electronic tabulators for




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP60
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 61 of 971

                                                                           6
      Tipping Point With Kara McKinney Segment - November 17, 2020


1    federal elections.      Imagine that.
2                     So this begs the question.          Why are we
3    using foreign companies to count our votes in the first
4    place and allowing that information to reportedly flow
5    through servers overseas?         And secondly, if even
6    Democrats knew about these vulnerabilities with Dominion
7    and Smartmatics years before this election, then why did
8    they allow them to be used in so many states?
9                     Why didn't more states follow the lead of
10   Texas in saying no?       Perhaps that means they were chosen
11   by election officials precisely because they are so
12   flawed.    Remember Biden's long-time aide and now member
13   of his transition team, Robert [sic] Klain, said back in
14   2014, "U.S. elections are rigged."
15                    And with that, I want to welcome on my
16   first guest, the president of Judicial Watch, Tom
17   Fitton.    Welcome, Tom.      I'm honored to have you with us
18   tonight.
19                    MR. FITTON:      Well, good to be with you.
20   Thank you.
21                    MS. MCKINNEY:      Thank you.      So while the
22   president's team is making legal challenges to the
23   election, Judicial Watch has been busy with its own
24   independent investigations in six battleground states.
25   What can you tell us about those efforts?




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP61
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 62 of 971

                                                                           7
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1                    MR. FITTON:     Well, we're using the state
 2   open records laws to examine what went on in these
 3   states.     We want to know about how Dominion was used in
 4   these states.     We want access to the ballots under law
 5   to see for ourselves what the ballots show.            We need
 6   independent audits of what went on because, evidently,
 7   big tech doesn't want anything to be done, big media
 8   doesn't want anything to be done.
 9                    And frankly, the -- the president's team is
10   focused on one state here, one state there, and we're
11   looking at the whole picture here.
12                    MS. MCKINNEY:     What really just blows my
13   mind is after four years of hearing Russian, Russia,
14   Russia, foreign interference in our elections, here we
15   find these companies, these voting systems that are
16   either foreign owned, such as Dominion, a Canadian
17   company, or they have servers overseas.           Does that raise
18   your alarm bells, raise your suspicions?
19                    MR. FITTON:     Well, the one thing that does
20   raise my suspicion is the involvement of this Dominion
21   systems in elections across the country, especially
22   given the big error that took place up there in
23   Michigan.     I've reviewed the explanation local officials
24   had about what happened there, and it was a combination
25   of human error and it looks like a software update that




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP62
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 63 of 971

                                                                           8
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1   wasn't appropriately uploaded.         And it's the sort of
 2   thing that you would think, Well, is that happening
 3   somewhere else?
 4                   So even the innocent explanation requires a
 5   second look of how the system was used in the various
 6   states it was used.      And, you know, the Smartmatic
 7   ma- -- system, which is separate from Dominion, is
 8   based, as -- as far as I can tell, and that company was
 9   set up by buddies of Hugo Chavez.         There's no doubt
10   about it.    And they should be nowhere near our
11   elections.
12                   So let's be clear here.         You've got these
13   computer systems that are at issue.          But separately and
14   as substantially, you've got government officials,
15   specifically in Pennsylvania, acting as if they have
16   something to hide by refusing to let observers come in,
17   as you pointed out in your opening monologue, come in
18   and watch with any serious -- in any serious way, watch
19   these ballots being counted.
20                   When you're illicitly counting ballots,
21   you've got to be suspicious.        And when the numbers are
22   680,000 ballots that were illicitly counted, that could
23   turn the whole election out.
24                   MS. MCKINNEY:      It definitely could.        And
25   also, we see that this year, that the rejection rate for




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP63
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 64 of 971

                                                                           9
      Tipping Point With Kara McKinney Segment - November 17, 2020


1    mail-in ballots was much lower than it normally is,
2    which is kind of iffy there.         And as well, you were
3    saying that these poll watchers were being kicked out,
4    so they couldn't really verify a lot of these ballots.
5    And your, you know, Judicial Watch, for months leading
6    up to this election, you guys were sounding the alarm
7    bells, saying, Hey, there's as many as 1.8, 2 million,
8    you know, extra registered voters, dirty voter rules, as
9    you were saying.
10                    MR. FITTON:      Yeah.    In Pennsylvania,
11   800,000 extra names on the rolls, according to our
12   lawsuit.   In Michigan, 654,000 extra names, according to
13   the most recent data.       Clark County, Nevada, the -- you
14   know, that's Las Vegas, 154,000 extra names just in
15   Clark County alone.       So the voting rolls across the
16   nation are a mess.      They're bad at -- at Fulton County,
17   Georgia, horribly dirty voter registration rolls.
18                    And so those names are -- some of them are
19   inactive, meaning they haven't voted in a long time.
20   But the fact that the rolls are dirty and haven't been
21   cleaned suggest they should not be relied on, certainly
22   if you're going to start mailing ballot and ballot
23   applications to them blindly.          And that's why when
24   you're counting ballots that come in from the mails,
25   given that the lists are so dirty and you're not seeing




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP64
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 65 of 971

                                                                           10
      Tipping Point With Kara McKinney Segment - November 17, 2020


1    people in person, you've got to have all the checks --
2    all -- all the security checks in place, like basic
3    observation by one of the parties involved, the
4    president's campaign, and this is just in Pennsylvania,
5    which evidently didn't happen.
6                     MS. MCKINNEY:      And now here we are, it's
7    Tuesday once again.       This is now the second week since
8    November 3rd, since the election, and we still don't
9    conclusively have a winner.         How did we get to this
10   point, and in fact, some states like Georgia are still
11   finding ballots now, two weeks out from the election?
12                    MR. FITTON:      Yeah.    Second county, they
13   found more ballots for Donald Trump.            I think the --
14   it's down from 14,000 down to a little over 12,000, in
15   terms of the difference between Biden and Trump.                Well,
16   this is chaos.     They knew it was going to happen that,
17   they told us it was going to happen, that the president
18   will, quote, win on election night, but the outcome
19   would change as votes were counted afterwards.
20                    I think that whole process is deplorable.
21   It may be contrary to federal law that requires states
22   to choose their electors on the -- on essentially
23   Election Day.      That obviously didn't happen.          And
24   instead, we've got votes coming from who knows where
25   because the lists are dirty and counted who knows how




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP65
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 66 of 971

                                                                           11
      Tipping Point With Kara McKinney Segment - November 17, 2020


 1   because they weren't allowed -- no one was allowed to
 2   look, effectively, in Pennsylvania.          And so now the
 3   courts are going to have to figure it out.            But under
 4   our Electoral College system, the state legislatures can
 5   step in and fix it by appointing a clean slate.
 6                   Is the state legislature of Pennsylvania
 7   going to allow that mess to be the final say as to who
 8   chooses how the president is chosen?          They have an
 9   independent obligation to step in, and ultimately
10   Congress too, come January when they certify Electoral
11   College results.     You could have members object to those
12   results from Pennsylvania, for instance, if those -- if
13   that dirty election is upheld further.
14                   MS. MCKINNEY:      Tom Fitton from Judicial
15   Watch.   Have to leave it right there.          Thank you so much
16   for joining us tonight, and thank you for your work on
17   the ground in these battleground states.
18                   MR. FITTON:     You're welcome.       Thank you for
19   having me.
20                   (Recording ends.)
21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP66
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 67 of 971

                                                                           12
      Tipping Point With Kara McKinney Segment - November 17, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                   ~ ~<---~
                                 ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas 75206
20                               (214) 855-5100
                                 My commission expires: 7-31-25
21
22
23
24
25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP67
       Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 68 of 971

                                                            13
 Tipping Point With Kara McKinney Segment - November 17, 2020

         A          begins 2:1         chosen 6:10 11:8     4:1,6              election 2:4,23
above-entitled      begs 6:2           cities 5:5                                3:7,16 5:1,6 6:7
                    believe 3:25 4:1   Clark 9:13,15               D             6:11,23 8:23
  12:5
access 7:4          bells 7:18 9:7     clean 11:5          Dallas 12:19          9:6 10:8,11,18
account 5:22        Biden 2:3,13       cleaned 9:21        data 9:13             10:23 11:13
accusing 5:14         10:15            clear 8:12          Davenport 12:17     elections 4:21
act 3:4             Biden's 4:15 6:12  Clinton 5:19        Day 10:23             5:16,22 6:1,14
acting 8:15         big 2:5,18 3:8 4:8 colleagues 2:5      dead 4:11             7:14,21 8:11
action 12:8,10        7:7,7,22         College 11:4,11     decided 2:11        Electoral 11:4,10
adjust 5:11         bigger 4:12        combination         decisions 2:21      electors 10:22
ago 3:15 5:12       blindly 9:23         7:24              definitely 8:24     electronic 5:25
aide 6:12           blows 3:4 7:12     come 3:1 8:16,17    Democrat 5:12       Elizabeth 5:13
alarm 7:18 9:6      board 4:16,18        9:24 11:10        Democratic 3:21     employed 12:7
allow 6:8 11:7      buddies 8:9        coming 10:24        Democrats 5:4       ends 11:20
allowed 5:7 11:1    busy 6:23          commission            6:6               enjoy 2:20
  11:1                                   12:20             deplorable 10:20    error 7:22,25
                             C         Committee 2:7       Detroit 5:5         especially 7:21
allowing 6:4
allows 5:10         C 12:1,1           companies 6:3       Dickman 12:17       essentially 3:14
amounts 2:23        call 5:2             7:15              dictating 3:10        10:22
Amy 5:13            campaign 10:4      company 4:17        difference 10:15    evidently 7:6
anomaly 4:25        Canada 5:20,22       5:18 7:17 8:8     diligence 2:3         10:5
applications 9:23   Canadian 5:18      complaint 5:14      directors 4:17      exactly 2:16
appointing 11:5       7:16             computer 8:13       dirty 9:8,17,20     examine 7:2
appropriately       cases 4:10         conclusively 10:9     9:25 10:25        example 4:13
  8:1               cast 4:10          Congress 11:10        11:13             excluded 2:14
articles 2:13       caused 5:1         continues 3:3       distribution 2:14   exist 3:14,22
attempt 3:11        causing 5:15       contrary 10:21      Dominion 4:14       expect 3:2
audits 7:6          Central 12:18      control 2:10          5:14,18,23 6:6    expires 12:20
aware 3:14,17,18    certain 2:20       correct 12:4          7:3,16,20 8:7     explanation 7:23
                    certainly 9:21     counsel 12:6        Dominion's 5:10       8:4
         B          Certified 1:13     count 6:3           Donald 10:13        express 3:2
back 4:21 6:13        12:2,16          counted 5:24        donations 5:19      Expressway
bad 9:16            certify 11:10 12:3   8:19,22 10:19     Dorsey 3:12,18        12:18
ballot 5:11 9:22      12:6,11            10:25               3:23 4:7          extra 9:8,11,12
 9:22               chairman 4:17      counting 8:20       doubt 8:9             9:14
ballot-counting     challenges 6:22      9:24              downplay 4:24
 5:7                change 10:19       country 7:21        due 2:3                     F
ballots 4:10 5:23   changes 3:2        counts 3:16                             F 12:1
                    chaos 10:16                                     E          face 3:5
 7:4,5 8:19,20                         county 9:13,15
 8:22 9:1,4,24      charged 3:16         9:16 10:12        E 12:1,1            Facebook 2:6,10
 10:11,13           Chavez 8:9         coup 3:11           edi- 2:12           faced 3:7
based 5:11 8:8      checks 10:1,2      course 2:5          editor 2:15         fact 9:20 10:10
basic 10:2          cheering 5:4       courts 11:3         editorial 2:10,21   failing 4:24
battleground        choose 10:22       covered 4:8         effectively 11:2    familiar 5:17
 6:24 11:17         chooses 11:8       Cruz 3:11,13,19     efforts 6:25        far 4:4 5:8 8:8
                                                           either 7:16

                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                 800.445.9548
                                            APP68
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 69 of 971

                                                            14
 Tipping Point With Kara McKinney Segment - November 17, 2020

federal 6:1 10:21   good 2:11 4:4     interference 2:23   Lindsey 2:8,21     names 9:11,12,14
fee 12:11             6:19              7:14              link 3:20            9:18
figure 11:3         government 8:14   investigations      lists 9:25 10:25   nation 9:16
final 11:7          Graham 2:8,22       6:24              little 10:14       near 8:10
financially 12:9    grilling 3:11     involved 10:3       lobbyist 5:20      need 7:5
find 2:9,14 7:15    ground 11:17      involvement 7:20    local 7:23         needed 2:13
finding 10:11       guest 6:16        issue 8:13          long 9:19          Neffenger 4:16
Firm 12:18          guys 9:6          issued 5:13         long-time 6:12     neither 12:6
first 6:3,16                          issues 4:12         look 8:5 11:2      Nevada 9:13
Fitton 6:17,19              H                             looking 7:11       never 5:24
  7:1,19 9:10       hand 5:24                 J           looks 7:25         New 2:2,11,12
  10:12 11:14,18    happen 10:5,16    January 11:10       lot 9:4              4:22
fix 11:5              10:17,23        joining 11:16       lower 9:1          newspaper 2:9
flagged 2:13        happened 7:24     Judicial 6:16,23                       night 10:18
flawed 6:12         happening 8:2       9:5 11:14                M           normally 9:1
flow 6:4            happens 4:15      Judiciary 2:7      ma- 8:7             North 12:18
focused 7:10        hard 2:14                            machines 5:25       noses 3:4
                    heads 2:6                  K         mail-in 9:1
follow 6:9                                                                   November 1:14
foregoing 12:3      hearing 7:13      KARA 1:15          mailing 9:22          2:25 10:8
foreign 6:3 7:14    hearings 2:24     kept 5:7           mails 9:24          numbers 8:21
  7:16              Hey 9:7           kicked 5:3 9:3     making 2:21 6:22
formal 5:14         hide 8:16         kind 9:2           manipulated                  O
found 10:13         hired 5:20        Klain 6:13          4:23               object 11:11
Foundation 4:19     honored 6:17      Klobuchar 5:13     matter 12:5         obligation 11:9
  5:19              horribly 9:17     knew 6:6 10:16     MCKINNEY            observation 10:3
four 7:13           Hugo 8:9          know 2:12 4:6       1:15 2:2,16 4:4    observers 8:16
frankly 7:9         human 7:25          7:3 8:6 9:5,8,14  6:21 7:12 8:24     obviously 10:23
fraud 3:14,16,22    Hunter 2:3,13     knows 3:10 10:24    10:6 11:14         official 5:21
  4:10              hypotheticals       10:25            meaning 9:19        officials 6:11 7:23
front 5:24            3:24                               means 6:10            8:14
                                               L
full 12:12                                               media 7:7           once 10:7
                               I      labels 4:8         member 4:15,16      open 4:18 7:2
Fulton 9:16                           lack 5:1,5
funny 5:2           iffy 9:2                              4:18 6:12          open-ended 3:9
                    illicitly 8:20,22 laptop 2:4         members 11:11       opening 8:17
further 11:13                         Las 9:14
  12:6,9,11         images 5:12                          mess 9:16 11:7      opinion 2:24
                    Imagine 6:1       law 7:4 10:21      Michigan 7:23       outcome 10:18
        G           inactive 9:19     laws 7:2            9:12                 12:10
Garcia 12:2,16      independent 6:24 lawsuit 9:12        million 9:7         outrage 3:2
George 4:18            7:6 11:9       lead 6:9           mind 7:13           outright 3:6
Georgia 9:17        indictment 3:20   leading 9:5        Monday 5:22         overlords 3:9
  10:10             individual 4:9    leave 11:15        monitors 5:1,6      overseas 6:5 7:17
given 7:22 9:25     information 6:4   left 3:8           monologue 8:17      oversight 5:4
go 4:7              innocent 8:4      legal 2:20 6:22    months 9:5          owned 7:16
going 4:2,2 9:22    instance 11:12    legislature 11:6
  10:16,17 11:3,7   integrity 5:16    legislatures 11:4          N                   P
                    interested 12:10 let's 8:12          name 4:11           page 4:8

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                           APP69
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 70 of 971

                                                            15
 Tipping Point With Kara McKinney Segment - November 17, 2020

paid 12:12          quote 4:23 5:22      Russia 7:13,14        5:10 7:25           6:22 7:9
paid/will 12:12      10:18               Russian 7:13        Soros's 4:18        tech 2:5,18 3:8
paper 4:24 5:23                                              sort 8:1              4:9 7:7
part 4:9                     R                    S          sound 5:4,17        Ted 3:11
parties 10:3 12:7   R 12:1               saying 4:22,25      sounding 9:6        tell 6:25 8:8
Party 3:21          raise 7:17,18,20       6:10 9:3,7,9      specifically 8:15   terms 10:15
Pelosi 5:20         rate 8:25            says 3:21           spot 4:7            Terri 12:2,16
Pennsylvania        real 3:10            scanned 5:11        staff 5:10          test 4:2
  8:15 9:10 10:4    really 7:12 9:4      screen 4:6          staffer 5:20        testify 2:6
  11:2,6,12         reason 2:12          scrutineers 5:24    start 9:22          Texas 3:11,15
people 10:1         record 4:24          second 8:5 10:7     state 3:15 7:1,10     6:10 12:3,16,19
person 10:1         recording 2:1          10:12               7:10 11:4,6       thank 6:20,21
Peter 4:16            11:20 12:4,8       secondly 6:5          12:3                11:15,16,18
Philadelphia 5:5    records 7:2          security 10:2       statement 3:19      theater 3:1
picture 7:11        refusing 8:16        see 4:3,5 5:8 7:5   states 4:14 6:8,9   thing 7:19 8:2
place 2:25 6:4      registered 9:8         8:25                6:24 7:3,4 8:6    think 3:23 8:2
  7:22 10:2         registration 9:17    seeing 9:25           10:10,21 11:17      10:13,20
plas- 2:25            12:18              seen 2:17           stealing 3:7        threatened 5:16
play 4:12           rejection 8:25       SEGMENT 1:15        step 11:5,9         time 2:21 9:19
plays 2:18          related 12:7         Senate 2:7          story 2:4           Times 4:22
point 1:15 2:17     relied 9:21          senator 2:8,21      subsidiary 4:14     TIPPING 1:15
  10:10             Remember 6:12          3:11,13,19 4:1    substantially       Today 2:6
pointed 2:22 8:17   report 4:23          Senator's 4:5         8:14              told 10:17
political 3:1       reported 4:22        senators 5:12       suggest 9:21        Tom 6:16,17
poll 5:3,6 9:3      reportedly 6:4       separate 8:7        Suite 12:19           11:14
position 3:13,21    Reporter 12:2,17     separately 8:13     surprise 2:16       tonight 6:18
Post 2:2,11,12      reporting 2:3        serious 8:18,18     surprised 3:4         11:16
posted 5:22           4:25               servers 6:5 7:17    suspicion 7:20      top 5:20
precisely 6:11      Republican 5:3       set 8:9             suspicions 7:18     transcribed 12:8
president 4:7       Republicans 3:2      Shorthand 12:2      suspicious 8:21     transcription
  6:16 10:17 11:8   requires 8:4           12:17             switching 5:15        1:13 12:4,11
president's 6:22      10:21              shot 2:4,4          system 4:13 8:5,7   transition 4:15
  7:9 10:4          results 11:11,12     show 7:5              11:4                6:13
problem 2:24 3:3    review 5:11          sic 6:13            systemic 4:13       tried 2:2 4:24
  3:8 4:9,25        reviewed 7:23        sides 2:18          systems 5:14,15     Trump 10:13,15
problems 5:16       rig 4:21             Silicon 3:9           5:23 7:15,21      Trump's 4:7
process 5:4,7       rigged 6:14          situation 2:7 3:7     8:13              try 2:8
  10:20             right 3:3,8,22 4:5   six 6:24                                Tuesday 10:7
protections 2:20      11:15              skewed 4:23                  T          turn 8:23
public 3:10         rightly 2:22         slate 11:5          T 12:1,1            tweet 4:3
publishers 2:19     Robert 6:13          Smartmatic 4:14     tabulators 5:25     tweeted 3:19
put 3:20 4:3,6      rolls 9:11,15,17       4:17 8:6          take 2:25           tweets 4:5
                      9:20               Smartmatics 6:7     talleys 5:11        Twitter 2:6,9
       Q            Ron 5:13             Society 4:18        tally 4:23            5:21
question 6:2        rules 9:8            software 4:20,22    team 4:16 6:13      Twitter's 3:13


                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                   800.445.9548
                                              APP70
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 71 of 971

                                                            16
 Tipping Point With Kara McKinney Segment - November 17, 2020

two 3:15 10:11      we're 3:7 4:2 7:1           3
                     7:10               30 4:14
        U           we've 2:17 3:1      312 12:18
U.S 6:14             10:24              3rd 2:25 10:8
ultimate 2:15       week 10:7
ultimately 11:9     weeks 3:15 10:11            4
update 7:25         welcome 6:15,17     4228 12:18
upheld 11:13         11:18
uploaded 8:1        went 7:2,6                  5
use 5:23,23         weren't 11:1
useful 3:24                                     6
                    win 10:18
                    winner 10:9         654,000 9:12
         V                              6581 12:17
                    woman 3:15
Valley 3:9          words 5:10          680,000 8:22
various 8:5         work 11:16
Vegas 9:14                                      7
                    worse 3:3,6 5:9
Venezuela 4:21                          7-31-25 12:20
                    Wyden 5:13
verify 9:4                              75206 12:19
video 12:4                 X
                                                8
view 5:7
voted 9:19                  Y           800,000 9:11
voter 3:14,22       Yeah 9:10 10:12     855-5100 12:20
  4:10 9:8,17       year 5:12 8:25
voters 4:11 9:8     years 4:21 6:7
votes 5:15 6:3        7:13
  10:19,24          York 2:2,11,12
voting 4:13 5:14      4:22
  5:15,23,25 7:15
  9:15                      Z
vulnerabilities
                            0
  6:6
        W                   1
want 2:8 5:21       1.8 9:7
 6:15 7:3,4,7,8     101 12:19
warning 3:20 4:8    12,000 10:14
Warren 5:13         134 3:16
wasn't 8:1          14,000 10:14
watch 6:16,23       154,000 9:14
 8:18,18 9:5        17 1:14
 11:15                      2
watchers 5:3,6      2 9:7
 9:3                2014 6:14
way 8:18            2020 1:14
ways 3:1,9          214 12:20
we'll 4:3

                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com   800.445.9548
                                             APP71
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 72 of 971




        Exhibit A-4




                             APP72
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 73 of 971

                                                                           1
              Real America With Dan Ball - November 19, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12   CERTIFIED TRANSCRIPTION OF
13        NOVEMBER 19, 2020
14   REAL AMERICA WITH DAN BALL
15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP73
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 74 of 971

                                                                           2
             Real America With Dan Ball - November 19, 2020


 1                   (Recording begins.)
 2                   MR. BALL:     Anyway, my next guest, let's
 3   check in with her.      She happens to be a New York City
 4   resident, and I want to get this name right.            It's Evi
 5   Kokalari-Angelakis.      She is a very, very outspoken, not
 6   only conservative columnist and person kind of with a
 7   big opinion in that city, also a very successful real
 8   estate agent as well.
 9                   And Evi, I want to welcome you to the show.
10   And the main reason that I brought you to the show, not
11   only to talk about what's happens in New York City where
12   you live, in the state of New York, and the
13   Draconian-style lockdowns your governor is imposing, but
14   your background.
15                   You immigrated here, I believe I saw in
16   your bio, 20 years ago from Albania.          And you're
17   familiar with communism and socialism and how it works
18   and doesn't work versus capitalism.          You're also
19   familiar with a little company called Dominion software,
20   which is at the forefront of this election fraud.
21                   So first of all, tell folks a little bit
22   about your background and how you know that Dominion has
23   been involved in some other corrupt elections overseas
24   in the past.
25                   MS. KOKALARI-ANGELAKIS:         Well, thank you




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP74
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 75 of 971

                                                                           3
              Real America With Dan Ball - November 19, 2020


 1   for having me on, Dan, first of all.          I was born
 2   eventually in Albania, which is -- was a socialist
 3   country, so as far as me having any freedom, we had
 4   zero.   We haven't have freedom of speech, we didn't
 5   have -- forget about Second Amendment, because this is
 6   the beauty of our Constitution.         The Second Amendment is
 7   going to save America during those tough times that
 8   we're going through.      This is the only thing that
 9   Democrats are scared of, us having the right to guns.
10                   So let's go back a little bit about the way
11   that the voter fraud has happened over the past, even
12   20 years, after the -- the system in Albania changed,
13   but mostly in the Balkans.        We've had voter fraud that
14   has been backed up constantly by the only person that is
15   backing this one up in America and that is George Soros.
16   The only beauty of being in your channel is that we have
17   the freedom and the platform to talk about George Soros,
18   something that, apparently, you can't even do in Fox
19   News and you cannot do it in the Balkans.
20                   My question, when it comes to Dominion, is
21   one only.   How come this has been in Serbia for so long,
22   Question No. 1?     And No. 2, I want to know if President
23   Vucic, which is the president of Serbia, was aware of
24   this?   And this is very important and here is why.
25   Because as you know, Ambassador Grenell has worked for




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP75
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 76 of 971

                                                                           4
              Real America With Dan Ball - November 19, 2020


1    the past 18 months on putting together an agreement in
2    between Kosovo and Serbia, and is one of the reasons one
3    of the Nobel Prize that the president is nominated.
4                     MR. BALL:     Uh-huh.
5                     MS. KOKALARI-ANGELAKIS:         Now, while the
6    president of Serbia has been so friendly to the Trump
7    Administration, and he has been very welcomed, as far as
8    I understand, to Ambassador Grenell, did he know the
9    whole -- this time that Dominion was operating in his
10   backyard, and what was Dominion exactly going to do,
11   that this had to do something with voter fraud?
12                    Now, in Albania, we have had voter fraud
13   and people have been complaining for a very long time.
14   We have a prime minister that is extremely close with
15   George Soros, and I've been one of the few people
16   outspoken about this in Albania.           And I've brought
17   certain people that have political influence in America,
18   I've brought them in the (inaudible) in Albania so he
19   can talk about George Soros, because the most important
20   thing we need to do right now is tell everybody that
21   George Soros is the problem, and he is the one that has
22   brought along the Clinton Foundation, the Obama
23   Administration, and there is a lot of other things going
24   on, other foundations that are connected to George
25   Soros.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP76
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 77 of 971

                                                                               5
                Real America With Dan Ball - November 19, 2020


 1                    But George Soros is behind it, has been in
 2   the Balkans and in Europe for a very long time, and
 3   right now, we just got -- you know, got exposed in
 4   America.     But I'm not -- I'm sure that you have heard
 5   the this has been going on in America for a while as
 6   well.
 7                    MR. BALL:    Yeah, I've seen --
 8                    MS. KOKALARI-ANGELAKIS:        (Inaudible.)
 9                    MR. BALL:    And just to your point, Evi, I
10   want to -- I want to point out.         I've not seen the hard
11   evidence yet connecting Soros to Dominion, but we have
12   seen the hard evidence connecting the Clinton Foundation
13   and other Democrats to Dominion, plus some of their
14   hierarchy and CEO and whatnot have donated to the
15   Democrat side.     So we know there's definitely
16   connections there with Dominion, and now we, I think, as
17   Americans, are -- are slowly getting the information
18   about this tech company that we really had no idea of.
19                    I mean, until this fraudulent election,
20   this rigged election, I didn't know who Dominion was.                 I
21   would think that probably 99 percent of Americans had no
22   clue who Dominion software, election voting services,
23   whatever their official tile is.         We didn't know.
24                    MS. KOKALARI-ANGELAKIS:        Well, this -- they
25   have been around since 2004, at least in Serbia.             And




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP77
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 78 of 971

                                                                           6
             Real America With Dan Ball - November 19, 2020


1    Dominion and the Clinton Foundation, they have a project
2    together called The Delian Project, which apparently
3    raises money to help voter fairness in countries like, I
4    don't know, maybe Albania, or countries that are not --
5    don't have a strong economy or they are not too strong.
6                     Meanwhile, they are doing the opposite.
7    So, you know, when you see weak states like those, this
8    is the perfect playground for George Soros because,
9    believe it or not, George Soros' son is constantly in
10   Albania.   And Albanians are friends of Hillary Clinton
11   and the Clinton Foundation.         But remember this, in 2016,
12   right before the election in 2016, Hillary Clinton was
13   so sure she was going to win, and the only reason she
14   was sure she was going to win is because they knew
15   Dominion and the software, Smartac- -- Smartmatic was
16   in -- in existence, and that's how they were going to
17   get the election.
18                    They just didn't expect -- they didn't
19   realize how many Americans were going to vote for Donald
20   Trump, and that's how they probably lost that election.
21                    MR. BALL:     Yeah.    What we've seen from the
22   information coming out, and we heard a little bit from
23   Rudy Giuliani today, is that, obviously, these security
24   folks at Dominion that set up the systems in the
25   individual states, they can just do a little tweak here,




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP78
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 79 of 971

                                                                           7
              Real America With Dan Ball - November 19, 2020


1    a little tweak there of the program, and it can make it
2    so minor to flip votes, but enough to make your guy win
3    that, hopefully, it's not noticeable.
4                     And to your point in '16, and I've seen
5    this in -- in several articles, they didn't tweak it
6    quite enough.      They didn't expect that many millions of
7    people to vote --
8                     MS. KOKALARI-ANGELAKIS:         Exactly.
9                     MR. BALL:     -- for President Donald J.
10   Trump.   Really interesting insight, Evi.            I really
11   appreciate you coming on and talking about this.               We
12   here at One America will continue to look into the Soros
13   connection, but again, we do know there are ties
14   directly to the Clinton Foundation and other Democrats
15   with this Dominion software company and their hierarchy
16   that run it.
17                    And we all know, we have seen there's been
18   voter fraud, voter interfere- -- or pardon me, election
19   fraud and election interference in those countries
20   like -- whether it be Serbia, Albania, lots of
21   third-world countries.        When they act like they're
22   having a fair and free election, it's usually rigged in
23   the back.
24                    MS. KOKALARI-ANGELAKIS:         Exactly.
25                    MR. BALL:     Yeah.    Thanks for coming on --




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP79
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 80 of 971

                                                                            8
                Real America With Dan Ball - November 19, 2020


 1                    MS. KOKALARI-ANGELAKIS:        Absolutely.
 2                    MR. BALL:    -- giving us that information.
 3                    MS. KOKALARI-ANGELAKIS:        Thanks for your
 4   time.
 5                    MR. BALL:    We really appreciate it.         And I
 6   would say to you, Stay safe.
 7                    MS. KOKALARI-ANGELAKIS:        Thank you.     I
 8   will.
 9                    MR. BALL:    When you speak like that, you've
10   got to stay safe.
11                    MS. KOKALARI-ANGELAKIS:        I have to speak
12   up.     Thank you so much.
13                    MR. BALL:    Yep.   Thank you.
14                    (Recording ends.)
15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
           214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP80
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 81 of 971

                                                                           9
             Real America With Dan Ball - November 19, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas 75206
20                               (214) 855-5100
                                 My commission expires: 7-31-25
21
22
23
24
25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP81
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 82 of 971

                                                                                                10
            Real America With Dan Ball - November 19, 2020

         A          beauty 3:6,16        constantly 3:14     Evi 2:4,9 5:9 7:10     5:1 6:8,9
above-entitled      begins 2:1             6:9               evidence 5:11,12     getting 5:17
  9:5               believe 2:15 6:9     Constitution 3:6    exactly 4:10 7:8     Giuliani 6:23
Absolutely 8:1      big 2:7              continue 7:12         7:24               giving 8:2
act 7:21            bio 2:16             correct 9:4         existence 6:16       go 3:10
action 9:8,10       bit 2:21 3:10 6:22   corrupt 2:23        expect 6:18 7:6      going 3:7,8 4:10
Administration      born 3:1             counsel 9:6         expires 9:20           4:23 5:5 6:13
  4:7,23            brought 2:10         countries 6:3,4     exposed 5:3            6:14,16,19
agent 2:8             4:16,18,22           7:19,21           Expressway 9:18      governor 2:13
ago 2:16                                 country 3:3         extremely 4:14       Grenell 3:25 4:8
                            C                                                     guest 2:2
agreement 4:1
                C 9:1,1                          D                   F            guns 3:9
Albania 2:16 3:2
                called 2:19 6:2
  3:12 4:12,16,18                        Dallas 9:19        F 9:1                 guy 7:2
  6:4,10 7:20   capitalism 2:18          Dan 1:14 3:1       fair 7:22
                Central 9:18             Davenport 9:17     fairness 6:3                  H
Albanians 6:10
Ambassador      CEO 5:14                 definitely 5:15    familiar 2:17,19      happened 3:11
  3:25 4:8      certain 4:17             Delian 6:2         far 3:3 4:7           happens 2:3,11
Amendment 3:5   Certified 1:12           Democrat 5:15      fee 9:11              hard 5:10,12
  3:6             9:2,16                 Democrats 3:9      financially 9:9       heard 5:4 6:22
America 1:14 3:7certify 9:3,6,11           5:13 7:14        Firm 9:18             help 6:3
                changed 3:12
  3:15 4:17 5:4,5                        Dickman 9:17       first 2:21 3:1        hierarchy 5:14
  7:12          channel 3:16             directly 7:14      flip 7:2                7:15
Americans 5:17  check 2:3                doing 6:6          folks 2:21 6:24       Hillary 6:10,12
  5:21 6:19     city 2:3,7,11            Dominion 2:19      forefront 2:20        hopefully 7:3
Anyway 2:2      Clinton 4:22 5:12          2:22 3:20 4:9    foregoing 9:3
                  6:1,10,11,12             4:10 5:11,13,16  forget 3:5                     I
apparently 3:18                                                                   idea 5:18
  6:2             7:14                     5:20,22 6:1,15   Foundation 4:22
                close 4:14                 6:24 7:15           5:12 6:1,11        immigrated 2:15
appreciate 7:11                                                                   important 3:24
  8:5           clue 5:22                Donald 6:19 7:9       7:14
                columnist 2:6            donated 5:14       foundations 4:24        4:19
articles 7:5                                                                      imposing 2:13
aware 3:23      come 3:21                Draconian-style    Fox 3:18
                comes 3:20                 2:13             fraud 2:20 3:11       inaudible 4:18
        B       coming 6:22 7:11                               3:13 4:11,12         5:8
                  7:25                            E            7:18,19            individual 6:25
back 3:10 7:23
backed 3:14     commission    9:20       E 9:1,1            fraudulent 5:19       influence 4:17
background 2:14 communism     2:17       economy 6:5        free 7:22             information 5:17
 2:22           company 2:19             election 2:20 5:19 freedom 3:3,4,17        6:22 8:2
backing 3:15      5:18 7:15                5:20,22 6:12,17 friendly 4:6           insight 7:10
backyard 4:10   complaining    4:13        6:20 7:18,19,22 friends 6:10           interested 9:10
Balkans 3:13,19 connected 4:24           elections 2:23     full 9:12             interesting 7:10
 5:2            connecting 5:11          employed 9:7       further 9:6,9,11      interfere- 7:18
BALL 1:14 2:2     5:12                   ends 8:14                                interference 7:19
                connection   7:13        estate 2:8                  G            involved 2:23
 4:4 5:7,9 6:21
 7:9,25 8:2,5,9 connections   5:16       Europe 5:2         Garcia 9:2,16
                                         eventually 3:2     George 3:15,17                J
 8:13           conservative 2:6
                                         everybody 4:20        4:15,19,21,24      J 7:9

                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com                 800.445.9548
                                              APP82
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 83 of 971

                                                                                               11
            Real America With Dan Ball - November 19, 2020

        K           noticeable 7:3            R             5:22 6:15 7:15       7:10
kind 2:6            NOVEMBER           R 9:1              son  6:9             tweak 6:25 7:1,5
knew 6:14            1:13              raises 6:3         Soros   3:15,17
                                                            4:15,19,21,25              U
know 2:22 3:22                         real 1:14 2:7
                             O                              5:1,11 6:8 7:12    Uh-huh 4:4
  3:25 4:8 5:3,15                      realize 6:19
  5:20,23 6:4,7     Obama 4:22         really 5:18 7:10   Soros'   6:9         understand 4:8
  7:13,17           obviously 6:23       7:10 8:5         speak 8:9,11         usually 7:22
Kokalari-Ange...    official 5:23      reason 2:10 6:13 speech 3:4
                    operating 4:9                                                      V
  2:5,25 4:5 5:8                       reasons 4:2        state 2:12 9:3
                    opinion 2:7                           states 6:7,25        versus 2:18
  5:24 7:8,24 8:1                      recording 2:1                           video 9:4
  8:3,7,11          opposite 6:6         8:14 9:4,8       stay 8:6,10
                    outcome 9:10                                               vote 6:19 7:7
Kosovo 4:2                             Registration 9:18 strong 6:5,5          voter 3:11,13
                    outspoken 2:5      related 9:7        successful 2:7
          L           4:16                                Suite 9:19             4:11,12 6:3
                                       remember 6:11                             7:18,18
let's 2:2 3:10      overseas   2:23    Reporter 9:2,17    sure 5:4 6:13,14
little 2:19,21 3:10                                       system 3:12          votes 7:2
                              P        resident 2:4                            voting 5:22
   6:22,25 7:1
                    paid  9:12         rigged 5:20 7:22 systems 6:24           Vucic 3:23
live 2:12                              right 2:4 3:9 4:20
lockdowns 2:13      paid/will 9:12                                  T
                    pardon   7:18        5:3 6:12                                      W
long 3:21 4:13                         Rudy 6:23          T 9:1,1
                    parties  9:7                          talk 2:11 3:17       want 2:4,9 3:22
   5:2                                 run 7:16                                 5:10,10
look 7:12           people  4:13,15,17                      4:19
                      7:7                                 talking 7:11         way 3:10
lost 6:20                                       S
                    percent   5:21                        tech 5:18            we're 3:8
lot 4:23                               safe 8:6,10                             we've 3:13 6:21
lots 7:20           perfect  6:8       save 3:7           tell 2:21 4:20
                    person 2:6 3:14                       Terri 9:2,16         weak 6:7
                                       saw 2:15                                welcome 2:9
          M         platform 3:17      scared 3:9         Texas 9:3,16,19
main 2:10           playground    6:8                     thank 2:25 8:7,12    welcomed 4:7
                                       Second 3:5,6                            whatnot 5:14
matter 9:5          plus 5:13          security 6:23        8:13
mean 5:19           point 5:9,10 7:4                      Thanks    7:25 8:3   win 6:13,14 7:2
                                       see 6:7                                 work 2:18
millions 7:6        political 4:17     seen 5:7,10,12     thing 3:8 4:20
minister 4:14       president 3:22,23                     things 4:23          worked 3:25
                                         6:21 7:4,17                           works 2:17
minor 7:2             4:3,6 7:9        Serbia 3:21,23     think 5:16,21
money 6:3           prime  4:14          4:2,6 5:25 7:20 third-world 7:21                 X
months 4:1          Prize 4:3          services 5:22      ties 7:13
                    probably 5:21      set 6:24           tile 5:23                    Y
          N           6:20             Shorthand 9:2,17 time 4:9,13 5:2        Yeah 5:7 6:21
name 2:4            problem 4:21       show 2:9,10          8:4                  7:25
need 4:20           program 7:1        side 5:15          times  3:7           years 2:16 3:12
neither 9:6         project 6:1,2      slowly 5:17        today 6:23           Yep 8:13
New 2:3,11,12       putting 4:1        Smartac- 6:15      tough 3:7            York 2:3,11,12
News 3:19                              Smartmatic 6:15 transcribed 9:8
Nobel 4:3                    Q                                                            Z
                                                          transcription
nominated 4:3       question 3:20,22 socialism 2:17         1:12 9:4,11        zero 3:4
                    quite 7:6          socialist 3:2
North 9:18                             software 2:19      Trump 4:6 6:20


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                            APP83
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 84 of 971

                                                                            12
              Real America With Dan Ball - November 19, 2020

          0

          1
1 3:22
101 9:19
16 7:4
18 4:1
19 1:13
          2
2 3:22
20 2:16 3:12
2004 5:25
2016 6:11,12
2020 1:13
214 9:20
        3
312 9:18
        4
4228 9:18
          5

        6
6581 9:17
        7
7-31-25 9:20
75206 9:19
       8
855-5100 9:20
          9
99 5:21




                         Dickman Davenport, Inc
     214.855.5100       www.dickmandavenport.com         800.445.9548
                                   APP84
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 85 of 971




        Exhibit A-5




                             APP85
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 86 of 971

                                                                           1
                   Newsroom Segment - November 20, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13   CERTIFIED TRANSCRIPTION OF
14        NOVEMBER 20, 2020
15        NEWSROOM SEGMENT
16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP86
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 87 of 971

                                                                              2
                   Newsroom Segment - November 20, 2020


1                    (Recording begins.)
2                    MS. MYERS:      So you say Christopher Krebs
3    was way out of his lane when he claimed that there was
4    no corruption in the 2020 presidential election.               Given
5    your experience working at the DHS, why was Krebs out of
6    line to say that?
7                    MR. TRIPPIE:       So it -- it -- it comes down
8    to a couple of things.        He said "no foreign
9    interference" and he said "it's the most secure election
10   we've had."    So let me take them one by one.            It was the
11   most secure election we have because the last
12   administration didn't focus on it.           So any improvement's
13   going to be better.       That said, they did make a lot of
14   advancements over the past two or three years, working
15   with Five Eyes, international partners, intel agencies
16   and state locals, so credit to them for that.
17                   But to come out and say that there was no
18   foreign interference is, at best, a half-truth and --
19   and at worst, it may be a partisan-like statement.                 And
20   let me tell you why.
21                   Number one, in October, ODNI came out and
22   said that the Iranians had hacked a couple of voter
23   registration databases and then used that to send
24   spoofing emails to certain voters.           So obviously,
25   there's been some interference.




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP87
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 88 of 971

                                                                            3
                    Newsroom Segment - November 20, 2020


 1                    Two, to suggest that in a week, we have all
 2   the information needed to identify if there was a
 3   successful breach or not inside the United States or as
 4   a foreign interference, look, the good Lord took seven
 5   days to build the earth, right?          And we're coming out
 6   and saying, No problem, nothing to see here?             It's not
 7   accurate.
 8                    And then I would also add to suggest that
 9   China, Russia and the chubby guy in the pantsuit over on
10   the 38th parallel told their entire army of hackers over
11   the past six months, Stand down, strange credibility.
12                    MS. MYERS:     You definitely provide an
13   interesting perspective given your experience, but let
14   me ask you.     We saw lawm- -- lawmakers on both sides of
15   the aisle criticize the president's decision to fire
16   Krebs.   What would you say to those lawmakers who
17   disagree with the president's decision?
18                    MR. TRIPPIE:      Well, I tell you, I was in --
19   I was in DC a long time, and whenever I see both parties
20   completely agree that some unelected person was fired by
21   the president, we all served at the pleasure's
22   president, it's just the alarm bells go off.
23                    Secondly, 59 security researchers all
24   signed a letter a week ago, saying, Nothing to see here;
25   even though in the same letter, they identified security




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP88
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 89 of 971

                                                                            4
                    Newsroom Segment - November 20, 2020


 1   problems associated with those software and voting
 2   machines.    Also, there was a security consortium right
 3   about the same time through the CISA website that said,
 4   Nothing to see here, no problems.
 5                    Whenever that many -- many group of people,
 6   plus mainstream media all say there's no problem, look,
 7   in the world of cyber, there's -- there's a thing we
 8   like to call "indicators of compromise."            And what
 9   Sidney Powell and Rudy have presented -- now, granted,
10   we want to see more facts, we want to see it on the
11   table -- are, in my world, indicators of compromise.
12                    And then what we do, we do the
13   investigations.      We dig into it.      And one of the things
14   I'd love to see Sidney and Rudy do is, they need to talk
15   to both -- at -- at Dominion and over at Smartmatic, who
16   were the product managers, who were the lead engineers,
17   who were the lead developers and who were the lead
18   testers?    Those are all people directly involved in what
19   software features are made available and testing those
20   features before they're out.
21                    One of the things I would want to know is,
22   can you change a vote, whether it's inside the company
23   on the software or out at a state location where these
24   machines are.     No one is asking those questions, and I'd
25   love to see Sidney and Rudy, as part of their




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP89
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 90 of 971

                                                                            5
                    Newsroom Segment - November 20, 2020


 1   investigation, at least talk to those individuals,
 2   because I think it's going to be a more difficult road
 3   to be able to identify if there were issues without
 4   talking to some of the individuals directly involved in
 5   the code and making of those voting machines.
 6                    MS. MYERS:     What needs to happen in order
 7   for Americans to have faith in the election process
 8   moving forward?
 9                    MR. TRIPPIE:      Well, I -- look, I -- I'll
10   leave the -- the -- the manual counting process to the
11   side.   Let me stay on the cyber side.          So number one, I
12   would get access to all of the software and voting
13   machines immediately, right?         And then I would have a
14   team of forensics people go through not only all of the
15   code, but the log data.
16                    I don't want to get too nerdy here, but the
17   log data will basically let an investigator know what
18   happened in the machine with the software and was there
19   any outside connections.        Like, for example, they -- I
20   think Rudy or Sidney has said something about data went
21   to Germany.     I don't know if that's true or not, but one
22   of the things that I would do if I was investigating, I
23   would look at all the system logs, because the truth
24   lies in those logs.
25                    And I don't know if the DOJ, Rudy and




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP90
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 91 of 971

                                                                           6
                   Newsroom Segment - November 20, 2020


1    Sidney or maybe the locals are looking into that, but
2    that would be -- before I brought anything into court, I
3    would have evidence that shows there was or there
4    wasn't.
5                    (Recording ends.)
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP91
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 92 of 971

                                                                           7
                   Newsroom Segment - November 20, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas 75206
20                               (214) 855-5100
                                 My commission expires: 7-31-25
21
22
23
24
25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP92
       Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 93 of 971

                                                                                          8
                   Newsroom Segment - November 20, 2020

        A          CISA 4:3            election 2:4,9,11   hacked 2:22       leave 5:10
able 5:3           claimed 2:3           5:7               hackers 3:10      letter 3:24,25
above-entitled     code 5:5,15         emails 2:24         half-truth 2:18   lies 5:24
  7:5              come 2:17           employed 7:7        happen 5:6        line 2:6
access 5:12        comes 2:7           ends 6:5            happened 5:18     locals 2:16 6:1
accurate 3:7       coming 3:5          engineers 4:16                        location 4:23
                   commission 7:20     entire 3:10                  I        log 5:15,17
action 7:8,10
add 3:8            company 4:22        evidence 6:3       identified 3:25    logs 5:23,24
administration     completely 3:20     example 5:19       identify 3:2 5:3   long 3:19
  2:12             compromise 4:8      experience 2:5     immediately 5:13 look 3:4 4:6 5:9
advancements         4:11                3:13             improvement's        5:23
  2:14             connections 5:19    expires 7:20         2:12             looking 6:1
agencies 2:15      consortium 4:2      Expressway 7:18    indicators 4:8,11 Lord 3:4
ago 3:24           correct 7:4         Eyes 2:15          individuals 5:1,4 lot 2:13
agree 3:20         corruption 2:4                         information 3:2    love 4:14,25
                   counsel 7:6                  F         inside 3:3 4:22
aisle 3:15
                   counting 5:10       F 7:1              intel 2:15                  M
alarm 3:22
Americans 5:7      couple 2:8,22       facts 4:10         interested 7:10    machine 5:18
army 3:10          court 6:2           faith 5:7          interesting 3:13   machines 4:2,24
asking 4:24        credibility 3:11    features 4:19,20 interference 2:9       5:5,13
associated 4:1     credit 2:16         fee 7:11             2:18,25 3:4      mainstream 4:6
available 4:19     criticize 3:15      financially 7:9    international      making 5:5
                   cyber 4:7 5:11      fire 3:15            2:15             managers 4:16
         B                             fired 3:20         investigating      manual 5:10
basically 5:17              D          Firm 7:18            5:22             matter 7:5
begins 2:1         Dallas 7:19         Five 2:15          investigation 5:1 media 4:6
bells 3:22         data 5:15,17,20     focus 2:12         investigations     months 3:11
best 2:18          databases 2:23      foregoing 7:3        4:13             moving 5:8
better 2:13        Davenport 7:17      foreign 2:8,18 3:4 investigator 5:17 MYERS 2:2 3:12
breach 3:3         days 3:5            forensics 5:14     involved 4:18 5:4    5:6
brought 6:2        DC 3:19             forward 5:8        Iranians 2:22
                   decision 3:15,17    full 7:12          issues 5:3                  N
build 3:5
                   definitely 3:12     further 7:6,9,11                      need 4:14
        C          developers 4:17                                 J         needed 3:2
C 7:1,1            DHS 2:5                      G                            needs 5:6
                                       Garcia 7:2,16               K         neither 7:6
call 4:8           Dickman 7:17
Central 7:18       difficult 5:2       Germany 5:21       know 4:21 5:17     nerdy 5:16
certain 2:24       dig 4:13            given 2:4 3:13       5:21,25          NEWSROOM
Certified 1:13     directly 4:18 5:4   go 3:22 5:14       Krebs   2:2,5 3:16   1:15
  7:2,16           disagree 3:17       going 2:13 5:2                        North 7:18
                                                                   L
certify 7:3,6,11   DOJ 5:25            good 3:4                              NOVEMBER
                                       granted 4:9        lane 2:3             1:14
change 4:22        Dominion 4:15                          lawm- 3:14
China 3:9                              group 4:5                             number 2:21
                           E           guy 3:9            lawmakers 3:14       5:11
Christopher 2:2                                             3:16
chubby 3:9         E 7:1,1
                   earth 3:5                    H         lead 4:16,17,17             O

                                Dickman Davenport, Inc
      214.855.5100             www.dickmandavenport.com                800.445.9548
                                            APP93
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 94 of 971

                                                                                      9
                  Newsroom Segment - November 20, 2020

obviously 2:24    researchers 3:23  table 4:11          went 5:20
October 2:21      right 3:5 4:2 5:13take 2:10           working 2:5,14
ODNI 2:21         road 5:2          talk 4:14 5:1       world 4:7,11
order 5:6         Rudy 4:9,14,25    talking 5:4         worst 2:19
outcome 7:10        5:20,25         team 5:14
outside 5:19      Russia 3:9        tell 2:20 3:18                X
                                    Terri 7:2,16
         P                 S                                    Y
                                    testers 4:18
paid 7:12         saw 3:14          testing 4:19        years 2:14
paid/will 7:12    saying 3:6,24     Texas 7:3,16,19               Z
pantsuit 3:9      Secondly 3:23     thing 4:7
parallel 3:10     secure 2:9,11     things 2:8 4:13               0
part 4:25         security 3:23,25    4:21 5:22
parties 3:19 7:7    4:2             think 5:2,20                1
partisan-like     see 3:6,19,24 4:4 three 2:14          101 7:19
  2:19              4:10,10,14,25   time 3:19 4:3
partners 2:15     SEGMENT 1:15 told 3:10                          2
people 4:5,18     send 2:23         transcribed 7:8     20 1:14
  5:14            served 3:21       transcription       2020 1:14 2:4
person 3:20       seven 3:4           1:13 7:4,11       214 7:20
perspective 3:13 Shorthand 7:2,17 TRIPPIE 2:7
pleasure's 3:21   shows 6:3                                     3
                                      3:18 5:9
plus 4:6          side 5:11,11      true 5:21           312 7:18
Powell 4:9        sides 3:14        truth 5:23          38th 3:10
presented 4:9     Sidney 4:9,14,25 two 2:14 3:1
                                                                4
president 3:21,22   5:20 6:1
president's 3:15 signed 3:24                 U          4228 7:18
  3:17            six 3:11          unelected 3:20                5
presidential 2:4  Smartmatic 4:15 United 3:3
                                                        59 3:23
problem 3:6 4:6   software 4:1,19
problems 4:1,4      4:23 5:12,18             V
                                                                6
process 5:7,10    spoofing 2:24     video  7:4
                                                        6581 7:17
product 4:16      Stand 3:11        vote 4:22
provide 3:12      state 2:16 4:23   voter 2:22                  7
                    7:3             voters 2:24         7-31-25 7:20
         Q        statement 2:19    voting 4:1 5:5,12   75206 7:19
questions 4:24    States 3:3
                                             W                 8
                  stay 5:11
         R                          want 4:10,10,21     855-5100 7:20
                  strange 3:11
R 7:1             successful 3:3      5:16
recording 2:1 6:5 suggest 3:1,8     wasn't 6:4
  7:4,8           Suite 7:19        way 2:3
registration 2:23 system 5:23       we're 3:5
  7:18                              we've 2:10
related 7:7                T        website 4:3
Reporter 7:2,17   T 7:1,1           week 3:1,24

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                   800.445.9548
                                          APP94
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 95 of 971




        Exhibit A-6




                             APP95
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 96 of 971

                                                                           1
                   Newsroom Segment - November 20, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12   CERTIFIED TRANSCRIPTION OF
13       NOVEMBER 20, 2020
14        NEWSROOM SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP96
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 97 of 971

                                                                            2
                    Newsroom Segment - November 20, 2020


 1                    (Recording begins.)
 2                    MR. HUSSION:      A reporter who has firsthand
 3   knowledge of the problems with Dominion voting machines
 4   speaks out on rigged elections from socialist countries
 5   such as Venezuela.      One America's John Hines has more
 6   from Washington.
 7                    MR. HINES:     Allan Santos, a journalist with
 8   Terca Livre, which is a Brazilian media company, a
 9   conservative media company, thank you for joining us on
10   One American News.
11                    MR. SANTOS:     Thank you so much, Mr. Hines.
12   It's my honor to be here.
13                    MR. HINES:     Mr. Santos, I know you're a
14   reporter with Terca Livre in Brazil, and you have come
15   across some evidence that has a bearing on the counting
16   in our U.S. elections.        What have you discovered, sir?
17                    MR. SANTOS:     So in my experience in South
18   America, we are following lots of election fraud as
19   the -- the recent one in Bolivia.          And due to that, we
20   followed the Smartmatic company, who is a company that
21   count votes -- it's like a -- a voter machine used to
22   have in Venezuela, Brazil, Bolivia, Argentina and so
23   forth.   And we have lots of news in Brazil, even in
24   outlet media, slamming Smartmatic company.
25                    And the Smartmatic company owner is the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP97
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 98 of 971

                                                                           3
                   Newsroom Segment - November 20, 2020


1    Lord Mark Malloch-Brown, who's also a board member of
2    the Open Society Foundation.         And one thing is -- it's
3    weird, is when you open the Smartmatic official website,
4    says they started in Florida back 2000.             But the problem
5    is, we have story in Brazil, Brazilian BBC version,
6    Portuguese, saying they -- Smartmatic started in
7    Venezuela, not in Florida.
8                    And not only this, the Smartmatic company
9    also used to work with Dominion, the -- the company
10   system that you are using here.          But it's -- it's weird
11   how they operate because it's the same pattern in Brazil
12   back 2014, and also back 2018.          One candidate was
13   leading and then it stopped counting.            And after an hour
14   or after 40 minutes, something like that, everything
15   changed.   And I saw that here, and I can assure you,
16   communists love fraud election.          They love to do fraud.
17                   And I'm not pretty sure if American people
18   remember, but Trump tweeted back 2012, It doesn't matter
19   who you vote for, it matters who is counting the votes.
20                   MR. HINES:      So what is the connection
21   between the Smartmatic machines and the Dominion
22   machines, do you suppose?
23                   MR. SANTOS:      So they have a contract for
24   using softwares.      And -- and you can follow this in
25   law(inaudible).com and you can see how they operate




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP98
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 99 of 971

                                                                            4
                   Newsroom Segment - November 20, 2020


1    together here in America.        So it's there in the website.
2                    MR. HINES:      So the connection has to do
3    with the software that both of these companies use,
4    these vote counting services; is that it?
5                    MR. SANTOS:      Yes.
6                    MR. HINES:      Do we know if George Soros is
7    connected with any of these vote counting software ideas
8    or software programs?
9                    MR. SANTOS:      Yeah, somehow because the --
10   the Smartmatic owner, he is a border [sic] member of the
11   Open Society Foundation.        Of course, you -- you --
12   you're going to see some fact check saying they are not
13   connected, he's just a member of the -- the board.                 But,
14   come on.    I mean, for us in Brazil, it's very clear.                So
15   how George Soros is helping the Black Lives Matter, he
16   has Open Society Foundation and the member of the border
17   [sic] of Open Society Foundation -- of the board,
18   sorry -- the board member of Open Society Foundation is
19   the owner of the Smartmatic.         And how can someone tell
20   me they are not connected, they are not doing anything
21   together?    Not for us in Brazil.
22                   MR. HINES:      Allan Santos, a journalist, a
23   Brazilian journalist with Terca Livre, a Brazilian media
24   company, conservative media company, media outlet.
25   Thank you very much for talking to us on One American




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP99
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 100 of 971

                                                                            5
                    Newsroom Segment - November 20, 2020


 1   News, sir.
 2                     MR. SANTOS:      Thank you so much.         My
 3   pleasure.
 4                     (Recording ends.)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP100
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 101 of 971

                                                                            6
                    Newsroom Segment - November 20, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP101
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 102 of 971

                                                                                               7
                    Newsroom Segment - November 20, 2020

        A            4:20              foregoing 6:3               M            problem 3:4
above-entitled     connection 3:20     forth 2:23         machine 2:21          problems 2:3
  6:5                4:2               Foundation 3:2     machines 2:3          programs 4:8
action 6:8,10      conservative 2:9      4:11,16,17,18      3:21,22
                     4:24              fraud 2:18 3:16                                 Q
Allan 2:7 4:22                                            Malloch-Brown
America 2:18 4:1   contract 3:23         3:16               3:1                        R
America's 2:5      correct 6:4         full 6:12          Mark 3:1
                   counsel 6:6         further 6:6,9,11                         R 6:1
American 2:10                                             matter 3:18 4:15      recording 2:1 5:4
  3:17 4:25        count 2:21                               6:5
                   counting 2:15                G                                 6:4,8
Argentina 2:22                                            matters 3:19          Registration 6:18
assure 3:15          3:13,19 4:4,7     Garcia 6:2,16      mean 4:14
                   countries 2:4       George 4:6,15                            related 6:7
                                                          media 2:8,9,24        remember 3:18
         B         course 4:11         going 4:12           4:23,24,24
back 3:4,12,12,18                                                               reporter 2:2,14
                                                H         member     3:1 4:10     6:2,17
BBC 3:5                    D
                                       helping 4:15         4:13,16,18          rigged 2:4
bearing 2:15      Dallas 6:19
begins 2:1        Davenport 6:17       Hines 2:5,7,11,13 minutes 3:14
                                         3:20 4:2,6,22                                   S
Black 4:15        Dickman 6:17                                     N
                  discovered    2:16   honor   2:12                             Santos 2:7,11,13
board 3:1 4:13                                            neither 6:6             2:17 3:23 4:5,9
  4:17,18         doing 4:20           hour 3:13          news 2:10,23 5:1
                  Dominion     2:3 3:9 HUSSION      2:2                           4:22 5:2
Bolivia 2:19,22                                           NEWSROOM              saw 3:15
border 4:10,16      3:21                                    1:14
                                                 I                              saying 3:6 4:12
Brazil 2:14,22,23 due  2:19                               North 6:18
                                       ideas 4:7                                says 3:4
  3:5,11 4:14,21                       interested 6:10    NOVEMBER              see 3:25 4:12
                           E
Brazilian 2:8 3:5                                           1:13                SEGMENT 1:14
  4:23,23         E  6:1,1
                                                 J                              services 4:4
                  election 2:18 3:16                               O
                  elections 2:4,16     John 2:5                                 Shorthand 6:2,17
         C                                                official 3:3
                  employed 6:7         joining 2:9                              sic 4:10,17
C 6:1,1                                journalist 2:7     open 3:2,3 4:11
candidate 3:12    ends 5:4                                  4:16,17,18          sir 2:16 5:1
                  evidence   2:15        4:22,23                                slamming 2:24
Central 6:18                                              operate 3:11,25
Certified 1:12    experience 2:17                         outcome 6:10          Smartmatic 2:20
                                                K
  6:2,16          expires 6:20                            outlet 2:24 4:24        2:24,25 3:3,6,8
                                       know 2:13 4:6                              3:21 4:10,19
certify 6:3,6,11  Expressway     6:18  knowledge 2:3      owner 2:25 4:10
changed 3:15                                                4:19                socialist 2:4
                            F                   L                               Society 3:2 4:11
check 4:12
clear 4:14        F 6:1                law(inaudible)....           P             4:16,17,18
come 2:14 4:14    fact 4:12              3:25             paid 6:12             software 4:3,7,8
commission 6:20   fee 6:11             leading 3:13       paid/will 6:12        softwares 3:24
communists 3:16   financially  6:9     Lives 4:15         parties 6:7           Soros 4:6,15
companies 4:3     Firm   6:18          Livre 2:8,14 4:23 pattern 3:11           sorry 4:18
company 2:8,9     firsthand   2:2      Lord 3:1           people 3:17           South 2:17
  2:20,20,24,25   Florida  3:4,7       lots 2:18,23       pleasure 5:3          speaks 2:4
  3:8,9 4:24,24   follow  3:24         love 3:16,16       Portuguese 3:6        started 3:4,6
connected 4:7,13  followed   2:20                         pretty 3:17           State 6:3
                  following 2:18                                                stopped 3:13

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP102
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 103 of 971

                                                                            8
                    Newsroom Segment - November 20, 2020

story 3:5                  Z
Suite 6:19
suppose 3:22               0
sure 3:17
system 3:10                 1
                    101 6:19
          T
T 6:1,1                     2
talking 4:25        20 1:13
tell 4:19           2000 3:4
Terca 2:8,14 4:23   2012 3:18
Terri 6:2,16        2014 3:12
Texas 6:3,16,19     2018 3:12
thank 2:9,11 4:25   2020 1:13
  5:2               214 6:20
thing 3:2
                            3
transcribed 6:8
transcription       312 6:18
  1:12 6:4,11              4
Trump 3:18
                    40 3:14
tweeted 3:18
                    4228 6:18
        U
                           5
U.S 2:16
use 4:3                     6
        V           6581 6:17
Venezuela 2:5,22            7
  3:7               7-31-25 6:20
version 3:5         75206 6:19
video 6:4
vote 3:19 4:4,7            8
voter 2:21          855-5100 6:20
votes 2:21 3:19
voting 2:3
       W
Washington 2:6
website 3:3 4:1
weird 3:3,10
work 3:9
       X

       Y
Yeah 4:9


                                 Dickman Davenport, Inc
     214.855.5100               www.dickmandavenport.com   800.445.9548
                                         APP103
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 104 of 971




        Exhibit A-7




                             APP104
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 105 of 971

                                                                            1
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12          CERTIFIED TRANSCRIPTION OF
13                 NOVEMBER 20, 2020
14   IN FOCUS WITH STEPHANIE HAMILL SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP105
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 106 of 971

                                                                              2
       In Focus With Stephanie Hamill Segment - November 20, 2020


1                     (Recording begins.)
2                     MR. GIULIANI:       You don't have an overvote
3    of 200 percent or 300 percent.           You don't have an
4    overvote of 100 percent.         Most -- most precincts don't
5    have 100 percent turnout.         In fact, classically, it's
6    considered to be an overvote if you go over 80 percent.
7    Well, in Michigan and Wisconsin, we have overvotes in
8    numerous precincts.
9                     MS. HAMILL:      Hello, everyone.       I'm
10   Stephanie Hamill.       Welcome to In Focus.        President
11   Trump's personal attorney alleges a national conspiracy
12   by Democrats to steal the 2020 election.              Rudy Giuliani
13   says absentee and mail-in ballots were cast illegally
14   for Biden or tampered with by poll workers.              He also
15   claims those votes were counted while Republican
16   inspectors kept -- were kept at a distance.
17                    Furthermore, Giuliani believes some votes
18   for Biden were tallied as many as three times each,
19   saying workers repeatedly fed individual ballots into
20   counting machines.
21                    MR. GIULIANI:       What I'm describing to you
22   is a massive fraud.       It isn't a little, teeny one.             It
23   isn't, you know, a hundred votes switched here or there.
24   They're -- in -- in the city of Atlanta, Republicans
25   were not allowed to watch the absentee mail-in ballot




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP106
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 107 of 971

                                                                            3
       In Focus With Stephanie Hamill Segment - November 20, 2020


1    process.    Inspections com- -- completely cast aside.
2    And we have numerous double voters, we have numerous
3    out-of-state voters, and we have specific evidence of
4    intimidation and changes of vote.           That will all be in
5    the lawsuit that comes out tomorrow.
6                     Arizona is a -- is a state that we're
7    looking at very, very carefully.           I would say we're
8    probably going to bring a lawsuit in Arizona.               More than
9    probably.    I think we are going to bring a lawsuit in
10   Arizona.    We're still collecting that evidence.              And the
11   state that we're looking at that would surprise you is
12   we have very, very significant amount of fraud
13   allegations in the state of New Mexico.
14                    MS. HAMILL:      Giuliani is not alone in his
15   assertions of widespread voter fraud.             Attorney Sidney
16   Powell says the software used in the voting machines
17   across the country can be manipulated to alter vote
18   totals.    Now, Powell also points out that the software
19   developed by Smartmatic is tied to major Democrat donor
20   George Soros and the Clinton Foundation.
21                    This, as Joe Biden considers taking legal
22   action over efforts to delay the presidential
23   transition.     Joining me now, lawyer, political
24   commentator and former U.S. Attorney for the District of
25   Columbia, Joseph DiGenova.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP107
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 108 of 971

                                                                            4
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1                    Thank you so much for joining me.           You're
 2   also part of President Trump's legal team.            You were at
 3   this press conference yesterday.          I saw you standing
 4   there on the platform.       Let's go over some of the key
 5   claims and allegations that were presented by Team Trump
 6   yesterday because there's so much to unpack.
 7                    MR. DIGENOVA:     Well, the most important one
 8   is the denial of equal protection and due process in
 9   Michigan, Pennsylvania and elsewhere, Wisconsin.              Now,
10   hundreds and hundreds of thou- -- thousands of votes,
11   indeed, several million votes were counted.             These are
12   mail-in votes.     These are votes that came in after the
13   closing of the polls, and they number in the millions.
14                    The observers, who are legally allowed to
15   be in the counting area, were not allowed to be close
16   enough to view the envelopes.         What happens when you
17   have an absentee ballot, a mail-in ballot or a mail-out
18   ballot is, it comes in an envelope.           On that envelope is
19   very important information:        A signature, a date stamp,
20   other information.
21                    Once that ballot is removed from that
22   envelope and that envelope is thrown away, you can never
23   go back and verify that -- that particular vote.              That
24   happened in over 800,000 cases in Pennsylvania.              And the
25   bottom line is this -- and in Detroit.           And the bottom




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP108
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 109 of 971

                                                                            5
       In Focus With Stephanie Hamill Segment - November 20, 2020


1    line is this.      Not a single Republican observer viewed
2    any of these 800,000 envelopes, so therefore, they were
3    never able to verify what is being claimed as a
4    legitimate vote.      That is the single most important
5    allegation.
6                     After that, we have statistical anomalies.
7    There are votes that are astronomically different than
8    historical records indicate.          Those anomalies include
9    too many people voting, percentages of errors.               For
10   example, usually in mail-ins, there's a -- there's a
11   very substantial error rate because people make
12   mistakes, usually three percent or more.
13                    In these mail-in, mail-out and absentee
14   ballots, there is less than one percent -- in fact, it's
15   .03 percent error rate.        That's a statistical
16   impossibility.      So what do all of these statistics mean?
17   They mean that this was not an accident.              It wasn't a
18   coincidence.     It was a coincidence with a purpose, and
19   that purpose was a scheme, a plan to do exactly what the
20   Democrats started doing three years ago, which was try
21   to get all the states to change their mail-in voting
22   procedures to allow this to occur.
23                    And by the way, this is very important.
24   They started doing this change to mail-in ballots long
25   before COVID ever existed.         So COVID has nothing to do




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP109
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 110 of 971

                                                                            6
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1   with this.    That's not the reason this was set up.            This
 2   was set up as a plan to make sure they were able to get
 3   enough votes after midnight to give somebody a victory.
 4                    MS. HAMILL:     Yeah.    No, Democrats have been
 5   pushing for this for years, and then they used COVID-19
 6   as an excuse to push it through.          And -- and you pointed
 7   out, I mean, there's just really strange things going
 8   on, like the overvote, for example, which we heard
 9   Giuliani say --
10                    MR. DIGENOVA:     Yes.
11                    MS. HAMILL:     -- in the video, 100 to
12   200 percent voter turnout.        We have kids voting, we have
13   dead people voting.      There's real examples of voter
14   fraud, yet people in the media, reporters, investigative
15   journalists, like, they're all turning a blind eye to
16   this, they don't care.       In fact, those who questioned
17   voter fraud and use these real examples are written off
18   as, like, conspiracy theorists and liars and, you know,
19   President Trump's doing damage to democracy.
20                    But the -- no, there's real questions and
21   these legal challenges are legitimate.           And there's some
22   things that -- here that these reporters should be
23   concerned about and they're not.          I mean, it's really
24   disturbing, and I saw some of the questions that were
25   thrown at you guys yesterday.         And you could -- you




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP110
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 111 of 971

                                                                            7
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1   could feel the hostility.
 2                    MR. DIGENOVA:     Well, there's no doubt that
 3   a very significant number of people in the press hate
 4   this president and hate anybody who tries to help him or
 5   work for him.     We've had lawyers on our team threatened,
 6   people that have had to drop out of the representation.
 7   There was a firm in Philadelphia that had to drop out
 8   because they were receiving threats to their lawyers.
 9                    One of our lawyers in Philadelphia has U.S.
10   Marshals protecting her because of death threats.              This
11   is something that the media doesn't care about.              You
12   haven't seen a single story outside of local press in
13   Pennsylvania reporting about the death threats against
14   lawyers representing the president.           And that's because
15   the media doesn't care.        They'd be quite happy if
16   somebody on the Trump team was killed.           It's really sort
17   of sick.
18                    We don't have journalism anymore.           We have
19   advocacy and propagandas, and we just have to live with
20   that until the American people force a change in
21   journalism.     But they hate this president and they hate
22   anybody who's helping him.
23                    MS. HAMILL:     Well, and we saw what happened
24   in Michigan where the canvassers in Wayne County were
25   threatened --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP111
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 112 of 971

                                                                            8
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1                    MR. DIGENOVA:     Yes.
 2                    MS. HAMILL:     -- they were intimidated, they
 3   were doxxed to the point that they changed their vote,
 4   and then they ended upcoming out and changing their vote
 5   again because they realized that it wasn't right.              They
 6   needed to do the -- the correct thing, which was to be
 7   honest and truthful.       And they had real concerns about
 8   the voting tally in Michigan and in their county, so...
 9                    But, yet, where's the outrage?          Could you
10   imagine if that was the other way around?            I mean, we
11   saw the video of them even being threatened, so it's
12   just really incredible.
13                    MR. DIGENOVA:     Well, I think one of the --
14   one of best pieces of evidence of how corrupt the voting
15   process was in Detroit, Michigan was that canvassing
16   video showing how the people who were doing the
17   canvassing and the -- the two members of the
18   certification team who were accused of being racist,
19   having their -- their integrity questioned.
20                    One of the most amazing performances, how
21   can anybody have confidence in the performance of those
22   other public officials threatening two canvassers that
23   way.    What it -- what it does show is the partisan
24   nature of what happened in Detroit, and it -- it
25   underscores the importance of getting to the bottom of




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP112
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 113 of 971

                                                                            9
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1   the hundreds of thousands of votes which were dro- --
 2   driven into the counting center in Detroit at 4:30 in
 3   the morning, where the ballots were pristine, untouched,
 4   had a single circle with Joe Biden's name on it circled.
 5   All the same, all identical, hundreds of thousands of
 6   votes.
 7                    So once again, in Michigan, in Pennsylvania
 8   and elsewhere, Trump goes to bed with hundreds of
 9   thousands of vote leads in each state, wakes up in the
10   morning and he's behind.        That is statistical
11   impossibility and it was done for one reason.             It's the
12   result of fraud.
13                    MS. HAMILL:     Yeah.    And the people say this
14   election, referendum on President Trump and his policies
15   and his hateful rhetoric and his Tweets.            But at the end
16   of the day, he got way more votes than in 2016.              And I
17   haven't met anyone who's voted for Trump who isn't
18   vot- -- who didn't vote for Trump in this election.               So
19   that's a total fraud and scam.
20                    Really quickly, what really stood out to me
21   in the press conference yesterday was Sidney Powell
22   talking about the voting machines suggesting that our
23   votes are being counted overseas, that Dominion voting
24   machines and Smartmatic use software that are controlled
25   by foreign interests.       If you could expand on that?




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP113
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 114 of 971

                                                                            10
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1                    MR. DIGENOVA:     I noticed that Dominion
 2   software and its other entities issue a -- issued a
 3   statement today saying they're not controlled by foreign
 4   entities, et cetera, et cetera.          They never denied that
 5   the votes are actually counted in computers in
 6   Frankfurt, Germany and Barcelona, Spain.
 7                    Ask yourself this question.         Why would any
 8   state hire a company which is going to have its vote
 9   tallies done in Frankfurt, Germany and Barcelona, Spain,
10   where the tallying cannot be monitored by any American
11   citizen during the process and where tabulations could
12   be altered without the knowledge of anybody because
13   these computer systems have a back door so that they can
14   be hacked.
15                    My answer to Dominion is, allow all of your
16   computers to be subject to a forensic audit immediately.
17   Let's see if they agree to that.
18                    MS. HAMILL:     Yeah.    I wanted to ask you
19   about the Georgia recount, Biden pulling ahead.              And at
20   the end of the day, if you have a bunch of fraudulent
21   votes and you count the fraudulent votes again, you're
22   going to get the same result.
23                    MR. DIGENOVA:     Well, the Georgia recount is
24   a joke.   It's really a Monty Python vote.           What they've
25   done is, they took a soiled ballot, despoiled ballots




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP114
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 115 of 971

                                                                            11
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1   and recounted the same ballots.          They didn't do
 2   anything.     They didn't go back and check, they didn't go
 3   back and do any statistical analysis.           They simply, by
 4   hand, counted the same corrupted ballots a second time.
 5   That is not a recount, it's not an au- -- it's not an
 6   audit, it is a joke.       And it will not stand up and
 7   additional lawsuits are being filed today on this, not
 8   only by the Trump campaign, but by three or four other
 9   public interest groups in Georgia.
10                    MS. HAMILL:     Yeah.    My question is, where
11   is the FBI?     I mean, isn't this something that they
12   should tackle, because you heard the reporters asking
13   you guys questions yesterday that really, you -- you
14   can't answer.     You need the help of government
15   authorities for some of the things that you're looking
16   for in -- in your legal challenges.           Now, what was -- in
17   Michigan, there was, like, over 200-and-something
18   affidavits.     I mean, people are giving information,
19   they're so -- you know, like --
20                    MR. DIGENOVA:     That's correct.
21                    MS. HAMILL:     -- whistleblowers.       And -- and
22   these reporters are pretending that this isn't the --
23   the right process.
24                    MR. DIGENOVA:     The -- first of all, we have
25   hundreds and hundreds of affidavits in each precinct,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP115
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 116 of 971

                                                                            12
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1   including Democrat poll workers who were being
 2   whistleblowers about the corruption that they were
 3   seeing, being ordered to change dates on ballots,
 4   being -- in other words, being ordered to backdate them
 5   so they -- they would meet the deadline.            Putting names
 6   on envelopes and ballots that were -- were nonexistent,
 7   going to the registrations and getting the name of a
 8   voter and putting it on a ballot.          There are hundreds
 9   and hundreds in each state, so there are thousands of
10   these affidavits.
11                    Where is the FBI?       That is a very good
12   question.    I can only -- Chris Wray, our FBI director,
13   is the only person who knows the answer to that.              But I
14   can tell you, from all of our work in all of the states,
15   talking to all of our lawyers on the ground, not one
16   single group of lawyers has been contacted by the FBI
17   for information.      And neither has any local Republican
18   counting group or monitoring group.
19                    MS. HAMILL:     Yeah.    Well, we're going to
20   leave it here.     Thank you again.       Keep fighting the good
21   fight.   And as I said --
22                    MR. DIGENOVA:     Thank you.
23                    MS. HAMILL:     -- Trump supporters across the
24   country, they want answers.        They want to make sure that
25   this is a free and fair election.          Thank you.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP116
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 117 of 971

                                                                            13
       In Focus With Stephanie Hamill Segment - November 20, 2020


 1                     MR. DIGENOVA:       Thank you.
 2                     (Recording ends.)
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP117
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 118 of 971

                                                                            14
       In Focus With Stephanie Hamill Segment - November 20, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP118
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 119 of 971

                                                                                                15
  In Focus With Stephanie Hamill Segment - November 20, 2020

         A          Atlanta 2:24         Certified 1:12      conspiracy 2:11     developed 3:19
able 5:3 6:2        attorney 2:11          14:2,16             6:18              Dickman 14:17
above-entitled        3:15,24            certify 14:3,6,11   contacted 12:16     different 5:7
  14:5              au- 11:5             cetera 10:4,4       controlled 9:24     DiGenova 3:25
absentee 2:13,25    audit 10:16 11:6     challenges 6:21       10:3                4:7 6:10 7:2 8:1
  4:17 5:13         authorities 11:15      11:16             correct 8:6 11:20     8:13 10:1,23
accident 5:17                            change 5:21,24        14:4                11:20,24 12:22
                             B             7:20 12:3         corrupt 8:14          13:1
accused 8:18
action 3:22 14:8    back 4:23 10:13      changed 8:3         corrupted 11:4      director 12:12
  14:10               11:2,3             changes 3:4         corruption 12:2     distance 2:16
additional 11:7     backdate 12:4        changing 8:4        counsel 14:6        District 3:24
advocacy 7:19       ballot 2:25 4:17     check 11:2          count 10:21         disturbing 6:24
affidavits 11:18      4:17,18,21         Chris 12:12         counted 2:15        doing 5:20,24
  11:25 12:10         10:25 12:8         circle 9:4            4:11 9:23 10:5      6:19 8:16
ago 5:20            ballots 2:13,19      circled 9:4           11:4              Dominion 9:23
agree 10:17           5:14,24 9:3        citizen 10:11       counting 2:20         10:1,15
ahead 10:19           10:25 11:1,4       city 2:24             4:15 9:2 12:18    donor 3:19
allegation 5:5        12:3,6             claimed 5:3         country 3:17        door 10:13
allegations 3:13    Barcelona 10:6,9     claims 2:15 4:5       12:24             double 3:2
  4:5               bed 9:8              classically 2:5     county 7:24 8:8     doubt 7:2
alleges 2:11        begins 2:1           Clinton 3:20        COVID 5:25,25       doxxed 8:3
allow 5:22 10:15    believes 2:17        close 4:15          COVID-19 6:5        driven 9:2
allowed 2:25 4:14   best 8:14            closing 4:13                            dro- 9:1
                    Biden 2:14,18        coincidence 5:18            D           drop 7:6,7
  4:15
alter 3:17            3:21 10:19           5:18              Dallas 14:19        due 4:8
altered 10:12       Biden's 9:4          collecting 3:10     damage 6:19
                    blind 6:15           Columbia 3:25       date 4:19                    E
amazing 8:20
American 7:20       bottom 4:25,25       com- 3:1            dates 12:3          E 14:1,1
  10:10               8:25               comes 3:5 4:18      Davenport 14:17     efforts 3:22
amount 3:12         bring 3:8,9          commentator         day 9:16 10:20      election 2:12 9:14
analysis 11:3       bunch 10:20            3:24              dead 6:13             9:18 12:25
anomalies 5:6,8                          commission          deadline 12:5       employed 14:7
                             C                               death 7:10,13       ended 8:4
answer 10:15                               14:20
                    C 14:1,1             company 10:8        delay 3:22          ends 13:2
  11:14 12:13       campaign 11:8
answers 12:24                            completely 3:1      democracy 6:19      entities 10:2,4
                    canvassers 7:24      computer 10:13      Democrat 3:19       envelope 4:18,18
anybody 7:4,22        8:22
  8:21 10:12                             computers 10:5       12:1                 4:22,22
                    canvassing 8:15        10:16             Democrats 2:12      envelopes 4:16
anymore 7:18          8:17
area 4:15                                concerned 6:23       5:20 6:4             5:2 12:6
                    care 6:16 7:11,15    concerns 8:7        denial 4:8          equal 4:8
Arizona 3:6,8,10    carefully 3:7
aside 3:1                                conference 4:3      denied 10:4         error 5:11,15
                    cases 4:24             9:21              describing 2:21     errors 5:9
asking 11:12        cast 2:13 3:1
assertions 3:15                          confidence 8:21     despoiled 10:25     et 10:4,4
                    center 9:2           considered 2:6      Detroit 4:25 8:15   evidence 3:3,10
astronomically      Central 14:18
  5:7                                    considers 3:21       8:24 9:2             8:14
                    certification 8:18

                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                   800.445.9548
                                             APP119
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 120 of 971

                                                                                           16
  In Focus With Stephanie Hamill Segment - November 20, 2020

exactly 5:19                G          hire 10:8          journalism 7:18     5:13
example 5:10 6:8   Garcia 14:2,16      historical 5:8       7:21             major 3:19
examples 6:13,17   George 3:20         honest 8:7         journalists 6:15   manipulated
excuse 6:6         Georgia 10:19,23    hostility 7:1                          3:17
existed 5:25                           hundred 2:23                K         Marshals 7:10
                     11:9
expand 9:25        Germany 10:6,9      hundreds 4:10,10   Keep 12:20         massive 2:22
expires 14:20      getting 8:25 12:7     9:1,5,8 11:25    kept 2:16,16       matter 14:5
Expressway         Giuliani 2:2,12       11:25 12:8,9     key 4:4            mean 5:16,17 6:7
  14:18              2:17,21 3:14                         kids 6:12           6:23 8:10 11:11
eye 6:15                                         I        killed 7:16         11:18
                     6:9
                   give 6:3            identical 9:5      know 2:23 6:18     media 6:14 7:11
         F                             illegally 2:13       11:19             7:15
                   giving 11:18
F 14:1             go 2:6 4:4,23       imagine 8:10       knowledge 10:12    meet 12:5
fact 2:5 5:14 6:16   11:2,2            immediately        knows 12:13        members 8:17
fair 12:25         goes 9:8               10:16                              met 9:17
FBI 11:11 12:11 going 3:8,9 6:7        importance 8:25              L
                                                                             Mexico 3:13
   12:12,16                            important 4:7,19   lawsuit 3:5,8,9    Michigan 2:7 4:9
                     10:8,22 12:7,19                      lawsuits 11:7
fed 2:19           good 12:11,20          5:4,23                              7:24 8:8,15 9:7
fee 14:11                              impossibility      lawyer 3:23         11:17
                   government                             lawyers 7:5,8,9
feel 7:1             11:14                5:16 9:11                          midnight 6:3
fight 12:21                            include 5:8           7:14 12:15,16   million 4:11
                   ground 12:15                           leads 9:9
fighting 12:20     group 12:16,18      including 12:1                        millions 4:13
filed 11:7                             incredible 8:12    leave 12:20        mistakes 5:12
                     12:18                                legal 3:21 4:2
financially 14:9   groups 11:9         indicate 5:8                          monitored 10:10
firm 7:7 14:18                         individual 2:19       6:21 11:16      monitoring 12:18
                   guys 6:25 11:13                        legally 4:14
first 11:24                            information 4:19                      Monty 10:24
Focus 1:14 2:10             H             4:20 11:18      legitimate 5:4     morning 9:3,10
force 7:20         hacked 10:14           12:17              6:21
foregoing 14:3     Hamill 1:14 2:9     Inspections 3:1    Let's 4:4 10:17            N
foreign 9:25 10:3    2:10 3:14 6:4     inspectors 2:16    liars 6:18         name 9:4 12:7
forensic 10:16       6:11 7:23 8:2     integrity 8:19     line 4:25 5:1      names 12:5
former 3:24          9:13 10:18        interest 11:9      little 2:22        national 2:11
Foundation 3:20      11:10,21 12:19    interested 14:10   live 7:19          nature 8:24
four 11:8            12:23             interests 9:25     local 7:12 12:17   need 11:14
Frankfurt 10:6,9 hand 11:4             intimidated 8:2    long 5:24          needed 8:6
fraud 2:22 3:12    happened 4:24       intimidation 3:4   looking 3:7,11     neither 12:17
   3:15 6:14,17      7:23 8:24         investigative         11:15            14:6
   9:12,19         happens 4:16           6:14                               never 4:22 5:3
                                                                  M
fraudulent 10:20 happy 7:15            issue 10:2                             10:4
   10:21                               issued 10:2        machines 2:20      New 3:13
                   hate 7:3,4,21,21                        3:16 9:22,24
free 12:25         hateful 9:15                                              nonexistent 12:6
full 14:12                                     J          mail-in 2:13,25    North 14:18
                   heard 6:8 11:12                         4:12,17 5:13,21
further 14:6,9,11 Hello 2:9            Joe 3:21 9:4                          noticed 10:1
Furthermore                            joining 3:23 4:1    5:24              NOVEMBER
                   help 7:4 11:14                         mail-ins 5:10
   2:17            helping 7:22        joke 10:24 11:6                        1:13
                                       Joseph 3:25        mail-out 4:17

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                  800.445.9548
                                           APP120
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 121 of 971

                                                                                            17
  In Focus With Stephanie Hamill Segment - November 20, 2020

number 4:13 7:3 plan 5:19 6:2          11:13                      S          statistical 5:6,15
numerous 2:8 3:2 platform 4:4         quickly 9:20       saw 4:3 6:24 7:23     9:10 11:3
  3:2             point 8:3           quite 7:15           8:11              statistics 5:16
                  pointed 6:6                            saying 2:19 10:3    steal 2:12
         O        points 3:18                  R                             Stephanie 1:14
                                                         says 2:13 3:16
observer 5:1      policies 9:14       R 14:1             scam 9:19             2:10
observers 4:14    political 3:23      racist 8:18        scheme 5:19         stood 9:20
occur 5:22        poll 2:14 12:1      rate 5:11,15       second 11:4         story 7:12
officials 8:22    polls 4:13          real 6:13,17,20    see 10:17           strange 6:7
once 4:21 9:7     Powell 3:16,18        8:7              seeing 12:3         subject 10:16
ordered 12:3,4     9:21               realized 8:5       seen 7:12           substantial 5:11
out-of-state 3:3  precinct 11:25      really 6:7,23 7:16 SEGMENT 1:14        suggesting 9:22
outcome 14:10     precincts 2:4,8       8:12 9:20,20     set 6:1,2           Suite 14:19
outrage 8:9       presented 4:5         10:24 11:13      Shorthand 14:2      supporters 12:23
outside 7:12      president 2:10      reason 6:1 9:11      14:17             sure 6:2 12:24
overseas 9:23      4:2 6:19 7:4,14    receiving 7:8      show 8:23           surprise 3:11
overvote 2:2,4,6   7:21 9:14          recording 2:1      showing 8:16        switched 2:23
  6:8             presidential 3:22     13:2 14:4,8      sick 7:17           systems 10:13
overvotes 2:7     press 4:3 7:3,12    records 5:8        Sidney 3:15 9:21
                   9:21               recount 10:19,23 signature 4:19                 T
         P                              11:5                                 T 14:1,1
                  pretending 11:22                       significant 3:12
paid 14:12        pristine 9:3        recounted 11:1                         tabulations 10:11
paid/will 14:12                                            7:3
                  probably 3:8,9      referendum 9:14 simply 11:3            tackle 11:12
part 4:2          procedures 5:22     Registration                           talking 9:22
particular 4:23                                          single 5:1,4 7:12
                  process 3:1 4:8       14:18              9:4 12:16           12:15
parties 14:7       8:15 10:11         registrations                          tallied 2:18
partisan 8:23                                            Smartmatic 3:19
                   11:23                12:7               9:24              tallies 10:9
Pennsylvania 4:9 propagandas          related 14:7                           tally 8:8
  4:24 7:13 9:7                                          software 3:16,18
                   7:19               removed 4:21         9:24 10:2         tallying 10:10
people 5:9,11     protecting 7:10     repeatedly 2:19                        tampered 2:14
  6:13,14 7:3,6                                          soiled 10:25
                  protection 4:8      Reporter 14:2,17 somebody 6:3          team 4:2,5 7:5,16
  7:20 8:16 9:13 public 8:22 11:9     reporters 6:14,22                        8:18
  11:18                                                    7:16
                  pulling 10:19         11:12,22         Soros 3:20          teeny 2:22
percent 2:3,3,4,5 purpose 5:18,19     reporting 7:13                         tell 12:14
  2:6 5:12,14,15                                         sort 7:16
                  push 6:6            representation     Spain 10:6,9        Terri 14:2,16
  6:12            pushing 6:5           7:6                                  Texas 14:3,16,19
percentages 5:9                                          specific 3:3
                  putting 12:5,8      representing       stamp 4:19          Thank 4:1 12:20
performance       Python 10:24          7:14                                   12:22,25 13:1
  8:21                                                   stand 11:6
                                      Republican 2:15 standing 4:3           theorists 6:18
performances               Q            5:1 12:17                            They'd 7:15
  8:20                                                   started 5:20,24
                  question 10:7       Republicans 2:24 state 3:6,11,13       thing 8:6
person 12:13       11:10 12:12        result 9:12 10:22                      things 6:7,22
personal 2:11                                              9:9 10:8 12:9
                  questioned 6:16     rhetoric 9:15        14:3                11:15
Philadelphia 7:7   8:19               right 8:5 11:23                        think 3:9 8:13
  7:9                                                    statement 10:3
                  questions 6:20,24   Rudy 2:12          states 5:21 12:14   thou- 4:10
pieces 8:14

                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                  800.445.9548
                                          APP121
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 122 of 971

                                                                             18
  In Focus With Stephanie Hamill Segment - November 20, 2020

thousands 4:10        8:16 14:4                  Y
  9:1,5,9 12:9      view 4:16            Yeah 6:4 9:13
threatened 7:5      viewed 5:1             10:18 11:10
  7:25 8:11         vot- 9:18              12:19
threatening 8:22    vote 3:4,17 4:23     years 5:20 6:5
threats 7:8,10,13     5:4 8:3,4 9:9,18   yesterday 4:3,6
three 2:18 5:12       10:8,24              6:25 9:21 11:13
  5:20 11:8         voted 9:17
thrown 4:22 6:25    voter 3:15 6:12                Z
tied 3:19             6:13,17 12:8
time 11:4           voters 3:2,3                   0
times 2:18          votes 2:15,17,23     03 5:15
today 10:3 11:7       4:10,11,12,12
                                                 1
tomorrow 3:5          5:7 6:3 9:1,6,16
total 9:19            9:23 10:5,21,21    100 2:4,5 6:11
totals 3:18         voting 3:16 5:9      101 14:19
transcribed 14:8      5:21 6:12,13                 2
transcription         8:8,14 9:22,23
                                         20 1:13
  1:12 14:4,11
                            W            200 2:3 6:12
transition 3:23
                    wakes 9:9            200-and-somet...
tries 7:4
                    want 12:24,24         11:17
Trump 4:5 7:16
                    wanted 10:18         2016 9:16
  9:8,14,17,18
                    wasn't 5:17 8:5      2020 1:13 2:12
  11:8 12:23
                    watch 2:25           214 14:20
Trump's 2:11 4:2
  6:19              way 5:23 8:10,23               3
truthful 8:7         9:16
                                         300 2:3
try 5:20            Wayne 7:24
                                         312 14:18
turning 6:15        we're 3:6,7,10,11
turnout 2:5 6:12     12:19                        4
Tweets 9:15         We've 7:5            4:30 9:2
two 8:17,22         Welcome 2:10         4228 14:18
                    whistleblowers
        U            11:21 12:2                    5
U.S 3:24 7:9        widespread 3:15
underscores 8:25    Wisconsin 2:7                6
unpack 4:6           4:9                 6581 14:17
untouched 9:3       words 12:4
upcoming 8:4        work 7:5 12:14               7
use 6:17 9:24       workers 2:14,19      7-31-25 14:20
usually 5:10,12      12:1                75206 14:19
                    Wray 12:12                     8
         V          written 6:17
verify 4:23 5:3                          80 2:6
victory 6:3                 X            800,000 4:24 5:2
video 6:11 8:11                          855-5100 14:20

                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com     800.445.9548
                                             APP122
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 123 of 971




        Exhibit A-8




                             APP123
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 124 of 971

                                                                            1
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12           CERTIFIED TRANSCRIPTION OF
13                 NOVEMBER 20, 2020.
14   TIPPING POINT WITH KARA MCKINNEY SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP124
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 125 of 971

                                                                            2
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:     It's time for Tipping Point.
 3   Tonight, Dominion executives are retreating into the
 4   darkness, as one Pennsylvania official puts it, while
 5   President Trump's legal team are standing tall in the
 6   public eye.    Guess which one the media wants you to
 7   believe.
 8                    Plus, the victims of the terror attacks on
 9   9/11 may have to wait even longer for justice due to
10   pandemic restrictions on the courtroom.
11                    And finally, the Atlantic is pushing
12   Nugenix against those with Down's Syndrome.             I'm your
13   host, Kara McKinney, and this is Tipping Point.
14                    Well, Dominion Voting Systems is pulling a
15   Hunter Biden today.      No, they aren't hiding out from
16   paying child support to their stripper baby mama, but
17   they are hiding out from tough questions.            Remember back
18   before the election two weeks ago when Hunter Biden
19   joined his dad in the basement, metaphorically speaking.
20   It wasn't because he thought the allegations against him
21   of money laundering, selling access to his father's
22   office, and even accusations of being inappropriate with
23   an underage relative were completely unsubstantiated.
24   Just the opposite.
25                    So isn't it suspicious that Dominion is now




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP125
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 126 of 971

                                                                            3
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    following the same exact playbook?            Lay low until Joe
2    Biden gets into the Oval Office in January, either by
3    hook or by crook, and then all your sins can be forgiven
4    by a friendly administration.
5                     That isn't what people who are wrongly
6    smeared or maligned do.        They stand tall and defend
7    their honor.     But of course, it only works if you have
8    any honor left to defend.         Company reps from Dominion
9    Voting Systems were supposed to attend a fact-finding
10   hearing today with the Pennsylvania House State
11   Government Committee.        The committee chair, Seth Grove,
12   said he was initially impressed with the company's
13   willingness to appear and dispel concerns about their
14   voting systems being involved in any election
15   irregularities.
16                    Now, I hate to told you -- tell you I told
17   you so, Seth, but how in the world did you ever trust a
18   foreign-owned company with ties to Soros and the Clinton
19   Foundation to handle our elections in the first place?
20   Not only did Dominion abruptly back out of today's
21   hearings at the last minute, they're now lawyering up.
22                    UNIDENTIFIED SPEAKER:         Instead of running
23   towards the light of honesty and integrity, Dominion
24   Voting Systems retreated to the darkness.              Why?    Why
25   would a vendor of public goods fear discussing their




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP126
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 127 of 971

                                                                            4
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    products sold to the public for the public good?                If
2    Dominion's products were successful and operate as they
3    were supposed to, why wouldn't Dominion take the
4    opportunity to publicly review its success?
5                     How hard is it to say, Our ballot machines
6    worked exactly as promised and they're 100 percent
7    accurate?    Why, after weeks of accusations, has Dominion
8    Voting Systems not released any analysis of the success
9    of their voting machines to the public in order to stop
10   their accusers in their tracks?           They have nothing to
11   hide.   Why are they hiding from us?
12                    Today, I am saddened to report to the
13   taxpayers of Pennsylvania and 1.3 million voters who
14   trusted Dominion Voting Systems with their ballots, that
15   Dominion Voting Systems has hung you out to dry and
16   slapped you in your faces.         Not only are Pennsylvanians
17   more skeptical, but the actions of Dominion Voting
18   Systems last night have led credibility to their
19   accusers' accusations.
20                    MS. MCKINNEY:       Grab your popcorn because
21   this is getting good.        Just hours before Domin- --
22   Dominion executives called last night to back out of the
23   hearing in Pennsylvania, Trump attorney, Sidney Powell,
24   revealed they had also moved out of their offices in
25   Toronto, which was shared, of course, with a Soros




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP127
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 128 of 971

                                                                            5
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    entity.    That's what we would call "circumstantial
2    evidence of wrongdoing."
3                     It really grates on my nerves that at this
4    critical juncture in our nation's history in which we
5    need to stand together as patriots, we're doing a better
6    job of tearing each other down than the left is.                For
7    those that say that President Trump's attorneys haven't
8    given any evidence of their claims, let's go through --
9    through some of that together.
10                    But first, I want to preface this by
11   reminding the naysayers at Fox, among others, that
12   Powell took on General Michael Flynn's case when it
13   seemed hopeless to do so as well.           He'd already pleaded
14   guilty, and the DOJ was adamant that it had turned over
15   all the exculpatory evidence that it had to the Flynn's
16   defense.
17                    For years, Powell pushed through claims
18   that she was a conspiracy theorist on the hunt for
19   documents that didn't exist.          Just imagine if during
20   those years, conservative pundits had also jumped down
21   her throat, saying she had no evidence to substantiate
22   her claims that Flynn was innocent and the victim of a
23   weaponized FBI.      An innocent man would be in prison
24   right now.
25                    But now there's more than just one life at




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP128
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 129 of 971

                                                                            6
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    stake.   Our entire Constitutional Republic is hanging in
2    the balance if we cannot restore faith in our electoral
3    process.    So first off, let's start off with claims that
4    Dominion Voting Systems switched votes.             Well, we know
5    for sure that it did happen in counties in Michigan,
6    where thousands of Trump votes were wrongly awarded to
7    Biden and called "glitches."
8                     Also, these accusations of Dominion
9    switching votes were made by Democrat Senators,
10   Elizabeth Warren, Amy Klobuchar and Ron Wyden just last
11   year, back when they were saying Russia might try to
12   steal this election.        Isn't it likely that whatever
13   evidence these Democrat senators were looking at last
14   year, Powell now has.        In fact, Dominion's own user
15   guide admits that its software suffers from a medium to
16   high risk of having its voting data changed.
17                    And how about that letter from Democrat
18   congresswoman, Carolyn Maloney, from 2006, where she
19   highlights concerns about Smartmatics and its history of
20   being used by the Chavez-led Venezuelan government in
21   their corrupt elections?         Did she make that claim
22   without evidence too or only Powell?
23                    And for those who buy into CNN's argument
24   that Powell's wrong about Smartmatics being tied to
25   Dominion, here's the former Smartmatics chairman, Lord




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP129
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 130 of 971

                                                                            7
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   Malloch-Brown, a friend and advisor to George Soros,
 2   saying the opposite during an old interview.
 3                    MR. MALLOCH-BROWN:       Well, look, I think
 4   that's competitors who say that.          You know, the fact is,
 5   yes, part of our technology is licensed from Dominion.
 6                    MS. MCKINNEY:     And there's still so much
 7   more to get to tonight, so in order to do that, I want
 8   to welcome on my first guest, Michael Johns, the
 9   cofounder and leader of the National Tea Party Movement.
10                    Welcome back, Michael.
11                    MR. JOHNS:     Thank you.
12                    MS. MCKINNEY:     So lots of updates here.
13   What have you learned since we last spoke?
14                    MR. JOHNS:     Well, if you were going to look
15   at this and say, Is the evidence building or is it
16   diminishing of the role that Dominion played in a
17   possible major electoral fraud, you have to say it's
18   building.    And let me just start out, because I don't
19   think this is properly being presented in much of media,
20   the fact that the two leading attorneys on this case who
21   have, you know -- are barred, have ethical obligations,
22   are officers of the court, and are two unbelievably
23   extraordinary Americans of impeccable integrity.              Sidney
24   Powell, maybe not known to most Americans, but was a --
25   you know, a -- a leading U.S. Attorney earlier in her




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP130
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 131 of 971

                                                                            8
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   career in two different jurisdictions.           She led hundreds
 2   of appellant cases.      I think she was admitted to law
 3   school at age of 19, an incredibly bright, successful
 4   attorney, who has no basis, reason and every reason not
 5   to be misleading the American public.
 6                    Rudy Giuliani will go down in history as
 7   one of the greatest icons of our lifetimes, all the way
 8   back to breaking up the five -- five crime families of
 9   New York City, to becoming the mayor -- greatest mayor
10   of -- of America's greatest city.          And through, you
11   know, and incredible navigation of a -- of a political
12   public policy/legal career.
13                    And so when these two individuals stand
14   before the world and say that this election was
15   fraudulently manipulated, the burden of proof shifts to
16   proving that it wasn't.       Additionally, we've had --
17   we -- we -- when you look at the cou- -- the -- we're
18   having this depiction that there is no fraud, there has
19   been no fraud, we've now had court affirmations that
20   there has been fraud.
21                    So I'm -- I'm astonished to read mainstream
22   media coverage that continues to put adjectives before
23   voter fraud, as in baseless, unproven, irresponsible,
24   dangerous.    The dangerous component of this moment,
25   which I believe to be clear, is a historic moment.              Of




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP131
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 132 of 971

                                                                            9
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    35 years of public policy, I don't believe I've ever --
2    you know, there's been three or four moments that I
3    think have been undeniably historic.            This is one of
4    them.   We absolutely cannot get to January 20 and
5    inaugurate a president who was elected on the basis of
6    some de- -- of some fraudulent intervention, which to be
7    clear, may not even have been the Biden campaign.
8                     I mean, there's every reason to be equally
9    suspicious of foreign sources, China, of other
10   institutions, companies, business -- unethical people.
11   But one of the major issues right now is what do we do
12   next, I think is the question that every American at
13   home needs to pause and ponder.
14                    And my guidances on legal strategy, number
15   one, any group of entities bra- -- bold enough to
16   attempt to rig a U.S. presidential election are probably
17   capable of just about anything.           So the preservation of
18   evidence on this is crucially important, having sort of
19   commented that that -- on that originally, but I think
20   at this point, it's sort of out there.             That has to be
21   priority one from a legal strategy standpoint.
22                    No. 2 is that this is going to require all
23   hands on deck, and it's going to be a like -- you know,
24   it's not going to go on indefinitely, but we're going to
25   go, you know, through the end of the year, we're going




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP132
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 133 of 971

                                                                            10
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   to begin to learn more and more, and I believe the
 2   American people likely are going to be affirmed in
 3   the thesis presented by these two very credible and --
 4   and prestigious attorneys, who have investigated and
 5   reviewed affidavits and indisputable evidence that there
 6   has been a malicious and hugely de- -- threatening
 7   degree of conflict in our electoral process and in
 8   representative democracy.
 9                    So this is not about Donald Trump.           This is
10   not even about who's going to govern the country over
11   the next four years.       It's about an extraordinary
12   decision in 2,000 jurisdictions in 30 states, roughly a
13   third of the total electorate, where election officials
14   and State -- Secretaries of State had to look around the
15   world and assess and select an electoral voting system
16   and chose this particular system, as you correctly
17   noted, and as has been -- was broadly noted both by
18   Democrat politicians and extensive media outlets, by the
19   state of Texas with -- which three times issued public
20   reports on this, not just rejecting their bid to sell
21   the system into Texas, but warning the American people
22   about the extraordinarily easily manipulated software
23   and the danger that it presented to free and fair
24   elections.
25                    Louisiana, same thing; city of




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP133
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 134 of 971

                                                                            11
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   Philadelphia, same thing.        So this is not partisan, this
 2   is not Trump, but this is an incredibly valid issue, and
 3   we are in a moment where I believe leadership on this is
 4   lacking.   I'm not -- we -- this is a moment that you
 5   should be a full-stop moment where individuals are
 6   saying -- are stopping and saying, Let's get to the
 7   bottom of this, not attempting to discredit testimony
 8   and evidence that they haven't even personally reviewed.
 9                    MS. MCKINNEY:     Exactly.     And one thing that
10   really gets me that I'm not hearing much focus on is,
11   where is Dominion in all of this?          If we're to believe
12   that they're victims in all this and their company's
13   being wrongly smeared and tarnished, why aren't they
14   holding their own press conferences like how Powell and
15   Giuliani and Jenna Ellis are?         Why aren't they having
16   their executives go out to the Pennsylvania State
17   Government Committee that wanted to speak to them?              Why
18   aren't they going out there, rolling out their case and
19   saying, Here's our numbers, everything lines up, we did
20   everything, you know, we dotted all of our I's, we
21   crossed all of our T's, we did everything by the book.
22                    Instead, they're hightailing it out of
23   here, they're running as fast as they can, they're
24   hiding under every rock and behind every bush.             It
25   reminds me of, like, how Hunter Biden did when the




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP134
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 135 of 971

                                                                            12
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   Hunter Biden laptop scandal broke out.           He went into
 2   hiding too, as well.       His father's campaign just
 3   released some, you know, basic statements of denial, but
 4   they never really came out and addressed anything at any
 5   great length.
 6                    And to me, that's what Dominion's -- how
 7   they're acting right now.        That's what it reminds me of,
 8   of very, very guilty.
 9                    MR. JOHNS:     That's right.      People who are
10   guilty run and hide, you know, and you know, having
11   managed communications in our -- in the White House and
12   federal government function and also in Fortune 1000
13   companies, Rule No. 1 is full disclosure, especially
14   when there's false allegations, is to open the books, be
15   accessible and -- and report what you know, even if that
16   includes acknowledging some degree of wrongdoing.
17                    You correctly point out individuals who run
18   and hide in these moments, as Hunter Biden has done, as
19   the whole -- the -- the other Biden family members have
20   done and as Dominion and its subsidiaries are now doing,
21   do so because they are trying to concoct some sort of
22   story and are not prepared to confront basic questions
23   about the allegations that are now broadly known.
24                    This is a defining moment for this country,
25   and we need to engage as citizens too and unite and




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP135
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 136 of 971

                                                                            13
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   insist that our representative democracy is defended.
 2   That's ultimately going to be a decision made, as it has
 3   to be made, by flawed human beings, who have political
 4   considerations, who have probably predisposed positions
 5   as it relates to the president and views on -- on who's
 6   best suited to be the best president.
 7                    That all has to be suspended now.           This is
 8   about the rule of law, this is about the U.S.
 9   Constitution, and this is about an incredible story of
10   the greatest country in the history of the world.              And
11   the first bullet from 1775 to now that many Americans
12   have -- have died and bled for, this right that now runs
13   the risk of being stripped away from the American voter.
14                    MS. MCKINNEY:     And quickly, before I let
15   you go, when we look ahead, what do you think is the
16   president's pathway to victory here?
17                    MR. JOHNS:     Well, certainly if there's been
18   a magnitude of technical manipulation, you can almost
19   take all of these other state-based lawsuits and their
20   outcome might prove meaningless.          There -- there --
21   there'd probably be enough right here if the -- if the
22   Dominion issues materialize.
23                    Additionally, I think when you go through
24   and look at the still ongoing state cases, that there's
25   a pathway clearly there too.         And legitimate areas of,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP136
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 137 of 971

                                                                            14
      Tipping Point With Kara McKinney Segment - November 20, 2020


 1   you know, denying poll watchers access and manipu- --
 2   ballot manipulations and affidavits and broader fraud
 3   and the famous bag dump of 130,000 Biden votes with no
 4   down-ballot voting.      This should be outra- -- this
 5   should be outraging the American people.
 6                    MS. MCKINNEY:     And when it goes --
 7                    MR. JOHNS:     And it's -- it's got to -- it's
 8   got to be a community, almost, effort, you know, and --
 9   and I believe you've been covering it exceptionally
10   well, and we have simply got to push on in presenting
11   factual information, not getting out ahead of the facts,
12   but continuing to say, This is -- we're real -- right
13   now defining, we're either going to defend and protect
14   and unearth these facts and protect American democracy
15   and -- and -- and the votes of American citizens, or
16   we're going to capitulate, which has been an
17   unfortunate, dangerous trend that would -- that never
18   really historically existed in this country, but
19   certainly has been a characteristic of the last decade
20   or so.
21                    MS. MCKINNEY:     And when it comes to those
22   ballot dumps, one thing that I try and point out that I
23   don't see many other people talking about is that while
24   I was at work here, you know, the word went out that all
25   these battleground states, that they were stopping their




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP137
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 138 of 971

                                                                            15
      Tipping Point With Kara McKinney Segment - November 20, 2020


1    vote counting for the night.          You know, and then I get
2    home and look on Twitter, and next thing you know,
3    they're saying a hundred thousand here, some more
4    ballots counted there.        How are all these ballots that
5    not only were brought in, you know, with vehicles, some
6    having out-of-state licenses when it comes to Michigan,
7    you know, they were being brought in the back door late
8    at night.
9                     But this is when the voting -- the vote
10   counting was supposed to have been ended, it was
11   supposed to have been stopped.           And yet, we're to
12   believe that, all of a sudden, these Biden ballots just
13   come pouring in and that's supposed to be perfectly
14   legitimate, nothing suspicious there.
15                    But as always, Michael Johns, thank you so
16   much for coming on tonight and helping us to analyze
17   this crazy scenario we're -- we're living in.
18                    MR. JOHNS:      Thank you very much.
19                    (Recording ends.)
20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP138
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 139 of 971

                                                                            16
      Tipping Point With Kara McKinney Segment - November 20, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP139
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 140 of 971

                                                            17
 Tipping Point With Kara McKinney Segment - November 20, 2020

        A           analysis 4:8         bid 10:20           chairman 6:25       conflict 10:7
above-entitled      analyze 15:16        Biden 2:15,18 3:2   changed 6:16        confront 12:22
  16:5              appear 3:13            6:7 9:7 11:25     characteristic      congresswoman
abruptly 3:20       appellant 8:2          12:1,18,19 14:3     14:19               6:18
absolutely 9:4      areas 13:25            15:12             Chavez-led 6:20     conservative 5:20
access 2:21 14:1    argument 6:23        bled 13:12          child 2:16          considerations
accessible 12:15    assess 10:15         bold 9:15           China 9:9             13:4
accurate 4:7        astonished 8:21      book 11:21          chose 10:16         conspiracy 5:18
accusations 2:22    Atlantic 2:11        books 12:14         circumstantial      Constitution
  4:7,19 6:8        attacks 2:8          bottom 11:7           5:1                 13:9
accusers 4:10       attempt 9:16         bra- 9:15           citizens 12:25      Constitutional
accusers' 4:19      attempting 11:7      breaking 8:8          14:15               6:1
acknowledging       attend 3:9           bright 8:3          city 8:9,10 10:25   continues 8:22
  12:16             attorney 4:23        broader 14:2        claim 6:21          continuing 14:12
acting 12:7           7:25 8:4           broadly 10:17       claims 5:8,17,22    correct 16:4
action 16:8,10      attorneys 5:7          12:23               6:3               correctly 10:16
actions 4:17          7:20 10:4          broke 12:1          clear 8:25 9:7        12:17
adamant 5:14        awarded 6:6          brought 15:5,7      clearly 13:25       corrupt 6:21
Additionally 8:16                        building 7:15,18    Clinton 3:18        cou- 8:17
                             B           bullet 13:11        CNN's 6:23          counsel 16:6
  13:23
addressed 12:4      baby 2:16            burden 8:15         cofounder 7:9       counted 15:4
adjectives 8:22     back 2:17 3:20       bush 11:24          come 15:13          counties 6:5
administration       4:22 6:11 7:10      business 9:10       comes 14:21 15:6    counting 15:1,10
  3:4                8:8 15:7            buy 6:23            coming 15:16        country 10:10
admits 6:15         bag 14:3                                 commented 9:19        12:24 13:10
                    balance 6:2                   C          commission            14:18
admitted 8:2
advisor 7:1         ballot 4:5 14:2,22   C 16:1,1              16:20             course 3:7 4:25
affidavits 10:5     ballots 4:14 15:4    call 5:1            committee 3:11      court 7:22 8:19
  14:2               15:4,12             called 4:22 6:7       3:11 11:17        courtroom 2:10
affirmations 8:19   barred 7:21          campaign 9:7        communications      coverage 8:22
affirmed 10:2       baseless 8:23          12:2                12:11             covering 14:9
age 8:3             basement 2:19        capable 9:17        community 14:8      crazy 15:17
ago 2:18            basic 12:3,22        capitulate 14:16    companies 9:10      credibility 4:18
ahead 13:15         basis 8:4 9:5        career 8:1,12         12:13             credible 10:3
  14:11             battleground         Carolyn 6:18        company 3:8,18      crime 8:8
allegations 2:20     14:25               case 5:12 7:20      company's 3:12      critical 5:4
  12:14,23          becoming 8:9           11:18               11:12             crook 3:3
America's 8:10      begins 2:1           cases 8:2 13:24     competitors 7:4     crossed 11:21
American 8:5        beings 13:3          Central 16:18       completely 2:23     crucially 9:18
  9:12 10:2,21      believe 2:7 8:25     certainly 13:17     component 8:24
                     9:1 10:1 11:3         14:19             concerns 3:13               D
  13:13 14:5,14
  14:15              11:11 14:9          Certified 1:12        6:19              dad 2:19
Americans 7:23       15:12                 16:2,16           concoct 12:21       Dallas 16:19
  7:24 13:11        best 13:6,6          certify 16:3,6,11   conferences         danger 10:23
Amy 6:10            better 5:5           chair 3:11            11:14             dangerous 8:24


                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                   800.445.9548
                                             APP140
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 141 of 971

                                                            18
 Tipping Point With Kara McKinney Segment - November 20, 2020

  8:24 14:17        door 15:7            executives 2:3        foreign 9:9         Grab 4:20
darkness 2:4 3:24   dotted 11:20           4:22 11:16          foreign-owned       grates 5:3
data 6:16           Down's 2:12          exist 5:19              3:18              great 12:5
Davenport 16:17     down-ballot 14:4     existed 14:18         forgiven 3:3        greatest 8:7,9,10
de- 9:6 10:6        dry 4:15             expires 16:20         former 6:25           13:10
decade 14:19        due 2:9              Expressway            Fortune 12:12       group 9:15
decision 10:12      dump 14:3              16:18               Foundation 3:19     Grove 3:11
  13:2              dumps 14:22          extensive 10:18       four 9:2 10:11      Guess 2:6
deck 9:23                                extraordinarily       Fox 5:11            guest 7:8
defend 3:6,8                 E             10:22               fraud 7:17 8:18     guidances 9:14
  14:13             E 16:1,1             extraordinary           8:19,20,23 14:2   guide 6:15
defended 13:1       earlier 7:25           7:23 10:11          fraudulent 9:6      guilty 5:14 12:8
defense 5:16        easily 10:22         eye 2:6               fraudulently 8:15     12:10
defining 12:24      effort 14:8                                free 10:23
  14:13             either 3:2 14:13              F            friend 7:1                  H
degree 10:7         elected 9:5          F 16:1                friendly 3:4        handle 3:19
  12:16             election 2:18 3:14   faces 4:16            full 12:13 16:12    hands 9:23
democracy 10:8        6:12 8:14 9:16     fact 6:14 7:4,20      full-stop 11:5      hanging 6:1
  13:1 14:14          10:13              fact-finding 3:9      function 12:12      happen 6:5
Democrat 6:9,13     elections 3:19       facts 14:11,14        further 16:6,9,11   hard 4:5
  6:17 10:18          6:21 10:24         factual 14:11                             hate 3:16
denial 12:3         electoral 6:2 7:17   fair 10:23                    G           hearing 3:10 4:23
denying 14:1          10:7,15            faith 6:2             Garcia 16:2,16        11:10
depiction 8:18      electorate 10:13     false 12:14           General 5:12        hearings 3:21
Dickman 16:17       Elizabeth 6:10       families 8:8          George 7:1          helping 15:16
died 13:12          Ellis 11:15          family 12:19          getting 4:21        hide 4:11 12:10
different 8:1       employed 16:7        famous 14:3             14:11               12:18
diminishing 7:16    ended 15:10          fast 11:23            Giuliani 8:6        hiding 2:15,17
disclosure 12:13    ends 15:19           father's 2:21 12:2      11:15               4:11 11:24 12:2
discredit 11:7      engage 12:25         FBI 5:23              given 5:8           high 6:16
discussing 3:25     entire 6:1           fear 3:25             glitches 6:7        highlights 6:19
dispel 3:13         entities 9:15        federal 12:12         go 5:8 8:6 9:24     hightailing 11:22
documents 5:19      entity 5:1           fee 16:11               9:25 11:16        historic 8:25 9:3
doing 5:5 12:20     equally 9:8          finally 2:11            13:15,23          historically 14:18
DOJ 5:14            especially 12:13     financially 16:9      goes 14:6           history 5:4 6:19
Domin- 4:21         ethical 7:21         Firm 16:18            going 7:14 9:22       8:6 13:10
Dominion 2:3,14     evidence 5:2,8,15    first 3:19 5:10 6:3     9:23,24,24,25     holding 11:14
  2:25 3:8,20,23      5:21 6:13,22         7:8 13:11             10:2,10 11:18     home 9:13 15:2
  4:3,7,14,15,17      7:15 9:18 10:5     five 8:8,8              13:2 14:13,16     honesty 3:23
  4:22 6:4,8,25       11:8               flawed 13:3           good 4:1,21         honor 3:7,8
  7:5,16 11:11      exact 3:1            Flynn 5:22            goods 3:25          hook 3:3
  12:20 13:22       exactly 4:6 11:9     Flynn's 5:12,15       govern 10:10        hopeless 5:13
Dominion's 4:2      exceptionally        focus 11:10           government 3:11     host 2:13
  6:14 12:6           14:9               following 3:1           6:20 11:17        hours 4:21
Donald 10:9         exculpatory 5:15     foregoing 16:3          12:12             House 3:10 12:11


                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                     800.445.9548
                                             APP141
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 142 of 971

                                                            19
 Tipping Point With Kara McKinney Segment - November 20, 2020

hugely 10:6       issue 11:2        left 3:8 5:6         matter 16:5        NOVEMBER
human 13:3        issued 10:19      legal 2:5 9:14,21    mayor 8:9,9         1:13
hundred 15:3      issues 9:11 13:22 legitimate 13:25     McKinney 1:14      Nugenix 2:12
hundreds 8:1                           15:14              2:2,13 4:20 7:6   number 9:14
hung 4:15                  J        length 12:5           7:12 11:9 13:14   numbers 11:19
hunt 5:18         January 3:2 9:4   let's 5:8 6:3 11:6    14:6,21
Hunter 2:15,18    Jenna 11:15       letter 6:17          mean 9:8                    O
 11:25 12:1,18    job 5:6           licensed 7:5         meaningless        obligations 7:21
                  Joe 3:1           licenses 15:6         13:20             office 2:22 3:2
          I       Johns 7:8,11,14   life 5:25            media 2:6 7:19     officers 7:22
I's 11:20           12:9 13:17 14:7 lifetimes 8:7         8:22 10:18        offices 4:24
icons 8:7           15:15,18        light 3:23           medium 6:15        official 2:4
imagine 5:19      joined 2:19       lines 11:19          members 12:19      officials 10:13
impeccable 7:23 jumped 5:20         living 15:17         metaphorically     old 7:2
important 9:18    juncture 5:4      longer 2:9            2:19              ongoing 13:24
impressed 3:12    jurisdictions 8:1 look 7:3,14 8:17     Michael 5:12 7:8   open 12:14
inappropriate       10:12              10:14 13:15,24     7:10 15:15        operate 4:2
  2:22            justice 2:9          15:2              Michigan 6:5       opportunity 4:4
inaugurate 9:5                      looking 6:13          15:6              opposite 2:24 7:2
includes 12:16             K                                                order 4:9 7:7
                                    Lord 6:25            million 4:13
incredible 8:11   Kara  1:14  2:13  lots 7:12            minute 3:21        originally 9:19
  13:9            Klobuchar 6:10    Louisiana 10:25      misleading 8:5     out-of-state 15:6
incredibly 8:3    know 6:4 7:4,21   low 3:1              moment 8:24,25     outcome 13:20
  11:2              7:25 8:11 9:2                         11:3,4,5 12:24      16:10
indefinitely 9:24   9:23,25 11:20            M           moments 9:2        outlets 10:18
indisputable 10:5   12:3,10,10,15   machines 4:5,9        12:18             outra- 14:4
individuals 8:13    14:1,8,24 15:1  magnitude 13:18      money 2:21         outraging 14:5
  11:5 12:17        15:2,5,7        mainstream 8:21      moved 4:24         Oval 3:2
information       known 7:24        major 7:17 9:11      Movement 7:9
  14:11             12:23           malicious 10:6                                   P
initially 3:12                      maligned 3:6                  N         paid 16:12
                           L                                                paid/will 16:12
innocent 5:22,23                    Malloch-Brown        nation's 5:4
insist 13:1       lacking 11:4         7:1,3             National 7:9       pandemic 2:10
institutions 9:10 laptop  12:1      Maloney 6:18         navigation 8:11    part 7:5
integrity 3:23    late 15:7         mama 2:16            naysayers 5:11     particular 10:16
  7:23            laundering 2:21 man 5:23               need 5:5 12:25     parties 16:7
interested 16:10 law 8:2 13:8       managed 12:11        needs 9:13         partisan 11:1
intervention 9:6 lawsuits 13:19     manipu- 14:1         neither 16:6       Party 7:9
interview 7:2     lawyering 3:21    manipulated          nerves 5:3         pathway 13:16
investigated 10:4 Lay  3:1             8:15 10:22        never 12:4 14:17    13:25
involved 3:14     leader 7:9        manipulation         New 8:9            patriots 5:5
irregularities    leadership 11:3      13:18             night 4:18,22      pause 9:13
  3:15            leading 7:20,25   manipulations          15:1,8           paying 2:16
irresponsible     learn 10:1           14:2              North 16:18        Pennsylvania 2:4
  8:23            learned  7:13     materialize 13:22    noted 10:17,17      3:10 4:13,23
                  led 4:18 8:1                                               11:16

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                 800.445.9548
                                         APP142
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 143 of 971

                                                            20
 Tipping Point With Kara McKinney Segment - November 20, 2020

Pennsylvanians      press 11:14        relative 2:23       scandal 12:1        state-based 13:19
  4:16              prestigious 10:4   released 4:8 12:3   scenario 15:17      statements 12:3
people 3:5 9:10     priority 9:21      Remember 2:17       school 8:3          states 10:12
  10:2,21 12:9      prison 5:23        reminding 5:11      Secretaries 10:14     14:25
  14:5,23           probably 9:16      reminds 11:25       see 14:23           steal 6:12
percent 4:6          13:4,21             12:7              SEGMENT 1:14        stop 4:9
perfectly 15:13     process 6:3 10:7   report 4:12 12:15   select 10:15        stopped 15:11
personally 11:8     products 4:1,2     Reporter 16:2,17    sell 10:20          stopping 11:6
Philadelphia        promised 4:6       reports 10:20       selling 2:21          14:25
  11:1              proof 8:15         representative      senators 6:9,13     story 12:22 13:9
place 3:19          properly 7:19        10:8 13:1         Seth 3:11,17        strategy 9:14,21
playbook 3:1        protect 14:13,14   reps 3:8            shared 4:25         stripped 13:13
played 7:16         prove 13:20        Republic 6:1        shifts 8:15         stripper 2:16
pleaded 5:13        proving 8:16       require 9:22        Shorthand 16:2      subsidiaries
Plus 2:8            public 2:6 3:25    restore 6:2           16:17               12:20
point 1:14 2:2,13    4:1,1,9 8:5,12    restrictions 2:10   Sidney 4:23 7:23    substantiate 5:21
  9:20 12:17         9:1 10:19         retreated 3:24      simply 14:10        success 4:4,8
  14:22             publicly 4:4       retreating 2:3      sins 3:3            successful 4:2 8:3
policy 9:1          pulling 2:14       revealed 4:24       skeptical 4:17      sudden 15:12
policy/legal 8:12   pundits 5:20       review 4:4          slapped 4:16        suffers 6:15
political 8:11      push 14:10         reviewed 10:5       Smartmatics         Suite 16:19
  13:3              pushed 5:17          11:8                6:19,24,25        suited 13:6
politicians 10:18   pushing 2:11       rig 9:16            smeared 3:6         support 2:16
poll 14:1           put 8:22           right 5:24 9:11       11:13             supposed 3:9 4:3
ponder 9:13         puts 2:4             12:7,9 13:12,21   software 6:15         15:10,11,13
popcorn 4:20                             14:12               10:22             sure 6:5
positions 13:4              Q          risk 6:16 13:13     sold 4:1            suspended 13:7
possible 7:17       question 9:12      rock 11:24          Soros 3:18 4:25     suspicious 2:25
pouring 15:13       questions 2:17     role 7:16             7:1                 9:9 15:14
Powell 4:23 5:12     12:22             rolling 11:18       sort 9:18,20        switched 6:4
  5:17 6:14,22      quickly 13:14      Ron 6:10              12:21             switching 6:9
  7:24 11:14                           roughly 10:12       sources 9:9         Syndrome 2:12
                            R
Powell's 6:24                          Rudy 8:6            speak 11:17         system 10:15,16
predisposed 13:4    R 16:1             rule 12:13 13:8     SPEAKER 3:22          10:21
preface 5:10        read 8:21          run 12:10,17        speaking 2:19       systems 2:14 3:9
prepared 12:22      real 14:12         running 3:22        spoke 7:13            3:14,24 4:8,14
presented 7:19      really 5:3 11:10     11:23             stake 6:1             4:15,18 6:4
  10:3,23             12:4 14:18       runs 13:12          stand 3:6 5:5
presenting 14:10    reason 8:4,4 9:8   Russia 6:11           8:13                       T
preservation        recording 2:1                          standing 2:5        T 16:1,1
  9:17                15:19 16:4,8             S           standpoint 9:21     T's 11:21
president 2:5 5:7   Registration       saddened 4:12       start 6:3 7:18      take 4:3 13:19
  9:5 13:5,6          16:18            saying 5:21 6:11    state 3:10 10:14    talking 14:23
president's 13:16   rejecting 10:20      7:2 11:6,6,19       10:14,19 11:16    tall 2:5 3:6
presidential 9:16   related 16:7         15:3                13:24 16:3        tarnished 11:13
                    relates 13:5

                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com               800.445.9548
                                           APP143
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 144 of 971

                                                            21
 Tipping Point With Kara McKinney Segment - November 20, 2020

taxpayers 4:13      transcription       vote 15:1,9                 X                 8
Tea 7:9               1:12 16:4,11      voter 8:23 13:13                     855-5100 16:20
team 2:5            trend 14:17         voters 4:13                 Y
tearing 5:6         Trump 4:23 6:6      votes 6:4,6,9 14:3 year 6:11,14 9:25          9
technical 13:18       10:9 11:2          14:15             years 5:17,20 9:1 9/11 2:9
technology 7:5      Trump's 2:5 5:7     voting 2:14 3:9      10:11
tell 3:16           trust 3:17           3:14,24 4:8,9     York 8:9
Terri 16:2,16       trusted 4:14         4:14,15,17 6:4
terror 2:8          try 6:11 14:22       6:16 10:15 14:4            Z
testimony 11:7      trying 12:21         15:9
                                                                    0
Texas 10:19,21      turned 5:14
  16:3,16,19        Twitter 15:2                W
                                                                    1
thank 7:11 15:15    two 2:18 7:20,22    wait 2:9
                                        want 5:10 7:7      1 12:13
  15:18               8:1,13 10:3
                                        wanted 11:17       1.3 4:13
theorist 5:18
                            U           wants 2:6          100 4:6
thesis 10:3
                    U.S 7:25 9:16       warning 10:21      1000 12:12
thing 10:25 11:1
                      13:8              Warren 6:10        101 16:19
  11:9 14:22 15:2
think 7:3,19 8:2    ultimately 13:2     wasn't 2:20 8:16 130,000 14:3
                    unbelievably        watchers 14:1      1775 13:11
  9:3,12,19 13:15
                      7:22              way 8:7            19 8:3
  13:23
third 10:13         undeniably 9:3      we're 5:5 8:17              2
thought 2:20        underage 2:23        9:24,25 11:11
                                                           2 9:22
thousand 15:3       unearth 14:14        14:12,13,16
                                                           2,000 10:12
thousands 6:6       unethical 9:10       15:11,17,17
                                                           20 1:13 9:4
threatening 10:6    unfortunate         we've 8:16,19
                                                           2006 6:18
three 9:2 10:19       14:17             weaponized 5:23
                                                           2020 1:13
throat 5:21         UNIDENTIFI...       weeks 2:18 4:7
                                                           214 16:20
tied 6:24             3:22              welcome 7:8,10
ties 3:18           unite 12:25         went 12:1 14:24             3
time 2:2            unproven 8:23       White 12:11        30 10:12
times 10:19         unsubstantiated     willingness 3:13   312 16:18
Tipping 1:14 2:2      2:23              word 14:24         35 9:1
  2:13              updates 7:12        work 14:24
today 2:15 3:10     user 6:14           worked 4:6                  4
  4:12                                  works 3:7          4228 16:18
                            V           world 3:17 8:14
today's 3:20
told 3:16,16        valid 11:2           10:15 13:10                5
tonight 2:3 7:7     vehicles 15:5       wouldn't 4:3
                    vendor 3:25         wrong 6:24                  6
  15:16
                    Venezuelan 6:20     wrongdoing 5:2     6581 16:17
Toronto 4:25
total 10:13         victim 5:22          12:16
                    victims 2:8 11:12                               7
tough 2:17                              wrongly 3:5 6:6
                    victory 13:16                          7-31-25 16:20
tracks 4:10                              11:13
                    video 16:4                             75206 16:19
transcribed 16:8                        Wyden 6:10
                    views 13:5

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                            APP144
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 145 of 971




        Exhibit A-9




                             APP145
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 146 of 971

                                                                            1
      Tipping Point with Kara McKinney Segment - November 18, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12           CERTIFIED TRANSCRIPTION OF
13                  NOVEMBER 18, 2020
14   TIPPING POINT WITH KARA MCKINNEY SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP146
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 147 of 971

                                                                            2
      Tipping Point with Kara McKinney Segment - November 18, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:     So when it comes to Georgia
 3   and even some states like Wisconsin, there are missing
 4   flash drives containing sensitive voting information.
 5   What can you tell us about that?
 6                    MR. BECKER:     Well, looks like we have three
 7   missing flash drives that were found with votes for
 8   Trump, surplus votes, that have brought him thousands of
 9   votes closer to Biden on these states.           And there's just
10   numerous security questions about these, like, if these
11   flash drives are missing, what other things don't we
12   know about the security of these flash drives?             What
13   kind have been used in these tabulating machines?              Very
14   alarming stuff that really needs to be looked into by
15   mainstream media.      And, of course, we've been following
16   it, so...
17                    MS. MCKINNEY:     And along these missing
18   ballots in Georgia that are just now being discovered,
19   you know, 2600 there, a few thousand there, they seem to
20   be going for President Trump.         And, you know, it's
21   interesting because Georgia's been a very razor thin
22   edge right there for Biden.        So when it comes to that,
23   Georgia is a state that uses Dominion Voting Systems,
24   for example.     You know, does that raise any alarms for
25   you?




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP147
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 148 of 971

                                                                            3
      Tipping Point with Kara McKinney Segment - November 18, 2020


1                     MR. BECKER:      Sure.    While the contract
2    itself, a $106 million contract, it was disputed, fought
3    in court, a lot of people didn't want it there.
4    Louisiana rejected it.        They actually pulled the bid
5    from it, which was about $100 million.             Texas shot them
6    down three times because their security.             Canada doesn't
7    use it anymore.
8                     So there were a number of legitimate
9    problems with Dominion Voting Systems that have been
10   documented in the past.        And to see it in the midst of
11   this chaos in the state of Georgia is really not
12   surprising to people that know Dominion Voting Systems,
13   have researched it and used in elections around the
14   world.   It has a long track record of -- of people
15   having -- having major problems with this voting system
16   company.
17                    And it's not the only one.          ES&S also has
18   problems too, and that's used in Philadelphia.               But
19   Dominion's the one that's, like, you can definitely see
20   foreign links because it's -- they have a maj- -- a
21   Canadian office in Toronto.          They have founders, John
22   Poulos, who's a Greek, and -- and one of their software
23   develops -- developers from Serbia.            A lot of people
24   from Serbia working with this company.
25                    So that's the foreign connections and, you




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP148
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 149 of 971

                                                                            4
      Tipping Point with Kara McKinney Segment - November 18, 2020


1    know, when -- when the media, for three or four years,
2    you know, cries foul about supposed foreign interfa- --
3    -ference in -- in the election that Trump won, it's --
4    it's turnaround is fair play for them to actually show
5    some concern about the potential that Dominion has some
6    foreign ties, including redacted bids that should show
7    who their donors are, their stakeholders are in the
8    company, and they don't show them explicitly.               So that
9    raises some red flags about the company.
10                    MS. MCKINNEY:      It just still, you know,
11   blows my mind.      It boggles the mind that, as you were
12   saying, years and years of Russia this, Russia that,
13   foreign interference and foreign hacking and meddling in
14   our elections, and then here all these bids go out to
15   foreign-based companies.         You know, Dominion, as you
16   were saying, it's a Canadian company.
17                    We hear about some servers, possibly,
18   overseas that some of this data's being routed through.
19   You know -- you know, what's going on there?               It's so
20   confusing.
21                    MR. BECKER:      It is confusing because, you
22   know, there -- there are foreign companies that have
23   stations in the United States.          So, you know, for
24   example, there's, you know, SGO Smartmatic has been
25   involved in this, and they're from London, they have




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP149
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 150 of 971

                                                                            5
      Tipping Point with Kara McKinney Segment - November 18, 2020


1    ties to Venezuela.       They've been participating in
2    Venezuela.
3                     There are ties to just, you know, Germany
4    and the serve- -- election reporting servers going
5    through -- through there.         All of this is being denied,
6    but there's absolutely zero transparency.              These source
7    codes that are used in these vot- -- voting machines are
8    secret and proprietary, and Democrats, from Chuck
9    Schumer, Zoe Lofgren, Carolyn Moseley in New York, all
10   of these Democrats have pointed out these major problems
11   with security and with transparency with these voting
12   systems companies.       But they changed their tune since
13   Biden shows the lead at the moment, so they're not --
14   they're not so concerned about it at the moment.
15                    (Recording ends.)
16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP150
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 151 of 971

                                                                            6
      Tipping Point with Kara McKinney Segment - November 18, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP151
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 152 of 971

                                                             7
 Tipping Point with Kara McKinney Segment - November 18, 2020

        A           4:21            F 6:1                       J           New 5:9
above-entitled    connections 3:25  fair 4:4            John 3:21           North 6:18
  6:5             containing 2:4    fee 6:11                                NOVEMBER
absolutely 5:6    contract 3:1,2    ference 4:3                 K            1:13
action 6:8,10     correct 6:4       financially 6:9     KARA 1:14           number 3:8
alarming 2:14     counsel 6:6       Firm 6:18           kind 2:13           numerous 2:10
alarms 2:24       course 2:15       flags 4:9           know 2:12,19,20
                  court 3:3         flash 2:4,7,11,12     2:24 3:12 4:1,2            O
anymore 3:7
                  cries 4:2         following 2:15        4:10,15,19,19     office 3:21
         B                          foregoing 6:3         4:22,23,24 5:3    outcome 6:10
ballots 2:18               D        foreign 3:20,25                         overseas 4:18
BECKER 2:6 3:1    Dallas 6:19         4:2,6,13,13,22             L
                  data's 4:18                           lead 5:13                    P
  4:21                              foreign-based
begins 2:1        Davenport 6:17      4:15              legitimate 3:8      paid 6:12
bid 3:4           definitely 3:19   fought 3:2          links 3:20          paid/will 6:12
Biden 2:9,22 5:13 Democrats 5:8,10 foul 4:2             Lofgren 5:9         participating 5:1
bids 4:6,14       denied 5:5        found 2:7           London 4:25         parties 6:7
blows 4:11        developers   3:23 founders 3:21       long 3:14           people 3:3,12,14
boggles 4:11      develops 3:23     four 4:1            looked 2:14           3:23
brought 2:8       Dickman 6:17      full 6:12           looks 2:6           Philadelphia
                  discovered 2:18   further 6:6,9,11    lot 3:3,23            3:18
         C        disputed 3:2                          Louisiana 3:4       play 4:4
C 6:1,1           documented 3:10            G                              POINT 1:14
Canada 3:6        Dominion 2:23     Garcia 6:2,16               M           pointed 5:10
Canadian 3:21       3:9,12 4:5,15   Georgia 2:2,18      machines 2:13       possibly 4:17
  4:16            Dominion's 3:19     2:23 3:11          5:7                potential 4:5
Carolyn 5:9       donors 4:7        Georgia's 2:21      mainstream 2:15     Poulos 3:22
Central 6:18      drives 2:4,7,11   Germany 5:3         maj- 3:20           President 2:20
Certified 1:12      2:12            go 4:14             major 3:15 5:10     problems 3:9,15
  6:2,16                            going 2:20 4:19     matter 6:5            3:18 5:10
certify 6:3,6,11           E          5:4               MCKINNEY            proprietary 5:8
changed 5:12      E 6:1,1           Greek 3:22           1:14 2:2,17        pulled 3:4
chaos 3:11        edge 2:22                              4:10
                  election 4:3 5:4           H          meddling 4:13              Q
Chuck 5:8
closer 2:9        elections 3:13    hacking   4:13      media 2:15 4:1      questions 2:10
codes 5:7           4:14            hear 4:17           midst 3:10
                                                                                    R
comes 2:2,22      employed   6:7                        million 3:2,5
                                              I                             R 6:1
commission 6:20 ends 5:15                               mind 4:11,11
                                                                            raise 2:24
companies 4:15    ES&S 3:17         including 4:6       missing 2:3,7,11
                  example 2:24      information 2:4      2:17               raises 4:9
  4:22 5:12                                                                 razor 2:21
company 3:16,24     4:24            interested 6:10     moment 5:13,14
                  expires 6:20      interesting 2:21    Moseley 5:9         really 2:14 3:11
  4:8,9,16                                                                  record 3:14
concern 4:5       explicitly 4:8    interfa- 4:2
                  Expressway 6:18 interference 4:13             N           recording 2:1
concerned 5:14                                                                5:15 6:4,8
confusing 4:20                      involved 4:25       needs 2:14
                           F                            neither 6:6         red 4:9

                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                   800.445.9548
                                         APP152
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 153 of 971

                                                             8
 Tipping Point with Kara McKinney Segment - November 18, 2020

redacted 4:6             T            world 3:14
Registration 6:18 T 6:1,1
rejected 3:4                                     X
                  tabulating 2:13
related 6:7       tell 2:5                    Y
Reporter 6:2,17   Terri 6:2,16
reporting 5:4                         years 4:1,12,12
                  Texas 3:5 6:3,16    York 5:9
researched 3:13     6:19
right 2:22        thin 2:21                      Z
routed 4:18       things 2:11         zero 5:6
Russia 4:12,12    thousand 2:19       Zoe 5:9
                  thousands 2:8
         S                                       0
                  three 2:6 3:6 4:1
saying 4:12,16    ties 4:6 5:1,3
Schumer 5:9       times 3:6                      1
secret 5:8        TIPPING 1:14        100 3:5
security 2:10,12  Toronto 3:21        101 6:19
  3:6 5:11        track 3:14          106 3:2
see 3:10,19       transcribed 6:8     18 1:13
SEGMENT 1:14 transcription
sensitive 2:4                                 2
                    1:12 6:4,11
Serbia 3:23,24    transparency 5:6    2020 1:13
serve- 5:4          5:11              214 6:20
servers 4:17 5:4  Trump 2:8,20 4:3    2600 2:19
SGO 4:24          tune 5:12
Shorthand 6:2,17 turnaround 4:4               3
shot 3:5                              312 6:18
show 4:4,6,8               U                  4
shows 5:13        United 4:23
Smartmatic 4:24 use 3:7               4228 6:18
software 3:22     uses 2:23                      5
source 5:6
stakeholders 4:7           V                  6
state 2:23 3:11   Venezuela 5:1,2     6581 6:17
  6:3             video 6:4
states 2:3,9 4:23 vot- 5:7                    7
stations 4:23     votes 2:7,8,9       7-31-25 6:20
stuff 2:14        voting 2:4,23 3:9   75206 6:19
Suite 6:19          3:12,15 5:7,11
supposed 4:2                                 8
Sure 3:1                   W          855-5100 6:20
surplus 2:8       want 3:3
surprising 3:12   we've 2:15
system 3:15       Wisconsin 2:3
systems 2:23 3:9 won 4:3
  3:12 5:12       working 3:24


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com   800.445.9548
                                          APP153
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 154 of 971




      Exhibit A-10




                             APP154
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 155 of 971

                                                                            1
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12           CERTIFIED TRANSCRIPTION OF
13                  NOVEMBER 23, 2020
14   TIPPING POINT WITH KARA MCKINNEY SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP155
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 156 of 971

                                                                            2
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:     It's time for Tipping Point.
 3   Tonight the name of the game is "plausible deniability."
 4   That's the obstacle the Trump team needs to overcome in
 5   order to stop the steal, because it's not like the
 6   cheaters were going to make it easy for them.
 7                    Plus, a former bodyguard to Venezuela's
 8   Hugo Chavez weighs into the argument over Smartmatics
 9   and Dominion.
10                    And lastly, Britain is considering giving
11   freedom passes to people who test negative for
12   coronavirus, which can be a terrifying preview of what's
13   to come here.     What could go wrong?
14                    I'm your host, Kara McKinney, and this is
15   Tipping Point.
16                    Does the phrase "plausible deniability"
17   ring any bells for you?       That's the answer Joe Biden's
18   brother, Jim, allegedly gave to his and Hunter Biden's
19   former business partner, Tony Bobulinski, when the
20   whistleblower asked how the family was able to get away
21   with selling access to the Obama White House.
22                    Plausible deniability is the idea that you
23   can cover up your tracks in such a way that there is no
24   direct proof tying you to an illegal or unethical
25   activity, no matter how guilty you may actually be.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP156
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 157 of 971

                                                                            3
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    Recall how Bobulinski had emails showing how other
2    business associates pressured him into never discussing
3    Joe Biden's exact involvement in their overseas
4    transactions or negotiations.
5                     The only time he's referenced is in coded
6    language or in passing reference like "the big guy."
7    That way, Biden can always say, Hey, that's not me, even
8    when we all know that it is.          Pay attention because
9    that's the bedrock of our corrupt political ruling
10   class.   It's how they get away with so much right under
11   our noses.
12                    Just look at this Washington Post headline
13   published today.      It reads, quote, Washington's
14   aristocracy hopes a Biden presidency will make
15   schmoozing great again.        They've since swapped the word
16   "aristocracy" with "establishment," but we all know what
17   they mean and why elitists prefer a Biden presidency to
18   a Trump one.     And as always, the best interest of the
19   American people are not even factored into this
20   schmoozing equation, even as they're sold out to the
21   highest bidder in Washington.
22                    That's why it's no surprise that Biden is
23   stacking his hypothetical administration with lobbyists
24   and other status quo swamp creatures.             And I say
25   "hypothetical" because this election isn't over yet.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP157
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 158 of 971

                                                                            4
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   President Trump and the various legal teams fighting to
 2   stop the steal are working against the clock, as the
 3   electors are set to meet by the middle of December.
 4                    But this is where plausible deniability
 5   comes into play.      For example, as I'm sure you're
 6   familiar with by now, last year Democrat senators,
 7   Elizabeth Warren, Amy Klobuchar and Ron Wyden raised
 8   concerns about Dominion voting systems.            One of their
 9   concerns was that it could be used to switch votes, as
10   some South Carolina voters alleged happened to them in
11   2018.
12                    Perhaps, and I'm just speculating here,
13   when some Democrats or other election officials realized
14   they could use that issue for their own interest, they
15   went ahead with pushing Dominion in state after state.
16   That way, whenever they were caught inflating Biden
17   votes, they could just say, Hey, these systems have a
18   history of glitching.       It's not our fault.       You can't
19   prove that these glitches were malicious or anything but
20   accidental.
21                    If you think this is a stretch of the
22   imagination, just look at the mental gymnastics the new
23   Dominion spokesperson was doing over the weekend.
24                    MR. STEEL:     A nonpartisan American company,
25   it is not physically possible for our machines to switch




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP158
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 159 of 971

                                                                            5
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    votes from one candidate to the other.             Let's be very
2    clear.   Our election system is run by local elected
3    officials and nonpartisan poll watchers.              We simply
4    provide a tool to count the ballots and pri- -- to print
5    and count ballots.       There is no way such a massive fraud
6    could have taken place, and there are no connections
7    between our company and Venezuela, Germany, Barcelona,
8    Kathmandu, whatever the latest conspiracy theory is.
9                     MS. MCKINNEY:       I should mention, he's a
10   former Jeb Bush advisor and press secretary to Paul
11   Ryan, which explains a lot.          But aside from even all
12   that, notice that he said, "it's physically impossible
13   for the machines to switch votes between candidates."
14   And yet, the company's own manual says staff can
15   manually adjust vote tallies and give weighted scores to
16   ballots.
17                    We also know Biden was wrongly awarded
18   thousands of Trump votes in one Michigan county alone.
19   The election officials are now trying to walk back their
20   comments about software glitches and instead blame it on
21   human error.     But in addition, there is growing evidence
22   in Pennsylvania, for example, that 25 vote dumps which
23   largely took place late at night, under the cover of
24   darkness, not only gave Biden the advantage, but they
25   also took away votes from President Trump to the tune of




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP159
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 160 of 971

                                                                            6
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    almost 98,000 of them.        If there's a good explanation
2    for this, I've yet to hear it.
3                     But also, take a look at this old article
4    from 2012.     It says, quote, The supplier of Palm Beach
5    County's voting and tabulating equipment says a software
6    shortcoming led to votes being assigned to the wrong
7    candidates, and the elections office declaring the wrong
8    winners in two recent Wellington council races.                Of
9    course, that voting and tabulation equipment was none
10   other than Dominion, which took full responsibility for
11   the mistake at the time.
12                    But I thought that was physically
13   impossible.     Lastly, the Dominion PR guy also said
14   they're an American company, even though they are a
15   Canadian firm.      And we'll get into their ties with
16   Venezuela and Cuba later on in the show.              But if that's
17   true that they're American, why did they refuse to
18   publicly disclose any foreign ownership or investments
19   to the city of Phila- ---Philadelphia?
20                    And then they refused to attend a hearing
21   with a Pennsylvania State Oversight Committee just this
22   last Friday, instead packing up their bags and vacating
23   several global offers -- offices and shutting down some
24   of their social media pages.
25                    UNIDENTIFIED SPEAKER:         Instead of running




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP160
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 161 of 971

                                                                            7
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    towards the light of honesty and integrity, Dominion
2    Voting Systems retreated to the darkness.              Why?    Why
3    would a vendor of public goods fear discussing their
4    products sold to the public for the public good?                If
5    Dominion's products were successful and operate as they
6    were supposed to, why wouldn't Dominion take the
7    opportunity to publicly review its success?
8                     How hard is it to say our ballot machines
9    worked exactly as promised and they are 100 percent
10   accurate?    Why, after weeks of accusations, has Dominion
11   Voting Systems not released any analysis of the success
12   of their voting machines to the public in order to stop
13   their accusers in their tracks?           They have nothing to
14   hide.   Why are they hiding from us?
15                    Today, I am saddened to report to the
16   taxpayers of Pennsylvania and the 1.3 million voters who
17   trusted Dominion Voting Systems with their ballots, that
18   Dominion Voting Systems has hung you out to dry and
19   slapped you in your faces.         Not only are Pennsylvanians
20   more skeptical, but the actions of Dominion Voting
21   Systems last night have led credibility to their
22   accuser's accusitions [sic] -- accusations.
23                    MS. MCKINNEY:       I know.    There's a lot of
24   loose ties to keep track of here.           So if you take away
25   anything from tonight, let it be the following




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP161
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 162 of 971

                                                                            8
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    statistical anomalies.        Biden underperformed Hillary
2    Clinton's 2016 turnout in urban areas nationwide, except
3    for critical Democrat strongholds in battleground states
4    and cities, such as Milwaukee, Detroit, Atlanta and
5    Philadelphia, where Republican poll watchers were
6    conveniently either kicked out or kept away from the
7    voting action.
8                     We're also expected to believe at face
9    value that Biden won the election despite losing both
10   bellwed [sic] -- bellweather states of Ohio and Florida
11   by considerable margins, the first presidential
12   candidate to do so in decades.
13                    And just like it's strange that House
14   Republicans flipped over a dozen blue seats red and have
15   held onto all 27s toss-up races at this point, but
16   somehow, the top of the ticket went blue.
17                    And lastly, no incumbent has ever lost
18   re-election after receiving more than 75 percent of the
19   primary vote, meaning President Trump would be the first
20   if the election officially goes for Biden.              Not only did
21   President Trump break records in getting 94 percent of
22   the vote during the Republican primaries, but he also
23   set a record for the most total votes received by an
24   incumbent during those primaries.           More than 18 million
25   people turned out for him during the primaries.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP162
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 163 of 971

                                                                             9
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   Whereas, the previous record was held by Democrat
 2   president, Bill Clinton, and it was only half that
 3   number at around 9 million.
 4                    Somehow, Biden, who is known for the exact
 5   opposite of enthusiasm was able to pull off all of this
 6   without any kind of help.        Sorry.    But call me
 7   skeptical, very skeptical.
 8                    Here to help us make sense of these numbers
 9   is data expert, Justin Hart, the founder of
10   RationalGround.com.
11                    Welcome, Justin.
12                    MR. HART:    Thanks, Kara.      Good to be with
13   you today.
14                    MS. MCKINNEY:     Great.     Thank you.     So since
15   you're a numbers guy, how likely is it that Biden beat
16   all of those odds, one right after the other, despite
17   having so much trouble being able to fill even a parking
18   lot of supporters just the week before the election?
19                    MR. HART:    It's definitely a perception
20   anomaly, and there's also a lot of mathematical
21   anomalies.    That is to say, if you view the election
22   like a pipe and on one end we have a lot of votes going
23   in, and on the other end we have a lot of tabulations,
24   there are a lot of smoke on both ends of that pipe
25   there.   And we have to figure out, is it really burning




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP163
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 164 of 971

                                                                            10
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   in between there?
 2                    And I think that's the challenge that the
 3   Trump campaign has, is, we have a lot of affidavits at
 4   the front of the election, where the votes are being
 5   gathered and tallied in the precincts.           And then we have
 6   a listening device that we're able to get right before
 7   it hits the dashboards that you and I see on the nightly
 8   news, and both of those elements have some real
 9   challenges to explain.
10                    MS. MCKINNEY:     So talk to me -- some of the
11   numbers you were seeing in Pennsylvania, where it seems
12   like when these massive ballot dumps were happening late
13   at night, that it also appears that President Trump's
14   vote count -- vote count went down.           What's going on
15   there?
16                    MR. HART:    Yeah.    Just like we saw in
17   Michigan, in Wisconsin and a few other places, the
18   Pennsylvania vote stopped at a certain point in the
19   middle of the night, and then it started back up.              And
20   at that point, from that point on, 80 percent of all of
21   the deductions, that is, new numbers coming in,
22   adjusting the vote for some reason or another,
23   80 percent of those deductions went to President Trump;
24   97,000-plus deductions, that is removals from his
25   existing vote at that time in the middle of the night,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP164
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 165 of 971

                                                                            11
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    and only 27,000 for Biden.
2                     So that, alone, tells me there's something
3    just amiss in the way that this comes together, and then
4    we see huge dumps of ballots like we saw in Wisconsin
5    and in Michigan in the middle of the night, in one case,
6    going 98 percent for President -- for -- for -- for --
7    against President Trump and for Vice President Biden.
8                     So we're -- we're very suspicious when we
9    see those type of anomalies.          Then we look at it year
10   over year, we see a lot of troubling things as well.
11   And the pause is definitely an issue.             If you look at
12   other states, if you look at California, if you look at
13   Florida, you look at any other state, there was no pause
14   in their reporting whatsoever.           For some reason,
15   these -- these big states that were so crucial decided
16   to pause their votes and kick back up.             And after they
17   kicked back up, some real strange things happened.
18                    MS. MCKINNEY:       Yeah.    It's just so strange
19   to me because I remember I was working here that night,
20   and we hear that these major swing states, these
21   battleground states that we're all focusing on so much,
22   they were saying that they were stopped counting for the
23   night.   So then we go home, and then I go on Twitter and
24   the next thing you know, you're seeing 100,000 here for
25   Biden, you know, all these big numbers.             I'm, like, I




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP165
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 166 of 971

                                                                            12
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   thought you-all stopped counting.          How did, you know,
 2   you start counting up at 3:00, 4:00 in the morning.
 3                    And, of course, like you were saying, the
 4   margin there of victory for Biden in those, you know,
 5   100,000 here, 20,000 there, beats Fidel Castro and other
 6   dictators around the world, like, 95-plus percent of the
 7   vote there.
 8                    And also what we're seeing in some counties
 9   that I think should get more attention, such as Wayne
10   County in Michigan was this idea of overvotes, where
11   there's more ballots that were cast than even eligible
12   voters to have been able to cast them.           What's going on
13   there?
14                    MR. HART:    Well, it's hard to explain that,
15   and especially in -- in states where they don't have
16   same-day reser- -- registrations for voting.             In
17   Wisconsin, we saw a huge bump in the middle of the night
18   for 134,000 votes for President -- for -- for -- against
19   President Trump and for Vice President Biden.             We
20   weren't quite clear where they came from.            Someone said,
21   Oh, maybe they're the mail-in votes that came from
22   Milwaukee.
23                    Of course, the real challenges, that very
24   well may be an explanation, but we have zero visibility
25   into it.     It doesn't provide a lot of confidence in our




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP166
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 167 of 971

                                                                            13
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    voting systems when everything is opaque from the New
2    York Times dashboard, and you don't pick it up again
3    until you can go check the signatures on the ballot.
4    And even those are suspect.          There's a -- a lot of
5    challenges, I said, at the beginning and at the end.
6    The problem for the Trump campaign is they're going to
7    have to find some very hard evidence in between.                They
8    need that fire that they can pull out and say, Look, we
9    have actual evidentiary affidavits from people who made
10   these claims about vote changes and serious fraud across
11   the -- the country there.
12                    MS. MCKINNEY:       In your opinion, how do you
13   think the Trump campaign should be tackling this issue?
14   We hear, for example, Rudy Giulani says that they have
15   enough fraud allegations and enough evidence of fraud,
16   even without Dominion, to overturn for -- some Michigan,
17   for example, and Pennsylvania.           What do you think they
18   should be really focusing on, the two-tiered law in some
19   states, such as Pennsylvania where some Democrat
20   counties were allowed to cure the -- their ballots;
21   whereas, some Republican-heavy counties were not allowed
22   to do so.    Where do you think they should really be
23   focusing most of their attention, now that we are so
24   down to the wire?
25                    MR. HART:     Well, I think they're doing the




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP167
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 168 of 971

                                                                            14
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    right thing in focusing on Pennsylvania because
2    everything relies on that game.           If they're able to stop
3    that vote in -- that -- that final tally and
4    certification or if they're able to do something
5    specific with that to -- to address that certification,
6    then, you know, I -- I think they have a good chance to
7    at least buy themselves some time to make the case that
8    there is evidentiary evidence that -- that there could
9    be fraud involved.
10                    Now, it's going to take a lot of evidence
11   for a judge to feel comfortable to overturn votes.
12   That's the way our -- our process works, and
13   understandably so.       But at the same time, we see enough
14   anomalies where we think they could tally up a lot of
15   things very quickly to make a very strong and supportive
16   case that there were enough issues with the election
17   to -- to give some warrant, to give some pause and give
18   us some time to look at these things correctly.
19                    MS. MCKINNEY:       Great analysis, as always,
20   Justin Hart.     Thank you so much for coming on tonight.
21                    MR. HART:     Thanks, Kara.       Happy
22   Thanksgiving.
23                    MS. MCKINNEY:       Thanks.    You too.
24                    And coming up next, we explore the foreign
25   interest pulling the strings at Dominion and Smartmatics




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP168
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 169 of 971

                                                                            15
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    and how that may have affected our U.S. elections after
2    the break.
3                     (Brief pause in recording.)
4                     MS. MCKINNEY:       Our Around the World story.
5    More questions are emerging about Dominion voting
6    machines.    The Dominion CEO admitted in previous
7    testimony that their machines rely on Chinese parts from
8    screen interface down to the chip level.              Take a look.
9                     MR. POULOS:      We do have components in our
10   products that come from China.           And I don't know the
11   exact percentage.       I can certainly get that to the
12   committee through my staff.          Happy to work with you on
13   getting the exact number.
14                    MS. LOFGREN:      What are the components that
15   you get from China?
16                    MR. POULOS:      That are -- so, for example,
17   LCD components, the actual glass screen on the
18   interface, down to the chip component level of
19   capacitors and resistors.         Several of those components,
20   to our knowledge, are not even -- there -- there's no
21   option for manufacturing of those in the United States.
22                    MS. MCKINNEY:       Predictably, instead of
23   asking the tough question, mainstream media outlets like
24   CNN are doing everything they can to carry water for
25   Dominion, calling any questions about their integrity




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP169
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 170 of 971

                                                                            16
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   kooky conspiracy theories.        But even their own fact
 2   cha -- check page ends up owning itself when they claim
 3   at the top of their article that Dominion has no ties
 4   whatsoever to Venezuela or the Clinton Foundation.              And
 5   then just a few sentences later, admit that there are
 6   ties.
 7                    The truth is, a new affidavit just filed by
 8   a former bodyguard to Venezuelan dictator, Hugo Chavez,
 9   shows his ties to Smartmatics and to Dominion.             With me
10   now to discuss is a senior analyst for strategy at the
11   Center For Security Policy, Jay Michael Waller.              Welcome
12   back.
13                    MR. WALLER:     Hi, Kara.
14                    MS. MCKINNEY:     Great.     So when it comes to
15   this affidavit from the former Venezuelan bodyguard,
16   what stood out to you the most?
17                    MR. WALLER:     What stood out was we have an
18   eyewitness account of an individual who was a trusted
19   confidant of the then Cuban and Russian-backed dictator,
20   Venezuela, who personally designed the parameters of a
21   software to -- whose whole purpose was to manipulate
22   votes to ensure that he would win an election.
23                    This is crucial because it's not just a
24   foreign Banana Republic dictator.          This is someone who's
25   backed by -- with Cuban intelligence secret service




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP170
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 171 of 971

                                                                            17
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    around him and Russian secret police around him, who's
2    designing this material that American voting tabulation
3    companies use.
4                     MS. MCKINNEY:       And would it be accurate to
5    describe Smartmatics as a shell company, that there's a
6    lot of players, a lot of -- a lot of the waters here are
7    muddied, so you can't really, necessarily, get back to
8    who -- who owns what.        Would that be correct?
9                     MR. WALLER:      Right.    Yes.    We do know that
10   it's owned by two Venezuelan nationals who were allied
11   with the Venezuelan dictatorship.           We know that much.
12   But the -- the company is hiding who else owns them, and
13   there's no transparency at all, and yet our -- our own
14   voting officials think it's just fine.
15                    MS. MCKINNEY:       And then it just comes down
16   to this idea of Smartmatics and Dominion, I know they're
17   trying to distance from each other.            For example,
18   Dominion says, We're competitors in the marketplace, we
19   have no ties whatsoever.         And then you go back to old
20   interviews, for example, of the former chairman for
21   Smartmatics telling -- in the Philippines, he was being
22   interviewed, and he says that they work together with
23   software and share some details there.
24                    So what is the exact relationship between
25   the two?




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP171
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 172 of 971

                                                                            18
      Tipping Point With Kara McKinney Segment - November 23, 2020


1                      MR. WALLER:     Well, it's still really
2    unclear, but we do know that from the -- the evidence
3    presented so far from this -- this one affidavit that
4    we've already seen, that the current software for any
5    Smartmatic compatible machine, the DNA is based on
6    this -- the Smartmatic material designed in Venezuela.
7    So that's the -- that's the -- that's the -- the
8    backbone of the software for any Dominion or other
9    machine in the United States.
10                     MS. MCKINNEY:      And we've spent the last
11   four years crying about Russia and, you know, foreign
12   interference in our elections.           And here you have
13   Dominion, it's a Canadian firm, and then you have
14   Smartmatics was -- you -- you know, goes back to
15   Venezuela.     And we, here, we're basically importing and
16   bringing them into about, what was it, 30 or so states
17   were using this type of software.           What does that tell
18   you?
19                     MR. WALLER:     Tells us that a lot of people
20   are asleep at the switch, both Democrats and
21   Republicans, but I think there's a lot more to it than
22   that, because this is the type of thing that the FBI's
23   job is to defend our democracy against foreign
24   interference.         That's a counter-intelligence issue,
25   because when you have the security apparatus of the




                              Dickman Davenport, Inc
            214.855.5100     www.dickmandavenport.com     800.445.9548

                                   APP172
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 173 of 971

                                                                             19
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    Venezuelan regime, which is really the security
2    apparatus of the Cuban communist regime, which itself
3    was created by the Russian KGB, you have that software
4    being used to tabulate American votes?
5                      This is a counter-intelligence issue.                And
6    when this became public in 2017, who was head of
7    counter-intelligence in the FBI?           Peter Strzok.
8                      MS. MCKINNEY:      And -- and why do you
9    think --
10                     MR. HART:    The one who was --
11                     MS. MCKINNEY:      Exactly.     Was he sitting on
12   information, do you believe, Peter Strzok?
13                     MR. WALLER:     Who knows.      But this was his
14   job.     And instead of -- instead of looking at ways to
15   make sure that our -- our Democratic system is not
16   corrupted by foreign intelligence services or regimes,
17   he's out there spreading this Russia collusion
18   narrative, which has been discredited, yet he's still
19   doing it.     He banned me from Twitter the other day for
20   pointing it out.
21                     MS. MCKINNEY:      And that's how you know
22   you're on to something when he -- when you know -- you
23   get the block because you're on to something.               If you
24   were just, you know, a troll, for example, online, then
25   he thought, Oh, you know, you have nothing there, he




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP173
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 174 of 971

                                                                            20
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   would have just ignored you.         But since he went out of
 2   his way to block you and to try and shut you down,
 3   there's questions he doesn't want to have asked toward
 4   him.     But we've seen Trump -- we've seen Attorney, now,
 5   Sidney Powell.        Some are trying to say the Trump
 6   campaign, the Trump legal team's trying to distance
 7   themselves from her with their statement on Sunday
 8   night.     I don't necessarily take it that way because she
 9   never claimed to be representing the president in this
10   case.
11                    And we've seen her on the Thursday press
12   conference, for example, she said that she believes
13   there's communist influence, communist money here from
14   Venezuela, Cuba and perhaps even from China.             We know
15   when it comes down to this -- this Smartmatics, or
16   Dominion, for example, their chips are even made in
17   China; does that present as a national security threat
18   in your opinion?
19                    MR. WALLER:     Oh, it's a huge threat because
20   our own intelligence services don't allow chips made in
21   China in their own technologies.          Yet, our voting
22   systems do.     So there's a terrible problem there.
23   The -- the -- Sidney Powell, the whole so-called split
24   with the -- with the president's legal team, there --
25   she was never part of it in the first place, as you




                              Dickman Davenport, Inc
            214.855.5100     www.dickmandavenport.com     800.445.9548

                                   APP174
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 175 of 971

                                                                            21
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1   said.    But there are a few clues out there.
 2                    No one is really criticizing her from the
 3   president's own legal team.        And in fact, Jenna Ellis,
 4   who is a key member of the team, Tweeted out Sidney
 5   Powell's comment in the Wall Street Journal today, as if
 6   to give the thumbs up that everything's fine.
 7                    MS. MCKINNEY:     When our State Department
 8   looks out at the world and we see there's corrupt
 9   elections that take place, you know, all over the world,
10   Ukraine or, you know, in South America, as we were
11   discussing these different nations, if we were to turn
12   the -- the State Department's own guidelines back on the
13   U.S. scene, everything we saw with the flood of mail-in
14   ballots, that you can't tell which ones are legitimate,
15   which ones are fraudulent.        You see opposition poll
16   workers being kicked out of the ballot-counting process.
17                    When you see all this taken in notes -- its
18   totality, would we even pass the bar for our own State
19   Department's guidelines, or would we be red flagged as
20   having a -- a rigged election, or at least something
21   there?
22                    MR. WALLER:     Right.    There would be at
23   least a lot of yellow flags that there was some dirty
24   playing in our elections if the State Department was
25   monitoring us for another country.          And you might even




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP175
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 176 of 971

                                                                            22
      Tipping Point With Kara McKinney Segment - November 23, 2020


1    have certain kinds of sanctions or other penalties put
2    against that nation for having a fake democratic
3    process.
4                     Even -- even Jimmy Carter, with his Carter
5    Center, who's -- one of its main jobs around the world
6    is to certify electoral and voting processes in other
7    countries, if you go to the Carter Foundation's website
8    or Carter's -- Carter Center's website, our -- our --
9    our whole process this year violated so many of Jimmy
10   Carter's own rules, that if you apply them to Biden's
11   standards, then Biden has completely defrauded the
12   country.
13                    MS. MCKINNEY:       It's just -- to me, it just
14   speaks that this is all intentional, that these are --
15   you know, I can understand having one mistake here, you
16   know some different irregularities that crop up.
17   When -- but when the entire thing is this rigged
18   looking, it's just -- to me, it just screams, This is
19   intentional, this was planned.           And so, you know, I
20   really do hope that Sidney Powell's able to, you know,
21   take these next few weeks, months or however long that
22   she needs to fully flesh out this case because I do
23   think she has her finger on something that is critical,
24   that is major, that is -- affects our national security.
25   So I do wish her all the best.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP176
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 177 of 971

                                                                            23
      Tipping Point With Kara McKinney Segment - November 23, 2020


 1                     And thank you so much for joining us
 2   tonight, Jay Michael Waller.
 3                     MR. WALLER:      Anytime.     It's great being
 4   with you.
 5                     (Recording ends.)
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP177
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 178 of 971

                                                                            24
      Tipping Point With Kara McKinney Segment - November 23, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP178
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 179 of 971

                                                            25
 Tipping Point With Kara McKinney Segment - November 23, 2020

         A            17:2 19:4         ballots 5:4,5,16    brother 2:18       chairman 17:20
able 2:20 9:5,17    amiss 11:3            7:17 11:4 12:11   bump 12:17         challenge 10:2
  10:6 12:12 14:2   Amy 4:7               13:20 21:14       burning 9:25       challenges 10:9
  14:4 22:20        analysis 7:11       Banana 16:24        Bush 5:10            12:23 13:5
above-entitled        14:19             banned 19:19        business 2:19 3:2  chance 14:6
  24:5              analyst 16:10       bar 21:18           buy 14:7           changes 13:10
access 2:21         anomalies 8:1       Barcelona 5:7                          Chavez 2:8 16:8
                      9:21 11:9 14:14   based 18:5                   C         cheaters 2:6
accidental 4:20
account 16:18       anomaly 9:20        basically 18:15     C 24:1,1           check 13:3 16:2
accurate 7:10       answer 2:17         battleground 8:3    California 11:12 China 15:10,15
  17:4              Anytime 23:3          11:21             call 9:6             20:14,17,21
accusations 7:10    apparatus 18:25     Beach 6:4           calling 15:25      Chinese 15:7
  7:22                19:2              beat 9:15           campaign 10:3      chip 15:8,18
accuser's 7:22      appears 10:13       beats 12:5            13:6,13 20:6     chips 20:16,20
accusers 7:13       apply 22:10         bedrock 3:9         Canadian 6:15      cities 8:4
accusitions 7:22    areas 8:2           beginning 13:5        18:13            city 6:19
action 8:7 24:8     argument 2:8        begins 2:1          candidate 5:1      claim 16:2
  24:10             aristocracy 3:14    believe 8:8 19:12     8:12             claimed 20:9
actions 7:20          3:16              believes 20:12      candidates 5:13    claims 13:10
activity 2:25       article 6:3 16:3    bells 2:17            6:7              class 3:10
actual 13:9 15:17   aside 5:11          bellweather 8:10    capacitors 15:19 clear 5:2 12:20
addition 5:21       asked 2:20 20:3     bellwed 8:10        Carolina 4:10      Clinton 9:2 16:4
address 14:5        asking 15:23        best 3:18 22:25     carry 15:24        Clinton's 8:2
adjust 5:15         asleep 18:20        bidder 3:21         Carter 22:4,4,7,8 clock 4:2
adjusting 10:22     assigned 6:6        Biden 3:7,14,17     Carter's 22:8,10 clues 21:1
administration      associates 3:2        3:22 4:16 5:17    case 11:5 14:7,16 CNN 15:24
  3:23              Atlanta 8:4           5:24 8:1,9,20       20:10 22:22      coded 3:5
admit 16:5          attend 6:20           9:4,15 11:1,7     cast 12:11,12      collusion 19:17
admitted 15:6       attention 3:8         11:25 12:4,19     Castro 12:5        come 2:13 15:10
advantage 5:24        12:9 13:23          22:11             caught 4:16        comes 4:5 11:3
advisor 5:10        Attorney 20:4       Biden's 2:17,18     Center 16:11         16:14 17:15
affidavit 16:7,15   awarded 5:17          3:3 22:10           22:5               20:15
  18:3                                  big 3:6 11:15,25    Center's 22:8      comfortable
                             B          Bill 9:2            Central 24:18        14:11
affidavits 10:3
  13:9              back 5:19 10:19     blame 5:20          CEO 15:6           coming 10:21
ahead 4:15           11:16,17 16:12     block 19:23 20:2    certain 10:18        14:20,24
allegations 13:15    17:7,19 18:14      blue 8:14,16          22:1             comment 21:5
alleged 4:10         21:12              Bobulinski 2:19     certainly 15:11    comments 5:20
allegedly 2:18      backbone 18:8         3:1               certification 14:4 commission
allied 17:10        backed 16:25        bodyguard 2:7         14:5               24:20
allow 20:20         bags 6:22             16:8,15           Certified 1:12     committee 6:21
allowed 13:20,21    ballot 7:8 10:12    break 8:21 15:2       24:2,16            15:12
America 21:10        13:3               Brief 15:3          certify 22:6 24:3 communist 19:2
American 3:19       ballot-counting     bringing 18:16        24:6,11            20:13,13
  4:24 6:14,17       21:16              Britain 2:10        cha 16:2           companies 17:3


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP179
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 180 of 971

                                                            26
 Tipping Point With Kara McKinney Segment - November 23, 2020

company 4:24         cover 2:23 5:23      Department's        easy 2:6             expected 8:8
  5:7 6:14 17:5      created 19:3           21:12,19          either 8:6           expert 9:9
  17:12              creatures 3:24       describe 17:5       elected 5:2          expires 24:20
company's 5:14       credibility 7:21     designed 16:20      election 3:25 4:13   explain 10:9
compatible 18:5      critical 8:3 22:23     18:6                5:2,19 8:9,20        12:14
competitors          criticizing 21:2     designing 17:2        9:18,21 10:4       explains 5:11
  17:18              crop 22:16           despite 8:9 9:16      14:16 16:22        explanation 6:1
completely 22:11     crucial 11:15        details 17:23         21:20                12:24
component 15:18        16:23              Detroit 8:4         elections 6:7 15:1   explore 14:24
components 15:9      crying 18:11         device 10:6           18:12 21:9,24      Expressway
  15:14,17,19        Cuba 6:16 20:14      Dickman 24:17       electoral 22:6         24:18
concerns 4:8,9       Cuban 16:19,25       dictator 16:8,19    electors 4:3         eyewitness 16:18
conference 20:12       19:2                 16:24             elements 10:8
confidant 16:19      cure 13:20           dictators 12:6      eligible 12:11               F
confidence 12:25     current 18:4         dictatorship        elitists 3:17        F 24:1
connections 5:6                             17:11             Elizabeth 4:7        face 8:8
considerable                 D            different 21:11     Ellis 21:3           faces 7:19
  8:11               Dallas 24:19           22:16             emails 3:1           fact 16:1 21:3
considering 2:10     darkness 5:24 7:2    direct 2:24         emerging 15:5        factored 3:19
conspiracy 5:8       dashboard 13:2       dirty 21:23         employed 24:7        fake 22:2
  16:1               dashboards 10:7      disclose 6:18       ends 9:24 16:2       familiar 4:6
conveniently 8:6     data 9:9             discredited 19:18     23:5               family 2:20
coronavirus 2:12     Davenport 24:17      discuss 16:10       ensure 16:22         far 18:3
correct 17:8 24:4    day 19:19            discussing 3:2      enthusiasm 9:5       fault 4:18
correctly 14:18      decades 8:12           7:3 21:11         entire 22:17         FBI 19:7
corrupt 3:9 21:8     December 4:3         distance 17:17      equation 3:20        FBI's 18:22
corrupted 19:16      decided 11:15          20:6              equipment 6:5,9      fear 7:3
council 6:8          declaring 6:7        DNA 18:5            error 5:21           fee 24:11
counsel 24:6         deductions 10:21     doing 4:23 13:25    especially 12:15     feel 14:11
count 5:4,5 10:14     10:23,24              15:24 19:19       establishment        Fidel 12:5
  10:14              defend 18:23         Dominion 2:9 4:8      3:16               fighting 4:1
counter-intelli...   definitely 9:19        4:15,23 6:10,13   everything's 21:6    figure 9:25
  18:24 19:5,7        11:11                 7:1,6,10,17,18    evidence 5:21        filed 16:7
counties 12:8        defrauded 22:11        7:20 13:16          13:7,15 14:8,10    fill 9:17
  13:20,21           democracy 18:23        14:25 15:5,6,25     18:2               final 14:3
counting 11:22       Democrat 4:6 8:3       16:3,9 17:16,18   evidentiary 13:9     financially 24:9
  12:1,2              9:1 13:19             18:8,13 20:16       14:8               find 13:7
countries 22:7       democratic 19:15     Dominion's 7:5      exact 3:3 9:4        fine 17:14 21:6
country 13:11         22:2                dozen 8:14            15:11,13 17:24     finger 22:23
  21:25 22:12        Democrats 4:13       dry 7:18            exactly 7:9 19:11    fire 13:8
county 5:18           18:20               dumps 5:22          example 4:5 5:22     firm 6:15 18:13
  12:10              deniability 2:3,16     10:12 11:4          13:14,17 15:16        24:18
County's 6:5          2:22 4:4                                  17:17,20 19:24     first 8:11,19
course 6:9 12:3      Department 21:7            E               20:12,16              20:25
  12:23               21:24             E 24:1,1              existing 10:25       flagged 21:19


                                Dickman Davenport, Inc
      214.855.5100             www.dickmandavenport.com                   800.445.9548
                                              APP180
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 181 of 971

                                                            27
 Tipping Point With Kara McKinney Segment - November 23, 2020

flags 21:23         global 6:23         highest 3:21        interference        7:23 11:24,25
flesh 22:22         go 2:13 11:23,23    Hillary 8:1           18:12,24          12:1,4 14:6
flipped 8:14          13:3 17:19 22:7   history 4:18        interviewed         15:10 17:9,11
flood 21:13         goes 8:20 18:14     hits 10:7             17:22             17:16 18:2,11
Florida 8:10        going 2:6 9:22      home 11:23          interviews 17:20    18:14 19:21,22
   11:13              10:14 11:6        honesty 7:1         investments 6:18    19:24,25 20:14
focusing 11:21        12:12 13:6        hope 22:20          involved 14:9       21:9,10 22:15
   13:18,23 14:1      14:10             hopes 3:14          involvement 3:3     22:16,19,20
following 7:25      good 6:1 7:4 9:12   host 2:14           irregularities     knowledge 15:20
foregoing 24:3        14:6              House 2:21 8:13       22:16            known 9:4
foreign 6:18        goods 7:3           huge 11:4 12:17     issue 4:14 11:11   knows 19:13
   14:24 16:24      great 3:15 9:14       20:19               13:13 18:24      kooky 16:1
   18:11,23 19:16     14:19 16:14       Hugo 2:8 16:8         19:5
former 2:7,19         23:3              human 5:21          issues 14:16                L
   5:10 16:8,15     growing 5:21        hung 7:18                              language 3:6
   17:20            guidelines 21:12    Hunter 2:18                 J          largely 5:23
Foundation 16:4       21:19             hypothetical 3:23   Jay 16:11 23:2     lastly 2:10 6:13
Foundation's        guilty 2:25           3:25              Jeb 5:10              8:17
   22:7             guy 3:6 6:13 9:15                       Jenna 21:3         late 5:23 10:12
founder 9:9         gymnastics 4:22            I            Jim 2:18           latest 5:8
four 18:11                           idea 2:22 12:10        Jimmy 22:4,9       law 13:18
fraud 5:5 13:10             H           17:16               job 18:23 19:14    LCD 15:17
   13:15,15 14:9   half 9:2          ignored 20:1           jobs 22:5          led 6:6 7:21
fraudulent 21:15   happened 4:10     illegal 2:24           Joe 2:17 3:3       legal 4:1 20:6,24
freedom 2:11         11:17           imagination 4:22       joining 23:1          21:3
Friday 6:22        happening 10:12 importing 18:15          Journal 21:5       legitimate 21:14
front 10:4         Happy 14:21       impossible 5:12        judge 14:11        Let's 5:1
full 6:10 24:12      15:12              6:13                Justin 9:9,11      level 15:8,18
fully 22:22        hard 7:8 12:14    incumbent 8:17           14:20            light 7:1
further 24:6,9,11    13:7               8:24                                   listening 10:6
                   Hart 9:9,12,19    individual 16:18               K          lobbyists 3:23
        G            10:16 12:14     inflating 4:16         Kara 1:14 2:14     local 5:2
game 2:3 14:2        13:25 14:20,21 influence 20:13           9:12 14:21       LOFGREN
Garcia 24:2,16       19:10           information              16:13               15:14
gathered 10:5      head 19:6            19:12               Kathmandu 5:8      long 22:21
Germany 5:7        headline 3:12     integrity 7:1          keep 7:24          look 3:12 4:22
getting 8:21       hear 6:2 11:20       15:25               kept 8:6              6:3 11:9,11,12
  15:13              13:14           intelligence 16:25     key 21:4              11:12,13 13:8
Giulani 13:14      hearing 6:20         19:16 20:20         KGB 19:3              14:18 15:8
give 5:15 14:17    held 8:15 9:1     intentional 22:14      kick 11:16         looking 19:14
  14:17,17 21:6    help 9:6,8           22:19               kicked 8:6 11:17      22:18
giving 2:10        Hey 3:7 4:17      interest 3:18 4:14       21:16            looks 21:8
glass 15:17        Hi 16:13             14:25               kind 9:6           loose 7:24
glitches 4:19 5:20 hide 7:14         interested 24:10       kinds 22:1         losing 8:9
glitching 4:18     hiding 7:14 17:12 interface 15:8,18      Klobuchar 4:7      lost 8:17
                                                            know 3:8,16 5:17

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP181
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 182 of 971

                                                            28
 Tipping Point With Kara McKinney Segment - November 23, 2020

lot 5:11 7:23 9:1822:13              new 4:22 10:21       order 2:5 7:12     8:21 10:20,23
  9:20,22,23,24  mean 3:17             13:1 16:7          outcome 24:10      11:6 12:6
  10:3 11:10     meaning 8:19        news 10:8            outlets 15:23    percentage 15:11
  12:25 13:4     media 6:24 15:23    night 5:23 7:21      overcome 2:4     perception 9:19
  14:10,14 17:6,6meet 4:3              10:13,19,25        overseas 3:3     personally 16:20
  17:6 18:19,21  member 21:4           11:5,19,23         Oversight 6:21   Peter 19:7,12
  21:23          mental 4:22           12:17 20:8         overturn 13:16   Phila- 6:19
                 mention 5:9         nightly 10:7           14:11          Philadelphia
        M        Michael 16:11       nonpartisan 4:24     overvotes 12:10    6:19 8:5
machine 18:5,9    23:2                 5:3                owned 17:10      Philippines 17:21
machines 4:25    Michigan 5:18       North 24:18          ownership 6:18   phrase 2:16
 5:13 7:8,12      10:17 11:5         noses 3:11           owning 16:2      physically 4:25
 15:6,7           12:10 13:16        notes 21:17          owns 17:8,12       5:12 6:12
mail-in 12:21    middle 4:3 10:19    notice 5:12                           pick 13:2
 21:13            10:25 11:5         NOVEMBER                     P        pipe 9:22,24
main 22:5         12:17                1:13               packing 6:22     place 5:6,23
mainstream       million 7:16 8:24   number 9:3           page 16:2          20:25 21:9
 15:23            9:3                  15:13              pages 6:24       places 10:17
major 11:20      Milwaukee 8:4       numbers 9:8,15       paid 24:12       planned 22:19
 22:24            12:22                10:11,21 11:25     paid/will 24:12  plausible 2:3,16
malicious 4:19   mistake 6:11                             Palm 6:4           2:22 4:4
manipulate 16:21  22:15                       O           parameters 16:20 play 4:5
manual 5:14      money 20:13         Obama 2:21           parking 9:17     players 17:6
manually 5:15    monitoring 21:25    obstacle 2:4         part 20:25       playing 21:24
manufacturing    months 22:21        odds 9:16            parties 24:7     Plus 2:7
 15:21           morning 12:2        offers 6:23          partner 2:19     point 1:14 2:2,15
margin 12:4      muddied 17:7        office 6:7           parts 15:7         8:15 10:18,20
margins 8:11                         offices 6:23         pass 21:18         10:20
marketplace              N           officially 8:20      passes 2:11      pointing 19:20
 17:18           name 2:3            officials 4:13 5:3   passing 3:6      police 17:1
massive 5:5      narrative 19:18       5:19 17:14         Paul 5:10        Policy 16:11
 10:12           nation 22:2         Oh 12:21 19:25       pause 11:11,13   political 3:9
material 17:2    national 20:17        20:19               11:16 14:17     poll 5:3 8:5 21:15
 18:6             22:24              Ohio 8:10             15:3            possible 4:25
mathematical     nationals 17:10     old 6:3 17:19        Pay 3:8          Post 3:12
 9:20            nations 21:11       ones 21:14,15        penalties 22:1   POULOS 15:9
matter 2:25 24:5 nationwide 8:2      online 19:24         Pennsylvania       15:16
McKinney 1:14    necessarily 17:7    opaque 13:1           5:22 6:21 7:16 Powell 20:5,23
 2:2,14 5:9 7:23  20:8               operate 7:5           10:11,18 13:17 Powell's 21:5
 9:14 10:10      need 13:8           opinion 13:12         13:19 14:1        22:20
 11:18 13:12     needs 2:4 22:22       20:18              Pennsylvanians PR 6:13
 14:19,23 15:4   negative 2:11       opportunity 7:7       7:19            precincts 10:5
 15:22 16:14     negotiations 3:4    opposite 9:5         people 2:11 3:19 Predictably
 17:4,15 18:10   neither 24:6        opposition 21:15      8:25 13:9 18:19   15:22
 19:8,11,21 21:7 never 3:2 20:9,25   option 15:21         percent 7:9 8:18 prefer 3:17


                           Dickman Davenport, Inc
      214.855.5100        www.dickmandavenport.com                   800.445.9548
                                         APP182
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 183 of 971

                                                            29
 Tipping Point With Kara McKinney Segment - November 23, 2020

present 20:17        20:3           relies 14:2        sanctions 22:1       shutting 6:23
presented 18:3      quickly 14:15   rely 15:7          saw 10:16 11:4       sic 7:22 8:10
presidency 3:14     quite 12:20     remember 11:19       12:17 21:13        Sidney 20:5,23
 3:17               quo 3:24        removals 10:24     saying 11:22 12:3      21:4 22:20
president 4:1       quote 3:13 6:4  report 7:15        says 5:14 6:4,5      signatures 13:3
 5:25 8:19,21                       Reporter 24:2,17     13:14 17:18,22     simply 5:3
 9:2 10:13,23              R        reporting 11:14    scene 21:13          sitting 19:11
 11:6,7,7 12:18   R 24:1            representing       schmoozing 3:15      skeptical 7:20 9:7
 12:19,19 20:9    races 6:8 8:15      20:9               3:20                 9:7
president's 20:24 raised 4:7        Republic 16:24     scores 5:15          slapped 7:19
 21:3             RationalGroun... Republican 8:5      screams 22:18        Smartmatic 18:5
presidential 8:11   9:10              8:22             screen 15:8,17         18:6
press 5:10 20:11  re-election 8:18  Republican-he...   seats 8:14           Smartmatics 2:8
pressured 3:2     reads 3:13          13:21            secret 16:25 17:1      14:25 16:9 17:5
preview 2:12      real 10:8 11:17   Republicans 8:14   secretary 5:10         17:16,21 18:14
previous 9:1 15:6   12:23             18:21            security 16:11         20:15
pri- 5:4          realized 4:13     reser- 12:16         18:25 19:1         smoke 9:24
primaries 8:22    really 9:25 13:18 resistors 15:19      20:17 22:24        so-called 20:23
 8:24,25            13:22 17:7 18:1 responsibility     see 10:7 11:4,9,10   social 6:24
primary 8:19        19:1 21:2 22:20   6:10               14:13 21:8,15      software 5:20 6:5
print 5:4         reason 10:22      retreated 7:2        21:17                16:21 17:23
problem 13:6        11:14           review 7:7         seeing 10:11           18:4,8,17 19:3
 20:22            Recall 3:1        rigged 21:20         11:24 12:8         sold 3:20 7:4
process 14:12     received 8:23       22:17            seen 18:4 20:4,4     Sorry 9:6
 21:16 22:3,9     receiving 8:18    right 3:10 9:16      20:11              South 4:10 21:10
processes 22:6    record 8:23 9:1     10:6 14:1 17:9   SEGMENT 1:14         SPEAKER 6:25
products 7:4,5    recording 2:1       21:22            selling 2:21         speaks 22:14
 15:10              15:3 23:5 24:4 ring 2:17           senators 4:6         specific 14:5
promised 7:9        24:8            Ron 4:7            senior 16:10         speculating 4:12
proof 2:24        records 8:21      Rudy 13:14         sense 9:8            spent 18:10
prove 4:19        red 8:14 21:19    rules 22:10        sentences 16:5       split 20:23
provide 5:4 12:25 reference 3:6     ruling 3:9         serious 13:10        spokesperson
public 7:3,4,4,12 referenced 3:5    run 5:2            service 16:25          4:23
 19:6             refuse 6:17       running 6:25       services 19:16       spreading 19:17
publicly 6:18 7:7 refused 6:20      Russia 18:11         20:20              stacking 3:23
published 3:13    regime 19:1,2       19:17            set 4:3 8:23         staff 5:14 15:12
pull 9:5 13:8     regimes 19:16     Russian 17:1       share 17:23          standards 22:11
pulling 14:25     Registration        19:3             shell 17:5           start 12:2
purpose 16:21       24:18           Russian-backed     shortcoming 6:6      started 10:19
pushing 4:15      registrations       16:19            Shorthand 24:2       state 4:15,15 6:21
put 22:1            12:16           Ryan 5:11            24:17                11:13 21:7,12
                  related 24:7                         show 6:16              21:18,24 24:3
       Q          relationship               S         showing 3:1          statement 20:7
question 15:23      17:24           saddened 7:15      shows 16:9           states 8:3,10
questions 15:5,25 released 7:11     same-day 12:16     shut 20:2              11:12,15,20,21


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com              800.445.9548
                                        APP183
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 184 of 971

                                                            30
 Tipping Point With Kara McKinney Segment - November 23, 2020

  12:15 13:19       tabulate 19:4         14:14 17:14         13:13 20:4,5,6      18:6,15 20:14
  15:21 18:9,16     tabulating 6:5        18:21 19:9        Trump's 10:13       Venezuela's 2:7
statistical 8:1     tabulation 6:9        22:23             trusted 7:17        Venezuelan 16:8
status 3:24           17:2              thought 6:12          16:18               16:15 17:10,11
steal 2:5 4:2       tabulations 9:23      12:1 19:25        truth 16:7            19:1
STEEL 4:24          tackling 13:13      thousands 5:18      try 20:2            Vice 11:7 12:19
stood 16:16,17      take 6:3 7:6,24     threat 20:17,19     trying 5:19 17:17   victory 12:4
stop 2:5 4:2 7:12     14:10 15:8 20:8   thumbs 21:6           20:5,6            video 24:4
  14:2                21:9 22:21        Thursday 20:11      tune 5:25           view 9:21
stopped 10:18       taken 5:6 21:17     ticket 8:16         turn 21:11          violated 22:9
  11:22 12:1        talk 10:10          ties 6:15 7:24      turned 8:25         visibility 12:24
story 15:4          tallied 10:5          16:3,6,9 17:19    turnout 8:2         vote 5:15,22 8:19
strange 8:13        tallies 5:15        time 2:2 3:5 6:11   Tweeted 21:4          8:22 10:14,14
  11:17,18          tally 14:3,14         10:25 14:7,13     Twitter 11:23         10:18,22,25
strategy 16:10      taxpayers 7:16        14:18               19:19               12:7 13:10 14:3
Street 21:5         team 2:4 20:24      Times 13:2          two 6:8 17:10,25    voters 4:10 7:16
stretch 4:21          21:3,4            Tipping 1:14 2:2    two-tiered 13:18      12:12
strings 14:25       team's 20:6           2:15              tying 2:24          votes 4:9,17 5:1
strong 14:15        teams 4:1           today 3:13 7:15     type 11:9 18:17       5:13,18,25 6:6
strongholds 8:3     technologies          9:13 21:5           18:22               8:23 9:22 10:4
Strzok 19:7,12        20:21             tonight 2:3 7:25                          11:16 12:18,21
success 7:7,11      tell 18:17 21:14      14:20 23:2                U             14:11 16:22
successful 7:5      telling 17:21       Tony 2:19           U.S 15:1 21:13        19:4
Suite 24:19         tells 11:2 18:19    tool 5:4            Ukraine 21:10       voting 4:8 6:5,9
Sunday 20:7         Terri 24:2,16       top 8:16 16:3       unclear 18:2          7:2,11,12,17,18
supplier 6:4        terrible 20:22      toss-up 8:15        underperformed        7:20 8:7 12:16
supporters 9:18     terrifying 2:12     total 8:23           8:1                  13:1 15:5 17:2
supportive 14:15    test 2:11           totality 21:18      understand            17:14 20:21
supposed 7:6        testimony 15:7      tough 15:23          22:15                22:6
sure 4:5 19:15      Texas 24:3,16,19    track 7:24          understandably
surprise 3:22       thank 9:14 14:20    tracks 2:23 7:13     14:13                     W
suspect 13:4          23:1              transactions 3:4    unethical 2:24      walk 5:19
suspicious 11:8     Thanks 9:12         transcribed 24:8    UNIDENTIFI...       Wall 21:5
swamp 3:24            14:21,23          transcription        6:25               Waller 16:11,13
swapped 3:15        Thanksgiving          1:12 24:4,11      United 15:21         16:17 17:9 18:1
swing 11:20           14:22             transparency         18:9                18:19 19:13
switch 4:9,25       theories 16:1         17:13             urban 8:2            20:19 21:22
  5:13 18:20        theory 5:8          troll 19:24         use 4:14 17:3        23:2,3
system 5:2 19:15    thing 11:24 14:1    trouble 9:17                            want 20:3
                                                                    V           warrant 14:17
systems 4:8,17        18:22 22:17       troubling 11:10
  7:2,11,17,18,21   things 11:10,17     true 6:17           vacating 6:22       Warren 4:7
  13:1 20:22          14:15,18          Trump 2:4 3:18      value 8:9           Washington 3:12
                    think 4:21 10:2       4:1 5:18,25       various 4:1          3:21
        T             12:9 13:13,17       8:19,21 10:3,23   vendor 7:3          Washington's
T 24:1,1              13:22,25 14:6       11:7 12:19 13:6   Venezuela 5:7        3:13
                                                              6:16 16:4,20

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP184
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 185 of 971

                                                            31
 Tipping Point With Kara McKinney Segment - November 23, 2020

watchers 5:3 8:5    world 12:6 15:4    3:00 12:2
water 15:24          21:8,9 22:5       30 18:16
waters 17:6         wouldn't 7:6       312 24:18
way 2:23 3:7 4:16   wrong 2:13 6:6,7
 5:5 11:3 14:12     wrongly 5:17               4
 20:2,8             Wyden 4:7          4:00 12:2
Wayne 12:9                             4228 24:18
ways 19:14                 X
                                               5
we'll 6:15
                            Y
we're 8:8 10:6                                 6
 11:8,8,21 12:8     Yeah 10:16 11:18
                    year 4:6 11:9,10   6581 24:17
 17:18 18:15
we've 18:4,10         22:9
                                               7
 20:4,4,11          years 18:11
                    yellow 21:23       7-31-25 24:20
website 22:7,8                         75 8:18
week 9:18           York 13:2
                    you-all 12:1       75206 24:19
weekend 4:23
weeks 7:10 22:21            Z                  8
weighs 2:8          zero 12:24         80 10:20,23
weighted 5:15                          855-5100 24:20
Welcome 9:11               0
 16:11                                         9
Wellington 6:8             1           9 9:3
went 4:15 8:16      1.3 7:16           94 8:21
 10:14,23 20:1      100 7:9            95-plus 12:6
weren't 12:20       100,000 11:24      97,000-plus
whatsoever 11:14      12:5               10:24
 16:4 17:19         101 24:19          98 11:6
whistleblower       134,000 12:18      98,000 6:1
 2:20               18 8:24
White 2:21
win 16:22                    2
winners 6:8         20,000 12:5
wire 13:24          2012 6:4
Wisconsin 10:17     2016 8:2
 11:4 12:17         2017 19:6
wish 22:25          2018 4:11
won 8:9             2020 1:13
word 3:15           214 24:20
work 15:12 17:22    23 1:13
worked 7:9          25 5:22
workers 21:16       27,000 11:1
working 4:2         27s 8:15
 11:19
                           3
works 14:12


                                Dickman Davenport, Inc
     214.855.5100              www.dickmandavenport.com   800.445.9548
                                           APP185
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 186 of 971




      Exhibit A-11




                             APP186
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 187 of 971

                                                                            1
      Tipping Point with Kara McKinney Segment - November 27, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11           CERTIFIED TRANSCRIPTION OF
12                  NOVEMBER 27, 2020
13   TIPPING POINT WITH KARA MCKINNEY SEGMENT
14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP187
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 188 of 971

                                                                            2
      Tipping Point with Kara McKinney Segment - November 27, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:     Our state of the U.S. story,
 3   it's something you don't often say, but President Trump
 4   has been awfully quiet lately.         As the fight against a
 5   stolen election plays out, the president has let his
 6   lawyers take the spotlight.        But President Trump is now
 7   planning to take center stage, holding a rally in
 8   Georgia a week from Saturday in support of the
 9   Republican candidates for Senate.          This is good.
10                    It's important that Republicans keep the
11   Senate, especially in the event Biden becomes president.
12   But if it were up to me, the president would be holding
13   more rallies in other states to keep the pressure on to
14   stop this deal in the first place and avoid Biden
15   altogether.     That's the No. 1 priority right now.           And
16   hopefully so we can see more footage of the president
17   putting corrupt journalists in their place like this.
18                    PRESIDENT TRUMP:      No, I can't say that at
19   all.
20                    (Reporter inaudible.)
21                    PRESIDENT TRUMP:      I think it's a -- it's a
22   possibility.     They're trying to -- look --
23                    (Reporter inaudible.)
24                    PRESIDENT TRUMP:      -- between you people --
25   don't ans- -- don't talk to me that way.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP188
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 189 of 971

                                                                            3
      Tipping Point with Kara McKinney Segment - November 27, 2020


1                     REPORTER:     Sorry, sir.      (Inaudible.)
2                     PRESIDENT TRUMP:       You're just a -- you're
3    just a lightweight.       Don't talk to me that -- don't
4    talk -- I'm the president of the United States.                Don't
5    ever talk to the president that way.
6                     REPORTER:     Sir, just asking --
7                     PRESIDENT TRUMP:       Fine.    I'm going to go
8    with another question.        Go ahead.
9                     REPORTER:     So --
10                    MS. MCKINNEY:      I love that.       But with me
11   now to discuss is the cofounder and leader of the
12   National Tea Party Movement, Michael Johns.
13                    Welcome back, Michael.
14                    MR. JOHNS:      Hey, welcome.      Good -- good to
15   be with you, Kara.       Thank you.
16                    MS. MCKINNEY:      Great.
17                    MR. JOHNS:      Happy Thanksgiving.
18                    MS. MCKINNEY:      So holding rallies in
19   battleground states is something President Trump and his
20   suppor- -- or President Trump supporters have been
21   wanting him to do for several weeks now.             Is this how he
22   should keep the pressure up?
23                    MR. JOHNS:      Look, the one singular lesson
24   I'd take away, as the cofounder of our Tea Party
25   Movement was things looked incredibly bleak in 2009 and




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP189
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 190 of 971

                                                                            4
      Tipping Point with Kara McKinney Segment - November 27, 2020


1    no one felt we had a realistic chance of coming back.
2    But we mobilized the people, the people rallied behind
3    justice and sensibility.         Took back the House, took back
4    the Senate, laid the groundwork in a lot of ways for the
5    populous campaign of Donald Trump in 2016.              And I
6    abso- -- absolutely believe.
7                     We cannot simultaneously say that the
8    future of representative democracy is on the line, and
9    it has been incredibly compromised, as I believe it has
10   been in this election, and go about business as usual.
11   This is the wake-up call that every American across this
12   country and to the president who might be getting
13   contradictory advice on this, that his engagement in
14   such rallies would be divisive or counter-productive.
15   Just the opposite.
16                    His singular greatest obligation right now
17   is to ensure that our electoral system and processes are
18   free, fair and secure.        There is every piece of emerging
19   evidence that suggests this one was not.             It was not in
20   a systematic and organized way, and it was not in a
21   likely election outcome determining way.             So I would
22   absolutely share that view that he would provide an
23   enormously constructive service by getting out and --
24   and alerting the American people to what precisely we
25   have found.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP190
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 191 of 971

                                                                            5
      Tipping Point with Kara McKinney Segment - November 27, 2020


 1                   And this filing yesterday, you know, so for
 2   all of these, you know, Democrats and -- and -- and
 3   mainstream media who have said there's no evidence,
 4   there's no evidence, there's no evidence; there's never
 5   any evidence in a criminal allegation until evidence is
 6   presented and accepted by the court and considered.
 7                   But a 104-page complaint issued yesterday
 8   by Sidney Powell, a very credible attorney with a long
 9   record of history, to me, having read it now, it is
10   filled with affidavits, acclimations of fact.             And in
11   the case of the Georgia complaint, you see just about
12   every conceivable act of elec- -- of illegal election
13   manipulation was utilized in support of Biden at the
14   president's expense.
15                   It is inconceivable to me that the American
16   people will stand by, knowing those facts, and allow
17   that election result to stand.         We cannot do it.
18                   MS. MCKINNEY:      And then would you -- would
19   you support, for example, the appointment of a special
20   council to investigate these claims of fraud?
21                   MR. JOHNS:      I think that's where I'm at
22   because we're not getting cooperation in the litigation
23   process from the types of people who typically need to
24   be subpoenaed, placed under oath and -- and the vast
25   amount of investigation, when you're talking about




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP191
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 192 of 971

                                                                            6
      Tipping Point with Kara McKinney Segment - November 27, 2020


 1   probably easily, you know, maybe close to ten different
 2   means through which this election was fraudulently
 3   manipulated, the most complicated, of course, of which
 4   is the Dominion and Smartmatic systems, which I would
 5   defy any -- anyone anywhere who -- who believes that
 6   there was not fraud related to these systems, which
 7   clearly, we haven't demonstrated that yet.            I'm going to
 8   be fair about that.
 9                    But can you point to any election anywhere
10   in the world where these systems were utilized -- or
11   even in the United States in Chicago where they were --
12   where they -- where there were fraudulent issues, where
13   it has not been a factor in systematic electoral fraud.
14   These are enor- -- this is an enormal [sic] -- enormous
15   troubling system.
16                    One of the things we be- -- we can do right
17   now to establish greater credibility on this, I believe
18   most of the Dominion and Smartmatic systems were -- were
19   utilized in predominantly Democrat constituencies and
20   jurisdictions.     But, you know, to the extent any
21   Republican Secretary of State charged with overseeing
22   elections or any election official made the decision to
23   acquire this particular system, I cannot understand why
24   they would even be in their jobs today.
25                    This was the -- the singular biggest




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP192
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 193 of 971

                                                                            7
      Tipping Point with Kara McKinney Segment - November 27, 2020


1    obligation they had, and they had that obligation at a
2    time, as you'll recall, when Democrats were warning us
3    of the fear of foreign intervention.            So it wasn't
4    simply a partisan issue.         It was bipartisan concern
5    about electoral fraud.        And to go out and acquire this
6    system, knowing its history, knowing its attachment and
7    association with the dictatorship in Venezuela and the
8    use that it played in the Argentina manipulations, in
9    the Philippines and elsewhere, including in Chicago, is
10   inexcusable decision.
11                    And I think it also boasts, it -- it -- it
12   elevates the credibility of the legal complaint if we
13   show that we take seriously this issue, regardless of
14   how this plays out in the courts.           But having -- if
15   you -- one of the questions the American people are
16   asking right now, is they're out there and they're
17   saying, We don't feel -- we feel uneasy about this
18   outcome.    Some of it is they just feel that, you know,
19   it's difficult to fathom 80 million people voting for a
20   guy who -- who has 47 years without -- without any
21   accomplishments, who didn't really campaign for the job,
22   didn't really seem to even want the job.
23                    But the message has got to be that this is
24   not settled, this is open, and that a number of credible
25   people -- and -- and I put myself in this camp.                I mean,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP193
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 194 of 971

                                                                            8
      Tipping Point with Kara McKinney Segment - November 27, 2020


1    I'm lending my credibility to this if I -- if -- having
2    reviewed this evidence in detail, having spoken with the
3    people who I have spoken with who have reviewed
4    affidavits, if there was not a credible case to be made
5    here that warranted major national engagement, I would
6    be the first to acknowledge that we had a very
7    unfortunate electoral outcome and I would move on.
8                      That is not the case.        The -- all fire
9    alarms are going off as to how this was orchestrated and
10   run.    Sadly, we continue to have a Department of Justice
11   and FBI that acts very slowly, and in the eyes of some,
12   in -- in partisan fashion.         So that is the case for the
13   special council.      I think we need a special council
14   that's got special, you know, technical skill sets
15   since -- because of the Dominion and Smartmatic
16   component.
17                     And also, you know, someone who's really
18   going to take this enormously seriously and not be
19   compromised or drag their feet on it because, you know,
20   it -- however this plays out as we move forward, we get
21   to January 20 and beyond, you're looking at a -- a
22   disruptive set of circumstances, where you would have to
23   remove Biden from that office if he obtained it
24   illegally.     I don't see any Constitutional alternative.
25   And I would prefer to see this resolved before




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP194
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 195 of 971

                                                                               9
      Tipping Point with Kara McKinney Segment - November 27, 2020


1    January 20.
2                     But even if it's not, the relentlessness
3    needs to continue and the persistence needs to continue
4    to unearth every one of these facts, and the American
5    people can feel positive about the outcome.
6                     MS. MCKINNEY:      A rough road ahead.         The
7    president, when he was speaking yesterday, he was saying
8    that the evidence is on his side, but one thing he
9    worries about is that time may not be on his side.                  You
10   know, that's the big concern there.            We know the
11   electors are meeting soon, they're meeting in mid
12   December, so that is a concern.           We're still hoping that
13   the Trump legal team, that they will be able to pull
14   this off.    But again, they're going against the clock
15   now at this point because, you know, as you were just
16   discussing, you know, it just -- the fraud goes off in
17   so many different directions.          There's a lot of variales
18   [sic] -- variables at play.          It's hard to keep them all
19   straight.    But thank you so much for joining us tonight,
20   Michael Johns, and for trying to keep --
21                    MR. JOHNS:      Thank you.
22                    MS. MCKINNEY:      Yeah, thank you.
23                    (Recording ends.)
24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP195
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 196 of 971

                                                                            10
      Tipping Point with Kara McKinney Segment - November 27, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP196
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 197 of 971

                                                            11
 Tipping Point with Kara McKinney Segment - November 27, 2020

         A          begins 2:1           8:19                6:7                  5:4,4,5,5 8:2
able 9:13           believe 4:6,9 6:17 conceivable 5:12    Department 8:10        9:8
above-entitled      believes 6:5       concern 7:4 9:10    detail 8:2           example 5:19
  10:5              beyond 8:21          9:12              determining 4:21     expense 5:14
abso- 4:6           Biden 2:11,14      considered 5:6      Dickman 10:17        expires 10:20
absolutely 4:6,22     5:13 8:23        constituencies      dictatorship 7:7     Expressway
accepted 5:6        big 9:10             6:19              different 6:1 9:17     10:18
acclimations 5:10   biggest 6:25       Constitutional      difficult 7:19       extent 6:20
accomplishments     bipartisan 7:4       8:24              directions 9:17      eyes 8:11
  7:21              bleak 3:25         constructive 4:23   discuss 3:11
                    boasts 7:11        continue 8:10 9:3   discussing 9:16              F
acknowledge 8:6
acquire 6:23 7:5    business 4:10        9:3               disruptive 8:22   F 10:1
act 5:12                               contradictory       divisive 4:14     fact 5:10
                             C           4:13              Dominion 6:4,18   factor 6:13
action 10:8,10
acts 8:11           C 10:1,1           cooperation 5:22      8:15            facts 5:16 9:4
advice 4:13         call 4:11          correct 10:4        Donald 4:5        fair 4:18 6:8
affidavits 5:10     camp 7:25          corrupt 2:17        drag 8:19         fashion 8:12
  8:4               campaign 4:5       council 5:20 8:13                     fathom 7:19
                      7:21               8:13                       E        FBI 8:11
ahead 3:8 9:6
alarms 8:9          candidates 2:9     counsel 10:6        E 10:1,1          fear 7:3
alerting 4:24       case 5:11 8:4,8,12 counter-produ...    easily 6:1        fee 10:11
allegation 5:5      center 2:7           4:14              elec- 5:12        feel 7:17,17,18
allow 5:16          Central 10:18      country 4:12        election 2:5 4:10    9:5
alternative 8:24    Certified 1:11     course 6:3            4:21 5:12,17    feet 8:19
altogether 2:15       10:2,16          court 5:6             6:2,9,22        felt 4:1
American 4:11       certify 10:3,6,11 courts 7:14          elections 6:22    fight 2:4
  4:24 5:15 7:15    chance 4:1         credibility 6:17    electoral 4:17    filing 5:1
  9:4               charged 6:21         7:12 8:1            6:13 7:5 8:7    filled 5:10
amount 5:25         Chicago 6:11 7:9 credible 5:8 7:24     electors 9:11     financially 10:9
ans- 2:25           circumstances        8:4               elevates 7:12     Fine 3:7
appointment           8:22             criminal 5:5        emerging 4:18     fire 8:8
  5:19              claims 5:20                            employed 10:7     Firm 10:18
                    clearly 6:7                 D          ends 9:23         first 2:14 8:6
Argentina 7:8
asking 3:6 7:16     clock 9:14         Dallas 10:19        engagement 4:13 footage 2:16
association 7:7     close 6:1          Davenport 10:17       8:5             foregoing 10:3
attachment 7:6      cofounder 3:11     deal 2:14           enor- 6:14        foreign 7:3
attorney 5:8          3:24             December 9:12       enormal 6:14      forward 8:20
avoid 2:14          coming 4:1         decision 6:22       enormous 6:14     found 4:25
awfully 2:4         commission           7:10              enormously 4:23 fraud 5:20 6:6,13
                      10:20            defy 6:5              8:18               7:5 9:16
         B          complaint 5:7,11 democracy 4:8         ensure 4:17       fraudulent 6:12
back 3:13 4:1,3,3     7:12             Democrat 6:19       especially 2:11   fraudulently 6:2
battleground        complicated 6:3 Democrats 5:2          establish 6:17    free 4:18
 3:19               component 8:16       7:2               event 2:11        full 10:12
be- 6:16            compromised 4:9 demonstrated           evidence 4:19 5:3 further 10:6,9,11


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                 800.445.9548
                                           APP197
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 198 of 971

                                                            12
 Tipping Point with Kara McKinney Segment - November 27, 2020

future 4:8        issue 7:4,13       mainstream 5:3      orchestrated 8:9    pressure 2:13
                  issued 5:7         major 8:5           organized 4:20       3:22
         G        issues 6:12        manipulated 6:3     outcome 4:21        priority 2:15
Garcia 10:2,16                       manipulation          7:18 8:7 9:5      probably 6:1
Georgia 2:8 5:11           J           5:13                10:10             process 5:23
getting 4:12,23   January 8:21 9:1 manipulations         overseeing 6:21     processes 4:17
   5:22           job 7:21,22          7:8                                   provide 4:22
go 3:7,8 4:10 7:5 jobs 6:24          matter 10:5                  P          pull 9:13
goes 9:16         Johns 3:12,14,17 MCKINNEY              paid 10:12          put 7:25
going 3:7 6:7 8:9    3:23 5:21 9:20    1:13 2:2 3:10     paid/will 10:12     putting 2:17
   8:18 9:14         9:21              3:16,18 5:18      particular 6:23
good 2:9 3:14,14 joining 9:19          9:6,22            parties 10:7                Q
Great 3:16        journalists 2:17   mean 7:25           partisan 7:4 8:12   question 3:8
greater 6:17      jurisdictions 6:20 means 6:2           Party 3:12,24       questions 7:15
greatest 4:16     justice 4:3 8:10   media 5:3           people 2:24 4:2,2   quiet 2:4
groundwork 4:4                       meeting 9:11,11       4:24 5:16,23
guy 7:20                   K                               7:15,19,25 8:3             R
                                     message 7:23
                  Kara 1:13 3:15     Michael 3:12,13       9:5               R 10:1
         H        keep 2:10,13 3:22                      persistence 9:3     rallied 4:2
                                       9:20
Happy 3:17           9:18,20         mid 9:11            Philippines 7:9     rallies 2:13 3:18
hard 9:18         know 5:1,2 6:1     million 7:19        piece 4:18            4:14
Hey 3:14             6:20 7:18 8:14 mobilized 4:2        place 2:14,17       rally 2:7
history 5:9 7:6      8:17,19 9:10,10 move 8:7,20         placed 5:24         read 5:9
holding 2:7,12       9:15,16         Movement 3:12       planning 2:7        realistic 4:1
   3:18           knowing 5:16 7:6     3:25              play 9:18           really 7:21,22
hopefully 2:16       7:6                                 played 7:8            8:17
hoping 9:12                                   N          plays 2:5 7:14      recall 7:2
House 4:3                  L                                                 record 5:9
                                     national 3:12 8:5     8:20
                  laid 4:4           need 5:23 8:13      point 1:13 6:9      recording 2:1
          I       lately 2:4                                                   9:23 10:4,8
                                     needs 9:3,3           9:15
illegal 5:12      lawyers 2:6        neither 10:6        populous 4:5        regardless 7:13
illegally 8:24    leader 3:11        never 5:4           positive 9:5        Registration
important 2:10    legal 7:12 9:13    North 10:18         possibility 2:22      10:18
inaudible 2:20,23 lending 8:1        NOVEMBER            Powell 5:8          related 6:6 10:7
   3:1            lesson 3:23          1:12              precisely 4:24      relentlessness 9:2
including 7:9     lightweight 3:3    number 7:24         predominantly       remove 8:23
inconceivable     line 4:8                                 6:19              Reporter 2:20,23
   5:15           litigation 5:22             O          prefer 8:25           3:1,6,9 10:2,17
incredibly 3:25   long 5:8           oath 5:24           presented 5:6       representative
   4:9            look 2:22 3:23     obligation 4:16     president 2:3,5,6     4:8
inexcusable 7:10 looked 3:25           7:1,1               2:11,12,16,18     Republican 2:9
interested 10:10 looking 8:21        obtained 8:23         2:21,24 3:2,4,5     6:21
intervention 7:3 lot 4:4 9:17        office 8:23           3:7,19,20 4:12    Republicans 2:10
investigate 5:20  love 3:10          official 6:22         9:7               resolved 8:25
investigation                        open 7:24           president's 5:14    result 5:17
   5:25                    M
                                     opposite 4:15                           reviewed 8:2,3

                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                 800.445.9548
                                          APP198
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 199 of 971

                                                            13
 Tipping Point with Kara McKinney Segment - November 27, 2020

right 2:15 4:16   spoken 8:2,3           7:11 8:13           4:21             7-31-25 10:20
  6:16 7:16       spotlight 2:6        time 7:2 9:9         ways 4:4          75206 10:19
road 9:6          stage 2:7            TIPPING 1:13         we're 5:22 9:12
rough 9:6         stand 5:16,17        today 6:24           week 2:8                  8
run 8:10          state 2:2 6:21       tonight 9:19         weeks 3:21        80 7:19
                    10:3               transcribed 10:8     welcome 3:13,14   855-5100 10:20
          S       states 2:13 3:4,19   transcription        world 6:10
Sadly 8:10          6:11                 1:11 10:4,11       worries 9:9
Saturday 2:8      stolen 2:5           troubling 6:15
saying 7:17 9:7   stop 2:14            Trump 2:3,6,18               X
Secretary 6:21    story 2:2              2:21,24 3:2,7
secure 4:18                                                         Y
                  straight 9:19          3:19,20 4:5
see 2:16 5:11     subpoenaed 5:24        9:13               Yeah 9:22
  8:24,25         suggests 4:19        trying 2:22 9:20     years 7:20
SEGMENT 1:13 Suite 10:19               types 5:23           yesterday 5:1,7
Senate 2:9,11 4:4 suppor- 3:20         typically 5:23         9:7
sensibility 4:3   support 2:8 5:13
                                               U                    Z
seriously 7:13      5:19
  8:18            supporters 3:20      U.S 2:2                      0
service 4:23      system 4:17 6:15     understand 6:23
set 8:22            6:23 7:6           unearth 9:4                  1
sets 8:14         systematic 4:20      uneasy 7:17          1 2:15
settled 7:24        6:13               unfortunate 8:7      101 10:19
share 4:22        systems 6:4,6,10     United 3:4 6:11      104-page 5:7
Shorthand 10:2      6:18               use 7:8
  10:17                                usual 4:10                   2
show 7:13                  T           utilized 5:13 6:10   20 8:21 9:1
sic 6:14 9:18     T 10:1,1               6:19               2009 3:25
side 9:8,9        take 2:6,7 3:24                           2016 4:5
Sidney 5:8          7:13 8:18                  V            2020 1:12
simply 7:4        talk 2:25 3:3,4,5    variables 9:18       214 10:20
simultaneously    talking 5:25         variales 9:17        27 1:12
  4:7             Tea 3:12,24          vast 5:24
singular 3:23     team 9:13            Venezuela 7:7                3
  4:16 6:25       technical 8:14       video 10:4           312 10:18
sir 3:1,6         ten 6:1              view 4:22
                                       voting 7:19                  4
skill 8:14        Terri 10:2,16
slowly 8:11       Texas 10:3,16,19                          4228 10:18
                                              W             47 7:20
Smartmatic 6:4    thank 3:15 9:19
  6:18 8:15         9:21,22            wake-up 4:11
                                       want 7:22                 5
soon 9:11         Thanksgiving
Sorry 3:1           3:17               wanting 3:21
                                                                 6
speaking 9:7      thing 9:8            warning 7:2
                                       warranted 8:5     6581 10:17
special 5:19 8:13 things 3:25 6:16
  8:13,14         think 2:21 5:21      wasn't 7:3                7
                                       way 2:25 3:5 4:20

                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                      800.445.9548
                                           APP199
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 200 of 971




      Exhibit A-12




                             APP200
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 201 of 971

                                                                            1
       Tipping Point With Kara McKinney Segment - December 1, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11           CERTIFIED TRANSCRIPTION OF
12                  DECEMBER 1, 2020
13   TIPPING POINT WITH KARA MCKINNEY SEGMENT
14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP201
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 202 of 971

                                                                            2
       Tipping Point With Kara McKinney Segment - December 1, 2020


 1                    (Recording begins.)
 2                    MS. MCKINNEY:     It's time for Tipping Point.
 3   Tonight, is there anyone left to defend this
 4   Constitutional Republic?        That's the question I think
 5   we're all asking ourselves after the attorney general
 6   caves to Democrats on election fraud.
 7                    Plus, left wing enviro wackos are now
 8   trying to use the coronavirus precedent to shut down the
 9   global economy to save Mother Earth.
10                    And finally, homicides are up in Seattle,
11   but that's not stopping efforts to defund the police
12   because, as the commies say, you can't make an omelet
13   without cracking a few eggs.
14                    I'm your host, Kara McKinney, and this is
15   Tipping Point.
16                    Another big day of explosive testimony.
17   Whether it be today's hearing in Michigan, Monday in
18   Arizona or last week in Pennsylvania, the one
19   inescapable point for Democrats is that even if you want
20   to chalk up all the glitches, the ballot errors and
21   other irregularities to "simple mistakes," then why do
22   they only go one way?       Can anyone name a single time in
23   which these "mistakes" help President Trump?
24                    It's a simple question that has been raised
25   time and again in the months since Election Day without




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP202
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 203 of 971

                                                                              3
       Tipping Point With Kara McKinney Segment - December 1, 2020


 1   any good answers from Democrats.          However, looking at
 2   records the Federal Election Commission may explain at
 3   least part of the reason for this code of silence.              What
 4   we find is that 95 percent of all political
 5   contributions made by employees at Dominion Voting
 6   Systems between 2014 and 2020 went for Democrats.
 7                    It's the same story at Smartmatic.
 8   86 percent of their employee contributions went to
 9   Democrat candidates, specifically to Joe Biden, Senator
10   Elizabeth Warren, Pete Buttigieg and even to Adam
11   Schiff.   Now, this comes despite Smartmatic's own
12   website declaring, quote, Smartmatics' founders and
13   employees adhere to a strict ethics code that, among
14   other things, prohibits them from making political
15   donations.
16                    So here you have Dominion, which is a
17   foreign-owned company and uses computer chips made in
18   China, and Smartmatic, which is tied to Soros and the
19   Castro regime in Venezuela involved in U.S. elections.
20   At this point, many people are wondering where the
21   Justice Department or the FBI is after days and days of
22   credible testimony.
23                    Well, I'll tell you where the DOJ is.            Just
24   like Dominion and Smartmatic, over 85 percent of their
25   employees' political contributions during this last




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP203
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 204 of 971

                                                                            4
       Tipping Point With Kara McKinney Segment - December 1, 2020


 1   election cycle went to Joe Biden.          Attorney General Bill
 2   Barr telling reporters today that his department has
 3   found no evidence of widespread fraud that would have
 4   changed the outcome of the presidential election.
 5                    Now, my question for Barr would be, is this
 6   the same department that also lied about Russian
 7   collusion for four years and then sat on its high horse
 8   in court for years against General Michael Flynn,
 9   claiming that it turned over every piece of exculpatory
10   evidence only to find out that they were sitting on
11   documents, showing how the general was entrapped by the
12   FBI as a way to, quote, get Trump, according to those
13   same handwritten FBI notes.
14                    Because if so, then I don't want to hear
15   it.   Since we're not going to get help from the top,
16   it's up to us as American patriots to hold this
17   Constitutional Republic together.          To that point, a
18   Dominion contractor from the TCF ballot counting center
19   in Detroit came forward to testify today before the
20   Michigan Senate -- State Senate Oversight Committee and
21   here's what she had to say.
22                    OVERSIGHT COMMITTEE MEMBER 1:          What I
23   witnessed at TCF center was complete fraud.             The whole
24   27 hours I was there, there was batches of ballots being
25   ran through the tabulating machines numerous times,




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP204
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 205 of 971

                                                                            5
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    being counted 8 to 10 times.          Also, the adjudication
2    process, I witnessed numerous people walking up,
3    claiming they were both Democrats, saying they were
4    going -- they were sitting together, judging ballots all
5    night together, all day together.           I witnessed it all.
6    I was on the main stage with all of the City officials.
7    Daniel Baxter was in on the whole thing, and I am under
8    the impression, 100 percent, that at least 90 percent of
9    those workers were all in on this.
10                    There was not a single ballot the whole
11   night, the whole 27 hours I was there that I saw that
12   was for Do- -- Donald Trump, not one, not a single
13   ballot.    That is -- that is scary.
14                    MS. MCKINNEY:       Her testimony corroborates
15   that of another witness who claims that she observed
16   ballots were all -- that were all for Biden and appeared
17   to be photocopies of each other.           She claims many of
18   these ballots were not cast by registered voters, so
19   election staff manually inputted fake birthdays to
20   override the system to have them counted anyway.
21                    OVERSIGHT COMMITTEE MEMBER 2:           Not one of
22   the military ballots was a registered voter, and the
23   ballots looked like they were all exactly the same Xerox
24   copies of the ballot.        They were all for Biden across
25   the board.     There wasn't a single Trump vote.            And none




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP205
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 206 of 971

                                                                             6
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    of the -- the voters were registered.             They had to
2    manually enter the names and addresses and a birth date
3    of 1/1/2020, which would override the system and allow
4    them to enter nonregistered voters, of which I saw
5    several that day.
6                      Throughout the day, that's how they would
7    override voters that were neither in the electronic poll
8    book or the supplemental updated poll book.
9                      UNIDENTIFIED SPEAKER:        Thank you.
10                     MS. MCKINNEY:      A third witness then
11   described how these massive dumps of ballots arrived at
12   the center in the first place, with trucks dumping them
13   off at 4:00 in the morning after many of the Republican
14   poll watchers had gone home or been kicked out.                Should
15   also be noted that many of these Dominion voting
16   machines were reportedly connected to the internet as
17   well.     Take a look at what that means.
18                     WITNESS BRIAN:      So two of the main
19   observations that I witnessed at the TCF center on both
20   the 3rd and the 4th when I was there, when I -- when I
21   got down there on the morning of the 4th, I went back
22   for an -- an additional day because I witnessed so many
23   irregularities when I was there on Election Day on the
24   3rd.
25                     Immediately upon walking in, I -- I ran




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP206
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 207 of 971

                                                                            7
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    into Randy Bishop.       And Randy owns radio stations, he --
2    he's very IT savvy.       He said, Brian, I was here all
3    night.   What -- what's going on here is unbelievable.
4    He said, Let me show you something right now before I
5    leave.   So he walked me over to the high speed scanners
6    and tabulators, and he said, See all these ethernet
7    lines running out of the tabulators, they're all bundled
8    together as they accumulate and then they're all
9    connected to these routers and then they all go to the
10   main computer, he said, These are all hooked into the
11   internet, and that is illegal and it should not be
12   happening because it opens them up to hacking.               So I was
13   aware of that immediately.
14                    MS. MCKINNEY:       And joining me now to
15   discuss is independent journalist, Kyle Becker.
16                    Welcome back, Kyle.
17                    MR. BECKER:      Good to see you again, Kara.
18                    MS. MCKINNEY:       Great.    So a lot to get to
19   tonight.    First, I want to get your take on these voting
20   systems reportedly being hooked up to the internet.
21   Does this indeed open the door to hacking and vote data
22   being possibly manipulated?
23                    MR. BECKER:      Well, numerous experts from
24   around the country have tested Dominion's Voting Systems
25   for breachable connections to the servers through the




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP207
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 208 of 971

                                                                               8
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    internet, Harry Hursti being one, Jonathan Alderman up
2    at the University of Michigan.           So we knew prior to the
3    election that this was the case.           The mainstream media
4    has been covering it up.         So these revelations aren't
5    new to me, but they may be new to a lot of the U.S.
6    public.
7                     MS. MCKINNEY:       When it comes to Michigan,
8    one thing a lot of people were concerned about that was
9    brought up at the hearings was that some of these
10   numbers that were coming out on election night were in
11   decimals, were in fractions.          And a lot of people were
12   concerned if one vote e- -- you know, if one ballot
13   equals one vote, then how are we getting decimals?                  And
14   on Monday, in Arizona, we saw Dr Shiva.             He believes
15   that the -- that Dominion voting systems may have been
16   using weighted algorithm -- algorithms, meaning that
17   perhaps Biden may have been getting -- every ballot for
18   him may have been 1.3 votes, and perhaps for President
19   Trump, his ballots may have been counted at
20   seven-tenths.      What do you make of those concerns?
21                    MR. BECKER:      Well, I would like to see a
22   lot more evidence before I would know that that is
23   exactly how Dominion's software itself was flipping
24   votes.    Really what -- what concerns me and what is
25   demonstrably true is that the reporting is done in




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP208
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 209 of 971

                                                                              9
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    decimal format.      You can see this in the New York Times
2    database reporting, you can see this with Dominion
3    Voting Systems reporting.         So this opens up the ability
4    for hackers to potentially get into -- or malicious
5    actors who have admin rights to get in and to manipulate
6    the votes through rounding errors in the reportage and
7    other -- other types of malfeasance.
8                     So it doesn't necessarily have to be
9    Dominion Voting System itself.           They can be the Trojan
10   horses that are just allowing ballots to be manipulated
11   by administrators that have access to the system.
12                    MS. MCKINNEY:       And FEC filings show that
13   when it comes to Dominion, for example, a lot of their
14   employees -- I believe it's over 85 percent or so --
15   donate politically to Biden, or at least when it comes
16   to political donations, about 85 percent or more go
17   toward Biden or Democrats in general.             Do you think that
18   that's a conflict of interest?
19                    MR. BECKER:      Yeah, absolutely.        The- --
20   Smartmatic, for example, has a policy not to allow
21   employees to make political donations at all.               And
22   Dominion Voting Systems also makes 95 percent, around,
23   donations to -- to Democrats through its employees.                    And
24   so one thing that I would like to point out is that just
25   simply in the United States government as a whole, this




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP209
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 210 of 971

                                                                            10
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    tracks very consistently with what we see with bur- --
2    numerous bureaucracies with unions.            So it all seems to
3    be a monolithic, sort of, block of -- of united
4    interests that is very concerning to me.
5                     So when you have voting systems that are
6    engaging in -- or at least have questionable security
7    policies that allow Democrats to potentially breach our
8    election security, and it's very opaque and we -- and
9    our voters have no way of tracking it, then we have to
10   raise questions about if there's some sort of, you
11   know -- you know, shared interest in -- in all of
12   these -- these organizations and companies together,
13   just as a block, trying to make sure that Democrats have
14   some kind of unfair advantage.
15                    MR. DINOW:      And we also heard from, today,
16   in Michigan, a woman who worked as a contract -- or
17   worked as a Dominion contractor on election night with
18   the whole ballot counting process.            And we heard from
19   her, you know, her testimony.          And she claims that she
20   saw some ballots were being recounted 8 to 10 times.
21   What did you make of her testimony?
22                    MR. BECKER:      Well, Melissa Caruso
23   (phonetic) was actually very, you know, very outgoing
24   and passionate about what she saw, and it does -- and
25   she's not out on -- by herself saying that ballots were




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP210
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 211 of 971

                                                                            11
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    rerun through the tabulators over and over again.                It --
2    now, she says it was 8 to 10 times, that's -- that's
3    really high.     Obviously, it's very concerning.
4                     But just the fact that these vote dumps
5    that have been coming in, you know, Wayne County being
6    one of them, in the early mornings of, you know,
7    140,000, with Trump voters getting almost nothing, this
8    syncs with what they're saying about not seeing any
9    Trump ballots like she -- she says -- she said not one.
10   But others have said, you know, only saw two, was
11   another witness that said that.
12                    So these kind of rates just do not sync
13   with the political landscape, even in inner cities where
14   we saw Trump, he had more minority support this
15   election, by four points for Latinos and -- and also
16   Black Americans.      It's higher than it was, so these kind
17   of rates should -- are inordinately high and raise red
18   flags.
19                    MS. MCKINNEY:       And when it comes to these
20   ballot dumps, in Michigan alone, I believe there's over
21   six different counties that were reporting voter turnout
22   at over 100 percent, which, of course, is impossible, so
23   meaning more ballots were coming in than there were
24   registered voters eligible to vote that day.               What do
25   you make of that?




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP211
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 212 of 971

                                                                            12
       Tipping Point With Kara McKinney Segment - December 1, 2020


1                     MR. BECKER:      Well, I think that the fact
2    that these mail-in ballots, once the signatures are
3    separated -- of the signed ballots are separated from
4    the mail-in votes, then we -- we have no way of knowing,
5    like, how -- how much -- how many of these votes are
6    able -- because you cannot track them at all.               And even
7    the New York Times admitted this.
8                     So William Barr, several months ago, he
9    pointed out that we are playing with fire with these
10   mail-in ballots.      So these turnout rates that are
11   inordinately high and -- and even impossibly high in
12   some -- some precincts, in some districts, really just
13   correspond to his warning, which he seems to have been
14   reversing himself today and -- and saying, like, he --
15   nothing to see here, move along.
16                    And that's in the middle of all these
17   public hearings with very concerning testimony that
18   people should see for themselves, because these are just
19   regular Americans with strong testimony.              And -- and
20   also these court cases that are going on in Wisconsin,
21   Mich- -- Michigan, Georgia, Arizona, it's -- it's not
22   really proper for William Barr to talk about widespread
23   fraud when, actually, the conversation's revolving
24   around microtargeted fraud possibility in Democrat
25   strongholds, in swing states.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP212
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 213 of 971

                                                                            13
       Tipping Point With Kara McKinney Segment - December 1, 2020


1                     And -- and that's really what the
2    conversation is about.        So it -- we shouldn't be
3    distracted by Barr's, sort of, bait and switch on the
4    conversation, feeding into the progressive narrative
5    that we're arguing about widespread fraud, when really,
6    nobody sensible and really looking into this is talking
7    about that.
8                     We're talking about microtargeted fraud
9    that's multifaceted, hard -- hard for legal action to be
10   taken against because it's just numerous layers of the
11   mail-in ballots and double counts.            But some of these
12   lawsuits that the Tump -- Trump team is bringing is
13   addressing this multifaceted aspect of what we're seeing
14   with the election irregularities.
15                    MS. MCKINNEY:       And it's amazing to me that
16   this -- this interview that Attorney General Bill Barr
17   gave to the associated press in which he says that he
18   saw no evidence whatsoever of widespread election fraud
19   that could have changed the outcome of the 2020
20   election.    And then that drops today, where as we've
21   been discussing, Michigan, you know, witness after
22   witness after witness coming forward and giving expert
23   testimony about what they saw.           And I don't know if the
24   DOJ spoke to any of these, you know, wonderful folk.
25                    On Monday, we saw in Arizona as well




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP213
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 214 of 971

                                                                            14
       Tipping Point With Kara McKinney Segment - December 1, 2020


1    witness after witness after witness.            Go back a week to
2    Pennsylvania, same thing there.           And to say that there
3    was, you know, nothing see here, I smell a rat.                That's
4    very strange to me.       You know, thank you so much for
5    coming on tonight, Kyle, and breaking it all down for
6    us.
7                     MR. BECKER:      Thank you, Kara.
8                     (Recording ends.)
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP214
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 215 of 971

                                                                            15
       Tipping Point With Kara McKinney Segment - December 1, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP215
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 216 of 971

                                                             16
  Tipping Point With Kara McKinney Segment - December 1, 2020

         A          13:16            bringing 13:12    companies 10:12     cycle 4:1
ability 9:3        aware 7:13        brought 8:9       company 3:17
                                     bundled 7:7       complete 4:23                D
able 12:6
                            B        bur- 10:1         computer 3:17       Dallas 15:19
above-entitled
  15:5             back 6:21 7:16    bureaucracies       7:10              Daniel 5:7
absolutely 9:19      14:1             10:2             concerned 8:8,12    data 7:21
access 9:11        bait 13:3         Buttigieg 3:10    concerning 10:4     database 9:2
accumulate 7:8     ballot 2:20 4:18                      11:3 12:17        date 6:2
                     5:10,13,24 8:12          C        concerns 8:20,24    Davenport 15:17
action 13:9 15:8
  15:10              8:17 10:18      C 15:1,1          conflict 9:18       day 2:16,25 5:5
actors 9:5           11:20           candidates 3:9    connected 6:16        6:5,6,22,23
Adam 3:10          ballots 4:24 5:4  Caruso 10:22        7:9                 11:24
additional 6:22      5:16,18,22,23   case 8:3          connections 7:25    days 3:21,21
addresses 6:2        6:11 8:19 9:10 cases 12:20        consistently 10:1   DECEMBER
addressing 13:13     10:20,25 11:9   cast 5:18         Constitutional        1:12
adhere 3:13          11:23 12:2,3,10 Castro 3:19         2:4 4:17          decimal 9:1
adjudication 5:1     13:11           caves 2:6         contract 10:16      decimals 8:11,13
admin 9:5          Barr 4:2,5 12:8   center 4:18,23    contractor 4:18     declaring 3:12
administrators       12:22 13:16       6:12,19           10:17             defend 2:3
  9:11             Barr's 13:3       Central 15:18     contributions 3:5   defund 2:11
admitted 12:7      batches 4:24      Certified 1:11      3:8,25            Democrat 3:9
advantage 10:14    Baxter 5:7          15:2,16         conversation          12:24
ago 12:8           Becker 7:15,17    certify 15:3,6,11   13:2,4            Democrats 2:6,19
Alderman 8:1         7:23 8:21 9:19 chalk 2:20         conversation's        3:1,6 5:3 9:17
algorithm 8:16       10:22 12:1 14:7 changed 4:4         12:23               9:23 10:7,13
algorithms 8:16    begins 2:1          13:19           copies 5:24         demonstrably
allow 6:3 9:20     believe 9:14      China 3:18        coronavirus 2:8       8:25
  10:7               11:20           chips 3:17        correct 15:4        department 3:21
allowing 9:10      believes 8:14     cities 11:13      correspond 12:13      4:2,6
amazing 13:15      Biden 3:9 4:1     City 5:6          corroborates        described 6:11
American 4:16        5:16,24 8:17    claiming 4:9 5:3    5:14              despite 3:11
Americans 11:16      9:15,17         claims 5:15,17    counsel 15:6        Detroit 4:19
  12:19            big 2:16            10:19           counted 5:1,20      Dickman 15:17
answers 3:1        Bill 4:1 13:16    code 3:3,13         8:19              different 11:21
anyway 5:20        birth 6:2         collusion 4:7     counties 11:21      DINOW 10:15
appeared 5:16      birthdays 5:19    comes 3:11 8:7    counting 4:18       discuss 7:15
arguing 13:5       Bishop 7:1          9:13,15 11:19     10:18             discussing 13:21
Arizona 2:18       Black 11:16       coming 8:10 11:5 country 7:24         distracted 13:3
  8:14 12:21       block 10:3,13       11:23 13:22     counts 13:11        districts 12:12
  13:25            board 5:25          14:5            County 11:5         Do- 5:12
arrived 6:11       book 6:8,8        commies 2:12      course 11:22        documents 4:11
asking 2:5         breach 10:7       commission 3:2    court 4:8 12:20     DOJ 3:23 13:24
aspect 13:13       breachable 7:25     15:20           covering 8:4        Dominion 3:5,16
associated 13:17   breaking 14:5     Committee 4:20 cracking 2:13            3:24 4:18 6:15
attorney 2:5 4:1   Brian 6:18 7:2      4:22 5:21       credible 3:22         8:15 9:2,9,13


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com               800.445.9548
                                         APP216
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 217 of 971

                                                             17
  Tipping Point With Kara McKinney Segment - December 1, 2020

 9:22 10:17        ethics 3:13           12:23,24 13:5,8   hours 4:24 5:11    knowing 12:4
Dominion's 7:24    evidence 4:3,10       13:18             Hursti 8:1         Kyle 7:15,16 14:5
 8:23                8:22 13:18        full 15:12
Donald 5:12        exactly 5:23 8:23   further 15:6,9,11           I                   L
donate 9:15        example 9:13,20                       illegal 7:11         landscape 11:13
donations 3:15     exculpatory 4:9             G         immediately 6:25     Latinos 11:15
 9:16,21,23        expert 13:22        Garcia 15:2,16       7:13              lawsuits 13:12
door 7:21          experts 7:23        general 2:5 4:1,8 impossible 11:22     layers 13:10
double 13:11       expires 15:20         4:11 9:17 13:16 impossibly 12:11     leave 7:5
Dr 8:14            explain 3:2         Georgia 12:21     impression 5:8       left 2:3,7
drops 13:20        explosive 2:16      getting 8:13,17   independent 7:15     legal 13:9
dumping 6:12       Expressway            11:7            inescapable 2:19     lied 4:6
dumps 6:11 11:4      15:18             giving 13:22      inner 11:13          lines 7:7
 11:20                                 glitches 2:20     inordinately         look 6:17
                            F          global 2:9           11:17 12:11       looked 5:23
         E         F 15:1              go 2:22 7:9 9:16  inputted 5:19        looking 3:1 13:6
E 15:1,1           fact 11:4 12:1        14:1            interest 9:18        lot 7:18 8:5,8,11
e- 8:12            fake 5:19           going 4:15 5:4       10:11               8:22 9:13
early 11:6         FBI 3:21 4:12,13      7:3 12:20       interested 15:10
Earth 2:9          FEC 9:12            good 3:1 7:17     interests 10:4               M
economy 2:9        Federal 3:2         government 9:25 internet 6:16          machines 4:25
efforts 2:11       fee 15:11           Great 7:18           7:11,20 8:1        6:16
eggs 2:13          feeding 13:4                          interview 13:16      mail-in 12:2,4,10
election 2:6,25    filings 9:12                H         involved 3:19         13:11
  3:2 4:1,4 5:19   finally 2:10        hackers 9:4       irregularities       main 5:6 6:18
  6:23 8:3,10      financially 15:9    hacking 7:12,21      2:21 6:23 13:14    7:10
  10:8,17 11:15    find 3:4 4:10       handwritten 4:13                       mainstream 8:3
  13:14,18,20      fire 12:9           happening 7:12              J          making 3:14
elections 3:19     Firm 15:18          hard 13:9,9       Joe 3:9 4:1          malfeasance 9:7
electronic 6:7     first 6:12 7:19     Harry 8:1         joining 7:14         malicious 9:4
eligible 11:24     flags 11:18         hear 4:14         Jonathan 8:1         manipulate 9:5
Elizabeth 3:10     flipping 8:23       heard 10:15,18    journalist 7:15      manipulated
employed 15:7      Flynn 4:8           hearing 2:17      judging 5:4           7:22 9:10
employee 3:8       folk 13:24          hearings 8:9      Justice 3:21         manually 5:19
employees 3:5,13   foregoing 15:3        12:17                                 6:2
                                       help 2:23 4:15              K          massive 6:11
  9:14,21,23       foreign-owned
employees' 3:25       3:17             high 4:7 7:5 11:3 Kara   1:13 2:14     matter 15:5
ends 14:8          format 9:1            11:17 12:11,11     7:17 14:7         McKinney 1:13
engaging 10:6      forward 4:19        higher 11:16      kicked   6:14         2:2,14 5:14
enter 6:2,4           13:22            hold 4:16         kind 10:14 11:12      6:10 7:14,18
entrapped 4:11     found 4:3           home 6:14            11:16              8:7 9:12 11:19
enviro 2:7         founders 3:12       homicides 2:10    knew   8:2            13:15
equals 8:13        four 4:7 11:15      hooked 7:10,20    know 8:12,22         meaning 8:16
errors 2:20 9:6    fractions 8:11      horse 4:7            10:11,11,19,23     11:23
ethernet 7:6       fraud 2:6 4:3,23    horses 9:10          11:5,6,10 13:21   means 6:17
                                       host 2:14            13:23,24 14:3,4   media 8:3

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                   800.445.9548
                                           APP217
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 218 of 971

                                                             18
  Tipping Point With Kara McKinney Segment - December 1, 2020

Melissa 10:22                O           9:24               really 8:24 11:3  saying 5:3 10:25
MEMBER 4:22         observations        pointed 12:9          12:12,22 13:1,5   11:8 12:14
 5:21                 6:19              points 11:15          13:6            says 11:2,9 13:17
Mich- 12:21         observed 5:15       police 2:11         reason 3:3        scanners 7:5
Michael 4:8         Obviously 11:3      policies 10:7       recording 2:1     scary 5:13
Michigan 2:17       officials 5:6       policy 9:20           14:8 15:4,8     Schiff 3:11
 4:20 8:2,7         omelet 2:12         political 3:4,14    records 3:2       Seattle 2:10
 10:16 11:20        once 12:2            3:25 9:16,21       recounted 10:20   security 10:6,8
 12:21 13:21        opaque 10:8          11:13              red 11:17         see 7:6,17 8:21
microtargeted       open 7:21           politically 9:15    regime 3:19         9:1,2 10:1
 12:24 13:8         opens 7:12 9:3      poll 6:7,8,14       registered 5:18     12:15,18 14:3
middle 12:16        organizations       possibility 12:24     5:22 6:1 11:24  seeing 11:8 13:13
military 5:22         10:12             possibly 7:22       Registration      SEGMENT 1:13
minority 11:14      outcome 4:4         potentially 9:4       15:18           Senate 4:20,20
mistakes 2:21,23      13:19 15:10        10:7               regular 12:19     Senator 3:9
Monday 2:17         outgoing 10:23      precedent 2:8       related 15:7      sensible 13:6
 8:14 13:25         override 5:20 6:3   precincts 12:12     reportage 9:6     separated 12:3,3
monolithic 10:3       6:7               President 2:23      reportedly 6:16   servers 7:25
months 2:25 12:8    Oversight 4:20       8:18                 7:20            seven-tenths 8:20
morning 6:13,21       4:22 5:21         presidential 4:4    Reporter 15:2,17  shared 10:11
mornings 11:6       owns 7:1            press 13:17         reporters 4:2     Shiva 8:14
Mother 2:9                              prior 8:2           reporting 8:25    Shorthand 15:2
move 12:15                   P          process 5:2 10:18     9:2,3 11:21       15:17
multifaceted 13:9   paid 15:12          progressive 13:4    Republic 2:4      show 7:4 9:12
 13:13              paid/will 15:12     prohibits 3:14        4:17            showing 4:11
                    part 3:3            proper 12:22        Republican 6:13   shut 2:8
        N           parties 15:7        public 8:6 12:17    rerun 11:1        signatures 12:2
name 2:22           passionate 10:24                        revelations 8:4   signed 12:3
names 6:2           patriots 4:16               Q           reversing 12:14   silence 3:3
narrative 13:4      Pennsylvania        question 2:4,24     revolving 12:23   simple 2:21,24
necessarily 9:8       2:18 14:2          4:5                right 7:4         simply 9:25
neither 6:7 15:6    people 3:20 5:2     questionable        rights 9:5        single 2:22 5:10
new 8:5,5 9:1         8:8,11 12:18       10:6               rounding 9:6        5:12,25
  12:7              percent 3:4,8,24    questions 10:10     routers 7:9       sitting 4:10 5:4
night 5:5,11 7:3      5:8,8 9:14,16     quote 3:12 4:12     running 7:7       six 11:21
  8:10 10:17          9:22 11:22                            Russian 4:6       Smartmatic 3:7
nonregistered                                    R
                    Pete 3:10                                                   3:18,24 9:20
  6:4               phonetic 10:23      R 15:1                       S        Smartmatic's
North 15:18         photocopies 5:17    radio 7:1           sat 4:7             3:11
noted 6:15          piece 4:9           raise 10:10 11:17   save 2:9          Smartmatics'
notes 4:13          place 6:12          raised 2:24         savvy 7:2           3:12
numbers 8:10        playing 12:9        ran 4:25 6:25       saw 5:11 6:4 8:14 smell 14:3
numerous 4:25       Plus 2:7            Randy 7:1,1           10:20,24 11:10 software 8:23
  5:2 7:23 10:2     point 1:13 2:2,15   rat 14:3              11:14 13:18,23 Soros 3:18
  13:10               2:19 3:20 4:17    rates 11:12,17        13:25           sort 10:3,10 13:3
                                          12:10

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP218
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 219 of 971

                                                             19
  Tipping Point With Kara McKinney Segment - December 1, 2020

SPEAKER 6:9      testify 4:19         two 6:18 11:10      we've 13:20                 2
specifically 3:9 testimony 2:16       types 9:7           website 3:12        2 5:21
speed 7:5          3:22 5:14 10:19                        week 2:18 14:1      2014 3:6
spoke 13:24        10:21 12:17,19             U           weighted 8:16       2020 1:12 3:6
staff 5:19         13:23              U.S 3:19 8:5        Welcome 7:16          13:19
stage 5:6        Texas 15:3,16,19     unbelievable 7:3    went 3:6,8 4:1      214 15:20
State 4:20 15:3  thank 6:9 14:4,7     unfair 10:14         6:21               27 4:24 5:11
states 9:25 12:25The- 9:19            UNIDENTIFI...       whatsoever 13:18
stations 7:1     thing 5:7 8:8 9:24    6:9                widespread 4:3              3
stopping 2:11      14:2               unions 10:2          12:22 13:5,18      312 15:18
story 3:7        things 3:14          united 9:25 10:3    William 12:8,22     3rd 6:20,24
strange 14:4     think 2:4 9:17       University 8:2      wing 2:7
strict 3:13        12:1               updated 6:8         Wisconsin 12:20             4
strong 12:19     third 6:10           use 2:8             witness 5:15 6:10   4:00 6:13
strongholds      tied 3:18            uses 3:17            6:18 11:11         4228 15:18
  12:25          time 2:2,22,25                            13:21,22,22        4th 6:20,21
                                               V
Suite 15:19      times 4:25 5:1                            14:1,1,1
                                      Venezuela 3:19                                  5
supplemental 6:8   9:1 10:20 11:2                         witnessed 4:23
support 11:14      12:7               video 15:4           5:2,5 6:19,22
                                      vote 5:25 7:21                                  6
sure 10:13       Tipping 1:13 2:2                         woman 10:16
                                        8:12,13 11:4,24                       6581 15:17
swing 12:25        2:15                                   wonderful 13:24
switch 13:3      today 4:2,19         voter 5:22 11:21    wondering 3:20              7
sync 11:12         10:15 12:14        voters 5:18 6:1,4   worked 10:16,17
                                        6:7 10:9 11:7                         7-31-25 15:20
syncs 11:8         13:20                                  workers 5:9         75206 15:19
system 5:20 6:3  today's 2:17           11:24
  9:9,11         tonight 2:3 7:19     votes 8:18,24 9:6          X                     8
systems 3:6 7:20   14:5                 12:4,5            Xerox 5:23          8 5:1 10:20 11:2
  7:24 8:15 9:3  top 4:15             voting 3:5 6:15
                                                                              85 3:24 9:14,16
                                        7:19,24 8:15              Y
  9:22 10:5      track 12:6                                                   855-5100 15:20
                 tracking 10:9          9:3,9,22 10:5     Yeah 9:19
                                                                              86 3:8
          T      tracks 10:1                              years 4:7,8
                                              W           York 9:1 12:7
T 15:1,1         transcribed 15:8                                                     9
tabulating 4:25                       wackos 2:7
                 transcription                                    Z           90 5:8
tabulators 7:6,7                      walked 7:5
                   1:11 15:4,11                                               95 3:4 9:22
  11:1                                walking 5:2 6:25
                 Trojan 9:9           want 2:19 4:14              0
take 6:17 7:19   trucks 6:12
taken 13:10                            7:19
                 true 8:25                                         1
talk 12:22                            warning 12:13
                 Trump 2:23 4:12      Warren 3:10         1 1:12 4:22
talking 13:6,8     5:12,25 8:19                           1.3 8:18
TCF 4:18,23 6:19                      wasn't 5:25
                   11:7,9,14 13:12    watchers 6:14       1/1/2020 6:3
team 13:12       trying 2:8 10:13                         10 5:1 10:20 11:2
tell 3:23                             way 2:22 4:12
                 Tump 13:12            10:9 12:4          100 5:8 11:22
telling 4:2      turned 4:9                               101 15:19
Terri 15:2,16                         Wayne 11:5
                 turnout 11:21        we're 2:5 4:15      140,000 11:7
tested 7:24        12:10               13:5,8,13

                            Dickman Davenport, Inc
      214.855.5100         www.dickmandavenport.com                    800.445.9548
                                          APP219
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 220 of 971




      Exhibit A-13




                             APP220
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 221 of 971

                                                                            1
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12          CERTIFIED TRANSCRIPTION OF
13                 DECEMBER 3, 2020
14   IN FOCUS WITH STEPHANIE HAMILL SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP221
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 222 of 971

                                                                            2
        In Focus With Stephanie Hamill Segment - December 3, 2020


1                     (Recording begins.)
2                     PRESIDENT TRUMP:        President, I have no
3    higher duty than to defend the laws and the Constitution
4    of the United States.        That is why I am determined to
5    protect our election system, which is now under
6    coordinated assault and siege.           For months leading up to
7    the presidential election, we were warned that we should
8    not declare a premature victory.           We were told
9    repeatedly that it would take weeks, if not months, to
10   determine the winner, to count the absentee ballots and
11   to verify the results.
12                    My opponent was told to stay away from the
13   election.    Don't campaign.       We don't need you, we've got
14   it.   This election is done.         In fact, they were acting
15   like they already knew what the outcome was going to be.
16   They had it covered, and perhaps they did, very sadly
17   for our country.
18                    MS. HAMILL:      Hello, everyone.       I'm
19   Stephanie Hamill.       Welcome to In Focus.        President Trump
20   is pressing forward with his fight, contesting the
21   results of the 2020 presidential election.              In a
22   45-minute address to the nation, the president laid out
23   allegations of widespread voter fraud and voting
24   irregularities reported from coast to coast.               He's also
25   promising to present the evidence of mass fraud in




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP222
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 223 of 971

                                                                            3
        In Focus With Stephanie Hamill Segment - December 3, 2020


1    court.
2                     Meantime, in Michigan, President Trump's
3    attorney, former New York City mayor, Rudy Giuliani
4    testified before the Michigan House Oversight Committee.
5    He also called on several witnesses who gave their
6    personal accounts on what they experienced on election
7    night.   Keep in mind, these folks signed affidavits and
8    swore to the truth under the threat of penalty for
9    perjury.
10                    UNIDENTIFIED WITNESS 1:          Around 4:30 a.m.,
11   we had an announcement that a new shipment of ballots
12   were arriving.      Each box had approximate 600 ballots,
13   and it was like a full -- what you have to know is that
14   these tables -- there's about seven tables.              They were
15   ten-foot tables each.        Every table was full of boxes of
16   ballots.    It's not 10's of thousands or 20 thousands.                I
17   approximate 50,000 ballots were brought in.
18                    Now, were all of those ballots brought in
19   from the rear entrance of the TCF center?              I don't know.
20   They were brought in from the TCF center, but they
21   were -- there was a lot more than just the ones that
22   were brought in from the T- -- the rear entrance of the
23   TCF center.     And I'm talking this is the 6:00 a.m. --
24   this is when we're starting at 6:00 a.m., the 4:35 a.m.
25   It was 50,000 ballots on the table.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP223
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 224 of 971

                                                                             4
        In Focus With Stephanie Hamill Segment - December 3, 2020


1                     UNIDENTIFIED WITNESS 2:          I know for a fact
2    there was illegal activity going on there.              People have
3    pictures of people carrying ballots out of that place.
4    There is pictures of vans full of ballots coming out of
5    that place.
6                     UNIDENTIFIED WITNESS 3:          Lots of the time,
7    you will see a ballot has been already send to that
8    voter, but when they come to you, they -- they said, I
9    never requested a ballot.         I never received any ballot,
10   I never requested for a ballot, can I vote now?                I'm
11   here, I want to vote now.         I said, Of course, I mean, I
12   can spoil the ballot, then you can -- I can issue
13   another ballot and you can vote.
14                    So I have done that many times.            But for
15   the -- that was -- I was instructed to do like that.
16                    MS. HAMILL:      There are now hundreds of
17   affidavits sworn under pental [sic] -- penalty of
18   perjury detailing widespread voter fraud.              Those who get
19   their news from the mainstream media have no idea.
20                    Joining me now from Washington, D.C.,
21   president of Judicial Watch, Tom Fitton.              Tom, thanks
22   for joining us.      Tom, I find it really incredible.              I
23   mean, it's hard to even find these hearings live.                It's
24   like none of the networks even bothered to run these
25   hearings when there's so much damning information, and




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP224
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 225 of 971

                                                                            5
        In Focus With Stephanie Hamill Segment - December 3, 2020


1    these witnesses who are so brave to come forward,
2    explaining what they witnessed on election night.                And
3    One America News, basically, is one of the only networks
4    that even bothered to run these hearings live.
5                     MR. FITTON:      I mean, if Joe Biden were
6    pushing this angle, it would be floored, you know,
7    morning-to-night coverage, on all networks.              They'd have
8    a select committee out of Congress.            And as you point
9    out, this is information.         "The big media," as I call
10   it, doesn't want the American people to see, which is --
11   and I think the president is fundamentally right on
12   this.   We had this attack on clean elections through
13   this mail-in ballot scheme.          All this was foreseeable,
14   and they broke the rules, they broke the law, the
15   evidence suggests, in a way that puts the alleged result
16   that Joe Biden won these battleground states into --
17   into severe question.
18                    MS. HAMILL:      Yeah.    And so we're told over
19   and over again, the narrative is that there was no voter
20   fraud, nothing to see here.          In fact, we were told this
21   was, like, one of the safest elections ever, which is
22   kind of hard to believe.         But I don't know how much more
23   evidence that they want.         I mean, we have the
24   statistical evidence, we have the people who signed the
25   affidavits.     I mean, they could face a lot of trouble




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP225
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 226 of 971

                                                                            6
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   for lying.
 2                    And so these are just regular, everyday
 3   Americans who do have a lot to lose, and they know what
 4   happens to people who come forward and speak out,
 5   whether it's people in the Trump orbit or even some of
 6   the restaurants and business owners who speak out
 7   against COVID restrictions, they come and get shut down
 8   and their liquor license is taken.
 9                    MR. FITTON:     Well, that's a good point,
10   Steph.   They -- it -- it doesn't matter what the leftist
11   media narrative is.      If you're at a -- if you have a
12   dissenting point of view, if you have facts and
13   evidence, no matter how well-founded, they don't care.
14   They'll either ignore it, or in the case of big tech,
15   they'll suppress it and falsely label it and censor it.
16                    So this is a major -- this is a big hill
17   the president has to climb, even -- even with the powers
18   of the presidency and the platform he has.            Thankfully,
19   the State legislators and State legislatures at least
20   are investigating this, because they have an independent
21   Constitutional obligation to make sure these elections
22   were -- were good enough in terms of ascertaining what
23   the will of the state was in terms of the voters.
24                    And we don't have that assurance, certainly
25   not in these states like Pennsylvania, Michigan,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP226
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 227 of 971

                                                                            7
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   Wisconsin, et cetera.
 2                    MS. HAMILL:     Yeah.    I'm sure you've been
 3   keeping a close eye on these hearings.           They've been
 4   hours long for the past few days.          What has stood out to
 5   you the most?
 6                    MR. FITTON:     The -- the -- the kind of --
 7   it -- the -- the arrogance of the local machine
 8   politicians and officials who thought they could just do
 9   whatever they want and it didn't matter, because it
10   seemed to me they were used to doing whatever they want
11   because no one ever asked them questions before.
12                    And -- and thankfully, we've got concerned
13   citizen, con- -- people who were involved in the process
14   directly who didn't have an axe to grind one way or
15   another, who have come forward to say, This is a mess.
16   This was a mess.      And we can't be confident that these
17   ballots were handled appro- -- handled appropriately.
18                    MS. HAMILL:     Yeah.    President Trump, in his
19   45-minute speech, highlighted his concern for the
20   Dominion.    He was suggesting that maybe we should go
21   back to paper voting.       Is that something that you would
22   support?    Do you think that's a good idea?
23                    MR. FITTON:     Well, we've always had the
24   kind of hybrid mix between paper and machine counting,
25   and there's a difference between machine counting and




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP227
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 228 of 971

                                                                            8
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   having a -- a network computer election system that
 2   could be potentially suspect to nefarious activities,
 3   either internally or from external factors.             And I'm not
 4   at all confident that our election security is secure
 5   enough in terms of someone on the inside being able to
 6   manipulate the systems.
 7                    What I thi- -- thought was very interesting
 8   about the whole Hugo Chavez controversy is, it's pretty
 9   much clear, and this is based on mainstream reporting
10   before the election, that Chavez had manipulated the
11   election results using electronic computer systems,
12   name- -- namely, Smartmatic in Venezuela.            And it's a
13   fair question to ask whether those result -- whether
14   results using similar systems could be similarly
15   manipulated.
16                    It's not to say it happened, but we're not
17   even allowed to ask the question?          Of course, the left
18   had been asking the question, but now it's politically
19   inconvenient, so now we're not allowed to ask it.              It's
20   just unbelievable.
21                    MS. HAMILL:     Yeah, we played a video here
22   on the show yesterday of CNN asking questions about
23   Smartmatic and Dominion.        And then also, we had
24   democrats like Senator Elizabeth Warren, who was
25   questioning it before, other folks in the media, even




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP228
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 229 of 971

                                                                            9
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   comedians kind of making jokes about it before.              But now
 2   all of a sudden, you can't, like, ask about it.              They
 3   want to write you off as a conspiracy theorist.
 4   You're -- you're just not allowed to do it.
 5                    I wanted to get your thoughts on the -- the
 6   Stop the Steal rally in Georgia.          Some are
 7   questioning -- I don't know if you personally know Lin
 8   Wood, the Trump attorney.        Do -- some are questioning
 9   his motives, suggesting that he's, like, su- --
10   supported Democrats in the past, and they were upset
11   that he was calling on Republicans to not vote in the
12   Senate runoffs.
13                    MR. FITTON:     Look, I -- you know, I -- I'm
14   not getting involved in whether to vote for or against
15   any candidate as head of Judicial Watch.             People are
16   going to say what they're going to say.            My view is that
17   Georgia should fix its system, do its best to limit vote
18   by mail because we know it's more susceptible to fraud.
19   You're more likely to have your vote intercepted,
20   miscounted, thrown out.        And it's a bad policy.        And we
21   should have less of it rather than more of it.
22                    And I'm hoping that this new election in
23   January is an opportunity for election officials in
24   Georgia to clean it up a bit.         People should be
25   encouraged to vote in person.         Vote by mail is a menace




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP229
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 230 of 971

                                                                            10
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   to free and fair election.
 2                    MS. HAMILL:     Yeah.
 3                    MR. FITTON:     We're seeing that all over the
 4   country now.     The left knew that was the case, and we
 5   can't be confident that voter fraud is sufficiently kept
 6   out of the process when you vote by mail.            And anyone
 7   who tells you otherwise is lying about the expert
 8   opinion on vote by mail, because prior to it being
 9   politically convenient by the left, every election
10   expert knew vote by mail was more susceptible to fraud,
11   was virtually unchecked in terms of being able to figure
12   out who was voting and under what circumstances they
13   were voting.     It's an awful process that we should be --
14   we should throw it out the window.
15                    MS. HAMILL:     Yeah.    And just to be clear,
16   that was Breitbart who did the report on Lin Wood,
17   suggesting that he had voted for Democrats and donated
18   to their campaigns for decades.          I have not reached out
19   to Lin Wood, so I don't know what his voting past or
20   donation past is.
21                    MR. FITTON:     I mean, good.      You know, you
22   have people who vote for Democrats --
23                    MS. HAMILL:     Yeah.
24                    MR. FITTON:     -- and then vote for
25   Republicans.     I don't know.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP230
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 231 of 971

                                                                            11
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1                    MS. HAMILL:     Yeah.    Either way --
 2                    MR. FITTON:     I know --
 3                    MS. HAMILL:     -- I -- I see where he's
 4   coming from and his --
 5                    MR. FITTON:     I'm more concerned about his
 6   legal claims than his political outlook.
 7                    MS. HAMILL:     Yeah.    And I -- I see where
 8   he's coming from, is that in Georgia, they have to make
 9   sure that there is a free and fair election.             And there
10   was a lot of question on what happened on November 3rd
11   there.     And so they're suggesting that it needs to be
12   fixed -- not suggesting.        They're demanding it be fixed
13   before this next election.        And at the end of the day, I
14   just -- I don't think that Republicans should stay home.
15   Republicans need to go and vote, and all hands on deck
16   for this -- for these races.         It's so critical for our
17   country.
18                    MR. FITTON:     Well, certainly, it's going to
19   be very interesting to see what happens in the Senate
20   next year, no matter who becomes president on -- in
21   January of next year, because the left has a big agenda,
22   and they think they need the full Senate to -- or the --
23   if they have the full Senate, will be more easily
24   attainable.
25                    On the other hand, if President Trump




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP231
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 232 of 971

                                                                            12
        In Focus With Stephanie Hamill Segment - December 3, 2020


 1   remains the president, it -- it could change the
 2   equation quite dramatically, no matter what happens in
 3   the Senate.
 4                    MS. HAMILL:     Yeah.    I want to shift gears
 5   here really quickly and get your reaction to this.
 6   According to the AP, Barr appointed a special counsel on
 7   the Russia probe investigation.          Is this like a day late
 8   and a dollar short?
 9                    MR. FITTON:     I -- you know, I'm just so
10   disappointed with the way the Barr Justice Department
11   and Mr. Durham have handled these corruption
12   investigations.     I don't see any evidence he's
13   investigating anyone of a senior nature.            I'm -- I'm --
14   I'm happy to be proven wrong.         I guess this appointing
15   him as special counsel, to the degree it gives us
16   anything, it probably a- -- almost guarantees we'll get
17   a report.     But, you know, a report isn't going to put
18   anyone in jail.
19                    MS. HAMILL:     Yeah.    It's kind of weird,
20   like, a weird announcement.        And like I said, it's a
21   little bit late and --
22                    MR. FITTON:     Or he -- he announced it -- he
23   appointed him as special counsel in October.             And that
24   information's been withheld from the American people for
25   a month.    I mean, it's interesting how all these




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP232
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 233 of 971

                                                                            13
        In Focus With Stephanie Hamill Segment - December 3, 2020


1    decisions by the Justice Department tend to go one way.
2    And it is -- as it -- it isn't in favor of President
3    Trump's rights and full justice for the American people.
4                     MS. HAMILL:      Yeah.    It's certainly
5    unfortunate.     Well, Tom, we're going to leave it here.
6    Thank you.
7                     MR. FITTON:      You're welcome.       Thanks,
8    Steph.
9                     (Recording ends.)
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP233
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 234 of 971

                                                                            14
        In Focus With Stephanie Hamill Segment - December 3, 2020


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                    ~ ~<----~
                                  ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP234
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 235 of 971

                                                                                             15
   In Focus With Stephanie Hamill Segment - December 3, 2020

         A          attack 5:12         carrying 4:3        contesting 2:20    disappointed
a- 12:16            attainable 11:24    case 6:14 10:4      controversy 8:8      12:10
a.m 3:10,23,24      attorney 3:3 9:8    censor 6:15         convenient 10:9    dissenting 6:12
  3:24              awful 10:13         center 3:19,20,23   coordinated 2:6    doing 7:10
able 8:5 10:11      axe 7:14            Central 14:18       correct 14:4       dollar 12:8
above-entitled                          certainly 6:24      corruption 12:11   Dominion 7:20
                             B            11:18 13:4        counsel 12:6,15      8:23
  14:5
absentee 2:10       back 7:21           Certified 1:12        12:23 14:6       donated 10:17
accounts 3:6        bad 9:20              14:2,16           count 2:10         donation 10:20
acting 2:14         ballot 4:7,9,9,10   certify 14:3,6,11   counting 7:24,25   dramatically
action 14:8,10        4:12,13 5:13      cetera 7:1          country 2:17         12:2
activities 8:2      ballots 2:10 3:11   change 12:1           10:4 11:17       Durham 12:11
activity 4:2          3:12,16,17,18     Chavez 8:8,10       course 4:11 8:17   duty 2:3
address 2:22          3:25 4:3,4 7:17   circumstances       court 3:1
                    Barr 12:6,10          10:12             coverage 5:7             E
affidavits 3:7
  4:17 5:25         based 8:9           citizen 7:13        covered 2:16    E 14:1,1
agenda 11:21        basically 5:3       City 3:3            COVID 6:7       easily 11:23
allegations 2:23    battleground        claims 11:6         critical 11:16  either 6:14 8:3
alleged 5:15          5:16              clean 5:12 9:24                       11:1
                    begins 2:1          clear 8:9 10:15             D       election 2:5,7,13
allowed 8:17,19
  9:4               believe 5:22        climb 6:17          D.C 4:20          2:14,21 3:6 5:2
America 5:3         best 9:17           close 7:3           Dallas 14:19      8:1,4,10,11
American 5:10       Biden 5:5,16        CNN 8:22            damning 4:25      9:22,23 10:1,9
  12:24 13:3        big 5:9 6:14,16     coast 2:24,24       Davenport 14:17   11:9,13
Americans 6:3         11:21             come 4:8 5:1 6:4    day 11:13 12:7  elections 5:12,21
angle 5:6           bit 9:24 12:21        6:7 7:15          days 7:4          6:21
announced 12:22     bothered 4:24       comedians 9:1       decades 10:18   electronic 8:11
announcement          5:4               coming 4:4 11:4     DECEMBER        Elizabeth 8:24
  3:11 12:20        box 3:12              11:8                1:13          employed 14:7
AP 12:6             boxes 3:15          commission          decisions 13:1  encouraged 9:25
appointed 12:6      brave 5:1             14:20             deck 11:15      ends 13:9
  12:23             Breitbart 10:16     committee 3:4       declare 2:8     entrance 3:19,22
appointing 12:14    broke 5:14,14         5:8               defend 2:3      equation 12:2
appro- 7:17         brought 3:17,18     computer 8:1,11     degree 12:15    et 7:1
appropriately         3:20,22           con- 7:13           demanding 11:12 everyday 6:2
  7:17              business 6:6        concern 7:19        democrats 8:24  evidence 2:25
approximate                             concerned 7:12        9:10 10:17,22   5:15,23,24 6:13
                             C                              Department        12:12
  3:12,17                                 11:5
                    C 14:1,1            confident 7:16        12:10 13:1    experienced 3:6
arriving 3:12       call 5:9
arrogance 7:7                             8:4 10:5          detailing 4:18  expert 10:7,10
                    called 3:5          Congress 5:8        determine 2:10  expires 14:20
ascertaining 6:22   calling 9:11
asked 7:11                              conspiracy 9:3      determined 2:4  explaining 5:2
                    campaign 2:13       Constitution 2:3    Dickman 14:17   Expressway
asking 8:18,22      campaigns 10:18
assault 2:6                             Constitutional      difference 7:25   14:18
                    candidate 9:15        6:21              directly 7:14   external 8:3
assurance 6:24      care 6:13

                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                 800.445.9548
                                            APP235
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 236 of 971

                                                                                              16
   In Focus With Stephanie Hamill Segment - December 3, 2020

eye 7:3            gears 12:4          Hugo 8:8                     K            7:25
                   Georgia 9:6,17      hundreds 4:16      Keep 3:7              mail 9:18,25 10:6
         F           9:24 11:8         hybrid 7:24                               10:8,10
                                                          keeping 7:3
F 14:1             getting 9:14                           kept 10:5             mail-in 5:13
face 5:25          Giuliani 3:3                  I                              mainstream 4:19
                                                          kind 5:22 7:6,24
fact 2:14 4:1 5:20 gives 12:15         idea 4:19 7:22        9:1 12:19           8:9
factors 8:3        go 7:20 11:15       ignore 6:14        knew 2:15 10:4        major 6:16
facts 6:12           13:1              illegal 4:2           10:10              making 9:1
fair 8:13 10:1     going 2:15 4:2      inconvenient       know 3:13,19 4:1      manipulate 8:6
  11:9               9:16,16 11:18        8:19               5:6,22 6:3 9:7,7   manipulated
falsely 6:15         12:17 13:5        incredible 4:22       9:13,18 10:19       8:10,15
favor 13:2         good 6:9,22 7:22    independent 6:20      10:21,25 11:2      mass 2:25
fee 14:11            10:21             information 4:25      12:9,17            matter 6:10,13
fight 2:20         grind 7:14             5:9                                    7:9 11:20 12:2
figure 10:11       guarantees 12:16    information's                L            14:5
financially 14:9   guess 12:14            12:24           label 6:15            mayor 3:3
find 4:22,23                           inside 8:5         laid 2:22             mean 4:11,23 5:5
Firm 14:18                  H          instructed 4:15    late 12:7,21           5:23,25 10:21
Fitton 4:21 5:5    Hamill 1:14 2:18    intercepted 9:19 law 5:14                 12:25
  6:9 7:6,23 9:13    2:19 4:16 5:18    interested 14:10 laws 2:3                media 4:19 5:9
  10:3,21,24 11:2    7:2,18 8:21       interesting 8:7    leading 2:6            6:11 8:25
  11:5,18 12:9,22    10:2,15,23 11:1      11:19 12:25     leave 13:5            menace 9:25
  13:7               11:3,7 12:4,19    internally 8:3     left 8:17 10:4,9      mess 7:15,16
fix 9:17             13:4              investigating         11:21              Michigan 3:2,4
fixed 11:12,12     hand 11:25             6:20 12:13      leftist 6:10           6:25
floored 5:6        handled 7:17,17     investigation      legal 11:6            mind 3:7
Focus 1:14 2:19      12:11                12:7            legislators 6:19      miscounted 9:20
folks 3:7 8:25     hands 11:15         investigations     legislatures 6:19     mix 7:24
foregoing 14:3     happened 8:16          12:12           license 6:8           month 12:25
foreseeable 5:13     11:10             involved 7:13      limit 9:17            months 2:6,9
former 3:3         happens 6:4            9:14            Lin 9:7 10:16,19      morning-to-nig...
forward 2:20 5:1     11:19 12:2        irregularities     liquor 6:8             5:7
  6:4 7:15         happy 12:14            2:24            little 12:21          motives 9:9
fraud 2:23,25      hard 4:23 5:22      issue 4:12         live 4:23 5:4
  4:18 5:20 9:18 head 9:15                                local 7:7                     N
  10:5,10          hearings 4:23,25              J                              name- 8:12
                                                          long 7:4
free 10:1 11:9       5:4 7:3           jail 12:18         Look 9:13             narrative 5:19
full 3:13,15 4:4   Hello 2:18          January 9:23       lose 6:3               6:11
  11:22,23 13:3    higher 2:3             11:21           lot 3:21 5:25 6:3     nation 2:22
  14:12            highlighted 7:19    Joe 5:5,16            11:10              nature 12:13
fundamentally      hill 6:16           joining 4:20,22    Lots 4:6              need 2:13 11:15
  5:11             home 11:14          jokes 9:1          lying 6:1 10:7         11:22
further 14:6,9,11 hoping 9:22          Judicial 4:21                            needs 11:11
                   hours 7:4              9:15                     M            nefarious 8:2
         G         House 3:4           justice 12:10 13:1 machine 7:7,24        neither 14:6
Garcia 14:2,16                            13:3

                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                    800.445.9548
                                            APP236
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 237 of 971

                                                                                               17
   In Focus With Stephanie Hamill Segment - December 3, 2020

network 8:1          point 5:8 6:9,12    rally 9:6           select 5:8            9:9 10:17 11:11
networks 4:24        policy 9:20         reached 10:18       Senate 9:12           11:12
  5:3,7              political 11:6      reaction 12:5         11:19,22,23       suggests 5:15
never 4:9,9,10       politically 8:18    really 4:22 12:5      12:3              Suite 14:19
new 3:3,11 9:22       10:9               rear 3:19,22        Senator 8:24        support 7:22
news 4:19 5:3        politicians 7:8     received 4:9        send 4:7            supported 9:10
night 3:7 5:2        potentially 8:2     recording 2:1       senior 12:13        suppress 6:15
North 14:18          powers 6:17           13:9 14:4,8       seven 3:14          sure 6:21 7:2
November 11:10       premature 2:8       Registration        severe 5:17           11:9
                     present 2:25          14:18             shift 12:4          susceptible 9:18
         O           presidency 6:18     regular 6:2         shipment 3:11         10:10
obligation 6:21      president 2:2,2     related 14:7        short 12:8          suspect 8:2
October 12:23         2:19,22 3:2        remains 12:1        Shorthand 14:2      swore 3:8
officials 7:8 9:23    4:21 5:11 6:17     repeatedly 2:9        14:17             sworn 4:17
ones 3:21             7:18 11:20,25      report 10:16        show 8:22           system 2:5 8:1
opinion 10:8          12:1 13:2            12:17,17          shut 6:7              9:17
opponent 2:12        presidential 2:7    reported 2:24       sic 4:17            systems 8:6,11,14
opportunity 9:23      2:21               Reporter 14:2,17    siege 2:6
orbit 6:5            pressing 2:20       reporting 8:9       signed 3:7 5:24              T
outcome 2:15         pretty 8:8          Republicans 9:11    similar 8:14        T 14:1,1
  14:10              prior 10:8            10:25 11:14,15    similarly 8:14      T- 3:22
outlook 11:6         probably 12:16      requested 4:9,10    Smartmatic 8:12     table 3:15,25
Oversight 3:4        probe 12:7          restaurants 6:6       8:23              tables 3:14,14,15
owners 6:6           process 7:13 10:6   restrictions 6:7    speak 6:4,6         take 2:9
                      10:13              result 5:15 8:13    special 12:6,15     taken 6:8
        P                                                                        talking 3:23
                     promising 2:25      results 2:11,21       12:23
paid 14:12           protect 2:5           8:11,14           speech 7:19         TCF 3:19,20,23
paid/will 14:12      proven 12:14        right 5:11          spoil 4:12          tech 6:14
paper 7:21,24        pushing 5:6         rights 13:3         starting 3:24       tells 10:7
parties 14:7         put 12:17           Rudy 3:3            state 6:19,19,23    ten-foot 3:15
penalty 3:8 4:17     puts 5:15           rules 5:14            14:3              tend 13:1
Pennsylvania                             run 4:24 5:4        states 2:4 5:16     terms 6:22,23 8:5
  6:25                       Q           runoffs 9:12          6:25                10:11
pental 4:17          question 5:17       Russia 12:7         statistical 5:24    Terri 14:2,16
people 4:2,3 5:10     8:13,17,18                             stay 2:12 11:14     testified 3:4
  5:24 6:4,5 7:13     11:10                       S          Steal 9:6           Texas 14:3,16,19
  9:15,24 10:22      questioning 8:25    sadly 2:16          Steph 6:10 13:8     Thank 13:6
  12:24 13:3          9:7,8              safest 5:21         Stephanie 1:14      thankfully 6:18
perjury 3:9 4:18     questions 7:11      scheme 5:13           2:19                7:12
person 9:25           8:22               secure 8:4          stood 7:4           thanks 4:21 13:7
personal 3:6         quickly 12:5        security 8:4        Stop 9:6            theorist 9:3
personally 9:7       quite 12:2          see 4:7 5:10,20     su- 9:9             They'd 5:7
pictures 4:3,4                             11:3,7,19 12:12   sudden 9:2          thi- 8:7
place 4:3,5                 R            seeing 10:3                             think 5:11 7:22
                                                             sufficiently 10:5
platform 6:18        R 14:1              SEGMENT 1:14        suggesting 7:20       11:14,22
played 8:21          races 11:16

                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com                 800.445.9548
                                             APP237
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 238 of 971

                                                                                     18
   In Focus With Stephanie Hamill Segment - December 3, 2020

thought 7:8 8:7    voter 2:23 4:8,18           Y                  8
thoughts 9:5        5:19 10:5          Yeah 5:18 7:2,18    855-5100 14:20
thousands 3:16     voters 6:23           8:21 10:2,15,23
  3:16             voting 2:23 7:21      11:1,7 12:4,19
threat 3:8          10:12,13,19          13:4
throw 10:14                            year 11:20,21
thrown 9:20                W
                                       yesterday 8:22
time 4:6           want 4:11 5:10      York 3:3
times 4:14          5:23 7:9,10 9:3
told 2:8,12 5:18    12:4                       Z
  5:20             wanted 9:5
Tom 4:21,21,22     warned 2:7                  0
  13:5             Warren 8:24
                   Washington 4:20              1
transcribed 14:8
transcription      Watch 4:21 9:15     1 3:10
  1:12 14:4,11     way 5:15 7:14       10's 3:16
trouble 5:25        11:1 12:10 13:1    101 14:19
Trump 2:2,19 6:5   we'll 12:16
                                               2
  7:18 9:8 11:25   we're 3:24 5:18
                    8:16,19 10:3       2 4:1
Trump's 3:2 13:3
                    13:5               20 3:16
truth 3:8
                   we've 2:13 7:12     2020 1:13 2:21
        U           7:23               214 14:20
unbelievable       weeks 2:9                    3
 8:20              weird 12:19,20
                                       3 1:13 4:6
unchecked 10:11    welcome 2:19
                                       312 14:18
unfortunate 13:5    13:7
                                       3rd 11:10
UNIDENTIFI...      well-founded
 3:10 4:1,6         6:13                       4
United 2:4         widespread 2:23     4:30 3:10
upset 9:10          4:18               4:35 3:24
                   window 10:14        4228 14:18
         V         winner 2:10         45-minute 2:22
vans 4:4           Wisconsin 7:1         7:19
Venezuela 8:12     withheld 12:24
verify 2:11        WITNESS 3:10                5
victory 2:8         4:1,6              50,000 3:17,25
video 8:21 14:4    witnessed 5:2
view 6:12 9:16     witnesses 3:5 5:1           6
virtually 10:11    won 5:16            6:00 3:23,24
vote 4:10,11,13    Wood 9:8 10:16      600 3:12
  9:11,14,17,19     10:19              6581 14:17
  9:25,25 10:6,8   write 9:3
  10:10,22,24      wrong 12:14                 7
  11:15                                7-31-25 14:20
voted 10:17                X           75206 14:19

                                Dickman Davenport, Inc
      214.855.5100             www.dickmandavenport.com               800.445.9548
                                           APP238
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 239 of 971




      Exhibit A-14




                             APP239
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 240 of 971

                                                                                 1
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12             CERTIFIED TRANSCRIPTION OF
13                    DECEMBER 7, 2020
14   TIPPING POINT WITH KARA MCKINNEY SEGMENT
15

16

17

18

19

20

21

22

23

24

25




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                     APP240
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 241 of 971

                                                                                 2
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



1                       (Recording begins.)
2                       MS. MCKINNEY:         Do you believe in
3    coincidences?       What if I told you that George Soros is
4    appointing the chairman of the company that owns
5    Smartmatic voting software to be the new president of
6    his Open Society Foundation?              Aside from the alleged
7    connection between Dominion and Smartmatic, the move
8    also clears the way for the current Open Society
9    Foundation's president, Patrick Gaspard, to join a
10   potential Biden Administration as labor secretary.
11                      Funny how that all seems to neatly tie
12   together after an election rife with fraud and other
13   irregularities.           With me now to discuss is Michael
14   Johns, the cofounder and leader of the National Tea
15   Party Movement.           Welcome back, Michael.
16                      MR. JOHNS:        Kara, good to be with you,
17   thanks.
18                      MS. MCKINNEY:         Great.        So we have the
19   Smartmatic chairman moving to the Open Society
20   Foundation and the current head of the Soros Foundation
21   may be eyeing a spot in Biden's potential
22   administration.           What do you make of this reshuffling?
23                      MR. JOHNS:        Look, I think we have to look
24   at the Dominion and Smartmatic issues as almost a
25   national crisis.          We have evidence that is both




                                  Dickman Davenport, Inc
                214.855.5100     www.dickmandavenport.com     800.445.9548

                                      APP241
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 242 of 971

                                                                                 3
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



1    suggestive and some that is indisputable.                  Affidavits
2    that have been signed as it relates to the -- the
3    technology and its vulnerability, all sorts of it
4    enormously troubling international ties.                 And the
5    dealer, you know we begin to look into this, the more
6    that's being revealed that's hugely suggestive of its
7    vulne- -- both the technical vulnerabilities and also of
8    the issue of -- of its ownership status, which I think
9    is a predominant consideration right now with the
10   $400 million put into the holding company of -- of
11   Dominion by a Chinese communist party and other
12   officials.
13                      I mean, so it -- this is like literally
14   the -- the definition of what you would not want to see
15   in American voting system.            And yet, apparently, which
16   is troubling to me, we had 28 states in 2,000
17   jurisdictions in this country who looked at all of the
18   available options and mysteriously concluded that this
19   system was the best option available to them, when there
20   was abundant information available, including multiple
21   reports issued by the state of Texas, regarding the --
22   its susceptibility to manipulation and remote and
23   in-person vote manipulation.             Why --
24                      So -- so the question right now, I think,
25   and the challenge right now is where -- you know, what




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                     APP242
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 243 of 971

                                                                                 4
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



1    were the considerations that went into the acquisition
2    of this equipment?         And I'm saying that simultaneously
3    to, obviously, all the legal challenges, because it does
4    appear to be that there -- those are credible.
5                       But also, what were the -- how would
6    they -- how do we get 2,000 individual jurisdictional
7    decisions to utilize this -- this notoriously flawed and
8    troublingly affiliated company for the purposes of the
9    most important thing our -- in our -- in our freedom,
10   which is our -- our vote.
11                      MS. MCKINNEY:       And a lot of people are
12   wondering, where are Republicans?               Is there a crisis in
13   leadership here, almost, that we're only hearing about
14   this now after the election, you know, weeks after the
15   election?      Shouldn't we have been worrying about
16   Dominion and addressing the issue before the election,
17   before November 3rd?
18                      MR. JOHNS:      I think this is a real big
19   distinction between, say, how a private sector entity
20   might function and how American politics functioned, in
21   that we get into this really dangerous habit of just
22   somehow apologizing, excusing and constantly pointing
23   the finger at the other side.
24                      And clearly, let's acknowledge, it was --
25   you know, there's acts of criminality, alleged




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                     APP243
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 244 of 971

                                                                                 5
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



 1   criminality here that are enormously troubling.                  But
 2   we're not victims and we can't present ourselves as
 3   victims.     The position has to be that the Republican
 4   Party took in $1.4 billion.           I'm not even talking about
 5   the Trump Campaign.         I'm talking about the Republican
 6   Party, the GOP, the RNC and its two House and Senate
 7   equivalents have $1.4 billion.
 8                     Where was the leadership of the Republican
 9   National Committee while these decisions were being made
10   to acquire this enormously troubling and foreign-owned
11   technology?      It seems to me they could not find, you
12   know, a handful of competent employees to be monitoring
13   these issues?       Because, like, once you have that part of
14   the campaign structure flawed, as we clearly did in
15   2020, you know, literally, everything else doesn't
16   matter.     The messaging doesn't matter, the advertising
17   doesn't matter, the campaign brochures don't matter, the
18   candidates themselves don't matter, what they say
19   doesn't matter.
20                     And it seems to -- I -- I think we've had a
21   failure of leadership of the Republican Party.                 This
22   won't be the first time.          I'm sort of out front leading
23   on these issues, but that's kind of what I think is
24   needed in this political moment, and that is to say, we
25   need accountability and we were failed by the Republican




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                     APP244
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 245 of 971

                                                                                 6
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



1    Party on this.        And no one's asking them the tough
2    questions of where they've been while all of these
3    things were happening.
4                       MS. MCKINNEY:         And before I let you go,
5    what does re- -- accountability for the Republican Party
6    look like to you?
7                       MR. JOHNS:        Well, I think it -- you know,
8    you look at the par- -- firstly, my advice to anyone on
9    an- -- you know, in any party, but I mean, is, you can
10   fix your party.           It's one of the easiest things to do.
11   Get involved in your party in the local level.
12   Ultimately -- I've been a Republican since age of 18,
13   college, Republicans, all the way back by there.
14                      We define what this party is and what it
15   isn't.     We control the -- what -- what the local
16   governance is, what the state government is and
17   ultimately what the -- the national governance is.                     So
18   if you're like me and you're looking at this and you see
19   a clear deficiency of leadership, you see a loss of --
20   of the house in 2018, you see a -- a possible loss of
21   the presidency in 2020.            And on top of all that, the
22   fact that nobody was watching the store while these were
23   put into place, I think you have to question whether we
24   were really being well-served by that current
25   leadership.




                                  Dickman Davenport, Inc
                214.855.5100     www.dickmandavenport.com   800.445.9548

                                      APP245
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 246 of 971

                                                                                 7
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



 1                     They've had an abundant amount of resources
 2   and they've been funded by all of us.                And I think, you
 3   know, it's a -- it's a good time to stand up, and -- and
 4   I hope that we will have, at least for the head of the
 5   Republican National Committee, a contentious -- a range
 6   of options and a debate over these issues, because I
 7   don't see how you look at this current leadership and
 8   feel too confident about the way they've taken things.
 9                     MS. MCKINNEY:       Bring up -- you raise a lot
10   of valid questions here, Michael John [sic].                 Thank you
11   for joining us tonight.
12                     MR. JOHNS:      Thank you, Kara.
13                     (Recording ends.)
14

15

16

17

18

19

20

21

22

23

24

25




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com    800.445.9548

                                     APP246
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 247 of 971

                                                                                 8
     Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020



1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                  ________________________________
                                    Terri Garcia, Texas Certified
17                                  Shorthand Reporter No. 6581
                                    Dickman Davenport, Inc.
18                                  Firm Registration No. #312
                                    4228 North Central Expressway
19                                  Suite 101
                                    Dallas, Texas 75206
20                                  (214) 855-5100
                                    My commission expires: 7-31-25
21
22
23
24
25




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                     APP247
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 248 of 971

                                                                                                 9
 Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020


         A                 C            Dallas 8:19          Firm 8:18          in-person 3:23
above-entitled      C 8:1,1             dangerous 4:21       first 5:22         including 3:20
  8:5               campaign 5:5,14     Davenport 8:17       firstly 6:8        indisputable 3:1
abundant 3:20         5:17              dealer 3:5           fix 6:10           individual 4:6
  7:1               candidates 5:18     debate 7:6           flawed 4:7 5:14    information 3:20
accountability      Central 8:18        DECEMBER             foregoing 8:3      interested 8:10
  5:25 6:5          Certified 1:12        1:13               foreign-owned      international 3:4
acknowledge           8:2,16            decisions 4:7 5:9      5:10             involved 6:11
  4:24              certify 8:3,6,11    deficiency 6:19      Foundation 2:6     irregularities
acquire 5:10        chairman 2:4,19     define 6:14            2:20,20            2:13
acquisition 4:1     challenge 3:25      definition 3:14      Foundation's 2:9   issue 3:8 4:16
action 8:8,10       challenges 4:3      Dickman 8:17         fraud 2:12         issued 3:21
acts 4:25           Chinese 3:11        discuss 2:13         freedom 4:9        issues 2:24 5:13
addressing 4:16     clear 6:19          distinction 4:19     front 5:22           5:23 7:6
administration      clearly 4:24 5:14   Dominion 2:7,24      full 8:12
                                          3:11 4:16          function 4:20               J
  2:10,22           clears 2:8
advertising 5:16    cofounder 2:14                           functioned 4:20    John 7:10
                                                E            funded 7:2         Johns 2:14,16,23
advice 6:8          coincidences 2:3
Affidavits 3:1      college 6:13        E 8:1,1              Funny 2:11           4:18 6:7 7:12
affiliated 4:8      commission 8:20     easiest 6:10         further 8:6,9,11   join 2:9
age 6:12            Committee 5:9       election 2:12 4:14                      joining 7:11
                                          4:15,16                   G           jurisdictional 4:6
alleged 2:6 4:25      7:5
American 3:15       communist 3:11      employed 8:7         Garcia 8:2,16      jurisdictions 3:17
  4:20              company 2:4         employees 5:12       Gaspard 2:9
                                        ends 7:13            George 2:3                 K
amount 7:1            3:10 4:8                                                  Kara 1:14 2:16
an- 6:9             competent 5:12      enormously 3:4       go 6:4
                                          5:1,10             good 2:16 7:3        7:12
apologizing 4:22    concluded 3:18                                              kind 5:23
apparently 3:15     confident 7:8       entity 4:19          GOP 5:6
                                        equipment 4:2        governance 6:16    know 3:5,25 4:14
appear 4:4          connection 2:7                                                4:25 5:12,15
appointing 2:4      consideration 3:9   equivalents 5:7       6:17
                                        evidence 2:25        government 6:16      6:7,9 7:3
Aside 2:6           considerations
asking 6:1            4:1               excusing 4:22        Great 2:18
                                                                                          L
available 3:18,19   constantly 4:22     expires 8:20
                                        Expressway 8:18              H          labor 2:10
  3:20              contentious 7:5                          habit 4:21         leader 2:14
                    control 6:15        eyeing 2:21
                                                             handful 5:12       leadership 4:13
         B          correct 8:4                 F            happening 6:3         5:8,21 6:19,25
back 2:15 6:13      counsel 8:6                                                    7:7
begins 2:1                              F 8:1                head 2:20 7:4
                    country 3:17        fact 6:22            hearing 4:13       leading 5:22
believe 2:2         credible 4:4                                                legal 4:3
best 3:19                               failed 5:25          holding 3:10
                    criminality 4:25    failure 5:21         hope 7:4           let's 4:24
Biden 2:10            5:1                                                       level 6:11
Biden's 2:21                            fee 8:11             house 5:6 6:20
                    crisis 2:25 4:12    feel 7:8             hugely 3:6         literally 3:13 5:15
big 4:18            current 2:8,20                                              local 6:11,15
billion 5:4,7                           financially 8:9
                      6:24 7:7          find 5:11                   I           look 2:23,23 3:5
Bring 7:9                                                    important 4:9         6:6,8 7:7
brochures 5:17             D            finger 4:23


                                  Dickman Davenport, Inc
                 214.855.5100    www.dickmandavenport.com           800.445.9548

                                            APP248
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 249 of 971

                                                                                                10
 Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020


looked 3:17         option 3:19        recording 2:1       states 3:16         ultimately 6:12
looking 6:18        options 3:18 7:6     7:13 8:4,8        status 3:8            6:17
loss 6:19,20        outcome 8:10       regarding 3:21      store 6:22          utilize 4:7
lot 4:11 7:9        ownership 3:8      Registration 8:18   structure 5:14
                    owns 2:4           related 8:7         suggestive 3:1,6            V
        M                              relates 3:2         Suite 8:19          valid 7:10
manipulation                 P         remote 3:22         susceptibility      victims 5:2,3
 3:22,23            paid 8:12          Reporter 8:2,17       3:22              video 8:4
matter 5:16,16      paid/will 8:12     reports 3:21        system 3:15,19      vote 3:23 4:10
 5:17,17,18,19      par- 6:8           Republican 5:3,5                        voting 2:5 3:15
 8:5                part 5:13            5:8,21,25 6:5             T           vulne- 3:7
MCKINNEY            parties 8:7          6:12 7:5          T 8:1,1             vulnerabilities
 1:14 2:2,18        party 2:15 3:11    Republicans 4:12    taken 7:8             3:7
 4:11 6:4 7:9         5:4,6,21 6:1,5,9   6:13              talking 5:4,5       vulnerability 3:3
mean 3:13 6:9         6:10,11,14       reshuffling 2:22    Tea 2:14
messaging 5:16      Patrick 2:9                            technical 3:7               W
                                       resources 7:1
Michael 2:13,15     people 4:11        revealed 3:6        technology 3:3      want 3:14
 7:10               place 6:23         rife 2:12             5:11              watching 6:22
million 3:10        POINT 1:14         right 3:9,24,25     Terri 8:2,16        way 2:8 6:13 7:8
moment 5:24         pointing 4:22      RNC 5:6             Texas 3:21 8:3,16   we're 4:13 5:2
monitoring 5:12     political 5:24                           8:19              we've 5:20
move 2:7            politics 4:20               S          Thank 7:10,12       weeks 4:14
Movement 2:15       position 5:3       saying 4:2          thanks 2:17         Welcome 2:15
moving 2:19         possible 6:20      secretary 2:10      thing 4:9           well-served 6:24
multiple 3:20       potential 2:10,21 sector 4:19          things 6:3,10 7:8   went 4:1
mysteriously        predominant 3:9 see 3:14 6:18,19       think 2:23 3:8,24   wondering 4:12
 3:18               present 5:2          6:20 7:7            4:18 5:20,23      worrying 4:15
                    presidency 6:21    SEGMENT 1:14          6:7,23 7:2
        N                                                                              X
                    president 2:5,9    Senate 5:6          tie 2:11
national 2:14,25    private 4:19       Shorthand 8:2,17    ties 3:4                    Y
 5:9 6:17 7:5       purposes 4:8       sic 7:10            time 5:22 7:3
neatly 2:11         put 3:10 6:23      side 4:23           TIPPING 1:14                Z
need 5:25                              signed 3:2          told 2:3
needed 5:24                  Q         simultaneously      tonight 7:11                0
neither 8:6         question 3:24        4:2               top 6:21
new 2:5               6:23             Smartmatic 2:5,7    tough 6:1                    1
North 8:18          questions 6:2        2:19,24           transcribed 8:8     1.4 5:4,7
notoriously 4:7       7:10             Society 2:6,8,19    transcription       101 8:19
November 4:17                          software 2:5          1:12 8:4,11       18 6:12
                             R
                                       Soros 2:3,20        troubling 3:4,16
         O          R 8:1                                                              2
                                       sort 5:22             5:1,10
obviously 4:3       raise 7:9          sorts 3:3           troublingly 4:8     2,000 3:16 4:6
officials 3:12      range 7:5          spot 2:21           Trump 5:5           2018 6:20
once 5:13           re- 6:5            stand 7:3           two 5:6             2020 1:13 5:15
one's 6:1           real 4:18          state 3:21 6:16                           6:21
Open 2:6,8,19       really 4:21 6:24     8:3                       U           214 8:20


                                  Dickman Davenport, Inc
                 214.855.5100    www.dickmandavenport.com         800.445.9548

                                           APP249
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 250 of 971

                                                                             11
 Tipping Point With Kara McKinney Segment (December_7_2020) - December 7, 2020


28 3:16
        3
312 8:18
3rd 4:17
        4
400 3:10
4228 8:18
          5

        6
6581 8:17
        7
7 1:13
7-31-25 8:20
75206 8:19
       8
855-5100 8:20




                                Dickman Davenport, Inc
                214.855.5100   www.dickmandavenport.com   800.445.9548

                                       APP250
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 251 of 971




      Exhibit A-15




                             APP251
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 252 of 971

                                                                            1
          Real America with Dan Ball Segment - February 5, 2021


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11     CERTIFIED TRANSCRIPTION OF
12   FEBRUARY 5, 2021 REAL AMERICA
13       WITH DAN BALL SEGMENT
14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP252
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 253 of 971

                                                                             2
          Real America with Dan Ball Segment - February 5, 2021


1                    (Recording begins.)
2                    MR. BALL:   So joining me now, the CEO of My
3    Pillow, Mike Lindell, to wrap our show up today.        Mike, we're
4    going to be airing this Absolute Proof two-hour documentary.
5    It just aired before this program, it's going to air all
6    weekend long.   You paid for this.
7                    These aren't the views we're expressing on this
8    network, but my opinion is, my personal one's, Dan Ball, the
9    host, because I can have an opinion, it's called free speech,
10   is that, yeah, there was election and voter fraud.        The major
11   network's even said there was, they just said "not enough to
12   overturn it."
13                   But that's the question.     We don't know if
14   there's enough because they've never let us investigate and see
15   the servers and see the machines and see the ballots and the
16   envelopes.   So tell folks if they didn't view it yet what
17   they're going to see in this two-hour documentary that you
18   produced.
19                   MR. LINDELL:    What they're going to see is
20   something they've never heard before and never seen, and that's
21   cyber forensics footprints, they're going to -- they're going
22   to see in there which country it came from, the ID of the
23   computer, the IP address where it came over here.        They have IP
24   address of their computer it broke into here, the actual ID
25   number of the computer, and then how many votes were flipped,




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP253
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 254 of 971

                                                                            3
          Real America with Dan Ball Segment - February 5, 2021


1    whether they got in or not.
2                    It's a cyber footprint.      It's what the
3    government uses when they -- if you did an investigation, this
4    is what you'd be looking for for that night.       We have them from
5    November 1st all the way through the election.       It shows the --
6    a massive attack on our country by China and other countries.
7    China did 60 percent of this.      It was all done through Dominion
8    machines and -- and Smartmatic machines.       That was the tool
9    they used.
10                   And you know, you said it before there right at
11   the top of the show here, since I launched this today, YouTube
12   took it down, Vimeo took it down.       Google put out this story --
13   this -- this hog story about inventing a pillow or some- -- or
14   coming up with a pill to suppress all the -- if you search my
15   Lindell reco- -- or MichaelJLindell.com where we put up the
16   site, what they do is they push that down so you don't see it.
17                   MR. BALL:     Uh-huh.
18                   MR. LINDELL:     But I just bought their a- -- I
19   just bought their AdWords.      I mean, we're putting new stuff up.
20   You can't suppress it.      10 million people so far have watched
21   this documentary around the world.       They're telling me off --
22   over in Australia and stuff, they're even trying to take it
23   down there.   What?   That's kind of strange, huh?
24                   MR. BALL:     Yeah.
25                   MR. LINDELL:     You know, but you -- you watch




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                   APP254
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 255 of 971

                                                                                 4
             Real America with Dan Ball Segment - February 5, 2021


1    this and you will -- by the -- you watch this, you will see --
2    you will see the experts that were there, the government
3    insiders that were there, generals, colonels, these guys are
4    all there.     These were -- this evidence came out very late.         It
5    ca- -- I got a -- I just got it January 9th.       You know,
6    January 9th.     That's why they're going, Well, why did this come
7    out late?     Because we all know the election was stole, it's
8    just that they kept this down.
9                      And boy, you mention a machine, it's like, what?
10   And I've told Dominion, sue me.      You know, now it's too late.
11   Everybody knows about it now.
12                     MR. BALL:   Well, yeah.   They just sued Fox
13   for -- Fox and some of their hosts, like, that do what I do,
14   talk shows, for 2.7 billion yesterday --
15                     MR. LINDELL:   Yeah.
16                     MR. BALL:   -- coming from Smartmatic, right, and
17   Dominion --
18                     MR. LINDELL:   Right.
19                     MR. BALL:   -- because they're -- they're pissed
20   off.
21                     MR. LINDELL:   Yeah, yeah.   No, no, no.     That's
22   fake.    What -- that's fake.    I guarantee you they didn't sue
23   them.    That's all smoke and mirror.     That's to scare other
24   people not to talk about Dominion and Smartmatic.
25                     MR. BALL:   Uh-huh.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com     800.445.9548

                                   APP255
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 256 of 971

                                                                               5
          Real America with Dan Ball Segment - February 5, 2021


1                      MR. LINDELL:     Did you see the lawsuit?      Did
2    anybody see it?     You know, everybody that I've -- Dominion
3    hasn't sued me.     They go, Oh, Mike, they're suing you.        No,
4    they don't.   Yesterday, Dominion, they sent me a letter and it
5    said, Now, if you're going to have these people in your
6    documentary, these have all been discredited.          Not one person
7    is in my documentary that was on that list.
8                      So anybody out there, this is real evidence, 100
9    percent proof.     I wouldn't be doing all this if I -- if I
10   thought it wasn't 100 percent.          It's 100 percent.
11                     MR. BALL:     Yeah.
12                     MR. LINDELL:     Just go watch the -- watch it on
13   your show, watch it on OAN.        You know what --
14                     MR. BALL:     So Mike, all we did too -- and we --
15   we ran a promo today, just saying it was going to be on our
16   air, and they -- they suspended our Twitter account for 12
17   hours.   I think it's back up now, but it -- down for 12 hours
18   just because we put a ad saying that you bought time, you're
19   running this documentary, it's all you, and we put it on
20   Twitter and, bang, we got suspended, and they said because it
21   could incite violence.        That was their excuse, we could incite
22   violence.
23                     MR. LINDELL:     Right.    Right.
24                     MR. BALL:     I gotta end with this.      You briefly
25   touched on it right there.        David Hogg, I'm not going to say




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                     APP256
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 257 of 971

                                                                                     6
          Real America with Dan Ball Segment - February 5, 2021


1    anything about this young man that is negative because he was
2    at the school when the shooting happened in Parkland.             But he
3    has become a big activist, a big antigun guy.             There's a
4    picture of him.     And you just mentioned it.          He now, all of a
5    sudden yesterday, said he's going to start a pillow company to
6    combat your pillow company --
7                      MR. LINDELL:     Now, guys -- guys -- no.       Don't
8    even give him airtime.        That's not him.    They're doing this to
9    suppress the truth about the election --
10                     MR. BALL:     Right.
11                     MR. LINDELL:     -- fraud.
12                     MR. BALL:     That's what I wanted you to get out
13   there, that it's fake.
14                     MR. LINDELL:     They're doing it -- they're
15   doing -- it's fake.     He's not doing that.          I'm not even giving
16   it time.     I haven't even responded.       Nobody should.     It's fake.
17   He's -- that's just so they push down the big story is, guess
18   what, 100 percent we have the election fraud.             Watch my --
19   watch my video, watch my documentary and you too will go, what?
20   And what -- what are people going to do about it because this
21   is -- you -- there's no statute of limitations on something
22   about a crime against humanity.          That's what this was.        The
23   whole world's watching.
24                     MR. BALL:     Yep.     All right.    It is Absolute
25   Proof.     It's going to air several times on OAN Network.             Again,




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com           800.445.9548

                                     APP257
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 258 of 971

                                                                              7
          Real America with Dan Ball Segment - February 5, 2021


1    Mike Lindell produced it solely, put it out there.        And like I
2    said, Mike, the reason I invited you on, I'm not going to read
3    some statement like Newsmax did or get up and walk off because
4    I don't agree with you, because that's a bunch of crap.         If you
5    can't stand the heat, get out of the kitchen, Mr. Sellers.
6                    MR. LINDELL:    Right.
7                    MR. BALL:    I commend you for pushing forward
8    and -- with your right to free speech.      So I want to watch this
9    weekend and we'll chat next week as well.       Mike, you take care
10   and have a good weekend.    Okay?
11                   MR. LINDELL:    Yeah.    Thank you.    Thanks, guys.
12   God bless.   Thanks.
13                   (Recording ends.)
14

15

16

17

18

19

20

21

22

23

24

25




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP258
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 259 of 971

                                                                            8
          Real America with Dan Ball Segment - February 5, 2021


 1                          C E R T I F I C A T E
 2       I, TERRI GARCIA, Certified Shorthand Reporter in and for
 3   the State of Texas, certify that the foregoing is a correct
 4   transcription from the video recording of the the
 5   above-entitled matter.
 6       I further certify that I am neither counsel for, related
 7   to, nor employed by any of the parties to the action in which
 8   this recording was transcribed, and further that I am not
 9   financially or otherwise interested in the outcome of the
10   action.
11       I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14

15

16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas     75206
20                               (214) 855-5100
                                 My commission expires:       7-31-25
21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com         800.445.9548

                                  APP259
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 260 of 971

                                                                                              9
      Real America with Dan Ball Segment - February 5, 2021

          A       ca- 4:5               4:7 6:9,18         5:15,25 6:5,20      5:2,13
a- 3:18           called 2:9          employed 8:7         6:25 7:2           knows 4:11
above-entitled    care 7:9            ends 7:13           good 7:10
                  Central 8:18        envelopes 2:16      Google 3:12                   L
  8:5
Absolute 2:4 6:24 CEO 2:2             everybody 4:11      gotta 5:24          late 4:4,7,10
account 5:16      Certified 1:11        5:2               government 3:3      launched 3:11
action 8:7,10       8:2,16            evidence 4:4 5:8     4:2                lawsuit 5:1
activist 6:3      certify 8:3,6,11    excuse 5:21         guarantee 4:22      letter 5:4
actual 2:24       chat  7:9           experts 4:2         guess 6:17          limitations 6:21
ad 5:18           China 3:6,7         expires 8:20        guy 6:3             Lindell 2:3,19
address 2:23,24   colonels 4:3        expressing 2:7      guys 4:3 6:7,7         3:15,18,25 4:15
AdWords 3:19      combat 6:6          Expressway 8:18      7:11                  4:18,21 5:1,12
agree 7:4         come 4:6                                                       5:23 6:7,11,14
                                              F                    H             7:1,6,11
air 2:5 5:16 6:25 coming 3:14 4:16
aired 2:5         commend 7:7         F 8:1               happened 6:2        list 5:7
airing 2:4        commission 8:20     fake 4:22,22 6:13   heard 2:20          long 2:6
airtime 6:8       company 6:5,6          6:15,16          heat 7:5            looking 3:4
AMERICA 1:12 computer 2:23            far 3:20            hog 3:13
                                      FEBRUARY            Hogg 5:25                   M
antigun 6:3         2:24,25
                  correct  8:3           1:12             host 2:9            machine 4:9
anybody 5:2,8                                                                 machines 2:15
attack 3:6        counsel 8:6         fee 8:11            hosts 4:13
                  countries 3:6       financially 8:9     hours 5:17,17        3:8,8
Australia 3:22                                                                major 2:10
                  country 2:22 3:6    Firm 8:18           huh 3:23
         B        crap 7:4            flipped 2:25        humanity 6:22       man 6:1
back 5:17         crime 6:22          folks 2:16                              massive 3:6
                                      footprint 3:2                I          matter 8:5
Ball 1:13 2:2,8   cyber 2:21 3:2
  3:17,24 4:12,16                     footprints 2:21     ID 2:22,24          mean 3:19
  4:19,25 5:11,14          D          foregoing 8:3       incite 5:21,21      mention 4:9
  5:24 6:10,12,24 Dallas 8:19         forensics 2:21      insiders 4:3        mentioned 6:4
  7:7             Dan 1:13 2:8        forward 7:7         interested 8:9      MichaelJLinde...
ballots 2:15      Davenport 8:17      Fox 4:12,13         inventing 3:13       3:15
bang 5:20         David 5:25          fraud 2:10 6:11     investigate 2:14    Mike 2:3,3 5:3,14
begins 2:1        Dickman 8:17           6:18             investigation 3:3    7:1,2,9
big 6:3,3,17      discredited 5:6     free 2:9 7:8        invited 7:2         million 3:20
billion 4:14      documentary 2:4     full 8:12           IP 2:23,23          mirror 4:23
bless 7:12          2:17 3:21 5:6,7   further 8:6,8,11
                                                                  J                   N
bought 3:18,19      5:19 6:19
                  doing  5:9 6:8,14            G          January 4:5,6       negative 6:1
  5:18                                                    joining 2:2         neither 8:6
boy 4:9             6:15,15           Garcia 8:2,16
                  Dominion 3:7        generals 4:3                            network 2:8 6:25
briefly 5:24                                                      K           network's 2:11
broke 2:24          4:10,17,24 5:2    give 6:8
                                      giving 6:15         kept 4:8            never 2:14,20,20
bunch 7:4           5:4                                   kind 3:23
                                      go 5:3,12 6:19                          new 3:19
                          E           God 7:12            kitchen 7:5         Newsmax 7:3
          C
                  E 8:1,1             going 2:4,5,17,19   know 2:13 3:10      night 3:4
C 8:1,1                                                     3:25 4:5,7,10
                  election 2:10 3:5     2:21,21 4:6 5:5                       North 8:18

                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                800.445.9548
                                          APP260
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 261 of 971

                                                                                             10
      Real America with Dan Ball Segment - February 5, 2021

November 3:5       read 7:2            stole 4:7          uses 3:3                    0
number 2:25        real 1:12 5:8       story 3:12,13
                   reason 7:2            6:17                     V                   1
        O          reco- 3:15          strange 3:23       video 6:19 8:4     10 3:20
OAN 5:13 6:25      recording 2:1       stuff 3:19,22      view 2:16          100 5:8,10,10
Oh 5:3               7:13 8:4,8        sudden 6:5         views 2:7            6:18
Okay 7:10          Registration 8:18   sue 4:10,22        Vimeo 3:12         101 8:19
one's 2:8          related 8:6         sued 4:12 5:3      violence 5:21,22   12 5:16,17
opinion 2:8,9      Reporter 8:2,17     suing 5:3          voter 2:10         1st 3:5
outcome 8:9        responded 6:16      Suite 8:19         votes 2:25
overturn 2:12      right 3:10 4:16     suppress 3:14,20                               2
                                                                  W          2.7 4:14
                     4:18 5:23,23,25     6:9
          P                                               walk 7:3           2021 1:12
                     6:10,24 7:6,8     suspended 5:16
paid 2:6 8:12      running 5:19          5:20             want 7:8           214 8:20
paid/will 8:12                                            wanted 6:12
Parkland 6:2                S                 T           wasn't 5:10                3
parties 8:7        saying 5:15,18      T 8:1,1            watch 3:25 4:1     312 8:18
people 3:20 4:24   scare 4:23          take 3:22 7:9       5:12,12,13 6:18
  5:5 6:20                                                 6:19,19 7:8               4
                   school 6:2          talk 4:14,24
percent 3:7 5:9    search 3:14         tell 2:16          watched 3:20       4228 8:18
  5:10,10 6:18     see 2:14,15,15,17   telling 3:21       watching 6:23
                                                                                      5
person 5:6           2:19,22 3:16      Terri 8:2,16       way 3:5
personal 2:8                                              we'll 7:9          5 1:12
                     4:1,2 5:1,2       Texas 8:3,16,19
picture 6:4        seen 2:20           Thank 7:11         we're 2:3,7 3:19           6
pill 3:14          SEGMENT 1:13        Thanks 7:11,12     week 7:9
                                                                             60 3:7
pillow 2:3 3:13    Sellers 7:5         think 5:17         weekend 2:6 7:9
                                                                             6581 8:17
  6:5,6            sent 5:4            thought 5:10        7:10
pissed 4:19        servers 2:15        time 5:18 6:16     world 3:21                 7
produced 2:18      shooting 6:2        times 6:25         world's 6:23       7-31-25 8:20
  7:1              Shorthand 8:2,17    today 2:3 3:11     wouldn't 5:9       75206 8:19
program 2:5        show 2:3 3:11         5:15             wrap 2:3
promo 5:15           5:13              told 4:10                                    8
proof 2:4 5:9                                                        X       855-5100 8:20
                   shows 3:5 4:14      tool 3:8
  6:25             site 3:16           top 3:11                   Y                   9
push 3:16 6:17     Smartmatic 3:8      touched 5:25
pushing 7:7                                               yeah 2:10 3:24     9th 4:5,6
                     4:16,24           transcribed 8:8      4:12,15,21,21
put 3:12,15 5:18   smoke 4:23          transcription
  5:19 7:1                                                  5:11 7:11
                   solely 7:1            1:11 8:4,11      Yep 6:24
putting 3:19       some- 3:13          truth 6:9          yesterday 4:14
                   speech 2:9 7:8      trying 3:22          5:4 6:5
       Q
                   stand 7:5           Twitter 5:16,20    young 6:1
question 2:13      start 6:5           two-hour 2:4,17    YouTube 3:11
       R           State 8:3
                   statement 7:3             U                       Z
R 8:1                                  Uh-huh 3:17
ran 5:15           statute 6:21
                                        4:25

                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                     800.445.9548
                                           APP261
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 262 of 971




      Exhibit A-16




                             APP262
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 263 of 971

                                                                            1
                     Absolute Proof - February 5, 2021


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11   CERTIFIED TRANSCRIPTION OF
12          ABSOLUTE PROOF
13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP263
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 264 of 971

                                                                            2
                     Absolute Proof - February 5, 2021


1                     (Recording begins.)
2                     MR. LINDELL:      Hello, everyone.        This is
3    Mike Lindell, the CEO of My Pillow.            As you all know, I
4    have been attacked the last month relentlessly on social
5    media, by newspapers, by TV shows, by -- you name it,
6    I've been attacked.       And myself -- not just myself, but
7    my company.     The boycotts that are going on, box stores
8    are dropping me, social media, they canceled my Twitter.
9    Today they canceled My Pillow's Twitter account, my
10   company's Twitter account.
11                    Well, before I was going to get erased
12   completely, we put together this show.             And what you're
13   going to see today is what they don't want you to see,
14   why they're trying to erase me.           And what I've told
15   everyone out there is, you know what, I've seen
16   evidence.    I've been trying since November 4th to
17   prove -- you know, to show what's out there, why -- why
18   are these deviations that happened on election night.
19   Not -- none of it made any sense.
20                    So I dove all in with everything I had,
21   resources.    Anytime I heard something that maybe was
22   relevant, I went and said, you know, looked into it, did
23   my own due diligence, had my -- even my own
24   investigation.      Well, on one day, I think it was, like,
25   January 9th, all of a sudden, these pe- -- they brought




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP264
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 265 of 971

                                                                            3
                     Absolute Proof - February 5, 2021


1    me some -- a piece of evidence that's 100 percent proof,
2    it's, like, a -- a print of what -- of inside the
3    machine of the time stamp that showed another country --
4    other countries attacking us, hacking into our election
5    through these machines, and it shows the votes flipped.
6                     And I'm going, Wow, I've got to get this
7    out there.    And from that point on, I started putting it
8    out there and that -- that's when they just started
9    attacking me.
10                    Well, they obviously are hiding something,
11   and tonight you're going to see what they're hiding.
12   You're going to see on this show -- we have -- we're
13   going to have cyber forensic experts.             We're going to
14   have -- 100 percent, you're going to see all this
15   evidence that by the time you're done seeing it, you're
16   going to go, Wow, 100 percent, it proves exactly what
17   happened, that these machines were used to steal our
18   election by other countries, including China.
19                    But I do want to tell you before we get
20   into all that, I want to tell you what I consider -- why
21   I'm so happy today about two miracles that happened
22   these last couple months.         The first miracle was on
23   election night.      And on election night at 11:15 at
24   night, the -- the algorithms of these machines broke,
25   basically broke.      And I'll -- this will be explained




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP265
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 266 of 971

                                                                            4
                     Absolute Proof - February 5, 2021


1    during this show.       But they broke.
2                     What that means is, Donald Trump got so
3    many more millions of votes that they didn't expect that
4    they had -- they're going to have to go recalibrate,
5    right?   So that's why all these states shut down.               All
6    of a sudden, they all shut down.           And we're going, What?
7    That's weird.      This has never happened in any other
8    election.    And then we're going, Okay.           Then as the days
9    went on, going, What?        Another -- another week that it
10   takes, you know, like Arizona to count one percent of
11   their vote.     And -- and you see these big spike, like,
12   in Michigan and all these big, you know, votes that were
13   poured in.
14                    Nobody understood it, right?           We're --
15   we're like living in this kind of twilight zone during
16   that time.    Well, that is one miracle there because
17   think if that wouldn't have happened.             Think if they
18   would have estimated right and what would have happened
19   is, it would have been just like a normal election, at
20   3:00 in the morning, they would have said, Oh, Biden
21   won, he won by a little bit.          And we would have said,
22   Oh, better luck next time.
23                    But because he got so many votes, it broke
24   that and -- and set off this series of events of these
25   deviations.     If that wouldn't have happened, we would




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP266
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 267 of 971

                                                                            5
                     Absolute Proof - February 5, 2021


1    have never been here talking about biggest attack in
2    history, the biggest cyberattack ever, and this is --
3    you know, the American dream would be gone forever
4    because we would have never known, and it would just --
5    you know, using machines, it would have took us over
6    forever.
7                     Here comes the second, the second miracle.
8    And with this one, I've got to show you here on the --
9    on the -- on the chart.        I'm going to go through this,
10   and I'm going tell you why this is a miracle.               Okay.
11   What we're going to do here, we're going to go state by
12   state, and we're going to show you what else happened.
13                    So here's Arizona.        Okay.    The margin of
14   victory was 10,000 votes that -- that Biden -- they say
15   Biden won.    Now, if we look at this, let's go down the
16   chart here.     Mail-in ballots requiring adjudication,
17   almost 300,000.      What these mean are these are votes
18   that they put through and you're going to learn --
19   you're going to learn all about that during this show,
20   too, what adjudication -- how that works.              But let's
21   just go to the next one.
22                    Illegal aliens voting, 36,400 illegal
23   aliens voted.      You see that?      He only lost by 10,000.
24   Well, of course, they can't vote.           Okay.    Donald Trump
25   wins Arizona, right?       We'll just keep going.          Voters




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP267
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 268 of 971

                                                                            6
                     Absolute Proof - February 5, 2021


1    registered to a vacant lot, 2,000.            Completed mail-in
2    ballots received the day before the ballots were even
3    mailed, they got twen- -- or 22,000 ballots back in
4    Arizona before they had even mailed the ballots out.
5    What?   That's kind of bizarre, right?
6                     Okay.    Keep going.      Down here, Maricopa
7    County electronic adjudicated ballots, 103,000 votes
8    loaded before opening of polls.           So the votes were even
9    loaded.    They were already in there before the polls
10   even opened, 50,000.       Okay, let's just -- you see all
11   that.   Let's go to the next state here.            I'm going to
12   skip Georgia and come back to it.
13                    Let's go to Michigan.         Michigan, dead
14   voters, 17,367.      And this is so -- Michigan is kind of
15   its own -- we're going to talk about Michigan.               It's
16   very different than the other states, what went on
17   there, so it's all grouped together.            615,000 votes that
18   are just in -- in question.          We'll -- and we're going to
19   skip that part, okay?
20                    Let's go to the next one here, Nevada.
21   Okay.   Here's Nevada.       Illegal aliens that voted in this
22   election, 4,000.      Mail-in or absentee ballots for voters
23   that were known to have voted in other states, 15,000.
24   Clark County used signature verification, one-half the
25   image quality that was suggested by the manufacturer,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP268
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 269 of 971

                                                                             7
                     Absolute Proof - February 5, 2021


 1   and to check the mail-in ballot signatures, 130,000.
 2   We'll just skip through that.         Raffle tickets that they
 3   were incentivized, 500.
 4                   Here we go, here's a big one.          Dead people
 5   who voted, 1,506.       Non-Nevadans who voted in Nevada,
 6   they don't even live in Nevada, 19,218.           Voters who
 7   double voted, 42,284.       Okay.    As you can see, they add
 8   up to over 200,000.       Donald Trump lost by 34,000 votes.
 9   Okay?
10                   Let's go to the next one, Pennsylvania.
11   Mail-in votes counted without a Republican observer, we
12   all heard that stuff.       It's well over 600,000.        Mail-in
13   ballots, 68.    Here's another one, too, we could almost
14   com- -- we're going to -- you're going to hear a lot
15   about this during this thing.         But let's go down.       Poll
16   workers that voted with various errors in the bins.
17   This is the one where you heard the fake ballots that
18   were driven from New York to Pennsylvania.            You'll hear
19   a little about that in the show too.
20                   But this isn't -- we're going to go by
21   Pennsylvania.     You can all see, it adds up to 866,000.
22   Donald Trump lost by 68,000.         And there -- there'll be a
23   point to all this I'm getting to.
24                   Okay.     Here's Wisconsin.      Wisconsin.     Surge
25   of (inaudible) combined voters in 2020.           That's a --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP269
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 270 of 971

                                                                            8
                     Absolute Proof - February 5, 2021


1    it's -- that would take a while to explain, but there
2    was 130,000.     U.S. Postal Service backdated ballots,
3    100,000.    Okay.    That's incredible if you actually look
4    into it.    The mail-in ballots entering the tabulation
5    prize under the guise of absentee ballots, a clear
6    violation of state law, 170,000.           Okay.    Wiscon- -- the
7    margin of victory for Biden was 20,000 votes.
8                     Now we're going go to -- back to Georgia.
9    Okay?   Everyone knows the president called the Secretary
10   of State in Georgia, and on that call, he -- he said --
11   he was listing these to the Secretary of State.                He
12   said, Okay.     You have felons with incomplete sentences
13   that voted and cast their vote, 2,560.             Under-age
14   children that registered to vote and illegally voted,
15   66,247.    Unregistered voted -- voters who voted, 2,423.
16   Registered voters who voted in another state after their
17   Georgia registration date, 4,926.           Voters who voted in
18   Georgia and also voted in another state, 395.               Voters
19   who voted in Georgia but changed their address before
20   the election to do it, 15,700.          People who failed to
21   preregister to vote in their county in time after moving
22   from one county to another, 40,279.
23                    Voters who illegally claimed a post office
24   box as their resident, 1,043.          Voters who registered too
25   late to vote in the election, 98.           People who died prior




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP270
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 271 of 971

                                                                             9
                         Absolute Proof - February 5, 2021


 1   to the election, it didn't -- they were already dead,
 2   10,315.     Okay.     Ballots with no chain of custody.        We'll
 3   probably talk a little bit about that in this show too,
 4   600,000.
 5                       And here's what the President said to the
 6   Secretary of State in Georgia, Can you just give us --
 7   why don't you just give us your dead -- it's only ten --
 8   he only lost by 11,730 votes.           He said, How about you
 9   just give us your underaged that voted and your dead
10   people and we win?        It didn't make sense.
11                       You say, how about this pe- -- just this
12   line here, this people who failed to register, 40,000,
13   can you just give us them?         He said, Just gi- -- what --
14   he -- he named the columns.         And you know what the
15   Secretary of State of Georgia said, those numbers are
16   wrong.     And -- and the President said, Well, where --
17   what -- who gave us the numbers?           He asked his guy.      And
18   that guy said, We got them from the Secretary of State's
19   office.
20                       And the President said to the Secretary of
21   State, Well, when can we get the right numbers?              And the
22   other guy said, Sir, we've been trying to get them from
23   the Secretary of State for almost two months.
24                       And the point being here -- now, here comes
25   the point I'm making.        Here's -- this is all the second




                              Dickman Davenport, Inc
         214.855.5100        www.dickmandavenport.com     800.445.9548

                                    APP271
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 272 of 971

                                                                            10
                     Absolute Proof - February 5, 2021


1    miracle of the election.         Every one of these states
2    should have been -- and two plus two is four, right?
3    You should say, Okay, you can't count dead people, you
4    can't count underage people.          Every one of these states,
5    Donald Trump wins if the electors would have done their
6    job, the legislators, if the -- if the governors
7    wouldn't have said, you know, Hey, it's good, all these
8    things had happened, all these anomalies that happened
9    that would have never happened before, but much less one
10   state, they all say that, that, Hey, we're going to go
11   ahead and use this stuff and we're going to declare Joe
12   Biden the winner.
13                    But here's the big thing, the big miracle.
14   If they would have done that, if they would have done
15   that and said, You know what, we can't count these,
16   Mr. Trump wins, Donald Trump wins, okay, then we
17   wouldn't be where we're at right now.             Because the
18   biggest thing against humanity and our country is this
19   attack through these machines.          They got -- this opened
20   up -- this revealed the -- the machines to where we're
21   at right now.
22                    So what you're going to watch during this
23   show is 100 percent proof that the big thing was the
24   theft by these other countries that came in to attack
25   our country through these machines that are made to




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP272
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 273 of 971

                                                                            11
                     Absolute Proof - February 5, 2021


 1   steal elections.     Every election going forward in
 2   history, if these things would have happened, these
 3   two -- and we wouldn't have -- we would have never
 4   known, every single vote you would have ever made
 5   wouldn't have mattered.       Somebody else would have made
 6   that vote.
 7                   And we've all seen in this past month -- do
 8   you think it wasn't communists coming in and taking us
 9   over with people here?       This is an attack not only on
10   other -- those other countries with communism, but they
11   had domestic traitors right here in our country.
12   Whatever's going on right now, we're seeing it.              They're
13   suppressing cancel culture.        They're trying to cancel us
14   all out.
15                   I just seen churches, the Christian
16   churches, they're being attacked right now.            People on
17   social media, anyone that speaks up, they're going, You
18   can't say that, you're gone.         It's like -- but right now
19   they're doing whack-a-mole because they know -- they
20   knew they were so close, so close that we would never
21   know in history what happened.
22                   But guess what, now we do know.           And you're
23   all going to know.      And when you watch this and when you
24   get through it, at the end, I'm going to tell you what
25   you can all do.     And we're going to start our show right




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP273
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 274 of 971

                                                                            12
                     Absolute Proof - February 5, 2021


 1   now, and you guys are going to be absolutely amazed.
 2                   And now we have with us Colonel Phil
 3   Waldron.
 4                   COLONEL WALDRON:       Yeah, so my -- my
 5   background in the military is with influence operations,
 6   information operations, information warfare, if you
 7   will.
 8                   MR. LINDELL:      You know what we're talking
 9   about here today is specific -- these machines that were
10   used to -- to hack into our election and -- and by
11   foreign countries, including China.          And what -- what
12   did you -- kind of bring us up through the election for
13   yourself and what -- and then how you've gotten so
14   involved right now.
15                   COLONEL WALDRON:       Yeah, we -- we began
16   looking -- working with our partners in -- in Dallas at
17   Allied Security Operations Group with doing some
18   analysis on the data that they had, looking at not only
19   Dominion but ES&S and Hart, several of the other
20   electronic voting management systems.           And we saw a lot
21   of similarities and -- and vulnerabilities in the
22   systems that would be easily influenceable or easily
23   interdicted.
24                   And again, as a -- as a information warfare
25   officer, that's what I did.        I looked for




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP274
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 275 of 971

                                                                              13
                     Absolute Proof - February 5, 2021


 1   vulnerabilities and ways to attack systems to create a
 2   strategic advantage for U.S. friendly forces.             And so
 3   when we started seeing the vulnerabilities and all the
 4   different ways that you could interdict this -- these
 5   electronic voting systems, it became apparent that we
 6   had a problem for the -- the November 3rd election.                And
 7   that prompted us to spend a lot of time working with
 8   Russ Ramsland, getting a lot of the -- the historical
 9   data, the knowledge.
10                   We started working on our own, really doing
11   a lot of connecting the money exercises, doing -- doing
12   basic investigative research.         And then I brought in
13   our -- our local GHS team here in Texas, both the
14   intelligence and assessments division which collects --
15   collects intelligence for -- for the Department of
16   Homeland Security --
17                   MR. LINDELL:      Uh-huh.
18                   COLONEL WALDRON:       -- and the CISA -- our
19   local CISA rep.
20                   And we spent quite a bit of time giving
21   them an introduction to what -- what we saw and the
22   vulnerabilities and the ways that these systems could be
23   interdicted to change election outcomes at, you know,
24   the -- the machine level, the server level, fraud at the
25   local level, which, you know, is required to induce




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP275
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 276 of 971

                                                                            14
                     Absolute Proof - February 5, 2021


1    the -- the illegitimate ballots.
2                     MR. LINDELL:      Right.
3                     COLONEL WALDRON:       Then you've got a -- the
4    machine level, which is kind of what you were talking
5    about, the --
6                     MR. LINDELL:      Right.
7                     COLONEL WALDRON:       -- the algorithms that
8    are directly input into the tabulators.             And we have
9    evidence of that in -- in Ware County, Georgia that, you
10   know, X amount of ballots went through and they -- they
11   basically stole 13 percent of the vote from President
12   Trump and put that 13 percent of the vote into the
13   category for former Vice President Biden, which made a
14   26 percent shift in the vote.
15                    MR. LINDELL:      Right.
16                    COLONEL WALDRON:       And so when you look at
17   the machine level, the machine for Dominion or ES&S,
18   there's so many vulnerabilities in the systems, there's
19   so many fundamental cybersecurity practices that are not
20   enabled, that it basically allows anybody who -- who has
21   some technical ability and the -- the want to to go and
22   influence our elections.
23                    MR. LINDELL:      Wow.    What -- what --
24                    COLONEL WALDRON:       And sort of that
25   strategic level is foreign intelligence, foreign




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP276
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 277 of 971

                                                                            15
                     Absolute Proof - February 5, 2021


 1   intelligence services.       And we've got pretty much
 2   document- -- documented of Chinese -- communist Chinese
 3   party ownership of the private equity firm whose board
 4   controls Dominion.      We've got Chinese communists, the --
 5   the president of the Chinese communist bank, who is a
 6   board -- board of directors member of -- of the private
 7   equity firm that -- that owns Dominion.
 8                   MR. LINDELL:      Wow.
 9                   COLONEL WALDRON:         And then if you look at
10   the testing company, the only company that has code --
11   the access to the code and the testing for Dominion is
12   in Shenzhen, China.      It's a communist Chinese party
13   company.
14                   The U.S. Government, the state governments,
15   the county governments, they don't have access to
16   Dominion code, but I think it's kind of -- kind of
17   unique that a Chinese company that's run by the -- the
18   CCP does have access to the code, and that's why we
19   started seeing, at that strategic level, that third tier
20   of election manipulation, a lot of movements of votes
21   directly, direct access to Pennsylvania voting
22   precincts, county tabulation centers.           Wisconsin,
23   Michigan, Nevada, Arizona, Georgia, all of that coming
24   in directly from foreign countries, China being the
25   predominant one and through -- through Pakistani ISI




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP277
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 278 of 971

                                                                            16
                     Absolute Proof - February 5, 2021


1    proxies.
2                     MR. LINDELL:      Did you find it very
3    frustrating not being able to get -- get all this
4    information out to the public?
5                     COLONEL WALDRON:       Yeah, it -- it -- it's
6    very frustrating.       The fact that, you know, everyone
7    says that, Well, there was all these court cases and all
8    the court cases were lost.         Well, that's a lie.         I mean,
9    we've got statistics on how many court cases were open,
10   how many were dismissed for -- you know, for standing or
11   procedural, but there -- but there's only, to my
12   knowledge, two cases, one in Michigan and one in Georgia
13   where evidence has been heard.          And those cases are
14   progressing forward.
15                    The Senate in Arizona has heard and seen
16   preliminary evidence, and they've issued a subpoena and
17   they're pressing forward with a full forensic audit in
18   Arizona.    And that -- that could be forthcoming as early
19   as, you know, this -- this coming week.
20                    MR. LINDELL:      Right.
21                    COLONEL WALDRON:       So it's -- it's -- it is
22   complex and it's hard for people to understand.                And if
23   it's hard to understand, people just dismiss it as, you
24   know --
25                    MR. LINDELL:      Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP278
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 279 of 971

                                                                            17
                     Absolute Proof - February 5, 2021


 1                   COLONEL WALDRON:       -- conspiracy theory --
 2                   MR. LINDELL:      Right.
 3                   COLONEL WALDRON:       -- where it's -- it's
 4   cyber warfare and unconventional asymmetric warfare --
 5                   MR. LINDELL:      Right.
 6                   COLONEL WALDRON:       -- conducted by a peer
 7   threat nation state against the United States Government
 8   critical infrastructure.
 9                   MR. LINDELL:      The whole country seen, when
10   they -- you know, when they shut everything down at
11   night, that that was a deviation.          You probably expected
12   this, right?
13                   COLONEL WALDRON:       We were watching.       We
14   found the -- the foreign servers in Barcelona and the UK
15   and in -- and in Frankfurt.        We'd seen several -- you
16   know, the one in Toronto, obviously, with Dominion.
17                   MR. LINDELL:      So you know, 100 percent
18   proof, that the servers are overseas in other people's
19   countries for our election?
20                   COLONEL WALDRON:       Yes.    We were mapping out
21   the servers before the elections.          We identified the
22   Scytl server in Frankfurt down to the street address.
23   Frankfurt has -- I think it's -- it's either the largest
24   or one of the world's largest server nodes, you know, a
25   cyber node --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP279
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 280 of 971

                                                                            18
                     Absolute Proof - February 5, 2021


 1                   MR. LINDELL:      Right.
 2                   COLONEL WALDRON:         -- a trans- -- a
 3   communications node.      It's called DE -- DE for
 4   Germany -- NIX, DENIX.
 5                   MR. LINDELL:      Right.
 6                   COLONEL WALDRON:         And there were several
 7   folks watching the -- the traffic and the volume of
 8   traffic that night, and they noticed a significant spike
 9   in traffic that night just due to, you know, the volume
10   of information going through.         And one of the reasons is
11   they -- they said that the traffic was going up was due
12   to the U.S. elections.
13                   MR. LINDELL:      In your opinion, this is an
14   attack by other countries, of foreign -- of foreign
15   countries, is what you're saying then?
16                   COLONEL WALDRON:         I -- I believe from what
17   I've seen and the -- the -- and the witnesses that I've
18   talked to, that this is a -- a coup that -- and
19   definitely involved elements inside our own country and
20   in- -- inside our own federal government.            Definitely --
21                   MR. LINDELL:      Wow.
22                   COLONEL WALDRON:         Definitely part of a coup
23   that was aided and abetted by a foreign threat nation
24   state, a peer enemy nation state --
25                   MR. LINDELL:      Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP280
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 281 of 971

                                                                            19
                     Absolute Proof - February 5, 2021


 1                   COLONEL WALDRON:       -- China.
 2                   MR. LINDELL:      Do you believe that this
 3   attack from other countries could not have happened
 4   without people here, domestic -- people -- domestic
 5   traitors, basically.
 6                   COLONEL WALDRON:       Yeah, I -- I -- I believe
 7   that -- again, we have affidavits of CIA and State
 8   Department personnel out of the Italian Embassy
 9   participating in this coup.        We have a name, email and
10   phone number of a senior DOJ official from a -- from
11   a -- a U.S. Attorney that said that this individual was
12   shutting down any DOJ or FBI investigation into any
13   election -- any election-related investigation and
14   shutting -- trying to shut down judicial cases, court
15   cases.
16                   So from own -- inside our own DOJ, people
17   were shutting down active investigations.            You wondered
18   why, you know, Mr. Barr didn't find or see any evidence
19   of widespread election fraud, it's because the FBI never
20   did anything other than to impede investigations into
21   election fraud.
22                   The FBI went to question the truck drivers
23   who delivered ballots and -- and created affidavits.
24   They were harassing, you know, the -- the Americans, you
25   know, the patriotic Americans who were -- who were




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP281
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 282 of 971

                                                                            20
                     Absolute Proof - February 5, 2021


1    whistleblowers --
2                     MR. LINDELL:      Right.
3                     COLONEL WALDRON:       -- and prosecuting them.
4    Like you mentioned something earlier is -- it is the
5    machines, ES&S and Dominion machines.             If you look at,
6    you know, military planning factors, there are critical
7    capabilities.      A capability is what you have to have to
8    execute your mission or the enemy has to have to execute
9    its mission successfully.
10                    So critical capability for any of this to
11   happen are the inherent vulnerabilities that were built
12   into ES&S and Dominion software, which is -- you know,
13   again, we've proven through -- through our work that
14   this is all related directly back to the soft --
15   Smartmatic -- Smartmatic -- SGO Smartmatic software
16   core.
17                    MR. LINDELL:      Wow.
18                    COLONEL WALDRON:       And they definitely have
19   financial gains to -- to -- financial reasons, based on
20   some of the other investments that they've made --
21                    MR. LINDELL:      Right.
22                    COLONEL WALDRON:       -- especially if they --
23   you know, looking down the road, if they make billions
24   and billions of dollars, the board of SGO Smartmatic,
25   because they own a -- an air purification company, so




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP282
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 283 of 971

                                                                            21
                     Absolute Proof - February 5, 2021


1    just think about it, if -- if you get to pick an
2    administration that is favorable to -- to your company,
3    say, and they pass a green new deal and you're going to
4    make billions and billions of dollars off of
5    government-mandated air purification systems in public
6    buildings and apartment buildings and industrial
7    complexes, you know, you -- you would spend quite a bit
8    of money on the front side --
9                     MR. LINDELL:      Wow.
10                    COLONEL WALDRON:       -- to make sure the
11   election was going to...
12                    The same thing with China --
13                    MR. LINDELL:      Right.
14                    COLONEL WALDRON:       -- if China could avoid
15   the U.S. coming to Taiwan's defense, and we've seen
16   indications of that already, and if China could avoid
17   having to fight a campaign to protect their manmade
18   islands, to extend their territorial waters into
19   international and navigable waterways, if they could
20   in- -- invest a billion dollars to do that versus
21   fighting a war, well, they've made a pretty good
22   investment.
23                    MR. LINDELL:      Right.
24                    COLONEL WALDRON:       And all the money that
25   they've made into the Biden family, all the money that




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP283
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 284 of 971

                                                                            22
                     Absolute Proof - February 5, 2021


 1   they've made -- invested into U.S. universities and U.S.
 2   businesses, buying up our medical and our technical
 3   intellectual property, stealing a lot more than they
 4   bought, they are -- they are fighting a war.             People
 5   just don't realize that we're under attack.
 6                   MR. LINDELL:      So now we have with us
 7   Russell Ramsland.      He's a founding member of Allied
 8   Security Operational Group.        They're based in Dallas,
 9   Texas, and they do cyber forensics and security.
10   Russell, how are you -- how are you involved with all
11   this -- this election fraud, with the machines?
12                   MR. RAMSLAND:      Well, it was interesting,
13   Mike.   It's been a long road for us.          About two years
14   ago, we had some logs from the Dallas general election
15   brought to us from the central tabulation server, and
16   people asked, What do these logs mean?           It was about
17   1100 pages, and we got looking at them and we were
18   horrified at what we found, because what we found were
19   that people were getting into the system and they were
20   changing the votes.      They were erasing databases, they
21   were reloading them, and it was coming from remote
22   locations.    And (inaudible) this can't be.
23                   MR. LINDELL:      Now, this was back -- this is
24   in 2018 when they -- so these guys came to you with
25   these -- and these were -- these were voting machines --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP284
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 285 of 971

                                                                            23
                     Absolute Proof - February 5, 2021


 1   were they Dominion machines?
 2                   MR. RAMSLAND:      No.    No, no.    We use ES&S in
 3   Dallas, not Dominion.
 4                   MR. LINDELL:      So are they -- are they --
 5   are they similar -- similar machines?
 6                   MR. RAMSLAND:      Yes.    Yeah, it's -- it's
 7   very similar stuff.      Most of these voting companies all
 8   have similar DNA --
 9                   MR. LINDELL:      Okay.
10                   MR. RAMSLAND:      -- in their (inaudible)
11   soft.
12                   MR. LINDELL:      Okay.    But what you seen
13   was -- was very -- it horrified you?
14                   MR. RAMSLAND:      Yeah, it did.
15                   MR. LINDELL:      Okay.
16                   MR. RAMSLAND:      Because clearly, somebody
17   was playing with the election.
18                   MR. LINDELL:      Wow.
19                   MR. RAMSLAND:      So we tried to get the
20   authorities alerted.      We brought in a DOJ prosecutor
21   that ran the cyber group in North Texas, and she was
22   horrified at what we showed her.          And she asked us to
23   put it together and eventually submit it to the FBI, and
24   we did that and they did nothing.
25                   So we continued to investigate, and the




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP285
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 286 of 971

                                                                            24
                      Absolute Proof - February 5, 2021


 1   more we found, the more horrifying it got.            Now, this
 2   all was still coming out of Dallas.          We tried to get
 3   senators to look at this, and we tried to get State
 4   officials to look at this, but we continued to work on
 5   it on our own.     We had no client at all.         And
 6   eventually, we did get seven members of the Freedom
 7   Caucus this last July to take a two-hour briefing
 8   without staff, and what they saw was absolute proof that
 9   this electronic voting system that we have is completely
10   compromised.
11                    MR. LINDELL:     Wow.
12                    MR. RAMSLAND:     It can be completely
13   manipulated.     And they were horrified.
14                    MR. LINDELL:     We've all heard that Texas
15   denied these machines.
16                    MR. RAMSLAND:     Well, Texas denied Dominion,
17   but Texas uses other voting machines.           We use Hart and
18   we use ES&S in Texas.
19                    MR. LINDELL:     Right.
20                    MR. RAMSLAND:     Same -- same --
21                    MR. LINDELL:     So why was -- so why would
22   Texas -- they denied these Dominion ones, and in your
23   opinion -- so they must have looked at them and said,
24   There's something there we don't like.           But then they,
25   over here with Smartmatic and these other ones, they




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP286
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 287 of 971

                                                                             25
                     Absolute Proof - February 5, 2021


1    were okay with that?       Why -- what would be your opinion
2    of why -- why one -- they would deny one machine that --
3    because they're afraid of election fraud and -- and over
4    here, they accepted that one?
5                     MR. RAMSLAND:      I think that it sometimes
6    has more to do with politics and influence who gets
7    through and who doesn't --
8                     MR. LINDELL:      Okay.    Okay.
9                     MR. RAMSLAND:      -- than necessarily the
10   machines.
11                    MR. LINDELL:      Okay.
12                    MR. RAMSLAND:      So we finally ended up with
13   some investigators with Ron Johnson's Department of
14   Homeland Security oversight group, and they were
15   horrified of what we showed them.           And they tried to get
16   CISA, which is the Cyber Intelligence Security
17   Administration inside the DHS, they tried to get CISA to
18   take a look.     CISA would not take the briefing.             They
19   couldn't be less interested.
20                    So we didn't quite know what to do.             We
21   were beginning to find some media people who wanted to
22   start talking about this, and they became appalled.                    But
23   the break really came in early August when we got some
24   DHS people in Austin with the I&A Division, the
25   Intelligence & Analysis Division down there to take a




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP287
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 288 of 971

                                                                            26
                      Absolute Proof - February 5, 2021


 1   look at what we had.      And that's the division that used
 2   to have voter integrity before it was handed to CISA.
 3                    So they looked at it and they were
 4   horrified and they sent a whole team to our shop.              We
 5   spent 11 hours with them.        They asked us if we would
 6   give them their -- our data.         We said, of course.       And
 7   so we gave them all our data, they took it back to
 8   Austin, and unknown to us, they gave it to three private
 9   cyber groups that they use and said, Hey, are these guys
10   crazy?    I mean, is this nuts or is this -- is there
11   something here?
12                    Well, all three groups looked at it and all
13   three groups came back, not only is -- is it right, it's
14   horrifying.
15                    MR. LINDELL:     Okay.    I want to ask you
16   there, when you say "horrify," can you explain to
17   everybody watching this right now, what -- what
18   horrified you?     Was it the fact that they could go
19   online --
20                    MR. RAMSLAND:     Well, there's no effective
21   security at all for your votes.         Your votes are stored
22   overseas where they can be easily manip- --
23                    MR. LINDELL:     Wait a minute.      Wait a
24   minute.     They're stored overseas?
25                    MR. RAMSLAND:     Yes.    Yeah, yeah.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP288
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 289 of 971

                                                                            27
                     Absolute Proof - February 5, 2021


1                     MR. LINDELL:      Wow.
2                     MR. RAMSLAND:      2- -- 27 states use what's
3    called Clarity Scytl Election Night Reporting and those
4    servers are overseas.        They have what are called "S3
5    bucket vulnerabilities," and people can get in and
6    change the votes there, and then they can load them all
7    the way back down to the county level here in this
8    country because Scytl gets all the credentials from
9    every single county server here.           And so they can get
10   into every single county server and change the votes
11   here from overseas.
12                    MR. LINDELL:      Wow.
13                    MR. RAMSLAND:      It's crazy.
14                    MR. LINDELL:      So -- so -- so everything
15   that everybody's been talking about out there that
16   they've tried to suppress, saying that they -- we heard
17   the machines weren't even online.           And you're saying
18   that 27 states use this and the servers are overseas, so
19   these can go over there and they can change the vote to
20   anything they want and send it back cyberly?
21                    MR. RAMSLAND:      Correct.
22                    MR. LINDELL:      By cyber?
23                    MR. RAMSLAND:      Correct.
24                    MR. LINDELL:      Wow.
25                    MR. RAMSLAND:      So they became -- the DHS




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP289
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 290 of 971

                                                                              28
                      Absolute Proof - February 5, 2021


 1   people in Austin realized what we were telling them was
 2   correct.     They became horrified.       And they began to try
 3   to have a series of classified briefings within their
 4   own group in order to push this up -- up the chain.                And
 5   they got about one or two levels up, and then they met a
 6   solid wall of resistance that basically said, Leave it
 7   alone.     Don't pursue it.
 8                    MR. LINDELL:     Wow.     And what do you -- what
 9   do you think being now -- now we're -- we're telling the
10   facts of the show here, but in your mind, why would they
11   do that?     Why -- this is just subjectively.         Why
12   would -- why would you -- why would they do that in your
13   mind?
14                    MR. RAMSLAND:     I don't know, Mike.
15                    MR. LINDELL:     You can't explain it.        I
16   mean, this is -- okay.        So -- so then -- so take us from
17   there.     So this is, like -- what -- what -- what --
18   approximately when was that when it kind -- when it got
19   stopped?
20                    MR. RAMSLAND:     That was September.
21                    MR. LINDELL:     Wow.
22                    MR. RAMSLAND:     Yeah.
23                    MR. LINDELL:     Getting close to the
24   election.     Okay.
25                    MR. RAMSLAND:     Close to the election.          So




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP290
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 291 of 971

                                                                            29
                     Absolute Proof - February 5, 2021


 1   what actually happened in this election, this stolen
 2   election, we already knew was going to happen.             We
 3   already had seen it, we knew it was all possible, we
 4   knew it was all out there.        Now, we didn't know how many
 5   foreign servers.     You know, before, we weren't seeing
 6   very many foreign servers come in and change votes, but
 7   in this election, of course, we saw thousands from all
 8   over the world.
 9                   MR. LINDELL:      You said you seen -- you seen
10   thousands, you've seen all these -- these hacks.                Have
11   you actually seen that with your own eyes?
12                   MR. RAMSLAND:      We have seen the data that
13   is supposedly representative of that.
14                   MR. LINDELL:      So this -- the election goes
15   down, you knew it was going to happen.           Is it exactly
16   what you thought was going to happen?
17                   MR. RAMSLAND:      Yeah, we -- we thought it
18   was going to happen on three levels.           We thought there
19   would be massive local cheating, we thought there would
20   be cheating through the actual voting companies
21   themselves, whether it's them or someone else
22   manipulating them, and we thought that there would be
23   cheating from votes being injected from overseas.                And
24   that's exactly what we saw happen.
25                   MR. LINDELL:      Wow.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP291
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 292 of 971

                                                                            30
                      Absolute Proof - February 5, 2021


 1                    MR. RAMSLAND:     And we developed huge, tons
 2   of -- of absolute proof on this, but no court case was
 3   ever allowed -- ever allowed it to be presented.              So
 4   that sort of gave fodder to this media myth that it
 5   didn't exist, but it does exist.          It's out there.      It's
 6   unbelievable, it's massive.
 7                    MR. LINDELL:     Wow.    Did everybody hear
 8   that, what he -- what Russell's saying here?             This is
 9   what everyone says.      Well, there was no evidence.          So
10   you're saying, no judges would look at the evidence; is
11   that correct?
12                    MR. RAMSLAND:     That's correct.
13                    MR. LINDELL:     Okay.    And now, we don't know
14   why.    We don't know why.      I mean, they -- it wasn't
15   because there wasn't evidence.         They didn't even want to
16   look at it; is that correct?
17                    MR. RAMSLAND:     That is correct.
18                    MR. LINDELL:     Okay.    Now, we've heard
19   about, we've all -- in fact, on this show, the Antrim
20   County in Michigan.      Were you guys ever -- were you
21   guys -- weren't you guys contacted to look into that?
22                    MR. RAMSLAND:     That was our work.        Yes,
23   I --
24                    MR. LINDELL:     Oh, wow.     Okay.
25                    MR. RAMSLAND:     I -- I actually signed the




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP292
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 293 of 971

                                                                            31
                     Absolute Proof - February 5, 2021


1    forensic audit report and -- because our guys did all
2    that, our -- part of our team.          And that came about
3    because there was a down ballot race, and the judge
4    allowed some limited discovery.            What came out of that
5    was appalling enough that he allowed further discovery.
6    And then, of course, that report went national because
7    what we found was so horrifying.
8                     MR. LINDELL:      Right.     For everybody out
9    there, what we've all heard, this Antrim County in
10   Michigan -- and in this show here, we've -- you know,
11   you've -- you've seen it.         We've had -- we've -- this
12   is -- this is -- the reason it was talked about so much,
13   because this is a small county and it was like
14   15,000-some people voted and it was 7,000-some votes
15   flipped.    I mean, so it was so obvious, you know, we had
16   65 percent Republican and 35 percent Democrat normally,
17   and it was completely flipped.          So everybody in the town
18   knew it was a deviation that didn't make sense.                And
19   so -- so Russell, this case is still open; is that --
20   that's correct, right?
21                    MR. RAMSLAND:      That is -- that is correct.
22                    MR. LINDELL:      Okay.    Can I --
23                    MR. RAMSLAND:      What --
24                    MR. LINDELL:      Can I ask you this?        So what
25   you've seen there is exactly what you knew was going to




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP293
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 294 of 971

                                                                            32
                     Absolute Proof - February 5, 2021


1    happen, and now were you able to look at other places?
2    What was different about Antrim County now that -- what
3    we all heard was you were able to get into the -- you
4    know, the forensics of it and see all this.              Were you
5    able -- have you been able to do that in any other
6    places in the United States since then or -- or you
7    know, since this election ended on -- in November?
8                     MR. RAMSLAND:      Actually, on a limited
9    basis, we have been able to go in two other counties.
10   We have not published that information yet, and there
11   are reasons why we aren't publishing that information
12   right now.    But both of them have not only confirmed --
13   they have confirmed that it's even worse than in Antrim.
14                    MR. LINDELL:      Okay.    Did everybody hear
15   that?   What we have here -- and Russell can't disclose
16   this because what -- every time something pops up, it
17   gets buried out there.        Things happen.       I don't ev- --
18   you know, this is -- this is the most attack on our
19   country, and I'm telling you, ever.            I mean, this is --
20   and it -- that's why -- you know, it's getting
21   suppressed every -- everywhere.
22                    So what he's saying, two other places --
23   now, is this breaking news right now?             You're saying
24   right now, you have two other places, and what you're
25   seeing is even worse than you could ever imagine?




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP294
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 295 of 971

                                                                            33
                     Absolute Proof - February 5, 2021


1                     MR. RAMSLAND:      Well, it's -- it's -- it's
2    just like Antrim, only its worse in many ways.               You
3    know, in Antrim -- what people need to understand --
4    real simple, Mike.       When people vote and they scan their
5    ballot in, it either goes into the regular sort of
6    bucket and gets voted, or else it goes into what's
7    called an "adjudication bucket."           If it goes into the
8    adjudication bucket, then whoever's running the voting
9    system gets to vote that vote however they want.
10                    Well, in -- in Antrim, we found ballot
11   rejection rates of 82 percent.
12                    MR. LINDELL:      Wow.
13                    MR. RAMSLAND:      82 percent.
14                    MR. LINDELL:      Wow.
15                    MR. RAMSLAND:      82 percent of the ballots
16   were going to adjudication (inaudible) --
17                    MR. LINDELL:      And what -- what is -- what
18   is the -- what's the normal number?            I mean, is there a
19   normal number for eje- -- for an election that would be
20   what percentage or -- and -- and what would be it on the
21   high end?
22                    MR. RAMSLAND:      Well, certainly less than
23   one percent would be -- should ever go to adjudication.
24   There's all --
25                    MR. LINDELL:      Wow.    Less than one percent,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP295
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 296 of 971

                                                                            34
                     Absolute Proof - February 5, 2021


1    everybody.    And this was 85 [sic] percent.
2                     MR. RAMSLAND:      Yeah.     Well, and in Fulton
3    County, they -- the Fulton County people themselves
4    admitted to a 93.6 percent adjudication rate in some
5    cases.   That means the entire election was decided by
6    the people that ran the system, not by the voters.
7                     MR. LINDELL:      Wow.    And now -- and what
8    you're talking about there isn't -- this is another way
9    these machines can -- you can -- that you can cheat
10   through the fro- -- or cheat there.            But this does not
11   count, what you're talking about earlier, the cyber
12   forensics where that goes overseas to these servers that
13   are all based over there, correct?
14                    MR. RAMSLAND:      That does not -- that's a
15   different issue altogether.
16                    MR. LINDELL:      Right.     So both of them
17   involve the machines, everybody.            One we've talked about
18   in this show is here.        But the cyber one is what you
19   just heard from Russell, which he said earlier, this is
20   all the attack by the other countries that hacked in,
21   which we're going to show you that proof now, that
22   Russell doesn't even know that we, have that's going to
23   show who did it, the time they did it, the computer they
24   did it off, everything.
25                    If we would have never found out or this




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP296
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 297 of 971

                                                                            35
                     Absolute Proof - February 5, 2021


1    would never have gotten -- what we're going to get to
2    now, what in the -- what would the future look like
3    in -- in elections?
4                     MR. RAMSLAND:      Well, I mean, we're
5    basically approaching Venezuela where it doesn't
6    matter --
7                     MR. LINDELL:      It doesn't matter.
8                     MR. RAMSLAND:      -- who votes.
9                     MR. LINDELL:      Right.     Somebody else picks
10   our people for them, so why vote, right?               I mean, that's
11   the way -- that's the way it would have been.               Machines
12   that go online, like -- now you said earlier, it's not
13   just Dominion, it's all the -- all the machines that
14   were used in this election would -- is that what you
15   would say?
16                    MR. RAMSLAND:      Yes, that's absolutely a
17   fair statement.      And let -- let me -- let me tell you a
18   little bit about that.        You know, for these people that
19   say it's not online, we have videos of workers with poll
20   books who are swiping left on their poll book and
21   bringing up Netflix and getting a movie and watching it
22   on their poll book.       How does that happen if it's not
23   connected to the internet?
24                    MR. LINDELL:      Right.     Right.
25                    MR. RAMSLAND:      We have affidavits of -- of




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP297
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 298 of 971

                                                                            36
                     Absolute Proof - February 5, 2021


1    a election judge who showed up at -- at her precinct,
2    found to her horror they had loaded the wrong precinct
3    in her equipment, called her voting company, and her
4    voting company put her on hold and the self -- the help
5    desk from another state called in, and in ten minutes
6    somehow reloaded her poll books from another state with
7    the correct precinct.        How did that happen if it's not
8    connected to the internet?
9                     MR. LINDELL:      I know they were all online,
10   but they -- but is it illegal for them to be online?
11                    MR. RAMSLAND:      Well, it depends.        Some
12   places, yes, some places, no.
13                    MR. LINDELL:      Okay.
14                    MR. RAMSLAND:      I mean, the assurance is
15   that you can trust the voting system because they're not
16   online, but they are most clearly online.
17                    MR. LINDELL:      I got ya.     I got ya.
18                    MR. RAMSLAND:      Now, here's one you don't
19   know.   We ran this -- a different group here, a little
20   operation in Dallas during this last election.               And let
21   me describe the operation so you'll understand the
22   magnitude of what I'm telling you.            What we did is every
23   day, we just took the information on the voter records
24   of the people who voted that day in Dallas.              Dallas
25   posts them online, so you get a great, big, long record




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP298
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 299 of 971

                                                                            37
                     Absolute Proof - February 5, 2021


1    of this voter.
2                     You don't see how he voted, but you see
3    everything else, name, where he lives, when he asked for
4    a ballot, where he voted, his residence address, on and
5    on and on.    And all of those, as you know, are comprised
6    of zeros and ones.       That's how computers work.          So all
7    we did is we would add up all the zeros and ones in that
8    voter record and store it, and then we would watch what
9    would happen to that voter record as we worked our way
10   through early voting.        Mike, we saw 57,000 votes get
11   their voter records changed during early election alone
12   in Dallas, Texas.
13                    MR. LINDELL:      Wow.
14                    MR. RAMSLAND:      We saw a 10-block-long
15   street in Dallas, Texas get every single vote wiped out
16   and then subsequently replaced, one at a time, with
17   clearly something changed because the -- the hash -- in
18   other words, it's -- it's a record of -- of the zeros
19   and ones had been changed.         And so we know it was
20   tampered with.
21                    MR. LINDELL:      Wow.    I --
22                    MR. RAMSLAND:      I mean, it's unbelievable.
23                    MR. LINDELL:      Was it nationwide that this
24   happened?
25                    MR. RAMSLAND:      Yes.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP299
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 300 of 971

                                                                            38
                     Absolute Proof - February 5, 2021


1                     MR. LINDELL:      Okay.    And you've seen this
2    cyber -- the cyber forensics that show that.               We will
3    show that too.      But I just want to ask you, why -- if
4    you're -- if there's -- you know, why didn't they -- why
5    didn't they set these machines, then, to win Texas too?
6    I mean, or do you -- you know, what would be your
7    opinion on that of why they didn't set them high enough
8    to win Texas too?
9                     MR. RAMSLAND:      Well, there had been a
10   certain amount of concern raised in -- in Texas as a
11   result of our 2018 work.         You know, Pete Sessions
12   actually filed a complaint in Texas and published a
13   paper on it because his race got stolen.             And so they
14   were very well aware that Texas was going to come under
15   some scrutiny that other places probably were not.
16                    MR. LINDELL:      Right.
17                    MR. RAMSLAND:      And there was also a huge
18   operation down in Houston where a vote scamming scheme
19   for over 700,000 votes was exposed, and -- so there was
20   a lot going on in Texas, and I think it made them a
21   little skittish to operate as brazenly here as they did.
22                    MR. LINDELL:      So they might -- they might
23   have backed off a little.         But you just said something
24   there.   So you're telling me that they controlled all
25   the down tickets too if they decided they wanted to flip




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP300
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 301 of 971

                                                                            39
                     Absolute Proof - February 5, 2021


1    a senator or -- or a congressman or whatever; is that
2    correct?
3                     MR. RAMSLAND:      No doubt.      Absolutely.
4                     MR. LINDELL:      So Russell, could you speak
5    specifically to the malware?
6                     MR. RAMSLAND:      Sure.     There is a company
7    out of Barcelona, Spain called Scytl and it owns a
8    company called Clarity Election Night Reporting.                And
9    Hart reports to them, and Dominion reports to them, and
10   ES&S reports to them.        All these companies report the
11   votes to them, and then link Election Night Reporting
12   supposedly just passes the votes along to the media.
13                    But using standard white hat tools, we can
14   look and see what is -- is on their server over in
15   Frankfurt, Germany.       And there is a -- an area on their
16   server, on a particular kind of equipment, there is a
17   piece of malware called QSnatch.            QSnatch actually
18   watches all the information that comes in and it grabs
19   the login credentials of every single county in the
20   country that reports to it.          So that once it has all
21   those credentials, it can then look back into that
22   county and it can access the county database from
23   overseas or whenever else it wants to if you want to
24   inject changed votes, either through the adjudication
25   system, or just plain flat replace the database.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP301
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 302 of 971

                                                                            40
                     Absolute Proof - February 5, 2021


 1                   So it's -- it's -- it's a massive, massive,
 2   massive security vulnerability, and it is there, it is
 3   working, and they have all the login ability they need
 4   to get into any county that reports to them.
 5                   MR. LINDELL:      Wow.    So -- so basically,
 6   what you said earlier, all the -- all the servers are
 7   over there, they could take all of our counties in our
 8   country, look at them, and then decide what they want to
 9   do with that information and what they can do in the
10   county, what they need to flip.          So any -- you know, we
11   all heard this -- we all heard about this Italy thing
12   and that it went to Italy and Germany when they had to
13   on the -- I guess this would be in the middle of night
14   on -- on November 4th.
15                   Is this something -- would you -- would you
16   know anything about that, I mean, to -- I mean -- so
17   they -- what we've all heard out there is it went over
18   there -- some guy even admitted he did it, which we're
19   going to have his affidavits up here, but what do you --
20   what's your opinion on that?
21                   MR. RAMSLAND:      Well, our opinion on that
22   was that it should have been investigated because it is
23   very consistent with what we do see happening.             But it
24   was not investigated.       Apparently, the Department of
25   Justice did not investigate.         You know, you got the




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP302
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 303 of 971

                                                                            41
                      Absolute Proof - February 5, 2021


 1   usual, Oh, it's been debunked.         Well, who debunked it?
 2   Uhh.     When did they debunk it?      How did they debunk it?
 3   Uhh.
 4                    MR. LINDELL:     Yeah.
 5                    MR. RAMSLAND:     There was no investigation
 6   by anyone of that information, and there should have
 7   been because it is entirely consistent.           I don't know if
 8   it's true, but it's entirely consistent with everything
 9   we have seen in -- in terms of capabilities.
10                    MR. LINDELL:     Bill Barr comes out and said,
11   There's no evidence.      I mean, what would be your opinion
12   why people would keep pushing this down and not wanting
13   to know?     I don't care what side of political lines
14   you're on.     Why would you not want to know if -- the
15   truth?
16                    MR. RAMSLAND:     That has been a constant
17   haunting question to everyone on our team.            I think it's
18   a combination of things.        I think some people are truly,
19   completely totally corrupt.        I suspect that at the
20   bottom of this, you might find that our government has
21   been changing votes in other countries for years and
22   they don't really want it revealed, certain parts of our
23   government.     I think that there are people that don't
24   want to look, they're afraid to look.           I think there are
25   probably people who are compromised --




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP303
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 304 of 971

                                                                            42
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Right.
 2                    MR. RAMSLAND:     -- and have been told to
 3   stay out of it.
 4                    MR. LINDELL:     Right.
 5                    MR. RAMSLAND:     I think that it's a variety.
 6   It's not one simple little reason.
 7                    MR. LINDELL:     Right.    And that's what I
 8   wanted people to hear because I hear it all the time.
 9   People are going, you know what, this -- you know Bill
10   Barr said this and all -- there's no -- none of the
11   judges accepted it and you hear all this.            And we can't
12   explain all that because -- it's probably multiple
13   things, like Russell says there.          And that's my opinion
14   too.     It could be anywhere up to a dozen things.           Who
15   knows.
16                    But it doesn't matter.        All that doesn't
17   matter because now the truth is told today, and it's all
18   coming out and -- and everybody -- you know, I -- I
19   really believe what's going to happen once everybody
20   sees now -- this, is, finally, you're going to have
21   people that aren't afraid to speak out because it'll
22   be -- it's too late to close the gate, the cows are out
23   of the barn, everybody's going to know about it, and
24   they're going to want to know more and more, so...
25                    MR. RAMSLAND:     You know, Mike, the -- the




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP304
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 305 of 971

                                                                            43
                     Absolute Proof - February 5, 2021


1    real thing is, I think pretty soon, the question's going
2    to start to turn around.         And people are going to go,
3    Wait a minute.      What is everyone so afraid of?
4                     MR. LINDELL:      Right.
5                     MR. RAMSLAND:      Why are they going to such
6    incredible lengths to say there's nothing here when
7    there clearly is something here.            What -- you know, this
8    is almost like -- you and I remember Enron.              This is
9    almost like Enron.       Would we all be saying, Oh, no, we
10   don't want to investigate Enron, no one should look into
11   Enron; no, no, Enron shouldn't have to tell you how they
12   spend your money; you just keep giving them your 401(k)
13   money.
14                    MR. LINDELL:      Right.
15                    MR. RAMSLAND:      No.    That's not how it
16   works.
17                    MR. LINDELL:      Right.
18                    MR. RAMSLAND:      And that's not how our
19   voting system should work either.
20                    MR. LINDELL:      So now we have with us
21   Dr. Shiva.    He has four MIT degrees.          He's an expert in
22   system science and pattern analysis.            And I met him four
23   weeks ago.    Because I don't want him out there going,
24   Well, Mike, why didn't you bring this to us before?
25   Well, I just met Dr. Shiva four weeks ago, and he's




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP305
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 306 of 971

                                                                            44
                     Absolute Proof - February 5, 2021


1    going to tell you, he actually ran for Senate and he
2    knows all about these machines now, and it -- and we're
3    going to hear some of the stuff that I found out and
4    went, Wow, this is a -- absolutely validates this
5    election fraud with these machines.            So go ahead.
6                     DR. SHIVA:      Yeah, thanks, Mike.
7                     MR. LINDELL:      Yeah.
8                     DR. SHIVA:      I'm glad we connected.
9                     MR. LINDELL:      Yeah.
10                    DR. SHIVA:      You know, it's a interesting
11   opportunity for me, Mike, because it's rare that a guy
12   who's a scientist and engineer, an MIT guy, even runs
13   for office.
14                    MR. LINDELL:      Right.
15                    DR. SHIVA:      And then it's even more rare
16   that you come across something you never thinks occurs
17   in the United States.        You know, I grew up in India --
18                    MR. LINDELL:      Right.
19                    DR. SHIVA:      -- and in third-world
20   countries, we talk about election fraud.
21                    When I was running in Massachusetts in
22   2020, we had it -- 3,000 volunteers on the ground, you
23   know, 20,000 bumper stickers, 10,000 lawn signs,
24   billboard ads, radio, TV, network.            We were everywhere.
25   The GOP establishment who doesn't want a bottoms-up guy




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP306
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 307 of 971

                                                                            45
                      Absolute Proof - February 5, 2021


 1   like me who hated Trump ran a no-name out there --
 2                    MR. LINDELL:     Uh-huh.
 3                    DR. SHIVA:     -- who -- no real lawn signs,
 4   no bumper stickers, no organization --
 5                    MR. LINDELL:     Right.     Right.
 6                    DR. SHIVA:     -- nothing.     And we knew on
 7   election night, which was the Republican primary,
 8   September 1st, 2020, the word "landslide" is what we
 9   heard everywhere.      We knew we had --
10                    MR. LINDELL:     That you were going to win by
11   a landslide?
12                    DR. SHIVA:     Oh, yeah, yeah.       I mean, it was
13   obvious.     I mean, we worked -- I mean, and -- and --
14                    MR. LINDELL:     I think you said unless there
15   was election fraud, which you --
16                    DR. SHIVA:     Yeah.
17                    MR. LINDELL:     But you probably thought --
18                    DR. SHIVA:     But I -- but I --
19                    MR. LINDELL:     -- that's just, you know,
20   maybe someone put -- (inaudible).
21                    DR. SHIVA:     Yeah.     And -- and one of my
22   close friends said, Shiva, we're going to win this --
23                    MR. LINDELL:     Yeah.
24                    DR. SHIVA:     -- unless there's election
25   fraud.     And I -- I just thought this is just some fringe




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com        800.445.9548

                                   APP307
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 308 of 971

                                                                              46
                     Absolute Proof - February 5, 2021


 1   stuff, right?
 2                   MR. LINDELL:      Right.     But you --
 3                   DR. SHIVA:      So I --
 4                   MR. LINDELL:      -- weren't thinking about
 5   machines?
 6                   DR. SHIVA:      I wasn't thinking about
 7   machines.
 8                   MR. LINDELL:      Okay.     All right.
 9                   DR. SHIVA:      -- because I didn't know that,
10   you know, you know, from creating email in all these
11   systems, I know the power of machines.
12                   MR. LINDELL:      Right.     Oh, by the way, yeah,
13   he created emails, right?
14                   DR. SHIVA:      I did.     I created emails --
15                   MR. LINDELL:      The creator -- creator of
16   email.   I just want to tell you, the guy's a genius.               So
17   what you're going to hear here -- this is what I did my
18   due diligence on.      I -- you know, this is just one guy.
19   I'm going, Okay, you know, is this real or is this not?
20   And it -- believe me, it's real.
21                   DR. SHIVA:      Yeah, I mean, you know, so I
22   have a lot of history, not only pattern analysis and
23   system science --
24                   MR. LINDELL:      Right.
25                   DR. SHIVA:      -- but I build large-scale




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP308
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 309 of 971

                                                                            47
                     Absolute Proof - February 5, 2021


 1   computer systems.      The stuff I've used has been used by
 2   the Senate, has been used by the largest --
 3                   MR. LINDELL:      Right.
 4                   DR. SHIVA:      -- Fortune 1000 companies in
 5   the world, so I know how you move from paper-based
 6   systems and electronic systems, and I know the power of
 7   electronic systems.      When you put some process that's in
 8   electronic form --
 9                   MR. LINDELL:      Right.
10                   DR. SHIVA:      -- a single individual has
11   immense amounts of power.        So that's a background.
12                   But on September 1st, 2020, what we saw was
13   we knew we'd won on a landslide.
14                   MR. LINDELL:      Right.
15                   DR. SHIVA:      And there we are with our big
16   party setup and we see the results coming in.             Now, in
17   Massachusetts, we saw, in Franklin County, which is 80
18   to 90 percent hand-counted paper ballots, no machines --
19                   MR. LINDELL:      Right.
20                   DR. SHIVA:      -- I win by 10 percent.        And in
21   every other county, Mike, 60/40, 60/40, 60/40, 60/40.
22                   MR. LINDELL:      That you lost by?
23                   DR. SHIVA:      I lost by.
24                   MR. LINDELL:      The exact percentage?
25                   DR. SHIVA:      Exact percentage by a guy who




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP309
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 310 of 971

                                                                            48
                      Absolute Proof - February 5, 2021


 1   was -- in -- in -- in a black county, this guy wins; in
 2   a white county, he wins; in a Hispanic county.             The guy
 3   was nowhere.
 4                    MR. LINDELL:     By the same percentage?
 5                    DR. SHIVA:     By the same percentage.
 6                    MR. LINDELL:     That's not only a deviation,
 7   but it's an anomaly.      That's --
 8                    DR. SHIVA:     It's -- it's an anomaly.
 9                    MR. LINDELL:     But do you think that's
10   impossible?     Or you're like me --
11                    DR. SHIVA:     Well, it's highly --
12                    MR. LINDELL:     (Inaudible.)
13                    DR. SHIVA:     I mean, to be from a scientific
14   standpoint --
15                    MR. LINDELL:     Right.
16                    DR. SHIVA:     -- you would say it's highly
17   unlikely.
18                    MR. LINDELL:     Right, right.
19                    DR. SHIVA:     And that began my journey to
20   start really saying, Wow, election fraud could take
21   place in America.
22                    MR. LINDELL:     Uh-huh.
23                    DR. SHIVA:     So I started reading up
24   everything I could.      By September 9th, eight days
25   later --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP310
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 311 of 971

                                                                            49
                     Absolute Proof - February 5, 2021


 1                   MR. LINDELL:      Right.
 2                   DR. SHIVA:      -- I found out something
 3   interesting.    I found out that these electronic voting
 4   machines -- remember, there's two ways you can vote.
 5   One is you vote -- you give a paper ballot and the paper
 6   ballot is counted by human beings, two people.
 7                   MR. LINDELL:      Right, right.
 8                   DR. SHIVA:      That's what occurred in
 9   Franklin County.     But in those other counties, they take
10   that paper ballot when you vote electronically --
11                   MR. LINDELL:      Into a machine.
12                   DR. SHIVA:      -- it goes into a machine.          And
13   what happens in that machine?         The paper ballot is
14   converted to an image called a ballot image.
15                   MR. LINDELL:      Right.    Right.
16                   DR. SHIVA:      No different than you taking a
17   phone -- a picture with your iPhone.
18                   MR. LINDELL:      Right.
19                   DR. SHIVA:      Now, so what is actually
20   counted, the paper ballot gets put aside.            The machine,
21   the electronic, quote/unquote, AI on the machine
22   actually tries to figure out where the circles are.
23                   MR. LINDELL:      Right.
24                   DR. SHIVA:      And the machine is counting the
25   ballot image.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP311
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 312 of 971

                                                                              50
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Right.
 2                    DR. SHIVA:     So at that stand- -- at that
 3   point, I realized, oh, my God, the ballot image is the
 4   ballot.
 5                    MR. LINDELL:     Right.
 6                    DR. SHIVA:     The images are the ballot.          So
 7   I --
 8                    MR. LINDELL:     So you were hold- -- but you
 9   were going to get to the bottom of this no matter what?
10                    DR. SHIVA:     No, I am because I -- I --
11                    MR. LINDELL:     Because you're like me --
12                    DR. SHIVA:     -- I like to solve problems.
13                    MR. LINDELL:     I want to say something.          One
14   thing about Dr. Shiva, when I met him, I'm going, Wow,
15   he's just like me.      I look at deviations every day.           If
16   I see a T.V. station that normally does 10,000 --
17   because I track them all individually -- it does 10,000,
18   and all of a sudden, one day, it -- it did only 2,000,
19   I'll tell you what, what I do is spend the rest of the
20   day or a week or a month, I'm going to find out how that
21   happened, because the only way things change is, what, a
22   different input.
23                    DR. SHIVA:     Exactly.
24                    MR. LINDELL:     A different input.       So you've
25   got this anomaly, you've got a -- you've got this




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP312
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 313 of 971

                                                                            51
                     Absolute Proof - February 5, 2021


 1   deviation, and not just because you were running.              A
 2   pers- -- you know, it's not like you were just biased
 3   going, you know, I won, I know I won.           You're --
 4   you're -- now you're digging in to find out how these --
 5   how this weird mathematical things happen.
 6                   DR. SHIVA:      Exactly.    I mean, the scientist
 7   engineer kicked in, right?
 8                   MR. LINDELL:      Right, right, yeah.        That --
 9   right.
10                   DR. SHIVA:      I mean, just like you.        You're
11   a scientist and engineer in -- in a very -- from a
12   marketing standpoint.
13                   MR. LINDELL:      Right.
14                   DR. SHIVA:      But -- and I think we both sort
15   of pursue the same aims.
16                   MR. LINDELL:      Right.
17                   DR. SHIVA:      But here, what we found out was
18   that the first thing that gave me a big insight is that
19   (a) ballot images are being created.
20                   MR. LINDELL:      Right.
21                   DR. SHIVA:      And then I also found out by
22   federal law, in 1974, they passed a law for federal
23   elections, those ballot images must be saved.             So that
24   was one piece of the puzzle, okay?
25                   MR. LINDELL:      Uh-huh, right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP313
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 314 of 971

                                                                            52
                     Absolute Proof - February 5, 2021


 1                   DR. SHIVA:      The other piece of the puzzle
 2   was, I found out that the voting machines, as early as
 3   2002, have a feature in there called a "weighted race
 4   feature," where it's embedded into the system where you
 5   can multiply candidates' votes by a percentage.              All
 6   right.   So what that means is you get a thousand votes,
 7   I get a thousand votes.
 8                   MR. LINDELL:      Right.
 9                   DR. SHIVA:      I can multiply your votes by
10   two, my votes by .5.      And if everyone -- anyone doesn't
11   believe this, go look up the Diebold Voting Manual, go
12   to Page 2-126 in the manual in the 2002 version --
13                   MR. LINDELL:      Right.
14                   DR. SHIVA:      -- and you'll see it in there.
15                   MR. LINDELL:      So did -- were you able to
16   prove that yours -- that your election was stole by the
17   machines?    Did you -- mathematically, do you prove a
18   hu- -- did you prove 100 percent that this could only be
19   re- -- recreated by a machine to do that 60/40, that
20   same -- you know...
21                   DR. SHIVA:      Yeah.   So what we proved, Mike,
22   was -- well, first of all, we showed that the state had
23   deleted the ballot images.
24                   MR. LINDELL:      Right.
25                   DR. SHIVA:      Which means that if they had




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP314
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 315 of 971

                                                                            53
                     Absolute Proof - February 5, 2021


 1   the ballot image, I could have found the algorithm.               So
 2   it came upon me to use all that 40, 50 -- 40 years of
 3   experience that I'd learned from 14 all the way to MIT,
 4   I had to bring all that rocket science --
 5                   MR. LINDELL:      Right.
 6                   DR. SHIVA:      -- to actually look at the
 7   data.    And what I found out in the data was a very
 8   interesting anomaly.
 9                   MR. LINDELL:      Uh-huh.
10                   DR. SHIVA:      Which in -- as you said, a
11   deviation --
12                   MR. LINDELL:      Right.
13                   DR. SHIVA:      -- in one of counties called
14   Suffolk County, which is typically highly Democrat.
15                   MR. LINDELL:      Right.
16                   DR. SHIVA:      So we were able to see these
17   interesting numbers, up, down, up, down, up, down.
18                   MR. LINDELL:      Right.
19                   DR. SHIVA:      Essentially -- imagine going to
20   a casino, every time you roll twice the number of odd as
21   you get even.     Okay?
22                   MR. LINDELL:      Right, right.
23                   DR. SHIVA:      It's not likely.      It should be
24   50/50.
25                   MR. LINDELL:      (Inaudible) right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP315
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 316 of 971

                                                                            54
                     Absolute Proof - February 5, 2021


 1                   DR. SHIVA:      And in fact, when we did the
 2   numbers, that pattern could only occur one in 100,000.
 3                   MR. LINDELL:      Uh-huh.
 4                   DR. SHIVA:      We appli- -- we, you know, sued
 5   the state on this and the judge did not dismiss our
 6   case.
 7                   MR. LINDELL:      It's still open?
 8                   DR. SHIVA:      It's still -- not only it's
 9   open, but we survived dismissal.          And the other thing
10   was, we also showed that when I put this out on Twitter
11   and said, Look, the Secretary of State deleted ballot
12   images, Twitter didn't do anything to me, but the
13   Secretary of State contacted Twitter to shut me down,
14   along with the National Association of State Election
15   Directors that came out.
16                   MR. LINDELL:      Wow.    Well, let me stop you
17   right there because I want to say something.
18                   DR. SHIVA:      Yeah.
19                   MR. LINDELL:      Did you hear the Twitter
20   thing?   All of you in this country and the world know my
21   Twitter was taken down.       You know why it was taken down
22   the first time 20-some days ago is because I put up --
23   of the new evidence, which Dr. Shiva here I'm going to
24   tell him in a second, this new evidence that came out
25   shows the time stamp in -- in space of where -- you




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP316
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 317 of 971

                                                                            55
                      Absolute Proof - February 5, 2021


 1   know, where the -- who did it, what country did it, like
 2   China --
 3                    DR. SHIVA:     Well, remember, we have two
 4   cases.     First, we show -- we basically went into court
 5   saying the Secretary of State contacted Twitter.              That
 6   means Twitter takes orders from the government.              This is
 7   what we showed.     Twitter takes orders from the
 8   government.
 9                    MR. LINDELL:     And you're -- and that's
10   proven?     That's 100 percent?
11                    DR. SHIVA:     Yes.   It came out in three --
12                    MR. LINDELL:     100 percent, the Secretary of
13   State --
14                    DR. SHIVA:     -- three hours of testimony --
15                    MR. LINDELL:     -- said Jack Dorsey --
16                    DR. SHIVA:     Took orders from the Secretary
17   of State of Massachusetts.        This is what happens in
18   countries like China.       The government tells the
19   corporations what to do.        And in -- in the United
20   States, what came out in our three hours of testimony
21   where I represented myself --
22                    MR. LINDELL:     Right.
23                    DR. SHIVA:     -- no one wanted to take the
24   swamp on in Massachusetts.
25                    MR. LINDELL:     Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP317
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 318 of 971

                                                                            56
                     Absolute Proof - February 5, 2021


1                     DR. SHIVA:      So what came out was, we have
2    the Secretary of State's -- the election director and
3    the communications officer saying they contacted Twitter
4    to shut me down and Twitter obeyed.
5                     MR. LINDELL:      Is that still open?        Is that
6    still open?
7                     DR. SHIVA:      Not only is it open, the judge
8    gave me the restraining order, and the case is open.
9    And my other case to decertify, they tried to apply a
10   100, 200-page motion to dismiss and the judge denied
11   their motion.
12                    MR. LINDELL:      Wow.
13                    DR. SHIVA:      And that means -- look, MIT --
14   MIT's in Massachusetts, right?
15                    MR. LINDELL:      Right.
16                    DR. SHIVA:      There's a lot of computer
17   people there.
18                    MR. LINDELL:      Right.
19                    DR. SHIVA:      No one has rebutted my
20   mathematical explanation showing that they multiplied
21   my -- my votes by .666.        So look --
22                    MR. LINDELL:      .666, they multiply it by?
23                    DR. SHIVA:      Exactly.     And the other guy's
24   by 1.2.
25                    MR. LINDELL:      Everybody hear that?         Wow.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP318
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 319 of 971

                                                                            57
                     Absolute Proof - February 5, 2021


 1                   DR. SHIVA:      Well, I -- I think one of the
 2   things the public needs to understand is, federal laws,
 3   the Department of Justice is supposed to enforce them.
 4                   MR. LINDELL:      Right.
 5                   DR. SHIVA:      You know, when we found out the
 6   ballot images were deleted, we informed -- what's the
 7   name, Barr --
 8                   MR. LINDELL:      Right.
 9                   DR. SHIVA:      -- and the local U.S. Attorney
10   and they've done nothing.
11                   MR. LINDELL:      No.
12                   DR. SHIVA:      So basically, this is what
13   happens in third-world countries, right --
14                   MR. LINDELL:      Right, right.
15                   DR. SHIVA:      -- you have laws but nothing's
16   followed.
17                   MR. LINDELL:      Right.
18                   DR. SHIVA:      And if that's where we've
19   gotten into, it's a serious problem for this country
20   because the laws don't mean anything.
21                   MR. LINDELL:      Well, it's a serious
22   problem -- you mentioned Barr.          I mean, he comes out and
23   says there was no election fraud.          You know, and here we
24   have right here, you told him of some, right?
25                   DR. SHIVA:      I told him of some.       I went




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP319
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 320 of 971

                                                                            58
                     Absolute Proof - February 5, 2021


1    to --
2                     MR. LINDELL:      Is this before the election,
3    even?
4                     DR. SHIVA:      Before.
5                     MR. LINDELL:      (Inaudible.)
6                     DR. SHIVA:      Well, this was in October.
7                     MR. LINDELL:      October.
8                     DR. SHIVA:      I walked -- so this was --
9    yeah, in Oct- --
10                    MR. LINDELL:      Bill Barr, if you're
11   watching, I mean -- I mean, what -- why would you say
12   something like that when, yes, this is -- this wasn't
13   just election fraud, this was a historical election
14   fraud.    This was coming from a lecture -- or from
15   machines, from these machines of Biblical proportions,
16   of historical proportions.         And now this is -- it's all
17   going to get exposed.        And I want all these -- I want
18   the senators, the congressmen, the government, the
19   governors, the legislators, everybody needs to watch
20   this show, and when you do, you know, a lot of you can
21   go, Wow, I never knew, I never knew.
22                    And that'll be a lot of excuses for a lot
23   of them because of our mainstream media and all the
24   people.    I can't believe the money spent to suppress
25   this, you know, to suppress it.            So when you pop --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP320
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 321 of 971

                                                                            59
                     Absolute Proof - February 5, 2021


1    anything that popped up, boy, they were right on it,
2    let's destroy them.
3                     DR. SHIVA:      Right.
4                     MR. LINDELL:      Let's destroy them.        Like,
5    who was the last thing to pop up?           Me.    When I see this,
6    I popped up.     And how do you destroy my platform because
7    everybody knows I'm out there?            They've done everything
8    they could from -- from bots and trolls to go after my
9    integrity, to Twitter.        I mean, it's just been a massive
10   attack.    But then, you know, you're right over target,
11   right?
12                    DR. SHIVA:      It wasn't Twitter acted alone.
13   We found the government --
14                    MR. LINDELL:      Right.     (Inaudible.)
15                    DR. SHIVA:      -- contacting Twitter.         Now,
16   this is a fundamental violation of the First Amendment.
17   Political speech -- government speech cannot supersede
18   political speech.       So I -- I bet you you'll find out
19   that some government official may have likely been
20   involved in contacting Twitter in your case.
21                    MR. LINDELL:      Oh, there's big -- oh, yeah.
22   Well, we --
23                    DR. SHIVA:      And that's what --
24                    MR. LINDELL:      I know Jack Dorsey was
25   involved.    Jack, if you're out there, I mean, you did




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP321
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 322 of 971

                                                                            60
                     Absolute Proof - February 5, 2021


1    this to my movie a couple years ago with Unplanned,
2    where they shut Twitter down -- shut -- Twitter shut
3    that down for two hours when it -- when it launched.
4                     DR. SHIVA:      I see.
5                     MR. LINDELL:      I mean, you look at -- we're
6    getting into a whole segment there where you're talking
7    about how -- we all know the social media, what they've
8    done, you know, from Mark -- from Mark Zuckerberg and
9    Jack Dorsey.     These platforms, the power they have along
10   with the mainstream media, you know, what did they do
11   when they took over -- you talk about third world
12   country, in Nazi Germany, they took over, you know, all
13   your -- any -- in any country like that, they'll take
14   over your communication.
15                    You know, how are we going to communicate?
16   You're here and one sec (making noise), you know, and --
17   and this is where we're at.          But we're going to get this
18   out there.    This show is going to be -- this is what
19   everybody's been waiting for.
20                    And, you know, if I -- I encourage a
21   newscast out there, if you're -- all these journalists
22   and all you -- and all you guys that have been calling
23   me, all -- for three weeks now, you never called me
24   before, your -- from your CNNs to your New York Times,
25   your Washington Post, all you guys have been calling me




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP322
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 323 of 971

                                                                              61
                     Absolute Proof - February 5, 2021


 1   nonstop every day because you think you got some kind
 2   of -- making up some dirt or something from -- because
 3   Dominion -- you're saying things about Dominion.
 4                   I encourage all you, why don't you be a
 5   real journalist and take this story and run with it.                Be
 6   the first one to go, Wow, this is real.           You'd -- maybe
 7   you become the biggest outlet in the country by doing
 8   that.   Just (inaudible) --
 9                   DR. SHIVA:      Because the real crime scene in
10   America is these computer algorithms.
11                   MR. LINDELL:      And I'm going to tell you,
12   it's -- that is the crime scene.          And I'm going to tell
13   you, this is their game too, that these machine guys
14   played, espe- --     with, like, Dominion, they went out
15   there and a lot of these places, I couldn't even go on
16   the media and talk about these machines because they
17   were threatened.
18                   I go on a -- I go on a news talk show and
19   they go, Well, you can't talk about that.            I was just on
20   one last night.     You can't talk about that.         Why not?
21                   Okay.    Now we have Patrick Colbeck.          And he
22   was a former state senator in Michigan.           And Patrick,
23   how are you involved with all -- you know, what brought
24   you here today?
25                   MR. COLBECK:      Yeah.    Well, it came from --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP323
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 324 of 971

                                                                            62
                     Absolute Proof - February 5, 2021


1    as a result of my decision to be a poll challenger out
2    of the Detroit AV Counting Board.           I did a marathon
3    25-hour shift from -- to -- starting on election night
4    around 5 o'clock all the way through the next day.
5                     MR. LINDELL:      Wow.    This --
6                     MR. COLBECK:      So we witnessed all the
7    fun --
8                     MR. LINDELL:      This was in Michigan?
9                     MR. COLBECK:      Yep.
10                    MR. LINDELL:      Where at in Michigan, what
11   county?
12                    MR. COLBECK:      At the Detroit AV Counting
13   Board in Wayne County.        Well, a little background on me,
14   I mean, I was a form- -- when I was a state senator, I
15   was actually the vice chair of the Elections Government
16   Re- -- or Elections and Government Reform Committee in
17   the Michigan State Senate.
18                    MR. LINDELL:      Right.
19                    MR. COLBECK:      And in addition to that
20   background, my background's as a Microsoft small
21   business specialist.       And -- and I did cabling design on
22   the space station.       So in other words, I'm familiar with
23   election processes and I'm familiar with network
24   configurations.      So my focus, when I came at the Detroit
25   AV Counting Board was, I wanted to understand




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP324
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 325 of 971

                                                                            63
                      Absolute Proof - February 5, 2021


 1   specifically the hand-off of vote tally information
 2   throughout the system.       We did see evidence that it was
 3   connected to the internet.
 4                    MR. LINDELL:     What was that evidence?
 5                    MR. COLBECK:     Well, that -- that control
 6   center -- they've already been -- they've already
 7   admitted to the fact that that control center had
 8   computers that were connected to the internet.             And we
 9   saw the actual cable routed from the wall of the -- of
10   the TCS center to the control center.           And we have
11   election officials that admitted that there were
12   computers --
13                    MR. LINDELL:     That were online.
14                    MR. COLBECK:     -- in that control center --
15                    MR. LINDELL:     That were online.
16                    MR. COLBECK:     -- that were connected to the
17   internet.     And anybody with -- worth their salt in IT
18   land understands that if one computer's connected to the
19   internet, they're all --
20                    MR. LINDELL:     They're all connected.
21                    MR. COLBECK:     -- connected to the internet.
22   You may say that it's air gapped --
23                    MR. LINDELL:     Right.
24                    MR. COLBECK:     -- you may say you have a
25   firewall --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP325
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 326 of 971

                                                                            64
                     Absolute Proof - February 5, 2021


 1                   MR. LINDELL:      So that would be --
 2                   MR. COLBECK:      -- but there's people that
 3   eat firewalls for breakfast.
 4                   MR. LINDELL:      So -- so that -- so what
 5   you're saying, you knowing that, so if it's connected to
 6   the internet, somebody out there could have hacked in --
 7                   MR. COLBECK:      Yeah.
 8                   MR. LINDELL:      -- and then did the flipping
 9   of the votes.
10                   MR. COLBECK:      An- -- yep.     When you get
11   into a case where you've got the same devices that are
12   supposed to be capturing that vote tally connected to
13   the internet, or frankly even connected to a large local
14   area network --
15                   MR. LINDELL:      Right, right.
16                   MR. COLBECK:      -- and you can't witness that
17   hand-off --
18                   MR. LINDELL:      Right.
19                   MR. COLBECK:      -- of vote tallies, you don't
20   have that seal.     So you may be thinking you're passing
21   that information from Point A to Point B, but there's
22   nothing --
23                   MR. LINDELL:      It's intercepted.
24                   MR. COLBECK:      -- to prevent it being --
25                   MR. LINDELL:      So --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP326
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 327 of 971

                                                                            65
                     Absolute Proof - February 5, 2021


1                     MR. COLBECK:      -- from going to Point C --
2                     MR. LINDELL:      Right.
3                     MR. COLBECK:      -- in the interim.
4                     MR. LINDELL:      So that --
5                     MR. COLBECK:      -- it's called the "man in
6    the middle" attack.
7                     MR. LINDELL:      Right.     So that -- so if
8    you're on -- if you're online, I mean, anybody could get
9    in there --
10                    MR. COLBECK:      Yeah.
11                    MR. LINDELL:      -- and then do that because
12   they're intercepting that -- it's an interception.
13   That's why you don't have --
14                    MR. COLBECK:      Right.
15                    MR. LINDELL:      -- machines aren't supposed
16   to be online in election, right?
17                    MR. COLBECK:      Yes --
18                    MR. LINDELL:      They're not --
19                    MR. COLBECK:      -- it's called "man in the
20   middle."
21                    MR. LINDELL:      Right.
22                    MR. COLBECK:      And you wouldn't accept
23   that -- if it was a traditional precinct and you got
24   that -- you got that precinct result and it wasn't
25   sealed, you'd be raising your hand saying, Something's




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP327
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 328 of 971

                                                                            66
                      Absolute Proof - February 5, 2021


 1   rotten here.
 2                    MR. LINDELL:     Absolutely.     I want to ask
 3   this, though, because if you were there, did it slow
 4   down in the middle of the night when you were there,
 5   like --
 6                    MR. COLBECK:     Absolutely.
 7                    MR. LINDELL:     -- at 2:00 in the morning?
 8                    MR. COLBECK:     Yeah, it was --
 9                    MR. LINDELL:     So it slowed down to a
10   trickle?
11                    MR. COLBECK:     It was almost dead as the
12   night, yeah.     And that's when some ballots came in the
13   backdoor.
14                    MR. LINDELL:     Well now we're here with
15   Melissa Carone, and you were actually hired by Dominion
16   for November 3rd and 4, just for two days --
17                    MS. CARONE:     Yes.
18                    MR. LINDELL:     -- right?
19                    MS. CARONE:     Yeah.
20                    MR. LINDELL:     And -- and they found you
21   online, right?     You had a resume online --
22                    MS. CARONE:     Right.
23                    MR. LINDELL:     -- you have an IT background?
24                    MS. CARONE:     Yep, yep.
25                    MR. LINDELL:     Okay.    So why don't you tell




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP328
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 329 of 971

                                                                            67
                     Absolute Proof - February 5, 2021


 1   us, you know, tell us what happened.
 2                   MS. CARONE:      So I was there to assist with
 3   IT work --
 4                   MR. LINDELL:      Okay.
 5                   MS. CARONE:      -- for Dominion.
 6                   MR. LINDELL:      Okay.
 7                   MS. CARONE:      So what I was doing was just
 8   walking up and down the rows of the tabulating machines.
 9                   MR. LINDELL:      By the machines?
10                   MS. CARONE:      Yeah.    Yeah.
11                   MR. LINDELL:      Okay.    So there's -- it's a
12   tabulating machine?
13                   MS. CARONE:      Yeah.    So I could get very
14   close to these machines.
15                   MR. LINDELL:      Okay.    So then -- so what
16   about the -- is -- was that the only kind of machine?
17                   MS. CARONE:      No, there was -- so there --
18   on the stage, there was adjudication machines in the
19   front and the back --
20                   MR. LINDELL:      Okay.
21                   MS. CARONE:      -- and then on the sides,
22   there was the adjudica- --
23                   MR. LINDELL:      Okay.
24                   MS. CARONE:      Or the -- that's -- I'm sorry,
25   the tabulating machines.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP329
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 330 of 971

                                                                            68
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Right.     Both Dominion
 2   machines, correct?
 3                    MS. CARONE:     Both Dominion machines.
 4                    MR. LINDELL:     Okay.     All right.    So you got
 5   to see, what, thousands of votes?
 6                    MS. CARONE:     Thou- -- thousands.
 7                    MR. LINDELL:     Thousands upon thousands of
 8   votes?   Okay.    What was on every vote?
 9                    MS. CARONE:     Every vote that I saw was for
10   Joe Biden.
11                    MR. LINDELL:     For Joe Biden.      When I heard
12   this -- and I want to say, the -- you've seen -- you
13   worked how many hours, 20- --
14                    MS. CARONE:     22 straight hours that night.
15                    MR. LINDELL:     And then you came back for
16   four hours?
17                    MS. CARONE:     Correct.
18                    MR. LINDELL:     Out of all that time, did you
19   ever see one Trump vote?
20                    MS. CARONE:     I never saw a single Trump
21   vote.
22                    MR. LINDELL:     Right.
23                    MS. CARONE:     So when the ballots got to the
24   tabulating machines, they would just put them through --
25   put them -- it's kind of like a printer, you would look




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP330
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 331 of 971

                                                                            69
                     Absolute Proof - February 5, 2021


 1   at it kind of like a printer where the paper would come
 2   out --
 3                   MR. LINDELL:      Right.
 4                   MS. CARONE:      -- normally --
 5                   MR. LINDELL:      Yep, yep.
 6                   MS. CARONE:      -- that's where they were put
 7   in.   And it would end up, as they were tabulated, on the
 8   top of the machine.      Okay?
 9                   MR. LINDELL:      Right.    Right.
10                   MS. CARONE:      So these would jam constantly,
11   constantly jam.
12                   MR. LINDELL:      Right, right.
13                   MS. CARONE:      And because these are mail-in
14   ballots, the creases --
15                   MR. LINDELL:      Right, right.
16                   MS. CARONE:      -- anything in them would --
17   would jam this in the tabulator.
18                   MR. LINDELL:      And when they jammed, what
19   happened?
20                   MS. CARONE:      When they jammed --
21                   MR. LINDELL:      This is very interesting.
22                   MS. CARONE:      -- they would take the ballot
23   and the compu- -- there was a computer in front of each
24   person.
25                   MR. LINDELL:      Right.




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP331
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 332 of 971

                                                                            70
                     Absolute Proof - February 5, 2021


1                     MS. CARONE:      It would say Ballot No., you
2    know, 20 --
3                     MR. LINDELL:      20.
4                     MS. CARONE:      -- jammed.
5                     MR. LINDELL:      Out of a group of 50?
6                     MS. CARONE:      Yeah.
7                     MR. LINDELL:      So the 20th ballot jammed?
8                     MS. CARONE:      Uh-huh.
9                     MR. LINDELL:      Then what?      Then what?
10                    MS. CARONE:      So it would say "discard or
11   rescan."    And the way they were supposed to do it is
12   discard them and -- and then rescan them, but they were
13   not discarding these, so --
14                    MR. LINDELL:      So they used the same --
15   let's say 30 went through, it got stuck on the 30th
16   one --
17                    MS. CARONE:      Uh-huh.
18                    MR. LINDELL:      -- they put that No. 30 at
19   the top of the same 50 pack --
20                    MS. CARONE:      Yeah.
21                    MR. LINDELL:      -- and run them through
22   again?
23                    MS. CARONE:      Yeah.
24                    MR. LINDELL:      So you're telling me that
25   tabulator had no way to know -- it's just counting




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP332
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 333 of 971

                                                                            71
                     Absolute Proof - February 5, 2021


 1   the -- the number of -- like a -- counting a deck of
 2   cards?
 3                   MS. CARONE:      That's exactly what it was
 4   doing.
 5                   MR. LINDELL:      It's not -- you could sit
 6   there and run the same deck of cards through this
 7   tabulator --
 8                   MS. CARONE:      Yes.
 9                   MR. LINDELL:      -- over and over and over and
10   over again --
11                   MS. CARONE:      Yeah.
12                   MR. LINDELL:      -- is that right?
13                   MS. CARONE:      So one time through the night,
14   I approached my manager and I said, This -- this machine
15   has a count of over 400 on it.
16                   MR. LINDELL:      Right.
17                   MS. CARONE:      I said, What's going on here?
18   And he -- I said, This is not right.           There's -- it
19   should not go above 50.       There should -- because the
20   batches are only 50.
21                   MR. LINDELL:      Only 50.
22                   MS. CARONE:      And I said, We have a huge
23   problem here.     And he said, I don't -- he pulled me
24   aside and he said, I don't want to hear that we have a
25   problem.   He said, We are here to assist with IT work --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP333
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 334 of 971

                                                                            72
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Now, was this a Dominion guy?
 2                    MS. CARONE:     He -- he own -- he's actually
 3   a part-owner of Dominion.
 4                    MR. LINDELL:     Wow.     Okay.
 5                    MS. CARONE:     Yes.
 6                    MR. LINDELL:     What?     So 26 hours of
 7   watching ballot after ballot --
 8                    MS. CARONE:     Uh-huh.
 9                    MR. LINDELL:     -- by -- walking up and down
10   these tabulating machines, not one ballot was for Donald
11   Trump.
12                    Okay.   Now we're here with Matt DePerno,
13   and he's the lawyer that we all heard about -- this
14   Antrim County.     How did you get this county that you
15   hear about and how do you even get involved in this?
16                    MR. DEPERNO:     Sure.     Well, I know some
17   people who live up in Antrim County, and Antrim County
18   is a small county up in northern Michigan.            It
19   historically votes roughly 65 percent Republican,
20   35 percent Democrat.      And in this case, it completely
21   flipped on election night, roughly 65 percent of the
22   vote went to Joe Biden and 35 percent to Donald Trump.
23                    So people who lived up there knew that
24   there was a problem, they knew that the results were not
25   correct.   And on the morning of November 4th, they




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP334
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 335 of 971

                                                                            73
                     Absolute Proof - February 5, 2021


 1   actually contacted the Antrim County Clerk and requested
 2   that she look into the results because they knew what
 3   had been posted on the website could not be true.
 4                   And through a series of events, people I
 5   knew up there and -- and a person named Bill Bailey,
 6   who's a -- a patriot who lives up in Antrim County and
 7   who knew there was a problem and wanted to challenge the
 8   results, they ended up connecting him to me and I filed
 9   a lawsuit.    But what's important is, in -- in filing
10   this lawsuit, we weren't seeking publicity, we weren't
11   seeking fame, we just wanted to get results.
12                   We filed an -- the name and in the name of
13   a patriot named Bill Bailey and we challenged down
14   ballot school board elections.         That's what he was most
15   interested in and in learning about school board
16   elections.    Of course, he was obviously also interested
17   in other aspects of the election, what happened in the
18   presidential election and how did things flip.
19                   But primarily, we -- the -- the case
20   centered on local politics.        But if you look at certain
21   tow- -- townships like Chestonia Township --
22                   MR. LINDELL:      Okay.
23                   MR. DEPERNO:      -- Joe Biden got 197 votes on
24   November 3rd.
25                   MR. LINDELL:      Right.    Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP335
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 336 of 971

                                                                              74
                      Absolute Proof - February 5, 2021


1                      MR. DEPERNO:     In reality, he only got 93.
2    After --
3                      MR. LINDELL:     And how do you know that,
4    that he only got 93?
5                      MR. DEPERNO:     Because there's since been a
6    hand recount done.
7                      MR. LINDELL:     A hand recount.       So when did
8    they do that?
9                      MR. DEPERNO:     They did a hand recount on
10   November 21st and then again on December 17th.
11                     MR. LINDELL:     Right, right.       Okay.
12                     MR. DEPERNO:     On December 17th, actually,
13   they told us they were going to do a full audit of the
14   county --
15                     MR. LINDELL:     Right.
16                     MR. DEPERNO:     -- the Secretary of State
17   did.    But in -- in reality, they only did a hand recount
18   again.
19                     MR. LINDELL:     Okay.
20                     MR. DEPERNO:     So --
21                     MR. LINDELL:     So on the recounts, we got
22   197, and then over here, Donald Trump had 3 [sic].                  So
23   then when you -- the real numbers were 93 and 197; is
24   that correct?
25




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP336
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 337 of 971

                                                                            75
                     Absolute Proof - February 5, 2021


1                     MR. DEPERNO:       That's correct.      So you can
2    see Joe Biden on election night --
3                     MR. LINDELL:       Right.
4                     MR. DEPERNO:       -- got 197.
5                     MR. LINDELL:       Right.
6                     MR. DEPERNO:       He got Donald Trump's 197
7    votes.
8                     MR. LINDELL:       Right -- they -- right.
9                     MR. DEPERNO:       We can know -- we know that
10   that was a --
11                    MR. LINDELL:       This is 100 percent fact
12   here.
13                    MR. DEPERNO:       100 percent factual.
14                    MR. LINDELL:       Now -- now, what we're
15   showing here, you guys, so everyone knows, these are all
16   precincts.    I don't know if you can see this here, but
17   these are all precincts.         So let's just do this
18   precinct -- precinct.        392.    This is done through the
19   machines, and Donald Trump got 8.            What?   So here is 392
20   to 8, but the real number was 198 to 392.
21                    MR. DEPERNO:       And if you see here, Elk
22   Township, Joe Biden got 392 on the election --
23                    MR. LINDELL:       Right.
24                    MR. DEPERNO:       -- in reality, those are
25   Donald Trump's votes, those were the 392.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP337
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 338 of 971

                                                                             76
                     Absolute Proof - February 5, 2021


1                     MR. LINDELL:      Right.     They were just
2    flipped.    In order for that to be off, you do the
3    conclusion, which I would right now, 100 percent, how
4    could that be off?       There would be something wrong with
5    what?
6                     MR. DEPERNO:      The machine.
7                     MR. LINDELL:      The machines.       The machines.
8    And what we're showing here right now, what you're going
9    to see, all this that we've been talking about, this
10   massive machine election fraud that went on where
11   countries hacked into our election -- and nationwide,
12   this is one little county in northern Michigan.                And
13   these machines would do it right down to the precinct.
14                    Okay.    What we -- you're going to see --
15   this is the example we have that where -- that was
16   hand-counted and that, you know, the rest of the
17   country, you know, didn't get to do that.              They didn't
18   have the luxury of being able to do that, you know.                    And
19   so what I want to tell y'all, is this is the perfect
20   example, just so you know, right down to the precinct
21   level what went on with these machines.             I want -- want
22   to see one more here.        So --
23                    MR. DEPERNO:      Well, you can look at, like,
24   the Kearney Township --
25                    MR. LINDELL:      Yeah.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP338
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 339 of 971

                                                                            77
                     Absolute Proof - February 5, 2021


1                     MR. DEPERNO:      -- Joe Biden got 744 on
2    election night.
3                     MR. LINDELL:      Right.
4                     MR. DEPERNO:      Those were Donald Trump's
5    votes.   He actually recorded 16 on election night.
6                     MR. LINDELL:      Okay.    So here's this county
7    that traditionally always is, like, 65 percent
8    Republican, 35 percent Democrat, correct?
9                     MR. DEPERNO:      Correct, that's correct.
10                    MR. LINDELL:      Okay.    So everyone in the
11   county knew when these numbers came in on -- on
12   November 4th, they're going, um, there's something wrong
13   with the machines.       Everyone.     Everyone would think
14   that.    It wouldn't matter if you're a Democrat or
15   Republican.     You're going, Wow.         And it's not like --
16   what -- and they couldn't use the deviation, saying,
17   Well, it was because of mail-in voting because this
18   isn't -- there's no huge cities in there like Detroit,
19   correct?
20                    MR. DEPERNO:      That's correct.       So --
21                    MR. LINDELL:      Right -- so I just want
22   everyone out there to know this before you get
23   (inaudible).     This is just a small county, northern
24   Michigan, and they ended up flipping -- we had 15,718
25   votes -- votes --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP339
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 340 of 971

                                                                            78
                     Absolute Proof - February 5, 2021


1                     MR. DEPERNO:      15,718 votes.
2                     MR. LINDELL:      Votes.     And 7,060 were
3    flipped from Bi- -- or Trump to Biden; is that correct?
4                     MR. DEPERNO:      Yeah.    And what's more --
5    even more --
6                     MR. LINDELL:      Wow.
7                     MR. DEPERNO:      -- what's even more
8    interesting --
9                     MR. LINDELL:      By machine -- by machines,
10   right?
11                    MR. DEPERNO:      By machines.
12                    MR. LINDELL:      It had to be done by the
13   machines?
14                    MR. DEPERNO:      Absolutely by machines.
15                    MR. LINDELL:      Okay.
16                    MR. DEPERNO:      If you look at the original
17   vote count, 7,769 --
18                    MR. LINDELL:      Right.
19                    MR. DEPERNO:      -- for Do- -- Joe Biden and
20   4,509 for Donald Trump.
21                    MR. LINDELL:      Right, right.
22                    MR. DEPERNO:      That actually totals 12,278
23   votes --
24                    MR. LINDELL:      Right.
25                    MR. DEPERNO:      -- by machine on




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP340
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 341 of 971

                                                                            79
                      Absolute Proof - February 5, 2021


 1   November 3rd.     That's the vote tally.
 2                    MR. LINDELL:     Right.
 3                    MR. DEPERNO:     That wasn't correct 'cause if
 4   you look at the hand recount, it was actually 5,959 for
 5   Joe Biden and 9,759 --
 6                    MR. LINDELL:     Right.
 7                    MR. DEPERNO:     -- for Donald Trump, which
 8   gets us to 15,718 --
 9                    MR. LINDELL:     Got ya.
10                    MR. DEPERNO:     So the question is, where
11   did -- where were the 3200 votes --
12                    MR. LINDELL:     Right.
13                    MR. DEPERNO:     -- on election night?
14                    MR. LINDELL:     Right.
15                    MR. DEPERNO:     Why weren't they recorded?
16                    MR. LINDELL:     And -- right.      And that --
17   but -- but even -- even with that -- and we don't know
18   why.     We don't know why on that.       We're -- I'm here to
19   show everyone out the facts and evidence that I've seen
20   100 percent.     Here's 100 percent.       This little county in
21   northern Michigan, look at what the difference was.               It
22   was a net of 5,250 votes; is that correct?
23                    MR. DEPERNO:     That's a net for Donald
24   Trump.
25                    MR. LINDELL:     That's a net for Donald




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP341
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 342 of 971

                                                                             80
                      Absolute Proof - February 5, 2021


 1   Trump.   There was 7,000 -- that's where you get the
 2   7,060 votes.
 3                    MR. DEPERNO:     So what I want to show you
 4   here in the next slide is actually the number of
 5   registered voters.      This is what you're getting to.           The
 6   number of registered voters in the county is twen- --
 7   22,082 votes.
 8                    MR. LINDELL:     Right.
 9                    MR. DEPERNO:     And this is the total number
10   of votes cast by machine on November 3rd --
11                    MR. LINDELL:     Right.
12                    MR. DEPERNO:     -- 16,047.     Now, of course,
13   not everyone votes for the president --
14                    MR. LINDELL:     Right.
15                    MR. DEPERNO:     -- so that's why there's
16   going to be some disparity.
17                    MR. LINDELL:     Right.
18                    MR. DEPERNO:     But you see what happened in
19   Antrim County.     On November 3rd, there were 16,047 votes
20   cast.
21                    MR. LINDELL:     Right.
22                    MR. DEPERNO:     And then on November 5th when
23   they did a recount, somehow they gained 2,000 more
24   votes.
25                    MR. LINDELL:     Wow.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP342
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 343 of 971

                                                                            81
                     Absolute Proof - February 5, 2021


1                     MR. DEPERNO:      And we haven't got an
2    explanation as to why that happened.
3                     MR. LINDELL:      Right.     But -- but we do
4    have -- we do know that there was 7,000 -- if you
5    were -- if you were to say right now and go, you know
6    what, we do know that 7,060 -- Donald Trump had 7,060
7    more votes net out of this county.
8                     MR. DEPERNO:      That's correct.
9                     MR. LINDELL:      That's 100 percent fact.
10                    MR. DEPERNO:      100 percent fact.
11                    MR. LINDELL:      100 percent fact.
12                    MR. DEPERNO:      So after we filed a lawsuit,
13   we -- we -- at the same time we filed the lawsuit, we
14   also filed a motion with the court, asking the judge to
15   allow us to take forensic images of the Dominion system,
16   the Dominion Voting System.          And -- and he granted that.
17   And we then went in, and I believe it was
18   December 6th --
19                    MR. LINDELL:      Right.
20                    MR. DEPERNO:      -- and with a team of
21   forensic scientists and data collection scientists,
22   we -- we captured the forensic images of the Domi- --
23   Dominion Voting System.        The master tabulator is what we
24   call it, sitting in the county building, along with all
25   of the CF cards, which are the program cards that run




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP343
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 344 of 971

                                                                            82
                      Absolute Proof - February 5, 2021


 1   the actual software along with the actual data cards or
 2   thumb drives that collect and tally the results in each
 3   precinct, we captured the forensic images of all of
 4   those items --
 5                    MR. LINDELL:     Okay.    I want to -- I want to
 6   say something there.      So the people -- did you hire
 7   these people to do that?
 8                    MR. DEPERNO:     Correct.
 9                    MR. LINDELL:     Okay.    Were they -- and you
10   didn't know them before this, right.
11                    MR. DEPERNO:     We didn't know them before --
12                    MR. LINDELL:     Right.
13                    MR. DEPERNO:     -- but people got us in
14   contact with them.
15                    MR. LINDELL:     Contact with forensic experts
16   on these particular machines?
17                    MR. DEPERNO:     That's correct.
18                    MR. LINDELL:     And so -- so that's -- I just
19   want everyone to know that.        This wasn't just some, you
20   know, Hey, let's grab somebody from the county and look
21   at these machines, these were experts.
22                    MR. DEPERNO:     These are people with real
23   experience analyzing forensic software images.
24                    MR. LINDELL:     Wow.
25                    MR. DEPERNO:     It can't be overstated enough




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP344
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 345 of 971

                                                                            83
                     Absolute Proof - February 5, 2021


1    that these -- these scientists were also data collection
2    experts.    And that's important because what we saw in
3    Antrim County is the failure to properly follow
4    procedures in securing the election machines, the
5    tabulation machines and securely transferring the votes.
6    The chain of custody in this situation was completely
7    tampered with.
8                     What we know for certain is that in the
9    Dominion system manual, the manual tells us exactly how
10   to connect the machines to the internet.             The manual
11   tells you how to --
12                    MR. LINDELL:      Is it easy?
13                    MR. DEPERNO:      It's very easy.
14                    MR. LINDELL:      Could a guy like me plug it
15   in?
16                    MR. DEPERNO:      I -- I'm certain you could
17   probably figure it out.
18                    MR. LINDELL:      Wow.
19                    MR. DEPERNO:      But you can -- the manual
20   tells you how to connect the machine --
21                    MR. LINDELL:      Right, right.
22                    MR. DEPERNO:      -- to --
23                    MR. LINDELL:      Right.
24                    MR. DEPERNO:      -- the internet.        In our
25   case, what we found through the forensic study that was




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP345
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 346 of 971

                                                                             84
                      Absolute Proof - February 5, 2021


 1   conducted was that on November 4th at 11:03 p.m., system
 2   files, adjudication files and other source system files
 3   were deleted from the Dominion system in Antrim County.
 4   We know that for a fact.
 5                    MR. LINDELL:     Wow.
 6                    MR. DEPERNO:     They were removed.       We don't
 7   know who removed them or how they gained access to
 8   remove them.     But we do know --
 9                    MR. LINDELL:     Okay.    Hold on.    Hold on.        We
10   do now.     You'll see that later in the show.
11                    MR. DEPERNO:     What we know in our case,
12   what we -- in our case, we don't know precisely because
13   Antrim County and the Secretary of State have not given
14   us that information.
15                    MR. LINDELL:     Right.    Right.
16                    MR. DEPERNO:     But we do know that those
17   files were removed on November 4th at 11:03 p.m.
18                    MR. LINDELL:     What's the significance of
19   that that they're removed?        What does that do to you
20   as -- as trying to investigate this?           What did that do?
21                    MR. DEPERNO:     Well, No. 1, I presume and
22   we've asked the Antrim County prosecutor to investigate
23   whether that was a crime to remove voting information
24   from the system prior to the expiration of a 22-month
25   period --




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP346
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 347 of 971

                                                                            85
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Right.
 2                    MR. DEPERNO:     -- which the -- the items are
 3   required to be maintained.
 4                    MR. LINDELL:     But when -- but when that's
 5   removed, what did -- that means it was hard for you to
 6   do your audit?
 7                    MR. DEPERNO:     That's hard for us to review
 8   the forensic images to conclusively understand --
 9                    MR. LINDELL:     Right.
10                    MR. DEPERNO:     -- whether the machine
11   connected to the internet, because in Michigan, at least
12   38 other counties use the Dominion software.
13                    MR. LINDELL:     Right.
14                    MR. DEPERNO:     So if this is happening in
15   Antrim County and it was exposed in Antrim County --
16                    MR. LINDELL:     Right.
17                    MR. DEPERNO:     -- because of the disparity,
18   because there were only 15,000- --
19                    MR. LINDELL:     Right.
20                    MR. DEPERNO:     -- -718 votes cast --
21                    MR. LINDELL:     You wouldn't -- you wouldn't
22   notice this in a bigger city if it was that low in
23   number.
24                    MR. DEPERNO:     Correct.
25                    MR. LINDELL:     Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP347
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 348 of 971

                                                                            86
                      Absolute Proof - February 5, 2021


 1                    MR. DEPERNO:     If you were in Wayne
 2   County --
 3                    MR. LINDELL:     Right.
 4                    MR. DEPERNO:     -- and 7,060 votes flipped,
 5   you wouldn't notice it.
 6                    My team of forensic scientists worked
 7   tirelessly after December 6th, after we collected the
 8   forensic images for about a week, they worked very hard
 9   to review those images and put together a report.              And
10   because of a protective order that was in place in this
11   case, I had to file a motion with the court, asking the
12   judge to allow us to release the -- the report that we
13   had prepared.
14                    And we did that.       We did that on
15   December 14th.     The judge granted our request and
16   allowed us to release what's called the Allied Security
17   Operations Group Preliminary Summary, Version 2, dated
18   December 13th, '22.
19                    MR. LINDELL:     Now, is that public?        Is that
20   public?     It's out there?
21                    MR. DEPERNO:     It is public.
22                    MR. LINDELL:     Right.    So and -- so this is
23   stuff that got put out there.          And I guarantee you, it
24   was probably put out there -- heck, I -- somebody
25   probably put it on their Twitter and -- I bet you it was




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                   APP348
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 349 of 971

                                                                            87
                     Absolute Proof - February 5, 2021


 1   gone.   You know, they probably tried to spre- -- that's
 2   just my opinion.     I had to throw that in there.
 3                   MR. DEPERNO:      Well, I can tell you it's
 4   been on my website at Depernolaw.com since
 5   December 14th, and it has constantly been suppressed for
 6   people who try to share the link on Facebook --
 7                   MR. LINDELL:      This -- right.
 8                   MR. DEPERNO:      -- or Google or through
 9   social media, it gets suppressed --
10                   MR. LINDELL:      Right.
11                   MR. DEPERNO:      -- and people are not allowed
12   to share it.
13                   MR. LINDELL:      Right, right.
14                   MR. DEPERNO:      In some cases, they try to
15   share it and a screen comes up that says that -- that
16   this information is not accessible --
17                   MR. LINDELL:      Is -- right, not accurate.
18   Here, you had a -- a -- a perfect report, I mean, that
19   they -- even the judge said you could put it out there,
20   correct?
21                   MR. DEPERNO:      Yes.     Everything we've done
22   in this case has been permitted by the court in terms of
23   the ability to release information.
24                   MR. LINDELL:      Right.
25                   MR. DEPERNO:      But what it is, actually,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP349
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 350 of 971

                                                                            88
                      Absolute Proof - February 5, 2021


 1   it's information that if revealed would show that the
 2   CEO of Dominion software, when he testified in front of
 3   the Michigan Senate, this information would show that he
 4   was not telling the truth about how the Dominion system
 5   works.
 6                    MR. LINDELL:     Wow.
 7                    MR. DEPERNO:     And here's what we
 8   concluded --
 9                    MR. LINDELL:     Wow.
10                    MR. DEPERNO:     -- when released the report.
11   This is what it states.       "We conclude that the Dominion
12   voting system is intentionally and purposefully designed
13   with inherent errors to create systemic fraud and
14   influence election results."
15                    Now, that's not my words.        That's the words
16   of the forensic team --
17                    MR. LINDELL:     That looked at this.
18                    MR. DEPERNO:     -- that looked at the
19   forensic images and came to a conclusion about what they
20   saw.
21                    MR. LINDELL:     Right.    So they concluded --
22                    MR. DEPERNO:     That's what's in the report.
23                    MR. LINDELL:     They concluded that the only
24   reason you would have a machine like this is if you
25   wanted to steal an election?




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP350
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 351 of 971

                                                                            89
                     Absolute Proof - February 5, 2021


 1                   MR. DEPERNO:      Correct.     Because what they
 2   also found is that this machine in Antrim County
 3   generates errors at the rate of 68 percent based on
 4   ballots that you put in the machine.
 5                   MR. LINDELL:      Right.
 6                   MR. DEPERNO:      Remember this.       When you take
 7   a piece of paper and you vote on it, you think when
 8   you're voting that you're tallying your vote and then
 9   you put that machine -- that piece of paper into the
10   Dominion tabulation machine, right?
11                   MR. LINDELL:      Right.     Right.
12                   MR. DEPERNO:      You know how that process
13   works.
14                   MR. LINDELL:      Yeah.
15                   MR. DEPERNO:      And you think you've voted,
16   but you haven't voted yet.        You haven't voted until that
17   machine actually tabulates your result in the system.
18   When you put the paper in the tabulator --
19                   MR. LINDELL:      Right.
20                   MR. DEPERNO:      -- the tabulator takes that
21   paper, converts it to data, and data can be manipulated.
22   In the case of the way the Dominion system works, as I
23   understand it, based on information given to me by my
24   forensic team, when you insert that paper ballot --
25                   MR. LINDELL:      Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com        800.445.9548

                                  APP351
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 352 of 971

                                                                            90
                     Absolute Proof - February 5, 2021


 1                   MR. DEPERNO:      -- into the machine --
 2                   MR. LINDELL:      Right.
 3                   MR. DEPERNO:      -- and when an error is
 4   tabulated --
 5                   MR. LINDELL:      Right.
 6                   MR. DEPERNO:      -- and remember, this machine
 7   tabulates them at 68 percent error rate.
 8                   MR. LINDELL:      Right.    Wow.
 9                   MR. DEPERNO:      Those ballots, those error
10   ballots, go to what's called "adjudication."
11                   MR. LINDELL:      Right.
12                   MR. DEPERNO:      Adjudication is a process
13   where someone else other than the voter is able to look
14   at that ballot --
15                   MR. LINDELL:      Right.
16                   MR. DEPERNO:      -- on a screen and determine
17   the voter's intent and vote that ballot for the voter.
18                   MR. LINDELL:      Right.
19                   MR. DEPERNO:      And in -- with adjudication
20   and the way the Dominion system works, you can
21   accumulate over the night a number of ballots.
22                   MR. LINDELL:      Yeah.
23                   MR. DEPERNO:      But what I can tell you,
24   what's interesting is the 2020 system log files are
25   missing, but they are present for 2018 and 2016.              This




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP352
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 353 of 971

                                                                            91
                     Absolute Proof - February 5, 2021


1    happened at 11:03 p.m. on November 4th.             What happened
2    on November 4th, the day after the election --
3                     MR. LINDELL:      Right.
4                     MR. DEPERNO:      -- is at least in Michigan,
5    this story broke across the state --
6                     MR. LINDELL:      Right.
7                     MR. DEPERNO:      -- that Antrim County had
8    flipped in this manner.
9                     MR. LINDELL:      Okay.    So it was such a
10   deviation -- everybody hear -- that's why we all heard
11   about Antrim County.       It was such a big deviation, it
12   would be like, you know, the whole time -- you know, for
13   decades or years, whatever, you're -- you're 65 percent
14   Republican and 35 percent and you flip, the whole
15   townspeople are probably having coffee going, What did
16   you do?    They probably did a recount just themselves at
17   the coffee shops, you know.          So now that makes sense.
18   That's why it made nat-        -- made national news.          We all
19   heard about it.
20                    MR. DEPERNO:      Antrim County was not
21   certifiable based on what the machine spit out on
22   election night.      And what we've requested is a full
23   audit of the county.       But we want all of the machines
24   tested, we'd like to see all the machines tested across
25   the state.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP353
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 354 of 971

                                                                            92
                      Absolute Proof - February 5, 2021


 1                    MR. LINDELL:     Right.
 2                    MR. DEPERNO:     We'd like to see audits
 3   across the state of Michigan.
 4                    MR. LINDELL:     Right.
 5                    MR. DEPERNO:     This is from the actual
 6   Dominion manual.      This --
 7                    MR. LINDELL:     That's the Dominion manual.
 8   Wow.
 9                    MR. DEPERNO:     -- this tells you --
10                    MR. LINDELL:     Yeah.
11                    MR. DEPERNO:     -- how to connect the machine
12   to guess what?
13                    MR. LINDELL:     The internet.
14                    MR. DEPERNO:     Yes.
15                    MR. LINDELL:     Did everybody hear that?
16                    MR. DEPERNO:     This is another slide.
17                    MR. LINDELL:     But you have to be on the
18   internet in order to do this, so we're going to show you
19   here -- I thought these machines didn't go on the --
20   that's what we were told as the public.
21                    MR. DEPERNO:     That's what we are told.
22                    (Pause in audio.)
23                    MR. COOMER:     Once -- if it's configured to
24   print automatically, it'll print anywhere from one to,
25   you know, five, ten copies.        However many are needed




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP354
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 355 of 971

                                                                            93
                      Absolute Proof - February 5, 2021


 1   in -- in the jurisdiction, as well, this device can
 2   transmit directly.      So that's all part of that closed
 3   polls process.     You hit that button once, it prints out
 4   the tapes.    When it's done printing out the tapes, it
 5   will automatically transmit the results as well.
 6                    UNIDENTIFIED SPEAKER:       What is the vehicle
 7   for the transmission from the ICP?          Is it cellular modem
 8   versus VPN?
 9                    MR. COOMER:     Well, it is a cellular modem
10   that V- -- can be configured in a VPN, right?             And we --
11   currently, in Chicago, Cooke County, we work with
12   Verizon to secure that network.         So we would have the
13   same capabilities here.
14                    UNIDENTIFIED SPEAKER:       Look, what wireless
15   chip set/modem does the hardware have?
16                    MR. COOMER:     We support a variety.        So it's
17   really up to the jurisdictions, what technology they
18   want to use, what's compatible with their -- with their
19   networks.
20                    UNIDENTIFIED SPEAKER:       Currently in some
21   jurisdictions, we're using, basically, a modem that is a
22   3D modem, GSM, but we can support multiple -- varieties
23   of more that can be configured.
24                    MR. COOMER:     Including -- including the
25   latest 4G standards as well.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP355
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 356 of 971

                                                                            94
                      Absolute Proof - February 5, 2021


 1                    UNIDENTIFIED SPEAKER:        Okay.    So that
 2   answers the next question, is it 3G or 4G, Verizon, AT
 3   or T [sic], or Sprint, I'm assuming all?
 4                    MR. COOMER:     Yeah, all, all networks.
 5   Right.     Just a point of --
 6                    UNIDENTIFIED SPEAKER:        (Inaudible.)
 7                    MR. COOMER:     Yeah.     I mean, we actually
 8   transmit from the ICP in Mongolia as well, so we're not
 9   limited in networks.
10                    UNIDENTIFIED SPEAKER:        And in Puerto Rico,
11   there's three vendors, because the island is not covered
12   by any -- by any of the vendors completely, so we use
13   three different cellular vendors for some ICPs, but
14   there's vendor (inaudible), AT&T, and T-Mobile, I think,
15   in the different parts of the island, so...
16                    UNIDENTIFIED SPEAKER:        Everything gets
17   complicated.
18                    MR. DEPERNO:     But this is another slide
19   from the Dominion software manual --
20                    MR. LINDELL:     Right.
21                    MR. DEPERNO:     -- that tells you exactly how
22   to set up your system to connect to the internet.
23                    MR. LINDELL:     Uh-huh.
24                    MR. DEPERNO:     Those are important slides to
25   see.     And again, another slide from Dominion Voting,




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com        800.445.9548

                                  APP356
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 357 of 971

                                                                            95
                      Absolute Proof - February 5, 2021


 1   Image Cast Central, which tells you, as you can see in
 2   the bottom corner here, it says num- -- Box No. 1,
 3   ensure that the ma- -- workstation is connected to the
 4   network switch with an ethernet cable.
 5                    MR. LINDELL:     Wow.
 6                    MR. DEPERNO:     What does an ethernet cable
 7   get you?     To the internet.
 8                    MR. LINDELL:     To the internet.
 9                    MR. DEPERNO:     These are -- this is all
10   information --
11                    MR. LINDELL:     Yeah.
12                    MR. DEPERNO:     -- that we've been able to
13   look at --
14                    MR. LINDELL:     Right.
15                    MR. DEPERNO:     -- from the actual manual.
16                    MR. LINDELL:     So what do we got here?         That
17   looks like it was manipulated.         What?
18                    MR. DEPERNO:     Well, this -- these spikes,
19   these blue spikes throughout this show you where Joe
20   Biden got what we call injections --
21                    MR. LINDELL:     Right.
22                    MR. DEPERNO:     -- of votes at very specific
23   times.
24                    MR. LINDELL:     Right.
25                    MR. DEPERNO:     These -- these big ones on




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP357
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 358 of 971

                                                                            96
                     Absolute Proof - February 5, 2021


 1   the left are November 3rd.        So I'd be curious to see if
 2   your data that you have --
 3                   MR. LINDELL:      Right.    It will.
 4                   MR. DEPERNO:      -- correlates to those.
 5                   MR. LINDELL:      Just so everybody knows, what
 6   you're going to see, when you see this spike, you're
 7   going to see a forensic footprint, how that happened and
 8   who did it.    China, yes.      If you're on the internet, the
 9   bottom line is, you can get -- you can cheat, you can do
10   all kinds of things.      And that's -- because otherwise,
11   you can't explain any of these numbers, right?
12                   MR. DEPERNO:      That's correct.
13                   MR. LINDELL:      That's correct.
14                   MR. DEPERNO:      The machine results don't
15   match up with the hand tabulation.
16                   MR. LINDELL:      To the real numbers.        And
17   one -- and once again, the -- you know, the purpose of
18   this whole show, obviously, is to show everyone in the
19   world that these machines -- that this was the biggest
20   fraud and the biggest crime, I believe, against
21   humanity, just a crime against humanity.            If we wouldn't
22   be all talking about this now and this is -- all the
23   truth is going to be revealed --
24                   MR. DEPERNO:      Michigan is under siege
25   because this is what I'm dealing with right now.              Dana




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP358
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 359 of 971

                                                                            97
                     Absolute Proof - February 5, 2021


1    Nessel is the Attorney General in the State of Michigan.
2    She sent this tweet out not too long ago, and it says
3    fun fact.    Lawyers who practice in Michigan are required
4    to take an oath to support the Michigan and U.S.
5    Constitutions, not to file unjust and/or frivolous
6    actions or mislead the Court.          The spate of Trump
7    lawsuits in our state violates each of these tenets, it
8    demeans our profession.
9                     MR. LINDELL:      Wow.
10                    MR. DEPERNO:      What she's calling for, and
11   she's said this publicly, she's calling for attorneys in
12   Michigan to be disbarred who file lawsuits in Michigan
13   challenging --
14                    MR. LINDELL:      This election.
15                    MR. DEPERNO: -- the results of the
16   election.
17                    MR. LINDELL:      Can you guys all hear this?
18   This is what we're up against.            This Dominion, these
19   machines is the biggest fraud in election -- they stole
20   this.   But now the truth is all going to be revealed.
21   People like this lady, Dan- -- what's her name, Dana --
22                    MR. DEPERNO:      Dana Nessel.
23                    MR. LINDELL:      Dana Nessel.      Dana Nessel,
24   how dare you put this out.         You're supposed to protect
25   Michigan and the U.S.?        This is what I'm doing.          This is




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP359
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 360 of 971

                                                                            98
                     Absolute Proof - February 5, 2021


 1   why I'm getting attacked.        This is why everybody's
 2   getting attacked --
 3                   MR. DEPERNO:      So --
 4                   MR. LINDELL:      -- that anybody -- you know,
 5   here you are the attorney of the -- one of the few open
 6   cases where we have 100 percent proof.           First, they try
 7   and suppress the actual report from it, right here,
 8   right?
 9                   MR. DEPERNO:      (Inaudible.)
10                   MR. LINDELL:      And now they're trying -- now
11   they're trying to just get rid of you.
12                   MR. DEPERNO:      That's true.      So we have
13   Michigan executive officials who are now using the power
14   of government to threaten those with whom they disagree
15   with sanctions.     They're threatening me and others with
16   disbarment.
17                   MR. LINDELL:      Wow.
18                   MR. DEPERNO:      So bringing forth evidence
19   now --
20                   MR. LINDELL:      Uh-huh.
21                   MR. DEPERNO:      -- in our country not only
22   gets you the mockery of the mainstream media --
23                   MR. LINDELL:      I've been there.
24                   MR. DEPERNO: -- who refuse to actually
25   report on it or the truth, but it now gets you ethics




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP360
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 361 of 971

                                                                            99
                     Absolute Proof - February 5, 2021


1    complaints filed against you if you are a lawyer.
2                     MR. LINDELL:      Wow.
3                     MR. DEPERNO:      So what do we do about that?
4    When the Michigan Attorney General, who is the chief law
5    enforcement person in the state, threatens those with
6    whom she disagrees, you know what that is?              That's
7    tyranny.
8                     MR. LINDELL:      Yep.
9                     MR. DEPERNO:      That -- you know that is
10   totalitarianism.
11                    MR. LINDELL:      Right.
12                    MR. DEPERNO:      So in our election system,
13   and it's been going on for years after every election,
14   people challenge elections.
15                    MR. LINDELL:      Right.
16                    MR. DEPERNO:      That happens on a regular
17   basis --
18                    MR. LINDELL:      Right.     Yep, yep.
19                    MR. DEPERNO: -- after elections.            That's
20   part of our Republic.        That's part of public discourse.
21   We're ena- -- we're enabled to go in and have those
22   discussions through the court system to challenge
23   elections.    And what Dana Nessle is saying is that you
24   can't do that anymore.
25                    MR. LINDELL:      Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP361
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 362 of 971

                                                                            100
                     Absolute Proof - February 5, 2021


 1                   MR. DEPERNO:      Because if you try to do it,
 2   she will threaten you, she will try to take your
 3   license --
 4                   MR. LINDELL:      Uh-huh.
 5                   MR. DEPERNO:      -- and she will try to
 6   silence you.
 7                   MR. LINDELL:      Wow.
 8                   MR. DEPERNO:      So her statements -- this is
 9   no longer part of public discourse.          This is chilling.
10                   MR. LINDELL:      You think she's talking about
11   all the lawyers?     She's talking about you.
12                   MR. DEPERNO:      Well, we've talked about it.
13   I agree -- I totally agree with you, she is talking
14   about me.
15                   MR. LINDELL:      Right.
16                   MR. DEPERNO:      And we've talked about the
17   importance of public discourse.
18                   MR. LINDELL:      Right.
19                   MR. DEPERNO:      Her tweet, as I said, chills
20   public discourse.
21                   MR. LINDELL:      Yeah.
22                   MR. DEPERNO:      What it does is it asks a
23   lawyer to put their fear above the representation of
24   their client in legitimate litigation.
25                   MR. LINDELL:      Right.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP362
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 363 of 971

                                                                            101
                      Absolute Proof - February 5, 2021


 1                    MR. DEPERNO:     That is tyranny --
 2                    MR. LINDELL:     Right.
 3                    MR. DEPERNO:     -- that's totalitarianism --
 4                    MR. LINDELL:     Right.
 5                    MR. DEPERNO:     -- that is fascism.
 6                    MR. LINDELL:     She wants to scare you into
 7   doing nothing.
 8                    MR. DEPERNO:     But it gets worse.
 9                    MR. LINDELL:     Right.
10                    MR. DEPERNO:     Around November 20th, Dana
11   Nessle did an interview with the Washington Post, and in
12   that interview, she threatened every Michigan
13   legislator, and she said that any Michigan legislator
14   with whom she disagreed with, any of them who challenged
15   these election results, she would investigate them and
16   seek criminal sanctions against them.
17                    MR. LINDELL:     Wow.
18                    MR. DEPERNO:     That is saying to these
19   Michigan legislators --
20                    MR. LINDELL:     Stay silent.
21                    MR. DEPERNO:     -- that if they -- if they do
22   anything to bring forth the word of their constituents
23   to challenge election results, they could be charged
24   criminally.    It's asking elected officials, again, to
25   put their fear above the word and the choice of their




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP363
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 364 of 971

                                                                            102
                     Absolute Proof - February 5, 2021


 1   constituents.
 2                   MR. LINDELL:      Wow.
 3                   MR. DEPERNO:      And you ask yourself, Why did
 4   so many elected officials in Michigan refuse to look at
 5   the evidence that was presented to them?
 6                   MR. LINDELL:      They -- they did it out of
 7   fear.
 8                   MR. DEPERNO:      Or time and time again,
 9   say --
10                   MR. LINDELL:      Uh-huh.
11                   MR. DEPERNO:      -- that they haven't seen any
12   evidence --
13                   MR. LINDELL:      Right.
14                   MR. DEPERNO:      -- of voter fraud --
15                   MR. LINDELL:      Right.
16                   MR. DEPERNO:      -- or vote interference.
17                   MR. LINDELL:      Right.
18                   MR. DEPERNO:      And you combine that with
19   what we've now learned about the interview Dana Nessle
20   gave --
21                   MR. LINDELL:      Right.
22                   MR. DEPERNO:      -- on November 21st, telling
23   elected officials they'd be charged criminally.
24                   MR. LINDELL:      Right.
25                   MR. DEPERNO:      And I say this right now,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP364
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 365 of 971

                                                                            103
                     Absolute Proof - February 5, 2021


1    everything that Dana Nessle has done in terms of
2    threatening me and threatening state legislatures,
3    violates the Michigan Rules of Professional Conduct, and
4    she should resign immediately.          It demonstrates that
5    she's not fit for office.
6                     MR. LINDELL:      Well, there's many like her.
7    We know that.      This is going to reveal all the evil in
8    our country, all the criminals in the country, all the
9    ones that tried to suppress this.           And that's just from
10   social media, like, Jack Dorsey, like Mark Suck-a-Buck.
11                    Well, everyone, this is the moment you've
12   all been waiting for.        What you're going to see now is
13   100 percent proof that we had upon our country, the
14   biggest cyberattack in history.           And I'm going to bring
15   on Mary Fanning to explain how it all happened and
16   the -- show you the 100 percent proof.
17                    MR. LINDELL:      Mary, thanks for coming on.
18                    MS. FANNING:      Thanks, Mike.       Today, we've
19   been watching cybersecurity experts, and they've
20   explained some of the things that happened in the
21   election, some of the election fraud.             But what we're
22   seeing here is, if you'll look at this chart, is that
23   there were cybersecurity experts who began collecting
24   information on November 1st and be- -- so this was
25   before, during, and after the election that they were




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP365
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 366 of 971

                                                                            104
                      Absolute Proof - February 5, 2021


 1   collecting documentation.        In fact, they collected
 2   terabytes of information that document the election
 3   fraud before an intrusion into our election.
 4                    This was collected as -- in 2995 counties
 5   in the United States.       This was collected in realtime.
 6   All right.     So if you go to the chart, what you will see
 7   is the documentation of foreign interference in the
 8   election.     The first column, if you look at the chart,
 9   that shows that on 11/5/2020 at 7:43 and 38 seconds, we
10   had a foreign intrusion, and it shows the IP address,
11   the internet protocol address.         That is the number of
12   that protocol address, of the hacker that entered into
13   our election.
14                    The second column is the owner or source of
15   that IP address.     That shows that Chinanet in Beijing
16   Province entered the election.         It shows an ID.       That is
17   the unique address of a computer.          That shows the exact
18   computer using that IP source that entered into our
19   election.
20                    The next is the target.        That's the IP
21   target.     That's the internet protocol address of the
22   target.     All right?   Then the next is the target state.
23   In this case, it shows that it's Michigan.            Where in
24   Michigan?     That's the next column.       It shows that it's
25   in Emmet County, Michigan.        Then the ID target.        That is




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP366
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 367 of 971

                                                                            105
                     Absolute Proof - February 5, 2021


1    the unique address of another computer in the United
2    States that the hacker has gone into.             And then it shows
3    the method of intrusion.
4                     Now, on some cases, you're going to see
5    that they use credentials.         That means that they have
6    fake credentials because there were administrators that
7    been placed on the Secretary of State's computers, false
8    administrators.      In other cases, it shows that they
9    broke through the firewall.          In some cases, they did
10   both.
11                    Now, in the next column, it shows whether
12   it was successful.       You'll see a Y. That shows that,
13   yes, it was successful.        Now, oftentimes, they're not
14   successful and they have to go back and try for another
15   intrusion, and then it shows whether that's, in fact,
16   successful as well.
17                    Then in the final column, what you're
18   seeing are votes changed.         Now, in this particular case,
19   when they went into Emmet County, Michigan, the votes
20   that were changed was they stole 3477 votes from Donald
21   Trump.   That's what you're looking at.
22                    Now, as you go through this document and
23   you look at all the multiple intrusions into our
24   election, what -- what you'll notice, that over
25   60 percent of these intrusions come from China.                So that




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP367
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 368 of 971

                                                                            106
                     Absolute Proof - February 5, 2021


 1   is -- over 66 percent is what the number is.             Over
 2   66 percent of the intrusions into our election came from
 3   China.
 4                   Why is this important?         Well, some things
 5   were set in place, including some of the changes that
 6   took place in this country, particularly when we had the
 7   Wuhan virus, or the COVID-19 virus hit this country.
 8   And we have a video -- well, first, Mike, do you have
 9   any questions about this chart and what it is showing?
10                   MR. LINDELL:      Yeah.    So what -- so what you
11   have here is -- what -- each one of these is its own
12   time stamp that is 100 percent proof because you have
13   that not only where it came from, you ha- -- it's
14   basically you have their identification, you have that,
15   you know, who they were attacking, their identification.
16   This is what everybody would want if you ever looked in
17   and did an audit or wanted to look into a computer and
18   look what went on in cyberspace, this is what you'd be
19   looking for, correct?
20                   MS. FANNING:      This is forensic evidence of
21   foreign footprints as they entered our election in a
22   cyber warfare attack on our election, and then it shows
23   exactly what they -- you know, where did they come from,
24   which computer exactly, exactly the time stamp, exactly
25   which computer they entered into and in -- in what




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP368
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 369 of 971

                                                                            107
                      Absolute Proof - February 5, 2021


1    state, which county, the -- the ID, the unique ID of the
2    computer that they entered into.            And then it shows how
3    they entered using false credentials or breaking through
4    the firewall or both.
5                      MR. LINDELL:     Wow.
6                      MS. FANNING:     Were they successful the
7    first time, the second time?          And then it shows the
8    votes that they stole from Donald Trump.
9                      MR. LINDELL:     Right.
10                     MS. FANNING:     This is proof positive, this
11   is documentation of a cyberattack, but it also is
12   documentation of the footprints of those who entered our
13   election.
14                     MR. LINDELL:     Right.     Right.    And look
15   at -- if everybody notices here, every one -- you don't
16   think this was all put together in one big attack?
17   Every one was Do- -- Donald Trump, down, down, down.
18   This wasn't another country that wanted it the other
19   way.    This was a -- the biggest attack in history.                And
20   you have -- and Mary, you have -- we have pages and
21   pages, right, thousands of these pages of every -- of
22   every county, right, of every -- or of every single
23   attack?
24                     MS. FANNING:     There are thousands of pages
25   of the documented footprints that -- the foreign




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP369
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 370 of 971

                                                                            108
                     Absolute Proof - February 5, 2021


1    intrusions into our elections.          We see this as coming
2    from China, in many cases from Huawei, from Alibaba.
3                     MR. LINDELL:      Right.
4                     MS. FANNING?      Cloud service from China
5    Unicom, from Ucloud, from China Mobile Tietong.                You
6    know, this also came and -- from Iran as well.
7                     MR. LINDELL:      Right.
8                     MS. FANNING:      There -- but this is a
9    foreign intrusion, this is the fact of our vote, but it
10   also is documenting exactly the votes -- the vote totals
11   that were stolen from Donald Trump.
12                    MR. LINDELL:      Right.     And this is --
13                    MS. FANNING:      What we have heard --
14                    MR. LINDELL:      -- well, this is what I've
15   been telling everyone.        This is where you got -- if you
16   add these numbers up, when I -- when I said -- and I
17   actually told the president when I met with him, I said,
18   you know, you actually won this election by almost
19   80 million votes for you, for Donald Trump, to about
20   68 million for Biden.        And that's not counting all the
21   other kind of theft we talked about earlier in this
22   show.   This is the -- these are the real numbers that
23   were taken off and that were flipped.
24                    I mean, this is incredible, everybody.
25   This is -- this is historical proof too.             We not only




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP370
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 371 of 971

                                                                             109
                      Absolute Proof - February 5, 2021


1    have -- this is what we've all been waiting for.                 And,
2    Mary, you said there's a video, too, we want to show?
3                      MS. FANNING:     Yeah, this is a
4    documentation, the proof positive by cyber expert from
5    in this country that began documenting the theft of our
6    election.
7                      MR. LINDELL:     Wow.
8                      MS. FANNING:     They put together the full
9    documentation of every vote beginning on November 1st.
10   So again, from before, during and after the election,
11   they documented the footprints of the foreign intrusion
12   into our election.       That means that foreign adversaries,
13   really, because this was an act of war to come in and
14   steal the election from the American people and decide
15   who our foreign adversaries were going to put in the
16   White House to rule or to -- to be the president of this
17   country.
18                     MR. LINDELL:     Right.     Right.    Right.
19                     MS. FANNING:     Now, there's a video and so
20   that will show -- and if you -- are you looking at the
21   video, Mike?
22                     MR. LINDELL:     Yeah, we're pulling -- we're
23   going to pull up the video here, Mary.             Okay.    Here we
24   go.    We're just pull- -- we just pulled up the video.
25   Wow.    What's going on here with all these lines?




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP371
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 372 of 971

                                                                            110
                     Absolute Proof - February 5, 2021


 1                   MS. FANNING:      Well, you're -- the video --
 2   what you are watching is the surveillance system.              In
 3   fact, this is the very surveillance system that was
 4   built by people inside this country within the
 5   cybersecurity battle space that built some of this
 6   docu- -- built some of these tools that were built to
 7   keep this country safe.
 8                   But what you're watching is that every line
 9   on that drawing, all those moving lines, they represent
10   the IP addresses of what I just showed you on the chart.
11   So -- so when you understand the hacker's IP address and
12   the IP address of the target and the votes that were
13   stolen, every one of those lines that you're watching
14   move across the chart, and showing whether they were
15   successful and -- and how many votes they stole.              That
16   documents that.
17                   Every red line, as they turn red, as they
18   finish stealing the vote, basically, the red lines are
19   all China.    So what you're seeing are the actual files
20   being received and sent.        That's -- that's a
21   documentation of the realtime theft of our elections.
22                   MR. LINDELL:      Wow.
23                   MS. FANNING:      So every -- every line on the
24   map, there's a cor- -- corresponding line on the sheet.
25   And the color and the line types represent the severity




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP372
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 373 of 971

                                                                            111
                      Absolute Proof - February 5, 2021


 1   of the attack.     Now, red has been the most severe
 2   attacks.   Those lines all coming out of China.            Those
 3   are the most severe attacks on our election system.
 4                    MR. LINDELL:     Wow.
 5                    MS. FANNING:     Now, this is the -- this
 6   exact information, the same exact type of information, I
 7   should say, was presented to FBI director, former FBI
 8   director, James Comey, by a whistleblower in 2015.              They
 9   knew, in fact, that our election machines were open for
10   hacking.
11                    It's important to understand that there are
12   prismatic scoring algorithms that they knew about that
13   entered the election and they steal the vote at the
14   transfer points.     So at the point where the election --
15   the vote is leaving the Secretary of State's office and
16   these machines, that is the point at which the vote is
17   stolen at the transfer points.
18                    That's what you're watching.         Those packets
19   moving is -- is -- is that's realtime documentation of
20   the theft of the vote from inside this country, and then
21   the number's the last column.         Those document exactly
22   the numbers of votes.       It shows, in some of the cases,
23   Antrim County where the vote was stolen, and exactly the
24   vote stolen at -- at the exact time stamp of when they
25   were stolen.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP373
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 374 of 971

                                                                            112
                     Absolute Proof - February 5, 2021


 1                   MR. LINDELL:      Right.
 2                   MS. FANNING:      And the number stolen at that
 3   point.
 4                   MR. LINDELL:      So, Mary, so what you're
 5   saying now is -- and this is what -- what I already know
 6   and -- but actually, I'm learning a lot here as we go.
 7   What you're saying, every one of these lines -- let's
 8   say we did take Antrim County and we took that, we could
 9   pull out the time stamps for that county, and we could
10   show the lines, the country that did it, we could show a
11   line for every single hack or attack that we had in this
12   election?
13                   MS. FANNING:      That's right.
14                   MR. LINDELL:      Wow.
15                   MS. FANNING:      So what you're watching is
16   those objects moving are the actual files --
17                   MR. LINDELL:      Right.
18                   MS. FANNING:      -- that are being received
19   and sent.
20                   MR. LINDELL:      These are the buttons --
21                   MS. FANNING:      Everyone of those --
22                   MR. LINDELL:      -- and the squares here that
23   are -- that are being sent.        So everybody out there,
24   what you're looking at -- I mean, this is the proof.                So
25   if any -- if, like, Antrim County, that case is still




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP374
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 375 of 971

                                                                            113
                      Absolute Proof - February 5, 2021


 1   open, you just go, Here you go.         Now you know who did
 2   it, how many votes flipped, when they did it, what time
 3   they did it, the computer it came from, the country that
 4   attacked us.     I mean, this is -- this is what I have
 5   been excited about, and I only seen one -- do you know,
 6   Mary, I only seen one little line of that which showed
 7   the IP address, that, you know, all that stuff that
 8   you're showing us.      When I found out --
 9                    MS. FANNING:     Right.
10                    MR. LINDELL:     -- that you had it for ev- --
11   or that we had it, there's all these people had this,
12   for every single vote that -- every single attack and
13   whether it was successful or not.
14                    Look at right now, we've got up on the
15   screen, Georgia is just getting attacked.            It was just
16   getting attacked up here at that moment in time.              And
17   I -- and I suppose, you know, they didn't know what
18   they're doing.     They -- they did the biggest attack --
19   right here.    Look at, everybody.        Georgia and Michigan
20   getting bombarded.      My guess is that was probably like
21   3:00 or 4:00 in the morning when they really needed them
22   votes to be flipped.
23                    Mary, this is incredible.
24                    MS. FANNING:     Yes, because there is proof
25   positive, there is documentation of all the phone




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP375
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 376 of 971

                                                                            114
                     Absolute Proof - February 5, 2021


1    interference into our election, showing exactly who
2    stole the vote, how they stole the vote, from which
3    computers, access to our election, to which computers
4    they went into.
5                     So understand that cybersecurity experts
6    that work for this country put all this in place before
7    the election even started to make sure that they caught
8    all of this information so that foreign adversaries were
9    not deciding our elections.
10                    MR. LINDELL:      Absolutely.      And what a
11   blessing that they were there for us to catch all this
12   and to get all this put together.           And even to have
13   these -- you know, to be proactive.            They were
14   proactive, everybody.        And this -- what a blessing this
15   is, because we came this close to never knowing.                And
16   this is actually a miracle that we have all this, Mary.
17   And this is amazing.
18                    And now we have with us General McInerney,
19   who is going to give us a prospective on what we just
20   seen.
21                    General, thanks for coming on.
22                    GENERAL MCINERNEY:        Well, thank you, Mike.
23   And thanks for what you're doing for this great nation.
24   This is vitally important.         You have just seen the most
25   massive cyber warfare attack in the history of mankind.




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP376
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 377 of 971

                                                                            115
                     Absolute Proof - February 5, 2021


 1   Now, the Founding Fathers did not know anything about
 2   cyber warfare, but we do.        And that's the important
 3   thing.   You have seen just how it was orchestrated
 4   against our election system.
 5                   And I took an oath of office 60-some years
 6   ago as a (inaudible) on the plains of West Point to
 7   support and defend the Constitution of the United States
 8   against all enemies, foreign and domestic.            We now are
 9   seeing the largest domestic enemy we have in our
10   history, and people must understand that.
11                   What happened?       You spelled it out.       It was
12   driven by China, and they used a system that we have
13   had -- because only that system could modulate and
14   coordinate the many simultaneous attacks that they used
15   against us.
16                   Now, why this is so important is because
17   our military, which I spent 35 years in the Air Force
18   and ended up as the No. 3 man in the air staff, as well
19   as heading up Vice President Gore's reinventing
20   government for the entire Department of Defense, those
21   two jobs simultaneously, we now are faced with something
22   our military has never seen before, nor have the
23   American people.
24                   We are going against globalists who are not
25   interested in America.       They are interested in us




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP377
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 378 of 971

                                                                            116
                      Absolute Proof - February 5, 2021


 1   becoming a socialist communist state.           They talk about
 2   progressivism, but progressivism is just the front door
 3   to communism.     They want a global communist world.           And
 4   you must understand that, America.          It's so important.
 5                    And it's so important that President Trump,
 6   who won 79 million votes in the election to 68 million
 7   for Biden, because we have and you've seen those exact
 8   numbers, he dominated.       It was an awesome victory.         And
 9   yet, they turned it around, foreigners.           And we have not
10   had one audit.     This is the closest thing to an audit
11   that has been conducted in America on this important
12   election.
13                    The American people must understand what we
14   are facing today, and that's why all of us here that
15   you're seeing in this program are so focused.             I could
16   not understand was that the legislatures, the judicial,
17   and the executive, meaning the FBI, the Department of
18   Justice, the intelligence community have failed us with
19   deep (inaudible).      They did not report this.
20                    This was the most massive cyber warfare
21   attack, so did cyber command, did the National Security
22   Agency, did the CIA, did the Department of Justice, the
23   FBI report this, no.
24                    MR. LINDELL:     Well, General, to -- to put
25   this in perspective, then, you're 100 percent that this




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP378
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 379 of 971

                                                                            117
                     Absolute Proof - February 5, 2021


 1   was the biggest cyberattack in the world -- in world
 2   history, correct?
 3                   GENERAL MCINERNEY:        That's correct.
 4                   MR. LINDELL:      Wow.    Well, thank you and
 5   we're going to see -- it's going to -- I was telling
 6   everyone, General, when this all -- when -- when this is
 7   all revealed, we're going to be a -- it's going to be a
 8   great uniter of all people in our country, and we're
 9   going to be in the greatest revival ever to bring our
10   country back to one nation under God.           Thank you.
11                   GENERAL MCINERNEY:        Well, God bless you for
12   what you're doing, Mike.        Thank you very much.
13                   MR. LINDELL:      Yeah.    Thank you, General.
14                   And now we have with us Terry Turchie.
15   He's the former deputy assistant director of
16   Counter-Terrorism Division of the FBI.           And you know,
17   Terry, welcome to the show.
18                   MR. TURCHIE:      Thanks, Mike.
19                   MR. LINDELL:      And we've -- we've just shown
20   everybody in the world 100 percent evidence that this
21   was an attack on our country, and it's still under
22   attack by China and other countries through the use of
23   these machines used in our election.           I want to ask you,
24   you know, where was the FBI -- we out -- people out
25   there went, where's the FBI or the DOJ during this whole




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP379
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 380 of 971

                                                                            118
                     Absolute Proof - February 5, 2021


1    time these last few months?
2                     MR. TURCHIE:      Sure.    Well, you know, a lot
3    of former FBI agents -- agents are asking that, too, as
4    well, Mike.     They're asking, Where has the FBI been?
5    They're responsible and accountable for trying to
6    protect the country.       That's what our
7    counter-intelligence money is all about.             That's what
8    our counter-intelligence division is all about.
9                     And yet, the question of where were they
10   and where are they, I think probably can best be
11   explained like this.       The FBI has most likely been as
12   compromised as as the Democratic Party and the rest of
13   the government.      They simply didn't do the job.            If
14   they'd have done the job, all that you just showed in
15   this program would have unfolded inside of a courtroom.
16                    And that's exactly what we should be doing
17   right now.    We should be talking about the penetration
18   of the United States Government and government
19   agencies --
20                    MR. LINDELL:      What we've shown here too is
21   this -- this is all people.          This has been -- you know,
22   what we've shown today, this is another country taking
23   our country.     I don't care if you're a Democrat or a
24   Republican, we are one nation under God.             And to see
25   what's -- I mean, I -- I guess I'm very happy now that




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP380
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 381 of 971

                                                                            119
                     Absolute Proof - February 5, 2021


1    it's all going to get out to the country and
2    everything's going to get out.          And like I said before
3    during this show, there's going to be nine Supreme Court
4    justices out there now watching this show and saying,
5    Wow, 100 percent, this was an attack and we are still
6    under attack by other countries, including China leading
7    the way.
8                     And they're -- they -- you know, they
9    fraudulently stole our election, and we have to -- I --
10   and -- and then to see that -- how this could happen
11   with the FBI and the DOJ, these people that were
12   supposed to protect our country, including the Supreme
13   Court.   If you were still in the FBI, I guess what would
14   you -- what would you be doing right now when you just
15   see all this 100 percent proof here that this happened?
16   What -- if you -- in the FBI now, what -- you know, if
17   they're out there, shouldn't they be doing something now
18   that this is all out in the open?
19                    MR. TURCHIE:      We would -- we would be
20   launching a major investigation of cyber activities.
21                    MR. LINDELL:      These attacks, the people
22   that -- you know, from China and on down that -- who did
23   it, they're very good at trying to bury everything, to
24   bury these deviations that came up, and then everything
25   opened up, where everybody knows that this was stole,




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP381
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 382 of 971

                                                                            120
                     Absolute Proof - February 5, 2021


1    but now we know how and why, so...
2                     MR. TURCHIE:      Well, certainly.        And the
3    purpose of an intelligence operation of this magnitude,
4    whether it's this magnitude or even smaller, is to -- is
5    to conceal itself, and to be so hard to figure out that
6    by the time you get to the conclusion, it's too late.
7                     MR. LINDELL:      Right.
8                     MR. TURCHIE:      And that's why it's very
9    concerning that the FBI that already knows and has the
10   foundation of the China threat well in its grasp, would
11   try to write off or just not seem to understand --
12                    MR. LINDELL:      Right.
13                    MR. TURCHIE:      -- how this would have been
14   the next -- next logical step for them.
15                    MR. LINDELL:      Right.     Well they weren't
16   very --
17                    MR. TURCHIE:      (Inaudible.)
18                    MR. LINDELL:      -- they weren't proactive,
19   but at least now, we're -- you know, we got -- we're
20   going to be reactive.        And -- and we've got to be
21   reactive first and then we've got to be proactive for
22   the future that -- when this all manifests out.                I've
23   said it before, that this is going to manifest into the
24   greatest revival ever.        It's going to unite our country,
25   not divide us.      It's going to be the great uniting and




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP382
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 383 of 971

                                                                            121
                     Absolute Proof - February 5, 2021


 1   we will once again be one nation under God.
 2                   Thanks, Terry, for coming on.          And God
 3   bless and -- and thanks for all you've done and what you
 4   continue to do for our country.
 5                   MR. TURCHIE:      You too, Mike.      Thanks for
 6   having me.
 7                   MR. LINDELL:      Thank you.
 8                   Now you've all seen absolute proof of the
 9   biggest cyberattack in history.         We, right now, it's a
10   takeover of our country.        We all see it happening and
11   now you see the proof of where it came from and what
12   happened.    We all need to go out now, each and every one
13   of you, and tell your friends, family, people, your
14   social media, spread this out everywhere and to show
15   that they all need to watch this.          And they all need to
16   know the truth.
17                   And pretty soon, everyone's going to see
18   this, including nine Supreme Court justices.             You're all
19   there watching, all nine of you, and you know what, I
20   don't know what you can do, but I know you're there to
21   protect our country.      And everything has a precedence,
22   everything going -- well, this happened then, so we're
23   going to base it on that.        This is the precedence.
24                   What's going on now, what's going to happen
25   now is going to change the course of our world and our




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP383
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 384 of 971

                                                                            122
                     Absolute Proof - February 5, 2021


1    country forever.      I've been getting calls from world
2    leaders, you know, they're looking at us, what's going
3    to happen over here.       Ronald Reagan once said, America
4    is the shining city on the hill, whose beacon light
5    guides freedom-loving people everywhere.             If the lights
6    go out here, the lights go out everywhere.
7                     I want to say that God has had his hand in
8    all of this, this has been on God's timing.              And when we
9    get through all this, we will once again be one nation
10   under God.
11                    (Recording ends.)
12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP384
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 385 of 971

                                                                            123
                     Absolute Proof - February 5, 2021


1                      C E R T I F I C A T E
2         I, TERRI GARCIA, Certified Shorthand Reporter in
3    and for the State of Texas, certify that the foregoing
4    is a correct transcription from the video recording of
5    the above-entitled matter.
6         I further certify that I am neither counsel for,
7    related to, nor employed by any of the parties to the
8    action in which this recording was transcribed, and
9    further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP385
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 386 of 971

                                                                                               124
                       Absolute Proof - February 5, 2021

         A             104:10,11,12       algorithms 3:24       85:15 89:2 91:7   attack 5:1 10:19
abetted 18:23          104:15,17,21         14:7 61:10          91:11,20            10:24 11:9 13:1
ability 14:21 40:3     105:1 110:11         111:12              111:23 112:8        18:14 19:3 22:5
  87:23                110:12 113:7       Alibaba 108:2         112:25              32:18 34:20
able 16:3 32:1,3,5   addresses 110:10     aliens 5:22,23      anybody 14:20         59:10 65:6
  32:5,9 52:15       adds 7:21              6:21                63:17 65:8 98:4     106:22 107:16
  53:16 76:18        adjudica- 67:22      Allied 12:17 22:7   anymore 99:24         107:19,23
  90:13 95:12        adjudicated 6:7        86:16             Anytime 2:21          111:1 112:11
above-entitled       adjudication         allow 81:15 86:12   apartment 21:6        113:12,18
  123:5                5:16,20 33:7,8     allowed 30:3,3      appalled 25:22        114:25 116:21
absentee 6:22 8:5      33:16,23 34:4        31:4,5 86:16      appalling 31:5        117:21,22
absolute 1:12          39:24 67:18          87:11             apparent 13:5         119:5,6
  24:8 30:2 121:8      84:2 90:10,12      allows 14:20        Apparently          attacked 2:4,6
absolutely 12:1        90:19              altogether 34:15      40:24               11:16 98:1,2
  35:16 39:3 44:4    administration       amazed 12:1         appli- 54:4           113:4,15,16
  66:2,6 78:14         21:2 25:17         amazing 114:17      apply 56:9          attacking 3:4,9
  114:10             administrators       Amendment           approached            106:15
accept 65:22           105:6,8              59:16               71:14             attacks 111:2,3
accepted 25:4        admitted 34:4        America 48:21       approaching           115:14 119:21
  42:11                40:18 63:7,11        61:10 115:25        35:5              attorney 19:11
access 15:11,15      ads 44:24              116:4,11 122:3    approximately         57:9 97:1 98:5
  15:18,21 39:22     advantage 13:2       American 5:3          28:18               99:4
  84:7 114:3         adversaries            109:14 115:23     area 39:15 64:14    attorneys 97:11
accessible 87:16       109:12,15            116:13            Arizona 4:10        audio 92:22
account 2:9,10         114:8              Americans 19:24       5:13,25 6:4       audit 16:17 31:1
accountable          affidavits 19:7,23     19:25               15:23 16:15,18      74:13 85:6
  118:5                35:25 40:19        amount 14:10        aside 49:20 71:24     91:23 106:17
accumulate           afraid 25:3 41:24      38:10             asked 9:17 22:16      116:10,10
  90:21                42:21 43:3         amounts 47:11         23:22 26:5 37:3   audits 92:2
accurate 87:17       agencies 118:19      An- 64:10             84:22             August 25:23
act 109:13           Agency 116:22        analysis 12:18      asking 81:14        Austin 25:24
acted 59:12          agents 118:3,3         25:25 43:22         86:11 101:24        26:8 28:1
action 123:8,10      ago 22:14 43:23        46:22               118:3,4           authorities 23:20
actions 97:6           43:25 54:22        analyzing 82:23     asks 100:22         automatically
active 19:17           60:1 97:2 115:6    and/or 97:5         aspects 73:17         92:24 93:5
activities 119:20    agree 100:13,13      anomalies 10:8      assessments         AV 62:2,12,25
actual 29:20 63:9    ahead 10:11 44:5     anomaly 48:7,8        13:14             avoid 21:14,16
  82:1,1 92:5        AI 49:21               50:25 53:8        assist 67:2 71:25   aware 38:14
  95:15 98:7         aided 18:23          answers 94:2        assistant 117:15    awesome 116:8
  110:19 112:16      aims 51:15           Antrim 30:19        Association
                     air 20:25 21:5         31:9 32:2,13        54:14                    B
add 7:7 37:7
  108:16               63:22 115:17         33:2,3,10 72:14   assuming 94:3       B 64:21
addition 62:19         115:18               72:17,17 73:1,6   assurance 36:14     back 6:3,12 8:8
address 8:19         alerted 23:20          80:19 83:3 84:3   asymmetric 17:4      20:14 22:23
  17:22 37:4         algorithm 53:1         84:13,22 85:15    AT&T 94:14           26:7,13 27:7,20


                                Dickman Davenport, Inc
      214.855.5100             www.dickmandavenport.com                   800.445.9548
                                              APP386
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 387 of 971

                                                                                              125
                       Absolute Proof - February 5, 2021

 39:21 67:19           55:4 57:12         96:19,20 97:19      43:24 53:4         canceled 2:8,9
 68:15 105:14          93:21 106:14       103:14 107:19       101:22 103:14      candidates' 52:5
 117:10                110:18             113:18 117:1        117:9              capabilities 20:7
backdated 8:2        basis 32:9 99:17     121:9              bringing 35:21        41:9 93:13
backdoor 66:13       batches 71:20      Bill 41:10 42:9       98:18              capability 20:7
backed 38:23         battle 110:5         58:10 73:5,13      broke 3:24,25 4:1     20:10
background 12:5      be- 103:24         billboard 44:24       4:23 91:5 105:9    captured 81:22
 47:11 62:13,20      beacon 122:4       billion 21:20        brought 2:25          82:3
 66:23               becoming 116:1     billions 20:23,24     13:12 22:15        capturing 64:12
background's         began 12:15 28:2     21:4,4              23:20 61:23        cards 71:2,6
 62:20                 48:19 103:23     bins 7:16            bucket 27:5 33:6      81:25,25 82:1
Bailey 73:5,13         109:5            bit 4:21 9:3 13:20    33:7,8             care 41:13
ballot 7:1 31:3      beginning 25:21      21:7 35:18         build 46:25           118:23
 33:5,10 37:4          109:9            bizarre 6:5          building 81:24      Carone 66:15,17
 49:5,6,10,13,14     begins 2:1         black 48:1           buildings 21:6,6      66:19,22,24
 49:20,25 50:3,4     Beijing 104:15     bless 117:11         built 20:11 110:4     67:2,5,7,10,13
 50:6 51:19,23       beings 49:6          121:3               110:5,6,6            67:17,21,24
 52:23 53:1          believe 18:16      blessing 114:11      bumper 44:23          68:3,6,9,14,17
 54:11 57:6            19:2,6 42:19       114:14              45:4                 68:20,23 69:4,6
 69:22 70:1,7          46:20 52:11      blue 95:19           buried 32:17          69:10,13,16,20
 72:7,7,10 73:14       58:24 81:17      board 15:3,6,6       bury 119:23,24        69:22 70:1,4,6
 89:24 90:14,17        96:20              20:24 62:2,13      business 62:21        70:8,10,17,20
ballots 5:16 6:2,2   best 118:10          62:25 73:14,15     businesses 22:2       70:23 71:3,8,11
 6:3,4,7,22 7:13     bet 59:18 86:25    bombarded            button 93:3           71:13,17,22
 7:17 8:2,4,5 9:2    better 4:22          113:20             buttons 112:20        72:2,5,8
 14:1,10 19:23       Bi- 78:3           book 35:20,22        buying 22:2         case 30:2 31:19
 33:15 47:18         biased 51:2        books 35:20 36:6                           54:6 56:8,9
 66:12 68:23         Biblical 58:15     bots 59:8                     C            59:20 64:11
 69:14 89:4 90:9     Biden 4:20 5:14    bottom 41:20         C 65:1 123:1,1        72:20 73:19
 90:10,21              5:15 8:7 10:12     50:9 95:2 96:9     cable 63:9 95:4,6     83:25 84:11,12
bank 15:5              14:13 21:25      bottoms-up           cabling 62:21         86:11 87:22
Barcelona 17:14        68:10,11 72:22     44:25              call 8:10 81:24       89:22 104:23
 39:7                  73:23 75:2,22    bought 22:4            95:20               105:18 112:25
barn 42:23             77:1 78:3,19     box 2:7 8:24 95:2    called 8:9 18:3     cases 16:7,8,9,12
Barr 19:18 41:10       79:5 95:20       boy 59:1               27:3,4 33:7         16:13 19:14,15
 42:10 57:7,22         108:20 116:7     boycotts 2:7           36:3,5 39:7,8       34:5 55:4 87:14
 58:10               big 4:11,12 7:4    brazenly 38:21         39:17 49:14         98:6 105:4,8,9
base 121:23            10:13,13,23      break 25:23            52:3 53:13          108:2 111:22
based 20:19 22:8       36:25 47:15      breakfast 64:3         60:23 65:5,19     casino 53:20
 34:13 89:3,23         51:18 59:21      breaking 32:23         86:16 90:10       cast 8:13 80:10
 91:21                 91:11 95:25        107:3              calling 60:22,25      80:20 85:20
basic 13:12            107:16           briefing 24:7          97:10,11            95:1
basically 3:25       bigger 85:22         25:18              calls 122:1         catch 114:11
 14:11,20 19:5       biggest 5:1,2      briefings 28:3       campaign 21:17      category 14:13
 28:6 35:5 40:5        10:18 61:7       bring 12:12          cancel 11:13,13     Caucus 24:7


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                            APP387
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 388 of 971

                                                                                              126
                       Absolute Proof - February 5, 2021

caught 114:7         chart 5:9,16        clearly 23:16       columns 9:14          20:25 21:2 36:3
cause 79:3             103:22 104:6,8      36:16 37:17       com- 7:14             36:4 39:6,8
CCP 15:18              106:9 110:10        43:7              combination         company's 2:10
cellular 93:7,9        110:14            Clerk 73:1            41:18             compatible 93:18
  94:13              cheat 34:9,10       client 24:5         combine 102:18      complaint 38:12
center 63:6,7,10       96:9                100:24            combined 7:25       complaints 99:1
  63:10,14           cheating 29:19      close 11:20,20      come 6:12 29:6      Completed 6:1
centered 73:20         29:20,23            28:23,25 42:22      38:14 44:16       completely 2:12
centers 15:22        check 7:1             45:22 67:14         69:1 105:25         24:9,12 31:17
central 22:15        Chestonia 73:21       114:15              106:23 109:13       41:19 72:20
  95:1 123:18        Chicago 93:11       closed 93:2         comes 5:7 9:24        83:6 94:12
CEO 2:3 88:2         chief 99:4          closest 116:10        39:18 41:10       complex 16:22
certain 38:10        children 8:14       Cloud 108:4           57:22 87:15       complexes 21:7
  41:22 73:20        chilling 100:9      CNNs 60:24          Comey 111:8         complicated
  83:8,16            chills 100:19       code 15:10,11,16    coming 11:8           94:17
certainly 33:22      China 3:18 12:11      15:18               15:23 16:19       comprised 37:5
  120:2                15:12,24 19:1     coffee 91:15,17       21:15 22:21       compromised
certifiable 91:21      21:12,14,16       Colbeck 61:21,25      24:2 42:18          24:10 41:25
Certified 1:11         55:2,18 96:8        62:6,9,12,19        47:16 58:14         118:12
  123:2,16             105:25 106:3        63:5,14,16,21       103:17 108:1      compu- 69:23
certify 123:3,6,11     108:2,4,5           63:24 64:2,7,10     111:2 114:21      computer 34:23
CF 81:25               110:19 111:2        64:16,19,24         121:2               47:1 56:16
chain 9:2 28:4         115:12 117:22       65:1,3,5,10,14    command 116:21        61:10 69:23
  83:6                 119:6,22            65:17,19,22       commission            104:17,18
chair 62:15            120:10              66:6,8,11           123:20              105:1 106:17
challenge 73:7       Chinanet 104:15     collect 82:2        Committee 62:16       106:24,25
  99:14,22           Chinese 15:2,2,4    collected 86:7      communicate           107:2 113:3
  101:23               15:5,12,17          104:1,4,5           60:15             computer's 63:18
challenged 73:13     chip 93:15          collecting 103:23   communication       computers 37:6
  101:14             choice 101:25         104:1               60:14               63:8,12 105:7
challenger 62:1      Christian 11:15     collection 81:21    communications        114:3,3
challenging          churches 11:15        83:1                18:3 56:3         conceal 120:5
  97:13                11:16             collects 13:14,15   communism           concern 38:10
change 13:23         CIA 19:7 116:22     Colonel 12:2,4,15     11:10 116:3       concerning 120:9
  27:6,10,19 29:6    circles 49:22         13:18 14:3,7,16   communist 15:2      conclude 88:11
  50:21 121:25       CISA 13:18,19         14:24 15:9 16:5     15:5,12 116:1,3   concluded 88:8
changed 8:19           25:16,17,18         16:21 17:1,3,6    communists 11:8       88:21,23
  37:11,17,19          26:2                17:13,20 18:2,6     15:4              conclusion 76:3
  39:24 105:18       cities 77:18          18:16,22 19:1,6   community             88:19 120:6
  105:20             city 85:22 122:4      20:3,18,22          116:18            conclusively 85:8
changes 106:5        claimed 8:23          21:10,14,24       companies 23:7      Conduct 103:3
changing 22:20       Clarity 27:3 39:8   color 110:25          29:20 39:10       conducted 17:6
  41:21              Clark 6:24          column 104:8,14       47:4                84:1 116:11
charged 101:23       classified 28:3       104:24 105:11     company 2:7         configurations
  102:23             clear 8:5             105:17 111:21       15:10,10,13,17      62:24


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                             APP388
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 389 of 971

                                                                                             127
                      Absolute Proof - February 5, 2021

configured 92:23    converts 89:21       62:2,12,25          80:6,19 81:7,24    curious 96:1
  93:10,23          Cooke 93:11          70:25 71:1          82:20 83:3 84:3    currently 93:11
confirmed 32:12     COOMER 92:23         108:20              84:13,22 85:15       93:20
  32:13               93:9,16,24 94:4 countries 3:4,18       85:15 86:2 89:2    custody 9:2 83:6
congressman           94:7               10:24 11:10         91:7,11,20,23      cyber 3:13 17:4
  39:1              coordinate           12:11 15:24         93:11 104:25         17:25 22:9
congressmen           115:14             17:19 18:14,15      105:19 107:1         23:21 25:16
  58:18             copies 92:25         19:3 34:20          107:22 111:23        26:9 27:22
connect 83:10,20    cor- 110:24          41:21 44:20         112:8,9,25           34:11,18 38:2,2
  92:11 94:22       core 20:16           55:18 57:13       coup 18:18,22          106:22 109:4
connected 35:23     corner 95:2          76:11 117:22        19:9                 114:25 115:2
  36:8 44:8 63:3    corporations         119:6             couple 3:22 60:1       116:20,21
  63:8,16,18,20       55:19            country 3:3         course 5:24 26:6       119:20
  63:21 64:5,12     correct 27:21,23     10:18,25 11:11      29:7 31:6 73:16    cyberattack 5:2
  64:13 85:11         28:2 30:11,12      17:9 18:19 27:8     80:12 121:25         103:14 107:11
  95:3                30:16,17 31:20     32:19 39:20       court 16:7,8,9         117:1 121:9
connecting 13:11      31:21 34:13        40:8 54:20 55:1     19:14 30:2 55:4    cyberly 27:20
  73:8                36:7 39:2 68:2     57:19 60:12,13      81:14 86:11        cybersecurity
consider 3:20         68:17 72:25        61:7 76:17          87:22 97:6           14:19 103:19
consistent 40:23      74:24 75:1 77:8    98:21 103:8,8       99:22 119:3,13       103:23 110:5
  41:7,8              77:9,9,19,20       103:13 106:6,7      121:18               114:5
conspiracy 17:1       78:3 79:3,22       107:18 109:5      courtroom            cyberspace
constant 41:16        81:8 82:8,17       109:17 110:4,7      118:15               106:18
constantly 69:10      85:24 87:20        111:20 112:10     covered 94:11
  69:11 87:5          89:1 96:12,13      113:3 114:6       COVID-19 106:7               D
constituents          106:19 117:2,3     117:8,10,21       cows 42:22           Dallas 12:16 22:8
  101:22 102:1        123:4              118:6,22,23       crazy 26:10 27:13     22:14 23:3 24:2
Constitution        correlates 96:4      119:1,12          creases 69:14         36:20,24,24
  115:7             corresponding        120:24 121:4      create 13:1 88:13     37:12,15
Constitutions         110:24             121:10,21         created 19:23         123:19
  97:5              corrupt 41:19        122:1               46:13,14 51:19     Dan- 97:21
contact 82:14,15    counsel 123:6      county 6:7,24       creating 46:10       Dana 96:25 97:21
contacted 30:21     count 4:10 10:3,4    8:21,22 14:9      creator 46:15,15      97:22,23,23
  54:13 55:5 56:3     10:15 34:11        15:15,22 27:7,9   credentials 27:8      99:23 101:10
  73:1                71:15 78:17        27:10 30:20         39:19,21 105:5      102:19 103:1
contacting 59:15    counted 7:11         31:9,13 32:2        105:6 107:3        dare 97:24
  59:20               49:6,20            34:3,3 39:19,22   crime 61:9,12        data 12:18 13:9
continue 121:4      counter-intelli...   39:22 40:4,10       84:23 96:20,21      26:6,7 29:12
continued 23:25       118:7,8            47:17,21 48:1,2   criminal 101:16       53:7,7 81:21
  24:4              Counter-Terro...     48:2 49:9 53:14   criminally 101:24     82:1 83:1 89:21
control 63:5,7,10     117:16             62:11,13 72:14      102:23              89:21 96:2
  63:14             counties 32:9        72:14,17,17,18    criminals 103:8      database 39:22
controlled 38:24      40:7 49:9 53:13    73:1,6 74:14      critical 17:8 20:6    39:25
controls 15:4         85:12 104:4        76:12 77:6,11       20:10              databases 22:20
converted 49:14     counting 49:24       77:23 79:20       culture 11:13        date 8:17


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                           APP389
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 390 of 971

                                                                                           128
                      Absolute Proof - February 5, 2021

dated 86:17          118:12              98:3,9,12,18,21   direct 15:21        documenting
Davenport           demonstrates         98:24 99:3,9,12   directly 14:8        108:10 109:5
 123:17              103:4               99:16,19 100:1      15:21,24 20:14    documents
day 2:24 6:2        denied 24:15,16      100:5,8,12,16       93:2               110:16
 36:23,24 50:15      24:22 56:10         100:19,22         director 56:2       doing 11:19
 50:18,20 61:1      DENIX 18:4           101:1,3,5,8,10      111:7,8 117:15     12:17 13:10,11
 62:4 91:2          deny 25:2            101:18,21         directors 15:6       13:11 61:7 67:7
days 4:8 48:24      Department           102:3,8,11,14       54:15              71:4 97:25
 54:22 66:16         13:15 19:8          102:16,18,22      dirt 61:2            101:7 113:18
DE 18:3,3            25:13 40:24         102:25            disagree 98:14       114:23 117:12
dead 6:13 7:4 9:1    57:3 115:20       Depernolaw.com      disagreed 101:14     118:16 119:14
 9:7,9 10:3          116:17,22           87:4              disagrees 99:6       119:17
 66:11              depends 36:11      deputy 117:15       disbarment          DOJ 19:10,12,16
deal 21:3           DePerno 72:12      describe 36:21        98:16              23:20 117:25
dealing 96:25        72:16 73:23       design 62:21        disbarred 97:12      119:11
debunk 41:2,2        74:1,5,9,12,16    designed 88:12      discard 70:10,12    dollars 20:24
debunked 41:1,1      74:20 75:1,4,6    desk 36:5           discarding 70:13     21:4,20
decades 91:13        75:9,13,21,24     destroy 59:2,4,6    disclose 32:15      domestic 11:11
December 74:10       76:6,23 77:1,4    determine 90:16     discourse 99:20      19:4,4 115:8,9
 74:12 81:18         77:9,20 78:1,4    Detroit 62:2,12       100:9,17,20       Domi- 81:22
 86:7,15,18 87:5     78:7,11,14,16       62:24 77:18       discovery 31:4,5    dominated 116:8
decertify 56:9       78:19,22,25       developed 30:1      discussions 99:22   Dominion 12:19
decide 40:8          79:3,7,10,13,15   deviation 17:11     dismiss 16:23        14:17 15:4,7,11
 109:14              79:23 80:3,9,12     31:18 48:6 51:1     54:5 56:10         15:16 17:16
decided 34:5         80:15,18,22         53:11 77:16       dismissal 54:9       20:5,12 23:1,3
 38:25               81:1,8,10,12,20     91:10,11          dismissed 16:10      24:16,22 35:13
deciding 114:9       82:8,11,13,17     deviations 2:18     disparity 80:16      39:9 61:3,3,14
decision 62:1        82:22,25 83:13      4:25 50:15          85:17              66:15 67:5 68:1
deck 71:1,6          83:16,19,22,24      119:24            divide 120:25        68:3 72:1,3
declare 10:11        84:6,11,16,21     device 93:1         division 13:14       81:15,16,23
deep 116:19          85:2,7,10,14,17   devices 64:11         25:24,25 26:1      83:9 84:3 85:12
defend 115:7         85:20,24 86:1,4   DHS 25:17,24          117:16 118:8       88:2,4,11 89:10
defense 21:15        86:21 87:3,8,11     27:25             DNA 23:8             89:22 90:20
 115:20              87:14,21,25       Dickman 123:17      Do- 78:19 107:17     92:6,7 94:19,25
definitely 18:19     88:7,10,18,22     Diebold 52:11       docu- 110:6          97:18
 18:20,22 20:18      89:1,6,12,15,20   died 8:25           document 104:2      Donald 4:2 5:24
degrees 43:21        90:1,3,6,9,12     difference 79:21      105:22 111:21      7:8,22 10:5,16
deleted 52:23        90:16,19,23       different 6:16      document- 15:2       72:10,22 74:22
 54:11 57:6 84:3     91:4,7,20 92:2      13:4 32:2 34:15   documentation        75:6,19,25 77:4
delivered 19:23      92:5,9,11,14,16     36:19 49:16         104:1,7 107:11     78:20 79:7,23
demeans 97:8         92:21 94:18,21      50:22,24 94:13      107:12 109:4,9     79:25 81:6
Democrat 31:16       94:24 95:6,9,12     94:15               110:21 111:19      105:20 107:8
 53:14 72:20         95:15,18,22,25    digging 51:4          113:25             107:17 108:11
 77:8,14 118:23      96:4,12,14,24     diligence 2:23      documented 15:2      108:19
Democratic           97:10,15,22         46:18               107:25 109:11     door 116:2


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                           APP390
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 391 of 971

                                                                                            129
                     Absolute Proof - February 5, 2021

Dorsey 55:15         40:6 108:21         104:2,3,8,13,16   enemies 115:8         30:7 31:8,17
 59:24 60:9        early 16:18 25:23     104:19 105:24     enemy 18:24 20:8      32:14 34:1,17
 103:10              37:10,11 52:2       106:2,21,22         115:9               42:18,19 56:25
double 7:7         easily 12:22,22       107:13 108:18     enforce 57:3          58:19 59:7
doubt 39:3           26:22               109:6,10,12,14    enforcement 99:5      91:10 92:15
dove 2:20          easy 83:12,13         111:3,9,13,14     engineer 44:12        96:5 106:16
dozen 42:14        eat 64:3              112:12 114:1,3      51:7,11             107:15 108:24
Dr 43:21,25 44:6   effective 26:20       114:7 115:4       Enron 43:8,9,10       112:23 113:19
 44:8,10,15,19     eight 48:24           116:6,12            43:11,11            114:14 117:20
 45:3,6,12,16,18   either 17:23 33:5     117:23 119:9      ensure 95:3           119:25
 45:21,24 46:3,6     39:24 43:19       election-related    entered 104:12      everybody's
 46:9,14,21,25     eje- 33:19            19:13               104:16,18           27:15 42:23
 47:4,10,15,20     elected 101:24      elections 11:1        106:21,25           60:19 98:1
 47:23,25 48:5,8     102:4,23            14:22 17:21         107:2,3,12        everyone's
 48:11,13,16,19    election 2:18 3:4     18:12 35:3          111:13              121:17
 48:23 49:2,8,12     3:18,23,23 4:8      51:23 62:15,16    entering 8:4        everything's
 49:16,19,24         4:19 6:22 8:20      73:14,16 99:14    entire 34:5           119:2
 50:2,6,10,12,14     8:25 9:1 10:1       99:19,23 108:1      115:20            evidence 2:16 3:1
 50:23 51:6,10       11:1 12:10,12       110:21 114:9      entirely 41:7,8       3:15 14:9 16:13
 51:14,17,21         13:6,23 15:20     electors 10:5       equipment 36:3        16:16 19:18
 52:1,9,14,21,25     17:19 19:13,19    electronic 6:7        39:16               30:9,10,15
 53:6,10,13,16       19:21 21:11         12:20 13:5 24:9   equity 15:3,7         41:11 54:23,24
 53:19,23 54:1,4     22:11,14 23:17      47:6,7,8 49:3     erase 2:14            63:2,4 79:19
 54:8,18,23 55:3     25:3 27:3 28:24     49:21             erased 2:11           98:18 102:5,12
 55:11,14,16,23      28:25 29:1,2,7    electronically      erasing 22:20         106:20 117:20
 56:1,7,13,16,19     29:14 32:7          49:10             error 90:3,7,9      evil 103:7
 56:23 57:1,5,9      33:19 34:5        elements 18:19      errors 7:16 88:13   exact 47:24,25
 57:12,15,18,25      35:14 36:1,20     Elk 75:21             89:3                104:17 111:6,6
 58:4,6,8 59:3       37:11 39:8,11     email 19:9 46:10    ES&S 12:19            111:24 116:7
 59:12,15,23         44:5,20 45:7,15     46:16               14:17 20:5,12     exactly 3:16
 60:4 61:9           45:24 48:20       emails 46:13,14       23:2 24:18          29:15,24 31:25
drawing 110:9        52:16 54:14       Embassy 19:8          39:10               50:23 51:6
dream 5:3            56:2 57:23 58:2   embedded 52:4       espe- 61:14           56:23 71:3 83:9
driven 7:18          58:13,13 62:3     Emmet 104:25        especially 20:22      94:21 106:23
 115:12              62:23 63:11         105:19            Essentially 53:19     106:24,24,24
drivers 19:22        65:16 72:21       employed 123:7      establishment         108:10 111:21
drives 82:2          73:17,18 75:2     ena- 99:21            44:25               111:23 114:1
dropping 2:8         75:22 76:10,11    enabled 14:20       estimated 4:18        118:16
due 2:23 18:9,11     77:2,5 79:13        99:21             ethernet 95:4,6     example 76:15,20
 46:18               83:4 88:14,25     encourage 60:20     ethics 98:25        excited 113:5
                     91:2,22 97:14       61:4              ev- 32:17 113:10    excuses 58:22
         E           97:16,19 99:12    ended 25:12 32:7    events 4:24 73:4    execute 20:8,8
E 123:1,1            99:13 101:15        73:8 77:24        eventually 23:23    executive 98:13
earlier 20:4 34:11   101:23 103:21       115:18              24:6                116:17
  34:19 35:12        103:21,25         ends 122:11         everybody 26:17     exercises 13:11


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                   800.445.9548
                                           APP391
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 392 of 971

                                                                                             130
                     Absolute Proof - February 5, 2021

exist 30:5,5      fair 35:17           filing 73:9          Force 115:17          89:2 113:8
expect 4:3        fake 7:17 105:6      final 105:17         forces 13:2         foundation
expected 17:11    false 105:7 107:3    finally 25:12        foregoing 123:3       120:10
experience 53:3   fame 73:11              42:20             foreign 12:11       founding 22:7
  82:23           familiar 62:22,23    financial 20:19        14:25,25 15:24      115:1
expert 43:21      family 21:25            20:19               17:14 18:14,14    four 10:2 43:21
  109:4              121:13            financially 123:9      18:23 29:5,6        43:22,25 68:16
experts 3:13      Fanning 103:15       find 16:2 19:18        104:7,10          Frankfurt 17:15
  82:15,21 83:2      103:18 106:20        25:21 41:20         106:21 107:25       17:22,23 39:15
  103:19,23          107:6,10,24          50:20 51:4          108:9 109:11      Franklin 47:17
  114:5              108:4,8,13           59:18               109:12,15           49:9
expiration 84:24     109:3,8,19        finish 110:18          114:8 115:8       frankly 64:13
expires 123:20       110:1,23 111:5    firewall 63:25       foreigners 116:9    fraud 13:24
explain 8:1 26:16    112:2,13,15,18       105:9 107:4       forensic 3:13         19:19,21 22:11
  28:15 42:12        112:21 113:9      firewalls 64:3         16:17 31:1          25:3 44:5,20
  96:11 103:15       113:24            firm 15:3,7            81:15,21,22         45:15,25 48:20
explained 3:25    fascism 101:5           123:18              82:3,15,23          57:23 58:13,14
  103:20 118:11   Fathers 115:1        first 3:22 51:18       83:25 85:8 86:6     76:10 88:13
explanation       favorable 21:2          52:22 54:22         86:8 88:16,19       96:20 97:19
  56:20 81:2      FBI 19:12,19,22         55:4 59:16 61:6     89:24 96:7          102:14 103:21
exposed 38:19        23:23 111:7,7        98:6 104:8          106:20              104:3
  58:17 85:15        116:17,23            106:8 107:7       forensics 22:9      fraudulently
Expressway           117:16,24,25         120:21              32:4 34:12 38:2     119:9
  123:18             118:3,4,11        fit 103:5            forever 5:3,6       Freedom 24:6
extend 21:18         119:11,13,16      five 92:25             122:1             freedom-loving
eyes 29:11           120:9             flat 39:25           form 47:8             122:5
                  fear 100:23          flip 38:25 40:10     form- 62:14         friendly 13:2
         F           101:25 102:7         73:18 91:14       former 14:13        friends 45:22
F 123:1           feature 52:3,4       flipped 3:5 31:15      61:22 111:7         121:13
Facebook 87:6     federal 18:20           31:17 72:21         117:15 118:3      fringe 45:25
faced 115:21         51:22,22 57:2        76:2 78:3 86:4    forth 98:18         frivolous 97:5
facing 116:14     fee 123:11              91:8 108:23         101:22            fro- 34:10
fact 16:6 26:18   felons 8:12             113:2,22          forthcoming         front 21:8 67:19
  30:19 54:1 63:7 fight 21:17          flipping 64:8          16:18               69:23 88:2
  75:11 81:9,10   fighting 21:21          77:24             Fortune 47:4          116:2
  81:11 84:4 97:3    22:4              focus 62:24          forward 11:1        frustrating 16:3
  104:1 105:15    figure 49:22         focused 116:15         16:14,17            16:6
  108:9 110:3        83:17 120:5       fodder 30:4          found 17:14         full 16:17 74:13
  111:9           file 86:11 97:5,12   folks 18:7             22:18,18 24:1       91:22 109:8
factors 20:6      filed 38:12 73:8     follow 83:3            31:7 33:10          123:12
facts 28:10 79:19    73:12 81:12,13    followed 57:16         34:25 36:2 44:3   Fulton 34:2,3
factual 75:13        81:14 99:1        footprint 96:7         49:2,3 51:17,21   fun 62:7 97:3
failed 8:20 9:12  files 84:2,2,2,17    footprints 106:21      52:2 53:1,7       fundamental
  116:18             90:24 110:19         107:12,25           57:5 59:13          14:19 59:16
failure 83:3         112:16               109:11              66:20 83:25       further 31:5


                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                    800.445.9548
                                           APP392
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 393 of 971

                                                                                          131
                     Absolute Proof - February 5, 2021

  123:6,9,11       5:11,15,21 6:11      53:19 54:23       great 36:25         hacks 29:10
future 35:2        6:13,20 7:4,10       58:17 60:15,17      114:23 117:8      hand 65:25 74:6
  120:22           7:15,20 8:8          60:18 61:11,12      120:25             74:7,9,17 79:4
                   10:10 14:21          65:1 71:17        greatest 117:9       96:15 122:7
         G         26:18 27:19          74:13 76:8,14       120:24            hand-counted
gained 80:23       32:9 33:23           77:12,15 80:16    green 21:3           47:18 76:16
  84:7             35:12 43:2 44:5      91:15 92:18       grew 44:17          hand-off 63:1
gains 20:19        52:11,11 58:21       96:6,7,23 97:20   ground 44:22         64:17
game 61:13         59:8 61:6,15,18      99:13 103:7,12    group 12:17 22:8    handed 26:2
gapped 63:22       61:18,19 71:19       103:14 105:4        23:21 25:14       happen 20:11
Garcia 123:2,16    81:5 90:10           109:15,23,25        28:4 36:19 70:5    29:2,15,16,18
gate 42:22         92:19 99:21          114:19 115:24       86:17              29:24 32:1,17
general 22:14      104:6 105:14         117:5,5,7,7,9     grouped 6:17         35:22 36:7 37:9
  97:1 99:4        105:22 109:24        119:1,2,3         groups 26:9,12       42:19 51:5
  114:18,21,22     112:6 113:1,1        120:20,23,24        26:13              119:10 121:24
  116:24 117:3,6   121:12 122:6,6       120:25 121:17     GSM 93:22            122:3
  117:11,13       God 50:3 117:10       121:22,23,24      guarantee 86:23     happened 2:18
generates 89:3     117:11 118:24        121:24,25         guess 11:22 40:13    3:17,21 4:7,17
genius 46:16       121:1,2 122:7        122:2               92:12 113:20       4:18,25 5:12
Georgia 6:12 8:8   122:10             good 10:7 21:21       118:25 119:13      10:8,8,9 11:2
  8:10,17,18,19   God's 122:8           119:23            guides 122:5         11:21 19:3 29:1
  9:6,15 14:9     goes 29:14 33:5,6   Google 87:8         guise 8:5            37:24 50:21
  15:23 16:12      33:7 34:12         GOP 44:25           guy 9:17,18,22       67:1 69:19
  113:15,19        49:12              Gore's 115:19         40:18 44:11,12     73:17 80:18
Germany 18:4      going 2:7,11,13     gotten 12:13 35:1     44:25 46:18        81:2 91:1,1
  39:15 40:12      3:6,11,12,13,13      57:19               47:25 48:1,2       96:7 103:15,20
  60:12            3:14,16 4:4,6,8    government            72:1 83:14         115:11 119:15
getting 7:23 13:8  4:9 5:9,10,11        15:14 17:7        guy's 46:16 56:23    121:12,22
  22:19 28:23      5:11,12,18,19        18:20 41:20,23    guys 12:1 22:24     happening 40:23
  32:20 35:21      5:25 6:6,11,15       55:6,8,18 58:18     26:9 30:20,21      85:14 121:10
  60:6 80:5 98:1   6:18 7:14,14,20      59:13,17,19         30:21 31:1        happens 49:13
  98:2 113:15,16   8:8 10:10,11,22      62:15,16 98:14      60:22,25 61:13     55:17 57:13
  113:20 122:1     11:1,12,17,23        115:20 118:13       75:15 97:17        99:16
GHS 13:13          11:24,25 12:1        118:18,18                             happy 3:21
gi- 9:13           18:10,11 21:3      government-m...             H            118:25
give 9:6,7,9,13    21:11 29:2,15        21:5              ha- 106:13          harassing 19:24
  26:6 49:5        29:16,18 31:25     governments         hack 12:10          hard 16:22,23
  114:19           33:16 34:21,22       15:14,15           112:11              85:5,7 86:8
given 84:13 89:23  35:1 38:14,20      governors 10:6      hacked 34:20         120:5
giving 13:20       40:19 42:9,19        58:19              64:6 76:11         hardware 93:15
  43:12            42:20,23,24        grab 82:20          hacker 104:12       Hart 12:19 24:17
glad 44:8          43:1,2,5,23        grabs 39:18          105:2               39:9
global 116:3       44:1,3 45:10,22    granted 81:16       hacker's 110:11     hash 37:17
globalists 115:24  46:17,19 50:9        86:15             hacking 3:4         hat 39:13
go 3:16 4:4 5:9    50:14,20 51:3      grasp 120:10         111:10             hated 45:1


                            Dickman Davenport, Inc
      214.855.5100         www.dickmandavenport.com                   800.445.9548
                                          APP393
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 394 of 971

                                                                                              132
                       Absolute Proof - February 5, 2021

haunting 41:17       horrified 22:18      53:19             information 12:6       73:15,16
heading 115:19        23:13,22 24:13    immediately           12:6,24 16:4         115:25,25
hear 7:14,18 30:7     25:15 26:4,18       103:4               18:10 32:10,11       123:10
  32:14 42:8,8,11     28:2              immense 47:11         36:23 39:18        interesting 22:12
  44:3 46:17         horrify 26:16      impede 19:20          40:9 41:6 63:1       44:10 49:3 53:8
  54:19 56:25        horrifying 24:1    importance            64:21 84:14,23       53:17 69:21
  71:24 72:15         26:14 31:7          100:17              87:16,23 88:1,3      78:8 90:24
  91:10 92:15        horror 36:2        important 73:9        89:23 95:10        interference
  97:17              hours 26:5 55:14     83:2 94:24          103:24 104:2         102:16 104:7
heard 2:21 7:12       55:20 60:3          106:4 111:11        111:6,6 114:8        114:1
  7:17 16:13,15       68:13,14,16         114:24 115:2      informed 57:6        interim 65:3
  24:14 27:16         72:6                115:16 116:4,5    infrastructure       international
  30:18 31:9 32:3    House 109:16         116:11              17:8                 21:19
  34:19 40:11,11     Houston 38:18      impossible 48:10    inherent 20:11       internet 35:23
  40:17 45:9         hu- 52:18          in- 18:20 21:20       88:13                36:8 63:3,8,17
  68:11 72:13        Huawei 108:2       inaudible 7:25      inject 39:24           63:19,21 64:6
  91:10,19           huge 30:1 38:17      22:22 23:10       injected 29:23         64:13 83:10,24
  108:13              71:22 77:18         33:16 45:20       injections 95:20       85:11 92:13,18
heck 86:24           human 49:6           48:12 53:25       input 14:8 50:22       94:22 95:7,8
Hello 2:2            humanity 10:18       58:5 59:14 61:8     50:24                96:8 104:11,21
help 36:4             96:21,21            77:23 94:6,14     insert 89:24         interview 101:11
Hey 10:7,10 26:9                          98:9 115:6        inside 3:2 18:19       101:12 102:19
  82:20                        I          116:19 120:17       18:20 19:16        introduction
hiding 3:10,11       I&A 25:24          incentivized 7:3      25:17 110:4          13:21
high 33:21 38:7      ICP 93:7 94:8      including 3:18        111:20 118:15      intrusion 104:3
highly 48:11,16      ICPs 94:13           12:11 93:24,24    insight 51:18          104:10 105:3
  53:14              ID 104:16,25         106:5 119:6,12    integrity 26:2         105:15 108:9
hill 122:4              107:1,1           121:18              59:9                 109:11
hire 82:6            identification     incomplete 8:12     intellectual 22:3    intrusions 105:23
hired 66:15             106:14,15       incredible 8:3      intelligence 13:14     105:25 106:2
Hispanic 48:2        identified 17:21     43:6 108:24         13:15 14:25          108:1
historical 13:8      illegal 5:22,22      113:23              15:1 25:16,25      invest 21:20
  58:13,16              6:21 36:10      India 44:17           116:18 120:3       invested 22:1
  108:25             illegally 8:14,23  indications 21:16   intent 90:17         investigate 23:25
historically 72:19   illegitimate 14:1 individual 19:11     intentionally          40:25 43:10
history 5:2 11:2     image 6:25 49:14     47:10               88:12                84:20,22
  11:21 46:22           49:14,25 50:3   individually        intercepted 64:23      101:15
  103:14 107:19         53:1 95:1         50:17             intercepting         investigated
  114:25 115:10      images 50:6        induce 13:25          65:12                40:22,24
  117:2 121:9           51:19,23 52:23 industrial 21:6      interception         investigation
hit 93:3 106:7          54:12 57:6      influence 12:5        65:12                2:24 19:12,13
hold 36:4 84:9,9        81:15,22 82:3     14:22 25:6        interdict 13:4         41:5 119:20
hold- 50:8              82:23 85:8 86:8   88:14             interdicted 12:23    investigations
Homeland 13:16          86:9 88:19      influenceable         13:23                19:17,20
  25:14              imagine 32:25        12:22             interested 25:19     investigative


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                  800.445.9548
                                            APP394
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 395 of 971

                                                                                         133
                      Absolute Proof - February 5, 2021

  13:12             journalist 61:5     13:23,25 14:10     117:16,24        learned 53:3
investigators       journalists 60:21   16:6,10,19,24      118:2,21 119:8     102:19
  25:13             journey 48:19       17:10,16,17,24     119:16,22        learning 73:15
investment 21:22    judge 31:3 36:1     18:9 19:18,24      120:1,19           112:6
investments           54:5 56:7,10      19:25 20:6,12      121:16,19,20     Leave 28:6
  20:20               81:14 86:12,15    20:23 21:7         121:20 122:2     leaving 111:15
involve 34:17         87:19             25:20 28:14       knowing 64:5      lecture 58:14
involved 12:14      judges 30:10        29:4,5 30:13,14    114:15           left 35:20 96:1
  18:19 22:10         42:11             31:10,15 32:4,7   knowledge 13:9    legislator 101:13
  59:20,25 61:23    judicial 19:14      32:18,20 33:3      16:12              101:13
  72:15               116:16            34:22 35:18       known 5:4 6:23    legislators 10:6
IP 104:10,15,18     July 24:7           36:9,19 37:5,19    11:4               58:19 101:19
  104:20 110:10     jurisdiction 93:1   38:4,6,11 40:10   knows 8:9 42:15   legislatures 103:2
  110:11,12         jurisdictions       40:16,25 41:7      44:2 59:7 75:15    116:16
  113:7               93:17,21          41:13,14 42:9,9    96:5 119:25      legitimate 100:24
iPhone 49:17        Justice 40:25       42:18,23,24,25     120:9            lengths 43:6
Iran 108:6            57:3 116:18,22    43:7 44:10,17                       let's 5:15,20 6:10
ISI 15:25           justices 119:4      44:23 45:19                L          6:11,13,20 7:10
island 94:11,15       121:18            46:9,10,10,11     lady 97:21          7:15 59:2,4
islands 21:18                           46:18,19,21       land 63:18          70:15 75:17
issue 34:15               K             47:5,6 51:2,3,3   landslide 45:8,11   82:20 112:7
issued 16:16      Kearney 76:24         52:20 54:4,20       47:13           level 13:24,24,25
it'll 42:21 92:24 keep 5:25 6:6         54:21 55:1 57:5   large 64:13         14:4,17,25
Italian 19:8        41:12 43:12         57:23 58:20,25    large-scale 46:25   15:19 27:7
Italy 40:11,12      110:7               59:10,24 60:7,8   largest 17:23,24    76:21
items 82:4 85:2   kicked 51:7           60:10,12,15,16      47:2 115:9      levels 28:5 29:18
                  kind 4:15 6:5,14      60:20 61:23       late 8:25 42:22   license 100:3
         J          12:12 14:4          67:1 70:2,25        120:6           lie 16:8
Jack 55:15 59:24    15:16,16 28:18      72:16 74:3 75:9   latest 93:25      light 122:4
  59:25 60:9        39:16 61:1          75:9,16 76:16     launched 60:3     lights 122:5,6
  103:10            67:16 68:25         76:17,18,20       launching 119:20 limited 31:4 32:8
jam 69:10,11,17     69:1 108:21         77:22 79:17,18    law 8:6 51:22,22    94:9
James 111:8       kinds 96:10           81:4,5,6 82:10      99:4            Lindell 2:2,3 12:8
jammed 69:18,20 knew 11:20 29:2         82:11,19,20       lawn 44:23 45:3     13:17 14:2,6,15
  70:4,7            29:3,4,15 31:18     83:8 84:4,7,8     laws 57:2,15,20     14:23 15:8 16:2
January 2:25        31:25 45:6,9        84:11,12,16       lawsuit 73:9,10     16:20,25 17:2,5
job 10:6 118:13     47:13 58:21,21      87:1 89:12          81:12,13          17:9,17 18:1,5
  118:14            72:23,24 73:2,5     91:12,12,17       lawsuits 97:7,12    18:13,21,25
jobs 115:21         73:7 77:11          92:25 96:17       lawyer 72:13        19:2 20:2,17,21
Joe 10:11 68:10     111:9,12            98:4 99:6,9         99:1 100:23       21:9,13,23 22:6
  68:11 72:22     know 2:3,15,17        103:7 106:15      lawyers 97:3        22:23 23:4,9,12
  73:23 75:2,22     2:22 4:10,12        106:23 108:6        100:11            23:15,18 24:11
  77:1 78:19 79:5   5:3,5 9:14 10:7     108:18 112:5      leaders 122:2       24:14,19,21
  95:19             10:15 11:19,21      113:1,5,7,17,17   leading 119:6       25:8,11 26:15
Johnson's 25:13     11:22,23 12:8       114:13 115:1      learn 5:18,19       26:23 27:1,12


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                          APP395
    Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 396 of 971

                                                                                             134
                  Absolute Proof - February 5, 2021

28:8,15,21,23     68:1,4,7,11,15       102:10,13,15      logs 22:14,16        luxury 76:18
29:9,14,25 30:7   68:18,22 69:3,5      102:17,21,24      long 22:13 36:25
30:13,18,24       69:9,12,15,18        103:6,17            97:2                       M
31:8,22,24        69:21,25 70:3,5      106:10 107:5,9    longer 100:9         ma- 95:3
32:14 33:12,14    70:7,9,14,18,21      107:14 108:3,7    look 5:15 8:3        machine 3:3
33:17,25 34:7     70:24 71:5,9,12      108:12,14           14:16 15:9 20:5     13:24 14:4,17
34:16 35:7,9,24   71:16,21 72:1,4      109:7,18,22         24:3,4 25:18        14:17 25:2
36:9,13,17        72:6,9 73:22,25      110:22 111:4        26:1 30:10,16       49:11,12,13,20
37:13,21,23       74:3,7,11,15,19      112:1,4,14,17       30:21 32:1 35:2     49:21,24 52:19
38:1,16,22 39:4   74:21 75:3,5,8       112:20,22           39:14,21 40:8       61:13 67:12,16
40:5 41:4,10      75:11,14,23          113:10 114:10       41:24,24 43:10      69:8 71:14 76:6
42:1,4,7 43:4     76:1,7,25 77:3       116:24 117:4        50:15 52:11         76:10 78:9,25
43:14,17,20       77:6,10,21 78:2      117:13,19           53:6 54:11          80:10 83:20
44:7,9,14,18      78:6,9,12,15,18      118:20 119:21       56:13,21 60:5       85:10 88:24
45:2,5,10,14,17   78:21,24 79:2,6      120:7,12,15,18      68:25 73:2,20       89:2,4,9,10,17
45:19,23 46:2,4   79:9,12,14,16        121:7               76:23 78:16         90:1,6 91:21
46:8,12,15,24     79:25 80:8,11     line 9:12 96:9         79:4,21 82:20       92:11 96:14
47:3,9,14,19,22   80:14,17,21,25       110:8,17,23,24      90:13 93:14        machines 3:5,17
47:24 48:4,6,9    81:3,9,11,19         110:25 112:11       95:13 102:4         3:24 5:5 10:19
48:12,15,18,22    82:5,9,12,15,18      113:6               103:22 104:8        10:20,25 12:9
49:1,7,11,15,18   82:24 83:12,14    lines 41:13            105:23 106:17       20:5,5 22:11,25
49:23 50:1,5,8    83:18,21,23          109:25 110:9        106:18 107:14       23:1,5 24:15,17
50:11,13,24       84:5,9,15,18         110:13,18           113:14,19           25:10 27:17
51:8,13,16,20     85:1,4,9,13,16       111:2 112:7,10    looked 2:22           34:9,17 35:11
51:25 52:8,13     85:19,21,25       link 39:11 87:6        12:25 24:23         35:13 38:5 44:2
52:15,24 53:5,9   86:3,19,22 87:7   listing 8:11           26:3,12 88:17       44:5 46:5,7,11
53:12,15,18,22    87:10,13,17,24    litigation 100:24      88:18 106:16        47:18 49:4 52:2
53:25 54:3,7,16   88:6,9,17,21,23   little 4:21 7:19     looking 12:16,18      52:17 58:15,15
54:19 55:9,12     89:5,11,14,19        9:3 35:18 36:19     20:23 22:17         61:16 65:15
55:15,22,25       89:25 90:2,5,8       38:21,23 42:6       105:21 106:19       67:8,9,14,18,25
56:5,12,15,18     90:11,15,18,22       62:13 76:12         109:20 112:24       68:2,3,24 72:10
56:22,25 57:4,8   91:3,6,9 92:1,4      79:20 113:6         122:2               75:19 76:7,7,13
57:11,14,17,21    92:7,10,13,15     live 7:6 72:17       looks 95:17           76:21 77:13
58:2,5,7,10       92:17 94:20,23    lived 72:23          lost 5:23 7:8,22      78:9,11,13,14
59:4,14,21,24     95:5,8,11,14,16   lives 37:3 73:6        9:8 16:8 47:22      82:16,21 83:4,5
60:5 61:11 62:5   95:21,24 96:3,5   living 4:15            47:23               83:10 91:23,24
62:8,10,18 63:4   96:13,16 97:9     load 27:6            lot 6:1 7:14 12:20    92:19 96:19
63:13,15,20,23    97:14,17,23       loaded 6:8,9 36:2      13:7,8,11 15:20     97:19 111:9,16
64:1,4,8,15,18    98:4,10,17,20     local 13:13,19,25      22:3 38:20          117:23
64:23,25 65:2,4   98:23 99:2,8,11      29:19 57:9          46:22 56:16        magnitude 36:22
65:7,11,15,18     99:15,18,25          64:13 73:20         58:20,22,22         120:3,4
65:21 66:2,7,9    100:4,7,10,15     locations 22:22        61:15 112:6        mail-in 5:16 6:1
66:14,18,20,23    100:18,21,25      log 90:24              118:2               6:22 7:1,11,12
66:25 67:4,6,9    101:2,4,6,9,17    logical 120:14       low 85:22             8:4 69:13 77:17
67:11,15,20,23    101:20 102:2,6    login 39:19 40:3     luck 4:22            mailed 6:3,4


                          Dickman Davenport, Inc
    214.855.5100         www.dickmandavenport.com                     800.445.9548
                                         APP396
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 397 of 971

                                                                                         135
                     Absolute Proof - February 5, 2021

mainstream         Massachusetts       58:23 60:7,10    million 108:19,20    93:22 105:23
 58:23 60:10        44:21 47:17        61:16 87:9        116:6,6            multiplied 56:20
 98:22              55:17,24 56:14     98:22 103:10     millions 4:3        multiply 52:5,9
maintained 85:3    massive 29:19       121:14           mind 28:10,13        56:22
major 119:20        30:6 40:1,1,2     medical 22:2      minute 26:23,24     myth 30:4
making 9:25         59:9 76:10        Melissa 66:15      43:3
 60:16 61:2         114:25 116:20     member 15:6       minutes 36:5                 N
malware 39:5,17    master 81:23        22:7             miracle 3:22 4:16   name 2:5 19:9
man 65:5,19        match 96:15        members 24:6       5:7,10 10:1,13      37:3 57:7 73:12
 115:18            mathematical       mentioned 20:4     114:16              73:12 97:21
management          51:5 56:20         57:22            miracles 3:21       named 9:14 73:5
 12:20             mathematically     met 28:5 43:22    mislead 97:6         73:13
manager 71:14       52:17              43:25 50:14      missing 90:25       nat- 91:18
manifest 120:23    Matt 72:12          108:17           mission 20:8,9      nation 17:7 18:23
manifests 120:22   matter 35:6,7      method 105:3      MIT 43:21 44:12      18:24 114:23
manip- 26:22        42:16,17 50:9     Michigan 4:12      53:3 56:13          117:10 118:24
manipulated         77:14 123:5        6:13,13,14,15    MIT's 56:14          121:1 122:9
 24:13 89:21       mattered 11:5       15:23 16:12      Mobile 108:5        national 31:6
 95:17             McInerney           30:20 31:10      mockery 98:22        54:14 91:18
manipulating        114:18,22          61:22 62:8,10    modem 93:7,9,21      116:21
 29:22              117:3,11           62:17 72:18       93:22              nationwide 37:23
manipulation       mean 5:17 16:8      76:12 77:24      modulate 115:13      76:11
 15:20              22:16 26:10        79:21 85:11      moment 103:11       navigable 21:19
mankind 114:25      28:16 30:14        88:3 91:4 92:3    113:16             Nazi 60:12
manmade 21:17       31:15 32:19        96:24 97:1,3,4   money 13:11         necessarily 25:9
manner 91:8         33:18 35:4,10      97:12,12,25       21:8,24,25         need 33:3 40:3,10
manual 52:11,12     36:14 37:22        98:13 99:4        43:12,13 58:24      121:12,15,15
 83:9,9,10,19       38:6 40:16,16      101:12,13,19      118:7              needed 92:25
 92:6,7 94:19       41:11 45:12,13     102:4 103:3      Mongolia 94:8        113:21
 95:15              45:13 46:21        104:23,24,25     month 2:4 11:7      needs 57:2 58:19
manufacturer        48:13 51:6,10      105:19 113:19     50:20              neither 123:6
 6:25               57:20,22 58:11    Microsoft 62:20   months 3:22 9:23    Nessel 97:1,22,23
map 110:24          58:11 59:9,25     middle 40:13       118:1               97:23
mapping 17:20       60:5 62:14 65:8    65:6,20 66:4     morning 4:20        Nessle 99:23
marathon 62:2       87:18 94:7        Mike 2:3 22:13     66:7 72:25          101:11 102:19
margin 5:13 8:7     108:24 112:24      28:14 33:4        113:21              103:1
Maricopa 6:6        113:4 118:25       37:10 42:25      motion 56:10,11     net 79:22,23,25
Mark 60:8,8        meaning 116:17      43:24 44:6,11     81:14 86:11         81:7
 103:10            means 4:2 34:5      47:21 52:21      move 47:5 110:14    Netflix 35:21
marketing 51:12     52:6,25 55:6       103:18 106:8     movements 15:20     network 44:24
Mary 103:15,17      56:13 85:5         109:21 114:22    movie 35:21 60:1     62:23 64:14
 107:20 109:2       105:5 109:12       117:12,18        moving 8:21          93:12 95:4
 109:23 112:4      media 2:5,8         118:4 121:5       110:9 111:19       networks 93:19
 113:6,23           11:17 25:21       military 12:5      112:16              94:4,9
 114:16             30:4 39:12         20:6 115:17,22   multiple 42:12      Nevada 6:20,21


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                800.445.9548
                                          APP397
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 398 of 971

                                                                                             136
                      Absolute Proof - February 5, 2021

  7:5,6 15:23        105:24            odd 53:20              103:9             owner 104:14
never 4:7 5:1,4     noticed 18:8       office 8:23 9:19     online 26:19        ownership 15:3
  10:9 11:3,20      notices 107:15       44:13 103:5          27:17 35:12,19    owns 15:7 39:7
  19:19 34:25       November 2:16        111:15 115:5         36:9,10,16,16
  35:1 44:16         13:6 32:7 40:14   officer 12:25 56:3     36:25 63:13,15            P
  58:21,21 60:23     66:16 72:25       official 19:10         65:8,16 66:21     p.m 84:1,17 91:1
  68:20 114:15       73:24 74:10         59:19                66:21             pack 70:19
  115:22             77:12 79:1        officials 24:4       open 16:9 31:19     packets 111:18
new 7:18 21:3        80:10,19,22         63:11 98:13          54:7,9 56:5,6,7   Page 52:12
  54:23,24 60:24     84:1,17 91:1,2      101:24 102:4         56:8 98:5 111:9   pages 22:17
news 32:23 61:18     96:1 101:10         102:23               113:1 119:18        107:20,21,21
  91:18              102:22 103:24     oftentimes           opened 6:10           107:24
newscast 60:21       109:9               105:13               10:19 119:25      paid 123:12
newspapers 2:5      num- 95:2          oh 4:20,22 30:24     opening 6:8         paid/will 123:12
night 2:18 3:23     number 19:10         41:1 43:9 45:12    operate 38:21       Pakistani 15:25
  3:23,24 17:11      33:18,19 53:20      46:12 50:3         operation 36:20     paper 38:13
  18:8,9 27:3        71:1 75:20 80:4     59:21,21             36:21 38:18         47:18 49:5,5,10
  39:8,11 40:13      80:6,9 85:23      okay 4:8 5:10,13       120:3               49:13,20 69:1
  45:7 61:20 62:3    90:21 104:11        5:24 6:6,10,19     Operational 22:8      89:7,9,18,21,24
  66:4,12 68:14      106:1 112:2         6:21 7:7,9,24      operations 12:5,6   paper-based 47:5
  71:13 72:21       number's 111:21      8:3,6,9,12 9:2       12:17 86:17       part 6:19 18:22
  75:2 77:2,5       numbers 9:15,17      10:3,16 23:9,12    opinion 18:13         31:2 93:2 99:20
  79:13 90:21        9:21 53:17 54:2     23:15 25:1,8,8       24:23 25:1 38:7     99:20 100:9
  91:22              74:23 77:11         25:11 26:15          40:20,21 41:11    part-owner 72:3
nine 119:3           96:11,16            28:16,24 30:13       42:13 87:2        participating
  121:18,19          108:16,22           30:18,24 31:22     opportunity           19:9
NIX 18:4             111:22 116:8        32:14 36:13          44:11             particular 39:16
no-name 45:1        nuts 26:10           38:1 46:8,19       orchestrated          82:16 105:18
node 17:25 18:3                          51:24 53:21          115:3             particularly
nodes 17:24                 O            61:21 66:25        order 28:4 56:8       106:6
noise 60:16         o'clock 62:4         67:4,6,11,15,20      76:2 86:10        parties 123:7
Non-Nevadans        oath 97:4 115:5      67:23 68:4,8         92:18             partners 12:16
  7:5               obeyed 56:4          69:8 72:4,12       orders 55:6,7,16    parts 41:22 94:15
nonstop 61:1        objects 112:16       73:22 74:11,19     organization        party 15:3,12
normal 4:19         observer 7:11        76:14 77:6,10        45:4                47:16 118:12
  33:18,19          obvious 31:15        78:15 82:5,9       original 78:16      pass 21:3
normally 31:16        45:13              84:9 91:9 94:1     outcome 123:10      passed 51:22
  50:16 69:4        obviously 3:10       109:23             outcomes 13:23      passes 39:12
North 23:21           17:16 73:16      once 39:20 42:19     outlet 61:7         passing 64:20
  123:18              96:18              92:23 93:3         overseas 17:18      Patrick 61:21,22
northern 72:18      occur 54:2           96:17 121:1          26:22,24 27:4     patriot 73:6,13
  76:12 77:23       occurred 49:8        122:3,9              27:11,18 29:23    patriotic 19:25
  79:21             occurs 44:16       one-half 6:24          34:12 39:23       pattern 43:22
nothing's 57:15     Oct- 58:9          ones 24:22,25        oversight 25:14       46:22 54:2
notice 85:22 86:5   October 58:6,7       37:6,7,19 95:25    overstated 82:25    Pause 92:22


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                           APP398
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 399 of 971

                                                                                            137
                      Absolute Proof - February 5, 2021

pe- 2:25 9:11         105:25 106:1,2     9:24,25 50:3       present 90:25       procedures 83:4
peer 17:6 18:24       106:12 116:25      64:21,21 65:1      presented 30:3      process 47:7
penetration           117:20 119:5       94:5 111:14,16      102:5 111:7         89:12 90:12
 118:17               119:15             112:3 115:6        president 8:9 9:5    93:3
Pennsylvania        percentage 33:20    points 111:14,17     9:16,20 14:11      processes 62:23
 7:10,18,21           47:24,25 48:4,5   political 41:13      14:13 15:5         profession 97:8
 15:21                52:5               59:17,18            80:13 108:17       Professional
people 7:4 8:20     perfect 76:19       politics 25:6        109:16 115:19       103:3
 8:25 9:10,12         87:18              73:20               116:5              program 81:25
 10:3,4 11:9,16     period 84:25        poll 7:15 35:19     presidential         116:15 118:15
 16:22,23 19:4,4    permitted 87:22      35:20,22 36:6       73:18              progressing
 19:16 22:4,16      pers- 51:2           62:1               pressing 16:17       16:14
 22:19 25:21,24     person 69:24        polls 6:8,9 93:3    presume 84:21       progressivism
 27:5 28:1 31:14      73:5 99:5         pop 58:25 59:5      pretty 15:1 21:21    116:2,2
 33:3,4 34:3,6      personnel 19:8      popped 59:1,6        43:1 121:17        prompted 13:7
 35:10,18 36:24     perspective         pops 32:16          prevent 64:24       proof 1:12 3:1
 41:12,18,23,25       116:25            positive 107:10     primarily 73:19      10:23 17:18
 42:8,9,21 43:2     Pete 38:11           109:4 113:25       primary 45:7         24:8 30:2 34:21
 49:6 56:17         Phil 12:2           possible 29:3       print 3:2 92:24      98:6 103:13,16
 58:24 64:2         phone 19:10         post 8:23 60:25      92:24               106:12 107:10
 72:17,23 73:4        49:17 113:25       101:11             printer 68:25        108:25 109:4
 82:6,7,13,22       pick 21:1           Postal 8:2           69:1                112:24 113:24
 87:6,11 97:21      picks 35:9          posted 73:3         printing 93:4        119:15 121:8
 99:14 109:14       picture 49:17       posts 36:25         prints 93:3          121:11
 110:4 113:11       piece 3:1 39:17     poured 4:13         prior 8:25 84:24    properly 83:3
 115:10,23            51:24 52:1 89:7   power 46:11 47:6    prismatic 111:12    property 22:3
 116:13 117:8         89:9               47:11 60:9         private 15:3,6      proportions
 117:24 118:21      Pillow 2:3           98:13               26:8                58:15,16
 119:11,21          Pillow's 2:9        practice 97:3       prize 8:5           prosecuting 20:3
 121:13 122:5       place 48:21 86:10   practices 14:19     proactive 114:13    prosecutor 23:20
people's 17:18        106:5,6 114:6     precedence           114:14 120:18       84:22
percent 3:1,14,16   placed 105:7         121:21,23           120:21             prospective
 4:10 10:23         places 32:1,6,22    precinct 36:1,2,7   probably 9:3         114:19
 14:11,12,14          32:24 36:12,12     65:23,24 75:18      17:11 38:15        protect 21:17
 17:17 31:16,16       38:15 61:15        75:18 76:13,20      41:25 42:12         97:24 118:6
 33:11,13,15,23     plain 39:25          82:3                45:17 83:17         119:12 121:21
 33:25 34:1,4       plains 115:6        precincts 15:22      86:24,25 87:1      protective 86:10
 47:18,20 52:18     planning 20:6        75:16,17            91:15,16           protocol 104:11
 55:10,12 72:19     platform 59:6       precisely 84:12      113:20 118:10       104:12,21
 72:20,21,22        platforms 60:9      predominant         problem 13:6        prove 2:17 52:16
 75:11,13 76:3      played 61:14         15:25               57:19,22 71:23      52:17,18
 77:7,8 79:20,20    playing 23:17       preliminary          71:25 72:24        proved 52:21
 81:9,10,11 89:3    plug 83:14           16:16 86:17         73:7               proven 20:13
 90:7 91:13,14      plus 10:2           prepared 86:13      problems 50:12       55:10
 98:6 103:13,16     point 3:7 7:23      preregister 8:21    procedural 16:11    proves 3:16


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                            APP399
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 400 of 971

                                                                                           138
                      Absolute Proof - February 5, 2021

Province 104:16      39:17              90:7              red 110:17,17,18      39:20 40:4
proxies 16:1        quality 6:25      rates 33:11           111:1             represent 110:9
public 16:4 21:5    question 6:18     re- 52:19 62:16     Reform 62:16          110:25
 57:2 86:19,20       19:22 41:17      reactive 120:20     refuse 98:24        representation
 86:21 92:20         79:10 94:2         120:21              102:4               100:23
 99:20 100:9,17      118:9            reading 48:23       register 9:12       representative
 100:20             question's 43:1   Reagan 122:3        registered 6:1        29:13
publicity 73:10     questions 106:9   real 33:4 43:1        8:14,16,24 80:5   represented
publicly 97:11      quite 13:20 21:7    45:3 46:19,20       80:6                55:21
published 32:10      25:20              61:5,6,9 74:23    registration 8:17   Republic 99:20
 38:12              quote/unquote       75:20 82:22         123:18            Republican 7:11
publishing 32:11     49:21              96:16 108:22      regular 33:5          31:16 45:7
Puerto 94:10                          reality 74:1,17       99:16               72:19 77:8,15
pull 109:23 112:9           R           75:24             reinventing           91:14 118:24
pull- 109:24        R 123:1           realize 22:5          115:19            request 86:15
pulled 71:23        race 31:3 38:13   realized 28:1       rejection 33:11     requested 73:1
 109:24               52:3              50:3              related 20:14         91:22
pulling 109:22      radio 44:24       really 13:10          123:7             required 13:25
purification        Raffle 7:2          25:23 41:22       release 86:12,16      85:3 97:3
 20:25 21:5         raised 38:10        42:19 48:20         87:23             requiring 5:16
purpose 96:17       raising 65:25       93:17 109:13      released 88:10      rescan 70:11,12
 120:3              Ramsland 13:8       113:21            relentlessly 2:4    research 13:12
purposefully          22:7,12 23:2,6  realtime 104:5      relevant 2:22       residence 37:4
 88:12                23:10,14,16,19    110:21 111:19     reloaded 36:6       resident 8:24
pursue 28:7           24:12,16,20     reason 31:12        reloading 22:21     resign 103:4
 51:15                25:5,9,12 26:20   42:6 88:24        remember 43:8       resistance 28:6
push 28:4             26:25 27:2,13   reasons 18:10         49:4 55:3 89:6    resources 2:21
pushing 41:12         27:21,23,25       20:19 32:11         90:6              responsible 118:5
put 2:12 5:18         28:14,20,22,25 rebutted 56:19       remote 22:21        rest 50:19 76:16
 14:12 23:23          29:12,17 30:1   recalibrate 4:4     remove 84:8,23        118:12
 36:4 45:20 47:7      30:12,17,22,25 received 6:2         removed 84:6,7      restraining 56:8
 49:20 54:10,22       31:21,23 32:8     110:20 112:18       84:17,19 85:5     result 38:11 62:1
 68:24,25 69:6        33:1,13,15,22   record 36:25 37:8   rep 13:19             65:24 89:17
 70:18 86:9,23        34:2,14 35:4,8    37:9,18           replace 39:25       results 47:16
 86:24,25 87:19       35:16,25 36:11 recorded 77:5        replaced 37:16        72:24 73:2,8,11
 89:4,9,18 97:24      36:14,18 37:14    79:15             report 31:1,6         82:2 88:14 93:5
 100:23 101:25        37:22,25 38:9   recording 2:1         39:10 86:9,12       96:14 97:15
 107:16 109:8         38:17 39:3,6      122:11 123:4,8      87:18 88:10,22      101:15,23
 109:15 114:6         40:21 41:5,16   records 36:23         98:7,25 116:19    resume 66:21
 114:12 116:24        42:2,5,25 43:5    37:11               116:23            reveal 103:7
putting 3:7           43:15,18        recount 74:6,7,9    Reporter 123:2      revealed 10:20
puzzle 51:24 52:1   ran 23:21 34:6      74:17 79:4          123:17              41:22 88:1
                      36:19 44:1 45:1   80:23 91:16       Reporting 27:3        96:23 97:20
      Q             rare 44:11,15     recounts 74:21        39:8,11             117:7
QSnatch 39:17       rate 34:4 89:3    recreated 52:19     reports 39:9,9,10   review 85:7 86:9


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                 800.445.9548
                                          APP400
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 401 of 971

                                                                                           139
                      Absolute Proof - February 5, 2021

revival 117:9         74:15 75:3,5,8    rows 67:8         school 73:14,15       76:14,22 80:18
  120:24              75:8,23 76:1,3    rule 109:16       science 43:22         84:10 91:24
Rico 94:10            76:8,13,20 77:3   Rules 103:3         46:23 53:4          92:2 94:25 95:1
rid 98:11             77:21 78:10,18    run 15:17 61:5    scientific 48:13      96:1,6,6,7
right 4:5,14,18       78:21,21,24         70:21 71:6      scientist 44:12       103:12 104:6
  5:25 6:5 9:21       79:2,6,12,14,16     81:25             51:6,11             105:4,12 108:1
  10:2,17,21          80:8,11,14,17     running 33:8      scientists 81:21      117:5 118:24
  11:11,12,16,18      80:21 81:3,5,19     44:21 51:1        81:21 83:1 86:6     119:10,15
  11:25 12:14         82:10,12 83:21    runs 44:12        scoring 111:12        121:10,11,17
  14:2,6,15 16:20     83:21,23 84:15    Russ 13:8         screen 87:15        seeing 3:15 11:12
  16:25 17:2,5,12     84:15 85:1,9,13   Russell 22:7,10     90:16 113:15        13:3 15:19 29:5
  18:1,5,25 20:2      85:16,19,25         31:19 32:15     scrutiny 38:15        32:25 103:22
  20:21 21:13,23      86:3,22 87:7,10     34:19,22 39:4   Scytl 17:22 27:3      105:18 110:19
  24:19 26:13,17      87:13,13,17,24      42:13             27:8 39:7           115:9 116:15
  31:8,20 32:12       88:21 89:5,10     Russell's 30:8    seal 64:20          seek 101:16
  32:23,24 34:16      89:11,11,19,25                      sealed 65:25        seeking 73:10,11
  35:9,10,24,24       90:2,5,8,11,15             S        sec 60:16           seen 2:15 11:7,15
  38:16 42:1,4,7      90:18 91:3,6      S3 27:4           second 5:7,7 9:25     16:15 17:9,15
  43:4,14,17          92:1,4 93:10      safe 110:7          54:24 104:14        18:17 21:15
  44:14,18 45:5,5     94:5,20 95:14     salt 63:17          107:7               23:12 29:3,9,9
  46:1,2,8,12,13      95:21,24 96:3     sanctions 98:15   seconds 104:9         29:10,11,12
  46:24 47:3,9,14     96:11,25 98:7,8     101:16          Secretary 8:9,11      31:11,25 38:1
  47:19 48:15,18      99:11,15,18,25    saved 51:23         9:6,15,18,20,23     41:9 68:12
  48:18 49:1,7,7      100:15,18,25      saw 12:20 13:21     54:11,13 55:5       79:19 102:11
  49:15,15,18,23      101:2,4,9           24:8 29:7,24      55:12,16 56:2       113:5,6 114:20
  50:1,5 51:7,8,8     102:13,15,17        37:10,14 47:12    74:16 84:13         114:24 115:3
  51:9,13,16,20       102:21,24,25        47:17 63:9 68:9   105:7 111:15        115:22 116:7
  51:25 52:6,8,13     104:6,22 107:9      68:20 83:2      secure 93:12          121:8
  52:24 53:5,12       107:14,14,21        88:20           securely 83:5       sees 42:20
  53:15,18,22,22      107:22 108:3,7    saying 18:15      securing 83:4       segment 60:6
  53:25 54:17         108:12 109:18       27:16,17 30:8   security 12:17      self 36:4
  55:22,25 56:14      109:18,18           30:10 32:22,23    13:16 22:8,9      Senate 16:15
  56:15,18 57:4,8     112:1,13,17         43:9 48:20 55:5   25:14,16 26:21      44:1 47:2 62:17
  57:13,14,14,17      113:9,14,19         56:3 61:3 64:5    40:2 86:16          88:3
  57:24,24 59:1,3     118:17 119:14       65:25 77:16       116:21            senator 39:1
  59:10,11,14         120:7,12,15         99:23 101:18    see 2:13,13 3:11      61:22 62:14
  62:18 63:23         121:9               112:5,7 119:4     3:12,14 4:11      senators 24:3
  64:15,15,18       road 20:23 22:13    says 16:7 30:9      5:23 6:10 7:7       58:18
  65:2,7,14,16,21   rocket 53:4           42:13 57:23       7:21 19:18 32:4   send 27:20
  66:18,21,22       roll 53:20            87:15 95:2 97:2   37:2,2 39:14      senior 19:10
  68:1,4,22 69:3    Ron 25:13           scamming 38:18      40:23 47:16       sense 2:19 9:10
  69:9,9,12,12,15   Ronald 122:3        scan 33:4           50:16 52:14         31:18 91:17
  69:15,25 71:12    rotten 66:1         scare 101:6         53:16 59:5 60:4   sent 26:4 97:2
  71:16,18 73:25    roughly 72:19,21    scene 61:9,12       63:2 68:5,19        110:20 112:19
  73:25 74:11,11    routed 63:9         scheme 38:18        75:2,16,21 76:9     112:23


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                            APP401
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 402 of 971

                                                                                               140
                      Absolute Proof - February 5, 2021

sentences 8:12        53:6,10,13,16       104:15,16,17         94:18,25             63:1
September 28:20       53:19,23 54:1,4     104:23,24          slides 94:24         speech 59:17,17
  45:8 47:12          54:8,18,23 55:3     105:2,8,11,12      slow 66:3              59:18
  48:24               55:11,14,16,23      105:15 106:22      slowed 66:9          spelled 115:11
series 4:24 28:3      56:1,7,13,16,19     107:2,7 111:22     small 31:13 62:20    spend 13:7 21:7
  73:4                56:23 57:1,5,9    shut 4:5,6 17:10       72:18 77:23          43:12 50:19
serious 57:19,21      57:12,15,18,25      19:14 54:13        smaller 120:4        spent 13:20 26:5
server 13:24          58:4,6,8 59:3       56:4 60:2,2,2      Smartmatic             58:24 115:17
  17:22,24 22:15      59:12,15,23       shutting 19:12,14      20:15,15,15,24     spike 4:11 18:8
  27:9,10 39:14       60:4 61:9           19:17                24:25                96:6
  39:16             shop 26:4           sic 34:1 74:22       social 2:4,8 11:17   spikes 95:18,19
servers 17:14,18    shops 91:17           94:3                 60:7 87:9          spit 91:21
  17:21 27:4,18     Shorthand 123:2     side 21:8 41:13        103:10 121:14      spre- 87:1
  29:5,6 34:12        123:17            sides 67:21          socialist 116:1      spread 121:14
  40:6              show 2:12,17        siege 96:24          soft 20:14 23:11     Sprint 94:3
service 8:2 108:4     3:12 4:1 5:8,12   signature 6:24       software 20:12       squares 112:22
services 15:1         5:19 7:19 9:3     signatures 7:1         20:15 82:1,23      staff 24:8 115:18
Sessions 38:11        10:23 11:25       signed 30:25           85:12 88:2         stage 67:18
set 4:24 38:5,7       28:10 30:19       significance           94:19              stamp 3:3 54:25
  94:22 106:5         31:10 34:18,21      84:18              solid 28:6             106:12,24
set/modem 93:15       34:23 38:2,3      significant 18:8     solve 50:12            111:24
setup 47:16           55:4 58:20        signs 44:23 45:3     somebody 11:5        stamps 112:9
seven 24:6            60:18 61:18       silence 100:6          23:16 35:9 64:6    stand- 50:2
severe 111:1,3        79:19 80:3        silent 101:20          82:20 86:24        standard 39:13
severity 110:25       84:10 88:1,3      similar 23:5,5,7,8   Something's          standards 93:25
SGO 20:15,24          92:18 95:19       similarities 12:21     65:25              standing 16:10
share 87:6,12,15      96:18,18          simple 33:4 42:6     soon 43:1 121:17     standpoint 48:14
sheet 110:24          103:16 108:22     simply 118:13        sorry 67:24            51:12
Shenzhen 15:12        109:2,20          simultaneous         sort 14:24 30:4      start 11:25 25:22
shift 14:14 62:3      112:10,10           115:14               33:5 51:14           43:2 48:20
shining 122:4         117:17 119:3,4    simultaneously       source 84:2          started 3:7,8 13:3
Shiva 43:21,25        121:14              115:21               104:14,18            13:10 15:19
  44:6,8,10,15,19   showed 3:3 23:22    single 11:4 27:9     space 54:25            48:23 114:7
  45:3,6,12,16,18     25:15 36:1          27:10 37:15          62:22 110:5        starting 62:3
  45:21,22,24         52:22 54:10         39:19 47:10        Spain 39:7           state 5:11,12 6:11
  46:3,6,9,14,21      55:7 110:10         68:20 107:22       spate 97:6             8:6,10,11,16,18
  46:25 47:4,10       113:6 118:14        112:11 113:12      speak 39:4 42:21       9:6,15,21,23
  47:15,20,23,25    showing 56:20         113:12             SPEAKER 93:6           10:10 15:14
  48:5,8,11,13,16     75:15 76:8        Sir 9:22               93:14,20 94:1,6      17:7 18:24,24
  48:19,23 49:2,8     106:9 110:14      sit 71:5               94:10,16             19:7 24:3 36:5
  49:12,16,19,24      113:8 114:1       sitting 81:24        speaks 11:17           36:6 52:22 54:5
  50:2,6,10,12,14   shown 117:19        situation 83:6       specialist 62:21       54:11,13,14
  50:23 51:6,10       118:20,22         skip 6:12,19 7:2     specific 12:9          55:5,13,17
  51:14,17,21       shows 2:5 3:5       skittish 38:21         95:22                61:22 62:14,17
  52:1,9,14,21,25     54:25 104:9,10    slide 80:4 92:16     specifically 39:5      74:16 84:13


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                    800.445.9548
                                            APP402
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 403 of 971

                                                                                              141
                       Absolute Proof - February 5, 2021

  91:5,25 92:3         14:25 15:19         11:13               83:5 89:10        TCS 63:10
  97:1,7 99:5        street 17:22        Supreme 119:3         96:15             team 13:13 26:4
  103:2 104:22         37:15               119:12 121:18     tabulator 69:17       31:2 41:17
  107:1 116:1        stuck 70:15         sure 21:10 39:6       70:25 71:7          81:20 86:6
  123:3              study 83:25           72:16 114:7         81:23 89:18,20      88:16 89:24
State's 9:18 56:2    stuff 7:12 10:11      118:2             tabulators 14:8     technical 14:21
  105:7 111:15         23:7 44:3 46:1    Surge 7:24          Taiwan's 21:15        22:2
statement 35:17        47:1 86:23        surveillance        take 8:1 24:7       technology 93:17
statements 100:8       113:7               110:2,3             25:18,18,25       tell 3:19,20 5:10
states 4:5 6:16,23   subjectively        survived 54:9         28:16 40:7          11:24 35:17
  10:1,4 17:7          28:11             suspect 41:19         48:20 49:9          43:11 44:1
  27:2,18 32:6       submit 23:23        swamp 55:24           55:23 60:13         46:16 50:19
  44:17 55:20        subpoena 16:16      swiping 35:20         61:5 69:22          54:24 61:11,12
  88:11 104:5        subsequently        switch 95:4           81:15 89:6 97:4     66:25 67:1
  105:2 115:7          37:16             system 22:19          100:2 112:8         76:19 87:3
  118:18             successful 105:12     24:9 33:9 34:6    taken 54:21,21        90:23 121:13
station 50:16          105:13,14,16        36:15 39:25         108:23            telling 28:1,9
  62:22                107:6 110:15        43:19,22 46:23    takeover 121:10       32:19 36:22
statistics 16:9        113:13              52:4 63:2 81:15   takes 4:10 55:6,7     38:24 70:24
stay 42:3 101:20     successfully 20:9     81:16,23 83:9       89:20               88:4 102:22
steal 3:17 11:1      Suck-a-Buck           84:1,2,3,24       talk 6:15 9:3         108:15 117:5
  88:25 109:14         103:10              88:4,12 89:17       44:20 60:11       tells 55:18 83:9
  111:13             sudden 2:25 4:6       89:22 90:20,24      61:16,18,19,20      83:11,20 92:9
stealing 22:3          50:18               94:22 99:12,22      116:1               94:21 95:1
  110:18             sued 54:4             110:2,3 111:3     talked 18:18        ten 9:7 36:5
step 120:14          Suffolk 53:14         115:4,12,13         31:12 34:17         92:25
stickers 44:23       suggested 6:25      systemic 88:13        100:12,16         tenets 97:7
  45:4               Suite 123:19        systems 12:20,22      108:21            terabytes 104:2
stole 14:11 52:16    Summary 86:17         13:1,5,22 14:18   talking 5:1 12:8    terms 41:9 87:22
  97:19 105:20       supersede 59:17       21:5 46:11 47:1     14:4 25:22          103:1
  107:8 110:15       support 93:16,22      47:6,6,7            27:15 34:8,11     Terri 123:2,16
  114:2,2 119:9        97:4 115:7                              60:6 76:9 96:22   territorial 21:18
  119:25             suppose 113:17              T             100:10,11,13      Terry 117:14,17
stolen 29:1 38:13    supposed 57:3       T 94:3 123:1,1        118:17              121:2
  108:11 110:13        64:12 65:15       T-Mobile 94:14      tallies 64:19       tested 91:24,24
  111:17,23,24         70:11 97:24       T.V 50:16           tally 63:1 64:12    testified 88:2
  111:25 112:2         119:12            tabulated 69:7        79:1 82:2         testimony 55:14
stop 54:16           supposedly 29:13      90:4              tallying 89:8         55:20
stopped 28:19          39:12             tabulates 89:17     tampered 37:20      testing 15:10,11
store 37:8           suppress 27:16        90:7                83:7              Texas 13:13 22:9
stored 26:21,24        58:24,25 98:7     tabulating 67:8     tapes 93:4,4          23:21 24:14,16
stores 2:7             103:9               67:12,25 68:24    target 59:10          24:17,18,22
story 61:5 91:5      suppressed 32:21      72:10               104:20,21,22        37:12,15 38:5,8
straight 68:14         87:5,9            tabulation 8:4        104:22,25           38:10,12,14,20
strategic 13:2       suppressing           15:22 22:15         110:12              123:3,16,19


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                             APP403
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 404 of 971

                                                                                              142
                      Absolute Proof - February 5, 2021

thank 114:22          29:18,19,22         92:20,21           tries 49:22           54:10,12,13,19
  117:4,10,12,13      45:17,25 92:19      108:17             trolls 59:8           54:21 55:5,6,7
  121:7             thousand 52:6,7     tonight 3:11         truck 19:22           56:3,4 59:9,12
thanks 44:6         thousands 29:7      tons 30:1            true 41:8 73:3        59:15,20 60:2,2
  103:17,18           29:10 68:5,6,7    tools 39:13 110:6      98:12               86:25
  114:21,23           68:7 107:21,24    top 69:8 70:19       truly 41:18         two 3:21 9:23
  117:18 121:2,3    threat 17:7 18:23   Toronto 17:16        Trump 4:2 5:24        10:2,2 11:3
  121:5               120:10            total 80:9             7:8,22 10:5,16      16:12 22:13
theft 10:24         threaten 98:14      totalitarianism        10:16 14:12         28:5 32:9,22,24
  108:21 109:5        100:2               99:10 101:3          45:1 68:19,20       49:4,6 52:10
  110:21 111:20     threatened 61:17    totally 41:19          72:11,22 74:22      55:3 60:3 66:16
theory 17:1           101:12              100:13               75:19 78:3,20       115:21
they'd 102:23       threatening         totals 78:22           79:7,24 80:1      two-hour 24:7
  118:14              98:15 103:2,2       108:10               81:6 97:6         type 111:6
thing 7:15 10:13    threatens 99:5      tow- 73:21             105:21 107:8      types 110:25
  10:18,23 21:12    three 26:8,12,13    town 31:17             107:17 108:11     typically 53:14
  40:11 43:1          29:18 55:11,14    Township 73:21         108:19 116:5      tyranny 99:7
  50:14 51:18         55:20 60:23         75:22 76:24        Trump's 75:6,25       101:1
  54:9,20 59:5        94:11,13          townships 73:21        77:4
  115:3 116:10      throw 87:2          townspeople          trust 36:15                 U
things 10:8 11:2    thumb 82:2            91:15              truth 41:15 42:17   U.S 8:2 13:2
  32:17 41:18       tickets 7:2 38:25   track 50:17            88:4 96:23         15:14 18:12
  42:13,14 50:21    tier 15:19          traditional 65:23      97:20 98:25        19:11 21:15
  51:5 57:2 61:3    Tietong 108:5       traditionally 77:7     121:16             22:1,1 57:9
  73:18 96:10       time 3:3,15 4:16    traffic 18:7,8,9     try 28:2 87:6,14     97:4,25
  103:20 106:4        4:22 8:21 13:7      18:11                98:6 100:1,2,5    Ucloud 108:5
think 2:24 4:17       13:20 32:16       traitors 11:11         105:14 120:11     Uh-huh 13:17
  4:17 11:8 15:16     34:23 37:16         19:5               trying 2:14,16       45:2 48:22
  17:23 21:1 25:5     42:8 53:20        trans- 18:2            9:22 11:13         51:25 53:9 54:3
  28:9 38:20          54:22,25 68:18    transcribed            19:14 84:20        70:8,17 72:8
  41:17,18,23,24      71:13 81:13         123:8                98:10,11 118:5     94:23 98:20
  42:5 43:1 45:14     91:12 102:8,8     transcription          119:23             100:4 102:10
  48:9 51:14 57:1     106:12,24           1:11 123:4,11      Turchie 117:14      Uhh 41:2,3
  61:1 77:13 89:7     107:7,7 111:24    transfer 111:14        117:18 118:2      UK 17:14
  89:15 94:14         112:9 113:2,16      111:17               119:19 120:2,8    um 77:12
  100:10 107:16       118:1 120:6       transferring 83:5      120:13,17         unbelievable
  118:10            times 60:24 95:23   transmission           121:5              30:6 37:22
thinking 46:4,6     timing 122:8          93:7               turn 43:2 110:17    unconventional
  64:20             tirelessly 86:7     transmit 93:2,5      turned 116:9         17:4
thinks 44:16        today 2:9,13 3:21     94:8               TV 2:5 44:24        Under-age 8:13
third 15:19 60:11     12:9 42:17        trickle 66:10        tweet 97:2 100:19   underage 10:4
third-world           61:24 103:18      tried 23:19 24:2     twen- 6:3 80:6      underaged 9:9
  44:19 57:13         116:14 118:22       24:3 25:15,17      twice 53:20         understand
Thou- 68:6          told 2:14 42:2,17     27:16 56:9 87:1    twilight 4:15        16:22,23 33:3
thought 29:16,17      57:24,25 74:13      103:9              Twitter 2:8,9,10     36:21 57:2


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                    800.445.9548
                                            APP404
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 405 of 971

                                                                                          143
                      Absolute Proof - February 5, 2021

 62:25 85:8           93:16              111:23,24           22:25 23:7 24:9  76:19,21,21
 89:23 110:11       various 7:16         113:12 114:2,2      24:17 29:20      77:21 80:3 82:5
 111:11 114:5       vehicle 93:6        voted 5:23 6:21      33:8 36:3,4,15   82:5,19 91:23
 115:10 116:4       vendor 94:14         6:23 7:5,5,7,16     37:10 43:19      93:18 106:16
 116:13,16          vendors 94:11,12     8:13,14,15,15       49:3 52:2,11     109:2 116:3
 120:11               94:13              8:16,17,18,19       77:17 81:16,23   117:23 122:7
understands         Venezuela 35:5       9:9 31:14 33:6      84:23 88:12     wanted 25:21
 63:18              verification 6:24    36:24 37:2,4        89:8 94:25       38:25 42:8
understood 4:14     Verizon 93:12        89:15,16,16        VPN 93:8,10       55:23 62:25
unfolded 118:15       94:2              voter 26:2 36:23    vulnerabilities   73:7,11 88:25
Unicom 108:5        version 52:12        37:1,8,9,11         12:21 13:1,3,22  106:17 107:18
UNIDENTIFI...         86:17              90:13,17            14:18 20:11     wanting 41:12
 93:6,14,20 94:1    versus 21:20 93:8    102:14              27:5            wants 39:23
 94:6,10,16         vice 14:13 62:15    voter's 90:17       vulnerability     101:6
unique 15:17          115:19            voters 5:25 6:14     40:2            war 21:21 22:4
 104:17 105:1       victory 5:14 8:7     6:22 7:6,25                          109:13
 107:1                116:8              8:15,16,17,18              W        Ware 14:9
unite 120:24        video 106:8 109:2    8:23,24 34:6       Wait 26:23,23    warfare 12:6,24
United 17:7 32:6      109:19,21,23       80:5,6              43:3             17:4,4 106:22
 44:17 55:19          109:24 110:1      votes 3:5 4:3,12    waiting 60:19     114:25 115:2
 104:5 105:1          123:4              4:23 5:14,17        103:12 109:1     116:20
 115:7 118:18       videos 35:19         6:7,8,17 7:8,11    Waldron 12:3,4   Washington
uniter 117:8        violates 97:7        8:7 9:8 15:20       12:15 13:18      60:25 101:11
uniting 120:25        103:3              22:20 26:21,21      14:3,7,16,24    wasn't 11:8 30:14
universities 22:1   violation 8:6        27:6,10 29:6,23     15:9 16:5,21     30:15 46:6
unjust 97:5           59:16              31:14 35:8          17:1,3,6,13,20   58:12 59:12
unknown 26:8        virus 106:7,7        37:10 38:19         18:2,6,16,22     65:24 79:3
Unplanned 60:1      vitally 114:24       39:11,12,24         19:1,6 20:3,18   82:19 107:18
Unregistered        volume 18:7,9        41:21 52:5,6,7      20:22 21:10,14 watch 10:22
 8:15               volunteers 44:22     52:9,10 56:21       21:24            11:23 37:8
use 10:11 23:2      vote 4:11 5:24       64:9 68:5,8        walked 58:8       58:19 121:15
 24:17,18 26:9        8:13,14,21,25      72:19 73:23        walking 67:8     watches 39:18
 27:2,18 53:2         11:4,6 14:11,12    75:7,25 77:5,25     72:9            watching 17:13
 77:16 85:12          14:14 27:19        77:25 78:1,2,23    wall 28:6 63:9    18:7 26:17
 93:18 94:12          33:4,9,9 35:10     79:11,22 80:2,7    want 2:13 3:19    35:21 58:11
 105:5 117:22         37:15 38:18        80:10,13,19,24      3:20 14:21       72:7 103:19
uses 24:17            49:4,5,10 63:1     81:7 83:5 85:20     26:15 27:20      110:2,8,13
usual 41:1            64:12,19 68:8,9    86:4 95:22          30:15 33:9 38:3  111:18 112:15
                      68:19,21 72:22     105:18,19,20        39:23 40:8       119:4 121:19
        V             78:17 79:1 89:7    107:8 108:10        41:14,22,24     waters 21:18
V- 93:10              89:8 90:17         108:19 110:12       42:24 43:10,23 waterways 21:19
vacant 6:1            102:16 108:9       110:15 111:22       44:25 46:16     way 27:7 34:8
validates 44:4        108:10 109:9       113:2,22 116:6      50:13 54:17      35:11,11 37:9
varieties 93:22       110:18 111:13     voting 5:22 12:20    58:17,17 66:2    46:12 50:21
variety 42:5          111:15,16,20       13:5 15:21          68:12 71:24      53:3 62:4 70:11


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                            APP405
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 406 of 971

                                                                                           144
                      Absolute Proof - February 5, 2021

 70:25 89:22        website 73:3 87:4    7:24 15:22         23:18 24:11         70:23 71:11
 90:20 107:19       week 4:9 16:19      witness 64:16       27:1,12,24 28:8     76:25 78:4
 119:7               50:20 86:8         witnessed 62:6      28:21 29:25         89:14 90:22
Wayne 62:13         weeks 43:23,25      witnesses 18:17     30:7,24 33:12       92:10 94:4,7
 86:1                60:23              won 4:21,21 5:15    33:14,25 34:7       95:11 100:21
ways 13:1,4,22      weighted 52:3        47:13 51:3,3       37:13,21 40:5       106:10 109:3
 33:2 49:4          weird 4:7 51:5       108:18 116:6       44:4 48:20          109:22 117:13
We'll 5:25 6:18     welcome 117:17      wondered 19:17      50:14 54:16       years 22:13 41:21
 7:2 9:2            went 2:22 4:9       word 45:8 101:22    56:12,25 58:21      53:2 60:1 91:13
we're 3:12,13 4:6    6:16 14:10          101:25             61:6 62:5 72:4      99:13 115:5,17
 4:8,14,15 5:11      19:22 31:6         words 37:18         77:15 78:6        yep 62:9 64:10
 5:11,12 6:15,18     40:12,17 44:4       62:22 88:15,15     80:25 82:24         66:24,24 69:5,5
 7:14,20 8:8         55:4 57:25         work 20:13 24:4     83:18 84:5 88:6     99:8,18,18
 10:10,11,17,20      61:14 70:15         30:22 37:6         88:9 90:8 92:8    York 7:18 60:24
 11:12,25 12:8       72:22 76:10,21      38:11 43:19        95:5 97:9 98:17
 22:5 28:9,9         81:17 105:19        67:3 71:25         99:2 100:7                Z
 34:21 35:1,4        106:18 114:4        93:11 114:6        101:17 102:2      zeros 37:6,7,18
 40:18 44:2          117:25             worked 37:9         107:5 109:7,25    zone 4:15
 45:22 60:5,17      weren't 27:17        45:13 68:13        110:22 111:4      Zuckerberg 60:8
 60:17 66:14         29:5 30:21 46:4     86:6,8             112:14 117:4
                                                                                     0
 72:12 75:14         73:10,10 79:15     workers 7:16        119:5
 76:8 79:18          120:15,18           35:19             write 120:11              1
 92:18 93:21        West 115:6          working 12:16      wrong 9:16 36:2   1 84:21 95:2
 94:8 97:18         whack-a-mole         13:7,10 40:3       76:4 77:12       1,043 8:24
 99:21,21            11:19              works 5:20 43:16   Wuhan 106:7       1,506 7:5
 103:21 109:22      Whatever's           88:5 89:13,22                       1.2 56:24
 109:22,24           11:12               90:20                      X
                                                           X 14:10           10 47:20
 117:5,7,8          whistleblower       workstation 95:3                     10-block-long
 120:19,19           111:8              world 29:8 47:5                        37:14
                                                                    Y
 121:22             whistleblowers       54:20 60:11                         10,000 5:14,23
we've 9:22 11:7      20:1                96:19 116:3       Y 105:12
                                                           y'all 76:19         44:23 50:16,17
 15:1,4 16:9        white 39:13 48:2     117:1,1,20                          10,315 9:2
 20:13 21:15         109:16              121:25 122:1      ya 36:17,17 79:9
                                                           yeah 12:4,15 16:5 100 3:1,14,16
 24:14 30:18,19     whoever's 33:8      world's 17:24                          10:23 17:17
 31:9,10,11,11      widespread          worse 32:13,25       19:6 23:6,14
                                                             26:25,25 28:22    52:18 55:10,12
 34:17 40:17         19:19               33:2 101:8                            56:10 75:11,13
 57:18 76:9         win 9:10 38:5,8     worth 63:17          29:17 34:2 41:4
                                                             44:6,7,9 45:12    76:3 79:20,20
 84:22 87:21         45:10,22 47:20     wouldn't 4:17,25                       81:9,10,11 98:6
 91:22 95:12        winner 10:12         10:7,17 11:3,5      45:12,16,21,23
                                                             46:12,21 51:8     103:13,16
 100:12,16          wins 5:25 10:5,16    65:22 77:14                           106:12 116:25
 102:19 103:18       10:16 48:1,2        85:21,21 86:5       52:21 54:18
                                                             58:9 59:21        117:20 119:5
 109:1 113:14       wiped 37:15          96:21                                 119:15
 117:19,19          wireless 93:14      wow 3:6,16 14:23     61:25 64:7
                                                             65:10 66:8,12   100,000 8:3 54:2
 118:20,22          Wiscon- 8:6          15:8 18:21                          1000 47:4
 120:20,21          Wisconsin 7:24       20:17 21:9          66:19 67:10,10
                                                             67:13 70:6,20   101 123:19

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                            APP406
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 407 of 971

                                                                                       145
                      Absolute Proof - February 5, 2021

103,000 6:7         20-some 54:22       3rd 13:6 66:16      666 56:21,22
11 26:5             20,000 8:7 44:23      73:24 79:1        68 7:13 89:3 90:7
11,730 9:8          200-page 56:10        80:10,19 96:1       108:20 116:6
11/5/2020 104:9     200,000 7:8                             68,000 7:22
11:03 84:1,17       2002 52:3,12                4           6th 81:18 86:7
  91:1              2015 111:8          4 66:16
11:15 3:23          2016 90:25          4,000 6:22                  7
1100 22:17          2018 22:24 38:11    4,509 78:20         7-31-25 123:20
12,278 78:22         90:25              4,926 8:17          7,000 80:1 81:4
13 14:11,12         2020 7:25 44:22     4:00 113:21         7,000-some 31:14
130,000 7:1 8:2      45:8 47:12         40 53:2,2           7,060 78:2 80:2
13th 86:18           90:24              40,000 9:12           81:6,6 86:4
14 53:3             20th 70:7 101:10    40,279 8:22         7,769 78:17
14th 86:15 87:5     214 123:20          400 71:15           7:43 104:9
15,000 6:23         21st 74:10 102:22   401(k) 43:12        700,000 38:19
15,000- 85:18       22 68:14 86:18      42,284 7:7          718 85:20
15,000-some         22-month 84:24      4228 123:18         744 77:1
  31:14             22,000 6:3          4G 93:25 94:2       75206 123:19
15,700 8:20         22,082 80:7         4th 2:16 40:14      79 116:6
15,718 77:24 78:1   25-hour 62:3          72:25 77:12
                                          84:1,17 91:1,2            8
  79:8              26 14:14 72:6
16 77:5             27 27:2,18                              8 75:19,20
                                                5           80 47:17 108:19
16,047 80:12,19     2995 104:4
17,367 6:14                             5 52:10 62:4        82 33:11,13,15
170,000 8:6                 3           5,250 79:22         85 34:1
17th 74:10,12       3 74:22 115:18      5,959 79:4          855-5100 123:20
19,218 7:6          3,000 44:22         50 53:2 70:5,19     866,000 7:21
197 73:23 74:22     3:00 4:20 113:21      71:19,20,21
                                        50,000 6:10                 9
  74:23 75:4,6      30 70:15,18
                    300,000 5:17        50/50 53:24         9,759 79:5
1974 51:22                                                  90 47:18
198 75:20           30th 70:15          500 7:3
                    312 123:18          57,000 37:10        93 74:1,4,23
1st 45:8 47:12                                              93.6 34:4
  103:24 109:9      3200 79:11          5th 80:22
                    34,000 7:8                              98 8:25
        2                                       6           9th 2:25 48:24
                    3477 105:20
2 86:17             35 31:16 72:20,22   60 105:25
2- 27:2               77:8 91:14        60-some 115:5
2-126 52:12           115:17            60/40 47:21,21,21
2,000 6:1 50:18     36,400 5:22          47:21 52:19
  80:23             38 85:12 104:9      600,000 7:12 9:4
2,423 8:15          392 75:18,19,20     615,000 6:17
2,560 8:13            75:22,25          65 31:16 72:19,21
2:00 66:7           395 8:18             77:7 91:13
20 70:2,3           3D 93:22            6581 123:17
20- 68:13           3G 94:2             66 106:1,2
                                        66,247 8:15

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP407
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 408 of 971




      Exhibit A-17




                             APP408
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 409 of 971

                                                                            1
                 Steve Bannon Broadcast - February 11, 2021


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13                    CERTIFIED TRANSCRIPTION OF
14                         FEBRUARY 11, 2021
15   A SCREENING AND CONVERSATION OF ABSOLUTE PROOF WITH
16                       STEVE BANNON BROADCAST
17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP409
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 410 of 971

                                                                            2
                 Steve Bannon Broadcast - February 11, 2021


 1                     (Recording begins.)
 2                     MR. BANNON:     Welcome.     Hey, tonight, it's
 3   Stephen K. Bannon.       We're going to have Mike Lindell.
 4   This is the -- a film, Absolute Proof.             We're going to
 5   kind of deconstruct it tonight like -- like NFL or
 6   college game film, go through it.            It's the most
 7   controversial film in the world.            It's being suppressed
 8   by the social media giants, the big tech giants and also
 9   the mainstream media.
10                     So Mike Lindell, he's agreed that tonight
11   we're going to go through -- I'm going to ask the tough
12   questions, and we're going to see exactly what this film
13   is and -- and the evidence that backs it up.               The movie
14   is Absolute Proof, Mike Lindell.
15                     Mike, it took you a while to kind of get
16   here.   You -- you came on the scene back in 2016, and
17   then you had some other involvement with President Trump
18   that you actually say what happened, when anybody gets
19   involved on a national political stage, what's happened.
20   So I think we've got a couple of pictures and clips we
21   want to show at the very beginning.            I'd like you to
22   respond to those, so then we can kind of get into the
23   film and -- and people can understand this -- really,
24   this beat-down you're getting from the mainstream media
25   and the beat-down you're getting from the big tech




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP410
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 411 of 971

                                                                            3
                 Steve Bannon Broadcast - February 11, 2021


 1   oligarchs.
 2                     Can we play -- show the first -- can we
 3   show the first picture.
 4                     MR. LINDELL:      Yeah.    Now, this picture
 5   here, you -- everyone's got to realize I knew nothing --
 6   can we -- I'm sorry, start that over.             Or I'll just
 7   keep -- should I just keep talking if -- okay.
 8                     So -- so what you're -- so what you're
 9   seeing here is a picture of -- of the -- the president
10   before he was president.         This is the summer of 2016.           I
11   had never met Donald Trump.          I was an ex-addict,
12   ex-crack addict.       I, you know, God freed me of that
13   January 16th, 2009.        So I had never -- I didn't really
14   pay attention to politics.          I didn't know much about
15   them.
16                     And he reached out to me, we had that
17   private meeting for about a half hour.             He said, Mike,
18   you ma- -- you do your manufacturing here, I want to
19   bring the jobs back and -- and we talked about, yeah, I
20   was an ex-addict, and I said, I'm going to have this
21   recovery network, it's going to help millions.                He says,
22   I'm going to stop the jobs -- or I mean, the drugs
23   pouring in.
24                     And we had these amazing back-and-forth
25   conversation, but when I left there, I'm going, Wow,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP411
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 412 of 971

                                                                            4
                  Steve Bannon Broadcast - February 11, 2021


1    his -- he has no agenda other than to help this country.
2    And he actually listened to a -- a businessman of -- you
3    know, took his input.        And I walked out of there, I
4    said, He's going to be the greatest president ever.
5                     But I went and talked to his employees and
6    each one of them said the same thing, great boss, great
7    guy, had done something for them personally.              So I did
8    my due diligence to make sure what I just seen was, you
9    know, was amazing.
10                    And I got back to Minnesota and this is
11   very key.     I couldn't wait to tell the media and to tell
12   everyone what I had just experienced there and how, you
13   know, you've got to get behind this guy, he's going to
14   be the best.     And -- and I ended up doing a press
15   release against my board's advice.           They said, Don't do
16   that.    We're going to get -- you know, you're going to
17   lose half our customers.         I said --
18                    And I actually walked out of the board room
19   and one of my -- one of the gals came out, she says, We
20   didn't get this -- all this way by you not listening to
21   God.    And I went back in there and I said, We're going
22   to do this press release.         And I did it and I -- it was
23   crickets and then it happened.
24                    I was attacked in social media.            I was
25   called a racist, I was called stuff I can't even say




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP412
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 413 of 971

                                                                               5
                  Steve Bannon Broadcast - February 11, 2021


1    here by these pots and bots and trolls, but I thought
2    they were real people.        I thought they were real people
3    and it just hurt me.        I'm going, What did I do?         What
4    did -- you know, I just -- I didn't even say what we had
5    talked about.
6                     So I -- but I did find out, you know, I
7    found out, wow, they're not real people, you know, and
8    they were just these robots that they do an attack.                 But
9    I didn't know that at the time.           It was very, very -- a
10   learning experience and -- and it -- it still -- you
11   know, some of them were real because they would jump on
12   the bandwagon, but -- but that was my first experience.
13                    And then -- then they -- because I had four
14   now.    This is the fourth one.        The second one was last
15   spring, which I -- we had -- I spoke at the Rose Garden,
16   and I think we had we have clip.
17                    MR. BANNON:      Yeah.
18                    MR. LINDELL:      God gave us grace on
19   November 8, 2016 to change the course we were on.                God
20   had been taken out of our schools and lives.              A nation
21   had turned its back on God.         And I encourage you, use
22   this name at home to get -- to home to get back in the
23   Word, read our Bibles and spend time with our families.
24                    Our president gave us so much hope, where
25   just a few short months ago, we had the best economy,




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP413
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 414 of 971

                                                                                6
                 Steve Bannon Broadcast - February 11, 2021


1    the lowest unemployment and wages going up.              It was
2    amazing.    With our great president, vice president and
3    this administration and all the great people in this
4    country praying daily, we will get through this and get
5    back to a place that's stronger and safer than ever.
6                     MR. BANNON:      So Mike, tell us what happened
7    after that, after you read some Bible verse and talked
8    from your heart in the Rose Garden, how intense was the
9    blow-back then.
10                    MR. LINDELL:      It was -- it was beyond
11   belief.    Everyone, nighttime talk show hosts, people on
12   CNN, Mike Lindell talked about the Bible from the --
13   talked about spending time with our families, talked
14   about st- -- getting in the Word.           You would think I
15   killed somebody.      They just attacked me relentlessly.              I
16   did 109 interviews in five days.
17                    Now, granted, there was all the people over
18   here that were -- you know, everyone's going -- you
19   know, it was, like -- almost like -- one -- over here,
20   they'd stick up for me.        But that, once again, was bots
21   and trolls.     There were even real people.          The news
22   media, the -- the mainstream media, they were the
23   biggest attackers there.         And the nighttime talk show
24   hosts, they all just piled on, like it was the worst
25   thing you could ever do.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP414
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 415 of 971

                                                                            7
                 Steve Bannon Broadcast - February 11, 2021


 1                     And I thought, okay, you know, what did I
 2   do?   I -- is that so bad, reading our Bibles, getting
 3   the nation that turned its back on God and spending time
 4   with our families.       And -- so that was my second thing.
 5                     And then the third time was this summer.
 6   And this -- where I had -- a guy had called me up and he
 7   had a -- he had something that would help the --
 8   everyone was calling me for everything to help this
 9   vaccine or vi- -- I mean, the virus and masks.                I got so
10   much involved with this -- with this virus and -- and
11   here this guy came to me, he says, Hey, this stuff
12   works.
13                     And so I went on CNN because it had
14   leaked -- it had leaked to them, and I thought it was
15   just going to be a friendly three-minute, four-minute
16   interview and here's what happened.
17                     MR. COOPER:     How are you different than a
18   snake oil salesman?        That's sleazy.
19                     MR. LINDELL:      No, these were testimony.
20                     MR. COOPER:     You're willing to promote
21   anything.     Actually, I don't even know who you are.
22                     MR. LINDELL:      I don't think -- this saved
23   their lives.
24                     MR. COOPER:     You really are like a snake
25   oil salesman.




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP415
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 416 of 971

                                                                            8
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      If you didn't believe in this
2    product --
3                     MR. COOPER:      You don't have a great
4    reputation.     You don't have a great reputation.
5                     MR. LINDELL:      Oh, really?      You're in my
6    prayers, Anderson.
7                     MR. COOPER:      Oh, sir.
8                     MR. LINDELL:      Lowered me from an A plus --
9    to an F.
10                    MR. COOPER:      That's just sad.       That's sad.
11                    MR. LINDELL:      You know, it is sad like that
12   out there that they --
13                    MR. COOPER:      For a man who professes faith,
14   for you to lie like this is really extraordinary
15   to make --
16                    MR. LINDELL:      The FDA -- the FDA --
17                    (Speaking simultaneously.)
18                    MR. COOPER:      That is just a complete lie.
19                    MR. LINDELL:      The FDA has all these
20   studies.
21                    MR. COOPER:      That is a bald-faced lie
22   because you're --
23                    MR. LINDELL:      All solutions --
24                    MR. COOPER:      -- you're a snake oil salesman
25   telling people, tell -- take this product.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP416
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 417 of 971

                                                                            9
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Well, you're calling --
 2                     MR. COOPER:     You're desperate --
 3                     MR. LINDELL:      You know, you're calling me
 4   names --
 5                     MR. COOPER:     You're desperate.        It's --
 6                     MR. LINDELL:      -- and -- when did you
 7   (inaudible) to take anything?
 8                     MR. COOPER:     -- kind of morally bankrupt.
 9   You know how to sell something.            You know how to promote
10   a product.
11                     MR. LINDELL:      No, I don't --
12                     MR. COOPER:     I -- I guarantee you --
13                     MR. LINDELL:      You know, that's why we --
14                     MR. COOPER:     -- I would not be taking
15   medical advice from you, sir.             I can promise you that.
16                     MR. LINDELL:      And --
17                     MR. COOPER:     You're nothing -- you can't
18   say (inaudible).
19                     MR. LINDELL:      Let me finish my answer.
20                     MR. COOPER:     I just think it's shameful
21   what you're doing.       You now make money manufacturing
22   masks, right?
23                     MR. LINDELL:      No.    I gave away $4 million
24   out of my own pocket.
25                     MR. COOPER:     Okay.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP417
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 418 of 971

                                                                            10
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      That's a fallacy.
2                     MR. COOPER:      Well, that's nice.
3                     MR. LINDELL:      $4 million.
4                     MR. COOPER:      That's good.      That's -- that's
5    nice.
6                     MR. LINDELL:      $4 million --
7                     MR. COOPER:      That's good.      That's
8    impressive.
9                     MR. LINDELL:      -- and you can check those
10   facts.
11                    MR. COOPER:      Right.
12                    MR. LINDELL:      $4 million out of Mike
13   Lindell's pocket, donated.
14                    MR. COOPER:      But --
15                    MR. LINDELL:      I'm praying that -- for your,
16   Anderson, that you have me back on your show.
17                    MR. BANNON:      So -- so Mike, that's a pretty
18   intense -- that's what we call a pretty tough interview.
19   But that's -- it -- it really -- even with that
20   intensity, that -- that's nothing for what's happened to
21   you over the last --
22                    MR. LINDELL:      Right.
23                    MR. BANNON:      -- couple of weeks after
24   you've gotten involved --
25                    MR. LINDELL:      And, you know, and back then,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP418
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 419 of 971

                                                                             11
                 Steve Bannon Broadcast - February 11, 2021


1    what was so bad --
2                     MR. BANNON:      -- with the election --
3                     MR. LINDELL:      -- I had -- back then, you
4    know, he was attacking me for the myoleander.com.                He's
5    attacking me for something -- all these things I was
6    doing was just good things.         What was wrong with that?
7                     And now, you take all three of those times,
8    multiply it by ten and then times it again by ten.                This
9    is what's happening right now to me, to my company, to
10   my family, to my -- to my bu- -- you name it, to me
11   personally.     They're te- -- going after my reputation.
12   They're -- they're boycotting.          I mean, it's just across
13   the board.     Social media has -- I mean, Twitter --
14   Twitter's taken me down and my company, Google
15   suppressed my -- my AdWords.
16                    I can't even buy my own name I -- to buy an
17   AdWord.    They -- after spending $20,000 last Friday when
18   this Absolute Proof came out, I was -- kept bidding on
19   my own name against nobody.         Finally, it got up to a
20   dollar a click if somebody wanted to find me.               And they
21   shut it down, said, no, you -- because they're probably
22   going, you know.
23                    MR. BANNON:      Let -- let -- let -- Mike,
24   we -- I want to get into the film, but I -- here --
25   here's the question at the start of it.             We're going to




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP419
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 420 of 971

                                                                              12
                 Steve Bannon Broadcast - February 11, 2021


1    ask some tough questions, ask you to share some more
2    evidence.    But here's what people want to know.             Are you
3    going to back off -- is Mike Lindell -- you're being
4    attacked nonstop.       They're attacking your company,
5    they're attacking your recovery network, your family,
6    your vendors, your employees.          Is -- to start this film
7    off, what people want to know, are you going to back
8    down one inch --
9                     MR. LINDELL:      Never.     This --
10                    MR. BANNON:      -- about trying to get the
11   truth out there?
12                    MR. LINDELL:      Absolutely never.        This isn't
13   about -- I don't care if you're a Democrat or
14   Republican.     This was an attack on our country.            These
15   Dominion machines and Smartmatic, these machines that
16   were -- that are -- that -- where this -- that were the
17   tools of this attack, and --
18                    MR. BANNON:      Okay.
19                    MR. LINDELL:      -- we will never have another
20   fair election if we don't -- if we don't stop that.                 So
21   I will never back down.
22                    MR. BANNON:      Okay.     So you're not going to
23   back down.     Let's start the film.        We're going to come
24   in at different -- breaks in the film, explain what
25   happened, talk about more evidence, ask you a few tough




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP420
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 421 of 971

                                                                            13
                 Steve Bannon Broadcast - February 11, 2021


 1   questions.     So let's get into it.
 2                     (Plays video.)
 3                     MR. LINDELL:      Hello, everyone.       This is
 4   Mike Lindell, the CEO of My Pillow.            As you all know, I
 5   have been attacked the last month relentlessly on social
 6   media, by newspapers, by TV shows, by -- you name it,
 7   I've been attacked.        And myself -- not just myself, but
 8   my company.     The boycotts that are going on, box stores
 9   are dropping me, social media, they canceled my Twitter.
10   Today they canceled My Pillow's Twitter account, my
11   company's Twitter account.
12                     Well, before I was going to get erased
13   completely, we put together this show.             And what you're
14   going to see today is what they don't want you to see,
15   why they're trying to erase me.           And what I've told
16   everyone out there is, you know what, I've seen
17   evidence.     I've been trying since November 4th to
18   prove -- you know, to show what's out there, why -- what
19   are these deviations that happened on election night.
20   Noth- -- none of it made any sense.
21                     So I dove all in with everything I had,
22   resources.     Anytime I heard something that maybe was
23   relevant, I went and said, you know, looked into it, did
24   my own due diligence, had my -- even my own
25   investigations.      Well, on one day, I think it was, like,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP421
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 422 of 971

                                                                            14
                 Steve Bannon Broadcast - February 11, 2021


 1   January 9th, all of a sudden, these pe- -- they brought
 2   me some -- a piece of evidence that's 100 percent proof,
 3   it's, like, a -- a print of what -- of inside the
 4   machine of the time stamp that showed another country --
 5   other countries attacking us, hacking into our election
 6   through these machines, and it shows the votes flipped.
 7                     And I'm going, Wow, I've got to get this
 8   out there.     And from that point on, I started putting it
 9   out there and that -- that's when they just started
10   attacking me.
11                     Well, they obviously are hiding something,
12   and tonight you're going to see what they're hiding.
13   You're going to see on this show -- we have -- we're
14   going to have cyber forensic experts.             We're going to
15   have -- 100 percent, you're going to see all this
16   evidence that by the time you're done seeing it, you're
17   going to go, Wow, 100 percent, it proves exactly what
18   happened, that these machines were used to steal our
19   election by other countries, including China.
20                     But I do want to tell you before we get
21   into all that, I want to tell you what I consider -- why
22   I'm so happy today about two miracles that happened
23   these last couple months.         The first miracle was on
24   election night.      And on election night at 11:15 at
25   night, the -- the algorithms of these machines broke,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP422
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 423 of 971

                                                                            15
                 Steve Bannon Broadcast - February 11, 2021


 1   basically broke.       And I'll -- this will be explained
 2   during this show.       But they broke.
 3                     What that means is, Donald Trump got so
 4   many more millions of votes that they didn't expect,
 5   that they had -- they're going to have to go
 6   recalibrate, right?        So that's why all these states shut
 7   down.   All of a sudden, they all shut down.              And we're
 8   going, What?      That's weird.      This has never happened in
 9   any other election.        And then we're going, Okay.          Then
10   as the days went on, going, What?            Another -- another
11   week that it takes, you know, like Arizona to count one
12   percent of their vote.         And -- and you see these big
13   spikes, like, in Michigan and all these big, you know,
14   votes that were poured in.
15                     Nobody understood it, right?           We're --
16   we're like living in this kind of twilight zone during
17   that time.     Well, that is one miracle there because
18   think if that wouldn't have happened.             Think if they
19   would have estimated right and what would have happened
20   is, it would have been just like a normal election, at
21   3:00 in the morning, they would have said, Oh, Biden
22   won, he won by a little bit.          And we would have said,
23   Oh, better luck next time.
24                     But because he got so many votes, it broke
25   that and -- and set off this series of events of these




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP423
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 424 of 971

                                                                            16
                 Steve Bannon Broadcast - February 11, 2021


 1   deviations.     If that wouldn't have happened, we would
 2   have never been here talking about biggest attack in
 3   history, the biggest cyberattack ever, and this is --
 4   you know, the American dream would be gone forever
 5   because we would have never known, and it would just --
 6   you know, using machines, it would have took us over
 7   forever.
 8                     Here comes the second, the second miracle.
 9   And with this one, I've got to show you here on the --
10   on the -- on the chart.         I'm going to go through this,
11   and I'm going to tell you why this is a miracle.                Okay.
12   What we're going to do here, we're going to go state by
13   state, and we're going to show you what else happened.
14                     So here's Arizona.        Okay.    The margin of
15   victory was 10,000 votes that -- that Biden -- they say
16   Biden won.     Now, if we look at this, let's go down the
17   chart here.     Mail-in ballots requiring adjudication,
18   almost 300,000.      What these mean are these are votes
19   that they put through and you're going to learn --
20   you're going to learn all about that during this show,
21   too, what adjudication -- how that works.              But let's
22   just go to the next one.
23                     Illegal aliens voting, 36,400 illegal
24   aliens voted.       You see that?     He only lost by 10,000.
25   Well, of course, they can't vote.            Okay.    Donald Trump




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP424
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 425 of 971

                                                                            17
                 Steve Bannon Broadcast - February 11, 2021


 1   wins Arizona, right?        We'll just keep going.         Voters
 2   registered to a vacant lot, 2,000.            Completed mail-in
 3   ballots received the day before the ballots were even
 4   mailed, they got twen- -- or 22,000 ballots back in
 5   Arizona before they had even mailed the ballots out.
 6   What?   That's kind of bizarre, right?
 7                     Okay.    Keep going.      Down here, Maricopa
 8   County electronic adjudicated ballots, 103,000.                Votes
 9   loaded before opening of polls.           So the votes were even
10   loaded.    They were already in there before the polls
11   even opened, 50,000.        Okay.    Let's just -- you see all
12   that.   Let's go to the next state here.             I'm going to
13   skip Georgia and come back to it.
14                     Let's go to Michigan.        Michigan, dead
15   voters, 17,367.      And this is so -- Michigan is kind of
16   its own -- we're going to talk about Michigan.                It's
17   very different than the other states, what went on
18   there, so it's all grouped together.             615,000 votes that
19   are just in -- in question.          We'll -- and we're going to
20   skip that part, okay?
21                     Let's go to the next one here, Nevada.
22   Okay.   Here's Nevada.       Illegal aliens that voted in this
23   election, 4,000.       Mail-in or absentee ballots for voters
24   that were known to have voted in other states, 15,000.
25   Clark County used signature verification, one-half the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP425
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 426 of 971

                                                                             18
                 Steve Bannon Broadcast - February 11, 2021


1    image quality that was suggested by the manufacturer,
2    and to check the mail-in ballot signatures, 130,000.
3    We'll just skip through that.          Raffle tickets that they
4    were incentivized, 500.
5                     Here we go, here's a big one.           Dead people
6    who voted, 1,506.       Non-Nevadans who voted in Nevada,
7    they don't even live in Nevada, 19,218.             Voters who
8    double voted, 42,284.        Okay.    As you can see, they add
9    up to over 200,000.       Donald Trump lost by 34,000 votes.
10   Okay?
11                    Let's go to the next one, Pennsylvania.
12   Mail-in votes counted without a Republican observer, we
13   all heard that stuff.        It's well over 600,000.         Mail-in
14   ballots, 68.     Here's another one, too, we could almost
15   com- -- we're going to -- you're going to hear a lot
16   about this during this thing.          But let's go down.        Poll
17   workers that voted with various errors in the bins.
18   This is the one where you heard the fake ballots that
19   were driven from New York to Pennsylvania.              You'll hear
20   a little about that in the show too.
21                    But this isn't -- we're going to go by
22   Pennsylvania.      You can all see, it adds up to 866,000.
23   Donald Trump lost by 68,000.          And there -- there'll be a
24   point to all this I'm getting to.
25                    Okay.    Here's Wisconsin.        Wisconsin.     Surge




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP426
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 427 of 971

                                                                            19
                 Steve Bannon Broadcast - February 11, 2021


 1   of (inaudible) combined voters in 2020, that's a --
 2   it's -- that would take a while to explain, but there
 3   was 130,000.      U.S. Postal Service backdated ballots,
 4   100,000.    Okay.    That's incredible if you actually look
 5   into it.    The mail-in ballots entering the tabulation
 6   prize [sic] under the guise of absentee ballots in clear
 7   violation of state law, 170,000.            Okay.    Wiscon- -- the
 8   margin of victory for Biden was 20,000 votes.
 9                     Now we're going go to -- back to Georgia.
10   Okay?   Everyone knows the president called the Secretary
11   of State in Georgia, and on that call, he -- he said --
12   he was listing these to the Secretary of State.                He
13   said, Okay.     You have felons with incomplete sentences
14   that voted and cast their vote, 2,560.              Under-age
15   children that registered to vote and illegally voted,
16   66,247.    Unregistered voted -- voters who voted, 2,423.
17   Registered voters who voted in another state after their
18   Georgia registration date, 4,926.            Voters who voted in
19   Georgia and also voted in another state, 395.               Voters
20   who voted in Georgia but changed their address before
21   the election to do it, 15,700.           People who failed to
22   preregister to vote in their county in time after moving
23   from one county to another, 40,279.
24                     Voters who illegally claimed a post office
25   box as their resident, 1,043.           Voters who registered too




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP427
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 428 of 971

                                                                            20
                 Steve Bannon Broadcast - February 11, 2021


1    late to vote in the election, 98.           People who died prior
2    to the election, they didn't -- they were already dead,
3    10,315.    Okay.     Ballots with no chain of custody.           We'll
4    probably talk a little bit about that in this show too,
5    600,000.
6                       And here's what the President said to the
7    Secretary of State in Georgia, Can you just give us --
8    why don't you just give us your dead -- it's only ten --
9    he only lost by 11,730 votes.          He said, How about you
10   just give us your underaged that voted and your dead
11   people and we win?       It didn't make sense.
12                      You say, how about this pe- -- just this
13   line here, this people who failed to register, 40,000,
14   can you just give us them?         He said, Just gi- -- what --
15   he -- he named the columns.         And you know what the
16   Secretary of State of Georgia said, Those numbers are
17   wrong.     And -- and the President said, Well, where --
18   what -- who gave us the numbers?           He asked his guy.        And
19   that guy said, We got them from the Secretary of State's
20   office.
21                      And the President said to the Secretary of
22   State, Well, when can we get the right numbers?               And the
23   other guy said, Sir, we've been trying to get them from
24   the Secretary of State for almost two months.
25                      And the point being here -- now, here comes




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP428
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 429 of 971

                                                                            21
                 Steve Bannon Broadcast - February 11, 2021


 1   the point I'm making.        Here's -- this is all the second
 2   miracle of the election.         Every one of these states
 3   should have been -- and two plus two is four, right?
 4   You should say, Okay, you can't count dead people, you
 5   can't count underage people.          Every one of these states,
 6   Donald Trump wins if the electors would have done their
 7   job, the legislators, if the -- if the governors
 8   wouldn't have said, you know, Hey, it's good.               All these
 9   things had happened, all these anomalies that happened,
10   they would have never happened before, but much less one
11   state, they all say that, that, Hey, we're going to go
12   ahead and use this stuff and we're going to declare Joe
13   Biden the winner.
14                     But here's the big thing, the big miracle.
15   If they would have done that, if they would have done
16   that and said, You know what, we can't count these,
17   Mr. Trump wins, Donald Trump wins, okay, then we
18   wouldn't be where we're at right now.             Because the
19   biggest thing against humanity and our country is this
20   attack through these machines.           They got -- this opened
21   up -- this revealed the -- the machines to where we're
22   at right now.
23                     So what you're going to watch during this
24   show is 100 percent proof that the big thing was the
25   theft by these other countries that came in to attack




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP429
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 430 of 971

                                                                            22
                 Steve Bannon Broadcast - February 11, 2021


1    our country through these machines that are made to
2    steal elections.      Every election going forward in
3    history, if these things would have happened, these
4    two -- and we wouldn't have -- we would have never
5    known, every single vote you would have ever made
6    wouldn't have mattered.        Somebody else would have made
7    that vote.
8                     And we've all seen in this past month -- do
9    you think it wasn't communists coming in and taking us
10   over with people here?        This is an attack not only on
11   other -- those other countries with communism, but they
12   had domestic traitors right here in our country.
13   Whatever's going on right now, we're seeing it.               They're
14   suppressing cancel culture.         They're trying to cancel us
15   all out.
16                    I just seen churches, the Christian
17   churches, they're being attacked right now.              People on
18   social media, anyone that speaks up, they're going, You
19   can't say that, you're gone.          It's like -- but right now
20   they're doing whack-a-mole because they know -- they
21   knew they were so close, so close that we would never
22   know in history what happened.
23                    But guess what, now we do know.            And you're
24   all going to know.       And when you watch this and when you
25   get through it, at the end, I'm going to tell you what




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP430
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 431 of 971

                                                                            23
                  Steve Bannon Broadcast - February 11, 2021


1    you can all do.       And we're going to start our show right
2    now, and you guys are going to be absolutely amazed.
3                     MR. BANNON:      Okay.    There was a lot to go
4    through there, Mike, but I -- before I get go the
5    numbers -- because remember, Congressman Eric Swalwell
6    in the -- in the well of the Senate on the opening day
7    of the prosecution said that all these numbers are lies,
8    that Donald Trump lied about all these numbers, that all
9    this stuff about voter fraud and, you know, illegal
10   aliens voting and underage people voting and people --
11   dead people voting, it's all made up, it's all nonsense.
12                    So you talk about two miracles in this
13   sec-    -- section.     Explain that, what -- why that's so
14   important, and then I want to ask you about the math.
15                    MR. LINDELL:      Okay.    Well, first, I want to
16   say, all the numbers I have came from the Secretary of
17   States.     These were validated numbers.          But what I want
18   to talk about, the -- the two miracles that I brought up
19   here is, the first miracle was the night of the
20   election.     At 11:15, it broke the algorithms in the
21   machine because they didn't expect Donald Trump would
22   get millions more votes than what they predicted.                By
23   doing that, they didn't have enough track left to -- to
24   do the steal because he would have won anyway.
25                    Now, if that happens, if they predict it




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP431
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 432 of 971

                                                                            24
                 Steve Bannon Broadcast - February 11, 2021


1    right, at 3:00 in the morning, all the states would have
2    been in, everybody went to bed and say, Oh, boy, we made
3    it close, better luck next time.           But by them breaking
4    that, everybody had to go into reactionary mode, so you
5    see these big deviations, this big spike in Michigan and
6    Arizona taking a week to count the last one percent and
7    Georgia taking who knows how long.           These were all
8    deviations.     But we would -- if -- so that's miracle
9    number one.     If that didn't happen, we would have never
10   known about the machines.
11                    Now, the second miracle is this.            All these
12   stats you see of the dead people and all these on the
13   board here, if -- let's just say that they're
14   100 percent accurate, Donald Trump would win and it
15   would have -- and he would have been put back into place
16   as the rightful winner.        But I'm saying that I'm glad he
17   didn't because if he did, we would have never known the
18   big gorilla in the room is the machines that would have
19   stole our elections forever.          We wouldn't -- we wouldn't
20   be where we're at right now.
21                    So by everybody not doing their jobs, the
22   legislators, the governors, the Secretary of State,
23   that's a miracle that they all did the same thing and
24   did nothing.     They did nothing.        Because that's why
25   we're here tonight, to show you that the big theft is




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP432
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 433 of 971

                                                                            25
                 Steve Bannon Broadcast - February 11, 2021


 1   the machines and an attack on our country.               That's the
 2   miracle.    If that all wouldn't have happened -- and I
 3   know that's a twisted way to look at it, but it's true.
 4                     MR. BANNON:     But -- but on -- on
 5   January 6th, they're making this thing, you know, they
 6   impeach President Trump, if you go back and you look at
 7   your numbers, whether it's Wisconsin at 20,000 votes,
 8   Georgia, I think at 12,500, Arizona at around 8300,
 9   there's enough -- there's enough just in the low-hanging
10   fruit, just in the traditional --
11                     MR. LINDELL:      Right.
12                     MR. BANNON:     -- voter fraud, you would
13   agree that if you press the case here, leave the
14   machines aside, you're right, the machines are an issue
15   you want to deal with because you've got to get them out
16   of there for future elections, but just with the math
17   you have, if you can prove that Eric Swalwell is wrong
18   and these numbers are right, Donald Trump would be
19   President of the United States, you -- you agree with
20   that?
21                     MR. LINDELL:      100 percent.      I mean, he --
22   he did it in Georgia when he talked to Brad Ratherford
23   [sic] or whatever his name, Raffensperger.               I mean, that
24   was -- any -- everyone, the whole country heard that,
25   and we're going -- the president's going, Just give us




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP433
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 434 of 971

                                                                            26
                 Steve Bannon Broadcast - February 11, 2021


1    your -- how about your dead people and your minors that
2    voted.
3                     MR. BANNON:      But -- but why -- but why --
4    but -- but -- but, Mike, you've got to answer for the
5    audience, I think, why is Raffensperger and these
6    election officials in Arizona, in Georgia, why are they
7    not stepping up and agreeing with you and -- and MAGA
8    and myself and others, say, Yes, there is traditional
9    voter fraud of such an extensive thing, like underage
10   voting, illegal alien voting, why are they not -- why
11   are elected Republican officials -- why don't they agree
12   with Mike Lindell?
13                    MR. LINDELL:      Well, you know what, I'm glad
14   they don't because if they did their job, Donald Trump
15   would have -- we wouldn't even be here talking.               And --
16   and then the world would have been over because no
17   election would be safe ever again be- -- what you're
18   going to see here tonight.
19                    I don't know why they did it.           I can
20   only -- I'm telling -- here tonight to tell the facts.
21   And I can be -- I could -- oh, believe me, I can -- I
22   could give you all kinds of opinions on Brian Kemp and
23   Doug Ducey and all these Republicans and these -- and
24   these Secretaries of State.         But I'm not here -- I want
25   you to see tonight is 100 percent fact, and that's what




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP434
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 435 of 971

                                                                            27
                 Steve Bannon Broadcast - February 11, 2021


 1   I'm going to put out there.
 2                     But whatever reason he did it, that'll all
 3   come out.     That's -- that's a -- you know, that's all
 4   going to come out.       Why did you do this to the American
 5   people?    Why did these people -- and you're going to
 6   find out through watching our show tonight, this attack
 7   by China and this -- coming into our country, but there
 8   were people here in the United States that were their
 9   partners.
10                     And I don't know who's whose partner,
11   whatever.     That's not for -- my -- my thing is to get to
12   100 percent show you that this attack happened, came
13   through the machines, and there was a massive flip.
14                     MR. BANNON:     Okay.
15                     MR. LINDELL:      And you will never have an
16   election again if you use these machines.
17                     MR. BANNON:     Okay.     Okay, Mike.     Now we're
18   going to get into the cyber warfare, the cyberattack
19   part of this film with Colonel Waldron and others.
20   Let's go to -- let's -- let's go to the -- let's go back
21   to the film, Absolute Proof with Mike Lindell.                You're
22   going to see Colonel Waldron right now.
23                     (Plays video.)
24                     MR. LINDELL:      And now we have with us
25   Colonel Phil Waldron.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP435
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 436 of 971

                                                                            28
                 Steve Bannon Broadcast - February 11, 2021


1                     COLONEL WALDRON:       Yeah, so my -- my
2    background in the military is with influence operations,
3    information operations, information warfare, if you
4    will.
5                     MR. LINDELL:      You know what we're talking
6    about here today is specific -- these machines that were
7    used to -- to hack into our election and -- and by
8    foreign countries, including China.            And what -- what
9    did you -- kind of bring us up through the election for
10   yourself and what -- and then how you've gotten so
11   involved right now.
12                    COLONEL WALDRON:       Yeah, we -- we began
13   looking -- working with our partners in -- in Dallas at
14   Allied Security Operations Group with doing some
15   analysis on the data that they had, looking at not only
16   Dominion but ES&S and Hart, several of the other
17   electronic voting management systems.            And we saw a lot
18   of similarities and -- and vulnerabilities in the
19   systems that would be easily influenceable or easily
20   interdicted.
21                    And again, as a -- as a information warfare
22   officer, that's what I did.         I looked for
23   vulnerabilities and ways to attack systems to create a
24   strategic advantage for U.S. friendly forces.               And so
25   when we started seeing the vulnerabilities and all the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP436
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 437 of 971

                                                                            29
                 Steve Bannon Broadcast - February 11, 2021


1    different ways that you could interdict this -- these
2    electronic voting systems, it became apparent that we
3    had a problem for the -- the November 3rd election.                 And
4    that prompted us to spend a lot of time working with
5    Russ Ramsland, getting a lot of the -- the historical
6    data, the knowledge.
7                     We started working on our own, really doing
8    a lot of connecting the money exercises, doing -- doing
9    basic investigative research.          And then I brought in
10   our -- our local GHS team here in Texas, both the
11   intelligence and assessments division which collects --
12   collects intelligence for -- for the Department of
13   Homeland Security --
14                    MR. LINDELL:      Uh-huh.
15                    COLONEL WALDRON:       -- and the CISA -- our
16   local CISA rep.
17                    And we spent quite a bit of time giving
18   them an introduction to what -- what we saw and the
19   vulnerabilities and the ways that these systems could be
20   interdicted to change election outcomes at, you know,
21   the -- the machine level, the server level, fraud at the
22   local level, which, you know, is required to induce
23   the -- the illegitimate ballots.
24                    MR. LINDELL:      Right.
25                    COLONEL WALDRON:       Then you've got a -- the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP437
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 438 of 971

                                                                            30
                 Steve Bannon Broadcast - February 11, 2021


 1   machine level, which is kind of what you were talking
 2   about, the --
 3                     MR. LINDELL:      Right.
 4                     COLONEL WALDRON:       -- the algorithms that
 5   are directly input into the tabulators.              And we have
 6   evidence of that in -- in Ware County, Georgia that, you
 7   know, X amount of ballots went through and they -- they
 8   basically stole 13 percent of the vote from President
 9   Trump and put that 13 percent of the vote into the
10   category for former Vice President Biden, which made a
11   26 percent shift in the vote.
12                     MR. LINDELL:      Right.
13                     COLONEL WALDRON:       And so when you look at
14   the machine level, the machine for Dominion or ES&S,
15   there's so many vulnerabilities in the systems, there's
16   so many fundamental cybersecurity practices that are not
17   enabled, that it basically allows anybody who -- who has
18   some technical ability and the -- the want to to go and
19   influence our elections.
20                     MR. LINDELL:      Wow.    What -- what --
21                     COLONEL WALDRON:       And sort of that
22   strategic level is foreign intelligence, foreign
23   intelligence services.         And we've got pretty much
24   document- -- documented of Chinese -- communist Chinese
25   party ownership of the private equity firm whose board




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP438
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 439 of 971

                                                                            31
                 Steve Bannon Broadcast - February 11, 2021


1    controls Dominion.       We've got Chinese communists, the --
2    the president of the Chinese communist bank, who is a
3    board -- board of directors member of -- of the private
4    equity firm that -- that owns Dominion.
5                     MR. LINDELL:      Wow.
6                     COLONEL WALDRON:         And then if you look at
7    the testing company, the only company that has code --
8    the access to the code and the testing for Dominion is
9    in Shenzhen, China.       It's a communist Chinese party
10   company.
11                    The U.S. Government, the state governments,
12   the county governments, they don't have access to
13   Dominion code, but I think it's kind of -- kind of
14   unique that a Chinese company that's run by the -- the
15   CCP does have access to the code, and that's why we
16   started seeing, at that strategic level, that third tier
17   of election manipulation, a lot of movements of votes
18   directly, direct access to Pennsylvania voting
19   precincts, county tabulation centers.            Wisconsin,
20   Michigan, Nevada, Arizona, Georgia, all of that coming
21   in directly from foreign countries, China being the
22   predominant one and through -- through Pakistani ISI
23   proxies.
24                    MR. LINDELL:      Did you find it very
25   frustrating not being able to get -- get all this




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP439
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 440 of 971

                                                                            32
                 Steve Bannon Broadcast - February 11, 2021


 1   information out to the public?
 2                     COLONEL WALDRON:       Yeah, it -- it -- it's
 3   very frustrating.       The fact that, you know, everyone
 4   says that, Well, there was all these court cases and all
 5   the court cases were lost.          Well, that's a lie.        I mean,
 6   we've got statistics on how many court cases were open,
 7   how many were dismissed for -- you know, for standing or
 8   procedural, but there -- but there's only, to my
 9   knowledge, two cases, one in Michigan and one in Georgia
10   where evidence has been heard.           And those cases are
11   progressing forward.
12                     The Senate in Arizona has heard and seen
13   preliminary evidence, and they've issued a subpoena and
14   they're pressing forward with a full forensic audit in
15   Arizona.    And that -- that could be forthcoming as early
16   as, you know, this -- this coming week.
17                     MR. LINDELL:      Right.
18                     COLONEL WALDRON:       So it's -- it's -- it is
19   complex and it's hard for people to understand.                And if
20   it's hard to understand, people just dismiss it as, you
21   know --
22                     MR. LINDELL:      Right.
23                     COLONEL WALDRON:       -- conspiracy theory --
24                     MR. LINDELL:      Right.
25                     COLONEL WALDRON:       -- where it's -- it's




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP440
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 441 of 971

                                                                            33
                 Steve Bannon Broadcast - February 11, 2021


1    cyber warfare and unconventional asymmetric warfare --
2                     MR. LINDELL:      Right.
3                     COLONEL WALDRON:       -- conducted by a peer
4    threat nation state against the United States Government
5    critical infrastructure.
6                     MR. LINDELL:      The whole country seen, when
7    they -- you know, when they shut everything down at
8    night, that that was a deviation.           You probably expected
9    this, right?
10                    COLONEL WALDRON:       We were watching.        We
11   found the -- the foreign servers in Barcelona and the UK
12   and in -- and in Frankfurt.         We'd seen several -- you
13   know, the one in Toronto, obviously, with Dominion.
14                    MR. LINDELL:      So you know, 100 percent
15   proof, that the servers are overseas in other people's
16   countries for our election?
17                    COLONEL WALDRON:       Yes.    We were mapping out
18   the servers before the elections.           We identified the
19   Scytl server in Frankfurt down to the street address.
20   Frankfurt has -- I think it's -- it's either the largest
21   or one of the world's largest server nodes, you know, a
22   cyber node --
23                    MR. LINDELL:      Right.
24                    COLONEL WALDRON:       -- a trans- -- a
25   communications node.        It's called DE -- DE for




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP441
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 442 of 971

                                                                            34
                 Steve Bannon Broadcast - February 11, 2021


 1   Germany -- NIX, DENIX.
 2                     MR. LINDELL:      Right.
 3                     COLONEL WALDRON:       And there were several
 4   folks watching the -- the traffic and the volume of
 5   traffic that night, and they noticed a significant spike
 6   in traffic that night just due to, you know, the volume
 7   of information going through.           And one of the reasons is
 8   they -- they said that the traffic was going up was due
 9   to the U.S. elections.
10                     MR. LINDELL:      In your opinion, this is an
11   attack by other countries, of foreign -- of foreign
12   countries, is what you're saying then?
13                     COLONEL WALDRON:       I -- I believe from what
14   I've seen and the -- the -- and the witnesses that I've
15   talked to, that this is a -- a coup that -- and
16   definitely involved elements inside our own country and
17   in- -- inside our own federal government.              Definitely --
18                     MR. LINDELL:      Wow.
19                     MR. BANNON:     -- definitely part of a coup
20   that was aided and abetted by a foreign threat nation
21   state, a peer enemy nation state --
22                     MR. LINDELL:      Right.
23                     COLONEL WALDRON:       -- China.
24                     MR. LINDELL:      Do you believe that this
25   attack from other countries could not have happened




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP442
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 443 of 971

                                                                            35
                 Steve Bannon Broadcast - February 11, 2021


1    without people here, domestic -- people -- domestic
2    traitors, basically.
3                     COLONEL WALDRON:       Yeah, I -- I -- I believe
4    that -- again, we have affidavits of CIA and State
5    Department personnel out of the Italian Embassy
6    participating in this coup.         We have a name, email and
7    phone number of a senior DOJ official from a -- from
8    a -- a U.S. Attorney that said that this individual was
9    shutting down any DOJ or FBI investigation into any
10   election -- any election-related investigation and
11   shutting -- trying to shut down judicial cases, court
12   cases.
13                    So from own -- inside our own DOJ, people
14   were shutting down active investigations.             You wondered
15   why, you know, Mr. Barr didn't find or see any evidence
16   of widespread election fraud, it's because the FBI never
17   did anything other than to impede investigations into
18   election fraud.
19                    The FBI went to question the truck drivers
20   who delivered ballots and -- and created affidavits.
21   They were harassing, you know, the -- the Americans, you
22   know, the patriotic Americans who were -- who were
23   whistleblowers --
24                    MR. LINDELL:      Right.
25                    COLONEL WALDRON:       -- and prosecuting them.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP443
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 444 of 971

                                                                            36
                 Steve Bannon Broadcast - February 11, 2021


 1   Like you mentioned something earlier is -- it is the
 2   machines, ES&S and Dominion machines.             If you look at,
 3   you know, military planning factors, there are critical
 4   capabilities.       A capability is what you have to have to
 5   execute your mission or the enemy has to have to execute
 6   its mission successfully.
 7                     So critical capability for any of this to
 8   happen are the inherent vulnerabilities that were built
 9   into ES&S and Dominion software, which is -- you know,
10   again, we've proven through -- through our work that
11   this is all related directly back to the soft --
12   Smartmatic -- Smartmatic -- SGO Smartmatic software
13   core.
14                     MR. LINDELL:      Wow.
15                     COLONEL WALDRON:       And they definitely have
16   financial gains to -- to -- financial reasons, based on
17   some of the other investments that they've made --
18                     MR. LINDELL:      Right.
19                     COLONEL WALDRON:       -- especially if they --
20   you know, looking down the road, if they make billions
21   and billions of dollars, the board of SGO Smartmatic,
22   because they own a -- an air purification company, so
23   just think about it, if -- if you get to pick an
24   administration that is favorable to -- to your company,
25   say, and they pass a green new deal and you're going to




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP444
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 445 of 971

                                                                            37
                 Steve Bannon Broadcast - February 11, 2021


 1   make billions and billions of dollars off of
 2   government-mandated air purification systems in public
 3   buildings and apartment buildings and industrial
 4   complexes, you know, you -- you would spend quite a bit
 5   of money on the front side --
 6                     MR. LINDELL:      Wow.
 7                     COLONEL WALDRON:       -- to make sure the
 8   election was going to...
 9                     The same thing with China --
10                     MR. LINDELL:      Right.
11                     COLONEL WALDRON:       -- if China could avoid
12   the U.S. coming to Taiwan's defense, and we've seen
13   indications of that already, and if China could avoid
14   having to fight a campaign to protect their manmade
15   islands, to extend their territorial waters into
16   international and navigable waterways, if they could
17   in- -- invest a billion dollars to do that versus
18   fighting a war, well, they've made a pretty good
19   investment.
20                     MR. LINDELL:      Right.
21                     COLONEL WALDRON:       And all the money that
22   they've made into the Biden family, all the money that
23   they've made -- invested into U.S. universities and U.S.
24   businesses, buying up our medical and our technical
25   intellectual property, stealing a lot more than they




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP445
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 446 of 971

                                                                            38
                 Steve Bannon Broadcast - February 11, 2021


1    bought, they are -- they are fighting a war.              People
2    just don't realize that we're under attack.
3

4                     MR. BANNON:      Look, Colonel Waldron is a
5    cyber warfare expert.        Many people know him from -- he's
6    testified all over the country in these testimonies that
7    Rudy Giuliani went with.         I think he had a -- a
8    particularly big role in Phoenix, Arizona, where I think
9    is the first time he kind of came on the stage, but he
10   was very impressive.        He's a cyber warfare expert.
11                    But I -- I've got to ask you -- I've got to
12   ask you, Mike, you've got Chris Krebs, who ran the
13   infrastructure, election infrastructure piece for DHS
14   that reported up to Chad Wolf, both these guys, Chris
15   Krebs and Chad Wolf, I think, were -- were Trump
16   appointees, appointed by President Trump, selected by
17   President Trump.
18                    Krebs said, Mike, that this was the safest
19   election in U.S. history.         And he also, I think, quoted
20   in a -- in a statement he put out that not one vote was
21   changed, there was no problem with any voting systems,
22   there was no votes that went around and got changed,
23   flipped or otherwise.        And that's a quote from the -- or
24   virtual quote from this statement they put out by Chris
25   Krebs, who's in charge of it, reported to Chad Wolf.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP446
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 447 of 971

                                                                            39
                 Steve Bannon Broadcast - February 11, 2021


1    Chad Wolf never countered that, and I believe told the
2    president and told the public consistently that nothing
3    happened here.
4                     So I know you've got -- you've got experts,
5    they've made a lot of assertions.           I'm sure people are
6    looking for maybe some backup evidence and put some
7    other stuff online to back up what -- what Colonel
8    Waldron said.      But how do you respond to Chris Krebs?              I
9    mean, he's the guy in charge here for the U.S.
10   Government.     He said, Hey, look, safest election in
11   American history, most secure, no cyberattacks, no
12   problems.    What do you say, Mike Lindell?
13                    MR. LINDELL:      He's either lying or he's
14   naive, one of the two.        It's only one of the two.
15   People asked me earlier today, they said, Well, Mike,
16   you've got a person over here that says this and you say
17   this and someone -- you say this over here.              There's
18   only one truth.      You know, you can all have an argument,
19   but there's only one truth.
20                    What you're going to see -- and some of
21   this -- some of this evidence in his -- you know, in his
22   defense, just came out -- you know, I only recently
23   heard about it on January 9th.          So -- but all this other
24   stuff, if he's talking about all the -- the charts I
25   showed earlier, I mean, give me a break.             Those numbers




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP447
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 448 of 971

                                                                            40
                 Steve Bannon Broadcast - February 11, 2021


1    came from the Secretaries of States' office.
2                     MR. BANNON:      Well, Mike, he made -- Mike --
3    Mike, he made that statement on November 12th, so this
4    would have come after the --
5                     MR. LINDELL:      Wow.
6                     MR. BANNON:      -- the activity that -- that
7    Colonel Waldron alleges.         So he -- you know, this
8    encompasses the evening of November 3rd and all the
9    other ballots, et cetera.         So it came on -- I think it
10   was November 12th.       So it was at least a week afterwards
11   where Krebs -- and I think Krebs quit -- I mean, he's
12   adamant.    He's gone on --
13                    MR. LINDELL:      Right.
14                    MR. BANNON:      -- 60 Minutes, he's gone
15   everywhere.
16                    MR. LINDELL:      Right.
17                    MR. BANNON:      He's adamant.      Wolf has been
18   adamant, nothing went on here, safest in U.S. history.
19                    Another thing I just want to bring up
20   before I go to the next se- -- segment.             Colonel Waldron
21   talked about bandwidth and all this bandwidth that's
22   moving back and forth and they can monitor it.               I just
23   want to bring up -- and we'll get to this later.
24                    The Dominion CEO, I think in sworn
25   testimony, actually said that -- and he put out a




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP448
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 449 of 971

                                                                            41
                 Steve Bannon Broadcast - February 11, 2021


1    statement afterwards that they don't have any servers
2    anywhere outside the country, they don't send ballots or
3    these -- or the electronic facsimiles of ballots that
4    you talk about, they don't send them anywhere.               These
5    things don't transfer around, they absolutely do not
6    move.
7                     And so all this bandwidth discussion about
8    going overseas that Dominion will get into later, he
9    says it just doesn't happen because that's not the way
10   the system works.       So you've got both the Department of
11   Homeland Security, who's in charge of their Trump guys,
12   and you've got the CEO, Poulos, from Dominion that says,
13   Hey, it can't be a bandwidth thing that Waldron and
14   these guys are tracking, so it doesn't happen.
15                    What would you tell the audience?            And then
16   how are you going to back up these assertions by Colonel
17   Waldron, the cyber warfare expert?
18                    MR. LINDELL:      Well, I'll tell you, if
19   you're caught cheating at a poker game, what do you do?
20   Of course, you start lying.         And they're all liars
21   there.    They're lying, they're bald-faced lying.             I mean
22   the easier part about it not going online, if you're
23   Dominion or Smartmatic, I mean, that's been proven ten
24   times over.     So if you lie a little bit, usually you're
25   lying a lot.     And this is all going to come out.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP449
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 450 of 971

                                                                            42
                 Steve Bannon Broadcast - February 11, 2021


1                     When you asked me about that other guy,
2    we -- you know, that remains to be seen.              Is he -- does
3    he really -- is he really that naive that he doesn't
4    know what happened or -- or is he lying?              And then you
5    know what, what do you lie for?           You usually lie to
6    cover something up.
7                     You know, I have went out here with
8    everything I have because I'm 100 percent, 100 percent
9    that we have all the proof.         That's why it's called
10   Absolute Proof.
11                    MR. BANNON:      Okay.     Mike --
12                    MR. LINDELL:      100 percent.
13                    MR. BANNON:      Mike -- Mike --
14                    MR. LINDELL:      And we will show --
15                    MR. BANNON:      Yeah.     We're -- we're -- we've
16   got to go to the next segment because I want to get
17   through -- through this within the three-hour time
18   frame.
19                    MR. LINDELL:      Right.
20                    MR. BANNON:      But you're committed to put
21   additional information online to back up some of these
22   assertions as you get closer to some of these court
23   cases, particularly the Supreme Court.
24                    MR. LINDELL:      Right.     Well, you know, this
25   is the whole thing we're here tonight for.              We need the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com        800.445.9548

                                  APP450
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 451 of 971

                                                                            43
                  Steve Bannon Broadcast - February 11, 2021


 1   Supreme Court to accept what you're going to see here
 2   tonight because there's all kinds -- what you're going
 3   to see here tonight, multiply that by 100 is what -- is
 4   what we have, is what's out there.
 5                     Everybody came to me -- you've got to
 6   realize, they're going, How did you get that, Mike?
 7   Everybody came to me because nobody could get the word
 8   out.    You couldn't get it out.          You just got squished.
 9   You know, someone would raise their hand and go, Hey, I
10   seen this machine and it does this and I looked at it
11   and we did this.       (Makes noise.)       You know, I said,
12   hey --
13                     MR. BANNON:     Okay.
14                     MR. LINDELL:      -- I seen this.       (Makes
15   noise.)     So, you know, they had to come to me because
16   they knew I wasn't going to back down.             And I have the
17   platform.     Even my platform -- that's why they're trying
18   to smash it, but they're having a hard time.
19                     MR. BANNON:     Yeah.     Let's -- I tell you
20   what, we got Russ Ramsland now from the Allied Security
21   Operations Group.       Let's -- let's hear the segment here.
22   Mike Lindell and I will join you right after this
23   segment.
24                     (Plays video.)
25                     MR. LINDELL:      So now we have with us




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP451
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 452 of 971

                                                                            44
                 Steve Bannon Broadcast - February 11, 2021


1    Russell Ramsland.       He's a founding member of Allied
2    Security Operational Group.         They're based in Dallas,
3    Texas, and they do cyber forensics and security.
4    Russell, how are you -- how are you involved with all
5    this -- this election fraud, with the machines?
6                     MR. RAMSLAND:      Well, it was interesting,
7    Mike.   It's been a long road for us.           About two years
8    ago, we had some logs from the Dallas general election
9    brought to us from the central tabulation server, and
10   people asked, What do these logs mean?             It was about
11   1100 pages, and we got looking at them and we were
12   horrified at what we found, because what we found were
13   that people were getting into the system and they were
14   changing the votes.       They were erasing databases, they
15   were reloading them, and it was coming from remote
16   locations.     And (inaudible) going this can't be.
17                    MR. LINDELL:      Now, this was back -- this is
18   in 2018 when they -- so these guys came to you with
19   these -- and these were -- these were voting machines --
20   and were they Dominion machines?
21                    MR. RAMSLAND:      No.    No, no.    We use ES&S in
22   Dallas, not Dominion.
23                    MR. LINDELL:      So are they -- are they --
24   are they similar -- similar machines?
25                    MR. RAMSLAND:      Yes.    Yeah, it's -- it's




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP452
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 453 of 971

                                                                            45
                 Steve Bannon Broadcast - February 11, 2021


 1   very similar stuff.        Most of these voting companies all
 2   have similar DNA --
 3                     MR. LINDELL:      Okay.
 4                     MR. RAMSLAND:      -- in their (inaudible)
 5   software.
 6                     MR. LINDELL:      Okay.    But what you seen
 7   was -- was very -- it horrified you?
 8                     MR. RAMSLAND:      Yeah, it did.
 9                     MR. LINDELL:      Okay.
10                     MR. RAMSLAND:      Because clearly, somebody
11   was playing with the election.
12                     MR. LINDELL:      Wow.
13                     MR. RAMSLAND:      So we tried to get the
14   authorities alerted.        We brought in a DOJ prosecutor
15   that ran the cyber group in North Texas, and she was
16   horrified at what we showed her.            And she asked us to
17   put it together and eventually submit it to the FBI, and
18   we did that and they did nothing.
19                     So we continued to investigate, and the
20   more we found, the more horrifying it got.               Now, this
21   all was still coming out of Dallas.            We tried to get
22   senators to look at this, and we tried to get State
23   officials to look at this, but we continued to work on
24   it on our own.      We had no client at all.          And
25   eventually, we did get seven members of the Freedom




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP453
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 454 of 971

                                                                            46
                 Steve Bannon Broadcast - February 11, 2021


1    Caucus this last July to take a two-hour briefing
2    without staff, and what they saw was absolute proof that
3    this electronic voting system that we have is completely
4    compromised.
5                     MR. LINDELL:      Wow.
6                     MR. RAMSLAND:      It can be completely
7    manipulated.     And they were horrified.
8                     MR. LINDELL:      We've all heard that Texas
9    denied these machines.
10                    MR. RAMSLAND:      Well, Texas denied Dominion,
11   but Texas uses other voting machines.            We use Hart and
12   we use ES&S in Texas.
13                    MR. LINDELL:      Right.
14                    MR. RAMSLAND:      Same -- same --
15                    MR. LINDELL:      So why was -- so why would
16   Texas -- they denied these Dominion ones, and in your
17   opinion -- so they must have looked at them and said,
18   There's something there we don't like.             But then they,
19   over here with Smartmatic and these other ones, they
20   were okay with that?        Why -- what would be your opinion
21   of why -- why one -- they would deny one machine that --
22   because they're afraid of election fraud and -- and over
23   here, they accepted that one?
24                    MR. RAMSLAND:      I think that it sometimes
25   has more to do with politics and influence who gets




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP454
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 455 of 971

                                                                             47
                 Steve Bannon Broadcast - February 11, 2021


 1   through and who doesn't --
 2                     MR. LINDELL:      Okay.    Okay.
 3                     MR. RAMSLAND:      -- than necessarily the
 4   machines.
 5                     MR. LINDELL:      Okay.
 6                     MR. RAMSLAND:      So we finally ended up with
 7   some investigators with Ron Johnson's Department of
 8   Homeland Security oversight group, and they were
 9   horrified of what we showed them.            And they tried to get
10   CISA, which is the Cyber Intelligence Security
11   Administration inside the DHS, they tried to get CISA to
12   take a look.      CISA would not take the briefing.            They
13   couldn't be less interested.
14                     So we didn't quite know what to do.             We
15   were beginning to find some media people who wanted to
16   start talking about this, and they became appalled.                    But
17   the break really came in early August when we got some
18   DHS people in Austin with the I&A Division, the
19   Intelligence & Analysis Division down there to take a
20   look at what we had.        And that's the division that used
21   to have voter integrity before it was handed to CISA.
22                     So they looked at it and they were
23   horrified and they sent a whole team to our shop.                 We
24   spent 11 hours with them.         They asked us if we would
25   give them their -- our data.          We said, of course.         And




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP455
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 456 of 971

                                                                            48
                 Steve Bannon Broadcast - February 11, 2021


1    so we gave them all our data, they took it back to
2    Austin, and unknown to us, they gave it to three private
3    cyber groups that they use and said, Hey, are these guys
4    crazy?    I mean, is this nuts or is this -- is there
5    something here?
6                     Well, all three groups looked at it and all
7    three groups came back, not only is -- is it right, it's
8    horrifying.
9                     MR. LINDELL:      Okay.    I want to ask you
10   there, when you say "horrify," can you explain to
11   everybody watching this right now, what -- what
12   horrified you?      Was it the fact that they could go
13   online --
14                    MR. RAMSLAND:      Well, there's no effective
15   security at all for your votes.           Your votes are stored
16   overseas where they can be easily manip- --
17                    MR. LINDELL:      Wait a minute.       Wait a
18   minute.    They're stored overseas?
19                    MR. RAMSLAND:      Yes.    Yeah, yeah.
20                    MR. LINDELL:      Wow.
21                    MR. RAMSLAND:      2- -- 27 states use what's
22   called Clarity Scytl Election Night Reporting and those
23   servers are overseas.        They have what are called "S3
24   bucket vulnerabilities," and people can get in and
25   change the votes there, and then they can load them all




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP456
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 457 of 971

                                                                             49
                 Steve Bannon Broadcast - February 11, 2021


 1   the way back down to the county level here in this
 2   country because Scytl gets all the credentials from
 3   every single county server here.            And so they can get
 4   into every single county server and change the votes
 5   here from overseas.
 6                     MR. LINDELL:      Wow.
 7                     MR. RAMSLAND:      It's crazy.
 8                     MR. LINDELL:      So -- so -- so everything
 9   that everybody's been talking about out there that
10   they've tried to suppress, saying that they -- we heard
11   the machines weren't even online.            And you're saying
12   that 27 states use this and the servers are overseas, so
13   these can go over there and they can change the vote to
14   anything they want and send it back cyberly?
15                     MR. RAMSLAND:      Correct.
16                     MR. LINDELL:      By cyber?
17                     MR. RAMSLAND:      Correct.
18                     MR. LINDELL:      Wow.
19                     MR. RAMSLAND:      So they became -- the DHS
20   people in Austin realized what we were telling them was
21   correct.    They became horrified.          And they began to try
22   to have a series of classified briefings within their
23   own group in order to push this up -- up the chain.                    And
24   they got about one or two levels up, and then they met a
25   solid wall of resistance that basically said, Leave it




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP457
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 458 of 971

                                                                                  50
                 Steve Bannon Broadcast - February 11, 2021


1    alone.     Don't pursue it.
2                     MR. LINDELL:      Wow.     And what do you -- what
3    do you think being now -- now we're -- we're telling the
4    facts of the show here, but in your mind, why would they
5    do that?     Why -- this is just subjectively.           Why
6    would -- why would you -- why would they do that in your
7    mind?
8                     MR. RAMSLAND:      I don't know, Mike.
9                     MR. LINDELL:      You can't explain it.            I
10   mean, this is -- okay.        So -- so then -- so take us from
11   there.     So this is, like -- what -- what -- what --
12   approximately when was that when it kind -- when it got
13   stopped?
14                    MR. RAMSLAND:      That was September.
15                    MR. LINDELL:      Wow.
16                    MR. RAMSLAND:      Yeah.
17                    MR. LINDELL:      Getting close to the
18   election.    Okay.
19                    MR. RAMSLAND:      Close to the election.              So
20   what actually happened in this election, this stolen
21   election, we already knew was going to happen.                 We
22   already had seen it, we knew it was all possible, we
23   knew it was all out there.         Now, we didn't know how many
24   foreign servers.      You know, before, we weren't seeing
25   very many foreign servers come in and change votes, but




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP458
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 459 of 971

                                                                             51
                 Steve Bannon Broadcast - February 11, 2021


1    in this election, of course, we saw thousands from all
2    over the world.
3                     MR. LINDELL:      You said you seen -- you seen
4    thousands, you've seen all these -- these hacks.               Have
5    you actually seen that with your own eyes?
6                     MR. RAMSLAND:      We have seen the data that
7    is supposedly representative of that.
8                     MR. LINDELL:      So this -- the election goes
9    down, you knew it was going to happen.             Is it exactly
10   what you thought was going to happen?
11                    MR. RAMSLAND:      Yeah, we -- we thought it
12   was going to happen on three levels.            We thought there
13   would be massive local cheating, we thought there would
14   be cheating through the actual voting companies
15   themselves, whether it's them or someone else
16   manipulating them, and we thought that there would be
17   cheating from votes being injected from overseas.                And
18   that's exactly what we saw happen.
19                    MR. LINDELL:      Wow.
20                    MR. RAMSLAND:      And we developed huge, tons
21   of -- of absolute proof on this, but no court case was
22   ever allowed -- ever allowed it to be presented.               So
23   that sort of gave fodder to this media myth that it
24   didn't exist, but it does exist.           It's out there.       It's
25   unbelievable, it's massive.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP459
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 460 of 971

                                                                            52
                  Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Wow.    Did everybody hear
2    that, what he -- what Russell's saying here?              This is
3    what everyone says.       Well, there was no evidence.           So
4    you're saying, no judges would look at the evidence; is
5    that correct?
6                     MR. RAMSLAND:      That's correct.
7                     MR. LINDELL:      Okay.    And now, we don't know
8    why.    We don't know why.       I mean, they -- it wasn't
9    because there wasn't evidence.            They didn't even want to
10   look at it; is that correct?
11                    MR. RAMSLAND:      That is correct.
12                    MR. LINDELL:      Okay.    Now, we've heard
13   about, we've all -- in fact, on this show, the Antrim
14   County in Michigan.       Were you guys ever -- were you
15   guys -- weren't you guys contacted to look into that?
16                    MR. RAMSLAND:      That was our work.        Yes,
17   I --
18                    MR. LINDELL:      Oh, wow.     Okay.
19                    MR. RAMSLAND:      I -- I actually signed the
20   forensic audit report and -- because our guys did all
21   that, our -- part of our team.            And that came about
22   because there was a down ballot race, and the judge
23   allowed some limited discovery.           What came out of that
24   was appalling enough that he allowed further discovery.
25   And then, of course, that report went national because




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP460
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 461 of 971

                                                                            53
                 Steve Bannon Broadcast - February 11, 2021


 1   what we found was so horrifying.
 2                     MR. LINDELL:      Right.    For everybody out
 3   there, what we've all heard, this Antrim County in
 4   Michigan -- and in this show here, we've -- you know,
 5   you've -- you've seen it.         We've had -- we've -- this
 6   is -- this is -- the reason it was talked about so much,
 7   because this is a small county and it was like
 8   15,000-some people voted and it was 7,000-some votes
 9   flipped.    I mean, so it was so obvious, you know, we had
10   65 percent Republican and 35 percent Democrat normally,
11   and it was completely flipped.           So everybody in the town
12   knew it was a deviation that didn't make sense.                And
13   so -- so Russell, this case is still open; is that --
14   that's correct, right?
15                     MR. RAMSLAND:      That is -- that is correct.
16                     MR. LINDELL:      Okay.    Can I --
17                     MR. RAMSLAND:      What --
18                     MR. LINDELL:      Can I ask you this?        So what
19   you've seen there is exactly what you knew was going to
20   happen, and now were you able to look at other places?
21   What was different about Antrim County now that -- what
22   we all heard was you were able to get into the -- you
23   know, the forensics of it and see all this.               Were you
24   able -- have you been able to do that in any other
25   places in the United States since then or -- or you




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP461
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 462 of 971

                                                                            54
                 Steve Bannon Broadcast - February 11, 2021


 1   know, since this election ended on -- in November?
 2                     MR. RAMSLAND:      Actually, on a limited
 3   basis, we have been able to go in two other counties.
 4   We have not published that information yet, and there
 5   are reasons why we aren't publishing that information
 6   right now.     But both of them have not only confirmed --
 7   they have confirmed that it's even worse than in Antrim.
 8                     MR. LINDELL:      Okay.    Did everybody hear
 9   that?   What we have here -- and Russell can't disclose
10   this because what -- every time something pops up, it
11   gets buried out there.         Things happen.      I don't ev- --
12   you know, this is -- this is the most attack on our
13   country, and I'm telling you, ever.            I mean, this is --
14   and it -- that's why -- you know, it's getting
15   suppressed every -- everywhere.
16                     So what he's saying, two other places --
17   now, is this breaking news right now?             You're saying
18   right now, you have two other places, and what you're
19   seeing is even worse than you could ever imagine?
20                     MR. RAMSLAND:      Well, it's -- it's -- it's
21   just like Antrim, only its worse in many ways.                You
22   know, in Antrim -- what people need to understand --
23   real simple, Mike.       When people vote and they scan their
24   ballot in, it either goes into the regular sort of
25   bucket and gets voted, or else it goes into what's




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP462
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 463 of 971

                                                                            55
                 Steve Bannon Broadcast - February 11, 2021


 1   called an "adjudication bucket."             If it goes into the
 2   adjudication bucket, then whoever's running the voting
 3   system gets to vote that vote however they want.
 4                     Well, in -- in Antrim, we found ballot
 5   rejection rates of 82 percent.
 6                     MR. LINDELL:      Wow.
 7                     MR. RAMSLAND:      82 percent.
 8                     MR. LINDELL:      Wow.
 9                     MR. RAMSLAND:      82 percent of the ballots
10   were going to adjudication (inaudible) --
11                     MR. LINDELL:      And what -- what is -- what
12   is the -- what's the normal number?            I mean, is there a
13   normal number for eje- -- for an election that would be
14   what percentage or -- and -- and what would be it on the
15   high end?
16                     MR. RAMSLAND:      Well, certainly less than
17   one percent would be -- should ever go to adjudication.
18   There's all --
19                     MR. LINDELL:      Wow.    Less than one percent,
20   everybody.     And this was 85 [sic] percent.
21                     MR. RAMSLAND:      Yeah.    Well, and in Fulton
22   County, they -- the Fulton County people themselves
23   admitted to a 93.6 percent adjudication rate in some
24   cases.    That means the entire election was decided by
25   the people that ran the system, not by the voters.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP463
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 464 of 971

                                                                            56
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Wow.    And now -- and what
 2   you're talking about there isn't -- this is another way
 3   these machines can -- you can -- that you can cheat
 4   through the fro- -- or cheat there.            But this does not
 5   count, what you're talking about earlier, the cyber
 6   forensics where that goes overseas to these servers that
 7   are all based over there, correct?
 8                     MR. RAMSLAND:      That does not -- that's a
 9   different issue altogether.
10                     MR. LINDELL:      Right.    So both of them
11   involve the machines, everybody.             One we've talked about
12   in this show is here.        But the cyber one is what you
13   just heard from Russell, which he said earlier, this is
14   all the attack by the other countries that hacked in,
15   which we're going to show you that proof now, that
16   Russell doesn't even know that we have, that's going to
17   show who did it, the time they did it, the computer they
18   did it off, everything.
19

20                     MR. BANNON:     Okay, Mike.      Here's what I
21   don't understand.       The state of Texas prides itself
22   right now in running the best election overall, I guess
23   with Florida.       Okay?   They had the report that we've
24   referred to and you have that says they didn't pick
25   Dominion systems, and they go through all the problems




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP464
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 465 of 971

                                                                            57
                 Steve Bannon Broadcast - February 11, 2021


1    with Dominion.      I think they picked ESS.
2                     And I don't know, and I've talked to a lot
3    of officials down in Texas of how proud they are at how
4    they ran the elections.        This is the first time I'm
5    hearing that there's some big voter fraud problem in
6    Dallas, as Ramsland's saying.          So how do you square that
7    or what other information can Russell Ramsland put
8    forward to actually show that these ESS machines are bad
9    and you've got a problem in Dallas and maybe some other
10   places too?
11                    MR. LINDELL:      Well, you'll see that later
12   in the show.     But right -- the -- the point of that --
13   of bringing up the Texas thing is ESS, Smartmatic and
14   Dominion, you could interchange the names.              They all are
15   the same.    They -- cy- -- the cyber for- -- fornetics
16   [sic] we show, it goes through all these machines.
17   They're all the same.        This is my whole point.         You can
18   never use any machine for any election ever.
19                    And that's -- that's -- and I'm not
20   stopping till that happens.         We have to -- we lose
21   everything.     And so you're going to find out.            And I --
22   and it will come out.        I'll show you.      I will put -- you
23   know, the stuff I end up --
24                    MR. BANNON:      Okay.
25                    MR. LINDELL:      -- putting up on the website,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP465
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 466 of 971

                                                                            58
                 Steve Bannon Broadcast - February 11, 2021


 1   we'll -- we'll show you how I did -- it didn't just
 2   happen in these swing states, you've got to realize.
 3                     MR. BANNON:     Okay.
 4                     MR. LINDELL:      It was every state.
 5                     MR. BANNON:     Fine.     Let's go -- let's -- I
 6   want to continue to play this, but I just want to
 7   reemphasize.      You're saying you're not picking on any
 8   one company, you're picking on the whole industry and
 9   you want all the machines to go and go back to a system
10   that somehow we can do this manually?             I just want to
11   make sure that you're saying, I don't care if it's ESS
12   or even other companies you haven't heard of.               I -- my
13   focus is to get rid of these machines and get back to
14   some sense of where you get human involvement in here
15   and human involvement in counting these.              And that'll
16   take any questions away about whether cyberattacks or
17   they're changing votes by cyber.
18                     Let's go to the second part of Russ
19   Ramsland's interview with Mike Lindell in Absolute
20   Proof.
21                     (Plays video.)
22                     MR. LINDELL:      If -- if we would have never
23   found out or this would never have gotten -- what we're
24   going to get to now, what in the -- what would the
25   future look like in -- in elections?




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP466
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 467 of 971

                                                                            59
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. RAMSLAND:      Well, I mean, we're
 2   basically approaching Venezuela where it doesn't
 3   matter --
 4                     MR. LINDELL:      It doesn't matter.
 5                     MR. RAMSLAND:      -- who votes.
 6                     MR. LINDELL:      Right.    Somebody else picks
 7   our people for them, so why vote, right?               I mean, that's
 8   the way -- that's the way it would have been.               Machines
 9   that go online, like -- now you said earlier, it's not
10   just Dominion, it's all the -- all the machines that
11   were used in this election would -- is that what you
12   would say?
13                     MR. RAMSLAND:      Yes, that's absolutely a
14   fair statement.      And let -- let me -- let me tell you a
15   little bit about that.         You know, for these people that
16   say it's not online, we have videos of workers with poll
17   books who are swiping left on their poll book and
18   bringing up Netflix and getting a movie and watching it
19   on their poll book.        How does that happen if it's not
20   connected to the internet?
21                     MR. LINDELL:      Right.    Right.
22                     MR. RAMSLAND:      We have affidavits of -- of
23   a election judge who showed up at -- at her precinct,
24   found to her horror they had loaded the wrong precinct
25   in her equipment, called her voting company, and her




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP467
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 468 of 971

                                                                            60
                 Steve Bannon Broadcast - February 11, 2021


 1   voting company put her on hold and the self -- the help
 2   desk from another state called in, and in ten minutes
 3   somehow reloaded her poll books from another state with
 4   the correct precinct.        How did that happen if it's not
 5   connected to the internet?
 6                     MR. LINDELL:      I know they were all online,
 7   but they -- but is it illegal for them to be online?
 8                     MR. RAMSLAND:      Well, it depends.        Some
 9   places, yes, some places, no.
10                     MR. LINDELL:      Okay.
11                     MR. RAMSLAND:      I mean, the assurance is
12   that you can trust the voting system because they're not
13   online, but they are most clearly online.
14                     MR. LINDELL:      I got ya.     I got ya.
15                     MR. RAMSLAND:      Now, here's one you don't
16   know.   We ran this -- a different group here, a little
17   operation in Dallas during this last election.                And let
18   me describe the operation so you'll understand the
19   magnitude of what I'm telling you.            What we did is every
20   day, we just took the information on the voter records
21   of the people who voted that day in Dallas.               Dallas
22   posts them online, so you get a great, big, long record
23   of this voter.
24                     You don't see how he voted, but you see
25   everything else, name, where he lives, when he asked for




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP468
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 469 of 971

                                                                            61
                 Steve Bannon Broadcast - February 11, 2021


 1   a ballot, where he voted, his residence address, on and
 2   on and on.     And all of those, as you know, are comprised
 3   of zeros and ones.       That's how computers work.           So all
 4   we did is we would add up all the zeros and ones in that
 5   voter record and store it, and then we would watch what
 6   would happen to that voter record as we worked our way
 7   through early voting.        Mike, we saw 57,000 votes get
 8   their voter records changed during early election alone
 9   in Dallas, Texas.
10                     MR. LINDELL:      Wow.
11                     MR. RAMSLAND:      We saw a 10-block-long
12   street in Dallas, Texas get every single vote wiped out
13   and then subsequently replaced, one at a time, with
14   clearly something changed because the -- the hash -- in
15   other words, it's -- it's a record of -- of the zeros
16   and ones had been changed.          And so we know it was
17   tampered with.
18                     MR. LINDELL:      Wow.    I --
19                     MR. RAMSLAND:      I mean, it's unbelievable.
20                     MR. LINDELL:      Was it nationwide that this
21   happened?
22                     MR. RAMSLAND:      Yes.
23                     MR. LINDELL:      Okay.    And you've seen this
24   cyber -- the cyber forensics that show that.               We will
25   show that too.      But I just want to ask you, why -- if




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP469
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 470 of 971

                                                                            62
                 Steve Bannon Broadcast - February 11, 2021


 1   you're -- if there's -- you know, why didn't they -- why
 2   didn't they set these machines, then, to win Texas too?
 3   I mean, or do you -- you know, what would be your
 4   opinion on that of why they didn't set them high enough
 5   to win Texas too?
 6                     MR. RAMSLAND:      Well, there had been a
 7   certain amount of concern raised in -- in Texas as a
 8   result of our 2018 work.         You know, Pete Sessions
 9   actually filed a complaint in Texas and published a
10   paper on it because his race got stolen.              And so they
11   were very well aware that Texas was going to come under
12   some scrutiny that other places probably were not.
13                     MR. LINDELL:      Right.
14                     MR. RAMSLAND:      And there was also a huge
15   operation down in Houston where a vote scamming scheme
16   for over 700,000 votes was exposed, and -- so there was
17   a lot going on in Texas, and I think it made them a
18   little skittish to operate as brazenly here as they did.
19                     MR. LINDELL:      So they might -- they might
20   have backed off a little.         But you just said something
21   there.    So you're telling me that they controlled all
22   the down tickets too if they decided they wanted to flip
23   a senator or -- or a congressman or whatever; is that
24   correct?
25                     MR. RAMSLAND:      No doubt.     Absolutely.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP470
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 471 of 971

                                                                            63
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      So Russell, could you speak
2    specifically to the malware?
3                     MR. RAMSLAND:      Sure.    There is a company
4    out of Barcelona, Spain called Scytl and it owns a
5    company called Clarity Election Night Reporting.               And
6    Hart reports to them, and Dominion reports to them, and
7    ES&S reports to them.        All these companies report the
8    votes to them, and then Election Night Reporting
9    supposedly just passes the votes along to the media.
10                    But using standard white hat tools, we can
11   look and see what is -- is on their server over in
12   Frankfurt, Germany.       And there is a -- an area on their
13   server, on a particular kind of equipment, there is a
14   piece of malware called QSnatch.            QSnatch actually
15   watches all the information that comes in and it grabs
16   the login credentials of every single county in the
17   country that reports to it.         So that once it has all
18   those credentials, it can then look back into that
19   county and it can access the county database from
20   overseas or whenever else it wants to if you want to
21   inject changed votes, either through the adjudication
22   system, or just plain flat replace the database.
23                    So it's -- it's -- it's a massive, massive,
24   massive security vulnerability, and it is there, it is
25   working, and they have all the login ability they need




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP471
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 472 of 971

                                                                            64
                  Steve Bannon Broadcast - February 11, 2021


1    to get into any county that reports to them.
2                     MR. LINDELL:      Wow.    So -- so basically,
3    what you said earlier, all the -- all the servers are
4    over there, they could take all of our counties in our
5    country, look at them, and then decide what they want to
6    do with that information and what they can do in the
7    county, what they need to flip.           So any -- you know, we
8    all heard this -- we all heard about this Italy thing
9    and that it went to Italy and Germany when they had to
10   on the -- I guess this would be in the middle of night
11   on -- on November 4th.
12                    Is this something -- would you -- would you
13   know anything about that, I mean, to -- I mean -- so
14   they -- what we've all heard out there is it went over
15   there -- some guy even admitted he did it, which we're
16   going to have his affidavits up here, but what do you --
17   what's your opinion on that?
18                    MR. RAMSLAND:      Well, our opinion on that
19   was that it should have been investigated because it is
20   very consistent with what we do see happening.               But it
21   was not investigated.        Apparently, the Department of
22   Justice did not investigate.          You know, you got the
23   usual, Oh, it's been debunked.            Well, who debunked it?
24   Uhh.    When did they debunk it?          How did they debunk it?
25   Uhh.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP472
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 473 of 971

                                                                            65
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Yeah.
2                     MR. RAMSLAND:      There was no investigation
3    by anyone of that information, and there should have
4    been because it is entirely consistent.             I don't know if
5    it's true, but it's entirely consistent with everything
6    we have seen in -- in terms of capabilities.
7                     MR. LINDELL:      Bill Barr comes out and said,
8    There's no evidence.        I mean, what would be your opinion
9    why people would keep pushing this down and not wanting
10   to know?     I don't care what side of political lines
11   you're on.     Why would you not want to know if -- the
12   truth?
13                    MR. RAMSLAND:      That has been a constant
14   haunting question to everyone on our team.              I think it's
15   a combination of things.         I think some people are truly,
16   completely totally corrupt.         I suspect that at the
17   bottom of this, you might find that our government has
18   been changing votes in other countries for years and
19   they don't really want it revealed, certain parts of our
20   government.     I think that there are people that don't
21   want to look, they're afraid to look.            I think there are
22   probably people who are compromised --
23                    MR. LINDELL:      Right.
24                    MR. RAMSLAND:      -- and have been told to
25   stay out of it.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP473
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 474 of 971

                                                                            66
                  Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Right.
2                     MR. RAMSLAND:      I think that it's a variety.
3    It's not one simple little reason.
4                     MR. LINDELL:      Right.    And that's what I
5    wanted people to hear because I hear it all the time.
6    People are going, you know what, this -- you know, Bill
7    Barr said this and all -- there's no -- none of the
8    judges accepted it and you hear all this.             And we can't
9    explain all that because -- it's probably multiple
10   things, like Russell says there.            And that's my opinion
11   too.     It could be anywhere up to a dozen things.            Who
12   knows.
13                    But it doesn't matter.         All that doesn't
14   matter because now the truth is told today, and it's all
15   coming out and -- and everybody -- you know, I -- I
16   really believe what's going to happen once everybody
17   sees now -- this, is, finally, you're going to have
18   people that aren't afraid to speak out because it'll
19   be -- it's too late to close the gate, the cows are out
20   of the barn, everybody's going to know about it, and
21   they're going to want to know more and more, so...
22                    MR. RAMSLAND:      You know, Mike, the -- the
23   real thing is, I think pretty soon, the question's going
24   to start to turn around.         And people are going to go,
25   Wait a minute.        What is everyone so afraid of?




                             Dickman Davenport, Inc
            214.855.5100    www.dickmandavenport.com      800.445.9548

                                  APP474
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 475 of 971

                                                                            67
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Right.
 2                     MR. RAMSLAND:      Why are they going to such
 3   incredible lengths to say there's nothing here when
 4   there clearly is something here.             What -- you know, this
 5   is almost like -- you and I Krebs Enron.              This is almost
 6   like Enron.     Would we all be saying, Oh, no, we don't
 7   want to investigate Enron, no one should look into
 8   Enron; no, no, Enron shouldn't have to tell you how they
 9   spend your money; you just keep giving them your 401(k)
10   money.
11                     MR. LINDELL:      Right.
12                     MR. RAMSLAND:      No.    That's not how it
13   works.
14                     MR. LINDELL:      Right.
15                     MR. RAMSLAND:      And that's not how our
16   voting system should work either.
17

18                     MR. BANNON:     Now, look, Mike, I don't know
19   what Venezuela -- or Venezuela has to do with the United
20   States in the -- in the 2020 presidential election, but
21   I -- I think for the audience and for people that just
22   want to get to the facts, are you prepared -- Russ put
23   some statements out there, made some assertions.                Are
24   you prepared to bring eyewitnesss from Venezuela or
25   people that can actually talk to specifics about this




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP475
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 476 of 971

                                                                            68
                 Steve Bannon Broadcast - February 11, 2021


1    and somehow you'll put it up online or augment this film
2    somehow so people can actually hear eyewitness
3    testimony?     Are you prepared to do that?
4                     MR. LINDELL:      Oh, absolutely.       And I --
5    my -- as part of my due diligence, that's been all this
6    week.   I -- I wanted to go back to where this all
7    started.     And Venezuela -- it all started in Venezuela
8    with Smartmatic, not Dominion or the other one.               It was
9    with Smartmatic.      And I have -- we're going to have the
10   gal -- all this -- I'll throw it all -- that evidence, I
11   will put up on my MichaelJLindell.com website.               You're
12   going to see all that stuff we're adding.
13                    But it was very interesting, her story.
14   She got attacked and put down, just like what's
15   happening to me here, because she knew -- she knew, she
16   had the evidence.       She had the evidence you're going to
17   see tonight.     She had it.      And they just -- (makes
18   noise).    But she didn't have this big --
19                    MR. BANNON:      Okay.
20                    MR. LINDELL:      -- platform.      So you're going
21   to -- yeah, you're going to see that and you'll see all
22   that -- anything you -- you know, to back up -- when you
23   talk about Russ Ramsland and his company, they are the
24   best in the world at these machines, getting inside them
25   and -- and, you know, getting the footprints and doing




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP476
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 477 of 971

                                                                            69
                 Steve Bannon Broadcast - February 11, 2021


 1   that.    These guys are amazing.         You know, you --
 2                     MR. BANNON:     Fi- -- fine.       But I -- I just
 3   want to make -- I want to make sure we're clear to --
 4   particularly everybody on the left and all the media
 5   that's attacking you, you're prepared to have her on
 6   tape, you're prepared to put other stuff about this
 7   whole situation in Venezuela and with Russ Ramsland's
 8   company, Colonel Waldron, you're prepared to put up
 9   additional information online so people can check more
10   the hard evidence of this?          This is a commitment you're
11   making?
12                     MR. LINDELL:      Right.    And if -- yes,
13   absolutely.     And I want to say this, though.            What Russ
14   is saying is what I'm telling you-all.             Look, in
15   Venezuela, it happened in a very short period of time,
16   where the socialists, where they got in there and their
17   country was gone.       And how did they do it?          They did it
18   through the use of these machines.            When you can pick
19   who you vote for...        (Making noise.)
20                     You know, this is what we're all talking
21   about tonight.      It's very important what Russ is saying
22   there.    We -- this -- if we don't get rid of the
23   machines, we will -- they're coming in now, this
24   election.     This is what happened this election.             So it's
25   very serious stuff --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP477
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 478 of 971

                                                                            70
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. BANNON:     Okay.
 2                     MR. LINDELL:      -- and yes.
 3                     MR. BANNON:     Let -- let -- let's go --
 4   we're going to -- you're going to next meet one of the
 5   smartest guys in the country, Dr. Shiva from MIT, just
 6   an extraordinary individual.          His interview with Mike
 7   Lindell in Absolute Proof is next.
 8                     (Plays video.)
 9                     MR. LINDELL:      So now we have with us
10   Dr. Shiva.     He has four MIT degrees.          He's an expert in
11   system science and pattern analysis.             And I met him four
12   weeks ago.     Because I don't want him out there going,
13   Well, Mike, why didn't you bring this to us before?
14   Well, I just met Dr. Shiva four weeks ago, and he's
15   going to tell you, he actually ran for Senate and he
16   knows all about these machines now, and it -- and we're
17   going to hear some of the stuff that I found out and
18   went, Wow, this is a -- absolutely validates this
19   election fraud with these machines.            So go ahead.
20                     DR. SHIVA:     Yeah, thanks, Mike.
21                     MR. LINDELL:      Yeah.
22                     DR. SHIVA:     I'm glad we connected.
23                     MR. LINDELL:      Yeah.
24                     DR. SHIVA:     You know, it's a interesting
25   opportunity for me, Mike, because it's rare that a guy




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP478
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 479 of 971

                                                                            71
                 Steve Bannon Broadcast - February 11, 2021


1    who's a scientist and engineer, an MIT guy, even runs
2    for office.
3                     MR. LINDELL:      Right.
4                     DR. SHIVA:      And then it's even more rare
5    that you come across something you never thinks occurs
6    in the United States.        You know, I grew up in India --
7                     MR. LINDELL:      Right.
8                     DR. SHIVA:      -- and in third-world
9    countries, we talk about election fraud.
10                    When I was running in Massachusetts in
11   2020, we had it -- 3,000 volunteers on the ground, you
12   know, 20,000 bumper stickers, 10,000 lawn signs,
13   billboard ads, radio, TV, network.           We were everywhere.
14   The GOP establishment who doesn't want a bottoms-up guy
15   like me who hated Trump ran a no-name out there --
16                    MR. LINDELL:      Uh-huh.
17                    DR. SHIVA:      -- who -- no real lawn signs,
18   no bumper stickers, no organization --
19                    MR. LINDELL:      Right.    Right.
20                    DR. SHIVA:      -- nothing.     And we knew on
21   election night, which was the Republican primary,
22   September 1st, 2020, the word "landslide" is what we
23   heard everywhere.       We knew we had --
24                    MR. LINDELL:      That you were going to win by
25   a landslide?




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP479
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 480 of 971

                                                                            72
                 Steve Bannon Broadcast - February 11, 2021


1                     DR. SHIVA:      Oh, yeah, yeah.      I mean, it was
2    obvious.     I mean, we worked -- I mean, and -- and --
3                     MR. LINDELL:      I think you said unless there
4    was election fraud, which you --
5                     DR. SHIVA:      Yeah.
6                     MR. LINDELL:      But you probably thought --
7                     DR. SHIVA:      But I -- but I --
8                     MR. LINDELL:      -- that's just, you know,
9    maybe someone put -- (inaudible).
10                    DR. SHIVA:      Yeah.    And -- and one of my
11   close friends said, Shiva, we're going to win this --
12                    MR. LINDELL:      Yeah.
13                    DR. SHIVA:      -- unless there's election
14   fraud.     And I -- I just thought this is just some fringe
15   stuff, right?
16                    MR. LINDELL:      Right.    But you --
17                    DR. SHIVA:      So I --
18                    MR. LINDELL:      -- weren't thinking about
19   machines?
20                    DR. SHIVA:      I wasn't thinking about
21   machines.
22                    MR. LINDELL:      Okay.    All right.
23                    DR. SHIVA:      -- because I didn't know that,
24   you know, you know, from creating email in all these
25   systems, I know the power of machines.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP480
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 481 of 971

                                                                             73
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Right.    Oh, by the way, yeah,
2    he created emails, right?
3                     DR. SHIVA:      I did.     I created emails --
4                     MR. LINDELL:      The creator -- creator of
5    email.    I just want to tell you, the guy's a genius.                 So
6    what you're going to hear here -- this is what I did my
7    due diligence on.       I -- you know, this is just one guy.
8    I'm going, Okay, you know, is this real or is this not?
9    And it -- believe me, it's real.
10                    DR. SHIVA:      Yeah, I mean, you know, so I
11   have a lot of history, not only pattern analysis and
12   system science --
13                    MR. LINDELL:      Right.
14                    DR. SHIVA:      -- but I build large-scale
15   computer systems.       The stuff I've used has been used by
16   the Senate, has been used by the largest --
17                    MR. LINDELL:      Right.
18                    DR. SHIVA:      -- Fortune 1000 companies in
19   the world, so I know how you move from paper-based
20   systems and electronic systems, and I know the power of
21   electronic systems.       When you put some process that's in
22   electronic form --
23                    MR. LINDELL:      Right.
24                    DR. SHIVA:      -- a single individual has
25   immense amounts of power.         So that's a background.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP481
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 482 of 971

                                                                            74
                 Steve Bannon Broadcast - February 11, 2021


1                     But on September 1st, 2020, what we saw was
2    we knew we'd won on a landslide.
3                     MR. LINDELL:      Right.
4                     DR. SHIVA:      And there we are with our big
5    party setup and we see the results coming in.               Now, in
6    Massachusetts, we saw, in Franklin County, which is 80
7    to 90 percent hand-counted paper ballots, no machines --
8                     MR. LINDELL:      Right.
9                     DR. SHIVA:      -- I win by 10 percent.         And in
10   every other county, Mike, 60/40, 60/40, 60/40, 60/40.
11                    MR. LINDELL:      That you lost by?
12                    DR. SHIVA:      I lost by.
13                    MR. LINDELL:      The exact percentage?
14                    DR. SHIVA:      Exact percentage by a guy who
15   was -- in -- in -- in a black county, this guy wins; in
16   a white county, he wins; in a Hispanic county.               The guy
17   was nowhere.
18                    MR. LINDELL:      By the same percentage?
19                    DR. SHIVA:      By the same percentage.
20                    MR. LINDELL:      That's not only a deviation,
21   but it's an anomaly.        That's --
22                    DR. SHIVA:      It's -- it's an anomaly.
23                    MR. LINDELL:      But do you think that's
24   impossible?     Or you're like me --
25                    DR. SHIVA:      Well, it's highly --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP482
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 483 of 971

                                                                            75
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      (Inaudible.)
2                     DR. SHIVA:      I mean, to be from a scientific
3    standpoint --
4                     MR. LINDELL:      Right.
5                     DR. SHIVA:      -- you would say it's highly
6    unlikely.
7                     MR. LINDELL:      Right, right.
8                     DR. SHIVA:      And that began my journey to
9    start really saying, Wow, election fraud could take
10   place in America.
11                    MR. LINDELL:      Uh-huh.
12                    DR. SHIVA:      So I started reading up
13   everything I could.       By September 9th, eight days
14   later --
15                    MR. LINDELL:      Right.
16                    DR. SHIVA:      -- I found out something
17   interesting.     I found out that these electronic voting
18   machines -- Krebs, there's two ways you can vote.                One
19   is you vote -- you give a paper ballot and the paper
20   ballot is counted by human beings, two people.
21                    MR. LINDELL:      Right, right.
22                    DR. SHIVA:      That's what occurred in
23   Franklin County.      But in those other counties, they take
24   that paper ballot when you vote electronically --
25                    MR. LINDELL:      Into a machine.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP483
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 484 of 971

                                                                             76
                  Steve Bannon Broadcast - February 11, 2021


1                     DR. SHIVA:      -- it goes into a machine.            And
2    what happens in that machine?          The paper ballot is
3    converted to an image called a ballot image.
4                     MR. LINDELL:      Right.    Right.
5                     DR. SHIVA:      No different than you taking a
6    phone -- a picture with your iPhone.
7                     MR. LINDELL:      Right.
8                     DR. SHIVA:      Now, so what is actually
9    counted, the paper ballot gets put aside.             The machine,
10   the electronic, quote/unquote, AI on the machine
11   actually tries to figure out where the circles are.
12                    MR. LINDELL:      Right.
13                    DR. SHIVA:      And the machine is counting the
14   ballot image.
15                    MR. LINDELL:      Right.
16                    DR. SHIVA:      So at that stand- -- at that
17   point, I realized, oh, my God, the ballot image is the
18   ballot.
19                    MR. LINDELL:      Right.
20                    DR. SHIVA:      The images are the ballot.            So
21   I --
22                    MR. LINDELL:      So you were hold- -- but you
23   were going to get to the bottom of this no matter what?
24                    DR. SHIVA:      No, I am because I -- I --
25                    MR. LINDELL:      Because you're like me --




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP484
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 485 of 971

                                                                               77
                 Steve Bannon Broadcast - February 11, 2021


1                     DR. SHIVA:      -- I like to solve problems.
2                     MR. LINDELL:      I want to say something.            One
3    thing about Dr. Shiva, when I met him, I'm going, Wow,
4    he's just like me.       I look at deviations every day.             If
5    I see a T.V. station that normally does 10,000 --
6    because I track them all individually -- it does 10,000,
7    and all of a sudden, one day, it -- it did only 2,000,
8    I'll tell you what, what I do is spend the rest of the
9    day or a week or a month, I'm going to find out how that
10   happened, because the only way things change is, what, a
11   different input.
12                    DR. SHIVA:      Exactly.
13                    MR. LINDELL:      A different input.        So you've
14   got this anomaly, you've got a -- you've got this
15   deviation, and not just because you were running.                A
16   pers- -- you know, it's not like you were just biased
17   going, you know, I won, I know I won.            You're --
18   you're -- now you're digging in to find out how these --
19   how this weird mathematical things happen.
20                    DR. SHIVA:      Exactly.    I mean, the scientist
21   engineer kicked in, right?
22                    MR. LINDELL:      Right, right, yeah.        That --
23   right.
24                    DR. SHIVA:      I mean, just like you.        You're
25   a scientist and engineer in -- in a very -- from a




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP485
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 486 of 971

                                                                            78
                 Steve Bannon Broadcast - February 11, 2021


1    marketing standpoint.
2                     MR. LINDELL:      Right.
3                     DR. SHIVA:      But -- and I think we both sort
4    of pursue the same aims.
5                     MR. LINDELL:      Right.
6                     DR. SHIVA:      But here, what we found out was
7    that the first thing that gave me a big insight is that
8    (a) ballot images are being created.
9                     MR. LINDELL:      Right.
10                    DR. SHIVA:      And then I also found out by
11   federal law, in 1974, they passed a law for federal
12   elections, those ballot images must be saved.               So that
13   was one piece of the puzzle, okay?
14                    MR. LINDELL:      Uh-huh, right.
15                    DR. SHIVA:      The other piece of the puzzle
16   was, I found out that the voting machines, as early as
17   2002, have a feature in there called a "weighted race
18   feature," where it's embedded into the system where you
19   can multiply candidates' votes by a percentage.               All
20   right.    So what that means is you get a thousand votes,
21   I get a thousand votes.
22                    MR. LINDELL:      Right.
23                    DR. SHIVA:      I can multiply your votes by
24   two, my votes by .5.        And if everyone -- anyone doesn't
25   believe this, go look up the Diebold Voting Manual, go




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP486
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 487 of 971

                                                                              79
                 Steve Bannon Broadcast - February 11, 2021


1    to Page 2-126 in the manual in the 2002 version --
2                     MR. LINDELL:      Right.
3                     DR. SHIVA:      -- and you'll see it in there.
4                     MR. LINDELL:      So did -- were you able to
5    prove that yours -- that your election was stole by the
6    machines?    Did you -- mathematically, do you prove a
7    hu- -- did you prove 100 percent that this could only be
8    re- -- recreated by a machine to do that 60/40, that
9    same -- you know...
10                    DR. SHIVA:      Yeah.    So what we proved, Mike,
11   was -- well, first of all, we showed that the state had
12   deleted the ballot images.
13                    MR. LINDELL:      Right.
14                    DR. SHIVA:      Which means that if they had
15   the ballot image, I could have found the algorithm.                 So
16   it came upon me to use all that 40, 50 -- 40 years of
17   experience that I'd learned from 14 all the way to MIT,
18   I had to bring all that rocket science --
19                    MR. LINDELL:      Right.
20                    DR. SHIVA:      -- to actually look at the
21   data.   And what I found out in the data was a very
22   interesting anomaly.
23                    MR. LINDELL:      Uh-huh.
24                    DR. SHIVA:      Which in -- as you said, a
25   deviation --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP487
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 488 of 971

                                                                            80
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Right.
2                     DR. SHIVA:      -- in one of counties called
3    Suffolk County, which is typically highly Democrat.
4                     MR. LINDELL:      Right.
5                     DR. SHIVA:      So we were able to see these
6    interesting numbers, up, down, up, down, up, down.
7                     MR. LINDELL:      Right.
8                     DR. SHIVA:      Essentially -- imagine going to
9    a casino, every time you roll twice the number of odd as
10   you get even.      Okay?
11                    MR. LINDELL:      Right, right.
12                    DR. SHIVA:      It's not likely.       It should be
13   50/50.
14                    MR. LINDELL:      (Inaudible) right.
15                    DR. SHIVA:      And in fact, when we did the
16   numbers, that pattern could only occur one in 100,000.
17                    MR. LINDELL:      Uh-huh.
18                    DR. SHIVA:      We appli- -- we, you know, sued
19   the State on this and the judge did not dismiss our
20   case.
21                    MR. LINDELL:      It's still open?
22                    DR. SHIVA:      It's still -- not only it's
23   open, but we survived dismissal.            And the other thing
24   was, we also showed that when I put this out on Twitter
25   and said, Look, the Secretary of State deleted ballot




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP488
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 489 of 971

                                                                            81
                 Steve Bannon Broadcast - February 11, 2021


1    images, Twitter didn't do anything to me, but the
2    Secretary of State contacted Twitter to shut me down,
3    along with the National Association of State Election
4    Directors that came out.
5                     MR. LINDELL:      Wow.    Well, let me stop you
6    right there because I want to say something.
7                     DR. SHIVA:      Yeah.
8                     MR. LINDELL:      Did you hear the Twitter
9    thing?     All of you in this country and the world know my
10   Twitter was taken down.        You know why it was taken down
11   the first time 20-some days ago is because I put up --
12   of the new evidence, which Dr. Shiva here I'm going to
13   tell him in a second, this new evidence that came out
14   shows the time stamp in -- in space of where -- you
15   know, where the -- who did it, what country did it, like
16   China --
17                    DR. SHIVA:      Well, Krebs, we have two cases.
18   First, we show -- we basically went into court saying
19   the Secretary of State contacted Twitter.             That means
20   Twitter takes orders from the government.             This is what
21   we showed.     Twitter takes orders from the government.
22                    MR. LINDELL:      And you're -- and that's
23   proven?    That's 100 percent?
24                    DR. SHIVA:      Yes.     It came out in three --
25                    MR. LINDELL:      100 percent, the Secretary of




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP489
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 490 of 971

                                                                            82
                 Steve Bannon Broadcast - February 11, 2021


 1   State --
 2                     DR. SHIVA:     -- three hours of testimony --
 3                     MR. LINDELL:      -- said Jack Dorsey --
 4                     DR. SHIVA:     Took orders from the Secretary
 5   of State of Massachusetts.          This is what happens in
 6   countries like China.        The government tells the
 7   corporations what to do.         And in -- in the United
 8   States, what came out in our three hours of testimony
 9   where I represented myself --
10                     MR. LINDELL:      Right.
11                     DR. SHIVA:     -- no one wanted to take the
12   swamp on in Massachusetts.
13                     MR. LINDELL:      Right.
14                     DR. SHIVA:     So what came out was, we have
15   the Secretary of State's -- the election director and
16   the communications officer saying they contacted Twitter
17   to shut me down and Twitter obeyed.
18                     MR. LINDELL:      Is that still open?        Is that
19   still open?
20                     DR. SHIVA:     Not only is it open, the judge
21   gave me the restraining order, and the case is open.
22   And my other case to decertify, they tried to apply a
23   100, 200-page motion to dismiss and the judge denied
24   their motion.
25                     MR. LINDELL:      Wow.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP490
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 491 of 971

                                                                            83
                 Steve Bannon Broadcast - February 11, 2021


1                     DR. SHIVA:      And that means -- look, MIT --
2    MIT's in Massachusetts, right?
3                     MR. LINDELL:      Right.
4                     DR. SHIVA:      There's a lot of computer
5    people there.
6                     MR. LINDELL:      Right.
7                     DR. SHIVA:      No one has rebutted my
8    mathematical explanation showing that they multiplied
9    my -- my votes by .666.        So look --
10                    MR. LINDELL:      .666, they multiply it by?
11                    DR. SHIVA:      Exactly.    And the other guy's
12   by 1.2.
13                    MR. LINDELL:      Everybody hear that?        Wow.
14                    DR. SHIVA:      Well, I -- I think one of the
15   things the public needs to understand is, federal laws,
16   the Department of Justice is supposed to enforce them.
17                    MR. LINDELL:      Right.
18                    DR. SHIVA:      You know, when we found out the
19   ballot images were deleted, we informed -- what's the
20   name, Barr --
21                    MR. LINDELL:      Right.
22                    DR. SHIVA:      -- and the local U.S. Attorney
23   and they've done nothing.
24                    MR. LINDELL:      No.
25                    DR. SHIVA:      So basically, this is what




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP491
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 492 of 971

                                                                            84
                 Steve Bannon Broadcast - February 11, 2021


 1   happens in third-world countries, right --
 2                     MR. LINDELL:      Right, right.
 3                     DR. SHIVA:     -- you have laws but nothing's
 4   followed.
 5                     MR. LINDELL:      Right.
 6                     DR. SHIVA:     And if that's where we've
 7   gotten into, it's a serious problem for this country
 8   because the laws don't mean anything.
 9                     MR. LINDELL:      Well, it's a serious
10   problem -- you mentioned Barr.           I mean, he comes out and
11   says there was no election fraud.            You know, and here we
12   have right here, you told him of some, right?
13                     DR. SHIVA:     I told him of some.        I went
14   to --
15                     MR. LINDELL:      Is this before the election,
16   even?
17                     DR. SHIVA:     Before.
18                     MR. LINDELL:      (Inaudible.)
19                     DR. SHIVA:     Well, this was in October.
20                     MR. LINDELL:      October.
21                     DR. SHIVA:     I walked -- so this was --
22   yeah, in Oct- --
23                     MR. LINDELL:      Bill Barr, if you're
24   watching, I mean -- I mean, what -- why would you say
25   something like that when, yes, this is -- this wasn't




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP492
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 493 of 971

                                                                            85
                 Steve Bannon Broadcast - February 11, 2021


 1   just election fraud, this was a historical election
 2   fraud.    This was coming from a lecture -- or from
 3   machines, from these machines of Biblical proportions,
 4   of historical proportions.          And now this is -- it's all
 5   going to get exposed.        And I want all these -- I want
 6   the senators, the congressmen, the government, the
 7   governors, the legislators, everybody needs to watch
 8   this show, and when you do, you know, a lot of you can
 9   go, Wow, I never knew, I never knew.
10                     And that'll be a lot of excuses for a lot
11   of them because of our mainstream media and all the
12   people.    I can't even believe the money spent to
13   suppress this, you know, to suppress it.              So when you
14   pop -- anything that popped up, boy, they were right on
15   it, let's destroy them.
16                     DR. SHIVA:     Right.
17                     MR. LINDELL:      Let's destroy them.        Like,
18   who was the last thing to pop up?            Me.   When I see this,
19   I popped up.      And how do you destroy my platform because
20   everybody knows I'm out there?            They've done everything
21   they could from -- from bots and trolls to go after my
22   integrity, to Twitter.         I mean, it's just been a massive
23   attack.    But then, you know, you're right over target,
24   right?
25                     DR. SHIVA:     It wasn't Twitter acted alone.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP493
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 494 of 971

                                                                            86
                 Steve Bannon Broadcast - February 11, 2021


 1   We found the government --
 2                     MR. LINDELL:      Right.    (Inaudible.)
 3                     DR. SHIVA:     -- contacting Twitter.         Now,
 4   this is a fundamental violation of the First Amendment.
 5   Political speech -- government speech cannot supersede
 6   political speech.       So I -- I bet you you'll find out
 7   that some government official may have likely been
 8   involved in contacting Twitter in your case.
 9                     MR. LINDELL:      Oh, there's big -- oh, yeah.
10   Well, we --
11                     DR. SHIVA:     And that's what --
12                     MR. LINDELL:      I know Jack Dorsey was
13   involved.     Jack, if you're out there, I mean, you did
14   this to my movie a couple years ago with Unplanned,
15   where they shut Twitter down -- shut -- Twitter shut
16   that down for two hours when it -- when it launched.
17                     DR. SHIVA:     I see.
18                     MR. LINDELL:      I mean, you look at -- we're
19   getting into a whole segment there where you're talking
20   about how -- we all know the social media, what they've
21   done, you know, from Mark -- from Mark Zuckerberg and
22   Jack Dorsey.      These platforms, the power they have along
23   with the mainstream media, you know, what did they do
24   when they took over -- you talk about third world
25   country, in Nazi Germany, they took over, you know, all




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP494
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 495 of 971

                                                                             87
                 Steve Bannon Broadcast - February 11, 2021


1    your -- any -- in any country like that, they'll take
2    over your communication.
3                     You know, how are we going to communicate?
4    You're here and one sec (making noise), you know, and --
5    and this is where we're at.         But we're going to get this
6    out there.     This show is going to be -- this is what
7    everybody's been waiting for.
8                     And, you know, if I -- I encourage a
9    newscast out there, if you're -- all these journalists
10   and all you -- and all you guys that have been calling
11   me, all -- for three weeks now, you never called me
12   before, your -- from your CNNs to your New York Times,
13   your Washington Post, all you guys have been calling me
14   nonstop every day because you think you got some kind
15   of -- making up some dirt or something from -- because
16   Dominion -- you're saying things about Dominion.
17                    I encourage all you, why don't you be a
18   real journalist and take this story and run with it.                   Be
19   the first one to go, Wow, this is real.             You'd -- maybe
20   you become the biggest outlet in the country by doing
21   that.   Just (inaudible) --
22                    DR. SHIVA:      Because the real crime scene in
23   America is these computer algorithms.
24                    MR. LINDELL:      And I'm going to tell you,
25   it's -- that is the crime scene.           And I'm going to tell




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP495
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 496 of 971

                                                                            88
                  Steve Bannon Broadcast - February 11, 2021


 1   you, this is their game too, that these machine guys
 2   played, espe- --       with, like, Dominion, they went out
 3   there and a lot of these places, I couldn't even go on
 4   the media and talk about these machines because they
 5   were threatened.
 6                     I go on a -- I go on a news talk show and
 7   they go, Well, you can't talk about that.              I was just on
 8   one last night.       You can't talk about that.          Why not?
 9

10                     MR. BANNON:     Look, Mike, you know,
11   Dr. Shiva, I think he's got, what, four degrees from
12   MIT.    This guy's -- this guy's the proverbial man with
13   two brains.     He -- he came up, he actually found out
14   about this weighted race part of it.             But also, this
15   whole thing with Twitter and -- and the TRO, walk us
16   through exactly what he was talking about.
17                     MR. LINDELL:      Well, it's very interesting
18   because he's a guy that wouldn't back down.               He knew he
19   got cheated in his race, and he did, he dug into the
20   machines and he found the weighted race feature on the
21   machines, and he kept digging, and then he got it --
22   brought it before a judge.          Well, then the Secretary of
23   State, when -- when he put the evidence up, just like I
24   did, you know, the evidence got taken down, his Twitter
25   got taken down.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP496
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 497 of 971

                                                                             89
                 Steve Bannon Broadcast - February 11, 2021


 1                     So then he dug into it, and sure enough,
 2   the Secretary of State did it.           So the judge gave --
 3   ruled in his favor and gave the Secretary of State a
 4   restraining order.       And what he's saying there, the
 5   government got involved and order -- that's communis- --
 6   ordered a private company or a company to -- to do this.
 7   For all I know, you know, maybe that's what happened
 8   when they took mine down.         Maybe somebody ordered Jack
 9   Dorsey to do it.       I don't know.
10                     But all I know is that the -- if you watch
11   this here, you know, you've got people like Dr. Shiva, a
12   great patriot, he's not going to give up.              Now he's
13   putting his whole life into this.            It's not -- it's not,
14   you know, you lost.        He's got a lot of better things to
15   do, but he realizes the importance of this country.                    And
16   with this weighted race feature on these machine, he
17   knows it came through the machines.
18                     And look at the suppression.           Look how --
19   the government tried to stop him by -- by going to a --
20   a social media platform and telling him to take it down.
21   I mean, it -- it -- you can't get any more than that.                   I
22   mean, how -- and -- and this didn't get big press.
23   That's what -- when I talked to Dr. Shiva, this didn't
24   make big news.      Not many people know about it.            I mean,
25   it's one of -- it's one of the --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP497
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 498 of 971

                                                                            90
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. BANNON:     Yeah.
 2                     MR. LINDELL:      -- cases open in the United
 3   States and it --
 4                     MR. BANNON:     Yeah.
 5                     MR. LINDELL:      -- keeps getting to the next
 6   level.    It's pretty amazing.
 7                     MR. BANNON:     Yeah.     I -- I think the
 8   reas- -- I think it's the reason -- the great thing of
 9   the film, you're bringing that up, and Dr. Shiva's a
10   smart guy.     He's relentless.
11                     MR. LINDELL:      Yeah.
12                     MR. BANNON:     But let's go to where the
13   action is.     That's in Michigan.          Michigan is one of the
14   most controversial states in this entire election.
15   We're now going to go to Patrick Colbeck and Mellissa
16   Carone -- Mellissa Carone become a national hero at the
17   hearing and also when Saturday Night Live mocked her
18   dur- -- about the Rudy Giuliani hearing.              So let's go to
19   Michigan and hear these two, and then we'll come back
20   after that, have Mike Lindell comment.
21                     (Plays video.)
22                     MR. LINDELL:      Okay.    Now we have Patrick
23   Colbeck.    And he was a former state senator in Michigan.
24   And Patrick, how are you involved with all -- you know,
25   what brought you here today?




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP498
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 499 of 971

                                                                            91
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. COLBECK:      Yeah.    Well, it came from --
 2   as a result of my decision to be a poll challenger out
 3   of the Detroit AV Counting Board.            I did a marathon
 4   25-hour shift from -- to -- starting on election night
 5   around 5 o'clock all the way through the next day.
 6                     MR. LINDELL:      Wow.    This --
 7                     MR. COLBECK:      So we witnessed all the
 8   fun --
 9                     MR. LINDELL:      This was in Michigan?
10                     MR. COLBECK:      Yep.
11                     MR. LINDELL:      Where at in Michigan, what
12   county?
13                     MR. COLBECK:      At the Detroit AV Counting
14   Board in Wayne County.         Well, a little background on me,
15   I mean, I was a form- -- when I was a state senator, I
16   was actually the vice chair of the Elections Government
17   Re- -- or Elections and Government Reform Committee in
18   the Michigan State Senate.
19                     MR. LINDELL:      Right.
20                     MR. COLBECK:      And in addition to that
21   background, my background's as a Microsoft small
22   business specialist.        And -- and I did cabling design on
23   the space station.       So in other words, I'm familiar with
24   election processes and I'm familiar with network
25   configurations.      So my focus, when I came at the Detroit




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com        800.445.9548

                                  APP499
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 500 of 971

                                                                            92
                 Steve Bannon Broadcast - February 11, 2021


1    AV Counting Board was, I wanted to understand
2    specifically the hand-off of vote tally information
3    throughout the system.        We did see evidence that it was
4    connected to the internet.
5                     MR. LINDELL:      What was that evidence?
6                     MR. COLBECK:      Well, that -- that control
7    center -- they've already been -- they've already
8    admitted to the fact that that control center had
9    computers that were connected to the internet.               And we
10   saw the actual cable routed from the wall of the -- of
11   the TCS center to the control center.            And we have
12   election officials that admitted that there were
13   computers --
14                    MR. LINDELL:      That were online.
15                    MR. COLBECK:      -- in that control center --
16                    MR. LINDELL:      That were online.
17                    MR. COLBECK:      -- that were connected to the
18   internet.    And anybody with -- worth their salt in IT
19   land understands that if one computer's connected to the
20   internet, they're all --
21                    MR. LINDELL:      They're all connected.
22                    MR. COLBECK:      -- connected to the internet.
23   You may say that it's air gapped --
24                    MR. LINDELL:      Right.
25                    MR. COLBECK:      -- you may say you have a




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP500
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 501 of 971

                                                                            93
                 Steve Bannon Broadcast - February 11, 2021


1    firewall --
2                     MR. LINDELL:      So that would be --
3                     MR. COLBECK:      -- but there's people that
4    eat firewalls for breakfast.
5                     MR. LINDELL:      So -- so that -- so what
6    you're saying, you knowing that, so if it's connected to
7    the internet, somebody out there could have hacked in --
8                     MR. COLBECK:      Yeah.
9                     MR. LINDELL:      -- and then did the flipping
10   of the votes.
11                    MR. COLBECK:      An- -- yep.      When you get
12   into a case where you've got the same devices that are
13   supposed to be capturing that vote tally connected to
14   the internet, or frankly even connected to a large local
15   area network --
16                    MR. LINDELL:      Right, right.
17                    MR. COLBECK:      -- and you can't witness that
18   hand-off --
19                    MR. LINDELL:      Right.
20                    MR. COLBECK:      -- of vote tallies, you don't
21   have that seal.      So you may be thinking you're passing
22   that information from Point A to Point B, but there's
23   nothing --
24                    MR. LINDELL:      It's intercepted.
25                    MR. COLBECK:      -- to prevent it being --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP501
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 502 of 971

                                                                            94
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      So --
 2                     MR. COLBECK:      -- from going to Point C --
 3                     MR. LINDELL:      Right.
 4                     MR. COLBECK:      -- in the interim.
 5                     MR. LINDELL:      So that --
 6                     MR. COLBECK:      -- it's called the "man in
 7   the middle" attack.
 8                     MR. LINDELL:      Right.    So that -- so if
 9   you're on -- if you're online, I mean, anybody could get
10   in there --
11                     MR. COLBECK:      Yeah.
12                     MR. LINDELL:      -- and then do that because
13   they're intercepting that -- it's an interception.
14   That's why you don't have --
15                     MR. COLBECK:      Right.
16                     MR. LINDELL:      -- machines aren't supposed
17   to be online in election, right?
18                     MR. COLBECK:      Yes --
19                     MR. LINDELL:      They're not --
20                     MR. COLBECK:      -- it's called "man in the
21   middle."
22                     MR. LINDELL:      Right.
23                     MR. COLBECK:      And you wouldn't accept
24   that -- if it was a traditional precinct and you got
25   that -- you got that precinct result and it wasn't




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP502
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 503 of 971

                                                                            95
                 Steve Bannon Broadcast - February 11, 2021


1    sealed, you'd be raising your hand saying, Something's
2    rotten here.
3                     MR. LINDELL:      Absolutely.      I want to ask
4    this, though, because if you were there, did it slow
5    down in the middle of the night when you were there,
6    like --
7                     MR. COLBECK:      Absolutely.
8                     MR. LINDELL:      -- at 2:00 in the morning?
9                     MR. COLBECK:      Yeah, it was --
10                    MR. LINDELL:      So it slowed down to a
11   trickle?
12                    MR. COLBECK:      It was almost dead as the
13   night, yeah.     And that's when some ballots came in the
14   backdoor.
15                    MR. LINDELL:      Well, now we're here with
16   Mellissa Carone, and you were actually hired by Dominion
17   for November 3rd and 4, just for two days --
18                    MS. CARONE:      Yes.
19                    MR. LINDELL:      -- right?
20                    MS. CARONE:      Yeah.
21                    MR. LINDELL:      And -- and they found you
22   online, right?      You had a resume online --
23                    MS. CARONE:      Right.
24                    MR. LINDELL:      -- you have an IT background?
25                    MS. CARONE:      Yep, yep.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP503
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 504 of 971

                                                                            96
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Okay.    So why don't you tell
2    us, you know, tell us what happened.
3                     MS. CARONE:      So I was there to assist with
4    IT work --
5                     MR. LINDELL:      Okay.
6                     MS. CARONE:      -- for Dominion.
7                     MR. LINDELL:      Okay.
8                     MS. CARONE:      So what I was doing was just
9    walking up and down the rows of the tabulating machines.
10                    MR. LINDELL:      By the machines?
11                    MS. CARONE:      Yeah.    Yeah.
12                    MR. LINDELL:      Okay.    So there's -- it's a
13   tabulating machine?
14                    MS. CARONE:      Yeah.    So I could get very
15   close to these machines.
16                    MR. LINDELL:      Okay.    So then -- so what
17   about the -- is -- was that the only kind of machine?
18                    MS. CARONE:      No, there was -- so there --
19   on the stage, there was adjudication machines in the
20   front and the back --
21                    MR. LINDELL:      Okay.
22                    MS. CARONE:      -- and then on the sides,
23   there was the adjudica- --
24                    MR. LINDELL:      Okay.
25                    MS. CARONE:      Or the -- that's -- I'm sorry,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP504
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 505 of 971

                                                                            97
                 Steve Bannon Broadcast - February 11, 2021


1    the tabulating machines.
2                      MR. LINDELL:     Right.    Both Dominion
3    machines, correct?
4                      MS. CARONE:     Both Dominion machines.
5                      MR. LINDELL:     Okay.    All right.      So you got
6    to see, what, thousands of votes?
7                      MS. CARONE:     Thou- -- thousands.
8                      MR. LINDELL:     Thousands upon thousands of
9    votes?    Okay.    What was on every vote?
10                     MS. CARONE:     Every vote that I saw was for
11   Joe Biden.
12                     MR. LINDELL:     For Joe Biden.       When I heard
13   this -- and I want to say, the -- you've seen -- you
14   worked how many hours, 20- --
15                     MS. CARONE:     22 straight hours that night.
16                     MR. LINDELL:     And then you came back for
17   four hours?
18                     MS. CARONE:     Correct.
19                     MR. LINDELL:     Out of all that time, did you
20   ever see one Trump vote?
21                     MS. CARONE:     I never saw a single Trump
22   vote.
23                     MR. LINDELL:     Right.
24                     MS. CARONE:     So when the ballots got to the
25   tabulating machines, they would just put them through --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP505
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 506 of 971

                                                                            98
                 Steve Bannon Broadcast - February 11, 2021


1    put them -- it's kind of like a printer, you would look
2    at it kind of like a printer where the paper would come
3    out --
4                     MR. LINDELL:      Right.
5                     MS. CARONE:      -- normally --
6                     MR. LINDELL:      Yep, yep.
7                     MS. CARONE:      -- that's where they were put
8    in.   And it would end up, as they were tabulated, on the
9    top of the machine.       Okay?
10                    MR. LINDELL:      Right.    Right.
11                    MS. CARONE:      So these would jam constantly,
12   constantly jam.
13                    MR. LINDELL:      Right, right.
14                    MS. CARONE:      And because these are mail-in
15   ballots, the creases --
16                    MR. LINDELL:      Right, right.
17                    MS. CARONE:      -- anything in them would --
18   would jam this in the tabulator.
19                    MR. LINDELL:      And when they jammed, what
20   happened?
21                    MS. CARONE:      When they jammed --
22                    MR. LINDELL:      This is very interesting.
23                    MS. CARONE:      -- they would take the ballot
24   and the compu- -- there was a computer in front of each
25   person.




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP506
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 507 of 971

                                                                            99
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Right.
 2                     MS. CARONE:      It would say Ballot No., you
 3   know, 20 --
 4                     MR. LINDELL:      20.
 5                     MS. CARONE:      -- jammed.
 6                     MR. LINDELL:      Out of a group of 50?
 7                     MS. CARONE:      Yeah.
 8                     MR. LINDELL:      So the 20th ballot jammed?
 9                     MS. CARONE:      Uh-huh.
10                     MR. LINDELL:      Then what?      Then what?
11                     MS. CARONE:      So it would say "discard or
12   rescan."     And the way they were supposed to do it is
13   discard them and -- and then rescan them, but they were
14   not discarding these, so --
15                     MR. LINDELL:      So they used the same --
16   let's say 30 went through, it got stuck on the 30th
17   one --
18                     MS. CARONE:      Uh-huh.
19                     MR. LINDELL:      -- they put that No. 30 at
20   the top of the same 50 pack --
21                     MS. CARONE:      Yeah.
22                     MR. LINDELL:      -- and run them through
23   again?
24                     MS. CARONE:      Yeah.
25                     MR. LINDELL:      So you're telling me that




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP507
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 508 of 971

                                                                            100
                 Steve Bannon Broadcast - February 11, 2021


1    tabulator had no way to know -- it's just counting
2    the -- the number of -- like a -- counting a deck of
3    cards?
4                     MS. CARONE:      That's exactly what it was
5    doing.
6                     MR. LINDELL:      It's not -- you could sit
7    there and run the same deck of cards through this
8    tabulator --
9                     MS. CARONE:      Yes.
10                    MR. LINDELL:      -- over and over and over and
11   over again --
12                    MS. CARONE:      Yeah.
13                    MR. LINDELL:      -- is that right?
14                    MS. CARONE:      So one time through the night,
15   I approached my manager and I said, This -- this machine
16   has a count of over 400 on it.
17                    MR. LINDELL:      Right.
18                    MS. CARONE:      I said, What's going on here?
19   And he -- I said, This is not right.            There's -- it
20   should not go above 50.        There should -- because the
21   batches are only 50.
22                    MR. LINDELL:      Only 50.
23                    MS. CARONE:      And I said, We have a huge
24   problem here.      And he said, I don't -- he pulled me
25   aside and he said, I don't want to hear that we have a




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP508
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 509 of 971

                                                                            101
                 Steve Bannon Broadcast - February 11, 2021


1    problem.    He said, We are here to assist with IT work --
2                       MR. LINDELL:    Now, was this a Dominion guy?
3                       MS. CARONE:    He -- he own -- he's actually
4    a part-owner of Dominion.
5                       MR. LINDELL:    Wow.     Okay.
6                       MS. CARONE:    Yes.
7                       MR. LINDELL:    What?    So 26 hours of
8    watching ballot after ballot --
9                       MS. CARONE:    Uh-huh.
10                      MR. LINDELL:    -- by -- walking up and down
11   these tabulating machines, not one ballot was for Donald
12   Trump.
13                      Okay.   Mike, look, Patrick Colbeck, the
14   former state senator and Mellissa Carone, the former
15   employee of these two, they assert -- you know, Colbeck
16   says, Hey, it was on the internet.            Plus, you got these
17   vans coming in the middle of the night.             And I know that
18   Gateway Pundit, I think, put up some additional video
19   the other day.
20                      But people there are saying that it didn't
21   happen.    Okay?     And I think Dominion has been adamant,
22   they're not connected to the internet.              And Colbeck says
23   they are.
24                      MR. LINDELL:    Right.
25                      MR. BANNON:    Also, Mellissa Carone, I think




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP509
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 510 of 971

                                                                            102
                 Steve Bannon Broadcast - February 11, 2021


1    she says in 26 hours, she didn't see one vote for Trump.
2    There are other people that just sit there and say, She
3    wasn't trained, she doesn't know what she's talking
4    about, and it didn't happen.          What are you going to do
5    to give additional evidence backed up about what the
6    assertions of these two people are?
7                     MR. LINDELL:      Well, I have all kinds of
8    that, and I can put it up on the website from both of
9    these two.     But the reason I wanted to put them in there
10   was a couple reasons.        One is that -- just to show you,
11   they were plugged in and there's all kinds of evidence
12   that he has as state senator.          But with Mellissa, it was
13   li- -- it was interesting to me, because she was hired
14   by Dominion.
15                    So she was hired by Dominion and she was
16   actually -- when Michigan had that huge spike, which
17   I've always wondered about, you know, this huge spike,
18   one of the big fallacies of this whole election was that
19   the mail-in votes were co- -- were counted last.               No,
20   they were counted first.         In Michigan, they were counted
21   first.
22                    So everybody thought, oh, the middle of the
23   night, well, of course, all these votes came in from --
24   you know, they were mail-in votes, they're for Biden.
25   No.   Those votes came -- one of the thing Mellissa was




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP510
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 511 of 971

                                                                            103
                 Steve Bannon Broadcast - February 11, 2021


1    allowed to do because she was a "Dominion employee,"
2    there was only two of them there that were hired.                They
3    didn't get -- they only gave them an hour training, and
4    all they were supposed to do is walk up and down the
5    machines.
6                     So they could get close to the machines,
7    where poll watchers couldn't.          They had to stay six feet
8    away.    So she had -- she had -- it was interesting, to
9    me anyway, that she had access to see every single
10   thing.    And she never seen one Trump vote because this
11   was where they had to -- they had to do --
12                    MR. BANNON:      Okay.
13                    MR. LINDELL:      -- the big spike you seen.
14                    MR. BANNON:      Okay.
15                    MR. LINDELL:      So you know, I mean, you know
16   what -- and I'm going to put up --
17                    (Speaking simultaneously.)
18                    MR. BANNON:      But -- but -- but, Mike, I
19   think -- but -- but you're -- you're -- you're committed
20   to put up additional information that backs up what
21   Mellissa and former State Senator Colbeck are saying,
22   right?
23                    MR. LINDELL:      Right.
24                    MR. BANNON:      You're committed to do that?
25                    MR. LINDELL:      Right.    And -- and see, I'm




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP511
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 512 of 971

                                                                             104
                 Steve Bannon Broadcast - February 11, 2021


1    not here to prove all the -- all that kind of fraud.
2    I'm here to show you about machines.            This shows just
3    one other thing of what they did with the machines.
4    And, yes, I'm going to show all that evidence, I'll put
5    it up on the website.        But what they did, they filled
6    up --
7                     MR. BANNON:      Okay.
8                     MR. LINDELL:      -- these fobs, and they went
9    down and they did a dump.         They did a
10   hundred-and-some-thousand dump, boom, just put into the
11   machines.    You got -- you do that online, you guys.               I
12   mean, just, boom.       That was just another way you can
13   cheat with these machines.         So that's very important.
14                    MR. BANNON:      Okay.
15                    MR. LINDELL:      But I will put all that stuff
16   up on the website.
17                    MR. BANNON:      Okay.
18                    MR. LINDELL:      We just -- because I wanted
19   to focus --
20                    MR. BANNON:      Okay.
21                    MR. LINDELL:      -- this show on the machine
22   fraud --
23                    MR. BANNON:      Yeah.
24                    MR. LINDELL:      -- but I just wanted to put
25   that in there --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP512
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 513 of 971

                                                                            105
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. BANNON:     Yeah.
 2                     MR. LINDELL:      -- because some of these
 3   things that were unexplainable, you're all going to know
 4   how they happened.
 5                     MR. BANNON:     Okay.     I want to get to Matt
 6   DePerno.    I think he's the Jimmy Stewart figure in this
 7   movie.    Very powerful testimony.          We're going to break
 8   into a couple of pieces.         Matt DePerno.       We're going to
 9   stay in Michigan.       Mike Lindell returning with Matt
10   DePerno in a second.
11                     (Plays video.)
12                     MR. LINDELL:      Okay.    Now we're here with
13   Matt DePerno, and he's the lawyer that we all heard
14   about -- this Antrim County.          How did you get this
15   county that you hear about and how do you even get
16   involved in this?
17                     MR. DEPERNO:      Sure.    Well, I know some
18   people who live up in Antrim County, and Antrim County
19   is a small county up in northern Michigan.               It
20   historically votes roughly 65 percent Republican,
21   35 percent Democrat.        And in this case, it completely
22   flipped on election night, roughly 65 percent of the
23   vote went to Joe Biden and 35 percent to Donald Trump.
24                     So people who lived up there knew that
25   there was a problem, they knew that the results were not




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP513
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 514 of 971

                                                                            106
                 Steve Bannon Broadcast - February 11, 2021


1    correct.     And on the morning of November 4th, they
2    actually contacted the Antrim County Clerk and requested
3    that she look into the results because they knew what
4    had been posted on the website could not be true.
5                     And through a series of events, people I
6    knew up there and -- and a person named Bill Bailey,
7    who's a -- a patriot who lives up in Antrim County and
8    who knew there was a problem and wanted to challenge the
9    results, they ended up connecting him to me and I filed
10   a lawsuit.     But what's important is, in -- in filing
11   this lawsuit, we weren't seeking publicity, we weren't
12   seeking fame, we just wanted to get results.
13                    We filed an -- the name and in the name of
14   a patriot named Bill Bailey and we challenged down
15   ballot school board elections.          That's what he was most
16   interested in and in learning about school board
17   elections.     Of course, he was obviously also interested
18   in other aspects of the election, what happened in the
19   presidential election and how did things flip.
20                    But primarily, we -- the -- the case
21   centered on local politics.         But if you look at certain
22   tow- -- townships like Chestonia Township --
23                    MR. LINDELL:      Okay.
24                    MR. DEPERNO:      -- Joe Biden got 197 votes on
25   November 3rd.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP514
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 515 of 971

                                                                            107
                  Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Right.    Right.
 2                     MR. DEPERNO:      In reality, he only got 93.
 3   After --
 4                     MR. LINDELL:      And how do you know that,
 5   that he only got 93?
 6                     MR. DEPERNO:      Because there's since been a
 7   hand recount done.
 8                     MR. LINDELL:      A hand recount.       So when did
 9   they do that?
10                     MR. DEPERNO:      They did a hand recount on
11   November 21st and then again on December 17th.
12                     MR. LINDELL:      Right, right.      Okay.
13                     MR. DEPERNO:      On December 17th, actually,
14   they told us they were going to do a full audit of the
15   county --
16                     MR. LINDELL:      Right.
17                     MR. DEPERNO:      -- the Secretary of State
18   did.    But in -- in reality, they only did a hand recount
19   again.
20                     MR. LINDELL:      Okay.
21                     MR. DEPERNO:      So --
22                     MR. LINDELL:      So on the recounts, we got
23   197, and then over here, Donald Trump had 3 [sic].                  So
24   then when you -- the real numbers were 93 and 197; is
25   that correct?




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP515
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 516 of 971

                                                                            108
                 Steve Bannon Broadcast - February 11, 2021


 1

 2                     MR. DEPERNO:      That's correct.       So you can
 3   see Joe Biden on election night --
 4                     MR. LINDELL:      Right.
 5                     MR. DEPERNO:      -- got 197.
 6                     MR. LINDELL:      Right.
 7                     MR. DEPERNO:      He got Donald Trump's 197
 8   votes.
 9                     MR. LINDELL:      Right -- they -- right.
10                     MR. DEPERNO:      We can know -- we know that
11   that was a --
12                     MR. LINDELL:      This is 100 percent fact
13   here.
14                     MR. DEPERNO:      100 percent factual.
15                     MR. LINDELL:      Now -- now, what we're
16   showing here, you guys, so everyone knows, these are all
17   precincts.     I don't know if you can see this here, but
18   these are all precincts.         So let's just do this
19   precinct -- precinct.        392.    This is done through the
20   machines, and Donald Trump got 8.            What?    So here is 392
21   to 8, but the real number was 198 to 392.
22                     MR. DEPERNO:      And if you see here, Elk
23   Township, Joe Biden got 392 on the election --
24                     MR. LINDELL:      Right.
25                     MR. DEPERNO:      -- in reality, those are




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP516
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 517 of 971

                                                                            109
                 Steve Bannon Broadcast - February 11, 2021


 1   Donald Trump's votes, those were the 392.
 2                     MR. LINDELL:      Right.    They were just
 3   flipped.    In order for that to be off, you do the
 4   conclusion, which I would right now, 100 percent, how
 5   could that be off?        There would be something wrong with
 6   what?
 7                     MR. DEPERNO:      The machine.
 8                     MR. LINDELL:      The machines.      The machines.
 9   And what we're showing here right now, what you're going
10   to see, all this that we've been talking about, this
11   massive machine election fraud that went on where
12   countries hacked into our election -- and nationwide,
13   this is one little county in northern Michigan.                And
14   these machines would do it right down to the precinct.
15                     Okay.    What we -- you're going to see --
16   this is the example we have that where -- that was
17   hand-counted and that, you know, the rest of the
18   country, you know, didn't get to do that.              They didn't
19   have the luxury of being able to do that, you know.                    And
20   so what I want to tell y'all, is this is the perfect
21   example, just so you know, right down to the precinct
22   level what went on with these machines.              I want -- want
23   to see one more here.        So --
24                     MR. DEPERNO:      Well, you can look at, like,
25   the Kearney Township --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP517
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 518 of 971

                                                                            110
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Yeah.
 2                     MR. DEPERNO:      -- Joe Biden got 744 on
 3   election night.
 4                     MR. LINDELL:      Right.
 5                     MR. DEPERNO:      Those were Donald Trump's
 6   votes.    He actually recorded 16 on election night.
 7                     MR. LINDELL:      Okay.    So here's this county
 8   that traditionally always is, like, 65 percent
 9   Republican, 35 percent Democrat, correct?
10                     MR. DEPERNO:      Correct, that's correct.
11                     MR. LINDELL:      Okay.    So everyone in the
12   county knew when these numbers came in on -- on
13   November 4th, they're going, um, there's something wrong
14   with the machines.       Everyone.      Everyone would think
15   that.    It wouldn't matter if you're a Democrat or
16   Republican.     You're going, Wow.          And it's not like --
17   what -- and they couldn't use the deviation, saying,
18   Well, it was because of mail-in voting because this
19   isn't -- there's no huge cities in there like Detroit,
20   correct?
21                     MR. DEPERNO:      That's correct.       So --
22                     MR. LINDELL:      Right -- so I just want
23   everyone out there to know this before you get
24   (inaudible).      This is just a small county, northern
25   Michigan, and they ended up flipping -- we had 15,718




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP518
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 519 of 971

                                                                            111
                 Steve Bannon Broadcast - February 11, 2021


 1   votes -- votes --
 2                     MR. DEPERNO:      15,718 votes.
 3                     MR. LINDELL:      Votes.     And 7,060 were
 4   flipped from Bi- -- or Trump to Biden; is that correct?
 5                     MR. DEPERNO:      Yeah.     And what's more --
 6   even more --
 7                     MR. LINDELL:      Wow.
 8                     MR. DEPERNO:      -- what's even more
 9   interesting --
10                     MR. LINDELL:      By machine -- by machines,
11   right?
12                     MR. DEPERNO:      By machines.
13                     MR. LINDELL:      It had to be done by the
14   machines?
15                     MR. DEPERNO:      Absolutely by machines.
16                     MR. LINDELL:      Okay.
17                     MR. DEPERNO:      If you look at the original
18   vote count, 7,769 --
19                     MR. LINDELL:      Right.
20                     MR. DEPERNO:      -- for Do- -- Joe Biden and
21   4,509 for Donald Trump.
22                     MR. LINDELL:      Right, right.
23                     MR. DEPERNO:      That actually totals 12,278
24   votes --
25                     MR. LINDELL:      Right.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP519
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 520 of 971

                                                                            112
                  Steve Bannon Broadcast - February 11, 2021


1                     MR. DEPERNO:      -- by machine on
2    November 3rd.      That's the vote tally.
3                     MR. LINDELL:      Right.
4                     MR. DEPERNO:      That wasn't correct 'cause if
5    you look at the hand recount, it was actually 5,959 for
6    Joe Biden and 9,759 --
7                     MR. LINDELL:      Right.
8                     MR. DEPERNO:      -- for Donald Trump, which
9    gets us to 15,718 --
10                    MR. LINDELL:      Got ya.
11                    MR. DEPERNO:      So the question is, where
12   did -- where were the 3200 votes --
13                    MR. LINDELL:      Right.
14                    MR. DEPERNO:      -- on election night?
15                    MR. LINDELL:      Right.
16                    MR. DEPERNO:      Why weren't they recorded?
17                    MR. LINDELL:      And -- right.      And that --
18   but -- but even -- even with that -- and we don't know
19   why.     We don't know why on that.         We're -- I'm here to
20   show everyone out the facts and evidence that I've seen
21   100 percent.     Here's 100 percent.        This little county in
22   northern Michigan, look at what the difference was.                 It
23   was a net of 5,250 votes; is that correct?
24                    MR. DEPERNO:      That's a net for Donald
25   Trump.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP520
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 521 of 971

                                                                            113
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      That's a net for Donald
2    Trump.    There was 7,000 -- that's where you get the
3    7,060 votes.
4                     MR. DEPERNO:      So what I want to show you
5    here in the next slide is actually the number of
6    registered voters.       This is what you're getting to.            The
7    number of registered voters in the county is twen- --
8    22,082 votes.
9                     MR. LINDELL:      Right.
10                    MR. DEPERNO:      And this is the total number
11   of votes cast by machine on November 3rd --
12                    MR. LINDELL:      Right.
13                    MR. DEPERNO:      -- 16,047.      Now, of course,
14   not everyone votes for the president --
15                    MR. LINDELL:      Right.
16                    MR. DEPERNO:      -- so that's why there's
17   going to be some disparity.
18                    MR. LINDELL:      Right.
19                    MR. DEPERNO:      But you see what happened in
20   Antrim County.      On November 3rd, there were 16,047 votes
21   cast.
22                    MR. LINDELL:      Right.
23                    MR. DEPERNO:      And then on November 5th when
24   they did a recount, somehow they gained 2,000 more
25   votes.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP521
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 522 of 971

                                                                            114
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Wow.
2                     MR. DEPERNO:      And we haven't got an
3    explanation as to why that happened.
4                     MR. LINDELL:      Right.    But -- but we do
5    have -- we do know that there was 7,000 -- if you
6    were -- if you were to say right now and go, you know
7    what, we do know that 7,060 -- Donald Trump had 7,060
8    more votes net out of this county.
9                     MR. DEPERNO:      That's correct.
10                    MR. LINDELL:      That's 100 percent fact.
11                    MR. DEPERNO:      100 percent fact.
12                    MR. LINDELL:      100 percent fact.
13                    MR. BANNON:      Look, Mike, you talk about
14   providential.      Here, you've got an attorney up in a
15   small county up in Northern Michigan that really has a
16   guy come and complain about school board seat.               This
17   wasn't even about the presidential election.              But those
18   folks knew something was so extraordinary.              This is a
19   65/35 county, and they know their neighbors.              This is
20   rural, you know, Northern Michigan, right, so they knew
21   something was up right away, but the authorities didn't
22   want to deal with it.
23                    But he got a school -- a guy just wanted to
24   check the school board running because he couldn't
25   figure out what went wrong.         And that's why -- remember,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP522
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 523 of 971

                                                                            115
                 Steve Bannon Broadcast - February 11, 2021


 1   this is why I say Matt DePerno's the Jimmy Stewart
 2   figure, because he's the only attorney in the country
 3   that's really gotten in court, gotten a judge to issue
 4   an order to let him go in and do an actual forensic
 5   audit on the machines.
 6                     What do you got to say about that, Mike?
 7                     MR. LINDELL:      Well, that -- and that's --
 8   I've talked to Matt in-depth and I said, you know,
 9   that's a little mir- -- miracle that that happened.
10   Otherwise, none of the machines would have got into.
11   There were judges all across the country, didn't want to
12   be the first one, they were blocked, they were going --
13   somebody would get to them, talking about procedure.
14                     So everyone says, Well, there was no
15   evidence looked at.        Yes, there was.       In this county --
16   and it's -- it's just like you said, here's a county
17   that's con- -- traditionally, all the way back, I looked
18   all the way back, 65 percent red, 35 percent blue.                  And
19   all of a sudden, you got 15,000 voters in the county,
20   you know, and 7,700 and -- or some -- or 7 -- over 7,000
21   votes got flipped and you lose the other -- it's flipped
22   on you, and you go -- you're talking to your guys in
23   coffee shop going, How could this happen?              They're
24   going, What di- -- who did you vote for?              They could
25   almost go around the county and say who they voted for.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP523
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 524 of 971

                                                                            116
                 Steve Bannon Broadcast - February 11, 2021


 1                     But here was -- they were all wondering
 2   that, but the big difference was this school board
 3   election.     All of sudden, there's only supposed to be a
 4   couple people voting, and I mean a couple, I think it
 5   was two, and 500 or 300-and-some people voted in that.
 6   So they're talking to each other and going, There's
 7   something wrong.
 8                     So here they come in and this judge, under
 9   the radar, 'cause they weren't talking about the
10   presidential election; otherwise, I guarantee you, the
11   Secretary of State in Michigan or somebody would have
12   stopped this from even looking at it.             Wonder why.
13   We'll find out tonight.         But I'll tell you what, they --
14   Matt comes in there and they start digging into it, and
15   they're going, Wow, you know, we want to be -- do a
16   forensic audit of the machines.           So you have the great,
17   you know, Russ Ramsland, his -- his company comes up
18   there.    They're the best.       And they tried to even block
19   that, but they were able to get what they needed out of
20   that machine, the forensic prints of the machine,
21   everything that happened that night.
22                     And here's an interesting fact.           Tho- --
23   that flip of over 7,000 votes -- now, I think I -- now,
24   I don't -- I'm not going to be exact here, but it was
25   like -- probably the end results were 85 to 90 percent




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP524
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 525 of 971

                                                                            117
                 Steve Bannon Broadcast - February 11, 2021


 1   Donald Trump and 10 to 15 percent Biden.               But the
 2   interesting thing is, what you're going to see at the
 3   end of this show, the last half hour, you're going to
 4   see the cyber footprints we have now from the spyware
 5   matches what that -- was in that machine's identical.
 6   And that is so key that they --
 7                     MR. BANNON:     Okay.     Yeah.
 8                     MR. LINDELL:      And so now you take that
 9   machine --
10                     MR. BANNON:     Yeah.
11                     MR. LINDELL:      -- and the interesting
12   fact -- I want everybody to know, everyone says they --
13   they did everything they could to discredit that county
14   because they were afraid because if you take that county
15   and if it's wrong there in that machine, that blatantly
16   wrong, which is in their report, the report that Matt
17   DePerno, that they did and that Russ Ramsland that came
18   out of there, that -- I think they --
19                     MR. BANNON:     Yeah.
20                     MR. LINDELL:      -- still have it under
21   wraps --
22                     MR. BANNON:     Okay.     Let's --
23                     MR. LINDELL:      -- that -- that is --
24                     (Speaking simultaneously.)
25                     MR. BANNON:     Yeah, let -- let -- let's --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP525
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 526 of 971

                                                                            118
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      -- 100 percent they should
 2   have looked at other machines and they didn't.
 3                     MR. BANNON:     Okay.     Mike, let's go to
 4   the -- I think the next part is one of the most
 5   important parts of the film.          I just want to say, to tee
 6   it up, we're going to go back to Michigan and Matt
 7   DePerno and Mike Lindell about the forensic audit went
 8   on.   Remember, a couple of days after the election, what
 9   they said is that a clerk, I think, made a problem with
10   the software, the way it was installed or hit the wrong
11   button, that this was all a clerical error and that it
12   could easily be unwound.         And oops, you know, we really
13   know -- knew we made it.
14                     But I think it's very important.            This
15   forensic audit by Ramsland's team up in Michigan and --
16   and northern Michigan is very important.              We have
17   DePerno explaining it to Mike Lindell next.               We'll be
18   back in a few minutes.
19                     (Plays video.)
20                     MR. DEPERNO:      So after we filed a lawsuit,
21   we -- we -- at the same time we filed the lawsuit, we
22   also filed a motion with the court, asking the judge to
23   allow us to take forensic images of the Dominion system,
24   the Dominion Voting System.          And -- and he granted that.
25   And we then went in, and I believe it was




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP526
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 527 of 971

                                                                            119
                 Steve Bannon Broadcast - February 11, 2021


1    December 6th --
2                     MR. LINDELL:      Right.
3                     MR. DEPERNO:      -- and with a team of
4    forensic scientists and data collection scientists,
5    we -- we captured the forensic images of the Domi- --
6    Dominion Voting System.        The master tabulator is what we
7    call it, sitting in the county building, along with all
8    of the CF cards, which are the program cards that run
9    the actual software along with the actual data cards or
10   thumb drives that collect and tally the results in each
11   precinct, we captured the forensic images of all of
12   those items --
13                    MR. LINDELL:      Okay.    I want to -- I want to
14   say something there.        So the people -- did you hire
15   these people to do that?
16                    MR. DEPERNO:      Correct.
17                    MR. LINDELL:      Okay.    Were they -- and you
18   didn't know them before this, right?
19                    MR. DEPERNO:      We didn't know them before --
20                    MR. LINDELL:      Right.
21                    MR. DEPERNO:      -- but people got us in
22   contact with them.
23                    MR. LINDELL:      Contact with forensic experts
24   on these particular machines?
25                    MR. DEPERNO:      That's correct.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP527
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 528 of 971

                                                                            120
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      And so -- so that's -- I just
2    want everyone to know that.         This wasn't just some, you
3    know, Hey, let's grab somebody from the county and look
4    at these machines, these were experts.
5                     MR. DEPERNO:      These are people with real
6    experience analyzing forensic software images.
7                     MR. LINDELL:      Wow.
8                     MR. DEPERNO:      It can't be overstated enough
9    that these -- these scientists were also data collection
10   experts.    And that's important because what we saw in
11   Antrim County is the failure to properly follow
12   procedures in securing the election machines, the
13   tabulation machines and securely transferring the votes.
14   The chain of custody in this situation was completely
15   tampered with.
16                    What we know for certain is that in the
17   Dominion system manual, the manual tells us exactly how
18   to connect the machines to the internet.             The manual
19   tells you how to --
20                    MR. LINDELL:      Is it easy?
21                    MR. DEPERNO:      It's very easy.
22                    MR. LINDELL:      Could a guy like me plug it
23   in?
24                    MR. DEPERNO:      I -- I'm certain you could
25   probably figure it out.




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP528
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 529 of 971

                                                                            121
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Wow.
2                     MR. DEPERNO:      But you can -- the manual
3    tells you how to connect the machine --
4                     MR. LINDELL:      Right, right.
5                     MR. DEPERNO:      -- to --
6                     MR. LINDELL:      Right.
7                     MR. DEPERNO:      -- the internet.       In our
8    case, what we found through the forensic study that was
9    conducted was that on November 4th at 11:03 p.m., system
10   files, adjudication files and other source system files
11   were deleted from the Dominion system in Antrim County.
12   We know that for a fact.
13                    MR. LINDELL:      Wow.
14                    MR. DEPERNO:      They were removed.        We don't
15   know who removed them or how they gained access to
16   remove them.     But we do know --
17                    MR. LINDELL:      Okay.    Hold on.     Hold on.      We
18   do now.    You'll see that later in the show.
19                    MR. DEPERNO:      What we know in our case,
20   what we -- in our case, we don't know precisely because
21   Antrim County and the Secretary of State have not given
22   us that information.
23                    MR. LINDELL:      Right.     Right.
24                    MR. DEPERNO:      But we do know that those
25   files were removed on November 4th at 11:03 p.m.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP529
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 530 of 971

                                                                            122
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      What's the significance of
2    that that they're removed?         What does that do to you
3    as -- as trying to investigate this?            What did that do?
4                     MR. DEPERNO:      Well, No. 1, I presume and
5    we've asked the Antrim County prosecutor to investigate
6    whether that was a crime to remove voting information
7    from the system prior to the expiration of a 22-month
8    period --
9                     MR. LINDELL:      Right.
10                    MR. DEPERNO:      -- which the -- the items are
11   required to be maintained.
12                    MR. LINDELL:      But when -- but when that's
13   removed, what did -- that means it was hard for you to
14   do your audit?
15                    MR. DEPERNO:      That's hard for us to review
16   the forensic images to conclusively understand --
17                    MR. LINDELL:      Right.
18                    MR. DEPERNO:      -- whether the machine
19   connected to the internet, because in Michigan, at least
20   38 other counties use the Dominion software.
21                    MR. LINDELL:      Right.
22                    MR. DEPERNO:      So if this is happening in
23   Antrim County and it was exposed in Antrim County --
24                    MR. LINDELL:      Right.
25                    MR. DEPERNO:      -- because of the disparity,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP530
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 531 of 971

                                                                            123
                 Steve Bannon Broadcast - February 11, 2021


 1   because there were only 15,000- --
 2                     MR. LINDELL:      Right.
 3                     MR. DEPERNO:      -- -718 votes cast --
 4                     MR. LINDELL:      You wouldn't -- you wouldn't
 5   notice this in a bigger city if it was that low in
 6   number.
 7                     MR. DEPERNO:      Correct.
 8                     MR. LINDELL:      Right.
 9                     MR. DEPERNO:      If you were in Wayne
10   County --
11                     MR. LINDELL:      Right.
12                     MR. DEPERNO:      -- and 7,060 votes flipped,
13   you wouldn't notice it.
14                     My team of forensic scientists worked
15   tirelessly after December 6th, after we collected the
16   forensic images for about a week, they worked very hard
17   to review those images and put together a report.                 And
18   because of a protective order that was in place in this
19   case, I had to file a motion with the court, asking the
20   judge to allow us to release the -- the report that we
21   had prepared.
22                     And we did that.       We did that on
23   December 14th.      The judge granted our request and
24   allowed us to release what's called the Allied Security
25   Operations Group Preliminary Summary, Version 2, dated




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP531
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 532 of 971

                                                                            124
                 Steve Bannon Broadcast - February 11, 2021


1    December 13th, '22.
2                     MR. LINDELL:      Now, is that public?        Is that
3    public?    It's out there?
4                     MR. DEPERNO:      It is public.
5                     MR. LINDELL:      Right.    So and -- so this is
6    stuff that got put out there.          And I guarantee you, it
7    was probably put out there -- heck, I -- somebody
8    probably put it on their Twitter and -- I bet you it was
9    gone.   You know, they probably tried to spre- -- that's
10   just my opinion.      I had to throw that in there.
11                    MR. DEPERNO:      Well, I can tell you it's
12   been on my website at Depernolaw.com since
13   December 14th, and it has constantly been suppressed for
14   people who try to share the link on Facebook --
15                    MR. LINDELL:      This -- right.
16                    MR. DEPERNO:      -- or Google or through
17   social media, it gets suppressed --
18                    MR. LINDELL:      Right.
19                    MR. DEPERNO:      -- and people are not allowed
20   to share it.
21                    MR. LINDELL:      Right, right.
22                    MR. DEPERNO:      In some cases, they try to
23   share it and a screen comes up that says that -- that
24   this information is not accessible --
25                    MR. LINDELL:      Is -- right, not accurate.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP532
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 533 of 971

                                                                            125
                 Steve Bannon Broadcast - February 11, 2021


1    Here, you had a -- a -- a perfect report, I mean, that
2    they -- even the judge said you could put it out there,
3    correct?
4                     MR. DEPERNO:      Yes.     Everything we've done
5    in this case has been permitted by the court in terms of
6    the ability to release information.
7                     MR. LINDELL:      Right.
8                     MR. DEPERNO:      But what it is, actually,
9    it's information that if revealed would show that the
10   CEO of Dominion software, when he testified in front of
11   the Michigan Senate, this information would show that he
12   was not telling the truth about how the Dominion system
13   works.
14                    MR. LINDELL:      Wow.
15                    MR. DEPERNO:      And here's what we
16   concluded --
17                    MR. LINDELL:      Wow.
18                    MR. DEPERNO:      -- when released the report.
19   This is what it states.        "We conclude that the Dominion
20   voting system is intentionally and purposefully designed
21   with inherent errors to create systemic fraud and
22   influence election results."
23                    Now, that's not my words.          That's the words
24   of the forensic team --
25                    MR. LINDELL:      That looked at this.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP533
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 534 of 971

                                                                            126
                  Steve Bannon Broadcast - February 11, 2021


 1                     MR. DEPERNO:      -- that looked at the
 2   forensic images and came to a conclusion about what they
 3   saw.
 4                     MR. LINDELL:      Right.    So they concluded --
 5                     MR. DEPERNO:      That's what's in the report.
 6                     MR. LINDELL:      They concluded that the only
 7   reason you would have a machine like this is if you
 8   wanted to steal an election?
 9                     MR. DEPERNO:      Correct.     Because what they
10   also found is that this machine in Antrim County
11   generates errors at the rate of 68 percent based on
12   ballots that you put in the machine.
13                     MR. LINDELL:      Right.
14                     MR. DEPERNO:      Krebs this.      When you take a
15   piece of paper and you vote on it, you think when you're
16   voting that you're tallying your vote and then you put
17   that machine -- that piece of paper into the Dominion
18   tabulation machine, right?
19                     MR. LINDELL:      Right.    Right.
20                     MR. DEPERNO:      You know how that process
21   works.
22                     MR. LINDELL:      Yeah.
23                     MR. DEPERNO:      And you think you've voted,
24   but you haven't voted yet.          You haven't voted until that
25   machine actually tabulates your result in the system.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP534
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 535 of 971

                                                                            127
                 Steve Bannon Broadcast - February 11, 2021


 1   When you put the paper in the tabulator --
 2                     MR. LINDELL:      Right.
 3                     MR. DEPERNO:      -- the tabulator takes that
 4   paper, converts it to data, and data can be manipulated.
 5   In the case of the way the Dominion system works, as I
 6   understand it, based on information given to me by my
 7   forensic team, when you insert that paper ballot --
 8                     MR. LINDELL:      Right.
 9                     MR. DEPERNO:      -- into the machine --
10                     MR. LINDELL:      Right.
11                     MR. DEPERNO:      -- and when an error is
12   tabulated --
13                     MR. LINDELL:      Right.
14                     MR. DEPERNO:      -- and Krebs, this machine
15   tabulates them at 68 percent error rate.
16                     MR. LINDELL:      Right.    Wow.
17                     MR. DEPERNO:      Those ballots, those error
18   ballots, go to what's called "adjudication."
19                     MR. LINDELL:      Right.
20                     MR. DEPERNO:      Adjudication is a process
21   where someone else other than the voter is able to look
22   at that ballot --
23                     MR. LINDELL:      Right.
24                     MR. DEPERNO:      -- on a screen and determine
25   the voter's intent and vote that ballot for the voter.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP535
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 536 of 971

                                                                            128
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Right.
 2                     MR. DEPERNO:      And in -- with adjudication
 3   and the way the Dominion system works, you can
 4   accumulate over the night a number of ballots.
 5                     MR. LINDELL:      Yeah.
 6                     MR. DEPERNO:      But what I can tell you,
 7   what's interesting is the 2020 system log files are
 8   missing, but they are present for 2018 and 2016.                This
 9   happened at 11:03 p.m. on November 4th.              What happened
10   on November 4th, the day after the election --
11                     MR. LINDELL:      Right.
12                     MR. DEPERNO:      -- is at least in Michigan,
13   this story broke across the state --
14                     MR. LINDELL:      Right.
15                     MR. DEPERNO:      -- that Antrim County had
16   flipped in this manner.
17                     MR. LINDELL:      Okay.    So it was such a
18   deviation -- everybody hear -- that's why we all heard
19   about Antrim County.        It was such a big deviation, it
20   would be like, you know, the whole time -- you know, for
21   decades or years, whatever, you're -- you're 65 percent
22   Republican and 35 percent and you flip, the whole
23   townspeople are probably having coffee going, What did
24   you do?    They probably did a recount just themselves at
25   the coffee shops, you know.          So now that makes sense.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP536
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 537 of 971

                                                                            129
                 Steve Bannon Broadcast - February 11, 2021


 1   That's why it made nat-         -- made national news.         We all
 2   heard about it.
 3

 4                     MR. BANNON:     Look, in this small county
 5   in -- in northern Michigan, it's kind of -- this gets to
 6   the heart of what the problem is here.             First off,
 7   you've got the -- you've got this 68 percent situation
 8   where it's -- you know, it's -- the overcount is 68
 9   percent, or they're off by 68 percent.             You've also got
10   the situation where, you know, Allied is saying in the
11   manual, that they -- I show the manual and you've shown
12   it, that they're actually connected to the internet.
13                     Mike, is that where you guys believe that
14   you caught Dominion in a bald-faced lie, because they
15   say there, Hey, there's no possibility this thing could
16   be hooked up to the internet, and yet here in the
17   manual, you found there was caught -- that it could be
18   connected to the internet.
19                     MR. LINDELL:      Oh, no, it's -- that's --
20   that's just one of many.         I mean, it's just one lie
21   after another with these people.            I mean, connection to
22   the internet, there's servers overseas.              It just goes on
23   and on.    But you know, when you talk about this case in
24   particular, you just heard -- you know, they're trying
25   to -- you know, they -- right in the -- right in the




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP537
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 538 of 971

                                                                            130
                 Steve Bannon Broadcast - February 11, 2021


1    thing, "Based on our study, we further conclude that the
2    results from Antrim County should not have been
3    certified."     I mean, this is right here, you know, in
4    their report.      And instead of -- and not only that, they
5    should have just went to every other county then.
6                     I mean, this is the most -- if this doesn't
7    show the whole country here, you know, here you had
8    evidence -- you know, the one machine you got to open up
9    and then everyone says, Well, we're not going to open up
10   anymore.     And by the way, they weren't online.            Well,
11   here it is right here, they were online.             I mean,
12   they're not only online, but we've got -- you know, they
13   were used -- and he says it right here, when they went
14   in there to check the cyber footprints or the -- to
15   check these machines, they seen all that.
16                    They seen -- you couldn't have done -- the
17   things that couldn't be done, you had to be online.
18   This is stuff that I asked -- I did my own due
19   diligence.
20                    MR. BANNON:      Okay.
21                    MR. LINDELL:      I asked Russ -- you know,
22   Russ, I said -- and his team, I said, So these machines
23   would have to be online in order for what you see in
24   there to be done?       Absolutely, 100 percent.
25                    MR. BANNON:      Okay.    The other thing I want




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP538
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 539 of 971

                                                                            131
                 Steve Bannon Broadcast - February 11, 2021


 1   to get to is their report.          And is -- is it ever going
 2   to be fully put out?        And here's the reason.         There are
 3   people on the left and people in the mainstream media
 4   that push back on the credentials of -- of Russ.                I
 5   think there were also some calculation mistakes done in
 6   Michigan by adding certain -- on some of the stuff, I
 7   think some of the -- in the court filings.               They had
 8   some mathematical mistakes, including some -- some
 9   districts in Minnesota.         And so people have questioned
10   Allied.
11                     But in their report -- and I don't think
12   this could be more brutal or more stark.              It says, and I
13   quote, "We conclude that the Dominion Voting System is
14   intentionally and purposefully designed with inherent
15   errors to create systematic fraud and influence election
16   results."
17                     Now, when the state of Texas did their
18   assessment, when they decided not to choose Dominion
19   systems, they weren't this harsh.            They were pretty
20   tough on Dominion, is that they had all these types of
21   flaws and they felt -- in their system that they just
22   weren't tight enough, that's why they're not selected
23   for the state of Texas.
24                     Here, they say they're designed to have
25   these flaws.      Now, do you believe this?          Is this one of




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP539
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 540 of 971

                                                                            132
                 Steve Bannon Broadcast - February 11, 2021


1    things that you're -- you're depending upon, this Allied
2    Securities analysis of Antrim County?            Is this one of
3    the things that you depended upon when you make these
4    assertions that Dominion systems is purpose- --
5    purposefully designed to actually have flaws so that you
6    can actually flip votes of which they adamantly say
7    never happened --
8                     MR. LINDELL:      Right.
9                     MR. BANNON:      -- the system's not designed
10   to do that.     In fact, they say it's actually impossible
11   to do that.
12                    MR. LINDELL:      Yeah, you know, you're --
13   you're right, Steve.        They -- it -- it didn't.         I wasn't
14   100 percent then.       I could look there.        I didn't see --
15   you know, I didn't see them plugged in with my own eyes,
16   so I could be very subjective.          It says in the manual,
17   you can go them online and you have thousands and
18   thousands of affidavits from people that said they were
19   online.    You had people that ran them that said they
20   were online.
21                    But that wasn't what I did, my thing.              What
22   you're coming up here in this show is what -- when I
23   knew that they were online.         And even being online, for
24   me, I'm going, okay, even if they were online, you know,
25   did people -- did they steal our election?              That would




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP540
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 541 of 971

                                                                            133
                 Steve Bannon Broadcast - February 11, 2021


1    be my question.      I'm going, okay, you proved they were
2    online.    We all know that.       But does that prove that
3    they actually -- that they stole votes from servers
4    overseas?    No.
5                       But what you're going to see here tonight
6    is, yes, they did.       And this is when I went -- I kept
7    getting -- Steve, I went like this with me.              I kept
8    getting -- hearing more things, I would dig into it,
9    like, you know, with the Russ Ramsland group, I dug into
10   them probably a month and a half before I ever got that
11   piece of evidence on January 9th.           So I'm digging into
12   them, I'm going -- and then all of a sudden, they find
13   all this stuff in Antrim County.
14                      And I'm going, Wow, we got it.         They showed
15   the machines.      All you got to do is just open up the
16   machines in this country and you're going to find all of
17   those votes that were --
18                      MR. BANNON:    Okay.
19                      MR. LINDELL:    -- flipped and flipped.          But
20   you know what --
21                      MR. BANNON:    But -- but you're -- look,
22   look, you're -- you're a tough business guy.              You run
23   your business -- people don't -- maybe not know this,
24   but it's not just making pillows, it's the math in back
25   of that and the math of --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP541
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 542 of 971

                                                                            134
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Right.
 2                     MR. BANNON:     -- sales and marketing.
 3   You're very detailed-oriented when it comes to numbers.
 4   You're very detail-oriented about getting to the bottom
 5   of when numbers change.         Are you confident that you've
 6   done the due diligence on Allied, because I got to tell
 7   you, their report -- and I think the audience needs to
 8   know, when is the full report coming out because I don't
 9   think the full report's out.          I think some parts are
10   held back about this.
11                     MR. LINDELL:      Yeah.    No, it was --
12                     MR. BANNON:     People need to see this
13   report.    They need to read the report.           And DePerno, I
14   think, needs to become even a bigger public figure about
15   this.
16                     MR. LINDELL:      Right.
17                     MR. BANNON:     Because to me, this is one of
18   the hearts of the cases.
19                     MR. LINDELL:      Right.    Well, you know, he
20   was -- his -- you know, a small town lawyer guy that
21   came in there to help a school board thing, and he's all
22   of a sudden thrown into the public eye.              And you know
23   what, there is a report, there's stuff that came out,
24   there's stuff they held, but this court case is still
25   going on.     They can't put stuff out there like you're




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP542
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 543 of 971

                                                                            135
                 Steve Bannon Broadcast - February 11, 2021


 1   all seeing and the media use that to say, Oh, there's --
 2   there's this and this and this.           The bottom line is,
 3   they showed straight out that there were 7,300 votes
 4   flipped or whatever it was.
 5                     I -- I want to tell you this too.            You
 6   know, maybe -- I'm just seeing something here --
 7                     MR. BANNON:     Hold on.     You don't -- by the
 8   way, you don't believe -- hang on.            You don't believe
 9   what their thing was?        It was a coun- -- it was a clerk
10   or it was a software situation --
11                     MR. LINDELL:      It's a -- no.
12                     MR. BANNON:     -- where the clerk didn't
13   install the right software or didn't flip it.               You don't
14   believe what they came out and said the official party
15   line?   You checked that out and you don't believe that?
16                     MR. LINDELL:      100 percent, I checked that
17   out, because when the report came back, I talked to them
18   guys.   I said, you know, this is -- what -- what do you
19   mean they're saying this and this?            These machines, they
20   have a feature in there, the weighted race feature, so
21   you just set them.       Now -- or you set them and you
22   can -- and you can hack into them.
23                     But what I want to say is this.           I'm
24   going to -- I'm going to -- I'm going to go a step
25   further here.       There might be a third miracle in here




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP543
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 544 of 971

                                                                            136
                 Steve Bannon Broadcast - February 11, 2021


1    because head -- the -- in Antrim County, let's just say
2    that they would have said, Okay, let's open up the
3    machines in this country.         Every single state would have
4    been flipped, you'd have seen all the votes that were
5    flipped, but you might not have seen who did it and
6    where all they came from, the servers overseas.
7                     So this evidence that came out a little
8    later and -- and -- and what I got ahold of on
9    January 9th when people reached out to me, that -- you
10   know, that could be the third miracle.             It all leads up
11   to these machines getting found out, it's an attack on
12   our country and it's coming up here.
13                    But, you know, what Matt's doing right now,
14   the case is still open and it's a -- you know, all this
15   stuff can be attached to that and we can go on from
16   there.
17                    MR. BANNON:      Yeah.
18                    MR. LINDELL:      This is what I want to tell
19   the public.     You know, that's kind of that -- you know,
20   you got all these things out there.            They say, well,
21   where's our hope, where's our -- you know, of
22   what the -- the hope is that you get this video, that
23   you get this documentary out to everyone so that
24   everybody -- that the media can't suppress what we have
25   here.    We have good ongoing cases.         Antrim County is




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP544
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 545 of 971

                                                                            137
                 Steve Bannon Broadcast - February 11, 2021


 1   still going on.      They're -- that was just the media
 2   telling, we don't want to open up anymore -- you know,
 3   anymore --
 4                     MR. BANNON:     Okay.
 5                     MR. LINDELL:      -- machines.
 6                     MR. BANNON:     Yeah.     What I want to do,
 7   Mike, is go to the next section because here's where you
 8   see Matt DePerno, a -- a -- you know a small time --
 9   town lawyer is going up against the entire system and
10   he's -- and the system is trying to disbar everybody
11   that's contesting this.         So let's see -- let's see the
12   next section of the film and then we'll come back and
13   talk about it.
14                     MR. LINDELL:      Okay.
15                     (Plays video.)
16                     MR. DEPERNO:      Antrim County was not
17   certifiable based on what the machine spit out on
18   election night.      And what we've requested is a full
19   audit of the county.        But we want all of the machines
20   tested, we'd like to see all the machines tested across
21   the state.
22                     MR. LINDELL:      Right.
23                     MR. DEPERNO:      We'd like to see audits
24   across the state of Michigan.
25                     MR. LINDELL:      Right.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP545
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 546 of 971

                                                                            138
                  Steve Bannon Broadcast - February 11, 2021


1                     MR. DEPERNO:      This is from the actual
2    Dominion manual.       This --
3                     MR. LINDELL:      That's the Dominion manual.
4    Wow.
5                     MR. DEPERNO:      -- this tells you --
6                     MR. LINDELL:      Yeah.
7                     MR. DEPERNO:      -- how to connect the machine
8    to guess what?
9                     MR. LINDELL:      The internet.
10                    MR. DEPERNO:      Yes.
11                    MR. LINDELL:      Did everybody hear that?
12                    MR. DEPERNO:      This is another slide.
13                    MR. LINDELL:      But you have to be on the
14   internet in order to do this, so we're going to show you
15   here -- I thought these machines didn't go on the --
16   that's what we were told as the public.
17                    MR. DEPERNO:      That's what we are told.
18                    (Pause in audio.)
19                    MR. COOMER:      Once -- if it's configured to
20   print automatically, it'll print anywhere from one to,
21   you know, five, ten copies.         However many are needed
22   in -- in the jurisdiction, as well, this device can
23   transmit directly.       So that's all part of that closed
24   polls process.        You hit that button once, it prints out
25   the tapes.     When it's done printing out the tapes, it




                             Dickman Davenport, Inc
            214.855.5100    www.dickmandavenport.com      800.445.9548

                                  APP546
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 547 of 971

                                                                            139
                 Steve Bannon Broadcast - February 11, 2021


1    will automatically transmit the results as well.
2                     UNIDENTIFIED SPEAKER:         What is the vehicle
3    for the transmission from the ICP?           Is it cellular modem
4    versus VPN?
5                     MR. COOMER:      Well, it is a cellular modem
6    that V- -- can be configured in a VPN, right?               And we --
7    currently, in Chicago, Cooke County, we work with
8    Verizon to secure that network.           So we would have the
9    same capabilities here.
10                    UNIDENTIFIED SPEAKER:         Look, what wireless
11   chip set/modem does the hardware have?
12                    MR. COOMER:      We support a variety.        So it's
13   really up to the jurisdictions, what technology they
14   want to use, what's compatible with their -- with their
15   networks.
16                    UNIDENTIFIED SPEAKER:         Currently in some
17   jurisdictions, we're using, basically, a modem that is a
18   3D modem, GSM, but we can support multiple -- varieties
19   of more that can be configured.
20                    MR. COOMER:      Including -- including the
21   latest 4G standards as well.
22                    UNIDENTIFIED SPEAKER:         Okay.    So that
23   answers the next question, is it 3G or 4G, Verizon, AT
24   or T [sic], or Sprint, I'm assuming all?
25                    MR. COOMER:      Yeah, all, all networks.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP547
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 548 of 971

                                                                            140
                  Steve Bannon Broadcast - February 11, 2021


1    Right.     Just a point of --
2                     UNIDENTIFIED SPEAKER:         (Inaudible.)
3                     MR. COOMER:      Yeah.     I mean, we actually
4    transmit from the ICP in Mongolia as well, so we're not
5    limited in networks.
6                     UNIDENTIFIED SPEAKER:         And in Puerto Rico,
7    there's three vendors, because the island is not covered
8    by any -- by any of the vendors completely, so we use
9    three different cellular vendors for some ICPs, but
10   there's vendor (inaudible), AT&T, and T-Mobile, I think,
11   in the different parts of the island, so...
12                    UNIDENTIFIED SPEAKER:         Everything gets
13   complicated.
14                    MR. DEPERNO:      But this is another slide
15   from the Dominion software manual --
16                    MR. LINDELL:      Right.
17                    MR. DEPERNO:      -- that tells you exactly how
18   to set up your system to connect to the internet.
19                    MR. LINDELL:      Uh-huh.
20                    MR. DEPERNO:      Those are important slides to
21   see.     And again, another slide from Dominion Voting,
22   Image Cast Central, which tells you, as you can see in
23   the bottom corner here, it says num- -- Box No. 1,
24   ensure that the ma- -- workstation is connected to the
25   network switch with an ethernet cable.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP548
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 549 of 971

                                                                            141
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Wow.
2                     MR. DEPERNO:      What does an ethernet cable
3    get you?     To the internet.
4                     MR. LINDELL:      To the internet.
5                     MR. DEPERNO:      These are -- this is all
6    information --
7                     MR. LINDELL:      Yeah.
8                     MR. DEPERNO:      -- that we've been able to
9    look at --
10                    MR. LINDELL:      Right.
11                    MR. DEPERNO:      -- from the actual manual.
12                    MR. LINDELL:      So what do we got here?          That
13   looks like it was manipulated.            What?
14                    MR. DEPERNO:      Well, this -- these spikes,
15   these blue spikes throughout this show you where Joe
16   Biden got what we call injections --
17                    MR. LINDELL:      Right.
18                    MR. DEPERNO:      -- of votes at very specific
19   times.
20                    MR. LINDELL:      Right.
21                    MR. DEPERNO:      These -- these big ones on
22   the left are November 3rd.         So I'd be curious to see if
23   your data that you have --
24                    MR. LINDELL:      Right.    It will.
25                    MR. DEPERNO:      -- correlates to those.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP549
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 550 of 971

                                                                            142
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Just so everybody knows, what
2    you're going to see, when you see this spike, you're
3    going to see a forensic footprint, how that happened and
4    who did it.     China, yes.      If you're on the internet, the
5    bottom line is, you can get -- you can cheat, you can do
6    all kinds of things.        And that's -- because otherwise,
7    you can't explain any of these numbers, right?
8                     MR. DEPERNO:      That's correct.
9                     MR. LINDELL:      That's correct.
10                    MR. DEPERNO:      The machine results don't
11   match up with the hand tabulation.
12                    MR. LINDELL:      To the real numbers.        And
13   one -- and once again, the -- you know, the purpose of
14   this whole show, obviously, is to show everyone in the
15   world that these machines -- that this was the biggest
16   fraud and the biggest crime, I believe, against
17   humanity, just a crime against humanity.             If we wouldn't
18   be all talking about this now and this is -- all the
19   truth is going to be revealed --
20                    MR. DEPERNO:      Michigan is under siege
21   because this is what I'm dealing with right now.               Dana
22   Nessel is the Attorney General in the State of Michigan.
23   She sent this tweet out not too long ago, and it says
24   fun fact.    Lawyers who practice in Michigan are required
25   to take an oath to support the Michigan and U.S.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP550
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 551 of 971

                                                                            143
                 Steve Bannon Broadcast - February 11, 2021


1    Constitutions, not to file unjust and/or frivolous
2    actions or mislead the Court.          The spate of Trump
3    lawsuits in our state violates each of these tenets, it
4    demeans our profession.
5                     MR. LINDELL:      Wow.
6                     MR. DEPERNO:      What she's calling for, and
7    she's said this publicly, she's calling for attorneys in
8    Michigan to be disbarred who file lawsuits in Michigan
9    challenging --
10                    MR. LINDELL:      This election.
11                    MR. DEPERNO: -- the results of the
12   election.
13                    MR. LINDELL:      Hey, guy- -- can you guys all
14   hear this?     This is what we're up against.           This
15   Dominion, these machines is the biggest fraud in
16   election -- they stole this.          But now the truth is all
17   going to be revealed.        People like this lady, Dan- --
18   what's her name, Dana --
19                    MR. DEPERNO:      Dana Nessel.
20                    MR. LINDELL:      Dana Nessel.      Dana Nessel,
21   how dare you put this out.         You're supposed to protect
22   Michigan and the U.S.?        This is what I'm doing.          This is
23   why I'm getting attacked.         This is why everybody's
24   getting attacked --
25                    MR. DEPERNO:      So --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP551
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 552 of 971

                                                                            144
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      -- that anybody -- you know,
2    here you are the attorney of the -- one of the few open
3    cases where we have 100 percent proof.             First, they try
4    and suppress the actual report from it, right here,
5    right?
6                     MR. DEPERNO:      (Inaudible.)
7                     MR. LINDELL:      And now they're trying -- now
8    they're trying to just get rid of you.
9                     MR. DEPERNO:      That's true.      So we have
10   Michigan executive officials who are now using the power
11   of government to threaten those with whom they disagree
12   with sanctions.      They're threatening me and others with
13   disbarment.
14                    MR. LINDELL:      Wow.
15                    MR. DEPERNO:      So bringing forth evidence
16   now --
17                    MR. LINDELL:      Uh-huh.
18                    MR. DEPERNO:      -- in our country not only
19   gets you the mockery of the mainstream media --
20                    MR. LINDELL:      I've been there.
21                    MR. DEPERNO: -- who refuse to actually
22   report on it or the truth, but it now gets you ethics
23   complaints filed against you if you are a lawyer.
24                    MR. LINDELL:      Wow.
25                    MR. DEPERNO:      So what do we do about that?




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP552
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 553 of 971

                                                                            145
                 Steve Bannon Broadcast - February 11, 2021


 1   When the Michigan Attorney General, who is the chief law
 2   enforcement person in the state, threatens those with
 3   whom she disagrees, you know what that is?               That's
 4   tyranny.
 5                     MR. LINDELL:      Yep.
 6                     MR. DEPERNO:      That -- you know, that is
 7   totalitarianism.
 8                     MR. LINDELL:      Right.
 9                     MR. DEPERNO:      So in our election system,
10   and it's been going on for years after every election,
11   people challenge elections.
12                     MR. LINDELL:      Right.
13                     MR. DEPERNO:      That happens on a regular
14   basis --
15                     MR. LINDELL:      Right.    Yep, yep.
16                     MR. DEPERNO: -- after elections.            That's
17   part of our Republic.        That's part of public discourse.
18   We're ena- -- we're enabled to go in and have those
19   discussions through the court system to challenge
20   elections.     And what Dana Nessle is saying is that you
21   can't do that anymore.
22                     MR. LINDELL:      Right.
23                     MR. DEPERNO:      Because if you try to do it,
24   she will threaten you, she will try to take your
25   license --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP553
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 554 of 971

                                                                            146
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Uh-huh.
2                     MR. DEPERNO:      -- and she will try to
3    silence you.
4                     MR. LINDELL:      Wow.
5                     MR. DEPERNO:      So her statements -- this is
6    no longer part of public discourse.            This is chilling.
7                     MR. LINDELL:      You think she's talking about
8    all the lawyers?      She's talking about you.
9                     MR. DEPERNO:      Well, we've talked about it.
10   I agree -- I totally agree with you, she is talking
11   about me.
12                    MR. LINDELL:      Right.
13                    MR. DEPERNO:      And we've talked about the
14   importance of public discourse.
15                    MR. LINDELL:      Right.
16                    MR. DEPERNO:      Her tweet, as I said, chills
17   public discourse.
18                    MR. LINDELL:      Yeah.
19                    MR. DEPERNO:      What it does is it asks a
20   lawyer to put their fear above the representation of
21   their client in legitimate litigation.
22                    MR. LINDELL:      Right.
23                    MR. DEPERNO:      That is tyranny --
24                    MR. LINDELL:      Right.
25                    MR. DEPERNO:      -- that's totalitarianism --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP554
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 555 of 971

                                                                            147
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      Right.
2                     MR. DEPERNO:      -- that is fascism.
3                     MR. LINDELL:      She wants to scare you into
4    doing nothing.
5                     MR. DEPERNO:      But it gets worse.
6                     MR. LINDELL:      Right.
7                     MR. DEPERNO:      Around November 20th, Dana
8    Nessle did an interview with the Washington Post, and in
9    that interview, she threatened every Michigan
10   legislator, and she said that any Michigan legislator
11   with whom she disagreed with, any of them who challenged
12   these election results, she would investigate them and
13   seek criminal sanctions against them.
14                    MR. LINDELL:      Wow.
15                    MR. DEPERNO:      That is saying to these
16   Michigan legislators --
17                    MR. LINDELL:      Stay silent.
18                    MR. DEPERNO:      -- that if they -- if they do
19   anything to bring forth the word of their constituents
20   to challenge election results, they could be charged
21   criminally.     It's asking elected officials, again, to
22   put their fear above the word and the choice of their
23   constituents.
24                    MR. LINDELL:      Wow.
25                    MR. DEPERNO:      And you ask yourself, Why did




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP555
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 556 of 971

                                                                            148
                 Steve Bannon Broadcast - February 11, 2021


1    so many elected officials in Michigan refuse to look at
2    the evidence that was presented to them?
3                     MR. LINDELL:      They -- they did it out of
4    fear.
5                     MR. DEPERNO:      Or time and time again,
6    say --
7                     MR. LINDELL:      Uh-huh.
8                     MR. DEPERNO:      -- that they haven't seen any
9    evidence --
10                    MR. LINDELL:      Right.
11                    MR. DEPERNO:      -- of voter fraud --
12                    MR. LINDELL:      Right.
13                    MR. DEPERNO:      -- or vote interference.
14                    MR. LINDELL:      Right.
15                    MR. DEPERNO:      And you combine that with
16   what we've now learned about the interview Dana Nessle
17   gave --
18                    MR. LINDELL:      Right.
19                    MR. DEPERNO:      -- on November 21st, telling
20   elected officials they'd be charged criminally.
21                    MR. LINDELL:      Right.
22                    MR. DEPERNO:      And I say this right now,
23   everything that Dana Nessle has done in terms of
24   threatening me and threatening state legislatures,
25   violates the Michigan Rules of Professional Conduct, and




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP556
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 557 of 971

                                                                            149
                 Steve Bannon Broadcast - February 11, 2021


1    she should resign immediately.          It demonstrates that
2    she's not fit for office.
3                     MR. LINDELL:      Well, there's many like her.
4    We know that.      This is going to reveal all the evil in
5    our country, all the criminals in the country, all the
6    ones that tried to suppress this.           And that's just from
7    social media, like, Jack Dorsey, like Mark Suck-a-Buck.
8

9                     MR. BANNON:      Okay, Mike, I want to bring up
10   a couple things.      Eric Loomer [sic], the -- the
11   executive that works for Dominion, I believe he's
12   actually suing people.        I think he's brought some suits.
13   But you say in here, you actually, I guess, catch him on
14   the video talking about the internet.            And this is, once
15   again, gets back to the internet.           Are Dominion machines
16   set up to be on the internet, were they attached to the
17   internet?
18                    MR. LINDELL:      Right.
19                    MR. BANNON:      I think the company adamantly
20   opposes.    But talk to -- talk to us about Eric Loomer.
21   Is he -- you've been -- I don't know if you've been sued
22   yet or not.     You keep telling guys that, hey, I've got
23   the evidence so go ahead and sue me.            Has Loomer
24   contacted you?      Has Loomer said that he's going to sue
25   you with all the outbursts you've had about Dominion




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP557
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 558 of 971

                                                                            150
                 Steve Bannon Broadcast - February 11, 2021


 1   Voting Systems.
 2                     MR. LINDELL:      No.   Dominion sends me
 3   letters, like, you have been warned.             You know what,
 4   I've told them to sue me.         Eric, come on, please sue
 5   me --
 6                     MR. BANNON:     Coomer.
 7                     MR. LINDELL:      -- Smartmatic, all of you
 8   guys, because they won't.         And you know when they do go
 9   out and they do these fake lawsuits that they're
10   going -- they're suing someone, they're trying to do
11   that -- the only reason they're doing that is so that
12   networks, news networks and everybody's afraid of
13   talking about it.       So they ended up, oh, we're going to
14   get sued if anybody talks about voter fraud and election
15   fraud.    Are you kidding?       You know, this is -- I would
16   love it.    Come on, Eric.
17                     MR. BANNON:     So by the way, it's Eric
18   Coomer.    I had a little typo there in the notes.              Now, I
19   want to talk about Dana Nessel, the attorney general.
20   The pressure she's putting on lawyers like DePerno and
21   also state legistla- -- I think they're -- they're
22   trying to disbar guys if they bring cases.               They're also
23   threatening criminal sanctions.
24                     MR. LINDELL:      Right.
25                     MR. BANNON:     What is going on?        Why --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP558
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 559 of 971

                                                                            151
                 Steve Bannon Broadcast - February 11, 2021


 1   Mike, why are the elected officials in the state of
 2   Michigan so afraid to drill down and to find out what's
 3   going on with these machines in Antrim County?                I -- I
 4   don't understand it.        Explain that to the audience.
 5                     MR. LINDELL:      It's not explainable.         I
 6   mean -- I mean, you -- you -- you're trying to stop a
 7   court case from moving forward that could affect every
 8   single person for the rest of our time here on earth?                   I
 9   mean, this is crazy.        That -- why would they do that?
10   They're either trying to hide something.              That's the
11   only reason.      That can be the only reason.
12                     And it's not just Michigan, it's across
13   this country and all these states that they do.                But
14   I'll tell you, what she does, that Dana Nessel, to
15   threaten this guy, this -- you know, this guy that was a
16   hometown lawyer that went in to help a school board
17   election because he knew -- the town knew -- the town
18   came to him.      They said, There's something wrong here.
19                     And -- and they traced it all -- right to
20   the machines.        And it's -- you know, here it is.          But
21   the case is still open, so they are very threatened by
22   it.   You know, it's really hard for them to keep that
23   out of the news.       So what does she do?        Dana Nessel
24   sticks up these things on -- on her Twitter and stuff
25   and saying, Hey, we will suppress any lawyer, we will




                             Dickman Davenport, Inc
           214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP559
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 560 of 971

                                                                            152
                 Steve Bannon Broadcast - February 11, 2021


 1   suppress anybody that talks about it.
 2                     And you know, I had a long talk with Matt
 3   about that and I said, Matt, I said, it's people like
 4   you and I that are brave, that just keep going and forge
 5   ahead in spite of all that because, you know what, we
 6   have the absolute proof, but we will get that -- we will
 7   get to the absolute truth.
 8                     MR. BANNON:     Okay.     Okay.    So -- so -- so,
 9   Mike, I got to ask you this.          You say that the film is
10   Absolute Proof.      You're absolutely certain, and you're a
11   savvy business guy, you've gone through this, you've
12   done your due diligence.
13                     MR. LINDELL:      Yep.
14                     MR. BANNON:     One of the questions people
15   have is that the state of Michigan did certain -- I
16   think there are 28 other counties in Michigan that use
17   the Dominion Voting System.          The state certified this
18   and then the Republican Party controls, I believe, the
19   House and the Senate.        They didn't fight it.         In fact,
20   they had this big fiasco down in Wayne County.                They
21   just let it all pass through.           The votes did get
22   certified.     They got certified and a Republican House
23   and state -- you know, and -- and -- and the Senate just
24   kind of stepped aside, let it be certified.
25                     So -- so tell the audience, how are they




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP560
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 561 of 971

                                                                            153
                 Steve Bannon Broadcast - February 11, 2021


 1   supposed to think of that when this is a Republican
 2   legislature, many of these counties are Republican,
 3   particularly a bunch of them are in rural areas, they
 4   all certified this.        So --
 5                     MR. LINDELL:      Well, they're either --
 6   they're either --
 7                     MR. BANNON:      -- is -- was Antrim County
 8   just a software problem and how -- how did that just --
 9                     MR. LINDELL:      Steve --
10                     MR. BANNON:      -- make the audience
11   understand, how did everybody -- how did everybody
12   certify it?
13                     MR. LINDELL:      Well, they're either scared,
14   crooked or -- or they're -- we don't know.               This is the
15   big thing in this country.          We don't know.       That's why
16   when you come in to atta- -- you plan an attack on a
17   country and you're China and you're planning this attack
18   and you've had five years or how many years to plan it,
19   you've got -- you've got things figured out.
20                     What -- you know, and just like a backup
21   plan when they had -- when they had to get all those
22   votes and all those deviations we seen.              The part that's
23   unexplainable is just that.          None of the legislatures
24   did their job, but you know what, they used this --
25   that's what they used with this China virus.               They also




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP561
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 562 of 971

                                                                            154
                  Steve Bannon Broadcast - February 11, 2021


1    used that.     That's a whole nother conversation.
2                     You know, they had things like -- like last
3    summer when I brought that before Anderson Cooper, the
4    myoleander.com, they had the hydroxychloroquine.               All
5    these things that could have maybe opened up our country
6    or all these governors that are suppressing people
7    and -- and doing this, they used that for this election.
8    They also used that.        I mean, but it's unexplainable.
9    There's a lot of unexplainable things.
10                    But what did we say?        The -- we got the
11   absolute proof and then the absolute truth will come
12   out.    That truth also will include -- a lot of people
13   are going to sit before people and go -- you know, in
14   courts or whatever and go, Why did you do that?               How --
15   why would you certify something?
16                    Now, I will give -- you know, I will give
17   one thing because, you know, this -- they suppressed
18   that machine vote and this -- or the machine so much,
19   that, like I say, it's just coming out now.              I heard
20   about it on January 9th where I had 100 percent proof.
21                    Now, they had the 100 percent --
22                    MR. BANNON:      Okay.
23                    MR. LINDELL:      -- proof in Antrim County.
24   So what did they do it -- you know --
25                    MR. BANNON:      Okay.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP562
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 563 of 971

                                                                            155
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      -- whoe- -- whoever tried to
 2   stop it -- I'm just saying that that's one of the things
 3   we will find out, too, because it's very unexplainable
 4   how they could all do that --
 5                     MR. BANNON:     Okay.
 6                     MR. LINDELL:      -- to the American people.
 7   They did it to the American people, they did it to their
 8   own families, their neighbors and everybody.               They're --
 9   everybody played a role in this in some way when the --
10   when you talk to these politicians that dropped the
11   ball.
12                     MR. BANNON:     Okay.     Well, that's something
13   that's got to be resolved because this issue about the
14   certification is still out there.            You talk about the
15   Chinese Communist Party.         The next -- the next section
16   is quite explosive.        We're going to get to Mary Fanning.
17   She's an investigative reporter.            I'm very proud -- this
18   section talks about the Chinese Communist Party and
19   their involvement.       I'm very proud of being, I think,
20   the first civilian that's ever been sanctioned by the
21   Chinese Communist Party.         It happened four minutes into
22   the Biden Administration when Mike Pompeo, Matt
23   Pottinger for the National Security Council, Peter
24   Navarro and myself and others, about 24 others, were
25   personally sanctioned by the Chinese Communist Party for




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP563
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 564 of 971

                                                                            156
                 Steve Bannon Broadcast - February 11, 2021


 1   our activities to confront and take down the Chinese
 2   Communist Party.
 3                     Mary Fanning, a very well-known
 4   investigative reporter joins Mike Lindell next for some
 5   pretty shocking revelations.
 6                     (Plays video.)
 7                     MR. LINDELL:      Well, everyone, this is the
 8   moment you've all been waiting for.             What you're going
 9   to see now is 100 percent proof that we had upon our
10   country, the biggest cyberattack in history.                And I'm
11   going to bring on Mary Fanning to explain how it all
12   happened and the -- show you the 100 percent proof.
13                     Mary, thanks for coming on.
14                     MS. FANNING:      Thanks, Mike.       Today, we've
15   been watching cybersecurity experts, and they've
16   explained some of the things that happened in the
17   election, some of the election fraud.              But what we're
18   seeing here is, if you'll look at this chart, is that
19   there were cybersecurity experts who began collecting
20   information on November 1st and be- -- so this was
21   before, during, and after the election that they were
22   collecting documentation.          In fact, they collected
23   terabytes of information that document the election
24   fraud before an intrusion into our election.
25                     This was collected as -- in 2995 counties




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP564
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 565 of 971

                                                                            157
                 Steve Bannon Broadcast - February 11, 2021


1    in the United States.        This was collected in realtime.
2    All right.     So if you go to the chart, what you will see
3    is the documentation of foreign interference in the
4    election.    The first column, if you look at the chart,
5    that shows that on 11/5/2020 at 7:43 and 38 seconds, we
6    had a foreign intrusion, and it shows the IP address,
7    the internet protocol address.          That is the number of
8    that protocol address, of the hacker that entered into
9    our election.
10                    The second column is the owner or source of
11   that IP address.      That shows that Chinanet in Beijing
12   Province entered the election.          It shows an ID.       That is
13   the unique address of a computer.           That shows the exact
14   computer using that IP source that entered into our
15   election.
16                    The next is the target.         That's the IP
17   target.    That's the internet protocol address of the
18   target.    All right?     Then the next is the target state.
19   In this case, it shows that it's Michigan.              Where in
20   Michigan?    That's the next column.         It shows that it's
21   in Emmet County, Michigan.         Then the ID target.        That is
22   the unique address of another computer in the United
23   States that the hacker has gone into.            And then it shows
24   the method of intrusion.
25                    Now, on some cases, you're going to see




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP565
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 566 of 971

                                                                            158
                 Steve Bannon Broadcast - February 11, 2021


 1   that they use credentials.          That means that they have
 2   fake credentials because there were administrators that
 3   had been placed on the Secretary of State's computers,
 4   false administrators.        In other cases, it shows that
 5   they broke through the firewall.            In some cases, they
 6   did both.
 7                     Now, in the next column, it shows whether
 8   it was successful.       You'll see a Y. That shows that,
 9   yes, it was successful.         Now, oftentimes, they're not
10   successful and they have to go back and try for another
11   intrusion, and then it shows whether that's, in fact,
12   successful as well.
13                     Then in the final column, what you're
14   seeing are votes changed.         Now, in this particular case,
15   when they went into Emmet County, Michigan, the votes
16   that were changed was they stole 3477 votes from Donald
17   Trump.    That's what you're looking at.
18                     Now, as you go through this document and
19   you look at all the multiple intrusions into our
20   election, what -- what you'll notice, that over
21   60 percent of these intrusions come from China.                So that
22   is -- over 66 percent is what the number is.               Over
23   66 percent of the intrusions into our election came from
24   China.
25                     Why is this important?         Well, some things




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP566
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 567 of 971

                                                                            159
                 Steve Bannon Broadcast - February 11, 2021


1    were set in place, including some of the changes that
2    took place in this country, particularly when we had the
3    Wuhan virus, or the COVID-19 virus hit this country.
4    And we have a video -- well, first, Mike, do you have
5    any questions about this chart and what it is showing?
6                     MR. LINDELL:      Yeah.    So what -- so what you
7    have here is -- what -- each one of these is its own
8    time stamp that is 100 percent proof because you have
9    that not only where it came from, you ha- -- it's
10   basically you have their identification, you have that,
11   you know, who they were attacking, their identification.
12   This is what everybody would want if you ever looked in
13   and did an audit or wanted to look into a computer and
14   look what went on in cyberspace, this is what you'd be
15   looking for, correct?
16                    MS. FANNING:      This is forensic evidence of
17   foreign footprints as they entered our election in a
18   cyber warfare attack on our election, and then it shows
19   exactly what they -- you know, where did they come from,
20   which computer exactly, exactly the time stamp, exactly
21   which computer they entered into and in -- in what
22   state, which county, the -- the ID, the unique ID of the
23   computer that they entered into.           And then it shows how
24   they entered using false credentials or breaking through
25   the firewall or both.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP567
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 568 of 971

                                                                            160
                  Steve Bannon Broadcast - February 11, 2021


 1                     MR. LINDELL:      Wow.
 2                     MS. FANNING:      Were they successful the
 3   first time, the second time?          And then it shows the
 4   votes that they stole from Donald Trump.
 5                     MR. LINDELL:      Right.
 6                     MS. FANNING:      This is proof positive, this
 7   is documentation of a cyberattack, but it also is
 8   documentation of the footprints of those who entered our
 9   election.
10                     MR. LINDELL:      Right.    Right.     And look
11   at -- if everybody notices here, every one -- you don't
12   think this was all put together in one big attack?
13   Every one was Do- -- Donald Trump, down, down, down.
14   This wasn't another country that wanted it the other
15   way.    This was a -- the biggest attack in history.                And
16   you have -- and Mary, you have -- we have pages and
17   pages, right, thousands of these pages of every -- of
18   every county, right, of every -- or of every single
19   attack?
20                     MS. FANNING:      There are thousands of pages
21   of the documented footprints that -- the foreign
22   intrusions into our elections.             We see this as coming
23   from China, in many cases from Huawei, from Alibaba.
24                     MR. LINDELL:      Right.
25                     MS. FANNING?      Cloud service from China




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP568
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 569 of 971

                                                                            161
                 Steve Bannon Broadcast - February 11, 2021


 1   Unicom, from Ucloud, from China Mobile Tietong.                You
 2   know, this also came and -- from Iran as well.
 3                     MR. LINDELL:      Right.
 4                     MS. FANNING:      There -- but this is a
 5   foreign intrusion, this is the fact of our vote, but it
 6   also is documenting exactly the votes -- the vote totals
 7   that were stolen from Donald Trump.
 8                     MR. LINDELL:      Right.    And this is --
 9                     MS. FANNING:      What we have heard --
10                     MR. LINDELL:      -- well, this is what I've
11   been telling everyone.         This is where you got -- if you
12   add these numbers up, when I -- when I said -- and I
13   actually told the president when I met with him, I said,
14   you know, you actually won this election by almost
15   80 million votes for you, for Donald Trump, to about
16   68 million for Biden.        And that's not counting all the
17   other kind of theft we talked about earlier in this
18   show.   This is the -- these are the real numbers that
19   were taken off and that were flipped.
20                     I mean, this is incredible, everybody.
21   This is -- this is historical proof too.              We not only
22   have -- this is what we've all been waiting for.                And,
23   Mary, you said there's a video, too, we want to show?
24                     MS. FANNING:      Yeah, this is a
25   documentation, the proof positive by cyber expert from




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP569
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 570 of 971

                                                                            162
                  Steve Bannon Broadcast - February 11, 2021


 1   in this country that began documenting the theft of our
 2   election.
 3                     MR. LINDELL:      Wow.
 4                     MS. FANNING:      They put together the full
 5   documentation of every vote beginning on November 1st.
 6   So again, from before, during and after the election,
 7   they documented the footprints of the foreign intrusion
 8   into our election.       That means that foreign adversaries,
 9   really, because this was an act of war to come in and
10   steal the election from the American people and decide
11   who our foreign adversaries were going to put in the
12   White House to rule or to -- to be the president of this
13   country.
14                     MR. LINDELL:      Right.    Right.     Right.
15                     MS. FANNING:      Now, there's a video and so
16   that will show -- and if you -- are you looking at the
17   video, Mike?
18                     MR. LINDELL:      Yeah, we're pulling -- we're
19   going to pull up the video here, Mary.             Okay.    Here we
20   go.    We're just pull- -- we just pulled up the video.
21   Wow.    What's going on here with all these lines?
22                     MS. FANNING:      Well, you're -- the video --
23   what you are watching is the surveillance system.                 In
24   fact, this is the very surveillance system that was
25   built by people inside this country within the




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                  APP570
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 571 of 971

                                                                            163
                 Steve Bannon Broadcast - February 11, 2021


1    cybersecurity battle space that built some of this
2    docu- -- built some of these tools that were built to
3    keep this country safe.
4                     But what you're watching is that every line
5    on that drawing, all those moving lines, they represent
6    the IP addresses of what I just showed you on the chart.
7    So -- so when you understand the hacker's IP address and
8    the IP address of the target and the votes that were
9    stolen, every one of those lines that you're watching
10   move across the chart, and showing whether they were
11   successful and -- and how many votes they stole.               That
12   documents that.
13                    Every red line, as they turn red, as they
14   finish stealing the vote, basically, the red lines are
15   all China.     So what you're seeing are the actual files
16   being received and sent.         That's -- that's a
17   documentation of the realtime theft of our elections.
18                    MR. LINDELL:      Wow.
19                    MS. FANNING:      So every -- every line on the
20   map, there's a cor- -- corresponding line on the sheet.
21   And the color and the line types represent the severity
22   of the attack.      Now, red has been the most severe
23   attacks.     Those lines all coming out of China.            Those
24   are the most severe attacks on our election system.
25                    MR. LINDELL:      Wow.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP571
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 572 of 971

                                                                            164
                 Steve Bannon Broadcast - February 11, 2021


1                     MS. FANNING:      Now, this is the -- this
2    exact information, the same exact type of information, I
3    should say, was presented to FBI director, former FBI
4    director, James Comey, by a whistleblower in 2015.                They
5    knew, in fact, that our election machines were open for
6    hacking.
7                     It's important to understand that there are
8    prismatic scoring algorithms that they knew about that
9    entered the election and they steal the vote at the
10   transfer points.      So at the point where the election --
11   the vote is leaving the Secretary of State's office and
12   these machines, that is the point at which the vote is
13   stolen at the transfer points.
14                    That's what you're watching.           Those packets
15   moving is -- is -- is that's realtime documentation of
16   the theft of the vote from inside this country, and then
17   the number's the last column.          Those document exactly
18   the numbers of votes.        It shows, in some of the cases,
19   Antrim County where the vote was stolen, and exactly the
20   vote stolen at -- at the exact time stamp of when they
21   were stolen.
22                    MR. LINDELL:      Right.
23                    MS. FANNING:      And the number stolen at that
24   point.
25                    MR. LINDELL:      So, Mary, so what you're




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP572
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 573 of 971

                                                                            165
                 Steve Bannon Broadcast - February 11, 2021


 1   saying now is -- and this is what -- what I already know
 2   and -- but actually, I'm learning a lot here as we go.
 3   What you're saying, every one of these lines -- let's
 4   say we did take Antrim County and we took that, we could
 5   pull out the time stamps for that county, and we could
 6   show the lines, the country that did it, we could show a
 7   line for every single hack or attack that we had in this
 8   election?
 9                     MS. FANNING:      That's right.
10                     MR. LINDELL:      Wow.
11                     MS. FANNING:      So what you're watching is
12   those objects moving are the actual files --
13                     MR. LINDELL:      Right.
14                     MS. FANNING:      -- that are being received
15   and sent.
16                     MR. LINDELL:      These are the buttons --
17                     MS. FANNING:      Everyone of those --
18                     MR. LINDELL:      -- and the squares here that
19   are -- that are being sent.          So everybody out there,
20   what you're looking at -- I mean, this is the proof.                   So
21   if any -- if, like, Antrim County, that case is still
22   open, you just go, Here you go.            Now you know who did
23   it, how many votes flipped, when they did it, what time
24   they did it, the computer it came from, the country that
25   attacked us.      I mean, this is -- this is what I have




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP573
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 574 of 971

                                                                            166
                 Steve Bannon Broadcast - February 11, 2021


1    been excited about, and I only seen one -- do you know,
2    Mary, I only seen one little line of that which showed
3    the IP address, that, you know, all that stuff that
4    you're showing us.       When I found out --
5                     MS. FANNING:      Right.
6                     MR. LINDELL:      -- that you had it for ev- --
7    or that we had it, there's all these people had this,
8    for every single vote that -- every single attack and
9    whether it was successful or not.
10                    Look at right now, we've got up on the
11   screen, Georgia is just getting attacked.             It was just
12   getting attacked up here at that moment in time.               And
13   I -- and I suppose, you know, they didn't know what
14   they're doing.      They -- they did the biggest attack --
15   right here.     Look at, everybody.         Georgia and Michigan
16   getting bombarded.       My guess is that was probably like
17   3:00 or 4:00 in the morning when they really needed them
18   votes to be flipped.
19                    Mary, this is incredible.
20                    MS. FANNING:      Yes, because there is proof
21   positive, there is documentation of all the phone
22   interference into our election, showing exactly who
23   stole the vote, how they stole the vote, from which
24   computers, access to our election, to which computers
25   they went into.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP574
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 575 of 971

                                                                            167
                 Steve Bannon Broadcast - February 11, 2021


 1                     So understand that cybersecurity experts
 2   that work for this country put all this in place before
 3   the election even started to make sure that they caught
 4   all of this information so that foreign adversaries were
 5   not deciding our elections.
 6                     MR. LINDELL:      Absolutely.      And what a
 7   blessing that they were there for us to catch all this
 8   and to get all this put together.            And even to have
 9   these -- you know, to be proactive.            They were
10   proactive, everybody.        And this -- what a blessing this
11   is, because we came this close to never knowing.                And
12   this is actually a miracle that we have all this, Mary.
13   And this is amazing.
14                     MR. BANNON:     Okay.     Mike, here, you're
15   essentially saying -- 'cause this is a -- basically a
16   declaration of war.        This would be the Chinese Communist
17   Party coming directly to change the outcome of a
18   presidential election.         There could be nothing more
19   serious than this.
20                     Now, I want to go to what Mary Fanning put
21   up.   The chart looks nice as she's explaining it, but I
22   don't know if people even at home can follow because
23   it's quite complicated.         You know, given that the
24   charges here are so severe, particularly against a
25   foreign government now -- and -- and Mary Fanning's a




                            Dickman Davenport, Inc
           214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP575
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 576 of 971

                                                                            168
                 Steve Bannon Broadcast - February 11, 2021


 1   very well known investigative reporter, but it's a very
 2   severe charge.
 3                     Also, you have Dominion -- and I just want
 4   to -- once again, they are adamant in every statement
 5   they make, they don't have servers in Germany, they
 6   don't have servers in Spain, none of their -- none of
 7   their data or none of the -- you know, the facsimile
 8   ballots, no ballot goes overseas.             In fact, they say the
 9   ballots -- the electronic ballots don't even cross
10   county lines.       They're that adamant about it.
11                     So let's go back to Fanning.           That first
12   chart, are you -- do you have backup evidence -- because
13   really, still -- it's still an assertion of hers.                 We --
14                     MR. LINDELL:      Well --
15                     MR. BANNON:     -- we see the -- we see the
16   diagram, but -- or we see the chart, but how are people
17   and other professionals -- are you going to put the real
18   material online so that outside groups can look at this
19   and see --
20                     MR. LINDELL:      Well --
21                     MR. BANNON:     -- if she's delivering the
22   goods?
23                     MR. LINDELL:      Well, first of all, that
24   first thing with all those lines going back and forth,
25   that's not a computer simulated.            That was -- that -- we




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP576
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 577 of 971

                                                                            169
                 Steve Bannon Broadcast - February 11, 2021


1    took that -- or they took that and squished in a
2    five-day period and squished it in to that so you could
3    see all that.      You know, when it takes off here from
4    China and goes to Fulton County, those are -- those are
5    all real inside the spyware thing that -- that they --
6    that we -- that we -- that these guys have.
7                      MR. BANNON:     Okay.     But are you -- okay.
8    Fine.   Fine.     That's -- they're putting that forward.
9    Are you prepared to have -- like you had Allied came and
10   did the forensic audit in Antrim County of the Dominion
11   machines.    What -- this is so explosive --
12                     MR. LINDELL:     No, let me -- Steve, I'm
13   going to have to explain.
14                     MR. BANNON:     -- because now -- now
15   you're -- you're accusing -- you're accusing Dominion of
16   being a tool of a foreign government that has
17   essentially done, I believe, an information warfare, an
18   act of war against the United States of America.               And
19   remember, I think the Chinese Communist Party would do
20   anything to destroy America.          However, this is so
21   explosive.      What are you going to do with Mary Fanning
22   or other people to put forth out there that independent
23   experts can check this out?
24                     MR. LINDELL:     Right.     Well, here's -- first
25   of all, let's now -- well, let's go to the charts.                I




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP577
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 578 of 971

                                                                            170
                 Steve Bannon Broadcast - February 11, 2021


 1   just told you, the thing inside the spyware, okay, that
 2   that was switched.
 3                     MR. BANNON:     Right.
 4                     MR. LINDELL:      The charts that go across,
 5   these charts, the ones that actually come out of the
 6   spyware -- the machine, or software, whatever it is, I
 7   haven't seen it, well, that these things come out,
 8   they're in -- they're in a language -- it's a footprint
 9   in time.    And what we -- what they did is they took
10   that, the exact -- the exact stuff that's on there so
11   you know it's from a computer from the spyware that the
12   government has, and then we put it into these things.
13                     And when you see up there that Mary went
14   through and said, IP address, computer ID, now, what
15   we've done or what these guys did, another group has
16   went over.     And we've went and validated all these
17   computers that are in there, not all of them, but enough
18   where we're going, Wow, this is real.             That was
19   something I wanted done.         I wanted it done.        I wanted to
20   see --
21                     MR. BANNON:     Okay.     Hang on -- hang -- but
22   hang on.    That's not clear -- that's not clear from the
23   thing --
24                     MR. LINDELL:      I'm getting there.
25                     MR. BANNON:     I think you --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP578
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 579 of 971

                                                                            171
                 Steve Bannon Broadcast - February 11, 2021


1                     MR. LINDELL:      I'm getting there.
2                     MR. BANNON:      -- if you had another group
3    val- --
4                     MR. LINDELL:      I'm getting -- I'm getting
5    there.
6                     MR. BANNON:      Okay, fine.      Go ahead.
7                     MR. LINDELL:      I'm just telling you --
8                     MR. BANNON:      Go ahead.
9                     MR. LINDELL:      -- what I did for my due
10   diligence.     So these computers --
11                    MR. BANNON:      Okay.
12                    MR. LINDELL:      -- all match up.       They're
13   going -- and, yeah you could have went around the world,
14   I guess, and went and looked at a computer ID and you
15   could have looked up an IP address and did that.
16   What's -- what the -- the things that back these up,
17   once they get before the court -- once we -- this would
18   get to the Supreme Court, then you're going to get the
19   actual prints that have a time stamp on it, that have a
20   government stamp on there, and these -- there's three or
21   four people, actually three, that are whistleblowers.
22   These are government intel people --
23                    MR. BANNON:      Okay.
24                    MR. LINDELL:      -- that work there.        A couple
25   of them still work there.         And they're not going to come




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP579
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 580 of 971

                                                                            172
                 Steve Bannon Broadcast - February 11, 2021


1    out and say -- right now and put it all up and say --
2    then they're going to know who did it.             These people --
3    these people are exposing everything.            So when this gets
4    before the courts.
5                     MR. BANNON:      Okay.
6                     MR. LINDELL:      -- that's when it comes out.
7    I can't --
8                     MR. BANNON:      Okay.
9                     MR. LINDELL:      -- put this stuff out.
10                    MR. BANNON:      Let's -- let --
11                    MR. LINDELL:      What this --
12                    MR. BANNON:      Okay.
13                    MR. LINDELL:      -- this stuff up there --
14                    MR. BANNON:      Let's assume -- let's -- okay.
15   But let -- okay.      What happens if it doesn't?           For a
16   host of reasons, look, so far, the track record of the
17   courts taking this up is that they're not taking this
18   up, for whatever reason, they don't want to get
19   involved, they want to look the other way.              That's for
20   people to make a decision why they're not.
21                    If this does not get into the courts, and I
22   think the next ruling's on the 22nd, are you prepared to
23   put your independent -- the independent guys you had
24   take a look at this, can you start to get this
25   information out here, Mike, because Mary Fanning claims




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP580
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 581 of 971

                                                                            173
                 Steve Bannon Broadcast - February 11, 2021


1    this is greatest cyberattack in world history.
2                     MR. LINDELL:      No, no.     No, this --
3                     MR. BANNON:      I want to repeat that.         The
4    greatest cyberattack in world history.             So are you going
5    to somehow try to get some additional information out
6    there?
7                     MR. LINDELL:      No, I'm claiming it's the
8    greatest cyberattack, and then you're going to see
9    people coming right up.        There's a general that's going
10   to validate it.      He's going to val- -- he's coming on
11   right now where he's going to show -- tell you what you
12   just seen.     But I will tell you this.         I will say if --
13   if this doesn't get out, no matter what, I will get it
14   out there so the public can see it.
15                    And I will tell you this, I will get it to
16   Domin- -- Dar- -- or Dominion, Smartmatic.              I -- even if
17   I have to go sue them so that -- so that evidence
18   gets -- has to get -- you know, pulled out so that we
19   save our country and save -- save -- this was the
20   biggest crime against humanity and -- and the world,
21   really.    Everybody's watching this.
22                    So you can either say -- for me, I can tell
23   everyone out there, I went all in.           There's not even a
24   little sliver of wiggle room for anybody to discredit
25   what I know and what we have.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP581
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 582 of 971

                                                                            174
                 Steve Bannon Broadcast - February 11, 2021


 1                     MR. BANNON:     Yeah.
 2                     MR. LINDELL:      And I will say this, I will
 3   tell you this.      There's a reason all the media --
 4   there's a reason that they're crickets.              There's a
 5   reason when -- I -- you know, you put this out there,
 6   that it gets suppressed.         There's a reason they don't
 7   let us look at any more machines other than the one in
 8   Antrim County.      There's a reason for that.           This isn't
 9   about Democrats and Republicans anymore.              This is about
10   our country.
11                     What I have just shown you, I have done my
12   due diligence on.       And you know what, all of you, yeah,
13   if you -- if it doesn't get through the courts and
14   stuff, some way or another, but you wouldn't know -- you
15   wouldn't know if a government sheet like this came out.
16   The government people know that.            The guy that's coming
17   on next can tell you exactly what this is and -- this
18   general.    He can tell you what you just seen.
19                     MR. BANNON:     Okay.     Let -- let -- let --
20   let me -- let me just two other things before I go to
21   the next section.       Colonel Waldron said very early on
22   that the -- that Dominion's -- the private equity firm
23   that owns Dominion has been bought by the Chinese.                  Will
24   you also put all that information, allow Colonel
25   Waldron -- put all the information out about the private




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP582
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 583 of 971

                                                                            175
                 Steve Bannon Broadcast - February 11, 2021


 1   equity firm, because I think Dominion denies that too.
 2   Can you put out all the information Colonel Waldron said
 3   about the private equity firm?
 4                     And one other thing is that director of
 5   national intelligence owed -- by -- by executive order
 6   owed the president a full response from an executive
 7   order, signed, I think in 2018.           A full report of any
 8   foreign intervention in the last election.               It was
 9   delayed.    I think it came out in the last days of the
10   administration.      And the CIA, you know, kind of held it
11   back.
12                     But when DNI came out and said that China
13   did intrude into the 2020 election, people were led to
14   believe that that might have been the Wumao 50 Cent Army
15   and some social media, not a cyberattack at this level
16   to change the election.         The DNI, was Congressman
17   Ratcliffe, who's very close to President Trump, don't
18   you feel kind of squeamish when the director of national
19   intelligence at least hasn't backed up that, yes, there
20   was Chinese involvement, but he certainly doesn't say
21   there was Chinese involvement on a cyberattack, as you
22   say the greatest cyberattack in world history.
23                     Mike Lindell, what do you say?
24                     MR. LINDELL:      I say that they -- this is
25   what this whole document -- documentary is for.                And




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP583
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 584 of 971

                                                                            176
                 Steve Bannon Broadcast - February 11, 2021


 1   what they had back down there, he said this, he probably
 2   didn't know how big this really was.             You know, he
 3   probably didn't know.        This is -- this is everything we
 4   stand for, the American dream.           Every single thing from
 5   here till eternity is right now if we don't make a stand
 6   right now.     Because everything you've seen and that --
 7   what you've just seen, this was the biggest cyberattack
 8   and now -- and people should know --
 9                     MR. BANNON:     Do -- do you think -- you --
10   you're thinking that our intel- -- you're saying our
11   intelligence services, you don't believe, have the
12   investigative apparatus -- or even Mary says she's
13   getting some of this from people inside the system.
14                     MR. LINDELL:      Yeah.
15                     MR. BANNON:     That they don't understand
16   what Mary Fanning and her other investigators are
17   talking about, they even got this information or they're
18   suppressing it?
19                     MR. LINDELL:      Oh, they're -- it's
20   absolutely they've suppressed it.            I mean, I -- I mean,
21   come on, just look at all the stuff we've seen here
22   tonight.    I mean, they're suppressing it.            Why do you
23   think they're trying to suppress me?             I mean, it would
24   be very easy to say, Come on, Mike, we'll open up a
25   machine and show you.        Come on, Mike, none of your stuff




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP584
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 585 of 971

                                                                            177
                 Steve Bannon Broadcast - February 11, 2021


1    is any good.
2                     Do you know when we put -- when we put up
3    Absolute Proof, Facebook changed it from completely
4    false to partially false.         Well, that means it's
5    partially true.      And I'll tell you what, if you got to
6    think about that, everybody.          If it's so bad, why
7    wouldn't the news out there, instead of saying for three
8    weeks, Mike Lindell has no evidence, he's -- he's back
9    on crack, blah, blah, blah.         Instead, all of a sudden,
10   it's crickets.      It's crickets --
11                    MR. BANNON:      Yeah.
12                    MR. LINDELL:      -- on Friday because --
13                    MR. BANNON:      Okay.
14                    MR. LINDELL:      -- you know what -- and every
15   one of you's got to get this out there 'cause everything
16   you see in there --
17                    MR. BANNON:      Yeah.
18                    MR. LINDELL:      -- it's 100 percent proof.
19   And you know what, if -- you can say, Well, Mike, show
20   us more, show us more.        It'll all come out.        I'm just
21   telling you, this is real.         These -- you know, all this
22   stuff will come out.        But it's got to get to a court.
23   And if it doesn't --
24                    MR. BANNON:      Okay.
25                    MR. LINDELL:      -- trust me, it will come




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP585
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 586 of 971

                                                                            178
                  Steve Bannon Broadcast - February 11, 2021


1    out.    And the proof will come out and then the truth
2    will come out.        And we'll finally find out why --
3                     MR. BANNON:      Mike --
4                     MR. LINDELL:      -- with the questions you're
5    asking, Steve.        How come our own intel --
6                     MR. BANNON:      Yeah.
7                     MR. LINDELL:      -- how come the FBI, how come
8    the D -- you know, Department of Justice, why didn't
9    anybody do anything?        Why -- you know, somebody put out
10   the other day, why did this My Pillow guy have to come
11   up with all this?       I did my own due diligence, but
12   people came to me because I had the only voice left
13   because everybody else got suppressed.             That's it.
14                    MR. BANNON:      Okay.     We've got an American
15   hero coming on.       General McInerney.       Let's hear what
16   general mechanic has to say to back up Mike Lindell.
17   General McInerney.
18                    (Plays video.)
19                    MR. LINDELL:      And now we have with us
20   General McInerney, who is going to give us a prospective
21   on what we just seen.
22                    General, thanks for coming on.
23                    GENERAL MCINERNEY:         Well, thank you, Mike.
24   And thanks for what you're doing for this great nation.
25   This is vitally important.         You have just seen the most




                             Dickman Davenport, Inc
            214.855.5100    www.dickmandavenport.com      800.445.9548

                                  APP586
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 587 of 971

                                                                            179
                 Steve Bannon Broadcast - February 11, 2021


1    massive cyber warfare attack in the history of mankind.
2    Now, the Founding Fathers did not know anything about
3    cyber warfare, but we do.         And that's the important
4    thing.    You have seen just how it was orchestrated
5    against our election system.
6                     And I took an oath of office 60-some years
7    ago as a (inaudible) on the plains of West Point to
8    support and defend the Constitution of the United States
9    against all enemies, foreign and domestic.              We now are
10   seeing the largest domestic enemy we have in our
11   history, and people must understand that.
12                    What happened?       You spelled it out.        It was
13   driven by China, and they used a system that we have
14   had -- because only that system could modulate and
15   coordinate the many simultaneous attacks that they used
16   against us.
17                    Now, why this is so important is because
18   our military, which I spent 35 years in the Air Force
19   and ended up as the No. 3 man in the air staff, as well
20   as heading up Vice President Gore's reinventing
21   government for the entire Department of Defense, those
22   two jobs simultaneously, we now are faced with something
23   our military has never seen before, nor have the
24   American people.
25                    We are going against globalists who are not




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP587
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 588 of 971

                                                                            180
                 Steve Bannon Broadcast - February 11, 2021


1    interested in America.        They are interested in us
2    becoming a socialist communist state.            They talk about
3    progressivism, but progressivism is just the front door
4    to communism.      They want a global communist world.            And
5    you must understand that, America.           It's so important.
6                     And it's so important that President Trump,
7    who won 79 million votes in the election to 68 million
8    for Biden, because we have and you've seen those exact
9    numbers, he dominated.        It was an awesome victory.          And
10   yet, they turned it around, foreigners.             And we have not
11   had one audit.      This is the closest thing to an audit
12   that has been conducted in America on this important
13   election.
14                    The American people must understand what we
15   are facing today, and that's why all of us here that
16   you're seeing in this program are so focused.               I could
17   not understand was that the legislatures, the judicial,
18   and the executive, meaning the FBI, the Department of
19   Justice, the intelligence community have failed us with
20   deep (inaudible).       They did not report this.
21                    This was the most massive cyber warfare
22   attack, so did cyber command, did the National Security
23   Agency, did the CIA, did the Department of Justice, the
24   FBI report this, no.
25                    MR. LINDELL:      Well, General, to -- to put




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP588
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 589 of 971

                                                                            181
                 Steve Bannon Broadcast - February 11, 2021


1    this in perspective, then, you're 100 percent that this
2    was the biggest cyberattack in the world -- in world
3    history, correct?
4                     GENERAL MCINERNEY:        That's correct.
5                     MR. LINDELL:      Wow.    Well, thank you and
6    we're going to see -- it's going to -- I was telling
7    everyone, General, when this all -- when -- when this is
8    all revealed, we're going to be a -- it's going to be a
9    great uniter of all people in our country, and we're
10   going to be in the greatest revival ever to bring our
11   country back to one nation under God.            Thank you.
12                    GENERAL MCINERNEY:        Well, God bless you for
13   what you're doing, Mike.         Thank you very much.
14                    MR. LINDELL:      Yeah.    Thank you, General.
15

16                    MR. BANNON:      So, Mike, this is very scary.
17   The general is such a renowned guy.            He talks about
18   domestic enemies had to somehow work on this.               People
19   want to know, where is your investigation going to go
20   from here?
21                    MR. LINDELL:      Well, I'm glad that a general
22   that was in charge of all the nuclear weapons for the
23   Pentagon is telling everyone exactly what I've been
24   telling.     This was the biggest attack ever in history on
25   our country, and you had to have a lot of domestic




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP589
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 590 of 971

                                                                            182
                 Steve Bannon Broadcast - February 11, 2021


1    enemies here.      That will all be found out.          What we need
2    to go for from here is we need to reach out and get this
3    out far and wide, get the news out there, the real news.
4                     Once everybody knows this, then we
5    can ho- -- you know, the Supreme Court, I've said
6    throughout this film.        The Supreme Court, they need --
7    there's nine of them.        They're all watching this at
8    home.   That's the last line of defense to protect our
9    country.    We need -- this was an attack on our country
10   and we're right in the middle of it right now.               So
11   everybody has to just get it out there first, and then
12   they get the absolute proof out there and then the
13   absolute truth will be told.
14                    (Plays video.)
15                    MR. LINDELL:      And now we have with us Terry
16   Turchie.    He's the former deputy assistant director of
17   Counter-Terrorism Division of the FBI.             And you know,
18   Terry, welcome to the show.
19                    MR. TURCHIE:      Thanks, Mike.
20                    MR. LINDELL:      And we've -- we've just shown
21   everybody in the world 100 percent evidence that this
22   was an attack on our country, and it's still under
23   attack by China and other countries through the use of
24   these machines used in our election.            I want to ask you,
25   you know, where was the FBI -- we out -- people out




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP590
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 591 of 971

                                                                            183
                 Steve Bannon Broadcast - February 11, 2021


 1   there are wondering, where's the FBI or the DOJ during
 2   this whole time these last few months?
 3                     MR. TURCHIE:      Sure.    Well, you know, a lot
 4   of former FBI agents -- agents are asking that, too, as
 5   well, Mike.     They're asking, Where has the FBI been?
 6   They're responsible and accountable for trying to
 7   protect the country.        That's what our
 8   counter-intelligence money is all about.              That's what
 9   our counter-intelligence division is all about.
10                     And yet, the question of where were they
11   and where are they, I think probably can best be
12   explained like this.        The FBI has most likely been as
13   compromised as the Democratic Party and the rest of the
14   government.     They simply didn't do the job.            If they'd
15   have done the job, all that you just showed in this
16   program would have unfolded inside of a courtroom.
17                     And that's exactly what we should be doing
18   right now.     We should be talking about the penetration
19   of the United States Government and government
20   agencies --
21                     MR. LINDELL:      What we've shown here too is
22   this -- this is all people.          This has been -- you know,
23   what we've shown today, this is another country taking
24   our country.      I don't care if you're a Democrat or a
25   Republican, we are one nation under God.              And to see




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP591
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 592 of 971

                                                                            184
                 Steve Bannon Broadcast - February 11, 2021


 1   what's -- I mean, I -- I guess I'm very happy now that
 2   it's all going to get out to the country and
 3   everything's going to get out.           And like I said before
 4   during this show, there's going to be nine Supreme Court
 5   justices out there now watching this show and saying,
 6   Wow, 100 percent, this was an attack and we are still
 7   under attack by other countries, including China leading
 8   the way.
 9                     And they're -- they -- you know, they
10   fraudulently stole our election, and we have to -- I --
11   and -- and then to see that -- how this could happen
12   with the FBI and the DOJ, these people that were
13   supposed to protect our country, including the Supreme
14   Court.    If you were still in the FBI, I guess what would
15   you -- what would you be doing right now when you just
16   see all this 100 percent proof here that this happened?
17   What -- if you -- in the FBI now, what -- you know, if
18   they're out there, shouldn't they be doing something now
19   that this is all out in the open?
20                     MR. TURCHIE:      We would -- we would be
21   launching a major investigation of cyber activities.
22                     MR. LINDELL:      These attacks, the people
23   that -- you know, from China and on down that -- who did
24   it, they're very good at trying to bury everything, to
25   bury these deviations that came up, and then everything




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP592
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 593 of 971

                                                                            185
                 Steve Bannon Broadcast - February 11, 2021


 1   opened up, where everybody knows that this was stole,
 2   but now we know how and why, so...
 3                     MR. TURCHIE:      Well, certainly.       And the
 4   purpose of an intelligence operation of this magnitude,
 5   whether it's this magnitude or even smaller, is to -- is
 6   to conceal itself, and to be so hard to figure out that
 7   by the time you get to the conclusion, it's too late.
 8                     MR. LINDELL:      Right.
 9                     MR. TURCHIE:      And that's why it's very
10   concerning that the FBI that already knows and has the
11   foundation of the China threat well in its grasp, would
12   try to write off or just not seem to understand --
13                     MR. LINDELL:      Right.
14                     MR. TURCHIE:      -- how this would have been
15   the next -- next logical step for them.
16                     MR. LINDELL:      Right.    Well they weren't
17   very --
18                     MR. TURCHIE:      (Inaudible.)
19                     MR. LINDELL:      -- they weren't proactive,
20   but at least now, we're -- you know, we got -- we're
21   going to be reactive.        And -- and we've got to be
22   reactive first and then we've got to be proactive for
23   the future that -- when this all manifests out.                I've
24   said it before, that this is going to manifest into the
25   greatest revival ever.         It's going to unite our country,




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP593
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 594 of 971

                                                                            186
                 Steve Bannon Broadcast - February 11, 2021


1    not divide us.      It's going to be the great uniting and
2    we will once again be one nation under God.
3                     Thanks, Terry, for coming on.           And God
4    bless and -- and thanks for all you've done and what you
5    continue to do for our country.
6                     MR. TURCHIE:      You too, Mike.       Thanks for
7    having me.
8                     MR. LINDELL:      Thank you.
9                     Now you've all seen absolute proof of the
10   biggest cyberattack in history.           We, right now, it's a
11   takeover of our country.         We all see it happening and
12   now you see the proof of where it came from and what
13   happened.    We all need to go out now, each and every one
14   of you, and tell your friends, family, people, your
15   social media, spread this out everywhere and to show
16   that they all need to watch this.           And they all need to
17   know the truth.
18                    And pretty soon, everyone's going to see
19   this, including nine Supreme Court justices.              You're all
20   there watching, all nine of you, and you know what, I
21   don't know what you can do, but I know you're there to
22   protect our country.        And everything has a precedence,
23   everything going -- well, this happened then, so we're
24   going to base it on that.         This is the precedence.
25                    What's going on now, what's going to happen




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP594
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 595 of 971

                                                                            187
                 Steve Bannon Broadcast - February 11, 2021


 1   now is going to change the course of our world and our
 2   country forever.       I've been getting calls from world
 3   leaders, you know, they're looking at us, what's going
 4   to happen over here.        Ronald Reagan once said, America
 5   is the shining city on the hill, whose beacon light
 6   guides freedom-loving people everywhere.              If the lights
 7   go out here, the lights go out everywhere.
 8                     I want to say that God has had his hand in
 9   all of this, this has been on God's timing.               And when we
10   get through all this, we will once again be one nation
11   under God.
12                     (Recording ends.)
13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP595
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 596 of 971

                                                                            188
                 Steve Bannon Broadcast - February 11, 2021


 1                     C E R T I F I C A T E
 2        I, TERRI GARCIA, Certified Shorthand Reporter in
 3   and for the State of Texas, certify that the foregoing
 4   is a correct transcription from the video recording of
 5   the above-entitled matter.
 6        I further certify that I am neither counsel for,
 7   related to, nor employed by any of the parties to the
 8   action in which this recording was transcribed, and
 9   further that I am not financially or otherwise
10   interested in the outcome of the action.
11        I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14
15
16                                 ________________________________
                                   Terri Garcia, Texas Certified
17                                 Shorthand Reporter No. 6581
                                   Dickman Davenport, Inc.
18                                 Firm Registration No. #312
                                   4228 North Central Expressway
19                                 Suite 101
                                   Dallas, Texas 75206
20                                 (214) 855-5100
                                   My commission expires: 7-31-25
21
22
23
24
25




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP596
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 597 of 971

                                                                                            189
               Steve Bannon Broadcast - February 11, 2021

         A            169:15              63:21 96:19        air 36:22 37:2      47:19 70:11
abetted 34:20       act 162:9 169:18      121:10 127:18        92:23 179:18      73:11 132:2
ability 30:18       acted 85:25           127:20 128:2         179:19           analyzing 120:6
  63:25 125:6       action 90:13        administration       alerted 45:14      and/or 143:1
able 31:25 53:20      188:8,10            6:3 36:24 47:11    algorithm 79:15    Anderson 8:6
  53:22,24,24       actions 143:2         155:22 175:10      algorithms 14:25    10:16 154:3
  54:3 79:4 80:5    active 35:14        administrators         23:20 30:4       anomalies 21:9
  109:19 116:19     activities 156:1      158:2,4              87:23 164:8      anomaly 74:21
  127:21 141:8        184:21            admitted 55:23       Alibaba 160:23      74:22 77:14
above-entitled      activity 40:6         64:15 92:8,12      alien 26:10         79:22
  188:5             actual 51:14        ads 71:13            aliens 16:23,24    answer 9:19 26:4
absentee 17:23        92:10 115:4       advantage 28:24        17:22 23:10      answers 139:23
  19:6                119:9,9 138:1     adversaries          alleges 40:7       Antrim 52:13
absolute 1:15 2:4     141:11 144:4        162:8,11 167:4     Allied 28:14        53:3,21 54:7,21
  2:14 11:18          163:15 165:12     advice 4:15 9:15       43:20 44:1        54:22 55:4
  27:21 42:10         171:19            AdWord 11:17           123:24 129:10     105:14,18,18
  46:2 51:21        adamant 40:12       AdWords 11:15          131:10 132:1      106:2,7 113:20
  58:19 70:7          40:17,18          affect 151:7           134:6 169:9       120:11 121:11
  152:6,7,10          101:21 168:4      affidavits 35:4,20   allow 118:23        121:21 122:5
  154:11,11           168:10              59:22 64:16          123:20 174:24     122:23,23
  177:3 182:12      adamantly 132:6       132:18             allowed 51:22,22    126:10 128:15
  182:13 186:9        149:19            afraid 46:22           52:23,24 103:1    128:19 130:2
absolutely 12:12    add 18:8 61:4         65:21 66:18,25       123:24 124:19     132:2 133:13
  23:2 41:5 59:13     161:12              117:14 150:12      allows 30:17        136:1,25
  62:25 68:4        addict 3:12           151:2              altogether 56:9     137:16 151:3
  69:13 70:18       adding 68:12        agencies 183:20      amazed 23:2         153:7 154:23
  95:3,7 111:15       131:6             Agency 180:23        amazing 3:24 4:9    164:19 165:4
  130:24 152:10     addition 91:20      agenda 4:1             6:2 69:1 90:6     165:21 169:10
  167:6 176:20      additional 42:21    agents 183:4,4         167:13            174:8
accept 43:1 94:23     69:9 101:18       ago 5:25 44:8        Amendment 86:4     anybody 2:18
accepted 46:23        102:5 103:20        70:12,14 81:11     America 75:10       30:17 92:18
  66:8                173:5               86:14 142:23         87:23 169:18      94:9 144:1
access 31:8,12,15   address 19:20         179:7                169:20 180:1,5    150:14 152:1
  31:18 63:19         33:19 61:1        agree 25:13,19         180:12 187:4      173:24 178:9
  103:9 121:15        157:6,7,8,11,13     26:11 146:10       American 16:4      anymore 130:10
  166:24              157:17,22           146:10               27:4 39:11        137:2,3 145:21
accessible 124:24     163:7,8 166:3     agreed 2:10            155:6,7 162:10    174:9
account 13:10,11      170:14 171:15     agreeing 26:7          176:4 178:14     Anytime 13:22
accountable         addresses 163:6     ahead 21:12            179:24 180:14    anyway 23:24
  183:6             adds 18:22            70:19 149:23       Americans 35:21     103:9
accumulate          adjudica- 96:23       152:5 171:6,8        35:22            apartment 37:3
  128:4             adjudicated 17:8    ahold 136:8          amount 30:7 62:7   appalled 47:16
accurate 24:14      adjudication        AI 76:10             amounts 73:25      appalling 52:24
  124:25              16:17,21 55:1,2   aided 34:20          An- 93:11          apparatus
accusing 169:15       55:10,17,23       aims 78:4            analysis 28:15      176:12


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                          APP597
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 598 of 971

                                                                                           190
              Steve Bannon Broadcast - February 11, 2021

apparent 29:2      assist 96:3 101:1   attorneys 143:7      115:18 118:6        19:6 20:3 29:23
Apparently         assistant 182:16    audience 26:5        118:18 131:4        30:7 35:20 40:9
  64:21            Association 81:3      41:15 67:21        133:24 134:10       41:2,3 55:9
appli- 80:18       assume 172:14         134:7 151:4        135:17 137:12       74:7 95:13
apply 82:22        assuming 139:24       152:25 153:10      149:15 158:10       97:24 98:15
appointed 38:16    assurance 60:11     audio 138:18         168:11,24           126:12 127:17
appointees 38:16   asymmetric 33:1     audit 32:14 52:20    171:16 175:11       127:18 128:4
approached         AT&T 140:10           107:14 115:5       176:1 177:8         168:8,9,9
  100:15           atta- 153:16          116:16 118:7       178:16 181:11      bandwagon 5:12
approaching        attached 136:15       118:15 122:14     back-and-forth      bandwidth 40:21
  59:2               149:16              137:19 159:13      3:24                40:21 41:7,13
approximately      attack 5:8 12:14      169:10 180:11     backdated 19:3      bank 31:2
  50:12              12:17 16:2          180:11            backdoor 95:14      bankrupt 9:8
area 63:12 93:15     21:20,25 22:10    audits 137:23       backed 62:20        Bannon 1:16 2:2
areas 153:3          25:1 27:6,12      augment 68:1         102:5 175:19        2:3 5:17 6:6
argument 39:18       28:23 34:11,25    August 47:17        background 28:2      10:17,23 11:2
Arizona 15:11        38:2 54:12        Austin 47:18         73:25 91:14,21      11:23 12:10,18
  16:14 17:1,5       56:14 85:23         48:2 49:20         95:24               12:22 23:3 25:4
  24:6 25:8 26:6     94:7 136:11       authorities 45:14   background's         25:12 26:3
  31:20 32:12,15     153:16,17           114:21             91:21               27:14,17 34:19
  38:8               159:18 160:12     automatically       backs 2:13           38:4 40:2,6,14
Army 175:14          160:15,19           138:20 139:1       103:20              40:17 42:11,13
aside 25:14 76:9     163:22 165:7      AV 91:3,13 92:1     backup 39:6          42:15,20 43:13
  100:25 152:24      166:8,14 179:1    avoid 37:11,13       153:20 168:12       43:19 56:20
asked 20:18          180:22 181:24     aware 62:11         bad 7:2 11:1 57:8    57:24 58:3,5
  39:15 42:1         182:9,22,23       awesome 180:9        177:6               67:18 68:19
  44:10 45:16        184:6,7                               Bailey 106:6,14      69:2 70:1,3
  47:24 60:25      attacked 4:24              B            bald-faced 8:21      88:10 90:1,4,7
  122:5 130:18       6:15 12:4 13:5    B 93:22              41:21 129:14        90:12 101:25
  130:21             13:7 22:17        back 2:16 3:19      ball 155:11          103:12,14,18
asking 118:22        68:14 143:23       4:10,21 5:21,22    ballot 18:2 52:22    103:24 104:7
  123:19 147:21      143:24 165:25      6:5 7:3 10:16       54:24 55:4 61:1     104:14,17,20
  178:5 183:4,5      166:11,12          10:25 11:3 12:3     75:19,20,24         104:23 105:1,5
asks 146:19        attackers 6:23       12:7,21,23 17:4     76:2,3,9,14,17      114:13 117:7
aspects 106:18     attacking 11:4,5     17:13 19:9          76:18,20 78:8       117:10,19,22
assert 101:15        12:4,5 14:5,10     24:15 25:6          78:12 79:12,15      117:25 118:3
assertion 168:13     69:5 159:11        27:20 36:11         80:25 83:19         129:4 130:20
assertions 39:5    attacks 163:23,24    39:7 40:22          98:23 99:2,8        130:25 132:9
  41:16 42:22        179:15 184:22      41:16 42:21         101:8,8,11          133:18,21
  67:23 102:6      attention 3:14       43:16 44:17         106:15 127:7        134:2,12,17
  132:4            attorney 35:8        48:1,7 49:1,14      127:22,25           135:7,12
assessment           83:22 114:14       58:9,13 63:18       168:8               136:17 137:4,6
  131:18             115:2 142:22       68:6,22 88:18      ballots 16:17        149:9,19 150:6
assessments          144:2 145:1        90:19 96:20         17:3,3,4,5,8,23     150:17,25
  29:11              150:19             97:16 115:17        18:14,18 19:3,5     152:8,14 153:7


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                   800.445.9548
                                         APP598
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 599 of 971

                                                                                            191
               Steve Bannon Broadcast - February 11, 2021

 153:10 154:22        47:15 162:5         86:9 89:22,24      151:16             144:15
 154:25 155:5       begins 2:1            102:18 103:13     board's 4:15       BROADCAST
 155:12 167:14      Beijing 157:11        116:2 128:19      bombarded           1:16
 168:15,21          beings 75:20          141:21 152:20      166:16            broke 14:25 15:1
 169:7,14 170:3     belief 6:11           153:15 160:12     book 59:17,19       15:2,24 23:20
 170:21,25          believe 8:1 26:21     176:2             books 59:17 60:3    128:13 158:5
 171:2,6,8,11,23      34:13,24 35:3     bigger 123:5        boom 104:10,12     brought 14:1
 172:5,8,10,12        39:1 66:16 73:9     134:14            boss 4:6            23:18 29:9 44:9
 172:14 173:3         78:25 85:12       biggest 6:23 16:2   bots 5:1 6:20       45:14 88:22
 174:1,19 176:9       118:25 129:13       16:3 21:19         85:21              90:25 149:12
 176:15 177:11        131:25 135:8,8      87:20 142:15      bottom 65:17        154:3
 177:13,17,24         135:14,15           142:16 143:15      76:23 134:4       brutal 131:12
 178:3,6,14           142:16 149:11       156:10 160:15      135:2 140:23      bu- 11:10
 181:16               152:18 169:17       166:14 173:20      142:5             bucket 48:24
Barcelona 33:11       175:14 176:11       176:7 181:2,24    bottoms-up          54:25 55:1,2
 63:4               best 4:14 5:25        186:10             71:14             build 73:14
barn 66:20            56:22 68:24       Bill 65:7 66:6      bought 38:1        building 119:7
Barr 35:15 65:7       116:18 183:11       84:23 106:6,14     174:23            buildings 37:3,3
 66:7 83:20         bet 86:6 124:8      billboard 71:13     box 13:8 19:25     built 36:8 162:25
 84:10,23           better 15:23 24:3   billion 37:17        140:23             163:1,2,2
base 186:24           89:14             billions 36:20,21   boy 24:2 85:14     bumper 71:12,18
based 36:16 44:2    beyond 6:10           37:1,1            boycotting 11:12   bunch 153:3
 56:7 126:11        Bi- 111:4           bins 18:17          boycotts 13:8      buried 54:11
 127:6 130:1        biased 77:16        bit 15:22 20:4      Brad 25:22         bury 184:24,25
 137:17             Bible 6:7,12          29:17 37:4        brains 88:13       business 91:22
basic 29:9          Bibles 5:23 7:2       41:24 59:15       brave 152:4         133:22,23
basically 15:1      Biblical 85:3       bizarre 17:6        brazenly 62:18      152:11
 30:8,17 35:2       bidding 11:18       black 74:15         break 39:25        businesses 37:24
 49:25 59:2 64:2    Biden 15:21         blah 177:9,9,9       47:17 105:7       businessman 4:2
 81:18 83:25          16:15,16 19:8     blatantly 117:15    breakfast 93:4     button 118:11
 139:17 159:10        21:13 30:10       bless 181:12        breaking 24:3       138:24
 163:14 167:15        37:22 97:11,12      186:4              54:17 159:24      buttons 165:16
basis 54:3 145:14     102:24 105:23     blessing 167:7,10   breaks 12:24       buy 11:16,16
batches 100:21        106:24 108:3      block 116:18        Brian 26:22        buying 37:24
battle 163:1          108:23 110:2      blocked 115:12      briefing 46:1
be- 26:17 156:20      111:4,20 112:6    blow-back 6:9        47:12                      C
beacon 187:5          117:1 141:16      blue 115:18         briefings 49:22    C 94:2 188:1,1
beat-down 2:24        155:22 161:16       141:15            bring 3:19 28:9    cable 92:10
 2:25                 180:8             board 4:18 11:13     40:19,23 67:24      140:25 141:2
becoming 180:2      big 2:8,25 15:12      24:13 30:25        70:13 79:18       cabling 91:22
bed 24:2              15:13 18:5          31:3,3 36:21       147:19 149:9      calculation 131:5
began 28:12           21:14,14,24         91:3,14 92:1       150:22 156:11     call 10:18 19:11
 49:21 75:8           24:5,5,18,25        106:15,16          181:10              119:7 141:16
 156:19 162:1         38:8 57:5 60:22     114:16,24         bringing 57:13     called 4:25,25 7:6
beginning 2:21        68:18 74:4 78:7     116:2 134:21       59:18 90:9          19:10 33:25


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                          APP599
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 600 of 971

                                                                                           192
               Steve Bannon Broadcast - February 11, 2021

  42:9 48:22,23       127:5 129:23      certainly 55:16    charged 147:20       167:16 169:19
  55:1 59:25 60:2     134:24 136:14       175:20 185:3       148:20             174:23 175:20
  63:4,5,14 76:3      151:7,21          certifiable        charges 167:24       175:21
  78:17 80:2          157:19 158:14       137:17           chart 16:10,17     chip 139:11
  87:11 94:6,20       165:21            certification        156:18 157:2,4   choice 147:22
  123:24 127:18     cases 32:4,5,6,9      155:14             159:5 163:6,10   choose 131:18
calling 7:8 9:1,3     32:10 35:11,12    certified 1:13       167:21 168:12    Chris 38:12,14
  87:10,13 143:6      42:23 55:24         130:3 152:17       168:16             38:24 39:8
  143:7               81:17 90:2          152:22,22,24     charts 39:24       Christian 22:16
calls 187:2           124:22 134:18       153:4 188:2,16     169:25 170:4,5   churches 22:16
campaign 37:14        136:25 144:3      certify 153:12     cheat 56:3,4         22:17
cancel 22:14,14       150:22 157:25       154:15 188:3,6     104:13 142:5     CIA 35:4 175:10
canceled 13:9,10      158:4,5 160:23      188:11           cheated 88:19        180:23
candidates'           164:18            cetera 40:9        cheating 41:19     circles 76:11
  78:19             casino 80:9         CF 119:8             51:13,14,17      CISA 29:15,16
capabilities 36:4   cast 19:14 113:11   Chad 38:14,15      check 10:9 18:2      47:10,11,12,21
  65:6 139:9          113:21 123:3        38:25 39:1         69:9 114:24      cities 110:19
capability 36:4,7     140:22            chain 20:3 49:23     130:14,15        city 123:5 187:5
captured 119:5      catch 149:13          120:14             169:23           civilian 155:20
  119:11              167:7             chair 91:16        checked 135:15     claimed 19:24
capturing 93:13     category 30:10      challenge 106:8      135:16           claiming 173:7
cards 100:3,7       Caucus 46:1           145:11,19        Chestonia 106:22   claims 172:25
  119:8,8,9         caught 41:19          147:20           Chicago 139:7      Clarity 48:22
care 12:13 58:11      129:14,17         challenged         chief 145:1          63:5
  65:10 183:24        167:3               106:14 147:11    children 19:15     Clark 17:25
Carone 90:16,16     cause 112:4         challenger 91:2    chilling 146:6     classified 49:22
  95:16,18,20,23      116:9 167:15      challenging        chills 146:16      clear 19:6 69:3
  95:25 96:3,6,8      177:15              143:9            China 14:19 27:7     170:22,22
  96:11,14,18,22    CCP 31:15           change 5:19          28:8 31:9,21     clearly 45:10
  96:25 97:4,7,10   cellular 139:3,5      29:20 48:25        34:23 37:9,11      60:13 61:14
  97:15,18,21,24      140:9               49:4,13 50:25      37:13 81:16        67:4
  98:5,7,11,14,17   Cent 175:14           77:10 134:5        82:6 142:4       clerical 118:11
  98:21,23 99:2,5   center 92:7,8,11      167:17 175:16      153:17,25        clerk 106:2 118:9
  99:7,9,11,18,21     92:11,15            187:1              158:21,24          135:9,12
  99:24 100:4,9     centered 106:21     changed 19:20        160:23,25        click 11:20
  100:12,14,18      centers 31:19         38:21,22 61:8      161:1 163:15     client 45:24
  100:23 101:3,6    central 44:9          61:14,16 63:21     163:23 169:4       146:21
  101:9,14,25         140:22 188:18       158:14,16          175:12 179:13    clip 5:16
case 25:13 51:21    CEO 13:4 40:24        177:3              182:23 184:7     clips 2:20
  53:13 80:20         41:12 125:10      changes 159:1        184:23 185:11    close 22:21,21
  82:21,22 86:8     certain 62:7        changing 44:14     Chinanet 157:11      24:3 50:17,19
  93:12 105:21        65:19 106:21        58:17 65:18      Chinese 30:24,24     66:19 72:11
  106:20 121:8        120:16,24         charge 38:25         31:1,2,9,14        96:15 103:6
  121:19,20           131:6 152:10        39:9 41:11         155:15,18,21       167:11 175:17
  123:19 125:5        152:15              168:2 181:22       155:25 156:1     closed 138:23


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                 800.445.9548
                                          APP600
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 601 of 971

                                                                                            193
              Steve Bannon Broadcast - February 11, 2021

closer 42:22          158:13 164:17       188:20              46:3,6 53:11     configured
closest 180:11      columns 20:15       commitment            65:16 105:21       138:19 139:6
Cloud 160:25        com- 18:15            69:10               120:14 140:8       139:19
CNN 6:12 7:13       combination         committed 42:20       177:3            confirmed 54:6,7
CNNs 87:12            65:15               103:19,24         complex 32:19      confront 156:1
co- 102:19          combine 148:15      Committee 91:17     complexes 37:4     congressman
code 31:7,8,13,15   combined 19:1       communicate         complicated          23:5 62:23
coffee 115:23       come 12:23 17:13      87:3                140:13 167:23      175:16
  128:23,25           27:3,4 40:4       communication       comprised 61:2     congressmen
Colbeck 90:15,23      41:25 43:15         87:2              compromised          85:6
  91:1,7,10,13,20     50:25 57:22       communications        46:4 65:22       connect 120:18
  92:6,15,17,22       62:11 71:5          33:25 82:16         183:13             121:3 138:7
  92:25 93:3,8,11     90:19 98:2        communis- 89:5      compu- 98:24         140:18
  93:17,20,25         114:16 116:8      communism           computer 56:17     connected 59:20
  94:2,4,6,11,15      137:12 150:4        22:11 180:4         73:15 83:4         60:5 70:22 92:4
  94:18,20,23         150:16 153:16     communist 30:24       87:23 98:24        92:9,17,19,21
  95:7,9,12           154:11 158:21       31:2,9 155:15       157:13,14,22       92:22 93:6,13
  101:13,15,22        159:19 162:9        155:18,21,25        159:13,20,21       93:14 101:22
  103:21              170:5,7 171:25      156:2 167:16        159:23 165:24      122:19 129:12
collect 119:10        176:21,24,25        169:19 180:2,4      168:25 170:11      129:18 140:24
collected 123:15      177:20,22,25      communists 22:9       170:14 171:14    connecting 29:8
  156:22,25           178:1,2,5,7,7       31:1              computer's 92:19     106:9
  157:1               178:10            community           computers 61:3     connection
collecting 156:19   comes 16:8 20:25      180:19              92:9,13 158:3      129:21
  156:22              63:15 65:7        companies 45:1        166:24,24        consider 14:21
collection 119:4      84:10 116:14        51:14 58:12         170:17 171:10    consistent 64:20
  120:9               116:17 124:23       63:7 73:18        con- 115:17          65:4,5
collects 29:11,12     134:3 172:6       company 11:9,14     conceal 185:6      consistently 39:2
college 2:6         Comey 164:4           12:4 13:8 31:7    concern 62:7       conspiracy 32:23
Colonel 27:19,22    coming 22:9 27:7      31:7,10,14        concerning         constant 65:13
  27:25 28:1,12       31:20 32:16         36:22,24 58:8       185:10           constantly 98:11
  29:15,25 30:4       37:12 44:15         59:25 60:1 63:3   conclude 125:19      98:12 124:13
  30:13,21 31:6       45:21 66:15         63:5 68:23 69:8     130:1 131:13     constituents
  32:2,18,23,25       69:23 74:5 85:2     89:6,6 116:17     concluded            147:19,23
  33:3,10,17,24       101:17 132:22       149:19              125:16 126:4,6   Constitution
  34:3,13,23 35:3     134:8 136:12      company's 13:11     conclusion 109:4     179:8
  35:25 36:15,19      154:19 156:13     compatible            126:2 185:7      Constitutions
  37:7,11,21 38:4     160:22 163:23       139:14            conclusively         143:1
  39:7 40:7,20        167:17 173:9      complain 114:16       122:16           contact 119:22
  41:16 69:8          173:10 174:16     complaint 62:9      Conduct 148:25       119:23
  174:21,24           178:15,22         complaints          conducted 33:3     contacted 52:15
  175:2               186:3               144:23              121:9 180:12       81:2,19 82:16
color 163:21        command 180:22      complete 8:18       confident 134:5      106:2 149:24
column 157:4,10     comment 90:20       Completed 17:2      configurations     contacting 86:3,8
  157:20 158:7      commission          completely 13:13      91:25            contesting


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                  800.445.9548
                                          APP601
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 602 of 971

                                                                                            194
               Steve Bannon Broadcast - February 11, 2021

  137:11              123:7 125:3        63:17 64:5          121:11,21           174:13
continue 58:6         126:9 142:8,9      69:17 70:5 81:9     122:5,23,23       cover 42:6
  186:5               159:15 181:3,4     81:15 84:7          123:10 126:10     covered 140:7
continued 45:19       188:4              86:25 87:1,20       128:15,19         COVID-19 159:3
  45:23             correlates 141:25    89:15 109:18        129:4 130:2,5     cows 66:19
control 92:6,8,11   corresponding        115:2,11 130:7      132:2 133:13      crack 177:9
  92:15               163:20             133:16 136:3        136:1,25          crazy 48:4 49:7
controlled 62:21    corrupt 65:16        136:12 144:18       137:16,19           151:9
controls 31:1       coun- 135:9          149:5,5 151:13      139:7 151:3       creases 98:15
  152:18            Council 155:23       153:15,17           152:20 153:7      create 28:23
controversial 2:7   counsel 188:6        154:5 156:10        154:23 157:21       125:21 131:15
  90:14             count 15:11 21:4     159:2,3 160:14      158:15 159:22     created 35:20
conversation          21:5,16 24:6       162:1,13,25         160:18 164:19       73:2,3 78:8
  1:15 3:25 154:1     56:5 100:16        163:3 164:16        165:4,5,21        creating 72:24
converted 76:3        111:18             165:6,24 167:2      168:10 169:4      creator 73:4,4
converts 127:4      counted 18:12        173:19 174:10       169:10 174:8      credentials 49:2
Cooke 139:7           75:20 76:9         181:9,11,25       coup 34:15,19         63:16,18 131:4
Coomer 138:19         102:19,20,20       182:9,9,22          35:6                158:1,2 159:24
  139:5,12,20,25    counter-intelli...   183:7,23,24       couple 2:20         crickets 4:23
  140:3 150:6,18      183:8,9            184:2,13            10:23 14:23         174:4 177:10
Cooper 7:17,20      Counter-Terro...     185:25 186:5        86:14 102:10        177:10
  7:24 8:3,7,10       182:17             186:11,22           105:8 116:4,4     crime 87:22,25
  8:13,18,21,24     countered 39:1       187:2               118:8 149:10        122:6 142:16
  9:2,5,8,12,14     counties 54:3      county 17:8,25        171:24              142:17 173:20
  9:17,20,25 10:2     64:4 75:23 80:2    19:22,23 30:6     course 5:19 16:25   criminal 147:13
  10:4,7,11,14        122:20 152:16      31:12,19 49:1,3     41:20 47:25         150:23
  154:3               153:2 156:25       49:4 52:14 53:3     51:1 52:25        criminally
coordinate          counting 58:15       53:7,21 55:22       102:23 106:17       147:21 148:20
  179:15              76:13 91:3,13      55:22 63:16,19      113:13 187:1      criminals 149:5
copies 138:21         92:1 100:1,2       63:19 64:1,7      court 32:4,5,6      critical 33:5 36:3
cor- 163:20           161:16             74:6,10,15,16       35:11 42:22,23      36:7
core 36:13          countries 14:5,19    74:16 75:23         43:1 51:21        crooked 153:14
corner 140:23         21:25 22:11        80:3 91:12,14       81:18 115:3       cross 168:9
corporations          28:8 31:21         105:14,15,18        118:22 123:19     culture 22:14
  82:7                33:16 34:11,12     105:18,19           125:5 131:7       curious 141:22
correct 49:15,17      34:25 56:14        106:2,7 107:15      134:24 143:2      currently 139:7
  49:21 52:5,6,10     65:18 71:9 82:6    109:13 110:7        145:19 151:7        139:16
  52:11 53:14,15      84:1 109:12        110:12,24           171:17,18         custody 20:3
  56:7 60:4 62:24     182:23 184:7       112:21 113:7        177:22 182:5,6      120:14
  97:3,18 106:1     country 4:1 6:4      113:20 114:8        184:4,14          customers 4:17
  107:25 108:2        12:14 14:4         114:15,19           186:19            cy- 57:15
  110:9,10,10,20      21:19 22:1,12      115:15,16,19      courtroom           cyber 14:14
  110:21 111:4        25:1,24 27:7       115:25 117:13       183:16              27:18 33:1,22
  112:4,23 114:9      33:6 34:16 38:6    117:14 119:7      courts 154:14         38:5,10 41:17
  119:16,25           41:2 49:2 54:13    120:3,11            172:4,17,21         44:3 45:15


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                         APP602
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 603 of 971

                                                                                        195
               Steve Bannon Broadcast - February 11, 2021

  49:16 56:5,12    168:7             deconstruct 2:5     108:7,10,14,22      147:25 148:5,8
  57:15 58:17     database 63:19     deep 180:20         108:25 109:7        148:11,13,15
  61:24,24 117:4   63:22             defend 179:8        109:24 110:2,5      148:19,22
  130:14 159:18   databases 44:14    defense 37:12       110:10,21           150:20
  161:25 179:1,3  date 19:18          39:22 179:21       111:2,5,8,12,15   DePerno's 115:1
  180:21,22       dated 123:25        182:8              111:17,20,23      Depernolaw.com
  184:21          Davenport          definitely 34:16    112:1,4,8,11,14     124:12
cyberattack 16:3   188:17             34:17,19 36:15     112:16,24         deputy 182:16
  27:18 156:10    day 13:25 17:3     degrees 70:10       113:4,10,13,16    describe 60:18
  160:7 173:1,4,8  23:6 60:20,21      88:11              113:19,23         design 91:22
  175:15,21,22     77:4,7,9 87:14    delayed 175:9       114:2,9,11        designed 125:20
  176:7 181:2      91:5 101:19       deleted 79:12       117:17 118:7        131:14,24
  186:10           128:10 178:10      80:25 83:19        118:17,20           132:5,9
cyberattacks      days 6:16 15:10     121:11             119:3,16,19,21    desk 60:2
  39:11 58:16      75:13 81:11       delivered 35:20     119:25 120:5,8    desperate 9:2,5
cyberly 49:14      95:17 118:8       delivering 168:21   120:21,24         destroy 85:15,17
cybersecurity      175:9             demeans 143:4       121:2,5,7,14,19     85:19 169:20
  30:16 156:15    DE 33:25,25        Democrat 12:13      121:24 122:4      detail-oriented
  156:19 163:1    dead 17:14 18:5     53:10 80:3         122:10,15,18        134:4
  167:1            20:2,8,10 21:4     105:21 110:9       122:22,25         detailed-orient...
cyberspace         23:11 24:12        110:15 183:24      123:3,7,9,12        134:3
  159:14           26:1 95:12        Democratic          124:4,11,16,19    determine
                  deal 25:15 36:25    183:13             124:22 125:4,8      127:24
        D          114:22            Democrats 174:9     125:15,18         Detroit 91:3,13
D 178:8           dealing 142:21     demonstrates        126:1,5,9,14,20     91:25 110:19
daily 6:4         debunk 64:24,24     149:1              126:23 127:3,9    developed 51:20
Dallas 28:13 44:2 debunked 64:23     denied 46:9,10      127:11,14,17      deviation 33:8
 44:8,22 45:21     64:23              46:16 82:23        127:20,24           53:12 74:20
 57:6,9 60:17,21 decades 128:21      denies 175:1        128:2,6,12,15       77:15 79:25
 60:21 61:9,12    December 107:11    DENIX 34:1          134:13 137:8        110:17 128:18
 188:19            107:13 119:1      deny 46:21          137:16,23           128:19
Dan- 143:17        123:15,23         Department          138:1,5,7,10,12   deviations 13:19
Dana 142:21        124:1,13           29:12 35:5         138:17 140:14       16:1 24:5,8
 143:18,19,20     decertify 82:22     41:10 47:7         140:17,20           77:4 153:22
 143:20 145:20    decide 64:5         64:21 83:16        141:2,5,8,11,14     184:25
 147:7 148:16      162:10             178:8 179:21       141:18,21,25      device 138:22
 148:23 150:19    decided 55:24       180:18,23          142:8,10,20       devices 93:12
 151:14,23         62:22 131:18      depended 132:3      143:6,11,19,25    DHS 38:13 47:11
Dar- 173:16       deciding 167:5     depending 132:1     144:6,9,15,18       47:18 49:19
dare 143:21       decision 91:2      depends 60:8        144:21,25         di- 115:24
data 28:15 29:6    172:20            DePerno 105:6,8     145:6,9,13,16     diagram 168:16
 47:25 48:1 51:6 deck 100:2,7         105:10,13,17       145:23 146:2,5    Dickman 188:17
 79:21,21 119:4 declaration           106:24 107:2,6     146:9,13,16,19    Diebold 78:25
 119:9 120:9       167:16             107:10,13,17       146:23,25         died 20:1
 127:4,4 141:23 declare 21:12         107:21 108:2,5     147:2,5,7,15,18   difference 112:22


                           Dickman Davenport, Inc
      214.855.5100        www.dickmandavenport.com                 800.445.9548
                                       APP603
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 604 of 971

                                                                                          196
               Steve Bannon Broadcast - February 11, 2021

  116:2               145:19            183:17 184:15     Donald 3:11 15:3    86:3,11,17
different 7:17      dismiss 32:20       184:18             16:25 18:9,23      87:22 88:11
  12:24 17:17         80:19 82:23      DOJ 35:7,9,13       21:6,17 23:8,21    89:11,23 90:9
  29:1 53:21 56:9   dismissal 80:23     45:14 183:1        24:14 25:18       drawing 163:5
  60:16 76:5        dismissed 32:7      184:12             26:14 101:11      dream 16:4 176:4
  77:11,13 140:9    disparity 113:17   dollar 11:20        105:23 107:23     drill 151:2
  140:11              122:25           dollars 36:21       108:7,20 109:1    driven 18:19
dig 133:8           districts 131:9     37:1,17            110:5 111:21       179:13
digging 77:18       divide 186:1       domestic 22:12      112:8,24 113:1    drivers 35:19
  88:21 116:14      division 29:11      35:1,1 179:9,10    114:7 117:1       drives 119:10
  133:11              47:18,19,20       181:18,25          158:16 160:4      dropped 155:10
diligence 4:8         182:17 183:9     Domi- 119:5         160:13 161:7      dropping 13:9
  13:24 68:5 73:7   DNA 45:2           Domin- 173:16       161:15            drugs 3:22
  130:19 134:6      DNI 175:12,16      dominated 180:9    donated 10:13      Ducey 26:23
  152:12 171:10     Do- 111:20         Dominion 12:15     door 180:3         due 4:8 13:24
  174:12 178:11       160:13            28:16 30:14       Dorsey 82:3         34:6,8 68:5
direct 31:18        docu- 163:2         31:1,4,8,13        86:12,22 89:9      73:7 130:18
directly 30:5       document 156:23     33:13 36:2,9       149:7              134:6 152:12
  31:18,21 36:11      158:18 164:17     40:24 41:8,12     double 18:8         171:9 174:12
  138:23 167:17       175:25            41:23 44:20,22    doubt 62:25         178:11
director 82:15      document- 30:24     46:10,16 56:25    Doug 26:23         dug 88:19 89:1
  164:3,4 175:4     documentary         57:1,14 59:10     dove 13:21          133:9
  175:18 182:16       136:23 175:25     63:6 68:8 87:16   dozen 66:11        dump 104:9,10
directors 31:3      documentation       87:16 88:2        Dr 70:5,10,14,20   dur- 90:18
  81:4                156:22 157:3      95:16 96:6 97:2    70:22,24 71:4,8
dirt 87:15            160:7,8 161:25    97:4 101:2,4,21    71:17,20 72:1,5            E
disagree 144:11       162:5 163:17      102:14,15          72:7,10,13,17     E 188:1,1
disagreed 147:11      164:15 166:21     103:1 118:23       72:20,23 73:3     earlier 36:1
disagrees 145:3     documented          118:24 119:6       73:10,14,18,24      39:15,25 56:5
disbar 137:10         30:24 160:21      120:17 121:11      74:4,9,12,14,19     56:13 59:9 64:3
  150:22              162:7             122:20 125:10      74:22,25 75:2,5     161:17
disbarment          documenting         125:12,19          75:8,12,16,22     early 32:15 47:17
  144:13              161:6 162:1       126:17 127:5       76:1,5,8,13,16      61:7,8 78:16
disbarred 143:8     documents           128:3 129:14       76:20,24 77:1,3     174:21
discard 99:11,13      163:12            131:13,18,20       77:12,20,24       earth 151:8
discarding 99:14    doing 4:14 9:21     132:4 138:2,3      78:3,6,10,15,23   easier 41:22
disclose 54:9         11:6 22:20        140:15,21          79:3,10,14,20     easily 28:19,19
discourse 145:17      23:23 24:21       143:15 149:11      79:24 80:2,5,8      48:16 118:12
  146:6,14,17         28:14 29:7,8,8    149:15,25          80:12,15,18,22    easy 120:20,21
discovery 52:23       68:25 87:20       150:2 152:17       81:7,12,17,24       176:24
  52:24               96:8 100:5        168:3 169:10       82:2,4,11,14,20   eat 93:4
discredit 117:13      136:13 143:22     169:15 173:16      83:1,4,7,11,14    economy 5:25
  173:24              147:4 150:11      174:23 175:1       83:18,22,25       effective 48:14
discussion 41:7       154:7 166:14     Dominion's          84:3,6,13,17,19   eight 75:13
discussions           178:24 181:13     174:22             84:21 85:16,25    either 33:20


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                800.445.9548
                                         APP604
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 605 of 971

                                                                                             197
               Steve Bannon Broadcast - February 11, 2021

  39:13 54:24         143:12,16         Emmet 157:21        erased 13:12          153:11 155:8,9
  63:21 67:16         145:9,10            158:15            erasing 44:14         159:12 160:11
  151:10 153:5,6      147:12,20         employed 188:7      Eric 23:5 25:17       161:20 165:19
  153:13 173:22       150:14 151:17     employee 101:15       149:10,20           166:15 167:10
eje- 55:13            154:7 156:17        103:1               150:4,16,17         177:6 178:13
elected 26:11         156:17,21,23      employees 4:5       error 118:11          182:4,11,21
  147:21 148:1        156:24 157:4,9      12:6                127:11,15,17        185:1
  148:20 151:1        157:12,15         ena- 145:18         errors 18:17        everybody's 49:9
election 11:2         158:20,23         enabled 30:17         125:21 126:11       66:20 87:7
  12:20 13:19         159:17,18           145:18              131:15              143:23 150:12
  14:5,19,24,24       160:9 161:14      encompasses         ES&S 28:16            173:21
  15:9,20 17:23       162:2,6,8,10        40:8                30:14 36:2,9      everyone's 3:5
  19:21 20:1,2        163:24 164:5,9    encourage 5:21        44:21 46:12         6:18 186:18
  21:2 22:2 23:20     164:10 165:8        87:8,17             63:7              everything's
  26:6,17 27:16       166:22,24         ended 4:14 47:6     espe- 88:2            184:3
  28:7,9 29:3,20      167:3,18 175:8      54:1 106:9        especially 36:19    evidence 2:13
  31:17 33:16         175:13,16           110:25 150:13     ESS 57:1,8,13         12:2,25 13:17
  35:10,16,18         179:5 180:7,13      179:19              58:11               14:2,16 30:6
  37:8 38:13,19       182:24 184:10     ends 187:12         essentially 80:8      32:10,13 35:15
  39:10 44:5,8      election-related    enemies 179:9         167:15 169:17       39:6,21 52:3,4
  45:11 46:22         35:10               181:18 182:1      establishment         52:9 65:8 68:10
  48:22 50:18,19    elections 22:2      enemy 34:21 36:5      71:14               68:16,16 69:10
  50:20,21 51:1,8     24:19 25:16         179:10            estimated 15:19       81:12,13 88:23
  54:1 55:13,24       30:19 33:18       enforce 83:16       et 40:9               88:24 92:3,5
  56:22 57:18         34:9 57:4 58:25   enforcement         eternity 176:5        102:5,11 104:4
  59:11,23 60:17      78:12 91:16,17      145:2             ethernet 140:25       112:20 115:15
  61:8 63:5,8         106:15,17         engineer 71:1         141:2               130:8 133:11
  67:20 69:24,24      145:11,16,20        77:21,25          ethics 144:22         136:7 144:15
  70:19 71:9,21       160:22 163:17     Enron 67:5,6,7,8    ev- 54:11 166:6       148:2,9 149:23
  72:4,13 75:9        167:5               67:8              evening 40:8          159:16 168:12
  79:5 81:3 82:15   electors 21:6       ensure 140:24       events 15:25          173:17 177:8
  84:11,15 85:1,1   electronic 17:8     entered 157:8,12      106:5               182:21
  90:14 91:4,24       28:17 29:2 41:3     157:14 159:17     eventually 45:17    evil 149:4
  92:12 94:17         46:3 73:20,21       159:21,23,24        45:25             ex-addict 3:11,20
  102:18 105:22       73:22 75:17         160:8 164:9       everybody 24:2,4    ex-crack 3:12
  106:18,19           76:10 168:9       entering 19:5         24:21 43:5,7      exact 74:13,14
  108:3,23          electronically      entire 55:24          48:11 52:1 53:2     116:24 157:13
  109:11,12           75:24               90:14 137:9         53:11 54:8          164:2,2,20
  110:3,6 112:14    elements 34:16        179:21              55:20 56:11         170:10,10
  114:17 116:3      Elk 108:22          entirely 65:4,5       66:15,16 69:4       180:8
  116:10 118:8      email 35:6 72:24    equipment 59:25       83:13 85:7,20     exactly 2:12
  120:12 125:22       73:5                63:13               102:22 117:12       14:17 51:9,18
  126:8 128:10      emails 73:2,3       equity 30:25 31:4     128:18 136:24       53:19 77:12,20
  131:15 132:25     Embassy 35:5          174:22 175:1,3      137:10 138:11       83:11 88:16
  137:18 143:10     embedded 78:18      erase 13:15           142:1 153:11        100:4 120:17


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                          APP605
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 606 of 971

                                                                                              198
               Steve Bannon Broadcast - February 11, 2021

  140:17 159:19     explosive 155:16    fair 12:20 59:14       88:20 89:16       financially 188:9
  159:20,20,20        169:11,21         faith 8:13             135:20,20         find 5:6 11:20
  161:6 164:17      exposed 62:16       fake 18:18 150:9    FEBRUARY                27:6 31:24
  164:19 166:22       85:5 122:23         158:2                1:14                 35:15 47:15
  174:17 181:23     exposing 172:3      fallacies 102:18    federal 34:17           57:21 65:17
  183:17            Expressway          fallacy 10:1           78:11,11 83:15       77:9,18 86:6
example 109:16        188:18            false 158:4         fee 188:11              116:13 133:12
  109:21            extend 37:15          159:24 177:4,4    feel 175:18             133:16 151:2
excited 166:1       extensive 26:9      fame 106:12         feet 103:7              155:3 178:2
excuses 85:10       extraordinary       familiar 91:23,24   felons 19:13         fine 58:5 69:2
execute 36:5,5        8:14 70:6         families 5:23       felt 131:21             169:8,8 171:6
executive 144:10      114:18              6:13 7:4 155:8    Fi- 69:2             finish 9:19
  149:11 175:5,6    eye 134:22          family 11:10 12:5   fiasco 152:20           163:14
  180:18            eyes 51:5 132:15      37:22 186:14      fight 37:14          firewall 93:1
exercises 29:8      eyewitness 68:2     Fanning 155:16         152:19               158:5 159:25
exist 51:24,24      eyewitnesss           156:3,11,14       fighting 37:18       firewalls 93:4
expect 15:4 23:21     67:24               159:16 160:2,6       38:1              firm 30:25 31:4
expected 33:8                             160:20,25         figure 76:11            174:22 175:1,3
experience 5:10              F            161:4,9,24           105:6 114:25         188:18
  5:12 79:17        F 8:9 188:1           162:4,15,22          115:2 120:25      first 3:2,3 5:12
  120:6             Facebook 124:14       163:19 164:1         134:14 185:6         14:23 23:15,19
experienced 4:12      177:3               164:23 165:9      figured 153:19          38:9 57:4 78:7
expert 38:5,10      faced 179:22          165:11,14,17      file 123:19 143:1       79:11 81:11,18
  41:17 70:10       facing 180:15         166:5,20             143:8                86:4 87:19
  161:25            facsimile 168:7       167:20 168:11     filed 62:9 106:9        102:20,21
experts 14:14       facsimiles 41:3       169:21 172:25        106:13 118:20        115:12 129:6
  39:4 119:23       fact 26:25 32:3       176:16               118:21,22            144:3 155:20
  120:4,10            48:12 52:13       Fanning's 167:25       144:23               157:4 159:4
  156:15,19           80:15 92:8        far 172:16 182:3    files 121:10,10,10      160:3 168:11
  167:1 169:23        108:12 114:10     fascism 147:2          121:25 128:7         168:23,24
expiration 122:7      114:11,12         Fathers 179:2          163:15 165:12        169:24 182:11
expires 188:20        116:22 117:12     favor 89:3          filing 106:10           185:22
explain 12:24         121:12 132:10     favorable 36:24     filings 131:7        fit 149:2
  19:2 23:13          142:24 152:19     FBI 35:9,16,19      filled 104:5         five 6:16 138:21
  48:10 50:9 66:9     156:22 158:11       45:17 164:3,3     film 2:4,6,7,12,23      153:18
  142:7 151:4         161:5 162:24        178:7 180:18         11:24 12:6,23     five-day 169:2
  156:11 169:13       164:5 168:8         180:24 182:17        12:24 27:19,21    flat 63:22
explainable         factors 36:3          182:25 183:1,4       68:1 90:9 118:5   flaws 131:21,25
  151:5             facts 10:10 26:20     183:5,12             137:12 152:9         132:5
explained 15:1        50:4 67:22          184:12,14,17         182:6             flip 27:13 62:22
  156:16 183:12       112:20              185:10            final 158:13            64:7 106:19
explaining          factual 108:14      FDA 8:16,16,19      finally 11:19 47:6      116:23 128:22
  118:17 167:21     failed 19:21        fear 146:20            66:17 178:2          132:6 135:13
explanation 83:8      20:13 180:19        147:22 148:4      financial 36:16      flipped 14:6
  114:3             failure 120:11      feature 78:17,18       36:16                38:23 53:9,11


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                          APP606
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 607 of 971

                                                                                           199
              Steve Bannon Broadcast - February 11, 2021

   105:22 109:3       118:15,23         founding 44:1       fruit 25:10         19:20 20:7,16
   111:4 115:21       119:4,5,11,23       179:2             frustrating 31:25   24:7 25:8,22
   115:21 123:12      120:6 121:8       four 5:13 21:3        32:3              26:6 30:6 31:20
   128:16 133:19      122:16 123:14       70:10,11,14       full 32:14 107:14   32:9 166:11,15
   133:19 135:4       123:16 125:24       88:11 97:17         134:8,9 137:18 Germany 34:1
   136:4,5 161:19     126:2 127:7         155:21 171:21       162:4 175:6,7     63:12 64:9
   165:23 166:18      142:3 159:16      four-minute 7:15      188:12            86:25 168:5
flipping 93:9         169:10            fourth 5:14         fully 131:2       getting 2:24,25
   110:25           forensics 44:3      frame 42:18         Fulton 55:21,22     6:14 7:2 18:24
Florida 56:23         53:23 56:6        Frankfurt 33:12       169:4             29:5 44:13
fobs 104:8            61:24               33:19,20 63:12    fun 91:8 142:24     50:17 54:14
focus 58:13 91:25   forever 16:4,7      Franklin 74:6       fundamental         59:18 68:24,25
   104:19             24:19 187:2         75:23               30:16 86:4        86:19 90:5
focused 180:16      forge 152:4         frankly 93:14       further 52:24       113:6 133:7,8
fodder 51:23        form 73:22          fraud 23:9 25:12      130:1 135:25      134:4 136:11
folks 34:4 114:18   form- 91:15           26:9 29:21          188:6,9,11        143:23,24
follow 120:11       former 30:10          35:16,18 44:5     future 25:16        166:11,12,16
   167:22             90:23 101:14        46:22 57:5          58:25 185:23      170:24 171:1,4
followed 84:4         101:14 103:21       70:19 71:9 72:4                       171:4 176:13
footprint 142:3       164:3 182:16        72:14 75:9                 G          187:2
   170:8              183:4               84:11 85:1,2      gained 113:24     GHS 29:10
footprints 68:25    fornetics 57:15       104:1,22            121:15          gi- 20:14
   117:4 130:14     forth 40:22           109:11 125:21     gains 36:16       giants 2:8,8
   159:17 160:8       144:15 147:19       131:15 142:16     gal 68:10         Giuliani 38:7
   160:21 162:7       168:24 169:22       143:15 148:11     gals 4:19           90:18
for- 57:15          forthcoming           150:14,15         game 2:6 41:19    give 20:7,8,10,14
Force 179:18          32:15               156:17,24           88:1              25:25 26:22
forces 28:24        Fortune 73:18       fraudulently        gapped 92:23        39:25 47:25
foregoing 188:3     forward 22:2          184:10            Garcia 188:2,16     75:19 89:12
foreign 28:8          32:11,14 57:8     freed 3:12          Garden 5:15 6:8     102:5 154:16
   30:22,22 31:21     151:7 169:8       Freedom 45:25       gate 66:19          154:16 178:20
   33:11 34:11,11   found 5:7 33:11     freedom-loving      Gateway 101:18 given 121:21
   34:20 50:24,25     44:12,12 45:20      187:6             general 44:8        127:6 167:23
   157:3,6 159:17     53:1 55:4 58:23   Friday 11:17          142:22 145:1    giving 29:17 67:9
   160:21 161:5       59:24 70:17         177:12              150:19 173:9    glad 24:16 26:13
   162:7,8,11         75:16,17 78:6     friendly 7:15         174:18 178:15     70:22 181:21
   167:4,25           78:10,16 79:15      28:24               178:16,17,20    global 180:4
   169:16 175:8       79:21 83:18       friends 72:11         178:22,23       globalists 179:25
   179:9              86:1 88:13,20       186:14              180:25 181:4,7 go 2:6,11 14:17
foreigners            95:21 121:8       fringe 72:14          181:12,14,17      15:5 16:10,12
   180:10             126:10 129:17     frivolous 143:1       181:21            16:16,22 17:12
forensic 14:14        136:11 166:4      fro- 56:4           generates 126:11    17:14,21 18:5
   32:14 52:20        182:1             front 37:5 96:20    genius 73:5         18:11,16,21
   115:4 116:16     foundation            98:24 125:10      Georgia 17:13       19:9 21:11 23:3
   116:20 118:7       185:11              180:3               19:9,11,18,19     23:4 24:4 25:6


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                  800.445.9548
                                          APP607
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 608 of 971

                                                                                          200
               Steve Bannon Broadcast - February 11, 2021

 27:20,20,20        6:18 7:15 11:11    117:2,3 118:6       34:17 39:10        168:18
 30:18 40:20        11:22,25 12:3,7    128:23 130:9        65:17,20 81:20    GSM 139:18
 42:16 43:9         12:22,23 13:8      131:1 132:24        81:21 82:6 85:6   guarantee 9:12
 48:12 49:13        13:12,14 14:7      133:1,5,12,14       86:1,5,7 89:5      116:10 124:6
 54:3 55:17         14:12,13,14,14     133:16 134:25       89:19 91:16,17    guess 22:23
 56:25 58:5,9,9     14:15,17 15:5,8    135:24,24,24        144:11 167:25      56:22 64:10
 58:18 59:9         15:9,10 16:10      137:1,9 138:14      169:16 170:12      138:8 149:13
 66:24 68:6 70:3    16:11,12,12,13     142:2,3,19          171:20,22          166:16 171:14
 70:19 78:25,25     16:19,20 17:1,7    143:17 145:10       174:15,16          184:1,14
 85:9,21 87:19      17:12,16,19        149:4,24            179:21 183:14     guides 187:6
 88:3,6,6,7         18:15,15,21        150:10,13,25        183:19,19         guise 19:6
 90:12,15,18        19:9 21:11,12      151:3 152:4       government-m...     guy 4:7,13 7:6,11
 100:20 114:6       21:23 22:2,13      154:13 155:16       37:2               20:18,19,23
 115:4,22,25        22:18,24,25        156:8,11          governments          39:9 42:1 64:15
 118:3,6 127:18     23:1,2 25:25,25    157:25 162:11       31:11,12           70:25 71:1,14
 132:17 135:24      26:18 27:1,4,5     162:19,21         governors 21:7       73:7 74:14,15
 136:15 137:7       27:18,22 34:7,8    168:17,24           24:22 85:7         74:16 88:18
 138:15 145:18      36:25 37:8         169:13,21           154:6              90:10 101:2
 149:23 150:8       39:20 41:8,16      170:18 171:13     grab 120:3           114:16,23
 154:13,14          41:22,25 43:1,2    171:18,25         grabs 63:15          120:22 133:22
 157:2 158:10       43:6,16 44:16      172:2 173:4,8,9   grace 5:18           134:20 151:15
 158:18 162:20      50:21 51:9,10      173:10,11         granted 6:17         151:15 152:11
 165:2,22,22        51:12 53:19        178:20 179:25       118:24 123:23      174:16 178:10
 167:20 168:11      55:10 56:15,16     181:6,6,8,8,10    grasp 185:11         181:17
 169:25 170:4       57:21 58:24        181:19 184:2,3    great 4:6,6 6:2,3   guy's 73:5 83:11
 171:6,8 173:17     62:11,17 64:16     184:4 185:21        8:3,4 60:22        88:12,12
 174:20 181:19      66:6,16,17,20      185:24,25           89:12 90:8        guy- 143:13
 182:2 186:13       66:21,23,24        186:1,18,23,24      116:16 178:24     guys 23:2 38:14
 187:7,7            67:2 68:9,12,16    186:25,25           181:9 186:1        41:11,14 44:18
God 3:12 4:21       68:20,21 70:4,4    187:1,3           greatest 4:4         48:3 52:14,15
 5:18,19,21 7:3     70:12,15,17       good 10:4,7 11:6     173:1,4,8          52:15,20 69:1
 76:17 181:11       71:24 72:11        21:8 37:18          175:22 181:10      70:5 87:10,13
 181:12 183:25      73:6,8 76:23       136:25 177:1        185:25             88:1 104:11
 186:2,3 187:8      77:3,9,17 80:8     184:24            green 36:25          108:16 115:22
 187:11             81:12 85:5 87:3   goods 168:22       grew 71:6            129:13 135:18
God's 187:9         87:5,6,24,25      Google 11:14       ground 71:11         143:13 149:22
goes 51:8 54:24     89:12,19 90:15     124:16            group 28:14          150:8,22 169:6
 54:25 55:1 56:6    94:2 100:18       GOP 71:14            43:21 44:2         170:15 172:23
 57:16 76:1         102:4 103:16      Gore's 179:20        45:15 47:8
 129:22 168:8       104:4 105:3,7,8   gorilla 24:18        49:23 60:16               H
 169:4              107:14 109:9      gotten 10:24         99:6 123:25       ha- 159:9
going 2:3,4,11,11   109:15 110:13      28:10 58:23         133:9 170:15      hack 28:7 135:22
 2:12 3:20,21,22    110:16 113:17      84:7 115:3,3        171:2              165:7
 3:25 4:4,13,16     115:12,23,24      government         grouped 17:18       hacked 56:14
 4:16,21 5:3 6:1    116:6,15,24        31:11 33:4        groups 48:3,6,7      93:7 109:12


                            Dickman Davenport, Inc
      214.855.5100         www.dickmandavenport.com                  800.445.9548
                                        APP608
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 609 of 971

                                                                                           201
              Steve Bannon Broadcast - February 11, 2021

hacker 157:8,23     155:21 156:12       128:18 129:2        181:24 186:10     hundred-and-s...
hacker's 163:7      156:16 179:12       129:24 154:19     hit 118:10 138:24    104:10
hacking 14:5        184:16 186:13       161:9               159:3             hurt 5:3
 164:6              186:23            hearing 57:5        ho- 182:5           hydroxychloro...
hacks 51:4         happening 11:9       90:17,18 133:8    hold 60:1 121:17     154:4
half 3:17 4:17      64:20 68:15       heart 6:8 129:6       121:17 135:7
 117:3 133:10       122:22 186:11     hearts 134:18       hold- 76:22                   I
hand 43:9 95:1     happens 23:25      heck 124:7          home 5:22,22        I&A 47:18
 107:7,8,10,18      57:20 76:2 82:5   held 134:10,24        167:22 182:8      ICP 139:3 140:4
 112:5 142:11       84:1 145:13         175:10            Homeland 29:13      ICPs 140:9
 187:8              172:15            Hello 13:3            41:11 47:8        ID 157:12,21
hand-counted       happy 14:22        help 3:21 4:1 7:7   hometown               159:22,22
 74:7 109:17        184:1               7:8 60:1 134:21     151:16               170:14 171:14
hand-off 92:2      harassing 35:21      151:16            hooked 129:16       identical 117:5
 93:18             hard 32:19,20      hero 90:16          hope 5:24 136:21    identification
handed 47:21        43:18 69:10         178:15              136:22               159:10,11
hang 135:8          122:13,15         hey 2:2 7:11 21:8   horrified 44:12     identified 33:18
 170:21,21,22       123:16 151:22       21:11 39:10         45:7,16 46:7      illegal 16:23,23
happen 24:9 36:8    185:6               41:13 43:9,12       47:9,23 48:12        17:22 23:9
 41:9,14 50:21     hardware 139:11      48:3 101:16         49:21                26:10 60:7
 51:9,10,12,18     harsh 131:19         120:3 129:15      horrify 48:10       illegally 19:15,24
 53:20 54:11       Hart 28:16 46:11     143:13 149:22     horrifying 45:20    illegitimate 29:23
 58:2 59:19 60:4    63:6                151:25              48:8 53:1         image 18:1 76:3
 61:6 66:16        hash 61:14         hide 151:10         horror 59:24           76:3,14,17
 77:19 101:21      hat 63:10          hiding 14:11,12     host 172:16            79:15 140:22
 102:4 115:23      hated 71:15        high 55:15 62:4     hosts 6:11,24       images 76:20
 184:11 186:25     haunting 65:14     highly 74:25 75:5   hour 3:17 103:3        78:8,12 79:12
 187:4             head 136:1           80:3                117:3                81:1 83:19
happened 2:18      heading 179:20     hill 187:5          hours 47:24 82:2       118:23 119:5
 2:19 4:23 6:6     hear 18:15,19      hire 119:14           82:8 86:16           119:11 120:6
 7:16 10:20         43:21 52:1 54:8   hired 95:16           97:14,15,17          122:16 123:16
 12:25 13:19        66:5,5,8 68:2       102:13,15           101:7 102:1          123:17 126:2
 14:18,22 15:8      70:17 73:6 81:8     103:2             House 152:19,22     imagine 54:19
 15:18,19 16:1      83:13 90:19       Hispanic 74:16        162:12               80:8
 16:13 21:9,9,10    100:25 105:15     historical 29:5     Houston 62:15       immediately
 22:3,22 25:2       128:18 138:11       85:1,4 161:21     hu- 79:7               149:1
 27:12 34:25        143:14 178:15     historically        Huawei 160:23       immense 73:25
 39:3 42:4 50:20   heard 13:22          105:20            huge 51:20 62:14    impeach 25:6
 61:21 69:15,24     18:13,18 25:24    history 16:3 22:3     100:23 102:16     impede 35:17
 77:10 89:7 96:2    32:10,12 39:23      22:22 38:19         102:17 110:19     importance
 98:20 105:4        46:8 49:10          39:11 40:18       human 58:14,15         89:15 146:14
 106:18 113:19      52:12 53:3,22       73:11 156:10        75:20             important 23:14
 114:3 115:9        56:13 58:12         160:15 173:1,4    humanity 21:19         69:21 104:13
 116:21 128:9,9     64:8,8,14 71:23     175:22 179:1        142:17,17            106:10 118:5
 132:7 142:3        97:12 105:13        179:11 181:3        173:20               118:14,16


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                  800.445.9548
                                        APP609
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 610 of 971

                                                                                              202
               Steve Bannon Broadcast - February 11, 2021

  120:10 140:20       125:22 131:15      intelligence          129:12,16,18      involve 56:11
  158:25 164:7      influenceable          29:11,12 30:22      129:22 138:9      involved 2:19
  178:25 179:3        28:19                30:23 47:10,19      138:14 140:18       7:10 10:24
  179:17 180:5,6    information 28:3       175:5,19            141:3,4 142:4       28:11 34:16
  180:12              28:3,21 32:1         176:11 180:19       149:14,15,16        44:4 86:8,13
impossible 74:24      34:7 42:21 54:4      185:4               149:17 157:7        89:5 90:24
  132:10              54:5 57:7 60:20    intense 6:8 10:18     157:17              105:16 172:19
impressive 10:8       63:15 64:6 65:3    intensity 10:20     intervention        involvement 2:17
  38:10               69:9 92:2 93:22    intent 127:25         175:8               58:14,15
in- 34:17 37:17       103:20 121:22      intentionally       interview 7:16        155:19 175:20
in-depth 115:8        122:6 124:24         125:20 131:14       10:18 58:19         175:21
inaudible 9:7,18      125:6,9,11         intercepted           70:6 147:8,9      IP 157:6,11,14,16
  19:1 44:16 45:4     127:6 141:6          93:24               148:16              163:6,7,8 166:3
  55:10 72:9 75:1     156:20,23          intercepting        interviews 6:16       170:14 171:15
  80:14 84:18         164:2,2 167:4        94:13             introduction        iPhone 76:6
  86:2 87:21          169:17 172:25      interception          29:18             Iran 161:2
  110:24 140:2        173:5 174:24         94:13             intrude 175:13      ISI 31:22
  140:10 144:6        174:25 175:2       interchange         intrusion 156:24    island 140:7,11
  179:7 180:20        176:17               57:14               157:6,24          islands 37:15
  185:18            informed 83:19       interdict 29:1        158:11 161:5      issue 25:14 56:9
incentivized 18:4   infrastructure       interdicted 28:20     162:7               115:3 155:13
inch 12:8             33:5 38:13,13        29:20             intrusions 158:19   issued 32:13
include 154:12      inherent 36:8        interested 47:13      158:21,23         it'll 66:18 138:20
including 14:19       125:21 131:14        106:16,17           160:22              177:20
  28:8 131:8        inject 63:21           180:1,1 188:10    invest 37:17        Italian 35:5
  139:20,20         injected 51:17       interesting 44:6    invested 37:23      Italy 64:8,9
  159:1 184:7,13    injections 141:16      68:13 70:24       investigate 45:19   items 119:12
  186:19            input 4:3 30:5         75:17 79:22         64:22 67:7          122:10
incomplete 19:13      77:11,13             80:6 88:17          122:3,5 147:12
incredible 19:4     insert 127:7           98:22 102:13      investigated                 J
  67:3 161:20       inside 14:3 34:16      103:8 111:9         64:19,21          Jack 82:3 86:12
  166:19              34:17 35:13          116:22 117:2      investigation         86:13,22 89:8
independent           47:11 68:24          117:11 128:7        35:9,10 65:2        149:7
  169:22 172:23       162:25 164:16      interference          181:19 184:21     jam 98:11,12,18
  172:23              169:5 170:1          148:13 157:3      investigations      James 164:4
India 71:6            176:13 183:16        166:22              13:25 35:14,17    jammed 98:19,21
indications 37:13   insight 78:7         interim 94:4        investigative         99:5,8
individual 35:8     install 135:13       international         29:9 155:17       January 3:13
  70:6 73:24        installed 118:10       37:16               156:4 168:1         14:1 25:5 39:23
individually 77:6   integrity 47:21      internet 59:20        176:12              133:11 136:9
induce 29:22          85:22                60:5 92:4,9,18    investigators         154:20
industrial 37:3     intel 171:22           92:20,22 93:7       47:7 176:16       Jimmy 105:6
industry 58:8         178:5                93:14 101:16      investment 37:19      115:1
influence 28:2      intel- 176:10          101:22 120:18     investments         job 21:7 26:14
  30:19 46:25       intellectual 37:25     121:7 122:19        36:17               153:24 183:14


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                           APP610
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 611 of 971

                                                                                        203
               Steve Bannon Broadcast - February 11, 2021

  183:15            keeps 90:5          26:13,19 27:3     112:18,19          181:19 182:5
jobs 3:19,22        Kemp 26:22          27:10 28:5        114:5,6,7,19,20    182:17,25
  24:21 179:22      kept 11:18 88:21    29:20,22 30:7     115:8,20           183:3,22 184:9
Joe 21:12 97:11       133:6,7           32:3,7,16,21      116:15,17          184:17,23
  97:12 105:23      key 4:11 117:6      33:7,13,14,21     117:12 118:12      185:2,20
  106:24 108:3      kicked 77:21        34:6 35:15,21     118:13 119:18      186:17,20,21
  108:23 110:2      kidding 150:15      35:22 36:3,9,20   119:19 120:2,3     186:21 187:3
  111:20 112:6      killed 6:15         37:4 38:5 39:4    120:16 121:12     knowing 93:6
  141:15            kind 2:5,15,22      39:18,21,22       121:15,16,19       167:11
Johnson's 47:7        9:8 15:16 17:6    40:7 42:2,4,5,7   121:20,24         knowledge 29:6
join 43:22            17:15 28:9 30:1   42:24 43:9,11     124:9 126:20       32:9
joins 156:4           31:13,13 38:9     43:15 47:14       128:20,20,25      known 16:5
journalist 87:18      50:12 63:13       50:8,23,24 52:7   129:8,10,23,24     17:24 22:5
journalists 87:9      87:14 96:17       52:8 53:4,9,23    129:25 130:3,7     24:10,17 168:1
journey 75:8          98:1,2 104:1      54:1,12,14,22     130:8,12,21       knows 19:10 24:7
judge 52:22           129:5 136:19      56:16 57:2,23     132:12,15,24       66:12 70:16
  59:23 80:19         152:24 161:17     59:15 60:6,16     133:2,9,20,23      85:20 89:17
  82:20,23 88:22      175:10,18         61:2,16 62:1,3    134:8,19,20,22     108:16 142:1
  89:2 115:3        kinds 26:22 43:2    62:8 64:7,13,22   135:6,18           182:4 185:1,10
  116:8 118:22        102:7,11 142:6    65:4,10,11 66:6   136:10,13,14      Krebs 38:12,15
  123:20,23         knew 3:5 22:21      66:6,15,20,21     136:19,19,21       38:18,25 39:8
  125:2               43:16 50:21,22    66:22 67:4,18     137:2,8 138:21     40:11,11 67:5
judges 52:4 66:8      50:23 51:9        68:22,25 69:1     142:13 144:1       75:18 81:17
  115:11              53:12,19 68:15    69:20 70:24       145:3,6 149:4      126:14 127:14
judicial 35:11        68:15 71:20,23    71:6,12 72:8,23   149:21 150:3,8
  180:17              74:2 85:9,9       72:24,24,25       150:15 151:15              L
July 46:1             88:18 105:24      73:7,8,10,19,20   151:20,22         lady 143:17
jump 5:11             105:25 106:3,6    77:16,17,17       152:2,5,23        land 92:19
jurisdiction          106:8 110:12      79:9 80:18 81:9   153:14,15,20      landslide 71:22
  138:22              114:18,20         81:10,15 83:18    153:24 154:2        71:25 74:2
jurisdictions         118:13 132:23     84:11 85:8,13     154:13,16,17      language 170:8
  139:13,17           151:17,17         85:23 86:12,20    154:24 159:11     large 93:14
Justice 64:22         164:5,8           86:21,23,25       159:19 161:2      large-scale 73:14
  83:16 178:8       know 3:12,14 4:3    87:3,4,8 88:10    161:14 165:1      largest 33:20,21
  180:19,23           4:9,13,16 5:4,6   88:24 89:7,7,9    165:22 166:1,3      73:16 179:10
justices 184:5        5:7,9,11 6:18     89:10,11,14,24    166:13,13         late 20:1 66:19
  186:19              6:19 7:1,21       90:24 96:2 99:3   167:9,22,23         185:7
                      8:11 9:3,9,9,13   100:1 101:15      168:7 169:3       latest 139:21
       K              10:25 11:4,22     101:17 102:3      170:11 172:2      launched 86:16
K 2:3                 12:2,7 13:4,16    102:17,24         173:18,25         launching 184:21
Kearney 109:25        13:18,23 15:11    103:15,15         174:5,12,14,15    law 19:7 78:11,11
keep 3:7,7 17:1,7     15:13 16:4,6      105:3,17 107:4    174:16 175:10       145:1
 65:9 67:9            20:15 21:8,16     108:10,10,17      176:2,2,3,8       lawn 71:12,17
 149:22 151:22        22:20,22,23,24    109:17,18,19      177:2,14,19,21    laws 83:15 84:3,8
 152:4 163:3          23:9 25:3,5       109:21 110:23     178:8,9 179:2     lawsuit 106:10


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com               800.445.9548
                                        APP611
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 612 of 971

                                                                                        204
               Steve Bannon Broadcast - February 11, 2021

  106:11 118:20        58:5,5,18 70:3    30:12,20 31:5     80:17,21 81:5,8   114:10,12
  118:21               85:15,17 90:12    31:24 32:17,22    81:22,25 82:3     115:7 117:8,11
lawsuits 143:3,8       90:18 99:16       32:24 33:2,6,14   82:10,13,18,25    117:20,23
  150:9                108:18 117:22     33:23 34:2,10     83:3,6,10,13,17   118:1,7,17
lawyer 105:13          117:25 118:3      34:18,22,24       83:21,24 84:2,5   119:2,13,17,20
  134:20 137:9         120:3 136:1,2     35:24 36:14,18    84:9,15,18,20     119:23 120:1,7
  144:23 146:20        137:11,11         37:6,10,20        84:23 85:17       120:20,22
  151:16,25            165:3 168:11      39:12,13 40:5     86:2,9,12,18      121:1,4,6,13,17
lawyers 142:24         169:25,25         40:13,16 41:18    87:24 88:17       121:23 122:1,9
  146:8 150:20         172:10,14,14      42:12,14,19,24    90:2,5,11,20,22   122:12,17,21
leaders 187:3          178:15            43:14,22,25       91:6,9,11,19      122:24 123:2,4
leading 184:7       letters 150:3        44:17,23 45:3,6   92:5,14,16,21     123:8,11 124:2
leads 136:10        level 29:21,21,22    45:9,12 46:5,8    92:24 93:2,5,9    124:5,15,18,21
leaked 7:14,14         30:1,14,22        46:13,15 47:2,5   93:16,19,24       124:25 125:7
learn 16:19,20         31:16 49:1 90:6   48:9,17,20 49:6   94:1,3,5,8,12     125:14,17,25
learned 79:17          109:22 175:15     49:8,16,18 50:2   94:16,19,22       126:4,6,13,19
  148:16            levels 49:24         50:9,15,17 51:3   95:3,8,10,15,19   126:22 127:2,8
learning 5:10          51:12             51:8,19 52:1,7    95:21,24 96:1,5   127:10,13,16
  106:16 165:2      li- 102:13           52:12,18 53:2     96:7,10,12,16     127:19,23
leave 25:13 49:25   liars 41:20          53:16,18 54:8     96:21,24 97:2,5   128:1,5,11,14
leaving 164:11      license 145:25       55:6,8,11,19      97:8,12,16,19     128:17 129:19
lecture 85:2        lie 8:14,18,21       56:1,10 57:11     97:23 98:4,6,10   130:21 132:8
led 175:13             32:5 41:24 42:5   57:25 58:4,19     98:13,16,19,22    132:12 133:19
left 3:25 23:23        42:5 129:14,20    58:22 59:4,6,21   99:1,4,6,8,10     134:1,11,16,19
  59:17 69:4        lied 23:8            60:6,10,14        99:15,19,22,25    135:11,16
  131:3 141:22      lies 23:7            61:10,18,20,23    100:6,10,13,17    136:18 137:5
  178:12            life 89:13           62:13,19 63:1     100:22 101:2,5    137:14,22,25
legislator 147:10   light 187:5          64:2 65:1,7,23    101:7,10,24       138:3,6,9,11,13
  147:10            lights 187:6,7       66:1,4 67:1,11    102:7 103:13      140:16,19
legislators 21:7    limited 52:23        67:14 68:4,20     103:15,23,25      141:1,4,7,10,12
  24:22 85:7           54:2 140:5        69:12 70:2,7,9    104:8,15,18,21    141:17,20,24
  147:16            Lindell 2:3,10,14    70:21,23 71:3,7   104:24 105:2,9    142:1,9,12
legislature 153:2      3:4 5:18 6:10     71:16,19,24       105:12 106:23     143:5,10,13,20
legislatures           6:12 7:19,22      72:3,6,8,12,16    107:1,4,8,12,16   144:1,7,14,17
  148:24 153:23        8:1,5,8,11,16     72:18,22 73:1,4   107:20,22         144:20,24
  180:17               8:19,23 9:1,3,6   73:13,17,23       108:4,6,9,12,15   145:5,8,12,15
legistla- 150:21       9:11,13,16,19     74:3,8,11,13,18   108:24 109:2,8    145:22 146:1,4
legitimate 146:21      9:23 10:1,3,6,9   74:20,23 75:1,4   110:1,4,7,11,22   146:7,12,15,18
lengths 67:3           10:12,15,22,25    75:7,11,15,21     111:3,7,10,13     146:22,24
let's 12:23 13:1       11:3 12:3,9,12    75:25 76:4,7,12   111:16,19,22      147:1,3,6,14,17
  16:16,21 17:11       12:19 13:3,4      76:15,19,22,25    111:25 112:3,7    147:24 148:3,7
  17:12,14,21          23:15 25:11,21    77:2,13,22 78:2   112:10,13,15      148:10,12,14
  18:11,16 24:13       26:12,13 27:15    78:5,9,14,22      112:17 113:1,9    148:18,21
  27:20,20,20,20       27:21,24 28:5     79:2,4,13,19,23   113:12,15,18      149:3,18 150:2
  43:19,21,21          29:14,24 30:3     80:1,4,7,11,14    113:22 114:1,4    150:7,24 151:5


                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com               800.445.9548
                                         APP612
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 613 of 971

                                                                                               205
                Steve Bannon Broadcast - February 11, 2021

   152:13 153:5,9    little 15:22 18:20     112:5,22           love 150:16          47:4 49:11 56:3
   153:13 154:23        20:4 41:24          114:13 120:3       low 123:5            56:11 57:8,16
   155:1,6 156:4,7      59:15 60:16         127:21 129:4       low-hanging 25:9     58:9,13 59:8,10
   159:6 160:1,5        62:18,20 66:3       132:14 133:21      Lowered 8:8          62:2 68:24
   160:10,24            91:14 109:13        133:22 139:10      lowest 6:1           69:18,23 70:16
   161:3,8,10           112:21 115:9        141:9 148:1        luck 15:23 24:3      70:19 72:19,21
   162:3,14,18          136:7 150:18        156:18 157:4       luxury 109:19        72:25 74:7
   163:18,25            166:2 173:24        158:19 159:13      lying 39:13 41:20    75:18 78:16
   164:22,25         live 18:7 90:17        159:14 160:10        41:21,21,25        79:6 85:3,3
   165:10,13,16         105:18              166:10,15            42:4               88:4,20,21
   165:18 166:6      lived 105:24           168:18 172:16                           89:17 94:16
   167:6 168:14      lives 5:20 7:23        172:19,24                 M             96:9,10,15,19
   168:20,23            60:25 106:7         174:7 176:21       ma- 3:18 140:24      97:1,3,4,25
   169:12,24         living 15:16         looked 13:23         machine 14:4         101:11 103:5,6
   170:4,24 171:1    load 48:25             28:22 43:10         23:21 29:21         104:2,3,11,13
   171:4,7,9,12,24   loaded 17:9,10         46:17 47:22         30:1,14,14          108:20 109:8,8
   172:6,9,11,13        59:24               48:6 115:15,17      43:10 46:21         109:14,22
   173:2,7 174:2     local 29:10,16,22      118:2 125:25        57:18 75:25         110:14 111:10
   175:23,24            51:13 83:22         126:1 159:12        76:1,2,9,10,13      111:12,14,15
   176:14,19            93:14 106:21        171:14,15           79:8 88:1 89:16     115:5,10
   177:8,12,14,18    locations 44:16      looking 28:13,15      96:13,17 98:9       116:16 118:2
   177:25 178:4,7    log 128:7              36:20 39:6          100:15 104:21       119:24 120:4
   178:16,19         logical 185:15         44:11 116:12        109:7,11            120:12,13,18
   180:25 181:5      login 63:16,25         158:17 159:15       111:10 112:1        130:15,22
   181:14,21         logs 44:8,10           162:16 165:20       113:11 116:20       133:15,16
   182:15,20         long 24:7 44:7         187:3               116:20 117:9        135:19 136:3
   183:21 184:22        60:22 142:23      looks 141:13          117:15 121:3        136:11 137:5
   185:8,13,16,19       152:2               167:21              122:18 126:7        137:19,20
   186:8             longer 146:6         Loomer 149:10         126:10,12,17        138:15 142:15
Lindell's 10:13      look 16:16 19:4        149:20,23,24        126:18,25           143:15 149:15
line 20:13 135:2        25:3,6 30:13      lose 4:17 57:20       127:9,14 130:8      151:3,20 164:5
   135:15 142:5         31:6 36:2 38:4      115:21              137:17 138:7        164:12 169:11
   163:4,13,19,20       39:10 45:22,23    lost 16:24 18:9,23    142:10 154:18       174:7 182:24
   163:21 165:7         47:12,20 52:4       20:9 32:5 74:11     154:18 170:6       MAGA 26:7
   166:2 182:8          52:10,15 53:20      74:12 89:14         176:25             magnitude 60:19
lines 65:10             58:25 63:11,18    lot 17:2 18:15       machine's 117:5      185:4,5
   162:21 163:5,9       64:5 65:21,21       23:3 28:17 29:4    machines 12:15      mail-in 16:17
   163:14,23            67:7,18 69:14       29:5,8 31:17        12:15 14:6,18       17:2,23 18:2,12
   165:3,6 168:10       77:4 78:25          37:25 39:5          14:25 16:6          18:13 19:5
   168:24               79:20 80:25         41:25 57:2          21:20,21 22:1       98:14 102:19
link 124:14             83:1,9 86:18        62:17 73:11         24:10,18 25:1       102:24 110:18
listened 4:2            88:10 89:18,18      83:4 85:8,10,10     25:14,14 27:13     mailed 17:4,5
listening 4:20          98:1 101:13         88:3 89:14          27:16 28:6 36:2    mainstream 2:9
listing 19:12           106:3,21            154:9,12 165:2      36:2 44:5,19,20     2:24 6:22 85:11
litigation 146:21       109:24 111:17       181:25 183:3        44:24 46:9,11       86:23 131:3


                                Dickman Davenport, Inc
      214.855.5100             www.dickmandavenport.com                    800.445.9548
                                            APP613
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 614 of 971

                                                                                          206
              Steve Bannon Broadcast - February 11, 2021

 144:19            marketing 78:1      178:23 181:4       137:1 144:19        157:20,21
maintained          134:2              181:12             149:7 174:3         158:15 166:15
 122:11            Mary 155:16        mean 3:22 7:9       175:15 186:15      Microsoft 91:21
major 184:21        156:3,11,13        11:12,13 16:18    medical 9:15        middle 64:10
making 21:1 25:5    160:16 161:23      25:21,23 32:5      37:24               94:7,21 95:5
 69:11,19 87:4      162:19 164:25      39:9,25 40:11     meet 70:4            101:17 102:22
 87:15 133:24       166:2,19           41:21,23 44:10    meeting 3:17         182:10
malware 63:2,14     167:12,20,25       48:4 50:10 52:8   Mellissa 90:15,16   Mike 2:3,10,14
man 8:13 88:12      169:21 170:13      53:9 54:13         95:16 101:14        2:15 3:17 6:6
 94:6,20 179:19     172:25 176:12      55:12 59:1,7       101:25 102:12       6:12 10:12,17
management          176:16             60:11 61:19        102:25 103:21       11:23 12:3 13:4
 28:17             masks 7:9 9:22      62:3 64:13,13     member 31:3          23:4 26:4,12
manager 100:15     Massachusetts       65:8 72:1,2,2      44:1                27:17,21 38:12
manifest 185:24     71:10 74:6 82:5    73:10 75:2        members 45:25        38:18 39:12,15
manifests 185:23    82:12 83:2         77:20,24 84:8     mentioned 36:1       40:2,2,3 42:11
manip- 48:16       massive 27:13       84:10,24,24        84:10               42:13,13 43:6
manipulated         51:13,25 63:23     85:22 86:13,18    met 3:11 49:24       43:22 44:7 50:8
 46:7 127:4         63:23,24 85:22     89:21,22,24        70:11,14 77:3       54:23 56:20
 141:13             109:11 179:1       91:15 94:9         161:13              58:19 61:7
manipulating        180:21             103:15 104:12     method 157:24        66:22 67:18
 51:16             master 119:6        116:4 125:1       MichaelJLinde...     70:6,13,20,25
manipulation       match 142:11        129:20,21          68:11               74:10 79:10
 31:17              171:12             130:3,6,11        Michigan 15:13       88:10 90:20
mankind 179:1      matches 117:5       135:19 140:3       17:14,14,15,16      101:13 103:18
manmade 37:14      material 168:18     151:6,6,9 154:8    24:5 31:20 32:9     105:9 114:13
manner 128:16      math 23:14 25:16    161:20 165:20      52:14 53:4          115:6 118:3,7
manual 78:25        133:24,25          165:25 176:20      90:13,13,19,23      118:17 129:13
 79:1 120:17,17    mathematical        176:20,22,23       91:9,11,18          137:7 149:9
 120:18 121:2       77:19 83:8         184:1              102:16,20           151:1 152:9
 129:11,11,17       131:8             meaning 180:18      105:9,19            155:22 156:4
 132:16 138:2,3    mathematically     means 15:3 55:24    109:13 110:25       156:14 159:4
 140:15 141:11      79:6               78:20 79:14        112:22 114:15       162:17 167:14
manually 58:10     Matt 105:5,8,9      81:19 83:1         114:20 116:11       172:25 175:23
manufacturer        105:13 115:1,8     122:13 158:1       118:6,15,16         176:24,25
 18:1               116:14 117:16      162:8 177:4        122:19 125:11       177:8,19 178:3
manufacturing       118:6 137:8       mechanic 178:16     128:12 129:5        178:16,23
 3:18 9:21          152:2,3 155:22    media 2:8,9,24      131:6 137:24        181:13,16
map 163:20         Matt's 136:13       4:11,24 6:22,22    142:20,22,24        182:19 183:5
mapping 33:17      matter 59:3,4       11:13 13:6,9       142:25 143:8,8      186:6
marathon 91:3       66:13,14 76:23     22:18 47:15        143:22 144:10      military 28:2
margin 16:14        110:15 173:13      51:23 63:9 69:4    145:1 147:9,10      36:3 179:18,23
 19:8               188:5              85:11 86:20,23     147:16 148:1       million 9:23 10:3
Maricopa 17:7      mattered 22:6       88:4 89:20         148:25 151:2        10:6,12 161:15
Mark 86:21,21      McInerney           124:17 131:3       151:12 152:15       161:16 180:7,7
 149:7              178:15,17,20       135:1 136:24       152:16 157:19      millions 3:21


                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                  800.445.9548
                                       APP614
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 615 of 971

                                                                                         207
              Steve Bannon Broadcast - February 11, 2021

 15:4 23:22        months 5:25        national 2:19        21:10 22:4,21     nonsense 23:11
mind 50:4,7         14:23 20:24        52:25 81:3          24:9,17 27:15     nonstop 12:4
mine 89:8           183:2              90:16 129:1         35:16 39:1         87:14
Minnesota 4:10     morally 9:8         155:23 175:5        57:18 58:22,23    normal 15:20
 131:9             morning 15:21       175:18 180:22       71:5 85:9,9        55:12,13
minors 26:1         24:1 95:8 106:1   nationwide 61:20     87:11 97:21       normally 53:10
minute 48:17,18     166:17             109:12              103:10 132:7       77:5 98:5
 66:25             motion 82:23,24    Navarro 155:24       167:11 179:23     North 45:15
minutes 40:14       118:22 123:19     navigable 37:16    new 18:19 36:25      188:18
 60:2 118:18       move 41:6 73:19    Nazi 86:25           81:12,13 87:12    northern 105:19
 155:21             163:10            necessarily 47:3   news 6:21 54:17      109:13 110:24
mir- 115:9         movements 31:17    need 42:25 54:22     88:6 89:24         112:22 114:15
miracle 14:23      movie 2:13 59:18    63:25 64:7          129:1 150:12       114:20 118:16
 15:17 16:8,11      86:14 105:7        134:12,13           151:23 177:7       129:5
 21:2,14 23:19     moving 19:22        182:1,2,6,9         182:3,3           notes 150:18
 24:8,11,23 25:2    40:22 151:7        186:13,16,16      newscast 87:9       Noth- 13:20
 115:9 135:25       163:5 164:15      needed 116:19      newspapers 13:6     nother 154:1
 136:10 167:12      165:12             138:21 166:17     NFL 2:5             nothing's 84:3
miracles 14:22     multiple 66:9      needs 83:15 85:7   nice 10:2,5         notice 123:5,13
 23:12,18           139:18 158:19      134:7,14            167:21             158:20
mislead 143:2      multiplied 83:8    neighbors 114:19   night 13:19 14:24   noticed 34:5
missing 128:8      multiply 11:8       155:8               14:24,25 23:19    notices 160:11
mission 36:5,6      43:3 78:19,23     neither 188:6        33:8 34:5,6       November 5:19
mistakes 131:5,8    83:10             Nessel 142:22        48:22 63:5,8       13:17 29:3 40:3
MIT 70:5,10 71:1   myoleander.com      143:19,20,20        64:10 71:21        40:8,10 54:1
 79:17 83:1         11:4 154:4         150:19 151:14       88:8 90:17 91:4    64:11 95:17
 88:12             myth 51:23          151:23              95:5,13 97:15      106:1,25
MIT's 83:2                            Nessle 145:20        100:14 101:17      107:11 110:13
Mobile 161:1               N           147:8 148:16        102:23 105:22      112:2 113:11
mocked 90:17       naive 39:14 42:3    148:23              108:3 110:3,6      113:20,23
mockery 144:19     name 5:22 11:10    net 112:23,24        112:14 116:21      121:9,25 128:9
mode 24:4           11:16,19 13:6      113:1 114:8         128:4 137:18       128:10 141:22
modem 139:3,5       25:23 35:6        Netflix 59:18      nighttime 6:11       147:7 148:19
 139:17,18          60:25 83:20       network 3:21         6:23               156:20 162:5
modulate 179:14     106:13,13          12:5 71:13        nine 182:7 184:4    nuclear 181:22
moment 156:8        143:18             91:24 93:15         186:19,20         num- 140:23
 166:12            named 20:15         139:8 140:25      NIX 34:1            number 24:9
money 9:21 29:8     106:6,14          networks 139:15    no-name 71:15        35:7 55:12,13
 37:5,21,22 67:9   names 9:4 57:14     139:25 140:5      node 33:22,25        80:9 100:2
 67:10 85:12       nat- 129:1          150:12,12         nodes 33:21          108:21 113:5,7
 183:8             nation 5:20 7:3    Nevada 17:21,22    noise 43:11,15       113:10 123:6
Mongolia 140:4      33:4 34:20,21      18:6,7 31:20        68:18 69:19        128:4 157:7
monitor 40:22       178:24 181:11     never 3:11,13        87:4               158:22 164:23
month 13:5 22:8     183:25 186:2       12:9,12,19,21     Non-Nevadans        number's 164:17
 77:9 133:10        187:10             15:8 16:2,5         18:6              numbers 20:16


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                 800.445.9548
                                       APP615
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 616 of 971

                                                                                            208
               Steve Bannon Broadcast - February 11, 2021

 20:18,22 23:5,7     67:6 68:4 72:1      154:25 155:5        176:24 184:19      41:8 48:16,18
 23:8,16,17 25:7     73:1 76:17 86:9     155:12 162:19     opened 17:11         48:23 49:5,12
 25:18 39:25         86:9 102:22         167:14 169:7,7      21:20 154:5        51:17 56:6
 80:6,16 107:24      129:19 135:1        170:1,21 171:6      185:1              63:20 129:22
 110:12 134:3,5      150:13 176:19       171:11,23         opening 17:9         133:4 136:6
 142:7,12          oil 7:18,25 8:24      172:5,8,12,14       23:6               168:8
 161:12,18         okay 3:7 7:1 9:25     172:15 174:19     operate 62:18       oversight 47:8
 164:18 180:9        12:18,22 15:9       177:13,24         operation 60:17     overstated 120:8
nuts 48:4            16:11,14,25         178:14              60:18 62:15       owed 175:5,6
                     17:7,11,20,22     oligarchs 3:1         185:4             owner 157:10
         O           18:8,10,25 19:4   once 6:20 63:17     Operational 44:2    ownership 30:25
o'clock 91:5         19:7,10,13 20:3     66:16 138:19      operations 28:2,3   owns 31:4 63:4
oath 142:25          21:4,17 23:3,15     138:24 142:13       28:14 43:21        174:23
  179:6              27:14,17,17         149:14 168:4        123:25
obeyed 82:17         42:11 43:13         171:17,17         opinion 34:10               P
objects 165:12       45:3,6,9 46:20      182:4 186:2         46:17,20 62:4     p.m 121:9,25
observer 18:12       47:2,2,5 48:9       187:4,10            64:17,18 65:8       128:9
obvious 53:9         50:10,18 52:7     one-half 17:25        66:10 124:10      pack 99:20
  72:2               52:12,18 53:16    ones 46:16,19       opinions 26:22      packets 164:14
obviously 14:11      54:8 56:20,23       61:3,4,16         opportunity         Page 79:1
  33:13 106:17       57:24 58:3          141:21 149:6        70:25             pages 44:11
  142:14             60:10 61:23         170:5             opposes 149:20        160:16,17,17
occur 80:16          68:19 70:1        ongoing 136:25      orchestrated          160:20
occurred 75:22       72:22 73:8        online 39:7 41:22     179:4             paid 188:12
occurs 71:5          78:13 80:10         42:21 48:13       order 49:23         paid/will 188:12
Oct- 84:22           90:22 96:1,5,7      49:11 59:9,16       82:21 89:4,5      Pakistani 31:22
October 84:19,20     96:12,16,21,24      60:6,7,13,13,22     109:3 115:4       paper 62:10 74:7
odd 80:9             97:5,9 98:9         68:1 69:9 92:14     123:18 130:23       75:19,19,24
office 19:24         101:5,13,21         92:16 94:9,17       138:14 175:5,7      76:2,9 98:2
  20:20 40:1 71:2    103:12,14           95:22,22          ordered 89:6,8        126:15,17
  149:2 164:11       104:7,14,17,20      104:11 130:10     orders 81:20,21       127:1,4,7
  179:6              105:5,12            130:11,12,17        82:4              paper-based
officer 28:22        106:23 107:12       130:23 132:17     organization          73:19
  82:16              107:20 109:15       132:19,20,23        71:18             part 17:20 27:19
official 35:7 86:7   110:7,11            132:23,24         original 111:17       34:19 41:22
  135:14             111:16 117:7        133:2 168:18      outbursts 149:25      52:21 58:18
officials 26:6,11    117:22 118:3      oops 118:12         outcome 167:17        68:5 88:14
  45:23 57:3         119:13,17         open 32:6 53:13       188:10              118:4 138:23
  92:12 144:10       121:17 128:17       80:21,23 82:18    outcomes 29:20        145:17,17
  147:21 148:1       130:20,25           82:19,20,21       outlet 87:20          146:6 153:22
  148:20 151:1       132:24 133:1        90:2 130:8,9      outside 41:2        part-owner
oftentimes 158:9     133:18 136:2        133:15 136:2        168:18              101:4
oh 8:5,7 15:21,23    137:4,14            136:14 137:2      overall 56:22       partially 177:4,5
  24:2 26:21         139:22 149:9        144:2 151:21      overcount 129:8     participating
  52:18 64:23        152:8,8 154:22      164:5 165:22      overseas 33:15        35:6


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                   800.445.9548
                                         APP616
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 617 of 971

                                                                                        209
               Steve Bannon Broadcast - February 11, 2021

particular 63:13    20:1,11,13 21:4    186:14 187:6        11:11 155:25     platforms 86:22
 119:24 129:24      21:5 22:10,17     people's 33:15     personnel 35:5     play 3:2 58:6
 158:14             23:10,10,11       percent 14:2,15    perspective        played 88:2
particularly 38:8   24:12 26:1 27:5    14:17 15:12         181:1              155:9
 42:23 69:4         27:5,8 32:19,20    21:24 24:6,14     Pete 62:8          playing 45:11
 153:3 159:2        35:1,1,13 38:1     25:21 26:25       Peter 155:23       Plays 13:2 27:23
 167:24             38:5 39:5,15       27:12 30:8,9,11   Phil 27:25           43:24 58:21
parties 188:7       44:10,13 47:15     33:14 42:8,8,12   Phoenix 38:8         70:8 90:21
partner 27:10       47:18 48:24        53:10,10 55:5,7   phone 35:7 76:6      105:11 118:19
partners 27:9       49:20 53:8         55:9,17,19,20       166:21             137:15 156:6
 28:13              54:22,23 55:22     55:23 74:7,9      pick 36:23 56:24     178:18 182:14
parts 65:19 118:5   55:25 59:7,15      79:7 81:23,25       69:18            please 150:4
 134:9 140:11       60:21 65:9,15      105:20,21,22      picked 57:1        plug 120:22
party 30:25 31:9    65:20,22 66:5,6    105:23 108:12     picking 58:7,8     plugged 102:11
 74:5 135:14        66:18,24 67:21     108:14 109:4      picks 59:6           132:15
 152:18 155:15      67:25 68:2 69:9    110:8,9 112:21    picture 3:3,4,9    plus 8:8 21:3
 155:18,21,25       75:20 83:5         112:21 114:10       76:6               101:16
 156:2 167:17       85:12 89:11,24     114:11,12         pictures 2:20      pocket 9:24
 169:19 183:13      93:3 101:20        115:18,18         piece 14:2 38:13     10:13
pass 36:25          102:2,6 105:18     116:25 117:1        63:14 78:13,15   point 14:8 18:24
 152:21             105:24 106:5       118:1 126:11        126:15,17          20:25 21:1
passed 78:11        116:4,5 119:14     127:15 128:21       133:11             57:12,17 76:17
passes 63:9         119:15,21          128:22 129:7,9    pieces 105:8         93:22,22 94:2
passing 93:21       120:5 124:14       129:9 130:24      piled 6:24           140:1 164:10
Patrick 90:15,22    124:19 129:21      132:14 135:16     Pillow 13:4          164:12,24
 90:24 101:13       131:3,3,9          144:3 154:20        178:10             179:7
patriot 89:12       132:18,19,25       154:21 156:9      Pillow's 13:10     points 164:10,13
 106:7,14           133:23 134:12      156:12 158:21     pillows 133:24     poker 41:19
patriotic 35:22     136:9 143:17       158:22,23         place 6:5 24:15    political 2:19
pattern 70:11       145:11 149:12      159:8 177:18        75:10 123:18       65:10 86:5,6
 73:11 80:16        152:3,14 154:6     181:1 182:21        159:1,2 167:2    politicians
Pause 138:18        154:12,13          184:6,16          placed 158:3         155:10
pay 3:14            155:6,7 162:10    percentage 55:14   places 53:20,25    politics 3:14
pe- 14:1 20:12      162:25 166:7       74:13,14,18,19      54:16,18 57:10     46:25 106:21
peer 33:3 34:21     167:22 168:16      78:19               60:9,9 62:12     poll 18:16 59:16
penetration         169:22 171:21     perfect 109:20       88:3               59:17,19 60:3
 183:18             171:22 172:2,3     125:1             plain 63:22          91:2 103:7
Pennsylvania        172:20 173:9      period 69:15       plains 179:7       polls 17:9,10
 18:11,19,22        174:16 175:13      122:8 169:2       plan 153:16,18       138:24
 31:18              176:8,13          permitted 125:5      153:21           Pompeo 155:22
Pentagon 181:23     178:12 179:11     pers- 77:16        planning 36:3      pop 85:14,18
people 2:23 5:2,2   179:24 180:14     person 39:16         153:17           popped 85:14,19
 5:7 6:3,11,17      181:9,18           98:25 106:6       platform 43:17     pops 54:10
 6:21 8:25 12:2     182:25 183:22      145:2 151:8         43:17 68:20      positive 160:6
 12:7 18:5 19:21    184:12,22         personally 4:7       85:19 89:20        161:25 166:21


                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                  800.445.9548
                                        APP617
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 618 of 971

                                                                                             210
               Steve Bannon Broadcast - February 11, 2021

possibility          148:2 164:3         185:22              21:24 27:21        Province 157:12
 129:15             president 2:17      probably 11:21       33:15 42:9,10      proxies 31:23
possible 50:22       3:9,10 4:4 5:24     20:4 33:8 62:12     46:2 51:21         public 32:1 37:2
post 19:24 87:13     6:2,2 19:10         65:22 66:9 72:6     56:15 58:20         39:2 83:15
 147:8               20:6,17,21 25:6     116:25 120:25       70:7 144:3          124:2,3,4
Postal 19:3          25:19 30:8,10       124:7,8,9           152:6,10            134:14,22
posted 106:4         31:2 38:16,17       128:23,24           154:11,20,23        136:19 138:16
posts 60:22          39:2 113:14         133:10 166:16       156:9,12 159:8      145:17 146:6
pots 5:1             161:13 162:12       176:1,3 183:11      160:6 161:21        146:14,17
Pottinger 155:23     175:6,17           problem 29:3         161:25 165:20       173:14
Poulos 41:12         179:20 180:6        38:21 57:5,9        166:20 177:3       publicity 106:11
poured 15:14        president's 25:25    84:7,10 100:24      177:18 178:1       publicly 143:7
pouring 3:23        presidential         101:1 105:25        182:12 184:16      published 54:4
power 72:25          67:20 106:19        106:8 118:9         186:9,12            62:9
 73:20,25 86:22      114:17 116:10       129:6 153:8        properly 120:11     publishing 54:5
 144:10              167:18             problems 39:12      property 37:25      Puerto 140:6
powerful 105:7      press 4:14,22        56:25 77:1         proportions 85:3    pull 162:19 165:5
practice 142:24      25:13 89:22        procedural 32:8      85:4               pull- 162:20
practices 30:16     pressing 32:14      procedure           prosecuting         pulled 100:24
prayers 8:6         pressure 150:20      115:13              35:25               162:20 173:18
praying 6:4         presume 122:4       procedures          prosecution 23:7    pulling 162:18
 10:15              pretty 10:17,18      120:12             prosecutor 45:14    Pundit 101:18
precedence           30:23 37:18        process 73:21        122:5              purification
 186:22,24           66:23 90:6          126:20 127:20      prospective          36:22 37:2
precinct 59:23,24    131:19 156:5        138:24              178:20             purpose 142:13
 60:4 94:24,25       186:18             processes 91:24     protect 37:14        185:4
 108:19,19          prevent 93:25       product 8:2,25       143:21 182:8       purpose- 132:4
 109:14,21          prides 56:21         9:10                183:7 184:13       purposefully
 119:11             primarily 106:20    professes 8:13       186:22              125:20 131:14
precincts 31:19     primary 71:21       profession 143:4    protective 123:18    132:5
 108:17,18          print 14:3 138:20   Professional        protocol 157:7,8    pursue 50:1 78:4
precisely 121:20     138:20              148:25              157:17             push 49:23 131:4
predict 23:25       printer 98:1,2      professionals       proud 57:3          pushing 65:9
predicted 23:22     printing 138:25      168:17              155:17,19          put 13:13 16:19
predominant         prints 116:20       program 119:8       prove 13:18          24:15 27:1 30:9
 31:22               138:24 171:19       180:16 183:16       25:17 79:5,6,7      38:20,24 39:6
preliminary         prior 20:1 122:7    progressing          104:1 133:2         40:25 42:20
 32:13 123:25       prismatic 164:8      32:11              proved 79:10         45:17 57:7,22
prepared 67:22      private 3:17        progressivism        133:1               60:1 67:22 68:1
 67:24 68:3 69:5     30:25 31:3 48:2     180:3,3            proven 36:10         68:11,14 69:6,8
 69:6,8 123:21       89:6 174:22,25     promise 9:15         41:23 81:23         72:9 73:21 76:9
 169:9 172:22        175:3              promote 7:20 9:9    proverbial 88:12     80:24 81:11
preregister 19:22   prize 19:6          prompted 29:4       proves 14:17         88:23 97:25
present 128:8       proactive 167:9     proof 1:15 2:4,14   providential         98:1,7 99:19
presented 51:22      167:10 185:19       11:18 14:2          114:14              101:18 102:8,9


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                          APP618
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 619 of 971

                                                                                            211
              Steve Bannon Broadcast - February 11, 2021

 103:16,20                R            Ratcliffe 175:17      176:2               19:15,17,25
 104:4,10,15,24    R 188:1             rate 55:23 126:11   realtime 157:1        113:6,7
 123:17 124:6,7    race 52:22 62:10      127:15              163:17 164:15     registration
 124:8 125:2         78:17 88:14,19    rates 55:5          reas- 90:8            19:18 188:18
 126:12,16           88:20 89:16       Ratherford          reason 27:2 53:6    regular 54:24
 127:1 131:2         135:20              25:22               66:3 90:8 102:9     145:13
 134:25 143:21     racist 4:25         re- 79:8 91:17        126:7 131:2       reinventing
 146:20 147:22     radar 116:9         reach 182:2           150:11 151:11       179:20
 160:12 162:4      radio 71:13         reached 3:16          151:11 172:18     rejection 55:5
 162:11 167:2,8    Raffensperger         136:9               174:3,4,5,6,8     related 36:11
 167:20 168:17       25:23 26:5        reactionary 24:4    reasons 34:7          188:7
 169:22 170:12     Raffle 18:3         reactive 185:21       36:16 54:5        release 4:15,22
 172:1,9,23        raise 43:9            185:22              102:10 172:16       123:20,24
 174:5,24,25       raised 62:7         read 5:23 6:7       rebutted 83:7         125:6
 175:2 177:2,2     raising 95:1          134:13            recalibrate 15:6    released 125:18
 178:9 180:25      Ramsland 29:5       reading 7:2         received 17:3       relentless 90:10
putting 14:8         43:20 44:1,6,21     75:12               163:16 165:14     relentlessly 6:15
 57:25 89:13         44:25 45:4,8,10   Reagan 187:4        record 60:22          13:5
 150:20 169:8        45:13 46:6,10     real 5:2,2,7,11       61:5,6,15         relevant 13:23
puzzle 78:13,15      46:14,24 47:3,6     6:21 54:23          172:16            reloaded 60:3
                     48:14,19,21         66:23 71:17       recorded 110:6      reloading 44:15
        Q                                73:8,9 87:18,19     112:16            remains 42:2
                     49:7,15,17,19
QSnatch 63:14        50:8,14,16,19       87:22 107:24      recording 2:1       remember 23:5
 63:14               51:6,11,20 52:6     108:21 120:5        187:12 188:4,8      114:25 118:8
quality 18:1         52:11,16,19         142:12 161:18     records 60:20         169:19
question 11:25       53:15,17 54:2       168:17 169:5        61:8              remote 44:15
 17:19 35:19         54:20 55:7,9,16     170:18 177:21     recount 107:7,8     remove 121:16
 65:14 112:11        55:21 56:8 57:7     182:3               107:10,18           122:6
 133:1 139:23        59:1,5,13,22      reality 107:2,18      112:5 113:24      removed 121:14
 183:10              60:8,11,15          108:25              128:24              121:15,25
question's 66:23     61:11,19,22       realize 3:5 38:2    recounts 107:22       122:2,13
questioned 131:9     62:6,14,25 63:3     43:6 58:2         recovery 3:21       renowned 181:17
questions 2:12       64:18 65:2,13     realized 49:20        12:5              rep 29:16
 12:1 13:1 58:16     65:24 66:2,22       76:17             recreated 79:8      repeat 173:3
 152:14 159:5        67:2,12,15        realizes 89:15      red 115:18          replace 63:22
 178:4               68:23 116:17      really 2:23 3:13      163:13,13,14      replaced 61:13
quit 40:11           117:17 133:9        7:24 8:5,14         163:22            report 52:20,25
quite 29:17 37:4   Ramsland's 57:6       10:19 29:7 42:3   reemphasize           56:23 63:7
 47:14 155:16        58:19 69:7          42:3 47:17          58:7                117:16,16
 167:23              118:15              65:19 66:16       referred 56:24        123:17,20
quote 38:23,24     ran 38:12 45:15       75:9 114:15       Reform 91:17          125:1,18 126:5
 131:13              55:25 57:4          115:3 118:12      refuse 144:21         130:4 131:1,11
quote/unquote        60:16 70:15         139:13 151:22       148:1               134:7,8,13,13
 76:10               71:15 132:19        162:9 166:17      register 20:13        134:23 135:17
quoted 38:19       rare 70:25 71:4       168:13 173:21     registered 17:2       144:4,22 175:7


                               Dickman Davenport, Inc
     214.855.5100             www.dickmandavenport.com                 800.445.9548
                                         APP619
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 620 of 971

                                                                                       212
              Steve Bannon Broadcast - February 11, 2021

  180:20,24        respond 2:22        33:23 34:2,22     112:3,7,13,15       184:15 185:8
report's 134:9       39:8              35:24 36:18       112:17 113:9        185:13,16
reported 38:14     response 175:6      37:10,20 40:13    113:12,15,18        186:10
  38:25            responsible         40:16 42:19,24    113:22 114:4,6    rightful 24:16
reporter 155:17      183:6             43:22 46:13       114:20,21         road 36:20 44:7
  156:4 168:1      rest 77:8 109:17    48:7,11 53:2,14   119:2,18,20       robots 5:8
  188:2,17           151:8 183:13      54:6,17,18        121:4,4,6,23,23   rocket 79:18
Reporting 48:22    restraining 82:21   56:10,22 57:12    122:9,17,21,24    role 38:8 155:9
  63:5,8             89:4              59:6,7,21,21      123:2,8,11        roll 80:9
reports 63:6,6,7   result 62:8 91:2    62:13 65:23       124:5,15,18,21    Ron 47:7
  63:17 64:1         94:25 126:25      66:1,4 67:1,11    124:21,25         Ronald 187:4
represent 163:5    results 74:5        67:14 69:12       125:7 126:4,13    room 4:18 24:18
  163:21             105:25 106:3,9    71:3,7,19,19      126:18,19,19        173:24
representation       106:12 116:25     72:15,16,22       127:2,8,10,13     Rose 5:15 6:8
  146:20             119:10 125:22     73:1,2,13,17,23   127:16,19,23      rotten 95:2
representative       130:2 131:16      74:3,8 75:4,7,7   128:1,11,14       roughly 105:20
  51:7               139:1 142:10      75:15,21,21       129:25,25           105:22
represented 82:9     143:11 147:12     76:4,4,7,12,15    130:3,11,13       routed 92:10
Republic 145:17      147:20            76:19 77:21,22    132:8,13 134:1    rows 96:9
Republican         resume 95:22        77:22,23 78:2,5   134:16,19         Rudy 38:7 90:18
  12:14 18:12      returning 105:9     78:9,14,20,22     135:13 136:13     rule 162:12
  26:11 53:10      reveal 149:4        79:2,13,19 80:1   137:22,25         ruled 89:3
  71:21 105:20     revealed 21:21      80:4,7,11,11,14   139:6 140:1,16    Rules 148:25
  110:9,16           65:19 125:9       81:6 82:10,13     141:10,17,20      ruling's 172:22
  128:22 152:18      142:19 143:17     83:2,3,6,17,21    141:24 142:7      run 31:14 87:18
  152:22 153:1,2     181:8             84:1,2,2,5,12     142:21 144:4,5      99:22 100:7
  183:25           revelations 156:5   84:12 85:14,16    145:8,12,15,22      119:8 133:22
Republicans        review 122:15       85:23,24 86:2     146:12,15,22      running 55:2
  26:23 174:9        123:17            91:19 92:24       146:24 147:1,6      56:22 71:10
reputation 8:4,4   revival 181:10      93:16,16,19       148:10,12,14        77:15 114:24
  11:11              185:25            94:3,8,15,17,22   148:18,21,22      runs 71:1
request 123:23     Rico 140:6          95:19,22,23       149:18 150:24     rural 114:20
requested 106:2    rid 58:13 69:22     97:2,5,23 98:4    151:19 157:2        153:3
  137:18             144:8             98:10,10,13,13    157:18 160:5      Russ 29:5 43:20
required 29:22     right 9:22 10:11    98:16,16 99:1     160:10,10,17        58:18 67:22
  122:11 142:24      10:22 11:9 15:6   100:13,17,19      160:18,24           68:23 69:7,13
requiring 16:17      15:15,19 17:1,6   101:24 103:22     161:3,8 162:14      69:21 116:17
rescan 99:12,13      20:22 21:3,18     103:23,25         162:14,14           117:17 130:21
research 29:9        21:22 22:12,13    107:1,1,12,12     164:22 165:9        130:22 131:4
residence 61:1       22:17,19 23:1     107:16 108:4,6    165:13 166:5        133:9
resident 19:25       24:1,20 25:11     108:9,9,24        166:10,15         Russell 44:1,4
resign 149:1         25:14,18 27:22    109:2,4,9,14,21   169:24 170:3        53:13 54:9
resistance 49:25     28:11 29:24       110:4,22          172:1 173:9,11      56:13,16 57:7
resolved 155:13      30:3,12 32:17     111:11,19,22      176:5,6 182:10      63:1 66:10
resources 13:22      32:22,24 33:2,9   111:22,25         182:10 183:18     Russell's 52:2


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com               800.445.9548
                                       APP620
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 621 of 971

                                                                                              213
               Steve Bannon Broadcast - February 11, 2021

         S            101:22 102:1       seconds 157:5         109:10,15,23        179:23 180:8
S3 48:23              115:14 117:12      Secretaries 26:24     113:19 117:2,4      186:9
sad 8:10,10,11        124:23 130:9         40:1                121:18 130:23     sees 66:17
safe 26:17 163:3      130:13 131:12      Secretary 19:10       132:14,15         segment 40:20
safer 6:5             132:16 140:23        19:12 20:7,16       133:5 134:12        42:16 43:21,23
safest 38:18          142:23 176:12        20:19,21,24         137:8,11,11,20      86:19
  39:10 40:18       scamming 62:15         23:16 24:22         137:23 140:21     selected 38:16
sales 134:2         scan 54:23             80:25 81:2,19       140:22 141:22       131:22
salesman 7:18,25    scare 147:3            81:25 82:4,15       142:2,2,3 156:9   self 60:1
  8:24              scared 153:13          88:22 89:2,3        157:2,25 158:8    sell 9:9
salt 92:18          scary 181:16           107:17 116:11       160:22 168:15     Senate 23:6
sanctioned          scene 2:16 87:22       121:21 158:3        168:15,16,19        32:12 70:15
  155:20,25           87:25                164:11              169:3 170:13        73:16 91:18
sanctions 144:12    scheme 62:15         section 23:13         170:20 173:8        125:11 152:19
  147:13 150:23     school 106:15,16       137:7,12            173:14 177:16       152:23
Saturday 90:17        114:16,23,24         155:15,18           181:6 183:25      senator 62:23
save 173:19,19        116:2 134:21         174:21              184:11,16           90:23 91:15
  173:19              151:16             secure 39:11          186:11,12,18        101:14 102:12
saved 7:22 78:12    schools 5:20           139:8             seeing 3:9 14:16      103:21
savvy 152:11        science 70:11        securely 120:13       22:13 28:25       senators 45:22
saw 28:17 29:18       73:12 79:18        securing 120:12       31:16 50:24         85:6
  46:2 51:1,18      scientific 75:2      Securities 132:2      54:19 135:1,6     send 41:2,4 49:14
  61:7,11 74:1,6    scientist 71:1       security 28:14        156:18 158:14     sends 150:2
  92:10 97:10,21      77:20,25             29:13 41:11         163:15 179:10     senior 35:7
  120:10 126:3      scientists 119:4,4     43:20 44:2,3        180:16            sense 13:20 20:11
saying 24:16          120:9 123:14         47:8,10 48:15     seek 147:13           53:12 58:14
  34:12 49:10,11    scoring 164:8          63:24 123:24      seeking 106:11        128:25
  52:2,4 54:16,17   screen 124:23          155:23 180:22       106:12            sent 47:23 142:23
  57:6 58:7,11        127:24 166:11      see 2:12 13:14,14   seen 4:8 13:16        163:16 165:15
  67:6 69:14,21     SCREENING              14:12,13,15         22:8,16 32:12       165:19
  75:9 81:18          1:15                 15:12 16:24         33:6,12 34:14     sentences 19:13
  82:16 87:16       scrutiny 62:12         17:11 18:8,22       37:12 42:2        September 50:14
  89:4 93:6 95:1    Scytl 33:19 48:22      24:5,12 26:18       43:10,14 45:6       71:22 74:1
  101:20 103:21       49:2 63:4            26:25 27:22         50:22 51:3,3,4      75:13
  110:17 129:10     se- 40:20              35:15 39:20         51:5,6 53:5,19    series 15:25
  135:19 145:20     seal 93:21             43:1,3 53:23        61:23 65:6          49:22 106:5
  147:15 151:25     sealed 95:1            57:11 60:24,24      97:13 103:10      serious 69:25
  155:2 165:1,3     seat 114:16            63:11 64:20         103:13 112:20       84:7,9 167:19
  167:15 176:10     sec 87:4               68:12,17,21,21      130:15,16         server 29:21
  177:7 184:5       sec- 23:13             74:5 77:5 79:3      136:4,5 148:8       33:19,21 44:9
says 3:21 4:19      second 5:14 7:4        80:5 85:18          153:22 166:1,2      49:3,4 63:11,13
  7:11 32:4 39:16     16:8,8 21:1          86:17 92:3 97:6     170:7 173:12      servers 33:11,15
  41:9,12 52:3        24:11 58:18          97:20 102:1         174:18 176:6,7      33:18 41:1
  56:24 66:10         81:13 105:10         103:9,25 108:3      176:21 178:21       48:23 49:12
  84:11 101:16        157:10 160:3         108:17,22           178:25 179:4        50:24,25 56:6


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                           APP621
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 622 of 971

                                                                                              214
               Steve Bannon Broadcast - February 11, 2021

  64:3 129:22         82:2,4,11,14,20     39:25 45:16         45:1,2               36:12,21 41:23
  133:3 136:6         83:1,4,7,11,14      47:9 59:23        similarities 28:18     46:19 57:13
  168:5,6             83:18,22,25         79:11 80:24       simple 54:23 66:3      68:8,9 150:7
service 19:3          84:3,6,13,17,19     81:21 133:14      simply 183:14          173:16
  160:25              84:21 85:16,25      135:3 163:6       simulated 168:25     smash 43:18
services 30:23        86:3,11,17          166:2 183:15      simultaneous         snake 7:18,24
  176:11              87:22 88:11       showing 83:8          179:15               8:24
Sessions 62:8         89:11,23            108:16 109:9      simultaneously       social 2:8 4:24
set 15:25 62:2,4    Shiva's 90:9          159:5 163:10        8:17 103:17          11:13 13:5,9
  135:21,21         shocking 156:5        166:4,22            117:24 179:22        22:18 86:20
  140:18 149:16     shop 47:23          shown 129:11        single 22:5 49:3,4     89:20 124:17
  159:1               115:23              174:11 182:20       61:12 63:16          149:7 175:15
set/modem           shops 128:25          183:21,23           73:24 97:21          186:15
  139:11            short 5:25 69:15    shows 13:6 14:6       103:9 136:3        socialist 180:2
setup 74:5          Shorthand 188:2       81:14 104:2         151:8 160:18       socialists 69:16
seven 45:25           188:17              157:5,6,11,12       165:7 166:8,8      soft 36:11
severe 163:22,24    show 2:21 3:2,3       157:13,19,20        176:4              software 36:9,12
  167:24 168:2        6:11,23 10:16       157:23 158:4,7    sir 8:7 9:15 20:23     45:5 118:10
severity 163:21       13:13,18 14:13      158:8,11          sit 100:6 102:2        119:9 120:6
SGO 36:12,21          15:2 16:9,13,20     159:18,23           154:13               122:20 125:10
shameful 9:20         18:20 20:4          160:3 164:18      sitting 119:7          135:10,13
share 12:1            21:24 23:1        shut 11:21 15:6,7   situation 69:7         140:15 153:8
  124:14,20,23        24:25 27:6,12       33:7 35:11 81:2     120:14 129:7         170:6
sheet 163:20          42:14 50:4          82:17 86:15,15      129:10 135:10      solid 49:25
  174:15              52:13 53:4          86:15             six 103:7            solutions 8:23
Shenzhen 31:9         56:12,15,17       shutting 35:9,11    skip 17:13,20        solve 77:1
shift 30:11 91:4      57:8,12,16,22       35:14               18:3               somebody 6:15
shining 187:5         58:1 61:24,25     sic 19:6 25:23      skittish 62:18         11:20 22:6
Shiva 70:5,10,14      81:18 85:8 87:6     55:20 57:16       sleazy 7:18            45:10 59:6 89:8
  70:20,22,24         88:6 102:10         107:23 139:24     slide 113:5            93:7 115:13
  71:4,8,17,20        104:2,4,21          149:10              138:12 140:14        116:11 120:3
  72:1,5,7,10,11      112:20 113:4      side 37:5 65:10       140:21               124:7 178:9
  72:13,17,20,23      117:3 121:18      sides 96:22         slides 140:20        Something's 95:1
  73:3,10,14,18       125:9,11          siege 142:20        sliver 173:24        soon 66:23
  73:24 74:4,9,12     129:11 130:7      signature 17:25     slow 95:4              186:18
  74:14,19,22,25      132:22 138:14     signatures 18:2     slowed 95:10         sorry 3:6 96:25
  75:2,5,8,12,16      141:15 142:14     signed 52:19        small 53:7 91:21     sort 30:21 51:23
  75:22 76:1,5,8      142:14 156:12       175:7               105:19 110:24        54:24 78:3
  76:13,16,20,24      161:18,23         significance          114:15 129:4       source 121:10
  77:1,3,12,20,24     162:16 165:6,6      122:1               134:20 137:8         157:10,14
  78:3,6,10,15,23     173:11 176:25     significant 34:5    smaller 185:5        space 81:14
  79:3,10,14,20       177:19,20         signs 71:12,17      smart 90:10            91:23 163:1
  79:24 80:2,5,8      182:18 184:4,5    silence 146:3       smartest 70:5        Spain 63:4 168:6
  80:12,15,18,22      186:15            silent 147:17       Smartmatic           spate 143:2
  81:7,12,17,24     showed 14:4         similar 44:24,24      12:15 36:12,12     speak 63:1 66:18


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                          APP622
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 623 of 971

                                                                                             215
               Steve Bannon Broadcast - February 11, 2021

SPEAKER 139:2         96:19               145:2 148:24      Stewart 105:6         124:6 130:18
  139:10,16,22      stamp 14:4 81:14      150:21 151:1        115:1               131:6 133:13
  140:2,6,12          159:8,20            152:15,17,23      stick 6:20            134:23,24,25
Speaking 8:17         164:20 171:19       157:18 159:22     stickers 71:12,18     136:15 151:24
  103:17 117:24       171:20              180:2 188:3       sticks 151:24         166:3 170:10
speaks 22:18        stamps 165:5        State's 20:19       stole 24:19 30:8      172:9,13
specialist 91:22    stand 176:4,5         82:15 158:3         79:5 133:3          174:14 176:21
specific 28:6       stand- 76:16          164:11              143:16 158:16       176:25 177:22
  141:18            standard 63:10      statement 38:20       160:4 163:11      subjective 132:16
specifically 63:2   standards 139:21      38:24 40:3 41:1     166:23,23         subjectively 50:5
  92:2              standing 32:7         59:14 168:4         184:10 185:1      submit 45:17
specifics 67:25     standpoint 75:3     statements 67:23    stolen 50:20        subpoena 32:13
speech 86:5,5,6       78:1                146:5               62:10 161:7       subsequently
spelled 179:12      stark 131:12        states 15:6 17:17     163:9 164:13        61:13
spend 5:23 29:4     start 3:6 11:25       17:24 21:2,5        164:19,20,21      successful 158:8
  37:4 67:9 77:8      12:6,23 23:1        23:17 24:1          164:23              158:9,10,12
spending 6:13         41:20 47:16         25:19 27:8 33:4   stop 3:22 12:20       160:2 163:11
  7:3 11:17           66:24 75:9          48:21 49:12         81:5 89:19          166:9
spent 29:17           116:14 172:24       53:25 58:2          151:6 155:2       successfully 36:6
  47:24 85:12       started 14:8,9        67:20 71:6 82:8   stopped 50:13       Suck-a-Buck
  179:18              28:25 29:7          90:3,14 125:19      116:12              149:7
spike 24:5 34:5       31:16 68:7,7        151:13 157:1      stopping 57:20      sudden 14:1 15:7
  102:16,17           75:12 167:3         157:23 169:18     store 61:5            77:7 115:19
  103:13 142:2      starting 91:4         179:8 183:19      stored 48:15,18       116:3 133:12
spikes 15:13        state 16:12,13      States' 40:1        stores 13:8           134:22 177:9
  141:14,15           17:12 19:7,11     station 77:5        story 68:13 87:18   sue 149:23,24
spit 137:17           19:12,17,19         91:23               128:13              150:4,4 173:17
spite 152:5           20:7,16,22,24     statistics 32:6     straight 97:15      sued 80:18
spoke 5:15            21:11 24:22       stats 24:12           135:3               149:21 150:14
spre- 124:9           26:24 31:11       stay 65:25 103:7    strategic 28:24     Suffolk 80:3
spread 186:15         33:4 34:21,21       105:9 147:17        30:22 31:16       suggested 18:1
spring 5:15           35:4 45:22        steal 14:18 22:2    street 33:19        suing 149:12
Sprint 139:24         56:21 58:4 60:2     23:24 126:8         61:12               150:10
spyware 117:4         60:3 79:11          132:25 162:10     stronger 6:5        Suite 188:19
  169:5 170:1,6       80:19,25 81:2,3     164:9             stuck 99:16         suits 149:12
  170:11              81:19 82:1,5      stealing 37:25      studies 8:20        Summary 123:25
square 57:6           88:23 89:2,3        163:14            study 121:8         summer 3:10 7:5
squares 165:18        90:23 91:15,18    step 135:24           130:1               154:3
squeamish             101:14 102:12       185:15            stuff 4:25 7:11     supersede 86:5
  175:18              103:21 107:17     Stephen 2:3           18:13 21:12       support 139:12
squished 43:8         116:11 121:21     stepped 152:24        23:9 39:7,24        139:18 142:25
  169:1,2             128:13 131:17     stepping 26:7         45:1 57:23          179:8
st- 6:14              131:23 136:3      Steve 1:16 132:13     68:12 69:6,25     suppose 166:13
staff 46:2 179:19     137:21,24           133:7 153:9         70:17 72:15       supposed 83:16
stage 2:19 38:9       142:22 143:3        169:12 178:5        73:15 104:15        93:13 94:16


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                          APP623
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 624 of 971

                                                                                            216
               Steve Bannon Broadcast - February 11, 2021

  99:12 103:4         60:12 63:22        100:1,8 119:6       39:24 47:16         87:24,25 96:1,2
  116:3 143:21        67:16 70:11        127:1,3             49:9 56:2,5         109:20 116:13
  153:1 184:13        73:12 78:18      tabulators 30:5       69:20 86:19         124:11 128:6
supposedly 51:7       92:3 118:23,24   Taiwan's 37:12        88:16 102:3         134:6 135:5
  63:9                119:6 120:17     take 8:25 9:7         109:10 115:13       136:18 151:14
suppress 49:10        121:9,10,11        11:7 19:2 46:1      115:22 116:6,9      152:25 173:11
  85:13,13            122:7 125:12       47:12,12,19         142:18 146:7,8      173:12,15,22
  136:24 144:4        125:20 126:25      50:10 58:16         146:10 149:14       174:3,17,18
  149:6 151:25        127:5 128:3,7      64:4 75:9,23        150:13 176:17       177:5 186:14
  152:1 176:23        131:13,21          82:11 87:1,18       183:18            telling 8:25 26:20
suppressed 2:7        137:9,10           89:20 98:23       talks 150:14          49:20 50:3
  11:15 54:15         140:18 145:9       117:8,14            152:1 155:18        54:13 60:19
  124:13,17           145:19 152:17      118:23 126:14       181:17              62:21 69:14
  154:17 174:6        162:23,24          142:25 145:24     tallies 93:20         89:20 99:25
  176:20 178:13       163:24 176:13      156:1 165:4       tally 92:2 93:13      125:12 137:2
suppressing           179:5,13,14        172:24              112:2 119:10        148:19 149:22
  22:14 154:6       system's 132:9     taken 5:20 11:14    tallying 126:16       161:11 171:7
  176:18,22         systematic           81:10,10 88:24    tampered 61:17        177:21 181:6
suppression           131:15             88:25 161:19        120:15              181:23,24
  89:18             systemic 125:21    takeover 186:11     tape 69:6           tells 82:6 120:17
Supreme 42:23       systems 28:17,19   takes 15:11 81:20   tapes 138:25,25       120:19 121:3
  43:1 171:18         28:23 29:2,19      81:21 127:3       target 85:23          138:5 140:17
  182:5,6 184:4       30:15 37:2         169:3               157:16,17,18        140:22
  184:13 186:19       38:21 56:25      talk 6:11,23          157:18,21         ten 11:8,8 20:8
sure 4:8 37:7         72:25 73:15,20     12:25 17:16         163:8               41:23 60:2
  39:5 58:11 63:3     73:20,21           20:4 23:12,18     TCS 92:11             138:21
  69:3 89:1           131:19 132:4       41:4 67:25        te- 11:11           tenets 143:3
  105:17 167:3        150:1              68:23 71:9        team 29:10 47:23    terabytes 156:23
  183:3                                  86:24 88:4,6,7      52:21 65:14       terms 65:6 125:5
Surge 18:25                 T            88:8 114:13         118:15 119:3        148:23
surveillance        T 139:24 188:1,1     129:23 137:13       123:14 125:24     Terri 188:2,16
  162:23,24         T-Mobile 140:10      149:20,20           127:7 130:22      territorial 37:15
survived 80:23      T.V 77:5             150:19 152:2      tech 2:8,25         Terry 182:15,18
suspect 65:16       tabulated 98:8       155:10,14         technical 30:18       186:3
Swalwell 23:5         127:12             180:2               37:24             tested 137:20,20
  25:17             tabulates 126:25   talked 3:19 4:5     technology          testified 38:6
swamp 82:12           127:15             5:5 6:7,12,13       139:13              125:10
swing 58:2          tabulating 96:9      6:13 25:22        tee 118:5           testimonies 38:6
swiping 59:17         96:13 97:1,25      34:15 40:21       tell 4:11,11 6:6    testimony 7:19
switch 140:25         101:11             53:6 56:11 57:2     8:25 14:20,21       40:25 68:3 82:2
switched 170:2      tabulation 19:5      89:23 115:8         16:11 22:25         82:8 105:7
sworn 40:24           31:19 44:9         135:17 146:9        26:20 41:15,18    testing 31:7,8
system 41:10          120:13 126:18      146:13 161:17       43:19 59:14       Texas 29:10 44:3
  44:13 46:3 55:3     142:11           talking 3:7 16:2      67:8 70:15 73:5     45:15 46:8,10
  55:25 58:9        tabulator 98:18      26:15 28:5 30:1     77:8 81:13          46:11,12,16


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                         APP624
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 625 of 971

                                                                                               217
               Steve Bannon Broadcast - February 11, 2021

  56:21 57:3,13        105:3 106:19        86:24 135:25       time 5:9,23 6:13    tools 12:17 63:10
  61:9,12 62:2,5       130:17 132:1,3      136:10               7:3,5 14:4,16       163:2
  62:7,9,11,17         133:8 136:20      third-world 71:8       15:17,23 19:22    top 98:9 99:20
  131:17,23            142:6 149:10        84:1                 24:3 29:4,17      Toronto 33:13
  188:3,16,19          151:24 153:19     Tho- 116:22            38:9 42:17        total 113:10
thank 178:23           154:2,5,9 155:2   Thou- 97:7             43:18 54:10       totalitarianism
  181:5,11,13,14       156:16 158:25     thought 5:1,2 7:1      56:17 57:4          145:7 146:25
  186:8                170:7,12            7:14 51:10,11        61:13 66:5        totally 65:16
thanks 70:20           171:16 174:20       51:12,13,16          69:15 80:9          146:10
  156:13,14          think 2:20 5:16       72:6,14 102:22       81:11,14 97:19    totals 111:23
  178:22,24            6:14 7:22 9:20      138:15               100:14 118:21       161:6
  182:19 186:3,4       13:25 15:18,18    thousand 78:20         128:20 137:8      tough 2:11 10:18
  186:6                22:9 25:8 26:5      78:21                148:5,5 151:8       12:1,25 131:20
theft 21:25 24:25      31:13 33:20       thousands 51:1,4       159:8,20 160:3      133:22
  161:17 162:1         36:23 38:7,8,15     97:6,7,8,8           160:3 164:20      tow- 106:22
  163:17 164:16        38:19 40:9,11       132:17,18            165:5,23          town 53:11
theory 32:23           40:24 46:24         160:17,20            166:12 170:9        134:20 137:9
they'd 6:20            50:3 57:1 62:17   threat 33:4 34:20      171:19 183:2        151:17,17
  148:20 183:14        65:14,15,20,21      185:11               185:7             Township 106:22
thing 4:6 6:25 7:4     66:2,23 67:21     threaten 144:11      times 11:7,8          108:23 109:25
  18:16 21:14,19       72:3 74:23 78:3     145:24 151:15        41:24 87:12       townships 106:22
  21:24 24:23          83:14 87:14       threatened 88:5        141:19            townspeople
  25:5 26:9 27:11      88:11 90:7,8        147:9 151:21       timing 187:9          128:23
  37:9 40:19           101:18,21,25      threatening          tirelessly 123:15   traced 151:19
  41:13 42:25          103:19 105:6        144:12 148:24      today 13:10,14      track 23:23 77:6
  57:13 64:8           110:14 116:4        148:24 150:23        14:22 28:6          172:16
  66:23 77:3 78:7      116:23 117:18     threatens 145:2        39:15 66:14       tracking 41:14
  80:23 81:9           118:4,9,14        three 11:7 48:2,6      90:25 156:14      traditional 25:10
  85:18 88:15          126:15,23           48:7 51:12           180:15 183:23       26:8 94:24
  90:8 102:25          131:5,7,11          81:24 82:2,8       told 13:15 39:1,2   traditionally
  103:10 104:3         134:7,9,9,14        87:11 140:7,9        65:24 66:14         110:8 115:17
  117:2 129:15         140:10 146:7        171:20,21            84:12,13          traffic 34:4,5,6,8
  130:1,25             149:12,19           177:7                107:14 138:16     trained 102:3
  132:21 134:21        150:21 152:16     three-hour 42:17       138:17 150:4      training 103:3
  135:9 153:15         153:1 155:19      three-minute           161:13 170:1      traitors 22:12
  154:17 168:24        160:12 169:19       7:15                 182:13              35:2
  169:5 170:1,23       170:25 172:22     throw 68:10          tonight 2:2,5,10    trans- 33:24
  175:4 176:4          175:1,7,9 176:9     124:10               14:12 24:25       transcribed
  179:4 180:11         176:23 177:6      thrown 134:22          26:18,20,25         188:8
things 11:5,6          183:11            thumb 119:10           27:6 42:25 43:2   transcription
  21:9 22:3 41:5     thinking 72:18      tickets 18:3 62:22     43:3 68:17          1:13 188:4,11
  54:11 65:15          72:20 93:21       tier 31:16             69:21 116:13      transfer 41:5
  66:10,11 77:10       176:10            Tietong 161:1          133:5 176:22        164:10,13
  77:19 83:15        thinks 71:5         tight 131:22         tons 51:20          transferring
  87:16 89:14        third 7:5 31:16     till 57:20 176:5     tool 169:16           120:13


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                    800.445.9548
                                           APP625
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 626 of 971

                                                                                           218
               Steve Bannon Broadcast - February 11, 2021

transmission          142:19 143:16       21:3,3 22:4      underaged 20:10    unwound 118:12
  139:3               144:22 152:7        23:12,18 32:9    understand 2:23    use 5:21 21:12
transmit 138:23       154:11,12           39:14,14 44:7     32:19,20 54:22     27:16 44:21
  139:1 140:4         178:1 182:13        49:24 54:3,16     56:21 60:18        46:11,12 48:3
trickle 95:11         186:17              54:18 75:18,20    83:15 92:1         48:21 49:12
tried 45:13,21,22   try 49:21 124:14      78:24 81:17       122:16 127:6       57:18 69:18
  47:9,11 49:10       124:22 144:3        86:16 88:13       151:4 153:11       79:16 110:17
  82:22 89:19         145:23,24           90:19 95:17       163:7 164:7        122:20 135:1
  116:18 124:9        146:2 158:10        101:15 102:6,9    167:1 176:15       139:14 140:8
  149:6 155:1         173:5 185:12        103:2 116:5       179:11 180:5       152:16 158:1
tries 76:11         trying 12:10          174:20 179:22     180:14,17          182:23
TRO 88:15             13:15,17 20:23    two-hour 46:1       185:12            uses 46:11
trolls 5:1 6:21       22:14 35:11       type 164:2         understands        usual 64:23
  85:21               43:17 122:3       types 131:20        92:19             usually 41:24
truck 35:19           129:24 137:10       163:21           understood          42:5
true 25:3 65:5        144:7,8 150:10    typically 80:3      15:15
  106:4 144:9         150:22 151:6      typo 150:18        unemployment               V
  177:5               151:10 176:23     tyranny 145:4       6:1               V- 139:6
truly 65:15           183:6 184:24        146:23           unexplainable      vacant 17:2
Trump 2:17 3:11     Turchie 182:16                          105:3 153:23      vaccine 7:9
  15:3 16:25 18:9     182:19 183:3              U           154:8,9 155:3     val- 171:3 173:10
  18:23 21:6,17       184:20 185:3,9    U.S 19:3 28:24     unfolded 183:16    validate 173:10
  21:17 23:8,21       185:14,18          31:11 34:9 35:8   Unicom 161:1       validated 23:17
  24:14 25:6,18       186:6              37:12,23,23       UNIDENTIFI...        170:16
  26:14 30:9        turn 66:24           38:19 39:9         139:2,10,16,22    validates 70:18
  38:15,16,17         163:13             40:18 83:22        140:2,6,12        vans 101:17
  41:11 71:15       turned 5:21 7:3      142:25 143:22     unique 31:14       varieties 139:18
  97:20,21            180:10            Ucloud 161:1        157:13,22         variety 66:2
  101:12 102:1      TV 13:6 71:13       Uh-huh 29:14        159:22              139:12
  103:10 105:23     tweet 142:23         71:16 75:11       unite 185:25       various 18:17
  107:23 108:20       146:16             78:14 79:23       United 25:19       vehicle 139:2
  111:4,21 112:8    twen- 17:4 113:7     80:17 99:9,18      27:8 33:4 53:25   vendor 140:10
  112:25 113:2      twice 80:9           101:9 140:19       67:19 71:6 82:7   vendors 12:6
  114:7 117:1       twilight 15:16       144:17 146:1       90:2 157:1,22       140:7,8,9
  143:2 158:17      twisted 25:3         148:7              169:18 179:8      Venezuela 59:2
  160:4,13 161:7    Twitter 11:13       Uhh 64:24,25        183:19              67:19,19,24
  161:15 175:17       13:9,10,11        UK 33:11           uniter 181:9         68:7,7 69:7,15
  180:6               80:24 81:1,2,8    um 110:13          uniting 186:1      verification
Trump's 108:7         81:10,19,20,21    unbelievable       universities         17:25
  109:1 110:5         82:16,17 85:22     51:25 61:19        37:23             Verizon 139:8,23
trust 60:12           85:25 86:3,8,15   unconventional     unjust 143:1       verse 6:7
  177:25              86:15 88:15,24     33:1              unknown 48:2       version 79:1
truth 12:11 39:18     124:8 151:24      Under-age 19:14    Unplanned 86:14      123:25
  39:19 65:12       Twitter's 11:14     underage 21:5      Unregistered       versus 37:17
  66:14 125:12      two 14:22 20:24      23:10 26:9         19:16               139:4


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                 800.445.9548
                                          APP626
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 627 of 971

                                                                                         219
               Steve Bannon Broadcast - February 11, 2021

vi- 7:9              162:5 163:14        112:12,23         27:22,25 28:1      139:14 149:9
vice 6:2 30:10       164:9,11,12,16      113:3,8,11,14     28:12 29:15,25     150:19 159:12
  91:16 179:20       164:19,20           113:20,25         30:4,13,21 31:6    161:23 167:20
victory 16:15        166:8,23,23         114:8 115:21      32:2,18,23,25      168:3 172:18
  19:8 180:9        voted 16:24          116:23 120:13     33:3,10,17,24      172:19 173:3
video 13:2 27:23     17:22,24 18:6,6     123:3,12 132:6    34:3,13,23 35:3    180:4 181:19
  43:24 58:21        18:8,17 19:14       133:3,17 135:3    35:25 36:15,19     182:24 187:8
  70:8 90:21         19:15,16,16,17      136:4 141:18      37:7,11,21 38:4   wanted 11:20
  101:18 105:11      19:18,19,20         152:21 153:22     39:8 40:7,20       47:15 62:22
  118:19 136:22      20:10 26:2 53:8     158:14,15,16      41:13,17 69:8      66:5 68:6 82:11
  137:15 149:14      54:25 60:21,24      160:4 161:6,15    174:21,25          92:1 102:9
  156:6 159:4        61:1 115:25         163:8,11          175:2              104:18,24
  161:23 162:15      116:5 126:23        164:18 165:23    walk 88:15 103:4    106:8,12
  162:17,19,20       126:24,24           166:18 180:7     walked 4:3,18       114:23 126:8
  162:22 178:18     voter 23:9 25:12    voting 16:23       84:21              159:13 160:14
  182:14 188:4       26:9 47:21 57:5     23:10,10,11      walking 96:9        170:19,19,19
videos 59:16         60:20,23 61:5,6     26:10,10 28:17    101:10            wanting 65:9
violates 143:3       61:8 127:21,25      29:2 31:18       wall 49:25 92:10   wants 63:20
  148:25             148:11 150:14       38:21 44:19      want 2:21 3:18      147:3
violation 19:7      voter's 127:25       45:1 46:3,11      11:24 12:2,7      war 37:18 38:1
  86:4              voters 17:1,15,23    51:14 55:2        13:14 14:20,21     162:9 167:16
virtual 38:24        18:7 19:1,16,17     59:25 60:1,12     23:14,15,17        169:18
virus 7:9,10         19:18,19,24,25      61:7 67:16        25:15 26:24       Ware 30:6
  153:25 159:3,3     55:25 113:6,7       75:17 78:16,25    30:18 40:19,23    warfare 27:18
vitally 178:25       115:19              110:18 116:4      42:16 48:9         28:3,21 33:1,1
voice 178:12        votes 14:6 15:4      118:24 119:6      49:14 52:9 55:3    38:5,10 41:17
volume 34:4,6        15:14,24 16:15      122:6 125:20      58:6,6,9,10        159:18 169:17
volunteers 71:11     16:18 17:8,9,18     126:16 131:13     61:25 63:20        179:1,3 180:21
vote 15:12 16:25     18:9,12 19:8        140:21 150:1      64:5 65:11,19     warned 150:3
  19:14,15,22        20:9 23:22 25:7     152:17            65:21 66:21       Washington
  20:1 22:5,7        31:17 38:22        VPN 139:4,6        67:7,22 69:3,3     87:13 147:8
  30:8,9,11 38:20    44:14 48:15,15     vulnerabilities    69:13 70:12       wasn't 22:9
  49:13 54:23        48:25 49:4          28:18,23,25       71:14 73:5 77:2    43:16 52:8,9
  55:3,3 59:7        50:25 51:17         29:19 30:15       81:6 85:5,5        72:20 84:25
  61:12 62:15        53:8 58:17 59:5     36:8 48:24        95:3 97:13         85:25 94:25
  69:19 75:18,19     61:7 62:16 63:8    vulnerability      100:25 105:5       102:3 112:4
  75:24 92:2         63:9,21 65:18       63:24             109:20,22,22       114:17 120:2
  93:13,20 97:9      78:19,20,21,23                        110:22 113:4       132:13,21
  97:10,20,22        78:24 83:9                 W          114:22 115:11      160:14
  102:1 103:10       93:10 97:6,9       wages 6:1          116:15 117:12     watch 21:23
  105:23 111:18      102:19,23,24       wait 4:11 48:17    118:5 119:13       22:24 61:5 85:7
  112:2 115:24       102:25 105:20       48:17 66:25       119:13 120:2       89:10 186:16
  126:15,16          106:24 108:8       waiting 87:7       130:25 135:5      watchers 103:7
  127:25 148:13      109:1 110:6         156:8 161:22      135:23 136:18     watches 63:15
  154:18 161:5,6     111:1,1,2,3,24     Waldron 27:19      137:2,6,19        watching 27:6


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                800.445.9548
                                          APP627
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 628 of 971

                                                                                           220
               Steve Bannon Broadcast - February 11, 2021

 33:10 34:4           42:15,15,25        32:16 40:10        164:4              work 36:10 45:23
 48:11 59:18          50:3,3 56:15       68:6 77:9         whistleblowers       52:16 61:3 62:8
 84:24 101:8          58:23 59:1         123:16             35:23 171:21        67:16 96:4
 156:15 162:23        64:15 68:9,12     weeks 10:23        white 63:10          101:1 139:7
 163:4,9 164:14       69:3,20 70:4,16    70:12,14 87:11     74:16 162:12        167:2 171:24
 165:11 173:21        72:11 86:18        177:8             whoe- 155:1          171:25 181:18
 182:7 184:5          87:5,5 90:15      weighted 78:17     whoever's 55:2      worked 61:6 72:2
 186:20               95:15 105:7,8      88:14,20 89:16    wide 182:3           97:14 123:14
waters 37:15          105:12 108:15      135:20            widespread           123:16
waterways 37:16       109:9 112:19      weird 15:8 77:19    35:16              workers 18:17
way 4:20 25:3         118:6 130:9       welcome 2:2        wiggle 173:24        59:16
 41:9 49:1 56:2       138:14 139:17      182:18            willing 7:20        working 28:13
 59:8,8 61:6          140:4 143:14      well-known         win 20:11 24:14      29:4,7 63:25
 73:1 77:10           145:18,18          156:3              62:2,5 71:24       works 7:12 16:21
 79:17 91:5           150:13 155:16     went 4:5,21 7:13    72:11 74:9          41:10 67:13
 99:12 100:1          156:17 162:18      13:23 15:10       winner 21:13         125:13 126:21
 104:12 115:17        162:18,20          17:17 24:2 30:7    24:16               127:5 128:3
 115:18 118:10        170:18 181:6,8     35:19 38:7,22     wins 17:1 21:6,17    149:11
 127:5 128:3          181:9 182:10       40:18 42:7         21:17 74:15,16     workstation
 130:10 135:8         185:20,20          52:25 64:9,14     wiped 61:12          140:24
 150:17 155:9         186:23             70:18 81:18       wireless 139:10     world 2:7 26:16
 160:15 172:19       we've 2:20 20:23    84:13 88:2        Wiscon- 19:7         51:2 68:24
 174:14 184:8         22:8 30:23 31:1    99:16 104:8       Wisconsin 18:25      73:19 81:9
Wayne 91:14           32:6 36:10         105:23 109:11      18:25 25:7          86:24 142:15
 123:9 152:20         37:12 42:15        109:22 114:25      31:19               171:13 173:1,4
ways 28:23 29:1       46:8 52:12,13      118:7,25 130:5    witness 93:17        173:20 175:22
 29:19 54:21          53:3,4,5,5         130:13 133:6,7    witnessed 91:7       180:4 181:2,2
 75:18                56:11,23 64:14     151:16 158:15     witnesses 34:14      182:21 187:1,2
we'll 17:1,19 18:3    84:6 109:10        159:14 166:25     Wolf 38:14,15,25    world's 33:21
 20:3 40:23 58:1      122:5 125:4        170:13,16,16       39:1 40:17         worse 54:7,19,21
 58:1 90:19           130:12 137:18      171:13,14         won 15:22,22         147:5
 116:13 118:17        141:8 146:9,13     173:23             16:16 23:24        worst 6:24
 137:12 176:24        148:16 156:14     weren't 49:11       74:2 77:17,17      worth 92:18
 178:2                161:22 166:10      50:24 52:15        161:14 180:7       wouldn't 15:18
we're 2:3,4,11,12     170:15,16          72:18 106:11      Wonder 116:12        16:1 21:8,18
 4:16,21 11:25        176:21 178:14      106:11 112:16     wondered 35:14       22:4,6 24:19,19
 12:23 14:13,14       182:20,20          116:9 130:10       102:17              25:2 26:15
 15:7,9,15,16         183:21,23          131:19,22         wondering 116:1      88:18 94:23
 16:12,12,13          185:21,22          185:16,19          183:1               110:15 123:4,4
 17:16,19 18:15      weapons 181:22     West 179:7         word 5:23 6:14       123:13 142:17
 18:21 19:9          website 57:25      whack-a-mole        43:7 71:22          174:14,15
 21:11,12,18,21       68:11 102:8        22:20              147:19,22           177:7
 22:13 23:1           104:5,16 106:4    Whatever's         words 61:15         wow 3:25 5:7
 24:20,25 25:25       124:12             22:13              91:23 125:23        14:7,17 30:20
 27:17 28:5 38:2     week 15:11 24:6    whistleblower       125:23              31:5 34:18


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                 800.445.9548
                                          APP628
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 629 of 971

                                                                                         221
              Steve Bannon Broadcast - February 11, 2021

  36:14 37:6 40:5   28:1,12 32:2              Z          11/5/2020 157:5     2,560 19:14
  45:12 46:5        35:3 42:15        zeros 61:3,4,15    11:03 121:9,25      2:00 95:8
  48:20 49:6,18     43:19 44:25       zone 15:16           128:9             20 99:3,4
  50:2,15 51:19     45:8 48:19,19     Zuckerberg         11:15 14:24         20- 97:14
  52:1,18 55:6,8    50:16 51:11         86:21              23:20             20-some 81:11
  55:19 56:1        55:21 65:1                           1100 44:11          20,000 11:17 19:8
  61:10,18 64:2     68:21 70:20,21            0          12,278 111:23         25:7 71:12
  70:18 75:9 77:3   70:23 72:1,1,5                       12,500 25:8         200-page 82:23
  81:5 82:25        72:10,12 73:1             1          12th 40:3,10        200,000 18:9
  83:13 85:9        73:10 77:22       1 122:4 140:23     13 30:8,9           2002 78:17 79:1
  87:19 91:6        79:10 81:7        1,043 19:25        130,000 18:2 19:3   2009 3:13
  101:5 110:16      84:22 86:9 90:1   1,506 18:6         13th 124:1          2015 164:4
  111:7 114:1       90:4,7,11 91:1    1.2 83:12          14 79:17            2016 2:16 3:10
  116:15 120:7      93:8 94:11 95:9   10 74:9 117:1      14th 123:23           5:19 128:8
  121:1,13          95:13,20 96:11    10-block-long        124:13            2018 44:18 62:8
  125:14,17         96:11,14 99:7       61:11            15 117:1              128:8 175:7
  127:16 133:14     99:21,24          10,000 16:15,24    15,000 17:24        2020 19:1 67:20
  138:4 141:1       100:12 104:23       71:12 77:5,6       115:19              71:11,22 74:1
  143:5 144:14      105:1 110:1       10,315 20:3        15,000- 123:1         128:7 175:13
  144:24 146:4      111:5 117:7,10    100 14:2,15,17     15,000-some 53:8    2021 1:14
  147:14,24         117:19,25           21:24 24:14      15,700 19:21        20th 99:8 147:7
  160:1 162:3,21    126:22 128:5        25:21 26:25      15,718 110:25       214 188:20
  163:18,25         132:12 134:11       27:12 33:14        111:2 112:9       21st 107:11
  165:10 170:18     136:17 137:6        42:8,8,12 43:3   16 110:6              148:19
  181:5 184:6       138:6 139:25        79:7 81:23,25    16,047 113:13,20    22 97:15 124:1
wraps 117:21        140:3 141:7         82:23 108:12     16th 3:13           22-month 122:7
write 185:12        146:18 159:6        108:14 109:4     17,367 17:15        22,000 17:4
wrong 11:6 20:17    161:24 162:18       112:21,21        170,000 19:7        22,082 113:8
  25:17 59:24       171:13 174:1        114:10,11,12     17th 107:11,13      22nd 172:22
  109:5 110:13      174:12 176:14       118:1 130:24     19,218 18:7         24 155:24
  114:25 116:7      177:11,17           132:14 135:16    197 106:24          25-hour 91:4
  117:15,16         178:6 181:14        144:3 154:20       107:23,24         26 30:11 101:7
  118:10 151:18   years 44:7 65:18      154:21 156:9       108:5,7             102:1
Wuhan 159:3         79:16 86:14         156:12 159:8     1974 78:11          27 48:21 49:12
Wumao 175:14        128:21 145:10       177:18 181:1     198 108:21          28 152:16
                    153:18,18           182:21 184:6     1st 71:22 74:1      2995 156:25
        X           179:6,18            184:16             156:20 162:5
X 30:7            yep 91:10 93:11     100,000 19:4                                   3
                    95:25,25 98:6,6     80:16                     2          3 107:23 179:19
        Y                             1000 73:18         2 123:25            3,000 71:11
                    145:5,15,15
Y 158:8             152:13            101 188:19         2- 48:21            3:00 15:21 24:1
y'all 109:20      York 18:19 87:12    103,000 17:8       2-126 79:1            166:17
ya 60:14,14       you's 177:15        109 6:16           2,000 17:2 77:7     30 99:16,19
  112:10          you-all 69:14       11 1:14 47:24        113:24            300-and-some
yeah 3:4,19 5:17                      11,730 20:9        2,423 19:16           116:5


                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                  800.445.9548
                                        APP629
   Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 630 of 971

                                                                          222
               Steve Bannon Broadcast - February 11, 2021

300,000 16:18      5,959 112:5         7:43 157:5
30th 99:16         50 79:16 99:6,20    700,000 62:16
312 188:18           100:20,21,22      718 123:3
3200 112:12          175:14            744 110:2
34,000 18:9        50,000 17:11        75206 188:19
3477 158:16        50/50 80:13         79 180:7
35 53:10 105:21    500 18:4 116:5
  105:23 110:9     57,000 61:7               8
  115:18 128:22    5th 113:23        8 5:19 108:20,21
  179:18                             80 74:6 161:15
36,400 16:23               6         82 55:5,7,9
38 122:20 157:5    60 40:14 158:21   8300 25:8
392 108:19,20,21   60-some 179:6     85 55:20 116:25
  108:23 109:1     60/40 74:10,10,10 855-5100 188:20
395 19:19            74:10 79:8      866,000 18:22
3D 139:18          600,000 18:13
                     20:5                    9
3G 139:23
3rd 29:3 40:8      615,000 17:18     9,759 112:6
  95:17 106:25     65 53:10 105:20   90 74:7 116:25
  112:2 113:11       105:22 110:8    93 107:2,5,24
  113:20 141:22      115:18 128:21   93.6 55:23
                   65/35 114:19      98 20:1
        4          6581 188:17       9th 14:1 39:23
4 9:23 10:3,6,12   66 158:22,23        75:13 133:11
  95:17            66,247 19:16        136:9 154:20
4,000 17:23        666 83:9,10
4,509 111:21       68 18:14 126:11
4,926 19:18          127:15 129:7,8
4:00 166:17          129:9 161:16
40 79:16,16          180:7
40,000 20:13       68,000 18:23
40,279 19:23       6th 25:5 119:1
400 100:16           123:15
401(k) 67:9
42,284 18:8                7
4228 188:18        7 115:20
4G 139:21,23       7-31-25 188:20
4th 13:17 64:11    7,000 113:2 114:5
  106:1 110:13       115:20 116:23
  121:9,25 128:9   7,000-some 53:8
  128:10           7,060 111:3 113:3
                     114:7,7 123:12
        5          7,300 135:3
5 78:24 91:5       7,700 115:20
5,250 112:23       7,769 111:18


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com    800.445.9548
                                         APP630
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 631 of 971




      Exhibit A-18




                             APP631
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 632 of 971

                                                                            1
                      Scientific Proof - April 3, 2021


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12   CERTIFIED TRANSCRIPTION OF
13         SCIENTIFIC PROOF
14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP632
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 633 of 971

                                                                              2
                        Scientific Proof - April 3, 2021


1                      (Recording begins.)
2                      MR. LINDELL:   Hello, everyone.    As you know,
3    we've been filming a new documentary this week and it's going
4    to come out in a week or so.     But when I was interviewing
5    everyone, Dr. Douglas G. Frank here has more stuff than you
6    could even put into a -- a 10-hour documentary.        So what I
7    wanted to do was a separate one here.      This is so important to
8    our country.     I wanted to get this one out right away.
9                      So we're going to -- we're going to have an hour
10   interview here with Dr. Frank.     And welcome.     I mean, what you
11   showed me before, I want everybody to see in this hour.         I want
12   to say how we met.     I met -- it was like a divine appointment
13   here.    My -- I actually met a Congress- -- a gal that was
14   running for Congress in Pennsylvania, I met her in D.C. at
15   random in January.     And she said that she had won, and then all
16   of a sudden, we woke up on November 4th and had lost.
17                     And she knew that there was something terribly
18   wrong.    She basically went door to door, she went -- she did
19   her own investigation and she proved, you know, herself, she
20   goes -- she goes, Yes, it was cheated me.       She didn't really
21   know how, and so she went out and got ahold of different people
22   to help her with this, and one of them was Dr. Frank.        And when
23   I was doing this documentary, she said, Well, you need to see
24   what he has.     This is -- it was amazing.
25                     And -- well, so let's get into it.     What's your




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                  APP633
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 634 of 971

                                                                                  3
                        Scientific Proof - April 3, 2021


1    background?   Tell everybody.
2                      DR. FRANK:     I'm a Ph.D. scientist.       I've been
3    doing science for about 40 years aggressively.         Got about 60
4    scientific publications.
5                      MR. LINDELL:     Right.
6                      DR. FRANK:     Some of them are cover articles and
7    invited articles, because I happened to make a pretty good
8    discovery once --
9                      MR. LINDELL:     Right.
10                     DR. FRANK:     -- back in early '90s.       I left
11   academics in 1996, and ever since then, I've been teaching at a
12   special school for extra ordinarily gifted kids as well as
13   working on new inventions and --
14                     MR. LINDELL:     Right.
15                     DR. FRANK:     -- analyzing election data lately.
16                     MR. LINDELL:     Right.   Right.   Right.     So very --
17   overqualified everybody, but it --
18                     DR. FRANK:     Yes.
19                     MR. LINDELL:     But what you're going to see just
20   speaks for itself.     I mean, for him to -- to even dig in and
21   get this and figure out the algorithms and then to have
22   absolute proof.     What we have over here, what you're going to
23   see when this is done, what I showed you in Absolute Proof, the
24   first documentary we did with all the cyberattack on our
25   country, who did it, when they did it, why they did it, we know




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP634
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 635 of 971

                                                                              4
                      Scientific Proof - April 3, 2021


1    the IP addresses, the IDs of the computers, everything.         Now
2    you're going to see that this was nationwide and these two come
3    together, and it is -- absolutely fits like a glove.
4                    So why don't we just get right into it.        So what
5    did you -- what do -- what do you have?
6                    DR. FRANK:     I found where the algorithms that
7    control how many registrations and how many ballots you need in
8    every county to control an election.
9                    MR. LINDELL:     Uh-huh.
10                   DR. FRANK:     That's what I figured out.
11                   MR. LINDELL:     Right.
12                   DR. FRANK:     And it's widespread.    It's in every
13   state that I've checked so far and it's to magnificent
14   part-per-million detail.
15                   MR. LINDELL:     Really?
16                   DR. FRANK:     So I know it's not an accident.
17                   MR. LINDELL:     Right.
18                   DR. FRANK:     It has to be done by an algorithm.
19                   MR. LINDELL:     Right.    It cannot be done by
20   humans.
21                   DR. FRANK:     It could not be done.
22                   MR. LINDELL:     I want everybody to know that.
23                   DR. FRANK:     Yes.
24                   MR. LINDELL:     What you're going to see is
25   impossible to be done by humans.




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP635
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 636 of 971

                                                                             5
                        Scientific Proof - April 3, 2021


1                    DR. FRANK:     Right.   Yes.
2                    MR. LINDELL:     It had to be done by machine,
3    i.e., computers.    And they had to be online?
4                    DR. FRANK:     Absolutely, the whole time.
5                    MR. LINDELL:     They -- yeah.   So they --
6                    DR. FRANK:     You have to beforehand, during and
7    after.
8                    MR. LINDELL:     Before, during and after.
9                    DR. FRANK:     Yes.
10                   MR. LINDELL:     In other words, you have to plan
11   the attacks?
12                   DR. FRANK:     Yep.
13                   MR. LINDELL:     You have to plan the algorithms?
14                   DR. FRANK:     Yep.
15                   MR. LINDELL:     Input them?
16                   DR. FRANK:     Yep.
17                   MR. LINDELL:     Then it has to be online during?
18                   DR. FRANK:     Yep, it does.
19                   MR. LINDELL:     And then afterwards to, what,
20   check your work?
21                   DR. FRANK:     Well, and clean up the --
22                   MR. LINDELL:     And clean up the mess?
23                   DR. FRANK:     Clean up the mistakes.
24                   MR. LINDELL:     Clean up the mistakes.
25                   DR. FRANK:     Because computers are stupid.     They




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP636
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 637 of 971

                                                                                6
                        Scientific Proof - April 3, 2021


1    can't do anything themselves.       You have to --
2                      MR. LINDELL:     Right.
3                      DR. FRANK:     -- tell them everything.       And what
4    you tell them is a set of instructions.
5                      MR. LINDELL:     Right.
6                      DR. FRANK:     That's called an algorithm.       It's
7    just like a recipe.
8                      MR. LINDELL:     Right.    Okay.
9                      DR. FRANK:     A recipe is a set of instructions.
10                     MR. LINDELL:     Okay.    Right.
11                     DR. FRANK:     And so don't be afraid of that word.
12                     MR. LINDELL:     Right.    Right.
13                     DR. FRANK:     The first thing you need to
14   understand about the way elections are managed is they have
15   what they call a "registration database."            This is for every
16   precinct, every county in the country, they have one of these.
17   And in each one, you've got --
18                     MR. LINDELL:     Can anybody get this?
19                     DR. FRANK:     In most states, you can download
20   these for free.
21                     MR. LINDELL:     Okay.
22                     DR. FRANK:     But in some states, they're
23   expensive.
24                     MR. LINDELL:     Right.    Right.    Right.
25                     DR. FRANK:     You have to download them.       But




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com          800.445.9548

                                    APP637
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 638 of 971

                                                                              7
                        Scientific Proof - April 3, 2021


1    politicians use these all the time --
2                      MR. LINDELL:     Right.
3                      DR. FRANK:     -- because they tell them every
4    person in the district.
5                      MR. LINDELL:     Right.
6                      DR. FRANK:     And it also tells their voting
7    history.    Is this a Republican?     Is this a Democrat?   Do they
8    usually vote?     Do they not vote?
9                      MR. LINDELL:     Right.   Vote, right.
10                     DR. FRANK:     Because why would you want to go
11   knock on a -- if you're a Republican, why would you go knock on
12   a Republican's door who you know's already going to vote for
13   you anyway?
14                     MR. LINDELL:     Right.   Right.
15                     DR. FRANK:     You're looking for the people that
16   don't usually come out --
17                     MR. LINDELL:     Right.   Right.
18                     DR. FRANK:     -- you want to go knock on those
19   doors.
20                     MR. LINDELL:     Right.   So why is this significant
21   here?
22                     DR. FRANK:     Well, this is significant because
23   this shows you -- I mean, if you have access to this, which
24   basically everybody does, you'll notice that this person here
25   votes a lot and they're a Republican, but this person hardly




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP638
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 639 of 971

                                                                              8
                        Scientific Proof - April 3, 2021


1    ever votes and only every once in a while.
2                      MR. LINDELL:     This one down here hardly ever
3    voted.
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     Wait.    He only voted once here.
6    What's that?
7                      DR. FRANK:     This is the November 3rd election
8    here, this last call --
9                      MR. LINDELL:     So the only time in his life he
10   voted was right there?
11                     DR. FRANK:     Exactly.   And there are a lot of
12   those, too many of those, this time around.
13                     MR. LINDELL:     Right.
14                     DR. FRANK:     But I don't think that's an
15   accident.     I don't even think they're real.
16                     MR. LINDELL:     Right.
17                     DR. FRANK:     And so when we were originally
18   starting this work, we actually went out and knocked on doors
19   after we --
20                     MR. LINDELL:     To find out if a person like this
21   was real?
22                     DR. FRANK:     Yes.
23                     MR. LINDELL:     Were they real?
24                     DR. FRANK:     30 perc- -- we predicted.     We went
25   to 1600 houses, knocking on doors --




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP639
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 640 of 971

                                                                             9
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Right.
2                      DR. FRANK:     -- we trained a whole bunch of
3    volunteers, it took about four days.
4                      MR. LINDELL:     Right.
5                      DR. FRANK:     They found -- we predicted that we'd
6    find about 30 percent of the houses we knocked on would have at
7    least one phantom voter.       What that means is, it says on the
8    roll that John Smith lives at this address --
9                      MR. LINDELL:     Right.
10                     DR. FRANK:     -- and that John Smith voted.
11                     MR. LINDELL:     Right.
12                     DR. FRANK:     But then you go and knock on the
13   door and no John Smith lives there.
14                     MR. LINDELL:     Right.   Right.
15                     DR. FRANK:     Okay.   So wait a minute.   That's a
16   phantom voter.
17                     MR. LINDELL:     So you were basically -- when
18   you -- this raised a flag.
19                     DR. FRANK:     Yep.
20                     MR. LINDELL:     And then you said, Well, I'm going
21   to go out just to make sure I'm not going down a bad -- a bad
22   path.    Let's find out if these people really exist or not.
23                     DR. FRANK:     Exactly.
24                     MR. LINDELL:     Your theory, though, proved
25   right --




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP640
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 641 of 971

                                                                               10
                        Scientific Proof - April 3, 2021


1                      DR. FRANK:     Yes.
2                      MR. LINDELL:     -- 30 percent did not exist?
3                      DR. FRANK:     32.
4                      MR. LINDELL:     Oh, 32 percent did not exist?
5                      DR. FRANK:     But we predicted 30 and we found 32.
6                      MR. LINDELL:     Okay.    All right.
7                      DR. FRANK:     So that's really good.      So this is
8    not just theoretical.
9                      MR. LINDELL:     Sure.    So that means I'm going all
10   in, I'm going to look at this?
11                     DR. FRANK:     Absolutely.
12                     MR. LINDELL:     Okay.    Okay.
13                     DR. FRANK:     Absolutely.    And every precinct, you
14   can show too, like, for example, in this precinct, this is by
15   age, and this is -- I'm sorry.          This is by age and how many
16   people in this particular precinct.          This just happens to be
17   one from Ohio.     You notice that this is the number of people
18   that are registered by age --
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     -- the blue curve, and then this is
21   the number of ballots you have by age.          So if you needed some
22   more ballots --
23                     MR. LINDELL:     Right.
24                     DR. FRANK:     -- if you needed to -- because you
25   wanted to swing one of the down-ballot --




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com          800.445.9548

                                    APP641
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 642 of 971

                                                                               11
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     Right.
2                    DR. FRANK:     -- elections, like there's some
3    judge you want to win, you just have to go along and find out,
4    Well, gee, I've got a few more voters here.        Let's go look and
5    see who never votes and let's print them out for them --
6                    MR. LINDELL:     Right.   Right.
7                    DR. FRANK:     -- and turn it in.
8                    MR. LINDELL:     Right.
9                    DR. FRANK:     It's a really simple thing.
10                   MR. LINDELL:     Right.
11                   DR. FRANK:     So that's an algorithm.
12                   MR. LINDELL:     Right.
13                   DR. FRANK:     Find the people that never vote,
14   print ballots, turn in the ballots for them.
15                   MR. LINDELL:     Right.   Right.    Right.
16                   DR. FRANK:     They don't even know.     So the only
17   way to know -- the only way to know in an election whether it's
18   valid or not is to actually confirm every mail-in ballot.           You
19   have to go see, did -- Mr. John Smith, does -- does he really
20   live here?
21                   MR. LINDELL:     Right.   Right.
22                   DR. FRANK:     Did he really print that ballot?
23                   MR. LINDELL:     Right.
24                   DR. FRANK:     And --
25                   MR. LINDELL:     So then -- so how -- so what is --




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com        800.445.9548

                                  APP642
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 643 of 971

                                                                            12
                       Scientific Proof - April 3, 2021


1    all these matching and stuff --
2                     DR. FRANK:     Yeah.
3                     MR. LINDELL:     -- you showed me before, we had
4    a -- a chart where they --
5                     DR. FRANK:     Yes.
6                     MR. LINDELL:     -- where -- where -- where you --
7    they're taking the data.      Can you show us what the machines
8    did?
9                     DR. FRANK:     The fun thing about this, by the
10   way, too, Mike, that I just love about it is you've done some
11   really excellent forensic work on the one side of the --
12                    MR. LINDELL:     Talking about Absolute Proof, the
13   documentary we did, where we have the spyware on these American
14   heroes that were -- that were whistleblowers and stuff that
15   were there --
16                    DR. FRANK:     Yes.
17                    MR. LINDELL:     -- and that worked for the
18   government and stuff, that -- former and present that were
19   there, and they were taking these footprints, these cyber
20   footprints --
21                    DR. FRANK:     That's right.
22                    MR. LINDELL:     -- the night of the election,
23   actually from November 1st to the 5th.      And we have all the IP
24   addresses --
25                    DR. FRANK:     I know.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com      800.445.9548

                                   APP643
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 644 of 971

                                                                            13
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     -- the IDs of the computers, we
2    have all this of the attacks.       When I heard what you're going
3    to see here --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     -- it just (makes noise) --
6                      DR. FRANK:     Yes.
7                      MR. LINDELL:     It's just so amazing.
8                      DR. FRANK:     I was on the edge of my seat
9    watching that --
10                     MR. LINDELL:     Right.
11                     DR. FRANK:     -- last Thur- --
12                     MR. LINDELL:     And you had no i- -- you had no
13   idea.    Your work was done and you're going wow.       Now you knew
14   who did it, right?
15                     DR. FRANK:     It's -- exactly.    I could see -- but
16   the thing about it is, you're showing the incursions into the
17   machines.
18                     MR. LINDELL:     Right.
19                     DR. FRANK:     But what do they do when they're
20   there?    They have to know what to do.
21                     MR. LINDELL:     Right.
22                     DR. FRANK:     That's what the algorithm is telling
23   them what to do.
24                     MR. LINDELL:     Okay.    Well, let's see -- let's --
25   yeah, let's see what you got.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com       800.445.9548

                                    APP644
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 645 of 971

                                                                              14
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Everything here, anybody can do.
2                    MR. LINDELL:     Anybody can do it, right, right.
3                    DR. FRANK:     You can download it and confirm.
4                    MR. LINDELL:     Okay.
5                    DR. FRANK:     So this --
6                    MR. LINDELL:     Okay.
7                    DR. FRANK:     -- that's part of -- so anyway, so
8    here's the population.    This is downloaded from the census.
9    You can see the millennials and the baby boomers and the
10   people --
11                   MR. LINDELL:     Right.     But what this is, it's
12   just a graph of Ham- -- Hamilton County --
13                   DR. FRANK:     Yep.
14                   MR. LINDELL:     -- and the age group of each
15   one --
16                   DR. FRANK:     Yep.
17                   MR. LINDELL:     -- on the graph.      So there's 10
18   thou- -- or 11,000 people around 60 years of age.
19                   DR. FRANK:     Yeah, exactly.
20                   MR. LINDELL:     Okay.    All right.
21                   DR. FRANK:     This curve, this black curve, is
22   from that voter database that I showed you a minute ago.          This
23   is how many people of each age are registered.
24                   MR. LINDELL:     Okay.    Now, that's impossible,
25   correct?




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com          800.445.9548

                                  APP645
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 646 of 971

                                                                             15
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yes.     And the look on your --
2                    MR. LINDELL:     Everybody's registered?     And then
3    there's a little line here where there's more people registered
4    than there are population.
5                    DR. FRANK:     How interesting.
6                    MR. LINDELL:     Yeah.
7                    DR. FRANK:     And a little bit over here too.
8                    MR. LINDELL:     Right.     Right.
9                    DR. FRANK:     But still, when I've shown this to
10   political experts --
11                   MR. LINDELL:     Right.
12                   DR. FRANK:     -- they're all saying, Doug, no, no,
13   no, it can't be that much.     It's supposed to be about 80
14   percent.
15                   MR. LINDELL:     Right.
16                   DR. FRANK:     No.     This is like 95 percent.
17                   MR. LINDELL:     95.     Right.
18                   DR. FRANK:     So -- so that's the first -- that's
19   the --
20                   MR. LINDELL:     That raised a flag with you?
21                   DR. FRANK:     That's the first red flag.     Okay.
22                   MR. LINDELL:     Right.
23                   DR. FRANK:     That doesn't make any -- make sense.
24   The red curve here --
25                   MR. LINDELL:     Right.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                  APP646
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 647 of 971

                                                                                  16
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     -- from the same voter database,
2    these are the people who turned in ballots.
3                    MR. LINDELL:     Right.
4                    DR. FRANK:     Okay.     And notice I didn't call them
5    real voters, because I don't think a lot of them are.
6                    MR. LINDELL:     Right, right.
7                    DR. FRANK:     Okay.
8                    MR. LINDELL:     Don't think.        They aren't.   You
9    know they aren't now.
10                   DR. FRANK:     I know they aren't now.        Now I --
11                   MR. LINDELL:     Because --
12                   DR. FRANK:     But if I'm a scientist going into
13   it, I didn't know, but now I know.
14                   MR. LINDELL:     Right.     Right.     Let's make that
15   clear.   There's no room -- this is 100 --
16                   DR. FRANK:     Yes.
17                   MR. LINDELL:     -- percent --
18                   DR. FRANK:     Yes.
19                   MR. LINDELL:     -- we know machines did this.
20                   DR. FRANK:     Exactly.
21                   MR. LINDELL:     Okay?     So what you have here --
22                   DR. FRANK:     Yes.
23                   MR. LINDELL:     -- and you showed me before, this
24   notice that the ballots turned in match the exact curves.              The
25   odds of that are impossible.




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com           800.445.9548

                                  APP647
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 648 of 971

                                                                            17
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Oh, yes.
2                    MR. LINDELL:     And then look at -- I want
3    everyone to look at this, because this is going to come up.
4    That little jump and that little flip --
5                    DR. FRANK:     Yeah.
6                    MR. LINDELL:     -- you know, it's a -- the exact
7    same pattern, all a sudden, everyone exact percentage --
8                    DR. FRANK:     Yes.
9                    MR. LINDELL:     -- gets turned in in votes, I
10   mean, of every age group.      Now --
11                   DR. FRANK:     It's ridiculous.
12                   MR. LINDELL:     Right.     Now, with this -- was that
13   another flag?
14                   DR. FRANK:     Yes.     I just take the black curve
15   and multiply it by 86 percent --
16                   MR. LINDELL:     Right.
17                   DR. FRANK:     -- that helps you to see that those
18   little bumps and wiggles are just absolutely reproduced.
19                   MR. LINDELL:     Right.
20                   DR. FRANK:     It's just -- the odds of that
21   happening in one county are ridiculously small.
22                   MR. LINDELL:     Right.
23                   DR. FRANK:     But guess what, they happened in
24   every county.
25                   MR. LINDELL:     Every county?




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com        800.445.9548

                                  APP648
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 649 of 971

                                                                               18
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     And it's the -- and -- and --
2                    MR. LINDELL:     Did you do every county in Ohio?
3                    DR. FRANK:     All 88.
4                    MR. LINDELL:     All 88 counties?
5                    DR. FRANK:     Yeah.
6                    MR. LINDELL:     And they were all the same
7    pattern?
8                    DR. FRANK:     And I'll show you that pattern,
9    because it's even better than this.       I call it "the key."      So
10   if you think of it, you can think of that 86 percent number as
11   the key that converts the registrations into the ballots.
12                   MR. LINDELL:     Right.
13                   DR. FRANK:     And so that's Flag No. 2.
14                   MR. LINDELL:     Right.   Right.
15                   DR. FRANK:     Flag No. 2 that those are similar.
16   Now, the thing is, is we don't have to just use one number.              We
17   could use a different proportion for every age.
18                   MR. LINDELL:     Right.   Right.
19                   DR. FRANK:     Okay.
20                   MR. LINDELL:     Did they do that?
21                   DR. FRANK:     In other words, if you use a
22   different proportion for every age --
23                   MR. LINDELL:     Right.
24                   DR. FRANK:     -- then you just have a little more
25   sophisticated key.   When I show you that key, you're going to




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com        800.445.9548

                                  APP649
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 650 of 971

                                                                            19
                      Scientific Proof - April 3, 2021


1    be surprised.
2                    MR. LINDELL:     Okay.
3                    DR. FRANK:     Because that's also some bread
4    crumbs as to the algorithm.     If I use those proportions, then
5    this is the ballots on top of the registrations.
6                    MR. LINDELL:     But you set those proportions
7    yourself --
8                    DR. FRANK:     Yes.
9                    MR. LINDELL:     -- just to see if it was
10   duplicated across the state?
11                   DR. FRANK:     Yes.    And exact- -- and that's why
12   it doesn't quite agree here.     Because, actually, I'm using one
13   set of proportions for the entire state.
14                   MR. LINDELL:     Right.
15                   DR. FRANK:     I'm never changing --
16                   MR. LINDELL:     You're not changing it, right --
17                   DR. FRANK:     No.    And it's -- you know, think of
18   it, it's 18 to 100.   So it's 82 proportions, you put it in one
19   time, you never change it again.
20                   MR. LINDELL:     So what you're saying is -- what
21   you're saying across the state, every single 70-year-old across
22   the state was exactly this percentage?
23                   DR. FRANK:     Yes.
24                   MR. LINDELL:     Exactly?
25                   DR. FRANK:     Every single county -- county --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP650
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 651 of 971

                                                                            20
                        Scientific Proof - April 3, 2021


1    county --
2                      MR. LINDELL:     Every single age group was
3    exactly --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     -- like X percent --
6                      DR. FRANK:     Yes.
7                      MR. LINDELL:     -- of each age group voted?
8                      DR. FRANK:     Which, of course, is preposterous.
9                      MR. LINDELL:     Is preposterous, right.
10                     DR. FRANK:     It's preposterous.
11                     MR. LINDELL:     Right.   Okay.
12                     DR. FRANK:     This is the shape of that key.
13                     MR. LINDELL:     Okay.
14                     DR. FRANK:     This is the key that converts
15   registrations to ballots.
16                     Uh-huh.
17                     DR. FRANK:     In other words, the proportion of
18   20-year-olds --
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     -- or the proportion of 30-year-olds
21   or the proportion of 40 --
22                     MR. LINDELL:     Right.
23                     DR. FRANK:     And you look at that curve --
24                     MR. LINDELL:     Right.
25                     DR. FRANK:     -- that's a really smooth curve.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP651
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 652 of 971

                                                                             21
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Right.
2                      DR. FRANK:     In fact, mathematicians recognize
3    this.
4                      MR. LINDELL:     How?
5                      DR. FRANK:     It's called the 6th order
6    polynomial.    The beautiful thing about a 6th order polynomial
7    is you only need six numbers.       So now I don't need 82 numbers
8    anymore.
9                      MR. LINDELL:     Right.
10                     DR. FRANK:     I just need six numbers and a
11   turnout number, which would be a 7th number.
12                     MR. LINDELL:     Right.
13                     DR. FRANK:     And I can predict every county in
14   Ohio.
15                     MR. LINDELL:     Right.
16                     DR. FRANK:     Now, six numbers --
17                     MR. LINDELL:     Right.   So what are you -- what's
18   your -- what are you -- what you're saying there, Dr. Frank --
19                     DR. FRANK:     Yes.
20                     MR. LINDELL:     -- they're saying that they set
21   this in the machine --
22                     DR. FRANK:     Yes.
23                     MR. LINDELL:     -- or set this beforehand --
24                     DR. FRANK:     Yes.
25                     MR. LINDELL:     -- they set to see who was going




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP652
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 653 of 971

                                                                            22
                        Scientific Proof - April 3, 2021


1    to win --
2                      DR. FRANK:     Yep.
3                      MR. LINDELL:     -- and they set this algorithm?
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     Okay.   These are the algorithms
6    we've been telling you about.
7                      DR. FRANK:     So for example, this is Stark
8    County.     It's -- it's in northern --
9                      MR. LINDELL:     Yeah, I want to show a few
10   counties, because what you've got here, you guys, remember that
11   little flip.     Every county -- these are -- these are the
12   ballots of people that voted.
13                     DR. FRANK:     Right, the red curve, yep.
14                     MR. LINDELL:     There's the registered.
15                     DR. FRANK:     Yep.
16                     MR. LINDELL:     And there's the -- and there's
17   the --
18                     DR. FRANK:     Population.
19                     MR. LINDELL:     -- population.
20                     DR. FRANK:     Yes.
21                     MR. LINDELL:     It doesn't follow that.    It's
22   impossible to have the same glitch --
23                     DR. FRANK:     Every time.
24                     MR. LINDELL:     -- in every single county.    And so
25   far, it's been every single county you've done in the United




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP653
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 654 of 971

                                                                            23
                        Scientific Proof - April 3, 2021


1    States.
2                      DR. FRANK:     So far.
3                      MR. LINDELL:     The same thing --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     -- the same machines, the same
6    attacks --
7                      DR. FRANK:     Yep.
8                      MR. LINDELL:     -- the same people --
9                      DR. FRANK:     Yes.
10                     MR. LINDELL:     -- the same corruption that went
11   on, the same crime against humanity --
12                     DR. FRANK:     Yes.
13                     MR. LINDELL:     -- was all -- crossed all those
14   states.
15                     DR. FRANK:     There's a -- there's an interesting
16   thing.    I'm going to go back to this key for a second.
17                     MR. LINDELL:     Uh-huh.
18                     DR. FRANK:     Because this key works for every
19   county in Ohio.
20                     MR. LINDELL:     Right.
21                     DR. FRANK:     If you step across the border into
22   Pennsylvania --
23                     MR. LINDELL:     Uh-huh.
24                     DR. FRANK:     -- this key doesn't work anymore.
25                     MR. LINDELL:     Really?




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP654
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 655 of 971

                                                                            24
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     You change it just a little bit.
2    Now that new key works in every county in Pennsylvania.
3                    MR. LINDELL:     Okay.
4                    DR. FRANK:     So in other words, it proves that
5    the algorithm works at the county level and at the state level.
6                    MR. LINDELL:     And maybe even at the federal
7    level.
8                    DR. FRANK:     Well, the federal level's how you
9    decide the outcome of the election.
10                   MR. LINDELL:     Right.   Right.
11                   DR. FRANK:     So you just -- so you choose the key
12   you want for each state.
13                   MR. LINDELL:     So you could even do this for down
14   tickets.
15                   DR. FRANK:     Oh, absolutely.
16                   MR. LINDELL:     Yeah.
17                   DR. FRANK:     Absolutely.
18                   MR. LINDELL:     And does everybody hear that?       You
19   can actually -- all the down tickets were affected too.
20                   DR. FRANK:     Yes.
21                   MR. LINDELL:     So --
22                   DR. FRANK:     Here's Ohio.   So the population,
23   registrations and the red curve is the ballots.        That shaded
24   curve underneath --
25                   MR. LINDELL:     Right.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP655
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 656 of 971

                                                                              25
                       Scientific Proof - April 3, 2021


1                     DR. FRANK:     -- that's what I'm predicting based
2    upon the key.
3                     MR. LINDELL:     Oh, wow.     So you already said,
4    Here -- without looking, you're going, Here's what it's going
5    to be?
6                     DR. FRANK:     Yeah.     And you --
7                     MR. LINDELL:     And it matched?
8                     DR. FRANK:     And you know how I did that?     I ran
9    14 counties --
10                    MR. LINDELL:     Yeah.
11                    DR. FRANK:     -- took the average key, and then
12   never changed it again.       And it works in all 88.
13                    MR. LINDELL:     All 88 counties?
14                    DR. FRANK:     And -- and you know -- and by the
15   way, there's this R number.       R is a correlation coefficient
16   it's called.
17                    MR. LINDELL:     Uh-huh.
18                    DR. FRANK:     If R equals 1, it's a perfect
19   correlation.
20                    MR. LINDELL:     Right.
21                    DR. FRANK:     If it's negative 1, it's a perfect
22   opposite correlation.
23                    MR. LINDELL:     Right.
24                    DR. FRANK:     If R is 0, that means it's not
25   correlated at all.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com         800.445.9548

                                    APP656
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 657 of 971

                                                                               26
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Right.
2                      DR. FRANK:     So for me to get 1.000 and I'm a
3    physicist, that ain't natural, buddy.
4                      MR. LINDELL:     Right.     So it couldn't be done by
5    humans.
6                      DR. FRANK:     No.    No.   This is not by --
7                      MR. LINDELL:     It's 100 percent impossible?
8                      DR. FRANK:     No.    No.
9                      MR. LINDELL:     Had to be machines?
10                     DR. FRANK:     Yes.
11                     MR. LINDELL:     And they had to be online.
12                     DR. FRANK:     Constantly online.
13                     MR. LINDELL:     Constantly online, everybody.
14                     DR. FRANK:     Be- -- beforehand, getting the
15   registrations in place --
16                     MR. LINDELL:     Right.
17                     DR. FRANK:     -- so you can use the phantom
18   ballots.
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     Because if you think about it, you
21   can have all the machines in the world changing ballots all you
22   want.
23                     MR. LINDELL:     Right.
24                     DR. FRANK:     The problem is, is that afterwards,
25   if they count the ballots, it's got to match.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP657
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 658 of 971

                                                                              27
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     It's got to match.
2                    DR. FRANK:     So you -- so you have to figure out
3    how to --
4                    MR. LINDELL:     So were you surprised -- were you
5    surprised -- I want everyone to understand this.        So you were
6    seeing this, were you thinking how did they do this?          Did they
7    have to have some supercomputer; did that go through your mind?
8                    DR. FRANK:     Oh, are you kidding?    Yes,
9    absolutely.
10                   MR. LINDELL:     Okay.    So now, I want everyone to
11   know this, when you watched Absolute Proof, okay, and you had
12   worked on this for months --
13                   DR. FRANK:     Months.
14                   MR. LINDELL:     -- and you seen this, okay?
15                   DR. FRANK:     Yes.
16                   MR. LINDELL:     And you seen that last fourth of
17   Absolute Proof --
18                   DR. FRANK:     Yes.
19                   MR. LINDELL:     -- you knew that there was such a
20   device out there?
21                   DR. FRANK:     I was on the edge of my seat.      I was
22   going, Oh, my gosh, I see that column.       I know exactly what --
23   I know what they are doing --
24                   MR. LINDELL:     Right.    Right.
25                   DR. FRANK:     -- in each of those steps.




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP658
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 659 of 971

                                                                            28
                       Scientific Proof - April 3, 2021


1                     MR. LINDELL:     Right.   Right.
2                     DR. FRANK:     But -- but until that point, I
3    only --
4                     MR. LINDELL:     You're going -- you're going, How
5    could they have come up with this supercomputer --
6                     DR. FRANK:     Right.
7                     MR. LINDELL:     -- or whatever this is?
8                     DR. FRANK:     By logic --
9                     MR. LINDELL:     Right.
10                    DR. FRANK:     -- I could deduce things.
11                    MR. LINDELL:     Right.   Right.   You knew it
12   happened, but you didn't know --
13                    DR. FRANK:     Yes.
14                    MR. LINDELL:     -- like, wow, what did they have,
15   a --
16                    DR. FRANK:     No.
17                    MR. LINDELL:     -- computer the size of Iowa, you
18   know, or --
19                    DR. FRANK:     Yeah, right.   Right.
20                    MR. LINDELL:     But -- they do it.    And it does
21   exist, and it does -- it's out there --
22                    DR. FRANK:     Yes.
23                    MR. LINDELL:     And they -- and we have -- by the
24   grace of God, we have people that were using that -- I mean, at
25   least watching them use that --




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP659
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 660 of 971

                                                                             29
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yes.
2                    MR. LINDELL:     -- the night of the election and
3    the five days from the 1st to the 5th.
4                    DR. FRANK:     Yeah.     Yeah.
5                    MR. LINDELL:     And so we have every cyber
6    footprint, every flip, every computer, every ID.
7                    DR. FRANK:     Right.
8                    MR. LINDELL:     We have all that.
9                    DR. FRANK:     We --
10                   MR. LINDELL:     Because it takes a -- it takes a
11   lot of technology --
12                   DR. FRANK:     A lot.
13                   MR. LINDELL:     -- to be able to pull this off.
14                   DR. FRANK:     Yes.     It's like you have to have a
15   whole bunch of computers always online, always interacting this
16   stuff.
17                   MR. LINDELL:     Right.     Right.
18                   DR. FRANK:     I just want you to see that it's not
19   an accident that it worked.
20                   MR. LINDELL:     Okay.     Yeah, let's go to a couple
21   different counties.    So here --
22                   DR. FRANK:     Yeah, here's Ashland --
23                   MR. LINDELL:     Okay.
24                   DR. FRANK:     -- Butler --
25                   MR. LINDELL:     Right.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                  APP660
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 661 of 971

                                                                            30
                        Scientific Proof - April 3, 2021


1                      DR. FRANK:     -- Clinton.
2                      MR. LINDELL:     So if everybody's watching here,
3    you remember them two glitches, I mean, they're all --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     -- they're all following these --
6    these same patterns.
7                      DR. FRANK:     Over and over again.
8                      MR. LINDELL:     Over and over and over and over
9    again.    And these R is your 999, so it's -- it's the same
10   algorithm.
11                     DR. FRANK:     It's stupid to --
12                     MR. LINDELL:     Yeah.
13                     DR. FRANK:     It's -- it's too good.
14                     MR. LINDELL:     It's too good.
15                     DR. FRANK:     That's not natural.
16                     MR. LINDELL:     Yeah, it's unnatural.
17                     DR. FRANK:     You'll notice that they're being
18   careful to keep the black curve under the blue curve.
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     Be- --
21                     MR. LINDELL:     The black is the register and the
22   population.
23                     DR. FRANK:     Yeah.     Yes.
24                     MR. LINDELL:     Here, it went a little bit by it.
25   Okay?




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP661
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 662 of 971

                                                                              31
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yeah.   Exact- -- and you don't --
2    but think about it.   If it goes by it, then you're going to
3    have dead voters and you're going to have --
4                    MR. LINDELL:     Right.   Right.
5                    DR. FRANK:     -- you're going to have --
6                    MR. LINDELL:     Right there, it went by it, right.
7                    DR. FRANK:     Exactly.   So you're going to get
8    caught later.
9                    MR. LINDELL:     You're -- right.      You don't want
10   to get caught, so you want to try and keep it under the blue
11   line, right.
12                   DR. FRANK:     So you keep the black curve under,
13   and then the red curve is always under that.
14                   MR. LINDELL:     Right.   And then here, they went
15   over again, you know --
16                   DR. FRANK:     Yeah, exactly.      So -- it's -- and I
17   keep --
18                   MR. LINDELL:     It's like coloring, you don't want
19   to go outside the lines.
20                   DR. FRANK:     Perfectly stated.
21                   MR. LINDELL:     Right.   Right.     Colorado.   Explain
22   that little -- well, here's the population.
23                   DR. FRANK:     The blue line.
24                   MR. LINDELL:     And this means that all the --
25   even more people voted than lived there.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com        800.445.9548

                                  APP662
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 663 of 971

                                                                              32
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yes.
2                    MR. LINDELL:     And way more people registered.
3                    DR. FRANK:     Yes.
4                    MR. LINDELL:     Thousands more registered.      Well,
5    how do you explain that?
6                    DR. FRANK:     If I was to --
7                    MR. LINDELL:     Look at this.   Look at that.
8    What's going on here?
9                    DR. FRANK:     There are more people tha- -- there
10   are more registrations than people.       Well, what normally
11   happens is people move out of an area, people die --
12                   MR. LINDELL:     Right.
13                   DR. FRANK:     -- and you're supposed to take those
14   people off the registration rolls.
15                   MR. LINDELL:     Okay.
16                   DR. FRANK:     And there -- so -- and it -- and so
17   most registration rolls shrink by about one percent --
18                   MR. LINDELL:     Right.
19                   DR. FRANK:     -- per month, I've noticed.
20                   If you don't do that --
21                   MR. LINDELL:     Right.
22                   DR. FRANK:     -- if you don't clean up the
23   registration rolls --
24                   MR. LINDELL:     Right.
25                   DR. FRANK:     -- then over the years --




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP663
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 664 of 971

                                                                               33
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     Right.
2                    DR. FRANK:     -- you can build up a nice credit
3    line --
4                    MR. LINDELL:     Right.
5                    DR. FRANK:     -- of phantom voters to draw upon.
6                    MR. LINDELL:     Yeah, of course.        Right.   More
7    people voted than live in the county.          Okay?
8                    DR. FRANK:     These are all the county names and
9    this is the eligible population to vote.
10                   MR. LINDELL:     Uh-huh.
11                   DR. FRANK:     And this is not me making this up,
12   this is --
13                   MR. LINDELL:     And what -- what year is this?          Is
14   this --
15                   DR. FRANK:     This is 2020.
16                   MR. LINDELL:     2020?     2020 --
17                   DR. FRANK:     Yeah.
18                   MR. LINDELL:     -- okay.
19                   DR. FRANK:     And this is what percent of the
20   population is registered.
21                   MR. LINDELL:     Really?       150 percent?
22                   DR. FRANK:     Yes.    Okay.    Now --
23                   MR. LINDELL:     I mean -- I mean, this is all --
24   you know...
25                   DR. FRANK:     You notice there -- and there's 64




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com            800.445.9548

                                  APP664
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 665 of 971

                                                                            34
                        Scientific Proof - April 3, 2021


1    counties in Colorado, and you notice the first 20-some of
2    them --
3                      MR. LINDELL:     Okay.
4                      DR. FRANK:     -- you have more people registered
5    than --
6                      MR. LINDELL:     I want to -- I want to know --
7    okay.     So after looking at all this data --
8                      DR. FRANK:     Yes.
9                      MR. LINDELL:     -- and looking at this research --
10                     DR. FRANK:     Yes.
11                     MR. LINDELL:     -- that you did, they cou- -- if
12   they based it on the 2020 population --
13                     DR. FRANK:     Yeah.     Yeah.
14                     MR. LINDELL:     -- you wouldn't have had this.
15   But they had to base it on something else, right?
16                     DR. FRANK:     The shape, I think they have.    I
17   think --
18                     MR. LINDELL:     Right.     Right.
19                     DR. FRANK:     -- they based the shape -- but I --
20   they shifted the shape --
21                     MR. LINDELL:     Right.
22                     DR. FRANK:     -- because of -- I think they
23   started from the 2010 census.
24                     MR. LINDELL:     The 2010 census.
25                     DR. FRANK:     And that's how I was able to




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP665
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 666 of 971

                                                                            35
                        Scientific Proof - April 3, 2021


1    discover this.
2                      MR. LINDELL:     And that one is what -- that one,
3    you're not 100 percent sure, but it matches at the --
4                      DR. FRANK:     Well, I -- I'm going to be, I'm
5    going to stake my reputation on it because of these two
6    interesting little bumps over here.
7                      MR. LINDELL:     So tell us about the bumps.
8                      DR. FRANK:     So this was the first district I
9    ever looked at, District 4, it's mostly Montgomery County in
10   Pennsylvania.
11                     MR. LINDELL:     Okay.
12                     DR. FRANK:     And everybody knows this is
13   corrupted, and I was asked to look --
14                     MR. LINDELL:     Right, right, right.
15                     DR. FRANK:     -- at those data.
16                     So this is the population.     Now, you notice that
17   not ev- --
18                     MR. LINDELL:     You mean there's a corrupt county
19   in our country?     What?
20                     DR. FRANK:     So this is everybody.    And of
21   course, everybody can't vote.
22                     MR. LINDELL:     Right.
23                     DR. FRANK:     You've got to get rid of your
24   18-year-olds.
25                     MR. LINDELL:     Right, yep.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP666
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 667 of 971

                                                                              36
                        Scientific Proof - April 3, 2021


1                    DR. FRANK:     And plus, you -- and then I did a
2    little research and found out about 2 to 3 percent of the
3    people --
4                    MR. LINDELL:     Yep.     Yep.
5                    DR. FRANK:     -- from other countries and things.
6    So I subtracted 4 percent.     So this is starting from the total
7    population --
8                    MR. LINDELL:     I got it.
9                    DR. FRANK:     -- you can download it from the
10   census, it's not a big deal --
11                   MR. LINDELL:     Right.
12                   DR. FRANK:     -- and subtract 4 percent.        So there
13   are about 550,000 people eligible to vote.
14                   MR. LINDELL:     Right.     Got it.
15                   DR. FRANK:     Now, if you actually download their
16   database, this is who's actually registered.
17                   MR. LINDELL:     Right.
18                   DR. FRANK:     And by the way, did you notice those
19   two bumps again?
20                   MR. LINDELL:     Yeah, there's those two bumps
21   again.
22                   DR. FRANK:     Wait a minute.     I was just showing
23   you Colorado, wasn't I?
24                   MR. LINDELL:     Right, right.        It was exact- --
25                   DR. FRANK:     It's the same two bumps --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com          800.445.9548

                                  APP667
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 668 of 971

                                                                            37
                        Scientific Proof - April 3, 2021


1                    MR. LINDELL:     It was identical.
2                    DR. FRANK:     The same two bumps.    Now, wait a
3    minute.
4                    MR. LINDELL:     Right.
5                    DR. FRANK:     And so noticing that pattern tells
6    you something --
7                    MR. LINDELL:     Right.
8                    DR. FRANK:     It's bread crumbs.
9                    MR. LINDELL:     Right.
10                   DR. FRANK:     And you can --
11                   MR. LINDELL:     So you went -- you seen a
12   deviation or a --
13                   DR. FRANK:     Yes.
14                   MR. LINDELL:     -- you know, that was there?
15                   DR. FRANK:     Yes.
16                   MR. LINDELL:     And then you went and
17   found what -- you had to go back in time and find out what
18   year --
19                   DR. FRANK:     Yes.
20                   MR. LINDELL:     -- did the population match that?
21                   DR. FRANK:     Yes.
22                   MR. LINDELL:     And what year was it?
23                   DR. FRANK:     2010.
24                   MR. LINDELL:     2010.    I am going to backtrack a
25   little bit.   Now, I want to tell people out there.       You're




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP668
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 669 of 971

                                                                            38
                        Scientific Proof - April 3, 2021


1    going, Why are you showing Colorado and Ohio and these other
2    states?   You know, you had told me earlier when you went into
3    Pennsylvania and seen all this massive corruption --
4                    DR. FRANK:     Yes.
5                    MR. LINDELL:     -- and massive --
6                    DR. FRANK:     Yes.     Yeah.
7                    MR. LINDELL:     -- algorithms steal of our
8    election --
9                    DR. FRANK:     Yeah.
10                   MR. LINDELL:     -- you're going, Wow, I'm from
11   Ohio, nothing happened there, right?
12                   DR. FRANK:     Oh, you're --
13                   MR. LINDELL:     You went jumping back into Ohio,
14   and it's just like I've been telling everyone all along, Donald
15   Trump won 80 million to 66 million.        We know that from our
16   spyware and those -- those great people, those great patriots.
17   But what we also knew that that couldn't happen in just these
18   swing states.
19                   DR. FRANK:     Right.
20                   MR. LINDELL:     It was all across our country.
21                   DR. FRANK:     Yes.
22                   MR. LINDELL:     So Ohio that won by 7 or 8 percent
23   really won by --
24                   DR. FRANK:     16 or 17.
25                   MR. LINDELL:     16 or 17.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP669
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 670 of 971

                                                                               39
                        Scientific Proof - April 3, 2021


1                      DR. FRANK:     Yes.    Exactly.
2                      MR. LINDELL:     And I've been telling people that
3    for a month and a half.
4                      DR. FRANK:     Yeah.
5                      MR. LINDELL:     Double Iowa, double Florida.
6                      DR. FRANK:     Yeah.
7                      MR. LINDELL:     The thing is, they didn't
8    expect -- when you -- when you set these algorithms --
9                      DR. FRANK:     Yes.
10                     MR. LINDELL:     -- okay, now you -- when you set
11   these algorithms, one of the things you really need to know,
12   isn't it kind of like what you predict could be --
13                     DR. FRANK:     Yes.
14                     MR. LINDELL:     -- the number of people that are
15   going to be in the race, so to speak?
16                     DR. FRANK:     Yes.    You have to know ahead of
17   time.
18                     MR. LINDELL:     You have to kind of know --
19                     DR. FRANK:     Yes.
20                     MR. LINDELL:     -- at least get close, right?
21                     DR. FRANK:     Yes, exactly.      And they can adjust
22   it later.
23                     MR. LINDELL:     Right, and they can adjust it
24   later.    But they were so far off --
25                     DR. FRANK:     Yes.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com         800.445.9548

                                    APP670
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 671 of 971

                                                                            40
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     -- with Donald Trump --
2                    DR. FRANK:     Yes.
3                    MR. LINDELL:     -- because he -- they predicted 68
4    million, and he ends up getting 80 million in reality.
5                    DR. FRANK:     Yeah.     Yeah.
6                    MR. LINDELL:     Now, you've got to make some --
7                    DR. FRANK:     Yeah.
8                    MR. LINDELL:     That's why it all --
9                    DR. FRANK:     Yeah.
10                   MR. LINDELL:     -- shut down at 3 in the
11   morning --
12                   DR. FRANK:     Yeah.
13                   MR. LINDELL:     And then we'd go, What are we
14   going to do?   We're out of race --
15                   DR. FRANK:     They had to adjust the algorithm.
16                   MR. LINDELL:     They had to adjust the algorithms,
17   you know?
18                   DR. FRANK:     Yes.     Exactly.
19                   MR. LINDELL:     And so this is amazing.    I just
20   want everyone to know that and why we're showing other states
21   and not just the swing state.
22                   DR. FRANK:     Right.
23                   MR. LINDELL:     It was every state.    It happened
24   in your state, it happened in your state, it happened in your
25   state.   Texas, when they said, Oh, we didn't use the Dominion




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP671
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 672 of 971

                                                                            41
                       Scientific Proof - April 3, 2021


1    machines.    Doesn't matter.    The name of the --
2                     DR. FRANK:     No.
3                     MR. LINDELL:     -- the name of the machine doesn't
4    matter.
5                     DR. FRANK:     No.    No.   No.
6                     MR. LINDELL:     Smartmatic, ES&S, don't matter.
7                     DR. FRANK:     Right.
8                     MR. LINDELL:     Just in Dallas alone, there was 57
9    votes -- 57,000 votes flipped on -- and I don't even know if
10   that was before noon, you know --
11                    DR. FRANK:     Wow.
12                    MR. LINDELL:     -- you know, but you see how you
13   can get --
14                    DR. FRANK:     Yes.
15                    MR. LINDELL:     -- misjudged by 12 million votes,
16   you know?
17                    DR. FRANK:     Yes.
18                    MR. LINDELL:     We ended up with what, 75 million.
19   So you basically -- 5 million votes disappeared somewhere.
20                    DR. FRANK:     Wow.
21                    MR. LINDELL:     And then you give the other guy 12
22   million --
23                    DR. FRANK:     Yes.
24                    MR. LINDELL:     I mean, this is -- and it can only
25   be done by machines.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP672
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 673 of 971

                                                                                 42
                        Scientific Proof - April 3, 2021


1                      DR. FRANK:     Only by machine.        Because too much
2    is happening too fast.
3                      MR. LINDELL:     Right.     Right.
4                      DR. FRANK:     And you need to know where you
5    stand --
6                      MR. LINDELL:     You've got to know where you
7    stand.     You -- and there has to be some supercomputer --
8                      DR. FRANK:     Can you --
9                      MR. LINDELL:     -- that's doing that --
10                     DR. FRANK:     Can you imagine if this black speak
11   was way up here?     You'd say, Oh, no, something's wrong.
12                     MR. LINDELL:     You can't -- something's wrong.
13                     DR. FRANK:     And so it has to be tracking the
14   whole time.
15                     MR. LINDELL:     Right.     So it has to adjust it?
16                     DR. FRANK:     Yes.
17                     MR. LINDELL:     But these things here --
18                     DR. FRANK:     Oh, yeah.
19                     MR. LINDELL:     -- can you show -- let's go back
20   to these things here --
21                     DR. FRANK:     Yeah, yeah.
22                     MR. LINDELL:     -- where you see this.        Do you
23   have another other count- --
24                     DR. FRANK:     Yeah, I do.     I do.
25                     MR. LINDELL:     -- other counties where you can




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com           800.445.9548

                                    APP673
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 674 of 971

                                                                                 43
                        Scientific Proof - April 3, 2021


1    show that?
2                      DR. FRANK:     When I -- well, every county I've
3    looked at.
4                      MR. LINDELL:     Right.
5                      DR. FRANK:     It's funny because you -- we
6    mentioned the 2010 census.       Let me just show you that.
7                      MR. LINDELL:     Wow.     Look at this.
8                      DR. FRANK:     This is the -- this is the ballots
9    for this district.     And you notice the amazing parallelism,
10   just like in the Ohio county that I showed you.             Just --
11                     MR. LINDELL:     Right.     Right.     And I'm going to
12   stop it right there.     Look at this, you guys.          These are the
13   registered voters.     Now, do you really think on a normal
14   election that's not using machines, this number could be down
15   here?    You don't have the exact percentage turn in their
16   ballots and vote.
17                     DR. FRANK:     Exactly.     Exactly.
18                     MR. LINDELL:     Exactly.     You know, every single
19   person that -- to fit this thing would go and vote.             It's --
20   it's 100 percent impossible.
21                     DR. FRANK:     Right.
22                     MR. LINDELL:     And then to happen -- you could
23   say, Well, in District 4 in Pennsylvania --
24                     DR. FRANK:     One time, maybe.
25                     MR. LINDELL:     -- you know -- you know, one time.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com           800.445.9548

                                    APP674
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 675 of 971

                                                                             44
                        Scientific Proof - April 3, 2021


1    One time would be a one in a trillion, probably.
2                      DR. FRANK:     Right.
3                      MR. LINDELL:     But then everywhere, it's -- it's
4    impossible.     100 percent, it can only be done by machines.       I
5    can't stress that enough.
6                      DR. FRANK:     Absolutely.
7                      MR. LINDELL:     And they all rhyme with Dominion.
8    Oh, wait.     There's others.    Smartmatic, ES&S, all of them.     You
9    know, all of these.     And it's just -- it's just -- you know, I
10   sit here and look at -- I want to -- I want to bring this up.
11   When you seen absent -- when you found all this --
12                     DR. FRANK:     Yes.
13                     MR. LINDELL:     -- I mean, what went through your
14   mind?    I want people to know, you know, this is brand-new,
15   everybody.     This is -- you're seeing this for the first time.
16   I'm seeing this for the first time --
17                     DR. FRANK:     Uh-huh.
18                     MR. LINDELL:     -- ever today.   I was so excited.
19   I'm going, you know, we have enough evidence that we're going
20   to dump for the next six weeks on the whole world and the
21   country, that by the time it gets to the Supreme Court,
22   everyone's going to -- they're all nine going to go, 9-0, yes,
23   our country's been attacked.
24                     DR. FRANK:     Yes.
25                     MR. LINDELL:     We have been attacked by foreign




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                     APP675
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 676 of 971

                                                                            45
                      Scientific Proof - April 3, 2021


1    actors, you know, starting with China with help of domestic
2    actors here that, you know, they had to be let in, you know,
3    there's -- there's some bad people --
4                    DR. FRANK:     Yep.    Yeah.
5                    MR. LINDELL:     But it doesn't matter if you're a
6    Democrat or a Republican.      This is an attack on our country,
7    and we -- and it has to -- this -- we've got to get the word
8    out, we have to show, we have to spread the word of this.
9    And -- and I want everybody to know, they go, Well, you know,
10   all this evidence was looked at.       No judge has looked at any of
11   the evidence.   All those cases that were dismissed, except for
12   a couple in the United States, Antrim County, Michigan,
13   Maricopa -- I -- not Maricopa -- Massachusetts, before the
14   election in a primary.
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     Dr. Shiva, which we showed in the
17   last film or documentary.      But now it's popping up all over.
18   You've got Wisconsin, you've got New Hampshire --
19                   DR. FRANK:     Yeah.
20                   MR. LINDELL:     -- you've got Maricopa they're
21   going to -- Georgia.     Now all we got to do is take it -- you
22   get a -- you get an audit on these machines, but we don't even
23   need that, everyone.     We've got it all right here now and we
24   have the spyware.   So we marry them together.      It -- it's 100
25   percent absolute proof.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com     800.445.9548

                                  APP676
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 677 of 971

                                                                            46
                        Scientific Proof - April 3, 2021


1                      If I see one outlet over there of all the media
2    going, It's a conspiracy, no, it's not.         It's an attack on your
3    country, Mr. Fake News.        I mean, you should be worried about --
4    everybody should be worried about our future of humanity of
5    this country.     So when you see --
6                      DR. FRANK:     Right.
7                      MR. LINDELL:     -- this, I mean, you probably
8    thought, I have the key to the world and you're -- I mean...
9                      DR. FRANK:     It was a little scary, but I admit
10   when I was watching the last part, I was on the edge of my
11   seat.
12                     MR. LINDELL:     Right.
13                     DR. FRANK:     Because I was watching their -- the
14   3,000 page log in --
15                     MR. LINDELL:     Yeah.    Yeah.
16                     DR. FRANK:     -- got the IP addresses.
17                     MR. LINDELL:     Right.
18                     DR. FRANK:     And each one was removing ballots.
19   And I'm thinking, I know what's happening in that last column.
20                     MR. LINDELL:     Right.    Right.
21                     DR. FRANK:     I can explain.
22                     MR. LINDELL:     How long did you work on your
23   stuff.
24                     DR. FRANK:     I mean, when -- when I first
25   discovered it back in December --




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com       800.445.9548

                                     APP677
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 678 of 971

                                                                             47
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Oh.
2                      DR. FRANK:     -- I was working day and night --
3                      MR. LINDELL:     Right.   Right.
4                      DR. FRANK:     -- because I was trying to be done
5    by January 6th.
6                      MR. LINDELL:     Right.
7                      DR. FRANK:     And then I was working day and night
8    because I was try- --
9                      MR. LINDELL:     By -- by the inauguration.
10                     DR. FRANK:     By January 20th.
11                     MR. LINDELL:     This is a crime where there's no
12   statute of limitations.        This is a crime against everyone of
13   us, every person on the planet, actually.          It goes far and wide
14   and to everyone.     The whole world is watching.       I said in the
15   first document- -- documentary is, you know, Ronald Reagan
16   said, We're the beacon of light for the world, and --
17                     DR. FRANK:     Oh, absolutely.
18                     MR. LINDELL:     -- if the lights go out here, they
19   go out everywhere.
20                     DR. FRANK:     Yeah.
21                     MR. LINDELL:     And -- but I'm so happy.     It's
22   like living inside of a movie, more keeps coming up.          This is
23   brand-new.   And you put -- put it -- when we get it all out
24   there, everyone spread the world, share it with your friends,
25   tell everyone.     We're putting this one out first, then our next




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                     APP678
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 679 of 971

                                                                             48
                      Scientific Proof - April 3, 2021


1    documenta- -- but then we're going to dump so much evidence,
2    it'll be -- it'll make WikiLeaks look like a TinkerToy.         We're
3    going to drop it everywhere, every piece of evidence in --
4    that's ever been found.
5                    There's like 50,000 sworn affidavits out there
6    that even I -- you know, these have to do with machines, but
7    also just the organic -- the organic steal, you know, the --
8                    DR. FRANK:     Yeah.
9                    MR. LINDELL:     -- the stuff that they did on the
10   ground.
11                   DR. FRANK:     Yes.
12                   MR. LINDELL:     You know -- which by the way, the
13   machine algorithms has to al- -- had to also take into effect
14   all that stuff too.
15                   DR. FRANK:     Absolutely.
16                   MR. LINDELL:     You know, so that's why if people
17   wonder -- if you go back to that -- this chart here, I want to
18   tell everyone this, you realize that this -- these machines
19   accept these -- this percentage of wins, so to speak --
20                   DR. FRANK:     Yes.
21                   MR. LINDELL:     -- these algorithms --
22                   DR. FRANK:     Exactly.
23                   MR. LINDELL:     So let's say you had -- because
24   they're going, Well, how can this be when you have cheating --
25                   DR. FRANK:     Right.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP679
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 680 of 971

                                                                            49
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     -- the other kind of cheating?
2                      DR. FRANK:     Right.
3                      MR. LINDELL:     Because it has to factor that in.
4                      DR. FRANK:     Right.   That's when you have to
5    have --
6                      MR. LINDELL:     Is that right?
7                      DR. FRANK:     -- real time access.
8                      MR. LINDELL:     You have to have to real time
9    access.
10                     DR. FRANK:     Because --
11                     MR. LINDELL:     Otherwise --
12                     DR. FRANK:     Yes.
13                     MR. LINDELL:     -- you would see -- well,
14   actually, we did see it.       Like in Michigan, in the middle of
15   the night in Michigan --
16                     DR. FRANK:     Yes.
17                     MR. LINDELL:     -- on November 4th, you see, beep,
18   beep.
19                     DR. FRANK:     Yeah.
20                     MR. LINDELL:     Now, have you gotten to that -- to
21   Michigan yet?
22                     DR. FRANK:     I haven't done Michigan yet.
23                     MR. LINDELL:     I guarantee you, when you get --
24                     DR. FRANK:     Yeah.
25                     MR. LINDELL:     -- to Michigan --




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP680
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 681 of 971

                                                                            50
                       Scientific Proof - April 3, 2021


1                     DR. FRANK:     Yeah.
2                     MR. LINDELL: -- that probably won't follow this
3    line right at the end.    I don't think it will.      Do you?
4                     DR. FRANK:     I don't know.   We'll find out.
5                     MR. LINDELL:     Because it would have to go --
6                     DR. FRANK:     It depends.
7                     MR. LINDELL: -- it would have to go (makes
8    noise).
9                     DR. FRANK:     It depends how good their algorithms
10   are.
11                    MR. LINDELL:     Right.   Right.   Right.   Well, they
12   were working under pressure.      Same way with Wisconsin.
13                    DR. FRANK:     Yes.
14                    MR. LINDELL:     Wisconsin got -- they got it done,
15   I think within a day, and they were 90-some percent in.         They
16   were running out of track --
17                    DR. FRANK:     Yes.
18                    MR. LINDELL:     -- in the -- in the Wisconsin.
19   Now they're going to be looking into Wisconsin.
20                    DR. FRANK:     Yeah.
21                    MR. LINDELL:     And these -- what I want to tell
22   everyone, this is -- what we've learned here, too -- and I want
23   to tell you this Dr. Frank, I feel it's a blessing that it's
24   took till now to get all this, you know, to get all this ready
25   with your work, with what we have over here in Absolute Proof,




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP681
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 682 of 971

                                                                            51
                        Scientific Proof - April 3, 2021


1    because if we would have found out earlier -- I said it in our
2    first documentary -- if earlier, they would have done the right
3    thing and everyone would have done their jobs, the legislature,
4    said, Hey, of course dead people can't vote; of course,
5    people -- nonresidents can't vote.       You take them off, Donald
6    Trump wins anyway, he's in power, but we never find out about
7    what?
8                      DR. FRANK:     We would never --
9                      MR. LINDELL:     We would've never known about the
10   algorithm.
11                     DR. FRANK:     I would have never even looked at
12   it.
13                     MR. LINDELL:     You would have never looked at it?
14                     DR. FRANK:     No.
15                     MR. LINDELL:     You hear that, everyone?     We would
16   be done as a --
17                     DR. FRANK:     Yes.
18                     MR. LINDELL:     It's over.   It would be over.
19                     DR. FRANK:     Yes.
20                     MR. LINDELL:     You will never, ever have this
21   opportunity again --
22                     DR. FRANK:     Yes.
23                     MR. LINDELL:     -- to go, This was the big
24   elephant.    This was it.
25                     DR. FRANK:     Yes.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP682
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 683 of 971

                                                                            52
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     This was the monster --
2                    DR. FRANK:     Yes.
3                    MR. LINDELL:     -- that started in Venezuela, and
4    if foreign -- the foreign interference, the foreign attack on
5    our country and every other country in the world that's going
6    to be attacked after us.
7                    DR. FRANK:     Right.
8                    MR. LINDELL:     And with these machines and with
9    these algorithms and with this technology that they have.
10                   DR. FRANK:     Yes.
11                   MR. LINDELL:     And so it's a blessing we're
12   living in this time and it's -- and besides that, everyone out
13   there -- I have Democrat friends of mine that are going, This
14   is not what we voted for.
15                   DR. FRANK:     Right.
16                   MR. LINDELL:     We didn't vote for socialism and
17   communism --
18                   DR. FRANK:     Right.
19                   MR. LINDELL:     -- coming into this country and
20   canceling people out --
21                   DR. FRANK:     Right.
22                   MR. LINDELL:     -- taking away our First Amendment
23   right of free speech, which we're doing with our new platform,
24   which you probably haven't heard about it.       It's called Frank.
25   You'll be able to use free speech again.       Right now, what




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP683
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 684 of 971

                                                                             53
                        Scientific Proof - April 3, 2021


1    Dominion did --
2                      DR. FRANK:     Yeah.
3                      MR. LINDELL:     -- what they've done is, like I
4    said it before at My Pillow, if somebody was out there saying,
5    Mike, there's rocks and -- and knives in my pillows, I would
6    say, No, there's not, come and look.       Look at that.     It's a
7    beautiful patented fill.
8                      Well, Dominion and -- and Smartmatic and the
9    machines people, they didn't do that.       They said, You're not
10   looking at our machines.       We're going to sue you and scare you
11   all, live in fear, and we're going to law- -- or we're going to
12   threaten you with lawsuits, so you better not even have
13   somebody coming on your show to talk about, i.e., like a Mike
14   Lindell.
15                     DR. FRANK:     Yeah, right.
16                     MR. LINDELL:     He -- he's going to say something,
17   he's going to say the word "Dominion," you know?        And -- and
18   then -- you know, and then they -- they're even using that and
19   then it gets into the vaccine, people that say, you know, I
20   could talk about that.     I'm not taking it and that's it.       But
21   they're going to try -- you know, doing all this.          If you say
22   something like that --
23                     DR. FRANK:     Yeah.
24                     MR. LINDELL:     -- boom, you lose your YouTube,
25   you lose your social media.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com     800.445.9548

                                    APP684
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 685 of 971

                                                                            54
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Right.
2                    MR. LINDELL:     And all these things attacking --
3                    DR. FRANK:     And I have.
4                    MR. LINDELL:     Yep.   And you have.   Well, you
5    have too.
6                    DR. FRANK:     Because I said I wasn't going to
7    take the vaccine.
8                    MR. LINDELL:     See -- yeah, right.    I mean,
9    but -- but what's -- what -- but what is getting revealed
10   here --
11                   DR. FRANK:     Yeah.
12                   MR. LINDELL:     -- is even if you're a Democrat or
13   Republican doesn't matter.     We're all people.     And the stuff
14   that's coming in, both with this election fraud that went on --
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     -- everyone should be concerned.
17   This is the biggest concern probably ever for the future of our
18   country and the future of the world.
19                   DR. FRANK:     No doubt about it.
20                   MR. LINDELL:     It's over if we don't get
21   answer -- address it now and -- and we are.        You know, so it's
22   with all this -- I'm just -- it's like living inside of a
23   movie, I've said before.     We were in the bad part of the movie.
24   I am so happy because I know we have it all.        Can you imagine
25   sitting here now --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP685
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 686 of 971

                                                                             55
                       Scientific Proof - April 3, 2021


1                     DR. FRANK:     Yes.
2                     MR. LINDELL:     -- and not being able to know that
3    this happened?
4                     DR. FRANK:     Right.
5                     MR. LINDELL:     We would ne- -- if we'd have never
6    known, and then we're sitting here going, Oh, we're going to
7    get them in 2022 or --
8                     DR. FRANK:     Yeah, right.
9                     MR. LINDELL:     -- or things are going to change,
10   you know, as our country's getting destroyed as we sit here
11   now, destroyed and destroyed day by day.       So this is like a
12   race against time, everybody.      You know, we have to stop this
13   attack and we have to stop it now.       So you've got to spread
14   this out and put it out far and wide --
15                    DR. FRANK:     Yes.
16                    MR. LINDELL:     -- that this happened and we're
17   living it.   And -- and all you college kids out there, all you
18   people that went through colleges and got brainwashed thinking
19   socialism is (inaudible) around, going -- having a cup of
20   coffee, Hey, I'm being very social today, think again.         You're
21   living it now.    Your friends are getting canceled out, they're
22   getting squished, they're getting attacked and you're next.
23   That's the way it is, you know, in that world.       So -- but
24   anyway, I got on a little tangent there.
25                    DR. FRANK:     That's okay.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                   APP686
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 687 of 971

                                                                            56
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     So let's keep going.
2                    DR. FRANK:     That's fine.    I -- I love it because
3    I think you're absolutely right.       If we -- we would have been
4    living under the illusion of an election.
5                    MR. LINDELL:     Yeah.     We would have -- because we
6    would have said, Oh, it was mail-in voting --
7                    DR. FRANK:     Yeah, right, right.
8                    MR. LINDELL:     -- and there was -- you know,
9    that's why they didn't want -- they did not want this China
10   virus to go away.     That's why I was attacked last summer --
11                   DR. FRANK:     To keep the mail-in votes.
12                   MR. LINDELL:     There was people that brought that
13   stuff that worked.
14                   DR. FRANK:     Yeah, yes, yes.
15                   MR. LINDELL:     You know, they brought stuff that
16   had already worked.
17                   DR. FRANK:     Yes.
18                   MR. LINDELL:     You know, and they wanted to keep
19   everybody, you know, locked up --
20                   DR. FRANK:     Yes, yes.
21                   MR. LINDELL:     -- like my terrible governor in
22   Minnesota that says, You can have like eight people in your
23   house over Thanksgiving.
24                   DR. FRANK:     Yeah.
25                   MR. LINDELL:     You know, what are you talking




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                  APP687
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 688 of 971

                                                                              57
                        Scientific Proof - April 3, 2021


1    about?     This is crazy.   Or California --
2                      DR. FRANK:     Yeah.
3                      MR. LINDELL:     -- where they -- before the Super
4    Bowl, all the restaurants, you've got to dine outdoors.
5    They -- they put little partitions on, but then they say, Oh,
6    by the way, you can't have TVs in your room -- or in
7    restaurants for the Super Bowl.          You know -- you know --
8                      DR. FRANK:     Yeah.
9                      MR. LINDELL:     -- crazy logic, you know?
10                     (Pause in audio.)
11                     MR. LINDELL:     If you're out -- if you're a
12   worker and you're working for some of these corrupt places like
13   Dominion and you've been part of it and you -- you know, you're
14   feeling like you don't -- Hey, I don't want to spend as much
15   time in jail as my -- as the next guy, turn yourself in.           I'm
16   serious.     Because you're all going to be found out, all of you.
17   You know, the criminals that -- these -- that own these social
18   media platforms, Jack Dorsey --
19                     DR. FRANK:     Yeah.    Yeah.
20                     MR. LINDELL:     -- Mark Zuckerberg, we talked
21   about that, what he did --
22                     DR. FRANK:     Yes.
23                     MR. LINDELL:     -- putting these machines in.
24   Where did he put them?
25                     DR. FRANK:     In Pennsylvania, yeah.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP688
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 689 of 971

                                                                             58
                        Scientific Proof - April 3, 2021


1                    MR. LINDELL:     In Pennsylvania.
2                    DR. FRANK:     They were easy voter kiosks.
3                    MR. LINDELL:     And they were online.
4                    DR. FRANK:     Yes, of course.
5                    MR. LINDELL:     They were online.
6                    DR. FRANK:     They had to be online.
7                    MR. LINDELL:     How many -- how many did Mark
8    Zuckerberg put in there?
9                    DR. FRANK:     It's somewhere between 2- and 300
10   machines --
11                   MR. LINDELL:     2- and 300 machines --
12                   DR. FRANK:     -- all over the state.
13                   MR. LINDELL:     -- just in Pennsylvania?
14                   DR. FRANK:     Yeah.     These two things are what I
15   recognized.
16                   MR. LINDELL:     Right, right, right.     That's what
17   you recognized -- okay.
18                   DR. FRANK:     Exactly.     And -- and I noticed the
19   crazy correlation.
20                   MR. LINDELL:     The same two bumps, yeah.
21                   DR. FRANK:     Exact -- isn't that amazing that
22   that's staying there?     And so -- but just by a quirk --
23                   MR. LINDELL:     Yeah.
24                   DR. FRANK:     -- I had been teaching my advanced
25   math students --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP689
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 690 of 971

                                                                              59
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Right.
2                      DR. FRANK:     -- how to do differential calculus
3    on census data.     This is the key --
4                      MR. LINDELL:     Really?
5                      DR. FRANK:     This -- I know, in September.
6                      MR. LINDELL:     What are the odds that you were
7    teaching that?
8                      DR. FRANK:     I know.     It's amazing.
9                      MR. LINDELL:     Census data to your class.     So
10   this is the 2010 U.S. Census?
11                     DR. FRANK:     Yes.     And -- and I multiplied --
12                     MR. LINDELL:     And you remembered these two
13   things?
14                     DR. FRANK:     Yes.     And so -- but only because I
15   was just teaching it to my kids.
16                     MR. LINDELL:     Wow.
17                     DR. FRANK:     How could -- I mean, and how many
18   geeks teach -- use the census to teach their students --
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     -- differential calculus?
21                     MR. LINDELL:     Not too many.
22                     DR. FRANK:     Not very many.     But I'm at a special
23   school --
24                     MR. LINDELL:     Right.
25                     DR. FRANK:     -- and I'm always doing real-life




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP690
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 691 of 971

                                                                            60
                      Scientific Proof - April 3, 2021


1    examples.
2                    MR. LINDELL:     Yeah, yeah.
3                    DR. FRANK:     And here it is.    So this was fresh
4    in my mind.   So I kept seeing those two bumps, and I'm like,
5    Wait a minute, I've seen those two bumps somewhere.        Move the
6    2010 census 10 years to the right --
7                    MR. LINDELL:     Right.
8                    DR. FRANK:     -- because that was 2010, now we're
9    in 2020.
10                   MR. LINDELL:     Okay.    You just have someone out
11   there, maybe the -- maybe the head of Dominion, the head of --
12   the head of the China tech, they just spilt their coffee
13   going --
14                   DR. FRANK:     Yes.
15                   MR. LINDELL:     -- he's on to us.
16                   DR. FRANK:     Exactly.
17                   MR. LINDELL:     He's on to us.    You're found out.
18                   DR. FRANK:     Exactly.
19                   MR. LINDELL:     He got it all from the 2010
20   census.
21                   DR. FRANK:     Exactly.
22                   MR. LINDELL:     You didn't even bother on the
23   biggest crime in history, use the 2020 census.
24                   DR. FRANK:     Or they don't have one, right?
25                   MR. LINDELL:     Oh, they don't have one?




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com        800.445.9548

                                  APP691
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 692 of 971

                                                                            61
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     It wasn't ready.     It's not ready.
2                    MR. LINDELL:     It wasn't ready?
3                    DR. FRANK:     Yeah.
4                    MR. LINDELL:     Wow.
5                    DR. FRANK:     So anyway -- so now, here's -- so I
6    shifted it 10 years, because it's 2020, and I include the
7    mortality curve because people die, you know, they don't just
8    get older.
9                    MR. LINDELL:     You realize they're already
10   planning how they're going to try and cover this up?        They're
11   getting ahold of all the fake news media and the no news
12   media --
13                   DR. FRANK:     Right.
14                   MR. LINDELL:     And they're saying, Whatever you
15   do, don't let this get out there.       Somehow we have to stop it.
16   But bad news, you can't stop this, because it's get- -- this is
17   getting out there --
18                   DR. FRANK:     Absolutely.
19                   MR. LINDELL: -- through the new social media --
20   media platform, Frank.    This one's getting out there just on --
21   it'll be on LindellTV.com.     We'll put it out there.     They
22   didn't -- they couldn't -- they couldn't get us before.           We had
23   it in a power safety or whatever where they couldn't --
24                   DR. FRANK:     Yes.
25                   MR. LINDELL:     -- break it, and over 150 million




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                  APP692
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 693 of 971

                                                                             62
                        Scientific Proof - April 3, 2021


1    people --
2                      DR. FRANK:     Awesome.
3                      MR. LINDELL:     -- seen Absolute Proof.   People
4    want to see the truth and they want to get --
5                      DR. FRANK:     Awesome.
6                      MR. LINDELL:     -- help -- and everyone, you can
7    all help by just spreading this far and wide.
8                      DR. FRANK:     Right.
9                      MR. LINDELL:     Tell it to your neighbors.      If you
10   live next to a supreme court justice or you're in their
11   neighborhood, you give it to them 25 times.       Get -- you know,
12   you be over there, you tell them, Have you watched it?          Have
13   you watched it?     Have you watched it?    Judges, get it out to
14   them because all the states -- everyone's going to be coming
15   out now, and they're going to say, Hey, we've seen the same
16   thing.
17                     DR. FRANK:     So this would be shifting the 10
18   years and allowing for people to die.       Simple thing.    But
19   compare it to the registrations.
20                     MR. LINDELL:     Wow.
21                     DR. FRANK:     So this was the clue that told me
22   that they're using population to control registrations.
23                     MR. LINDELL:     Right.
24                     DR. FRANK:     That was the clue.   And I never --
25                     MR. LINDELL:     Population to control




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP693
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 694 of 971

                                                                            63
                      Scientific Proof - April 3, 2021


1    registration.
2                    DR. FRANK:     And I never would have even thought
3    of that -- except --
4                    MR. LINDELL:     Right.
5                    DR. FRANK:     -- I was teaching my kids --
6                    MR. LINDELL:     Look --
7                    DR. FRANK:     -- the census.
8                    MR. LINDELL:     Look at this.    So these are the
9    registered voters and there's the population.        So what they do,
10   they have everybody -- they register basically everybody --
11                   DR. FRANK:     That they possibly can --
12                   MR. LINDELL:     -- so that they -- that they
13   possibly can.
14                   DR. FRANK:     -- but they need to know what that
15   is.
16                   MR. LINDELL:     But they need to know what that
17   is?
18                   DR. FRANK:     Yes.
19                   MR. LINDELL:     So they're using 2010 --
20                   DR. FRANK:     Yes, yes.
21                   MR. LINDELL:     -- census things.
22                   DR. FRANK:     Yes.
23                   MR. LINDELL:     So when you seen earlier, like in
24   Colorado when it blew by, that just meant the -- the population
25   changed there between 2010 --




                             Dickman Davenport, Inc
           214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP694
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 695 of 971

                                                                             64
                       Scientific Proof - April 3, 2021


1                     DR. FRANK:     (Inaudible.)
2                     MR. LINDELL:     -- and now, and they registered
3    too many because either people left the county or died.
4                     DR. FRANK:     Yes.     Yes.   So now let's go -- let's
5    go knock on those doors.
6                     MR. LINDELL:     Let's knock on those doors.
7                     DR. FRANK:     Yes, abso- --
8                     MR. LINDELL:     And that's what you guys did?
9                     DR. FRANK:     And I've got the algorithms and --
10                    MR. LINDELL:     Well, let's see that.
11                    DR. FRANK:     Okay.     Very good.   Like --
12                    MR. LINDELL:     Here we are in Colorado.       They
13   made a mistake, huh?
14                    DR. FRANK:     Yes.     Because the -- the blue line
15   is the population.
16                    MR. LINDELL:     Right.
17                    DR. FRANK:     And the black line are the
18   registrations.    Wait a -- wait a minute.        The registrations
19   going above the blue line.
20                    MR. LINDELL:     Wow.
21                    DR. FRANK:     Okay.
22                    MR. LINDELL:     So now that tells me either people
23   died --
24                    DR. FRANK:     Yes.
25                    MR. LINDELL:     -- or they moved.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                   APP695
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 696 of 971

                                                                            65
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Or they moved, exactly.
2                    MR. LINDELL:     Or they moved.
3                    DR. FRANK:     And this is not too big of an error.
4    If this was all it was, I'd probably walk away.
5                    MR. LINDELL:     Right.
6                    DR. FRANK:     But the thing is, is if you notice
7    when I just showed you Ohio, normally the black curve stops
8    about 90 percent --
9                    MR. LINDELL:     Right.
10                   DR. FRANK:     -- and then the red curve stops
11   about 90 percent of that.
12                   MR. LINDELL:     Right.   But this is a big
13   deviation because this population changed from 2010 --
14                   DR. FRANK:     Yes.
15                   MR. LINDELL:     -- to now.
16                   DR. FRANK:     Y- --
17                   MR. LINDELL:     Look at that spike there that they
18   registered.
19                   DR. FRANK:     That's right.
20                   MR. LINDELL:     And if you went down, that means
21   you -- everybody, if you're 50 years old, they have huge,
22   almost 400 less 50-year-olds --
23                   DR. FRANK:     Yes.
24                   MR. LINDELL:     -- that now live in Bloomberg
25   County --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                  APP696
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 697 of 971

                                                                              66
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Right.
2                    MR. LINDELL:     -- Colorado.   But yet they all
3    registered.   I don't know.    Did they move?    Did they die?     Did
4    they do- -- you know --
5                    DR. FRANK:     Well, they have more ballots, too.
6                    MR. LINDELL:     More people voted than were --
7    than -- than were registered.
8                    DR. FRANK:     Yes.     Yes.
9                    MR. LINDELL:     I mean, that -- that -- or, no,
10   that even live there.
11                   DR. FRANK:     That's the point.
12                   MR. LINDELL:     More people voted than even lived
13   there.
14                   DR. FRANK:     Yes.
15                   MR. LINDELL:     So, you know, it's very
16   interesting, too, because you -- you heard -- we heard all this
17   during November and December, everyone's going -- in our
18   county, I mean, I think there's like 50,000 affidavits out
19   there of people's sworn testimony --
20                   DR. FRANK:     Yeah.
21                   MR. LINDELL:     -- that looked at stuff, they go,
22   you know, we had more people in our county --
23                   DR. FRANK:     Yes.
24                   MR. LINDELL:     -- that voted than even live here,
25   you know --




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                   APP697
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 698 of 971

                                                                            67
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yes.    And there --
2                    MR. LINDELL:     You know --
3                    DR. FRANK:     -- there's an example.
4                    MR. LINDELL:     They got -- they went up in -- in
5    Antrim County, Michigan, which is still going on -- these guys
6    are -- it's going to be -- it's going to all open up
7    everything.
8                    DR. FRANK:     Yes.
9                    MR. LINDELL:     This is where they actually got in
10   because of a down ticket.
11                   DR. FRANK:     Yes.
12                   MR. LINDELL:     Okay.
13                   DR. FRANK:     Yes.
14                   MR. LINDELL:     And Matt Shapiro, he -- he -- with
15   this down ticket -- it was a school board race, but there was
16   only 15,000 people in that -- Antrim County that voted.         Now,
17   when you're sit- -- and it's always a traditional red county.
18   It's like 70 percent or something.
19                   DR. FRANK:     Yeah.
20                   MR. LINDELL:     So they're all sitting around the
21   coffee table the next day when they lose by 70 percent --
22                   DR. FRANK:     Yeah, right.
23                   MR. LINDELL:     -- because 7,000 votes flipped.
24   They're going, Who did you vote for?
25                   DR. FRANK:     Yeah.




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com         800.445.9548

                                  APP698
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 699 of 971

                                                                              68
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Who did you vote for?    You know,
2    they knew in real time it was a prob- -- and --
3                      DR. FRANK:     Yes.
4                      MR. LINDELL:     -- they didn't have time to go
5    over and suppress it because it stayed under the radar because
6    it was a school board --
7                      DR. FRANK:     Yeah, right, yes.
8                      MR. LINDELL:     -- thing, you know, that the judge
9    said, Yeah, go ahead and look at the machine.          They got to it,
10   though.    They destroyed part of it.
11                     DR. FRANK:     Yeah.
12                     MR. LINDELL:     But they were still able to get
13   it --
14                     DR. FRANK:     Yes.
15                     MR. LINDELL:     -- and audit it.    And tha- -- this
16   explains why nowhere in the country do they want these machines
17   looked at and do they want the audits done.
18                     DR. FRANK:     Right.
19                     MR. LINDELL:     Because you're going to find --
20   you're going to find all these things here, and you're going to
21   find more people voted than registered.
22                     DR. FRANK:     Yes.     Oh, yes.
23                     MR. LINDELL:     You're going to find all these
24   algorithms, but we already have that.          But the beautiful thing
25   is, we don't even need it now.          We've got the -- we've got the




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP699
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 700 of 971

                                                                               69
                        Scientific Proof - April 3, 2021


1    spyware that shows the cyber footprints.
2                     DR. FRANK:     Yes.
3                     MR. LINDELL:     We've got your work here --
4    what -- what do we got here?       We've got all kinds of --
5                     DR. FRANK:     Well, what I did was I sorted the
6    counties in Colorado -- there are 64 counties -- in terms of
7    registration as a percent of population.          So we -- in Mineral
8    County, they have 151 percent people --
9                     MR. LINDELL:     Wow.     Now, look at --
10                    DR. FRANK:     -- 50 more --
11                    MR. LINDELL:     So -- okay.      If everybody can see
12   this, we go all the way down, there's probably about --
13                    DR. FRANK:     20.
14                    MR. LINDELL:     -- 15 counties when you get down
15   to 99 percent.     So at least -- about 20 counties --
16                    DR. FRANK:     Yeah, something like that.
17                    MR. LINDELL:     -- about 20 counties just in
18   Colorado --
19                    DR. FRANK:     Yes.
20                    MR. LINDELL:     -- more people registered than
21   that live there.     Okay?    And everyone says, Well, how can that
22   be?   It must be a mistake.      No, it's not a mistake because they
23   used the 2010 census of population in the U.S.
24                    DR. FRANK:     Yes.     Yes.   Yeah.
25                    MR. LINDELL:     So these counties here, I will --




                             Dickman Davenport, Inc
           214.855.5100     www.dickmandavenport.com         800.445.9548

                                    APP700
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 701 of 971

                                                                            70
                        Scientific Proof - April 3, 2021


1    I would bet you --
2                    DR. FRANK:     Yeah, yeah.
3                    MR. LINDELL:     -- okay, that if you went to
4    Baca -- Jackson County, if you went there and you pulled a poll
5    now, you'd have all these people that either died or left the
6    county.
7                    DR. FRANK:     Yes.    But they -- we still have a
8    ballot from them somehow.
9                    MR. LINDELL:     Well, yeah.    Well, we know that.
10   You know, bring in the ballots, truck them in, you know?
11                   DR. FRANK:     So you said Jackson, so let's just
12   bring it up because it's -- I'm doing this at random.        We
13   didn't plan this.
14                   MR. LINDELL:     Oh, look at these numbers change.
15   Can everybody see this?      Now, these numbers -- so you made
16   this, you put in the county --
17                   DR. FRANK:     Yeah.
18                   MR. LINDELL:     Okay.    On the red one.
19                   DR. FRANK:     I click over here and it
20   automatically --
21                   MR. LINDELL:     Okay.
22                   DR. FRANK:     -- shows me --
23                   MR. LINDELL:     And what were these numbers that
24   all changed here?
25                   DR. FRANK:     It was just -- you know, it was




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                   APP701
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 702 of 971

                                                                            71
                        Scientific Proof - April 3, 2021


1    basically putting in the data for those counties.
2                      MR. LINDELL:     Oh, putting in the data for this.
3    Okay.
4                      DR. FRANK:     And then you can see the total,
5    right --
6                      MR. LINDELL:     Okay.   So who -- this is Jackson
7    County?
8                      DR. FRANK:     Yeah.
9                      MR. LINDELL:     Okay.
10                     DR. FRANK:     And you -- and you notice the same
11   as before, the blue curve is the population --
12                     MR. LINDELL:     Now, here's peop- -- here's more
13   people that voted than -- than actually live there --
14                     DR. FRANK:     Yeah.
15                     MR. LINDELL:     -- by a lot.
16                     DR. FRANK:     So it's a small county.   So, you
17   know --
18                     MR. LINDELL:     Small county but register -- look
19   at this --
20                     DR. FRANK:     Yes.
21                     MR. LINDELL:     -- huge -- it's -- you know,
22   the -- you're seeing all these lines --
23                     DR. FRANK:     Yes.
24                     MR. LINDELL:     -- going past -- I'm going to
25   follow my finger here.     You see that.     Everybody?




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP702
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 703 of 971

                                                                            72
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     That's the population.
2                    MR. LINDELL:     That's the population.
3                    DR. FRANK:     Yes.
4                    MR. LINDELL:     Look at all these spikes that went
5    past it.   That's impossible.
6                    DR. FRANK:     So think about it.   70-year-olds, it
7    looks like you've got about 10 more 70-year-olds who are
8    registered and who voted --
9                    MR. LINDELL:     Right.
10                   DR. FRANK:     -- than you have people.
11                   MR. LINDELL:     Than you have people.
12                   DR. FRANK:     So go knock on doors.     You only
13   have --
14                   MR. LINDELL:     Right.
15                   DR. FRANK:     -- 30 doors to knock on.
16                   MR. LINDELL:     You only have 30 doors to knock
17   on.   But they did that.     You did that --
18                   DR. FRANK:     Yes, we did that in Pennsylvania.
19                   MR. LINDELL:     -- in Pennsylvania.
20                   DR. FRANK:     Yes.
21                   MR. LINDELL:     This is what they did.
22                   DR. FRANK:     Yes.
23                   MR. LINDELL:     They did 1600, just a test like
24   this --
25                   DR. FRANK:     Yes, exactly.




                           Dickman Davenport, Inc
           214.855.5100   www.dickmandavenport.com       800.445.9548

                                   APP703
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 704 of 971

                                                                            73
                       Scientific Proof - April 3, 2021


1                     MR. LINDELL:     -- and they said, This is
2    impossible --
3                     DR. FRANK:     Right.
4                     MR. LINDELL:     -- let's go knock on their door.
5                     DR. FRANK:     Exactly.
6                     MR. LINDELL:     Well, they knocked and nobody
7    could open the door because the guy's not there.        That's -- you
8    know, somebody lived there.
9                     DR. FRANK:     That's right.   So it's not just
10   theoretical --
11                    MR. LINDELL:     But it's not the guy that was
12   registered.
13                    DR. FRANK:     So it's not just theoretical.
14                    MR. LINDELL:     No.
15                    DR. FRANK:     It's not just theoretical, so that's
16   fun.   The next thing is that anybody can do this and anybody
17   can download the database, and so guess what, every citizen,
18   every Patriot in our country --
19                    MR. LINDELL:     Right.
20                    DR. FRANK:     -- who wants to do this --
21                    MR. LINDELL:     Right.
22                    DR. FRANK:     -- can get on board and we can go
23   knock on doors and we can clean up our registration rolls.
24                    MR. LINDELL:     Right.
25                    DR. FRANK:     And we can have real ballots.




                            Dickman Davenport, Inc
            214.855.5100   www.dickmandavenport.com      800.445.9548

                                   APP704
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 705 of 971

                                                                               74
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     Get rid of the machines, though.
2                      DR. FRANK:     Get rid of the --
3                      MR. LINDELL:     You've got to get rid of the
4    machine --
5                      DR. FRANK:     Yeah.
6                      MR. LINDELL:     It's funny.   I want to tell
7    everyone this too before the -- before the other documentary
8    comes out we filmed today.       We are doing recalls now around the
9    country and we're -- in -- like in Arizona, to get rid of Doug
10   Ducey, the Secretary of State there, and these other people
11   that blocked -- from Maricopa County to block the audits, we
12   know they're just bad politicians, right?
13                     DR. FRANK:     Yeah.
14                     MR. LINDELL:     So they're doing the recall.     Do
15   you know when you do a recall, it's pretty amazing.        You got
16   the -- you've got to have the exact paper, the exact size, one
17   person, one validated signature, and it's hand-counted.           What a
18   concept?     They do it more careful so they don't get recalled
19   than they are to protect the country.
20                     DR. FRANK:     I hear you.
21                     MR. LINDELL:     Is that -- I was blown away.     And
22   it's like that at all these states, have a special thing for
23   recall, you've got to make sure everything's -- I's are dotted.
24   Well, why wouldn't you have that in an election?
25                     DR. FRANK:     Why would you have it in the first




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP705
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 706 of 971

                                                                            75
                      Scientific Proof - April 3, 2021


1    place?
2                    MR. LINDELL:     In our most important --
3                    DR. FRANK:     Yes.
4                    MR. LINDELL:     -- thing we have for our country.
5                    DR. FRANK:     Yes.    Yes.   Yes.
6                    MR. LINDELL:     You know, this is -- when we say
7    the big- -- one of the biggest crimes in history, one of the
8    biggest attacks ever, you're attacking every citizen in this
9    country and the world when it's over.         When you've got stuff
10   like this, this is the scariest stuff you can -- people can
11   ever imagine.
12                   DR. FRANK:     Yes.
13                   MR. LINDELL:     Because -- and now they're getting
14   a taste of what's coming at them.       They're getting a taste.
15   When they see their friends disappearing, just erased, you
16   know, boom, their cancel cul- -- you're out.
17                   DR. FRANK:     Yeah.
18                   MR. LINDELL:     Oh, I don't -- I don't like what
19   you say.   Boom, you're out.
20                   DR. FRANK:     Yeah.
21                   MR. LINDELL:     And you have one narrative, all
22   the media out there, all the mainstream media, shame on them.
23   The people behind them -- I'll tell you another thing, we're
24   going to be the biggest lawsuit.       Allen Dershowitz said he's
25   probably -- he's part of my team of lawyers where he's -- he's




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com         800.445.9548

                                  APP706
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 707 of 971

                                                                               76
                        Scientific Proof - April 3, 2021


1    an advisor to them, I hired, as an advisor to my team of
2    lawyers, that he said this lawsuit is going to be the most
3    important lawsuit for the First Amendment in history.         The most
4    important ever.     Why?   Everyone can see what's happening.       And
5    if our First Amendment rights of free speech go --
6                      DR. FRANK:     We're done.
7                      MR. LINDELL:     -- it's over, everybody.
8                      DR. FRANK:     We're done, yeah.
9                      MR. LINDELL:     It's over.
10                     DR. FRANK:     Yeah.
11                     MR. LINDELL:     And you can see it happening now
12   to everyone.   I have friends, 70-some-thousand people I heard
13   that Jack Dorsey took off Twitter.       And you mention anything
14   about the vaccine --
15                     DR. FRANK:     Yeah.
16                     MR. LINDELL:     -- or mention -- you even men- --
17   my friend mentioned the border the other day, he's got a
18   podcast --
19                     DR. FRANK:     Yeah.
20                     MR. LINDELL:     -- makes all his money on that,
21   they mentioned -- he just completely -- talking about what --
22   those garbage they're doing on the border --
23                     DR. FRANK:     Yes.
24                     MR. LINDELL:     -- and the things they're doing
25   and banned, YouTube, two weeks, you know?




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP707
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 708 of 971

                                                                             77
                      Scientific Proof - April 3, 2021


1                    DR. FRANK:     Yeah.
2                    MR. LINDELL:     Two weeks.     Who are they to say --
3    who is -- who is Google and Mr. Alphabet and Mark Suck-a-Buck
4    and Jack Dorsey, who are these guys that control us and tell us
5    what we can and can't say?      Do you know when Absolute -- I want
6    to tell everyone, when Absolute Proof came out on February 5th,
7    do you know what Mark Zuckerberg did?      He put up a sign over it
8    on Facebook that said "contains nudity and profanity."
9                    You want to talk about that being legal?        No.
10   Can you believe this?     All these guys that just came out today,
11   I just looked at, all these guy- -- it was somebody said it on
12   a -- on one of the mainstream TV show -- shows.        It might have
13   been Fox that said -- the host said, Can you believe they're
14   allowing these groups, these -- these trial traffickers, that's
15   what it was.   It was traffickers.
16                   DR. FRANK:     Yeah, the coyotes, yes.
17                   MR. LINDELL:     The coyotes.     That's what it was.
18                   DR. FRANK:     Yes.
19                   MR. LINDELL:     It was an art- -- they were
20   talking about that.     They get to be on social media, but yet
21   everyone else in the country that says something, Hey, I don't
22   agree with the vaccine, I don't agree with this election, I
23   don't agree with -- and then -- and then you have -- and we
24   talk about free speech.      When you can take a company and you
25   can take -- or companies and you can sue people or threaten




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                   APP708
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 709 of 971

                                                                             78
                        Scientific Proof - April 3, 2021


1    suits, that if you mention someone, you know what that is?
2    That goes back to racketeering and mafia, and saying, If you
3    do --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:     -- this, we're going to break your
6    arms.    I've been there.      I've been there.   When I used to bet
7    football back in the day when I was an addict --
8                      DR. FRANK:     Yes.
9                      MR. LINDELL:     -- you know, they come to the
10   door.    You do this again, you -- if you don't pay, boom.        If --
11   but if you do this, you know, you're going to do this, and it's
12   out of fear.     So everybody succumbs to the fear, you know?
13                     DR. FRANK:     Yes.
14                     MR. LINDELL:     Everybody just -- they live in
15   fear.    We can't live in fear now.       So our people say, Well,
16   Mike, you know, boy, you're so brave.         It's easy to be -- it's
17   easy to be brave when there's only one option.         There is only
18   one option.
19                     DR. FRANK:     Right.
20                     MR. LINDELL:     We get the other option, my
21   company ain't going to be here anyway.         My -- I'm not going to
22   be here.    Nobody's going to be.       We're going to be done.
23   They're going to put -- you know, the -- the suppression, I
24   mean, it's -- we're going to be part, though -- right now,
25   you'll look back in history, what we were a part of, the




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com       800.445.9548

                                     APP709
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 710 of 971

                                                                            79
                      Scientific Proof - April 3, 2021


1    greatest awakening, the greatest reset ever.
2                    DR. FRANK:     I pray for that.
3                    MR. LINDELL:     And the greatest revival in
4    history --
5                    DR. FRANK:     Yes.
6                    MR. LINDELL:     -- to bring this nation back to
7    God, to bring the -- this, you know, it's basically going to
8    save the world for the -- what was happening --
9                    DR. FRANK:     Yeah.
10                   MR. LINDELL:     -- you know what -- because like
11   you say, if it happens here, it can happen anywhere.        You know
12   what -- I'll tell you, if you go out in the world, and every
13   one of them, they're out there worried about -- so worried, you
14   know, is this going to change?        How could you let this happen?
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     How could you people let this
17   happen in the United States?
18                   DR. FRANK:     Yes.    The beacon of freedom.
19                   MR. LINDELL:     Yeah.    Yeah.   It can happen --
20                   DR. FRANK:     Yeah.
21                   MR. LINDELL:     -- because they did it with
22   something so complex and hidden --
23                   DR. FRANK:     Yes.
24                   MR. LINDELL:     -- you know, hidden --
25                   DR. FRANK:     Not anymore.




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com        800.445.9548

                                  APP710
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 711 of 971

                                                                               80
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     But not anymore, everybody.     It's
2    not hidden.    Look at that.
3                      DR. FRANK:     Yeah.
4                      MR. LINDELL:     This is -- you know, this is --
5    and then you can change -- now, I just think it's great the way
6    you set this up.       And you're going to go to -- what we have,
7    this tool, you're going to go to these other states.        I think
8    we --
9                      DR. FRANK:     Yeah.
10                     MR. LINDELL:     -- should start with Wisconsin.
11                     DR. FRANK:     Okay.
12                     MR. LINDELL:     Wisconsin.
13                     DR. FRANK:     I'll do Wisconsin next.
14                     MR. LINDELL:     Wisconsin, if you're out there and
15   you're in Wisconsin, you guys get the -- right now, they're
16   just saying, Hey, we're going to look at our election.         They're
17   going -- you know -- you know, everybody's getting brave.
18   Let's go to Wisconsin, we show them this.
19                     DR. FRANK:     Yes.
20                     MR. LINDELL:     Wisconsin -- all the way through
21   Wisconsin, you know.       Wisconsin's one of the first states I
22   looked at on November 4th.       I stayed up all night, I go, this
23   is impossible.
24                     DR. FRANK:     There was a glitch in the -- in
25   the -- I saw it.




                               Dickman Davenport, Inc
             214.855.5100     www.dickmandavenport.com   800.445.9548

                                    APP711
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 712 of 971

                                                                               81
                      Scientific Proof - April 3, 2021


1                    MR. LINDELL:     Yeah, in Wisconsin.
2                    DR. FRANK:     Yeah.
3                    MR. LINDELL:     Right.       Wisconsin, it's like
4    fraud, it goes dink, dink.
5                    DR. FRANK:     Yeah.    Exactly.
6                    MR. LINDELL:     And I'm going -- so I'm looking at
7    Wisconsin and I looked at two counties in Wisconsin outside of
8    Milwaukee.   They were both traditional 70 percent Republican --
9                    DR. FRANK:     Yeah.
10                   MR. LINDELL:     -- both of them --
11                   DR. FRANK:     Yeah.
12                   MR. LINDELL:     -- identical.        Well, one of them
13   was already in -- it ended up being about 75 percent
14   Republican, or for Donald Trump.
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     The other one wasn't in yet at
17   that time when they stopped everything.          Well, the next day, it
18   rolls in about 30 percent, you know.          What?   You know, 'cause
19   they were running out of people to flip that --
20                   DR. FRANK:     Yes.
21                   MR. LINDELL:     -- they had to manually flip.
22                   DR. FRANK:     Yes.
23                   MR. LINDELL:     They were running out of race.
24                   DR. FRANK:     Yes.    Yes.
25                   MR. LINDELL:     But Wisconsin did it real fast,




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com           800.445.9548

                                  APP712
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 713 of 971

                                                                              82
                        Scientific Proof - April 3, 2021


1    reacted real fast.
2                     DR. FRANK:     Yeah.
3                     MR. LINDELL:     So then you had -- you had places
4    like Pennsylvania and Michigan that kind of took --
5                     DR. FRANK:     Yes.
6                     MR. LINDELL:     -- took off what happened in
7    Wisconsin.    They got more of the focus because it was like
8    Michigan, (makes noise) oh, yeah, that's normal.        You know?      Or
9    Pennsylvania, it takes you a week to -- to cheat with another
10   million votes --
11                    DR. FRANK:     Yes.
12                    MR. LINDELL:     -- to bring in.
13                    DR. FRANK:     Yes.
14                    MR. LINDELL:     Let's truck in some votes.     Bring
15   them on in.    Go call that guy in New York, bring them in here.
16   We got a whole week.    We changed our rules.
17                    DR. FRANK:     Yes.
18                    MR. LINDELL:     You know?   They changed all these
19   rules too, they changed the game.       Well, see, in order to win
20   this game, we've got to change this.
21                    But Arizona was one of the worst.      Arizona takes
22   a week to count the last one percent because they did -- they
23   ran out of this --
24                    DR. FRANK:     Yes.
25                    MR. LINDELL:     You know, they had to change the




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com     800.445.9548

                                   APP713
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 714 of 971

                                                                            83
                        Scientific Proof - April 3, 2021


1    algorithm.     They had to change everything.     What are we going
2    to do?
3                      DR. FRANK:     That's right.   Every computer
4    programmer knows you can't plan for every eventuality.
5                      MR. LINDELL:     Right.
6                      DR. FRANK:     So you write your algorithms to give
7    yourself all these possibilities.
8                      MR. LINDELL:     Right.
9                      DR. FRANK:     But they didn't anticipate such a
10   huge turnout.
11                     MR. LINDELL:     That many votes.     It's a huge
12   turnout.
13                     DR. FRANK:     And it broke their algorithms.
14                     MR. LINDELL:     Right.
15                     DR. FRANK:     So that's why they had to stop --
16                     MR. LINDELL:     Right.
17                     DR. FRANK:     -- adjust and resume.
18                     MR. LINDELL:     And they panicked.     We have -- you
19   know, tapes with people, that witnessed people are going into a
20   panic.     What are we going to do?     What are we going to do?
21                     DR. FRANK:     Yes.   Yes.
22                     MR. LINDELL:     You know, and they -- but they --
23   they tried.     They figured -- you know, they thought they almost
24   got away with it.     They almost pulled off the biggest --
25                     DR. FRANK:     Almost.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP714
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 715 of 971

                                                                             84
                        Scientific Proof - April 3, 2021


1                     MR. LINDELL:     -- crime --
2                     DR. FRANK:     Yes.
3                     MR. LINDELL:     -- ever.   And they -- and I want
4    each -- you know, everyone.      And I'm -- I'm speaking to the
5    Democrats.   You guys, what came in here wasn't what you voted
6    for.
7                     DR. FRANK:     No.
8                     MR. LINDELL:     This attack -- that's what I want
9    to tell -- you know, these people -- my friends -- I have
10   2500-some employees, but probably 500 are Democrats.         But they
11   see now that this isn't what they traditionally voted for.
12                    DR. FRANK:     No, no.
13                    MR. LINDELL:     And they -- and even if you're
14   over here, a Republican, now you see all the crooked ones.          I
15   mean, this -- you know --
16                    DR. FRANK:     Oh, yeah.
17                    MR. LINDELL:     -- this was a big revealing too.
18   We've got a lot of -- you know, once we get -- fix the election
19   and we fix the -- get rid of the machines, now you need to fix
20   what -- politics.      I've learned in politics --
21                    DR. FRANK:     Yeah.
22                    MR. LINDELL:     -- it seems like they only have a
23   couple of agendas, either a political agenda or a -- or a
24   personal agenda.      And whether that's because they were
25   compromised or they -- blackmailed, who knows.       But I will say




                              Dickman Davenport, Inc
            214.855.5100     www.dickmandavenport.com     800.445.9548

                                   APP715
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 716 of 971

                                                                            85
                        Scientific Proof - April 3, 2021


1    this, there's very few that were like our president, Donald
2    Trump, where it was --
3                      DR. FRANK:     Yeah.
4                      MR. LINDELL:     -- what he did was for the people,
5    all people.
6                      DR. FRANK:     Yeah.
7                      MR. LINDELL:     You've got -- you ta- -- have a
8    problem, you take a solution.          And what is it going to manifest
9    to to help all people?
10                     DR. FRANK:     Right.
11                     MR. LINDELL:     I don't care who you are, you
12   know.    It should be help -- what -- you know, if you're going
13   to do something in politics, you've got to help the people, all
14   the people.    You know, not just your political side or do stuff
15   for political reasons.
16                     DR. FRANK:     Yeah.
17                     MR. LINDELL:     You know, and that's -- you know,
18   well, I'm going to do this so our party wins this or our party
19   wins this.    And nothing gets done, or if it does gets done,
20   it's very tilted to where it doesn't manifest to help anybody.
21                     DR. FRANK:     Right.
22                     MR. LINDELL:     Most of the stuff being done right
23   now -- that's what's kind of nice, that people are seeing it --
24   it doesn't help anybody.
25                     DR. FRANK:     No.




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com        800.445.9548

                                    APP716
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 717 of 971

                                                                                86
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     You're telling me the first thing
2    they do on January 20th is take away a pipeline with all these
3    union jobs?
4                      DR. FRANK:     Yeah.
5                      MR. LINDELL:     Well, that's real Democrat, right?
6                      DR. FRANK:     Right, right, yes.
7                      MR. LINDELL:     You know, you know.   I mean, this
8    is the stuff they've done, these people.        Let's try to open up
9    the borders during COVID and just let -- you know, it's -- it's
10   a shame, but in a way, it's good that everyone's getting to see
11   this, you know?
12                     DR. FRANK:     Yes.
13                     MR. LINDELL:     So --
14                     (Pause in recording.)
15                     MR. LINDELL:     So here's what we have here.      All
16   these here that when you say 100 -- 100 percent and .999
17   percent, all these percentages, that matches that 2010 -- that
18   matches your predictions exactly.
19                     DR. FRANK:     My -- it matches my prediction --
20   part per mil- --
21                     MR. LINDELL:     Right.
22                     DR. FRANK:     It just ridiculously accurate.
23                     MR. LINDELL:     Right.   So I just said -- what I
24   just asked, is there any place --
25                     DR. FRANK:     Yes.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                    APP717
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 718 of 971

                                                                             87
                        Scientific Proof - April 3, 2021


1                      MR. LINDELL:     -- that didn't match that --
2                      DR. FRANK:     Yes.
3                      MR. LINDELL:     -- and you said one.     And let's
4    pull up that.
5                      DR. FRANK:     There is one.
6                      MR. LINDELL:     That was in Colorado.
7                      DR. FRANK:     Yes.
8                      MR. LINDELL:     And tell us again why this big gap
9    here.
10                     DR. FRANK:     Well, there's this big gap because
11   they have a big population between the age of 20 and 50.
12                     MR. LINDELL:     And what would -- and why -- what
13   would that matter?
14                     DR. FRANK:     It turns out that this pop- -- there
15   are only about 5,000 people in this area -- this county.
16                     MR. LINDELL:     Right, right.
17                     DR. FRANK:     But these are prisoners.
18                     MR. LINDELL:     Those were all prisoners?     So look
19   at that.
20                     DR. FRANK:     They can't register.
21                     MR. LINDELL:     So their algorithms, they couldn't
22   even pull this because these are all prisoners, so that's the
23   only one.    If you look at that fit --
24                     DR. FRANK:     Yep.
25                     MR. LINDELL:     -- that fits -- did you see it?




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com     800.445.9548

                                    APP718
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 719 of 971

                                                                            88
                      Scientific Proof - April 3, 2021


1    100 percent over here --
2                    DR. FRANK:     Yes.
3                    MR. LINDELL:     -- or 99.9, whatever it was --
4                    DR. FRANK:     Yes.
5                    MR. LINDELL:     -- on that one chart, here's the
6    one, out of all the counties that you've done so far, that
7    didn't fit.
8                    DR. FRANK:     It's the only one that didn't fit.
9                    MR. LINDELL:     So in other words, it's a
10   deviation to this big deviation, which is now the norm for the
11   election.
12                   DR. FRANK:     Yes.
13                   MR. LINDELL:     The norm for the election is they
14   stole it, they used the 2010 census, they set the algorithms --
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     -- how much Biden was going to
17   get, how much Donald Trump was going to get --
18                   DR. FRANK:     Yep.     Yep.
19                   MR. LINDELL:     -- and Biden -- you know, they
20   flipped it.
21                   DR. FRANK:     Right.
22                   MR. LINDELL:     The real totals were 80 million
23   to, like, 66 million.
24                   DR. FRANK:     Yes.     Yes.
25                   MR. LINDELL:     But there was a deviation even




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP719
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 720 of 971

                                                                                89
                        Scientific Proof - April 3, 2021


1    within that that they didn't account on.          I'm sure whoever set
2    the algorithms didn't figure, We'll go to this little -- Bent
3    County, Colorado, and all these people are in prison.
4                      DR. FRANK:     Yeah.
5                      MR. LINDELL:     You know...
6                      DR. FRANK:     By the way, this is still a really
7    good fit when I use the registrations.         It's only not a good
8    fit if I try to --
9                      MR. LINDELL:     Oh, so it fit with the
10   registra- -- so they did it with the registration?
11                     DR. FRANK:     Yes.
12                     MR. LINDELL:     It just didn't fit the people
13   living in the county?
14                     DR. FRANK:     Exactly.    And I can --
15                     MR. LINDELL:     I got it.     Okay.
16                     DR. FRANK:     I -- in other words, I can
17   predict -- oops.       I can predict -- I changed -- I can predict
18   the -- the -- the votes based upon merely the population as
19   well.    Why?   Because I'm able to -- I'm a- -- it's going to
20   bring it up again.
21                     MR. LINDELL:     Uh-huh.
22                     DR. FRANK:     I'm able to -- this is me predicting
23   ballots --
24                     MR. LINDELL:     Right.
25                     DR. FRANK:     -- based upon population.      So, see,




                               Dickman Davenport, Inc
             214.855.5100     www.dickmandavenport.com        800.445.9548

                                    APP720
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 721 of 971

                                                                             90
                      Scientific Proof - April 3, 2021


1    I missed.
2                    MR. LINDELL:     Right, because -- because of the
3    prison?
4                    DR. FRANK:     Exactly.
5                    MR. LINDELL:     So what he did --
6                    DR. FRANK:     Yes.
7                    MR. LINDELL:     -- what Dr. Frank did is, when you
8    seen that, you had to -- you'd probably go, why?
9                    DR. FRANK:     Why?
10                   MR. LINDELL:     And you had to find out.     You had
11   to look up the -- look up that county --
12                   DR. FRANK:     Exactly.
13                   MR. LINDELL:     -- and you found out there was a
14   prison there.
15                   DR. FRANK:     Yeah.
16                   MR. LINDELL:     And it was -- you know, and that's
17   a big prison, big part of this population.
18                   DR. FRANK:     There you go.
19                   MR. LINDELL:     Okay.    I got it.
20                   DR. FRANK:     It -- it's --
21                   MR. LINDELL:     So -- so as you do --
22                   DR. FRANK:     Yeah.
23                   MR. LINDELL:     Based on what you have now -- and
24   we're going to -- you know, like I say, going through all the
25   counties in the country, which we're going to keep dumping to




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com         800.445.9548

                                  APP721
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 722 of 971

                                                                              91
                        Scientific Proof - April 3, 2021


1    the public all the time.
2                      DR. FRANK:     Happy to do it.
3                      MR. LINDELL:     We're going to start dumping it
4    and dumping and dumping.
5                      DR. FRANK:     Yeah.
6                      MR. LINDELL:     If you're out there, if you live
7    in Wisconsin, get a hold of your legislatures and tell them
8    they need to get -- we're going to try and reach them so that
9    they can either -- your state's getting opened up for the
10   biggest audit ever.      It's going to be amazing.      And if you're
11   in Maricopa County, you're in that audit.          And I know
12   Arizona -- it doesn't matter.       Georgia's opening up again now.
13   They just said --
14                     DR. FRANK:     Oh, wow.
15                     MR. LINDELL:     -- they're going to probably do an
16   audit.
17                     DR. FRANK:     Oh, wow.
18                     MR. LINDELL:     New Hampshire.    It's all over the
19   country.    You know, it's just everybody's got to get on board.
20   Let's -- let's -- let's open up the machines.          Let's look at
21   this.    And here's --
22                     DR. FRANK:     Yes.
23                     MR. LINDELL:     -- what you're going to find.
24                     DR. FRANK:     Yes.
25                     MR. LINDELL:     This was the biggest crime against




                               Dickman Davenport, Inc
             214.855.5100     www.dickmandavenport.com      800.445.9548

                                    APP722
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 723 of 971

                                                                            92
                      Scientific Proof - April 3, 2021


1    the United States and the world in history.       I believe it's one
2    of the biggest ever because it affects every single person on
3    the planet.
4                    DR. FRANK:     Absolutely.
5                    MR. LINDELL:     And thank you, Dr. Frank, for
6    your --
7                    DR. FRANK:     My pleasure.
8                    MR. LINDELL:     Wow.   This has been a blessing for
9    me and a blessing to everyone and -- and I'm sure each and
10   every person out there is going to thank you and they do thank
11   you for your time and what you've done.
12                   DR. FRANK:     You're welcome.    My pleasure.
13                   MR. LINDELL:     God bless you.
14                   DR. FRANK:     Yeah.
15                   MR. LINDELL:     Thanks, everybody.
16                   (Recording ends.)
17

18

19

20

21

22

23

24

25




                           Dickman Davenport, Inc
          214.855.5100    www.dickmandavenport.com       800.445.9548

                                  APP723
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 724 of 971

                                                                            93
                      Scientific Proof - April 3, 2021


 1                          C E R T I F I C A T E
 2       I, TERRI GARCIA, Certified Shorthand Reporter in and for
 3   the State of Texas, certify that the foregoing is a correct
 4   transcription from the video recording of the above-entitled
 5   matter.
 6       I further certify that I am neither counsel for, related
 7   to, nor employed by any of the parties to the action in which
 8   this recording was transcribed, and further that I am not
 9   financially or otherwise interested in the outcome of the
10   action.
11       I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14

15

16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas     75206
20                               (214) 855-5100
                                 My commission expires:       7-31-25
21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com         800.445.9548

                                  APP724
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 725 of 971

                                                                                              94
                       Scientific Proof - April 3, 2021

        A             18:17,22 20:2,7     23:24 79:25       backtrack 37:24     bit 15:7 24:1
a- 89:19              87:11               80:1              bad 9:21,21 45:3      30:24 37:25
able 29:13 34:25    agenda 84:23,24     anyway 7:13 14:7      54:23 61:16       black 14:21
  52:25 55:2        agendas 84:23         51:6 55:24 61:5     74:12               17:14 30:18,21
  68:12 89:19,22    aggressively 3:3      78:21             ballot 11:18,22       31:12 42:10
above-entitled      ago 14:22           appointment           70:8                64:17 65:7
  93:4              agree 19:12           2:12              ballots 4:7 10:21   blackmailed
absent 44:11          77:22,22,23       area 32:11 87:15      10:22 11:14,14      84:25
abso- 64:7          ahead 39:16 68:9    Arizona 74:9          16:2,24 18:11     bless 92:13
absolute 3:22,23    ahold 2:21 61:11      82:21,21 91:12      19:5 20:15        blessing 50:23
  12:12 27:11,17    ain't 26:3 78:21    arms 78:6             22:12 24:23         52:11 92:8,9
  45:25 50:25       al- 48:13           art- 77:19            26:18,21,25       blew 63:24
  62:3 77:5,6       algorithm 4:18      articles 3:6,7        43:8,16 46:18     block 74:11
absolutely 4:3        6:6 11:11 13:22   Ashland 29:22         66:5 70:10        blocked 74:11
  5:4 10:11,13        19:4 22:3 24:5    asked 35:13           73:25 89:23       Bloomberg 65:24
  17:18 24:15,17      30:10 40:15         86:24             banned 76:25        blown 74:21
  27:9 44:6 47:17     51:10 83:1        attack 45:6 46:2    base 34:15          blue 10:20 30:18
  48:15 56:3        algorithms 3:21       52:4 55:13 84:8   based 25:1 34:12      31:10,23 64:14
  61:18 92:4          4:6 5:13 22:5     attacked 44:23        34:19 89:18,25      64:19 71:11
academics 3:11        38:7 39:8,11        44:25 52:6          90:23             board 67:15 68:6
accept 48:19          40:16 48:13,21      55:22 56:10       basically 2:18        73:22 91:19
access 7:23 49:7      50:9 52:9 64:9    attacking 54:2        7:24 9:17 41:19   boom 53:24
  49:9                68:24 83:6,13       75:8                63:10 71:1 79:7     75:16,19 78:10
accident 4:16         87:21 88:14       attacks 5:11 13:2   Be- 26:14 30:20     boomers 14:9
  8:15 29:19          89:2                23:6 75:8         beacon 47:16        border 23:21
account 89:1        Allen 75:24         audio 57:10           79:18               76:17,22
accurate 86:22      allowing 62:18      audit 45:22 68:15   beautiful 21:6      borders 86:9
action 93:7,10        77:14               91:10,11,16         53:7 68:24        bother 60:22
actors 45:1,2       Alphabet 77:3       audits 68:17        beep 49:17,18       Bowl 57:4,7
addict 78:7         amazing 2:24          74:11             begins 2:1          boy 78:16
address 9:8 54:21     13:7 40:19 43:9   automatically       believe 77:10,13    brainwashed
addresses 4:1         58:21 59:8          70:20               92:1                55:18
  12:24 46:16         74:15 91:10       average 25:11       Bent 89:2           brand-new 44:14
adjust 39:21,23     Amendment           awakening 79:1      bet 70:1 78:6         47:23
  40:15,16 42:15      52:22 76:3,5      Awesome 62:2,5      better 18:9 53:12   brave 78:16,17
  83:17             American 12:13                          Biden 88:16,19        80:17
                    analyzing 3:15              B           big 36:10 51:23     bread 19:3 37:8
admit 46:9
advanced 58:24      answer 54:21        baby 14:9             65:3,12 84:17     break 61:25 78:5
advisor 76:1,1      anticipate 83:9     Baca 70:4             87:8,10,11        bring 44:10
affidavits 48:5     Antrim 45:12        back 3:10 23:16       88:10 90:17,17      70:10,12 79:6,7
  66:18               67:5,16            37:17 38:13        big- 75:7             82:12,14,15
afraid 6:11         anybody 6:18         42:19 46:25        biggest 54:17         89:20
age 10:15,15,18       14:1,2 73:16,16    48:17 78:2,7,25      60:23 75:7,8,24   broke 83:13
  10:21 14:14,18      85:20,24           79:6                 83:24 91:10,25    brought 56:12,15
  14:23 17:10       anymore 21:8        background 3:1        92:2              buddy 26:3


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com                   800.445.9548
                                            APP725
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 726 of 971

                                                                                              95
                       Scientific Proof - April 3, 2021

build 33:2         chart 12:4 48:17       52:17               22:10 25:9,13     crime 23:11
bumps 17:18          88:5               companies 77:25       29:21 34:1          47:11,12 60:23
 35:6,7 36:19,20   cheat 82:9           company 77:24         42:25 69:6,6,14     84:1 91:25
 36:25 37:2        cheated 2:20           78:21               69:15,17,25       crimes 75:7
 58:20 60:4,5      cheating 48:24       compare 62:19         71:1 81:7 88:6    criminals 57:17
bunch 9:2 29:15      49:1               completely 76:21      90:25             crooked 84:14
Butler 29:24       check 5:20           complex 79:22       countries 36:5      crossed 23:13
                   checked 4:13         compromised         country 2:8 3:25    crumbs 19:4 37:8
         C         China 45:1 56:9        84:25               6:16 35:19        cul- 75:16
C 93:1,1             60:12              computer 28:17        38:20 44:21       cup 55:19
calculus 59:2,20 choose 24:11             29:6 83:3           45:6 46:3,5       curve 10:20
California 57:1    citizen 73:17 75:8   computers 4:1         52:5,5,19 54:18     14:21,21 15:24
call 6:15 8:8 16:4 class 59:9             5:3,25 13:1         68:16 73:18         17:14 20:23,25
  18:9 82:15       clean 5:21,22,23       29:15               74:9,19 75:4,9      22:13 24:23,24
called 6:6 21:5      5:24 32:22         concept 74:18         77:21 90:25         30:18,18 31:12
  25:16 52:24        73:23              concern 54:17         91:19               31:13 61:7 65:7
cancel 75:16       clear 16:15          concerned 54:16     country's 44:23       65:10 71:11
canceled 55:21     click 70:19          confirm 11:18         55:10             curves 16:24
canceling 52:20    Clinton 30:1           14:3              county 4:8 6:16     cyber 12:19 29:5
care 85:11         close 39:20          Congress 2:14         14:12 17:21,24      69:1
careful 30:18      clue 62:21,24        Congress- 2:13        17:25 18:2        cyberattack 3:24
  74:18            coefficient 25:15    conspiracy 46:2       19:25,25 20:1
cases 45:11        coffee 55:20         Constantly 26:12      21:13 22:8,11             D
caught 31:8,10       60:12 67:21          26:13               22:24,25 23:19    D.C 2:14
cause 81:18        college 55:17        contains 77:8         24:2,5 33:7,8     Dallas 41:8 93:19
census 14:8 34:23 colleges 55:18        control 4:7,8         35:9,18 43:2,10   data 3:15 12:7
  34:24 36:10      Colorado 31:21         62:22,25 77:4       45:12 64:3         34:7 35:15 59:3
  43:6 59:3,9,10     34:1 36:23 38:1    converts 18:11        65:25 66:18,22     59:9 71:1,2
  59:18 60:6,20      63:24 64:12          20:14               67:5,16,17 69:8   database 6:15
  60:23 63:7,21      66:2 69:6,18       correct 14:25         70:4,6,16 71:7     14:22 16:1
  69:23 88:14        87:6 89:3            93:3                71:16,18 74:11     36:16 73:17
Central 93:18      coloring 31:18       correlated 25:25      87:15 89:3,13     Davenport 93:17
Certified 1:12     column 27:22         correlation 25:15     90:11 91:11       day 47:2,7 50:15
  93:2,16            46:19                25:19,22 58:19    couple 29:20         55:11,11 67:21
certify 93:3,6,11 come 2:4 4:2 7:16     corrupt 35:18         45:12 84:23        76:17 78:7
change 19:19         17:3 28:5 53:6       57:12             course 20:8 33:6     81:17
  24:1 55:9 70:14    78:9               corrupted 35:13       35:21 51:4,4      days 9:3 29:3
  79:14 80:5       comes 74:8           corruption 23:10      58:4              dead 31:3 51:4
  82:20,25 83:1    coming 47:22           38:3              court 44:21 62:10   deal 36:10
changed 25:12        52:19 53:13        cou- 34:11          cover 3:6 61:10     December 46:25
  63:25 65:13        54:14 62:14        counsel 93:6        COVID 86:9           66:17
  70:24 82:16,18     75:14              count 26:25         coyotes 77:16,17    decide 24:9
  82:19 89:17      commission             82:22             crazy 57:1,9        deduce 28:10
changing 19:15       93:20              count- 42:23          58:19             Democrat 7:7
  19:16 26:21      communism            counties 18:4       credit 33:2          45:6 52:13


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP726
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 727 of 971

                                                                                        96
                       Scientific Proof - April 3, 2021

  54:12 86:5         74:8,14 76:22      12:2,5,9,16,21    35:4,8,12,15,20   62:2,5,8,17,21
Democrats 84:5       76:24              12:25 13:4,6,8    35:23 36:1,5,9    62:24 63:2,5,7
  84:10             domestic 45:1       13:11,15,19,22    36:12,15,18,22    63:11,14,18,20
depends 50:6,9      Dominion 40:25      14:1,3,5,7,13     36:25 37:2,5,8    63:22 64:1,4,7
Dershowitz 75:24     44:7 53:1,8,17     14:16,19,21       37:10,13,15,19    64:9,11,14,17
destroyed 55:10      57:13 60:11        15:1,5,7,9,12     37:21,23 38:4,6   64:21,24 65:1,3
  55:11,11 68:10    Donald 38:14        15:16,18,21,23    38:9,12,19,21     65:6,10,14,16
detail 4:14          40:1 51:5 81:14    16:1,4,7,10,12    38:24 39:1,4,6    65:19,23 66:1,5
deviation 37:12      85:1 88:17         16:16,18,20,22    39:9,13,16,19     66:8,11,14,20
  65:13 88:10,10    door 2:18,18 7:12   17:1,5,8,11,14    39:21,25 40:2,5   66:23 67:1,3,8
  88:25              9:13 73:4,7        17:17,20,23       40:7,9,12,15,18   67:11,13,19,22
device 27:20         78:10              18:1,3,5,8,13     40:22 41:2,5,7    67:25 68:3,7,11
Dickman 93:17       doors 7:19 8:18     18:15,19,21,24    41:11,14,17,20    68:14,18,22
die 32:11 61:7       8:25 64:5,6        19:3,8,11,15,17   41:23 42:1,4,8    69:2,5,10,13,16
  62:18 66:3         72:12,15,16        19:23,25 20:4,6   42:10,13,16,18    69:19,24 70:2,7
died 64:3,23 70:5    73:23              20:8,10,12,14     42:21,24 43:2,5   70:11,17,19,22
different 2:21      Dorsey 57:18        20:17,20,23,25    43:8,17,21,24     70:25 71:4,8,10
  18:17,22 29:21     76:13 77:4         21:2,5,10,13,16   44:2,6,12,17,24   71:14,16,20,23
differential 59:2   dotted 74:23        21:18,19,22,24    45:4,15,16,19     72:1,3,6,10,12
  59:20             double 39:5,5       22:2,4,7,13,15    46:6,9,13,16,18   72:15,18,20,22
dig 3:20            doubt 54:19         22:18,20,23       46:21,24 47:2,4   72:25 73:3,5,9
dine 57:4           Doug 15:12 74:9     23:2,4,7,9,12     47:7,10,17,20     73:13,15,20,22
dink 81:4,4         Douglas 2:5         23:15,18,21,24    48:8,11,15,20     73:25 74:2,5,13
disappeared         down-ballot         24:1,4,8,11,15    48:22,25 49:2,4   74:20,25 75:3,5
  41:19              10:25              24:17,20,22       49:7,10,12,16     75:12,17,20
disappearing        download 6:19       25:1,6,8,11,14    49:19,22,24       76:6,8,10,15,19
  75:15              6:25 14:3 36:9     25:18,21,24       50:1,4,6,9,13     76:23 77:1,16
discover 35:1        36:15 73:17        26:2,6,8,10,12    50:17,20,23       77:18 78:4,8,13
discovered 46:25    downloaded 14:8     26:14,17,20,24    51:8,11,14,17     78:19 79:2,5,9
discovery 3:8       Dr 2:5,10,22 3:2    27:2,8,13,15,18   51:19,22,25       79:15,18,20,23
dismissed 45:11      3:6,10,15,18       27:21,25 28:2,6   52:2,7,10,15,18   79:25 80:3,9,11
district 7:4 35:8    4:6,10,12,16,18    28:8,10,13,16     52:21 53:2,15     80:13,19,24
  35:9 43:9,23       4:21,23 5:1,4,6    28:19,22 29:1,4   53:23 54:1,3,6    81:2,5,9,11,15
divine 2:12          5:9,12,14,16,18    29:7,9,12,14,18   54:11,15,19       81:20,22,24
do- 66:4             5:21,23,25 6:3     29:22,24 30:1,4   55:1,4,8,15,25    82:2,5,11,13,17
document- 47:15      6:6,9,11,13,19     30:7,11,13,15     56:2,7,11,14,17   82:24 83:3,6,9
documenta- 48:1      6:22,25 7:3,6      30:17,20,23       56:20,24 57:2,8   83:13,15,17,21
documentary 2:3      7:10,15,18,22      31:1,5,7,12,16    57:19,22,25       83:25 84:2,7,12
  2:6,23 3:24        8:4,7,11,14,17     31:20,23 32:1,3   58:2,4,6,9,12     84:16,21 85:3,6
  12:13 45:17        8:22,24 9:2,5      32:6,9,13,16,19   58:14,18,21,24    85:10,16,21,25
  47:15 51:2 74:7    9:10,12,15,19      32:22,25 33:2,5   59:2,5,8,11,14    86:4,6,12,19,22
doing 2:23 3:3       9:23 10:1,3,5,7    33:8,11,15,17     59:17,20,22,25    86:25 87:2,5,7
  27:23 42:9         10:11,13,20,24     33:19,22,25       60:3,8,14,16,18   87:10,14,17,20
  52:23 53:21        11:2,7,9,11,13     34:4,8,10,13,16   60:21,24 61:1,3   87:24 88:2,4,8
  59:25 70:12        11:16,22,24        34:19,22,25       61:5,13,18,24     88:12,15,18,21


                              Dickman Davenport, Inc
     214.855.5100            www.dickmandavenport.com               800.445.9548
                                          APP727
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 728 of 971

                                                                                             97
                      Scientific Proof - April 3, 2021

 88:24 89:4,6,11  ends 40:4 92:16       90:4,12           filming 2:3            10:5 36:2 37:17
 89:14,16,22,25   entire 19:13        example 10:14       financially 93:9       44:11 48:4 51:1
 90:4,6,7,9,12    equals 25:18          22:7 67:3         find 8:20 9:6,22       57:16 60:17
 90:15,18,20,22   erased 75:15        examples 60:1          11:3,13 37:17       90:13
 91:2,5,14,17,22  error 65:3          excellent 12:11        50:4 51:6 68:19   four 9:3
 91:24 92:4,5,7   ES&S 41:6 44:8      excited 44:18          68:20,21,23       fourth 27:16
 92:12,14         ev- 35:17           exist 9:22 10:2,4      90:10 91:23       Fox 77:13
draw 33:5         eventuality 83:4      28:21             fine 56:2            Frank 2:5,10,22
drop 48:3         everybody 2:11      expect 39:8         finger 71:25           3:2,6,10,15,18
Ducey 74:10         3:1,17 4:22       expensive 6:23      Firm 93:18             4:6,10,12,16,18
dump 44:20 48:1     7:24 24:18        experts 15:10       first 3:24 6:13        4:21,23 5:1,4,6
dumping 90:25       26:13 35:12,20    expires 93:20          15:18,21 34:1       5:9,12,14,16,18
 91:3,4,4           35:21 44:15       explain 31:21          35:8 44:15,16       5:21,23,25 6:3
duplicated 19:10    45:9 46:4 55:12     32:5 46:21           46:24 47:15,25      6:6,9,11,13,19
                    56:19 63:10,10    explains 68:16         51:2 52:22          6:22,25 7:3,6
         E          65:21 69:11       Expressway             74:25 76:3,5        7:10,15,18,22
E 93:1,1            70:15 71:25         93:18                80:21 86:1          8:4,7,11,14,17
earlier 38:2 51:1   76:7 78:12,14     extra 3:12          fit 43:19 87:23        8:22,24 9:2,5
  51:2 63:23        80:1 92:15                               88:7,8 89:7,8,9     9:10,12,15,19
early 3:10        everybody's 15:2            F              89:12               9:23 10:1,3,5,7
easy 58:2 78:16     30:2 80:17        F 93:1              fits 4:3 87:25         10:11,13,20,24
  78:17             91:19             Facebook 77:8       five 29:3              11:2,7,9,11,13
edge 13:8 27:21   everyone's 44:22    fact 21:2           fix 84:18,19,19        11:16,22,24
  46:10             62:14 66:17       factor 49:3         flag 9:18 15:20        12:2,5,9,16,21
effect 48:13        86:10             fake 46:3 61:11        15:21 17:13         12:25 13:4,6,8
eight 56:22       everything's        far 4:13 22:25         18:13,15            13:11,15,19,22
either 64:3,22      74:23                23:2 39:24       flip 17:4 22:11        14:1,3,5,7,13
  70:5 84:23 91:9 evidence 44:19         47:13 55:14         29:6 81:19,21       14:16,19,21
election 3:15 4:8   45:10,11 48:1,3      62:7 88:6        flipped 41:9           15:1,5,7,9,12
  8:7 11:17 12:22 exact 16:24 17:6    fast 42:2 81:25        67:23 88:20         15:16,18,21,23
  24:9 29:2 38:8    17:7 43:15           82:1             Florida 39:5           16:1,4,7,10,12
  43:14 45:14       58:21 74:16,16    fear 53:11 78:12    focus 82:7             16:16,18,20,22
  54:14 56:4      exact- 19:11 31:1      78:12,15,15      follow 22:21 50:2      17:1,5,8,11,14
  74:24 77:22       36:24             February 77:6          71:25               17:17,20,23
  80:16 84:18     exactly 8:11 9:23   federal 24:6,8      following 30:5         18:1,3,5,8,13
  88:11,13          13:15 14:19       fee 93:11           football 78:7          18:15,19,21,24
elections 6:14      16:20 19:22,24    feel 50:23          footprint 29:6         19:3,8,11,15,17
  11:2              20:3 27:22 31:7   feeling 57:14       footprints 12:19       19:23,25 20:4,6
elephant 51:24      31:16 39:1,21     figure 3:21 27:2       12:20 69:1          20:8,10,12,14
eligible 33:9       40:18 43:17,17       89:2             foregoing 93:3         20:17,20,23,25
  36:13             43:18 48:22       figured 4:10        foreign 44:25          21:2,5,10,13,16
employed 93:7       58:18 60:16,18       83:23               52:4,4,4            21:18,19,22,24
employees 84:10     60:21 65:1        fill 53:7           forensic 12:11         22:2,4,7,13,15
ended 41:18         72:25 73:5 81:5   film 45:17          former 12:18           22:18,20,23
  81:13             86:18 89:14       filmed 74:8         found 4:6 9:5          23:2,4,7,9,12


                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                    800.445.9548
                                          APP728
    Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 729 of 971

                                                                                        98
                   Scientific Proof - April 3, 2021

23:15,18,21,24    48:8,11,15,20       73:25 74:2,5,13   future 46:4 54:17 God 28:24 79:7
24:1,4,8,11,15    48:22,25 49:2,4     74:20,25 75:3,5     54:18            92:13
24:17,20,22       49:7,10,12,16       75:12,17,20                         goes 2:20,20 31:2
25:1,6,8,11,14    49:19,22,24         76:6,8,10,15,19            G         47:13 78:2 81:4
25:18,21,24       50:1,4,6,9,13       76:23 77:1,16     G 2:5             going 2:3,9,9
26:2,6,8,10,12    50:17,20,23         77:18 78:4,8,13   gal 2:13           3:19,22 4:2,24
26:14,17,20,24    51:8,11,14,17       78:19 79:2,5,9    game 82:19,20      7:12 9:20,21
27:2,8,13,15,18   51:19,22,25         79:15,18,20,23    gap 87:8,10        10:9,10 13:2,13
27:21,25 28:2,6   52:2,7,10,15,18     79:25 80:3,9,11   garbage 76:22      16:12 17:3
28:8,10,13,16     52:21,24 53:2       80:13,19,24       Garcia 93:2,16     18:25 21:25
28:19,22 29:1,4   53:15,23 54:1,3     81:2,5,9,11,15    gee 11:4           23:16 25:4,4
29:7,9,12,14,18   54:6,11,15,19       81:20,22,24       geeks 59:18        27:22 28:4,4
29:22,24 30:1,4   55:1,4,8,15,25      82:2,5,11,13,17   Georgia 45:21      31:2,3,5,7 32:8
30:7,11,13,15     56:2,7,11,14,17     82:24 83:3,6,9    Georgia's 91:12    35:4,5 37:24
30:17,20,23       56:20,24 57:2,8     83:13,15,17,21    get- 61:16         38:1,10 39:15
31:1,5,7,12,16    57:19,22,25         83:25 84:2,7,12   getting 26:14      40:14 43:11
31:20,23 32:1,3   58:2,4,6,9,12       84:16,21 85:3,6     40:4 54:9 55:10  44:19,19,22,22
32:6,9,13,16,19   58:14,18,21,24      85:10,16,21,25      55:21,22,22      45:21 46:2 48:1
32:22,25 33:2,5   59:2,5,8,11,14      86:4,6,12,19,22     61:11,17,20      48:3,24 50:19
33:8,11,15,17     59:17,20,22,25      86:25 87:2,5,7      75:13,14 80:17   52:5,13 53:10
33:19,22,25       60:3,8,14,16,18     87:10,14,17,20      86:10 91:9       53:11,11,16,17
34:4,8,10,13,16   60:21,24 61:1,3     87:24 88:2,4,8    gifted 3:12        53:21 54:6 55:6
34:19,22,25       61:5,13,18,20       88:12,15,18,21    give 41:21 62:11   55:6,9,19 56:1
35:4,8,12,15,20   61:24 62:2,5,8      88:24 89:4,6,11     83:6             57:16 60:13
35:23 36:1,5,9    62:17,21,24         89:14,16,22,25    glitch 22:22       61:10 62:14,15
36:12,15,18,22    63:2,5,7,11,14      90:4,6,7,9,12       80:24            64:19 66:17
36:25 37:2,5,8    63:18,20,22         90:15,18,20,22    glitches 30:3      67:5,6,6,24
37:10,13,15,19    64:1,4,7,9,11       91:2,5,14,17,22   glove 4:3          68:19,20,20,23
37:21,23 38:4,6   64:14,17,21,24      91:24 92:4,5,7    go 7:10,11,18      71:24,24 75:24
38:9,12,19,21     65:1,3,6,10,14      92:12,14            9:12,21 11:3,4   76:2 78:5,11,21
38:24 39:1,4,6    65:16,19,23       fraud 54:14 81:4      11:19 23:16      78:21,22,22,23
39:9,13,16,19     66:1,5,8,11,14    free 6:20 52:23       27:7 29:20       78:24 79:7,14
39:21,25 40:2,5   66:20,23 67:1,3     52:25 76:5          31:19 37:17      80:6,7,16,17
40:7,9,12,15,18   67:8,11,13,19       77:24               40:13 42:19      81:6 83:1,19,20
40:22 41:2,5,7    67:22,25 68:3,7   freedom 79:18         43:19 44:22      83:20 85:8,12
41:11,14,17,20    68:11,14,18,22    fresh 60:3            45:9 47:18,19    85:18 88:16,17
41:23 42:1,4,8    69:2,5,10,13,16   friend 76:17          48:17 50:5,7     89:19 90:24,24
42:10,13,16,18    69:19,24 70:2,7   friends 47:24         51:23 56:10      90:25 91:3,8,10
42:21,24 43:2,5   70:11,17,19,22      52:13 55:21         64:4,5 66:21     91:15,23 92:10
43:8,17,21,24     70:25 71:4,8,10     75:15 76:12         68:4,9 69:12    good 3:7 10:7
44:2,6,12,17,24   71:14,16,20,23      84:9                72:12 73:4,22    30:13,14 50:9
45:4,15,19 46:6   72:1,3,6,10,12    full 93:12            76:5 79:12 80:6  64:11 86:10
46:9,13,16,18     72:15,18,20,22    fun 12:9 73:16        80:7,18,22       89:7,7
46:21,24 47:2,4   72:25 73:3,5,9    funny 43:5 74:6       82:15 89:2 90:8 Google 77:3
47:7,10,17,20     73:13,15,20,22    further 93:6,8,11     90:18           gosh 27:22


                          Dickman Davenport, Inc
    214.855.5100         www.dickmandavenport.com                  800.445.9548
                                         APP729
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 730 of 971

                                                                                          99
                      Scientific Proof - April 3, 2021

gotten 49:20     happy 47:21          imagine 42:10        John 9:8,10,13     27:11,22,23
government          54:24 91:2          54:24 75:11          11:19            28:12,18 31:15
  12:18          head 60:11,11,12     important 2:7        judge 11:3 45:10   33:24 34:6
governor 56:21   hear 24:18 51:15       75:2 76:3,4          68:8             37:14 38:2,15
grace 28:24         74:20             impossible 4:25      Judges 62:13       39:11,16,18
graph 14:12,17   heard 13:2 52:24       14:24 16:25        jump 17:4          40:17,20 41:9
great 38:16,16      66:16,16 76:12      22:22 26:7         jumping 38:13      41:10,12,16
  80:5           Hello 2:2              43:20 44:4 72:5    justice 62:10      42:4,6 43:18,25
greatest 79:1,1,3help 2:22 45:1         73:2 80:23                            43:25 44:9,9,14
ground 48:10        62:6,7 85:9,12    inaudible 55:19              K          44:14,19 45:1,2
group 14:14         85:13,20,24         64:1               keep 30:18 31:10   45:2,9,9 46:19
  17:10 20:2,7   helps 17:17          inauguration           31:12,17 56:1    47:15 48:6,7,12
groups 77:14     heroes 12:14           47:9                 56:11,18 90:25   48:16 50:4,24
guarantee 49:23  Hey 51:4 55:20       include 61:6         keeps 47:22        53:17,18,19,21
guess 17:23 73:17   57:14 62:15       incursions 13:16     kept 60:4          54:21,24 55:2
guy 41:21 57:15     77:21 80:16       Input 5:15           key 18:9,11,25,25  55:10,12,23
  73:11 82:15    hidden 79:22,24      inside 47:22           20:12,14 23:16   56:8,15,18,19
guy's 73:7          80:2                54:22                23:18,24 24:2    56:25 57:7,7,9
guy- 77:11       hired 76:1           instructions 6:4,9     24:11 25:2,11    57:13,17 59:5,8
guys 22:10 43:12 history 7:7 60:23    interacting 29:15      46:8 59:3        61:7 62:11
  64:8 67:5 77:4    75:7 76:3 78:25   interested 93:9      kidding 27:8       63:14,16 66:3,4
  77:10 80:15       79:4 92:1         interesting 15:5     kids 3:12 55:17    66:15,22,25
  84:5           hold 91:7              23:15 35:6           59:15 63:5       67:2 68:1,8
                 host 77:13             66:16              kind 39:12,18      70:9,10,10,25
        H        hour 2:9,11          interference 52:4      49:1 82:4 85:23  71:17,21 73:8
half 39:3        house 56:23          interview 2:10       kinds 69:4         74:12,15 75:6
Ham- 14:12       houses 8:25 9:6      interviewing 2:4     kiosks 58:2        75:16 76:25
Hamilton 14:12   huge 65:21 71:21     inventions 3:13      knew 2:17 13:13    77:5,7 78:1,9
Hampshire 45:18     83:10,11          investigation          27:19 28:11      78:11,12,16,23
 91:18           huh 64:13              2:19                 38:17 68:2       79:7,10,11,14
hand-counted     humanity 23:11       invited 3:7          knives 53:5        79:24 80:4,17
 74:17              46:4              Iowa 28:17 39:5      knock 7:11,11,18   80:17,21 81:18
happen 38:17     humans 4:20,25       IP 4:1 12:23           9:12 64:5,6      81:18 82:8,18
 43:22 79:11,14     26:5                46:16                72:12,15,16      82:25 83:19,22
 79:17,19                             it'll 48:2,2 61:21     73:4,23          83:23 84:4,9,15
happened 3:7               I                               knocked 8:18 9:6   84:18 85:12,12
 17:23 28:12     I's 74:23                     J             73:6             85:14,17,17
 38:11 40:23,24 i- 13:12              Jack 57:18 76:13     knocking 8:25      86:7,7,9,11
 40:24 55:3,16   i.e 5:3 53:13          77:4               know 2:2,19,21     88:19 89:5
 82:6            ID 29:6              Jackson 70:4,11        3:25 4:16,22     90:16,24 91:11
happening 17:21 idea 13:13              71:6                 11:16,17,17      91:19
 42:2 46:19 76:4 identical 37:1       jail 57:15             12:25 13:20     know's 7:12
 76:11 79:8         81:12             January 2:15           16:9,10,13,13   known 51:9 55:6
happens 10:16    IDs 4:1 13:1           47:5,10 86:2         16:19 17:6      knows 35:12 83:4
 32:11 79:11     illusion 56:4        jobs 51:3 86:3         19:17 25:8,14    84:25


                            Dickman Davenport, Inc
     214.855.5100          www.dickmandavenport.com                    800.445.9548
                                          APP730
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 731 of 971

                                                                                         100
                      Scientific Proof - April 3, 2021

          L          11:21,23,25       34:18,21,24       60:22,25 61:2,4      88:9,13,16,19
lately 3:15          12:3,6,12,17,22   35:2,7,11,14,18   61:9,14,19,25        88:22,25 89:5,9
law- 53:11           13:1,5,7,10,12    35:22,25 36:4,8   62:3,6,9,20,23       89:12,15,21,24
lawsuit 75:24        13:18,21,24       36:11,14,17,20    62:25 63:4,6,8       90:2,5,7,10,13
   76:2,3            14:2,4,6,11,14    36:24 37:1,4,7    63:12,16,19,21       90:16,19,21,23
lawsuits 53:12       14:17,20,24       37:9,11,14,16     63:23 64:2,6,8       91:3,6,15,18,23
lawyers 75:25        15:2,6,8,11,15    37:20,22,24       64:10,12,16,20       91:25 92:5,8,13
   76:2              15:17,20,22,25    38:5,7,10,13,20   64:22,25 65:2,5      92:15
learned 50:22        16:3,6,8,11,14    38:22,25 39:2,5   65:9,12,15,17     LindellTV.com
   84:20             16:17,19,21,23    39:7,10,14,18     65:20,24 66:2,6      61:21
left 3:10 64:3       17:2,6,9,12,16    39:20,23 40:1,3   66:9,12,15,21     line 15:3 31:11
   70:5              17:19,22,25       40:6,8,10,13,16   66:24 67:2,4,9       31:23 33:3 50:3
legal 77:9           18:2,4,6,12,14    40:19,23 41:3,6   67:12,14,20,23       64:14,17,19
legislature 51:3     18:18,20,23       41:8,12,15,18     68:1,4,8,12,15    lines 31:19 71:22
legislatures 91:7    19:2,6,9,14,16    41:21,24 42:3,6   68:19,23 69:3,9   little 15:3,7 17:4
let's 2:25 9:22      19:20,24 20:2,5   42:9,12,15,17     69:11,14,17,20       17:4,18 18:24
   11:4,5 13:24,24   20:7,9,11,13,19   42:19,22,25       69:25 70:3,9,14      22:11 24:1
   13:25 16:14       20:22,24 21:1,4   43:4,7,11,18,22   70:18,21,23          30:24 31:22
   29:20 42:19       21:9,12,15,17     43:25 44:3,7,13   71:2,6,9,12,15       35:6 36:2 37:25
   48:23 56:1 64:4   21:20,23,25       44:18,25 45:5     71:18,21,24          46:9 55:24 57:5
   64:4,6,10 70:11   22:3,5,9,14,16    45:16,20 46:7     72:2,4,9,11,14       89:2
   73:4 80:18        22:19,21,24       46:12,15,17,20    72:16,19,21,23    live 11:20 33:7
   82:14 86:8 87:3   23:3,5,8,10,13    46:22 47:1,3,6    73:1,4,6,11,14       53:11 62:10
   91:20,20,20,20    23:17,20,23,25    47:9,11,18,21     73:19,21,24          65:24 66:10,24
level 24:5,5,7       24:3,6,10,13,16   48:9,12,16,21     74:1,3,6,14,21       69:21 71:13
level's 24:8         24:18,21,25       48:23 49:1,3,6    75:2,4,6,13,18       78:14,15 91:6
life 8:9             25:3,7,10,13,17   49:8,11,13,17     75:21 76:7,9,11   lived 31:25 66:12
light 47:16          25:20,23 26:1,4   49:20,23,25       76:16,20,24          73:8
lights 47:18         26:7,9,11,13,16   50:2,5,7,11,14    77:2,17,19 78:5   lives 9:8,13
limitations 47:12    26:19,23 27:1,4   50:18,21 51:9     78:9,14,20 79:3   living 47:22
Lindell 2:2 3:5,9    27:10,14,16,19    51:13,15,18,20    79:6,10,16,19        52:12 54:22
   3:14,16,19 4:9    27:24 28:1,4,7    51:23 52:1,3,8    79:21,24 80:1,4      55:17,21 56:4
   4:11,15,17,19     28:9,11,14,17     52:11,16,19,22    80:10,12,14,20       89:13
   4:22,24 5:2,5,8   28:20,23 29:2,5   53:3,14,16,24     81:1,3,6,10,12    locked 56:19
   5:10,13,15,17     29:8,10,13,17     54:2,4,8,12,16    81:16,21,23,25    log 46:14
   5:19,22,24 6:2    29:20,23,25       54:20 55:2,5,9    82:3,6,12,14,18   logic 28:8 57:9
   6:5,8,10,12,18    30:2,5,8,12,14    55:16 56:1,5,8    82:25 83:5,8,11   long 46:22
   6:21,24 7:2,5,9   30:16,19,21,24    56:12,15,18,21    83:14,16,18,22    look 10:10 11:4
   7:14,17,20 8:2    31:4,6,9,14,18    56:25 57:3,9,11   84:1,3,8,13,17       15:1 17:2,3
   8:5,9,13,16,20    31:21,24 32:2,4   57:20,23 58:1,3   84:22 85:4,7,11      20:23 32:7,7
   8:23 9:1,4,9,11   32:7,12,15,18     58:5,7,11,13,16   85:17,22 86:1,5      35:13 43:7,12
   9:14,17,20,24     32:21,24 33:1,4   58:20,23 59:1,4   86:7,13,15,21        44:10 48:2 53:6
   10:2,4,6,9,12     33:6,10,13,16     59:6,9,12,16,19   86:23 87:1,3,6       53:6 63:6,8
   10:19,23 11:1,6   33:18,21,23       59:21,24 60:2,7   87:8,12,16,18        65:17 68:9 69:9
   11:8,10,12,15     34:3,6,9,11,14    60:10,15,17,19    87:21,25 88:3,5      70:14 71:18


                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com               800.445.9548
                                         APP731
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 732 of 971

                                                                                           101
                        Scientific Proof - April 3, 2021

  72:4 78:25 80:2     45:13,20 74:11    merely 89:18       multiplied 59:11   noon 41:10
  80:16 87:18,23      91:11             mess 5:22          multiply 17:15     norm 88:10,13
  90:11,11 91:20     Mark 57:20 58:7    met 2:12,12,13                        normal 43:13
looked 35:9 43:3      77:3,7             2:14                      N           82:8
  45:10,10 51:11     marry 45:24        Michigan 45:12     name 41:1,3        normally 32:10
  51:13 66:21        Massachusetts       49:14,15,21,22    names 33:8          65:7
  68:17 77:11         45:13              49:25 67:5 82:4   narrative 75:21    North 93:18
  80:22 81:7         massive 38:3,5      82:8              nation 79:6        northern 22:8
looking 7:15 25:4    match 16:24        middle 49:14       nationwide 4:2     notice 7:24 10:17
  34:7,9 50:19        26:25 27:1        Mike 12:10 53:5    natural 26:3        16:4,24 30:17
  53:10 81:6          37:20 87:1         53:13 78:16         30:15             33:25 34:1
looks 72:7           matched 25:7       mil- 86:20         ne- 55:5            35:16 36:18
lose 53:24,25        matches 35:3       millennials 14:9   need 2:23 4:7       43:9 65:6 71:10
  67:21               86:17,18,19       million 38:15,15     6:13 21:7,7,10   noticed 32:19
lost 2:16            matching 12:1       40:4,4 41:15,18     39:11 42:4        58:18
lot 7:25 8:11 16:5   math 58:25          41:19,22 61:25      45:23 63:14,16   noticing 37:5
  29:11,12 71:15     mathematicians      82:10 88:22,23      68:25 84:19      November 2:16
  84:18               21:2              Milwaukee 81:8       91:8              8:7 12:23 49:17
love 12:10 56:2      Matt 67:14         mind 27:7 44:14    needed 10:21,24     66:17 80:22
                     matter 41:1,4,6     60:4              negative 25:21     nudity 77:8
        M             45:5 54:13        mine 52:13         neighborhood       number 10:17,21
machine 5:2           87:13 91:12       Mineral 69:7         62:11             18:10,16 21:11
 21:21 41:3 42:1      93:5              Minnesota 56:22    neighbors 62:9      21:11 25:15
 48:13 68:9 74:4     mean 2:10 3:20     minute 9:15        neither 93:6        39:14 43:14
machines 12:7         7:23 17:10         14:22 36:22       never 11:5,13      numbers 21:7,7
 13:17 16:19          28:24 30:3         37:3 60:5 64:18     19:15,19 25:12    21:10,16 70:14
 23:5 26:9,21         33:23,23 35:18    misjudged 41:15      51:6,8,9,11,13    70:15,23
 41:1,25 43:14        41:24 44:13       missed 90:1          51:20 55:5
 44:4 45:22 48:6      46:3,7,8,24       mistake 64:13        62:24 63:2              O
 48:18 52:8 53:9      54:8 59:17 66:9    69:22,22          new 2:3 3:13 24:2 odds 16:25 17:20
 53:10 57:23          66:18 78:24       mistakes 5:23,24     45:18 52:23      59:6
 58:10,11 68:16       84:15 86:7        money 76:20          61:19 82:15     oh 10:4 17:1
 74:1 84:19          means 9:7 10:9     monster 52:1         91:18            24:15 25:3 27:8
 91:20                25:24 31:24       Montgomery         news 46:3 61:11    27:22 38:12
mafia 78:2            65:20              35:9                61:11,16         40:25 42:11,18
magnificent 4:13     meant 63:24        month 32:19 39:3   nice 33:2 85:23    44:8 47:1,17
mail-in 11:18        media 46:1 53:25   months 27:12,13    night 12:22 29:2   55:6 56:6 57:5
 56:6,11              57:18 61:11,12    morning 40:11        47:2,7 49:15     60:25 68:22
mainstream            61:19,20 75:22    mortality 61:7       80:22            70:14 71:2
 75:22 77:12          75:22 77:20       move 32:11 60:5    nine 44:22         75:18 82:8
making 33:11         men- 76:16          66:3              Nobody's 78:22     84:16 89:9
managed 6:14         mention 76:13,16   moved 64:25        noise 13:5 50:8    91:14,17
manifest 85:8,20      78:1               65:1,2              82:8            Ohio 10:17 18:2
manually 81:21       mentioned 43:6     movie 47:22        nonresidents       21:14 23:19
Maricopa 45:13        76:17,21           54:23,23            51:5             24:22 38:1,11


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                  800.445.9548
                                            APP732
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 733 of 971

                                                                                          102
                       Scientific Proof - April 3, 2021

  38:13,22 43:10     93:9              9:22 10:16,17     percentages          31:22 33:9,20
  65:7              outdoors 57:4      11:13 14:10,18      86:17              34:12 35:16
okay 6:8,10,21      outlet 46:1        14:23 15:3 16:2   perfect 25:18,21     36:7 37:20
  9:15 10:6,12,12   outside 31:19      22:12 23:8        Perfectly 31:20      62:22,25 63:9
  13:24 14:4,6,20    81:7              28:24 31:25       person 7:4,24,25     63:24 64:15
  14:24 15:21       overqualified      32:2,9,10,11,11     8:20 43:19         65:13 69:7,23
  16:4,7,21 18:19    3:17              32:14 33:7 34:4     47:13 74:17        71:11 72:1,2
  19:2 20:11,13                        36:3,13 37:25       92:2,10            87:11 89:18,25
  22:5 24:3 27:10            P         38:16 39:2,14     personal 84:24       90:17
  27:11,14 29:20    page 46:14         44:14 45:3        Ph.D 3:2            possibilities 83:7
  29:23 30:25       paid 93:12         48:16 51:4,5      phantom 9:7,16      possibly 63:11,13
  32:15 33:7,18     paid/will 93:12    52:20 53:9,19       26:17 33:5        power 51:6 61:23
  33:22 34:3,7      panic 83:20        54:13 55:18       physicist 26:3      pray 79:2
  35:11 39:10       panicked 83:18     56:12,22 61:7     piece 48:3          precinct 6:16
  55:25 58:17       paper 74:16        62:1,3,18 64:3    Pillow 53:4          10:13,14,16
  60:10 64:11,21    parallelism 43:9   64:22 66:6,12     pillows 53:5        predict 21:13
  67:12 69:11,21    part 14:7 46:10    66:22 67:16       pipeline 86:2        39:12 89:17,17
  70:3,18,21 71:3    54:23 57:13       68:21 69:8,20     place 26:15 75:1     89:17
  71:6,9 80:11       68:10 75:25       70:5 71:13          86:24             predicted 8:24
  89:15 90:19        78:24,25 86:20    72:10,11 74:10    places 57:12 82:3    9:5 10:5 40:3
old 65:21            90:17             75:10,23 76:12    plan 5:10,13        predicting 25:1
older 61:8          part-per-million   77:25 78:15         70:13 83:4         89:22
once 3:8 8:1,5       4:14              79:16 81:19       planet 47:13 92:3   prediction 86:19
  84:18             particular 10:16   83:19,19 84:9     planning 61:10      predictions 86:18
one's 61:20         parties 93:7       85:4,5,9,13,14    platform 52:23      preposterous
ones 84:14          partitions 57:5    85:23 86:8          61:20              20:8,9,10
online 5:3,17       party 85:18,18     87:15 89:3,12     platforms 57:18     present 12:18
  26:11,12,13       patented 53:7     people's 66:19     pleasure 92:7,12    president 85:1
  29:15 58:3,5,6    path 9:22         perc- 8:24         plus 36:1           pressure 50:12
oops 89:17          Patriot 73:18     percent 9:6 10:2   podcast 76:18       pretty 3:7 74:15
open 67:6 73:7      patriots 38:16     10:4 15:14,16     point 28:2 66:11    primary 45:14
  86:8 91:20        pattern 17:7 18:7  16:17 17:15       political 15:10     print 11:5,14,22
opened 91:9          18:8 37:5         18:10 20:5 26:7     84:23 85:14,15    prison 89:3 90:3
opening 91:12       patterns 30:6      32:17 33:19,21    politicians 7:1      90:14,17
opportunity         Pause 57:10        35:3 36:2,6,12      74:12             prisoners 87:17
  51:21              86:14             38:22 43:20       politics 84:20,20    87:18,22
opposite 25:22      pay 78:10          44:4 45:25          85:13             prob- 68:2
option 78:17,18     Pennsylvania       50:15 65:8,11     poll 70:4           probably 44:1
  78:20              2:14 23:22 24:2   67:18,21 69:7,8   polynomial 21:6      46:7 50:2 52:24
order 21:5,6         35:10 38:3        69:15 81:8,13       21:6               54:17 65:4
  82:19              43:23 57:25       81:18 82:22       pop- 87:14           69:12 75:25
ordinarily 3:12      58:1,13 72:18     86:16,17 88:1     popping 45:17        84:10 90:8
organic 48:7,7       72:19 82:4,9     percentage 17:7    population 14:8      91:15
originally 8:17     peop- 71:12        19:22 43:15         15:4 22:18,19     problem 26:24
outcome 24:9        people 2:21 7:15   48:19               24:22 30:22        85:8


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                800.445.9548
                                          APP733
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 734 of 971

                                                                                           103
                      Scientific Proof - April 3, 2021

profanity 77:8    ready 50:24 61:1       73:12              4:11,17,19 5:1      47:3,3,6 48:25
programmer          61:1,2             registra- 89:10      6:2,5,8,10,12       49:2,4,6 50:3
 83:4             Reagan 47:15         registration 6:15    6:12,24,24,24       50:11,11,11
proof 1:13 3:22   real 8:15,21,23        32:14,17,23        7:2,5,9,9,14,14     51:2 52:7,15,18
 3:23 12:12         16:5 49:7,8          63:1 69:7 73:23    7:17,17,20 8:10     52:21,23,25
 27:11,17 45:25     68:2 73:25           89:10 93:18        8:13,16 9:1,4,9     53:15 54:1,8
 50:25 62:3 77:6    81:25 82:1 86:5    registrations 4:7    9:11,14,14,25       55:4,8 56:3,7,7
proportion 18:17    88:22                18:11 19:5         10:6,19,23 11:1     58:16,16,16
 18:22 20:17,20   real-life 59:25        20:15 24:23        11:6,6,8,10,12      59:1,19,24 60:6
 20:21            reality 40:4           26:15 32:10        11:15,15,15,21      60:7,24 61:13
proportions 19:4  realize 48:18 61:9     62:19,22 64:18     11:21,23 12:21      62:8,23 63:4
 19:6,13,18       really 2:20 4:15       64:18 89:7         13:10,14,18,21      64:16 65:5,9,12
protect 74:19       9:22 10:7 11:9     related 93:6         14:2,2,11,20        65:19 66:1
proved 2:19 9:24    11:19,22 12:11     remember 22:10       15:8,8,11,15,17     67:22 68:7,18
proves 24:4         20:25 23:25          30:3               15:22,25 16:3,6     71:5 72:9,14
public 91:1         33:21 38:23        remembered           16:6,14,14          73:3,9,19,21,24
publications 3:4    39:11 43:13          59:12              17:12,16,19,22      74:12 78:19,24
pull 29:13 87:4     59:4 89:6          removing 46:18       18:12,14,14,18      80:15 81:3 83:3
 87:22            reasons 85:15        Reporter 93:2,17     18:18,23 19:14      83:5,8,14,16
pulled 70:4 83:24 recall 74:14,15      reproduced           19:16 20:9,11       85:10,21,22
put 2:6 19:18       74:23                17:18              20:19,22,24         86:5,6,6,21,23
 47:23,23 55:14   recalled 74:18       Republican 7:7       21:1,9,12,15,17     87:16,16 88:21
 57:5,24 58:8     recalls 74:8           7:11,25 45:6       22:13 23:20         89:24 90:2
 61:21 70:16      recipe 6:7,9           54:13 81:8,14      24:10,10,25       rights 76:5
 77:7 78:23       recognize 21:2         84:14              25:20,23 26:1,4   rocks 53:5
putting 47:25     recognized 58:15     Republican's         26:16,19,23       roll 9:8
 57:23 71:1,2       58:17                7:12               27:24,24 28:1,1   rolls 32:14,17,23
                  recording 2:1        reputation 35:5      28:6,9,11,11,19     73:23 81:18
        Q           86:14 92:16        research 34:9        28:19 29:7,17     Ronald 47:15
quirk 58:22         93:4,8               36:2               29:17,25 30:19    room 16:15 57:6
quite 19:12       red 15:21,24         reset 79:1           31:4,4,6,6,9,11   rules 82:16,19
                    22:13 24:23        restaurants 57:4     31:14,21,21       running 2:14
        R
                    31:13 65:10          57:7               32:12,18,21,24      50:16 81:19,23
R 25:15,15,18,24    67:17 70:18        resume 83:17         33:1,4,6 34:15
  30:9 93:1       register 30:21       revealed 54:9        34:18,18,21                S
race 39:15 40:14    63:10 71:18        revealing 84:17      35:14,14,14,22    safety 61:23
  55:12 67:15       87:20              revival 79:3         35:25 36:11,14    save 79:8
  81:23           registered 10:18     rhyme 44:7           36:17,24,24       saw 80:25
racketeering 78:2   14:23 15:2,3       rid 35:23 74:1,2,3   37:4,7,9 38:11    saying 15:12
radar 68:5          22:14 32:2,4         74:9 84:19         38:19 39:20,23      19:20,21 21:18
raised 9:18 15:20   33:20 34:4         ridiculous 17:11     40:22 41:7 42:3     21:20 53:4
ran 25:8 82:23      36:16 43:13        ridiculously         42:3,15 43:4,11     61:14 78:2
random 2:15         63:9 64:2 65:18      17:21 86:22        43:11,12,21         80:16
  70:12             66:3,7 68:21       right 2:8 3:5,9,14   44:2 45:23 46:6   says 9:7 56:22
reach 91:8          69:20 72:8           3:16,16,16 4:4     46:12,17,20,20      69:21 77:21
reacted 82:1

                             Dickman Davenport, Inc
      214.855.5100          www.dickmandavenport.com                  800.445.9548
                                           APP734
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 735 of 971

                                                                                                104
                         Scientific Proof - April 3, 2021

scare 53:10           shame 75:22          size 28:17 74:16    start 80:10 91:3      77:3
scariest 75:10          86:10              small 17:21 71:16   started 34:23       sudden 2:16 17:7
scary 46:9            shape 20:12            71:18               52:3              sue 53:10 77:25
school 3:12 59:23       34:16,19,20        Smartmatic 41:6     starting 8:18       Suite 93:19
  67:15 68:6          Shapiro 67:14          44:8 53:8           36:6 45:1         suits 78:1
science 3:3           share 47:24          Smith 9:8,10,13     state 4:13 19:10    summer 56:10
scientific 1:13 3:4   shifted 34:20          11:19               19:13,21,22       Super 57:3,7
scientist 3:2           61:6               smooth 20:25          24:5,12 40:21     supercomputer
  16:12               shifting 62:17       social 53:25          40:23,24,24,25      27:7 28:5 42:7
seat 13:8 27:21       Shiva 45:16            55:20 57:17         58:12 74:10       supposed 15:13
  46:11               Shorthand 93:2         61:19 77:20         93:3                32:13
second 23:16            93:17              socialism 52:16     state's 91:9        suppress 68:5
Secretary 74:10       show 10:14 12:7        55:19             stated 31:20        suppression
see 2:11,23 3:19        18:8,25 22:9       solution 85:8       states 6:19,22        78:23
  3:23 4:2,24           42:19 43:1,6       somebody 53:4         23:1,14 38:2,18   supreme 44:21
  11:5,19 13:3,15       45:8 53:13           53:13 73:8          40:20 45:12         62:10
  13:24,25 14:9         77:12 80:18          77:11               62:14 74:22       sure 9:21 10:9
  17:17 19:9          showed 2:11 3:23     something's           79:17 80:7,21       35:3 74:23 89:1
  21:25 27:22           12:3 14:22           42:11,12            92:1                92:9
  29:18 41:12           16:23 43:10        sophisticated       statute 47:12       surprised 19:1
  42:22 46:1,5          45:16 65:7           18:25             stayed 68:5 80:22     27:4,5
  49:13,14,17         showing 13:16        sorry 10:15         staying 58:22       swing 10:25
  54:8 62:4 64:10       36:22 38:1         sorted 69:5         steal 38:7 48:7       38:18 40:21
  69:11 70:15           40:20              speak 39:15         step 23:21          sworn 48:5 66:19
  71:4,25 75:15       shown 15:9             42:10 48:19       steps 27:25
  76:4,11 82:19       shows 7:23 69:1      speaking 84:4       stole 88:14                  T
  84:11,14 86:10        70:22 77:12        speaks 3:20         stop 43:12 55:12    T 93:1,1
  87:25 89:25         shrink 32:17         special 3:12          55:13 61:15,16    ta- 85:7
seeing 27:6 44:15     shut 40:10             59:22 74:22         83:15             table 67:21
  44:16 60:4          side 12:11 85:14     speech 52:23,25     stopped 81:17       take 17:14 32:13
  71:22 85:23         sign 77:7              76:5 77:24        stops 65:7,10         45:21 48:13
seen 27:14,16         signature 74:17      spend 57:14         stress 44:5           51:5 54:7 77:24
  37:11 38:3          significant 7:20     spike 65:17         students 58:25        77:25 85:8 86:2
  44:11 60:5 62:3       7:22               spikes 72:4           59:18             takes 29:10,10
  62:15 63:23         similar 18:15        spilt 60:12         stuff 2:5 12:1,14     82:9,21
  90:8                simple 11:9 62:18    spread 45:8           12:18 29:16       talk 53:13,20
sense 15:23           single 19:21,25        47:24 55:13         46:23 48:9,14       77:9,24
separate 2:7            20:2 22:24,25      spreading 62:7        54:13 56:13,15    talked 57:20
September 59:5          43:18 92:2         spyware 12:13         66:21 75:9,10     talking 12:12
serious 57:16         sit 44:10 55:10        38:16 45:24         85:14,22 86:8       56:25 76:21
set 6:4,9 19:6,13     sit- 67:17             69:1              stupid 5:25 30:11     77:20
  21:20,23,25         sitting 54:25 55:6   squished 55:22      subtract 36:12      tangent 55:24
  22:3 39:8,10          67:20              stake 35:5          subtracted 36:6     tapes 83:19
  80:6 88:14 89:1     six 21:7,10,16       stand 42:5,7        succumbs 78:12      taste 75:14,14
shaded 24:23            44:20              Stark 22:7          Suck-a-Buck         teach 59:18,18


                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com                   800.445.9548
                                               APP735
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 736 of 971

                                                                                            105
                        Scientific Proof - April 3, 2021

teaching 3:11          39:11 42:17,20    track 50:16          20:16 23:17,23    voters 11:4 16:5
  58:24 59:7,15        54:2 55:9 58:14   tracking 42:13       25:17 33:10        31:3 33:5 43:13
  63:5                 59:13 63:21       traditional 67:17    44:17 89:21        63:9
team 75:25 76:1        68:20 76:24         81:8              underneath         votes 7:25 8:1
tech 60:12           think 8:14,15       traditionally        24:24              11:5 17:9 41:9
technology 29:11       16:5,8 18:10,10     84:11             understand 6:14     41:9,15,19
  52:9                 19:17 26:20       traffickers 77:14    27:5               56:11 67:23
tell 3:1 6:3,4 7:3     31:2 34:16,17       77:15             union 86:3          82:10,14 83:11
  35:7 37:25           34:22 43:13       trained 9:2         United 22:25        89:18
  47:25 48:18          50:3,15 55:20     transcribed 93:8     45:12 79:17       voting 7:6 56:6
  50:21,23 62:9        56:3 66:18 72:6   transcription        92:1
  62:12 74:6           80:5,7              1:12 93:4,11      unnatural 30:16           W
  75:23 77:4,6       thinking 27:6       trial 77:14         use 7:1 18:16,17  wait 8:5 9:15
  79:12 84:9 87:8      46:19 55:18       tried 83:23          18:21 19:4        36:22 37:2 44:8
  91:7               thou- 14:18         trillion 44:1        26:17 28:25       60:5 64:18,18
telling 13:22 22:6   thought 46:8        truck 70:10          40:25 52:25      walk 65:4
  38:14 39:2 86:1      63:2 83:23          82:14              59:18 60:23      want 2:11,11
tells 7:6 37:5       Thousands 32:4      Trump 38:15          89:7              4:22 7:10,18
  64:22              threaten 53:12        40:1 51:6 81:14   usually 7:8,16     11:3 17:2 22:9
terms 69:6             77:25               85:2 88:17                           24:12 26:22
Terri 93:2,16        Thur- 13:11         truth 62:4                  V          27:5,10 29:18
terrible 56:21       ticket 67:10,15     try 31:10 53:21     vaccine 53:19      31:9,10,18 34:6
terribly 2:17        tickets 24:14,19      61:10 86:8 89:8     54:7 76:14       34:6 37:25
test 72:23           till 50:24            91:8                77:22            40:20 44:10,10
testimony 66:19      tilted 85:20        try- 47:8           valid 11:18        44:14 45:9
Texas 40:25 93:3     time 5:4 7:1 8:9    trying 47:4         validated 74:17    48:17 50:21,22
  93:16,19             8:12 19:19        turn 11:7,14        Venezuela 52:3     56:9,9 57:14
tha- 32:9 68:15        22:23 37:17         43:15 57:15       video 93:4         62:4,4 68:16,17
thank 92:5,10,10       39:17 42:14       turned 16:2,24      virus 56:10        74:6 77:5,9
Thanks 92:15           43:24,25 44:1       17:9              volunteers 9:3     84:3,8
Thanksgiving           44:15,16,21       turnout 21:11       vote 7:8,8,9,12   wanted 2:7,8
  56:23                49:7,8 52:12        83:10,12            11:13 33:9       10:25 56:18
theoretical 10:8       55:12 57:15       turns 87:14           35:21 36:13     wants 73:20
  73:10,13,15          68:2,4 81:17      TV 77:12              43:16,19 51:4,5 wasn't 36:23 54:6
theory 9:24            91:1 92:11        TVs 57:6              52:16 67:24      61:1,2 81:16
thing 6:13 11:9      times 62:11         Twitter 76:13         68:1             84:5
  12:9 13:16         TinkerToy 48:2      two 4:2 30:3 35:5   voted 8:3,5,10    watched 27:11
  18:16 21:6 23:3    today 44:18           36:19,20,25         9:10 20:7 22:12  62:12,13,13
  23:16 39:7           55:20 74:8          37:2 58:14,20       31:25 33:7      watching 13:9
  43:19 51:3           77:10               59:12 60:4,5        52:14 66:6,12    28:25 30:2
  62:16,18 65:6      told 38:2 62:21       76:25 77:2 81:7     66:24 67:16      46:10,13 47:14
  68:8,24 73:16      tool 80:7                                 68:21 71:13     way 6:14 11:17
  74:22 75:4,23      top 19:5                    U             72:8 84:5,11     11:17 12:10
  86:1               total 36:6 71:4     U.S 59:10 69:23     voter 9:7,16       25:15 32:2
things 28:10 36:5    totals 88:22        Uh-huh 4:9            14:22 16:1 58:2  36:18 42:11


                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                             APP736
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 737 of 971

                                                                                          106
                       Scientific Proof - April 3, 2021

 48:12 50:12         85:18,19            28:14 38:10       80:3,9 81:1,2,5   151 69:8
 55:23 57:6         Wisconsin 45:18      41:11,20 43:7     81:9,11,15 82:2   16 38:24,25
 69:12 80:5,20       50:12,14,18,19      59:16 61:4        82:8 84:16,21     1600 8:25 72:23
 86:10 89:6          80:10,12,13,14      62:20 64:20       85:3,6,16 86:4    17 38:24,25
We'll 50:4 61:21     80:15,18,20,21      69:9 91:14,17     88:15 89:4        18 19:18
 89:2                81:1,3,7,7,25       92:8              90:15,22 91:5     18-year-olds
we're 2:9,9 40:14    82:7 91:7         write 83:6          92:14               35:24
 40:20 44:19        Wisconsin's        wrong 2:18 42:11 year 33:13 37:18     1996 3:11
 47:16,25 48:1,2     80:21               42:12             37:22             1st 12:23 29:3
 52:11,23 53:10     witnessed 83:19                      years 3:3 14:18
 53:11,11 54:13     woke 2:16                  X           32:25 60:6 61:6            2
 55:6,6,16 60:8     won 2:15 38:15     X 20:5              62:18 65:21       2 18:13,15 36:2
 74:9 75:23 76:6     38:22,23                            yep 5:12,14,16,18   2- 58:9,11
                                               Y                             20 69:13,15,17
 76:8 78:5,22,24    wonder 48:17                           9:19 14:13,16
 80:16 90:24,25     word 6:11 45:7,8   Y- 65:16            22:2,13,15 23:7     87:11
 91:3,8              53:17             yeah 5:5 12:2       35:25 36:4,4      20-some 34:1
we've 2:3 22:6      words 5:10 18:21     13:25 14:19       45:4 54:4 87:24   20-year-olds
 45:7,23 50:22       20:17 24:4 88:9     15:6 17:5 18:5    88:18,18            20:18
 62:15 68:25,25      89:16               22:9 24:16 25:6 York 82:15          2010 34:23,24
 69:3,4 82:20       work 5:20 8:18       25:10 28:19     YouTube 53:24         37:23,24 43:6
 84:18               12:11 13:13         29:4,4,20,22      76:25               59:10 60:6,8,19
week 2:3,4 82:9      23:24 46:22         30:12,16,23                           63:19,25 65:13
 82:16,22            50:25 69:3          31:1,16 33:6,17         Z             69:23 86:17
weeks 44:20         worked 12:17         34:13,13 36:20 Zuckerberg             88:14
 76:25 77:2          27:12 29:19         38:6,9 39:4,6     57:20 58:8 77:7   2020 33:15,16,16
welcome 2:10         56:13,16            40:5,5,7,9,12                         34:12 60:9,23
                                         42:18,21,21,24          0             61:6
 92:12              worker 57:12
went 2:18,18,21     working 3:13         45:4,15,19      0 25:24             2022 55:7
 8:18,24 23:10       47:2,7 50:12        46:15,15 47:20                      20th 47:10 86:2
                                         48:8 49:19,24           1
 30:24 31:6,14       57:12                                                   214 93:20
                                         50:1,20 53:2,15 1 25:18,21          25 62:11
 37:11,16 38:2      works 23:18 24:2                     1.000 26:2
 38:13 44:13         24:5 25:12          53:23 54:8,11                       2500-some 84:10
 54:14 55:18        world 26:21          54:15 55:8 56:5 10 14:17 60:6
                                         56:7,14,24 57:2   61:6 62:17 72:7           3
 65:20 67:4 70:3     44:20 46:8                          10-hour 2:6
 70:4 72:4           47:14,16,24         57:8,19,19,25                       3 36:2 40:10
                                         58:14,20,23     100 16:15 19:18     3,000 46:14
whistleblowers       52:5 54:18                            26:7 35:3 43:20
 12:14               55:23 75:9 79:8     60:2,2 61:3                         30 8:24 9:6 10:2
                                         66:20 67:19,22    44:4 45:24          10:5 72:15,16
wide 47:13 55:14     79:12 92:1                            86:16,16 88:1
 62:7               worried 46:3,4       67:25 68:7,9,11                       81:18
widespread 4:12      79:13,13            69:16,24 70:2,2 101 93:19           30-year-olds
wiggles 17:18       worst 82:21          70:9,17 71:8,14 11,000 14:18          20:20
                                         74:5,13 75:17   12 41:15,21         300 58:9,11
WikiLeaks 48:2      would've 51:9                        14 25:9
win 11:3 22:1       wouldn't 34:14       75:20 76:8,10                       312 93:18
                                         76:15,19 77:1   15 69:14            32 10:3,4,5
 82:19               74:24                               15,000 67:16
wins 48:19 51:6     wow 13:13 25:3       77:16 79:9,15                       3rd 8:7
                                         79:19,19,20     150 33:21 61:25

                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                800.445.9548
                                           APP737
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 738 of 971

                                                                          107
                       Scientific Proof - April 3, 2021

        4           7th 21:11
4 35:9 36:6,12
                            8
  43:23
40 3:3 20:21        8 38:22
400 65:22           80 15:13 38:15
4228 93:18            40:4 88:22
4th 2:16 49:17      82 19:18 21:7
  80:22             855-5100 93:20
                    86 17:15 18:10
        5           88 18:3,4 25:12
5 41:19               25:13
5,000 87:15
                             9
50 65:21 69:10
  87:11             9-0 44:22
50-year-olds        90 65:8,11
  65:22             90-some 50:15
50,000 48:5 66:18   90s 3:10
500 84:10           95 15:16,17
550,000 36:13       99 69:15
57 41:8             99.9 88:3
57,000 41:9         999 30:9 86:16
5th 12:23 29:3
  77:6
        6
60 3:3 14:18
64 33:25 69:6
6581 93:17
66 38:15 88:23
68 40:3
6th 21:5,6 47:5
        7
7 38:22
7-31-25 93:20
7,000 67:23
70 67:18,21 81:8
70-some-thous...
  76:12
70-year-old
  19:21
70-year-olds 72:6
  72:7
75 41:18 81:13
75206 93:19


                                 Dickman Davenport, Inc
      214.855.5100              www.dickmandavenport.com   800.445.9548
                                         APP738
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 739 of 971




      Exhibit A-19




                             APP739
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 740 of 971

                                                                             1
                          Absolute Interference


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12    CERTIFIED TRANSCRIPTION OF
13       ABSOLUTE INTERFERENCE
14

15

16

17

18

19

20

21

22

23

24

25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP740
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 741 of 971

                                                                             2
                          Absolute Interference


1                      (Recording begins.)
2                      UNIDENTIFIED SPEAKER:         WVW Broadcast
3     Network is pleased to present the Mike Lindell
4     DocuMovie, Absolute Interference, scientific and
5     national intelligence proof that enemies, foreign and
6     domestic, used computers to hack the 2020 election.                The
7     Mike Lindell DocuMovie, Absolute Proof, was seen by 70
8     million in the first four days and 150 million in the
9     first four weeks.
10                     Mike Lindell has absolute proof that the
11    largest cyber crime in world history occurred through
12    absolute interference.        And now, here is your host, Mike
13    Lindell.
14                     MR. LINDELL:      Hello, everyone.       The last
15    time I was in this studio, we were filming Absolute
16    Truth.   I want to give you an update on that.              It has
17    now been seen by over 150 million people around the
18    world.   And when that launched, I want to bring you up
19    to date on that.      When we -- all the way up to
20    February 5th -- all the way up to the 4th --
21                     I give everyone, all the media, my phone
22    number, my direct phone number, not using any PR firm.
23    I like to talk to them direct.          And these are all your
24    media, from the -- from CNNs to your Foxes to the New
25    York Times, the Washington Post, all of them, USA Today,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP741
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 742 of 971

                                                                             3
                          Absolute Interference


 1    ABC, NBC, CBS, they all have my direct number.
 2                    Well, you mean until the 4th, every single
 3    day, from morning till night, they called up.             Hey,
 4    Mike, you know, they -- you lost your Twitter, you lost
 5    your My Pillows Twitter, they're boycotting you,
 6    they're -- your retailers are leaving, all these things.
 7    And -- and I kept telling them, you know what, the --
 8    and the reason they're doing that is because I have
 9    proof, 100 percent proof that our country was attacked
10    by China, by communism coming in, this foreign
11    interference to our elections through the machines,
12    Dominion, Smartmatic, ES&S, all of them.
13                    So every day, they're mocking me in the
14    news, they're mocking me on late night T.V.            Jimmy
15    Kimmell, he was great at, you know, making fun of the
16    evidence, con- -- you know, it's conspiracy, conspiracy,
17    Mike Lindell's nuts, all these things.
18                    Well, I kept telling them, on February 5th,
19    we're going to launch -- we're going to show you all the
20    evidence in this -- in this documentary called Absolute
21    Proof.    I told all the media that.        Well, here's what
22    came.    On February 5th, when I left this studio that
23    morning and this launched at 9:00 a.m. on February 5th,
24    here's what happened.       First of all, crickets.        No -- no
25    media called me, they didn't call, they didn't write,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP742
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 743 of 971

                                                                             4
                          Absolute Interference


 1    nothing.
 2                     But here's what did happen.         This started
 3    o- -- it opened up.      Vimeo took it down, YouTube took it
 4    down.   This is within the first couple hours.            50,000
 5    people a minute were watching in to come in and see this
 6    evidence.    50,000 people a minute.
 7                     Then it goes up on Facebook, and what does
 8    Facebook do?     They put a sign over it, it says,
 9    "contains nudity and profanity."         They did this big
10    attack on this evidence.       And none of them -- none of
11    them out there said, Oh, this -- you know, this isn't
12    true or this isn't true.       They just completely didn't
13    show it.    They didn't talk about it.
14                     But we all seen it.       Every one of you out
15    there seen it.     What we're doing tonight, we're going
16    to -- we have another two-hour documentary here, and
17    this is going to show us.        So far, what we did, we
18    validated what you seen before, the cyberattack, the IP
19    addresses, the I- -- IDs of the computers.            But tonight,
20    I, for the first time, am going to see stuff that I've
21    heard is the most amazing evidence to add on to what we
22    already have, the 100 percent proof times two.             It's
23    going to be a great, great, great two hours, and I can't
24    wait to get started.
25                     Hello, everyone.      Well, now we have General




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP743
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 744 of 971

                                                                             5
                          Absolute Interference


1     Mike Flynn, a hero in our country, and another divine
2     appointment where I actually met him in January for the
3     first time.    And you know, as you all know, I got my
4     evidence, I got the first piece of evidence, that new
5     evidence on January 9th where I went all in against
6     these machines and this foreign takeover and everything
7     we had in Absolute Proof.
8                      And now here in this one, I wanted the
9     general to come in because he knows a lot more and it
10    started a lot earlier for you.
11                     GENERAL FLYNN:       Yeah.    Yeah.
12                     MR. LINDELL:      And thanks for being here.
13                     GENERAL FLYNN:       Yeah.    Well, Mike, you
14    know, thanks for having me.         And Absolute Proof was --
15    or Absolute Truth was an unbelievable show that -- that
16    came up and at the right time.          And -- and what I would
17    just offer on foreign interference, foreign interference
18    in our -- in U.S. elections goes all the way back go the
19    founding of this country.         And without belaboring all
20    the history of it, one of the things that we learned
21    right after the -- the 3 November election, we had in
22    individual who was -- participated in the Venezuela
23    election, and this is where the -- the -- the Dominion
24    machines first popped up.
25                     MR. LINDELL:      That was with Smartmatic,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP744
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 745 of 971

                                                                             6
                          Absolute Interference


 1    right, kind of birth of --
 2                    GENERAL FLYNN:      The Smartmatic and -- and
 3    Dominion --
 4                    MR. LINDELL:      The birth of the machines,
 5    everybody.
 6                    GENERAL FLYNN:      -- that's right.       That's
 7    right.   So -- you know, and -- and we'll talk about the
 8    different machines that are used, Dominion, Hart is
 9    another one, ES&S is another one.          But these machines
10    that -- that we have applied to our -- our election
11    system in our country, so what we have is we have this
12    individual and we knew all of this before you even --
13    before we -- we met --
14                    MR. LINDELL:      Right, met, right, right.
15                    GENERAL FLYNN:      -- and before we started to
16    talk about all this.
17                    We're following not just the foreign side
18    of it, but how were they working with people inside of
19    our own system too --
20                    MR. LINDELL:      Right.
21                    GENERAL FLYNN:      -- inside of the election
22    process in the various counties.
23                    MR. LINDELL:      So the -- so the cheating
24    over the decades and centuries that's gone in our
25    election --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP745
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 746 of 971

                                                                             7
                          Absolute Interference


 1                     GENERAL FLYNN:     I mean, they --
 2                     MR. LINDELL:     -- we just graduated now to
 3    where it's high-tech.
 4                     GENERAL FLYNN:     To it's high-tech.       So what
 5    we always had was we always had pressure from foreign
 6    influences, foreign interference from different
 7    countries.    Back in the beginning of this country, it
 8    was Great Britain and -- and France.          It's just migrated
 9    to countries like China, Russia, Iran, Venezuela, North
10    Korea.   And these are all countries that have had some
11    play in our election processes for the last -- probably
12    for the last decade.
13                     MR. LINDELL:     Right.
14                     GENERAL FLYNN:     We -- we've migrated from
15    people going in and voting by hand -- by raising their
16    hands to paper ballots.       Now we're into the 21st century
17    and we have these machines.
18                     MR. LINDELL:     Right.
19                     UNIDENTIFIED SPEAKER:       This inspired
20    (inaudible) and the organizers of this year's DEF CON
21    Hacking Conference to collect over 30 pieces of
22    voting-related equipment, including voting machines, in
23    a mock elections office and tell a group of hackers to
24    try any means necessary to break into and reverse
25    engineer them.     And it didn't take long.        Several were




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP746
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 747 of 971

                                                                             8
                          Absolute Interference


 1    compromised within the first hour and a half.
 2                     UNIDENTIFIED SPEAKER:       So if you're a voter
 3    in America, we're likely hacking the machine that you
 4    vote on.     There's a few dozen of these machines and also
 5    electronic poll books.       In some states, people check in
 6    on an electronic device as opposed to a paper book.
 7                     UNIDENTIFIED SPEAKER:       Do you think that
 8    (inaudible), real criminals, have -- already have an
 9    idea of some of the vulnerabilities that are being
10    discovered today?
11                     UNIDENTIFIED SPEAKER:       Absolutely.     It's
12    all documented.     It's in public documents.         It's not
13    hiding anywhere.     You can go actually to Secretary of
14    State websites and download and learn hundreds and
15    hundreds of vulnerabilities.
16                     UNIDENTIFIED SPEAKER:       By the end of the
17    weekend, all of the available machines had been hacked
18    successfully.
19                     Do you believe that right now, we are in a
20    position where the 2020 election will be hacked?
21                     UNIDENTIFIED SPEAKER:       Oh, without
22    question.     I mean, the 2020 election will be hacked no
23    matter what we do, even if we're as -- more successful
24    that I even think we could be in -- in securing our
25    elections.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP747
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 748 of 971

                                                                             9
                          Absolute Interference


 1                    GENERAL FLYNN:      And these machines, what we
 2    do know, one of the things that we do know for certain
 3    is that the machines are connected to the internet.              And
 4    most people -- most people in this country, when you go
 5    in to vote, you're -- in fact, I believe everything that
 6    we discovered, none of those machines are supposed to be
 7    connected to the internet, none of them.
 8                    You're supposed to go in, take your piece
 9    of paper, put it in there.        You know, you -- you vote
10    and it's counted and it's -- and it's a legitimate free,
11    fair and -- and transparent count.          And what we've
12    learned is that because they're connected to the
13    internet, we have all these paths, these electronic
14    pathways or these electronic roads that lead from that
15    machine where that individual voted, where a U.S.
16    citizen voted, and it goes back into these IP addresses.
17                    And all an IP address is, it's a -- it's
18    like a roadway, it's an electronic highway, and it goes
19    back into another country.
20                    MR. LINDELL:      Right.
21                    GENERAL FLYNN:      It goes back into -- we
22    know, because the FBI and -- and the -- and the cyber
23    arm of the Department of Homeland Security, CISA,
24    which -- which some people learned about during the
25    postelection process, they basically gave alerts out on




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP748
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 749 of 971

                                                                             10
                          Absolute Interference


 1    the -- I think it was the 28th of October, prior to the
 2    election, and on the Election Day, the 3rd of November,
 3    and they alerted us that Iran was -- was interfering in
 4    our elections.
 5                     On those two days alone, one was a couple
 6    of days prior and one was on the day of the election.
 7    So our FBI and CISA, the cyber arm of the Department of
 8    Homeland Security --
 9                     MR. LINDELL:     Right.
10                     GENERAL FLYNN:     Yeah, they gave out these
11    alerts and they said, Hey, Iran is interfering in our
12    election process.     Most people don't know that.
13                     MR. LINDELL:     Because they could see the
14    cyberattack or --
15                     GENERAL FLYNN:     So when -- yeah.
16                     MR. LINDELL:     -- they could see the attack?
17                     GENERAL FLYNN:     They can -- they can see
18    the -- the -- the actual -- you know, the actual digital
19    fingerprint, or digital --
20                     MR. LINDELL:     Right.
21                     GENERAL FLYNN:     -- footprint, if you will.
22                     MR. LINDELL:     It's that cyber --
23                     GENERAL FLYNN:     Right.
24                     MR. LINDELL:     It's that spyware we've
25    talked about --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP749
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 750 of 971

                                                                             11
                          Absolute Interference


 1                    GENERAL FLYNN:      Right.
 2                    MR. LINDELL:      -- in our -- in Absolute
 3    Proof in the --
 4                    GENERAL FLYNN:      Exactly.     Exactly.
 5                    MR. LINDELL:      And -- and one of the things,
 6    too.   And then -- and then we found out in Absolute
 7    Proof, like 60 percent of the attacks came from China --
 8                    GENERAL FLYNN:      Yeah.
 9                    MR. LINDELL:      -- the IP addresses.
10                    GENERAL FLYNN:      So -- so when you start to
11    talk about the foreign interference, now what you have
12    to understand is, who are these groups of countries that
13    are working together to interfere in our elections?
14    They do not do it one off.        Like, Iran is not on its own
15    doing it, Russia's not on its own doing it, Venezuela's
16    not on its own and neither is China.          The big -- the big
17    sort of gorilla in the room is China.
18                    MS. LOFGREN:      Many have concerns about
19    voting systems with remote access software, and I think
20    we want to make sure that companies no longer sell
21    voting machines that have network capabilities.             We need
22    also to understand supply chains.          In December 2019, a
23    study released by Interos, a supply chain monitoring
24    company, showed that one-fifth, or 20 percent of the
25    components in a popular voting machine came from




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP750
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 751 of 971

                                                                             12
                          Absolute Interference


 1    China-based companies.
 2                    Furthermore, close to two-thirds, or
 3    actually 59 percent of suppliers within that machine's
 4    supply chain had locations in either China or Russia.
 5                    GENERAL FLYNN:      China is clearly -- I mean,
 6    everything that we've learned about the ownership of
 7    some of these machines --
 8                    MR. LINDELL:      Uh-huh, right, right.
 9                    GENERAL FLYNN:      -- some of these companies
10    to -- to how they're actually operating inside of this
11    country and then all of the things that we've learned
12    about cyber warfare and information warfare over the
13    last couple of decades, particularly as it relates to
14    China, the theft of various databases and everything
15    that we represent in our digital life, pretty much the
16    Chinese have stolen that information.
17                    MR. LINDELL:      Well, and --
18                    GENERAL FLYNN:      So now you take it to the
19    elections --
20                    MR. LINDELL:      Right.
21                    GENERAL FLYNN:      -- you take it to the
22    elections and you look at the -- the machinery that we
23    are using in our election process, which, you know, I
24    don't know how we're going to go forward as a nation and
25    continue to use these machines, knowing that what we




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP751
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 752 of 971

                                                                             13
                          Absolute Interference


 1    just went through was really a -- a false election.              It
 2    was a false election.       When -- when -- and I know that
 3    some of the states that we looked at, some of the
 4    contracts that we looked at, they -- machines are not
 5    supposed to be connected to the internet.
 6                    MR. LINDELL:      Right, right.
 7                    GENERAL FLYNN:      They're supposed to be free
 8    of the internet.     Well, if it's connected to the
 9    internet, that means that anybody in any country -- and
10    I can name some of the countries.
11                    MR. LINDELL:      Right.
12                    GENERAL FLYNN:      So we know China, we know
13    Iran, we know Spain had something to do with it, we know
14    Serbia, we -- we're -- we've had Italy come up, we've
15    had Germany come up.      I mean, so these are just --
16                    MR. LINDELL:      What --
17                    GENERAL FLYNN:      And -- and, of course,
18    Russia.
19                    UNIDENTIFIED SPEAKER:        Many of the states
20    of these United States still use outdated, easy-to-hack
21    voting machines.
22                    MR. HALDERMAN:      In every single case where
23    a U.S. voting machine has been analyzed by -- by
24    competent security researchers, they've found
25    vulnerabilities that would let someone inject malicious




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP752
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 753 of 971

                                                                             14
                          Absolute Interference


 1    software and change election data.          Every single case.
 2                    UNIDENTIFIED SPEAKER:        That's Professor J.
 3    Alex Halderman from the University of Michigan.             He's
 4    one of the world's leading specialists in voting
 5    systems.   He's helped Congress draft legislation on how
 6    to beef up election security.         But if the machines
 7    aren't actually online when you vote, there's no way to
 8    hack them, right?
 9                    MR. HALDERMAN:      This is something that you
10    hear all the time in the U.S. from election officials.
11    Unfortunately, it's not actually true.           Those election
12    management system workstations sometimes are connected
13    to the internet, or they're -- or the data that's
14    programmed into them passes through an internet
15    connected system.     So we're just one or two hops away
16    from an online attacker.
17                    I -- I think we need to worry very much in
18    2020 about not only Russia, but Iran, China, North Korea
19    and -- and other countries that have sophisticated
20    cybersecurity offensive capabilities.
21                    GENERAL FLYNN:      Most people won't see it in
22    the regular media in this country, but New Hampshire as
23    an example.
24                    MR. LINDELL:      Yeah.
25                    GENERAL FLYNN:      So New Hampshire, what --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP753
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 754 of 971

                                                                             15
                          Absolute Interference


 1    one of things that they learned up in New Hampshire is
 2    that in a parti- -- in one particular district, I guess,
 3    or certainly a -- one of the counties up there, all of
 4    the machines started the day with 300 votes already in
 5    the algorithm or already in the machine counted for --
 6    for -- for Joe Biden.       300 votes already before anybody
 7    even turned the thing on.        So when they turned them on,
 8    300 votes.    We know that in New Hampshire right now.
 9    That's being in- -- invested and I -- and I appreciate
10    the people of New Hampshire doing that.
11                    In -- in -- I think it's District 20 or 22,
12    Claudia Tenney out of New York, well, she didn't concede
13    her race, and I think that they did three canvassings,
14    she continued to win each canvassing, and lo and behold,
15    in her election runoff, in her election race where she
16    won, and now she's a -- she's a Congresswoman from New
17    York, her problem there was also the machines and the
18    machines not operating properly and to disadvantage her.
19                    And now the -- the -- the defense against
20    her, or the people that are attacking her are saying,
21    Well, it's -- you know, the machines are the ones that
22    gave you the race.      So you can't have your cake and eat
23    it too.   We know -- we know from other -- other
24    information that we have, that in other states -- and
25    this information's going to come out.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP754
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 755 of 971

                                                                             16
                          Absolute Interference


1                      MR. LINDELL:      Right.
2                      GENERAL FLYNN:       In other states with these
3     algorithms and -- even the word algorithm, you know, is
4     too many syllables for most people to understand.                But
5     essentially, what it is, it's a way to manipulate the
6     data in one of these computers, one of these phones or
7     one of these machines that they use.
8                      Basically, you can set the machines for a
9     certain amount of -- amount of votes already so when
10    they come in at -- at 6 o'clock in the morning or
11    7 o'clock in the morning on the 3rd of November and they
12    turn the machine on, it automatically has a number
13    that -- that is for the -- for the guy that they want to
14    win.   And in this case, we know of one particular state
15    where we're looking at it, and we think that the -- that
16    the machines were all set at 35,000, Mike.
17                     MR. LINDELL:      It is, yes.      Yeah.
18                     GENERAL FLYNN:       35,000.
19                     MR. LINDELL:      We won't name no states, but
20    Arizona.
21                     GENERAL FLYNN:       Yeah.    But they're going
22    to -- it's going to come out.
23                     MR. LINDELL:      And it's going to come out.
24    And this is all -- and that's just another way that we
25    can cheat with these machines.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP755
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 756 of 971

                                                                             17
                          Absolute Interference


1                      GENERAL FLYNN:       Right.
2                      MR. LINDELL:      There's actually four ways,
3     maybe even more we don't know about, but these are all
4     the --
5                      GENERAL FLYNN:       Right.
6                      MR. LINDELL:      -- online ways.
7                      And you know, we -- we were talking
8     earlier.    If y'all -- if you watched the movie -- I --
9     someone said, Mike, you've got to watch the movie, Kill
10    Chain.
11                     GENERAL FLYNN:       Right.
12                     MR. LINDELL:      So I watched this movie and
13    I'm going, what?      It was a -- like a year ago, it came
14    out on HBO, and my own senator, Amy Klobuchar, Democrat,
15    she's in the movie --
16                     GENERAL FLYNN:       Yeah.
17                     MR. LINDELL:      -- saying we should never
18    have these machines.
19                     GENERAL FLYNN:       Right.
20                     MS. KLOBUCHAR:       We're very concerned
21    because there's only three companies.            You could easily
22    hack into them.      It makes it seem like all these states
23    are doing different things, but, in fact, three
24    companies are controlling this.
25                     UNIDENTIFIED SPEAKER:         We don't know




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP756
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 757 of 971

                                                                             18
                          Absolute Interference


 1    anything about how they organize themselves and how
 2    their software works because it's all proprietary.
 3                    MR. DANIEL:      The degree to which the voting
 4    machine companies will say, "we got this," that's almost
 5    always a warning sign for anybody in the cybersecurity
 6    business because unless they are really, truly skilled
 7    and have been doing cybersecurity as their main business
 8    for a long time, they usually don't got this.
 9                    MR. BRAUN:     Unlike Microsoft, who's
10    actually very transparent about their security issues
11    and they have hackers routinely come in and hack them
12    and then they make their vulnerabilities public
13    information in most cases, the voting machine vendors
14    are the opposite of that.
15                    MR. STAUFFER:      What I have found,
16    especially in the voting system arena, is that
17    security's not really taken very seriously.            We hosted a
18    testing plan with the California Secretary of State's
19    office, saying we were going to do X, Y and Z.             And they
20    approved that plan, and so we started that plan of
21    testing.   And what we found is just -- it's -- it's
22    staggering.    There were multiple vulnerabilities that
23    could allow an attacker to get the highest level of
24    privilege or the highest level of -- of rights and then
25    gain remote access into the -- the system and do what




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP757
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 758 of 971

                                                                             19
                          Absolute Interference


1     you want to do, whe- -- whether it's change an election
2     or shut the system down.
3                      And when ES&S discovered that we were not
4     using their testing plans, they were appalled.               When we
5     used our own testing plan and found these
6     vulnerabilities, they pretty much told us that they had
7     their own team and that they were not interested.
8                      The fact that we had vendors that say "you
9     cannot look at our code" is the first problem.               And in
10    2014, we evaluated Dominion's Democracy Suite.               We found
11    a number of vulnerabilities.          The same thing that --
12    with ES&S.    We found multiple operating system patches
13    missing.    And essentially what that means is an attacker
14    can inject code into that system, execute that with a
15    possibility of receiving some sort of control.
16                     If I can get on that system, if I can get
17    access to the ba- -- database and if I can change the
18    elections, change an election for a city, for -- for a
19    county, for a state, however.
20                     How can a vendor sell a voting system with
21    this many vulnerabilities?         And I just -- I -- I can't
22    find a straight answer.
23                     GENERAL FLYNN:       Amy Klobuchar's in there,
24    Senator Blumenthal, I think is the other senator in
25    there.   And if you watch Kill Chain, which is before




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP758
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 759 of 971

                                                                             20
                          Absolute Interference


 1    this happened, over a year ago, before the -- the 3
 2    November election, these Democratic senators are talking
 3    about the machines and how corrupt they are, and that we
 4    shouldn't count on these machines --
 5                    MR. LINDELL:      Right, right.
 6                    GENERAL FLYNN:      -- to actually function
 7    properly during our federal elections.
 8                    UNIDENTIFIED SPEAKER:        Voting is our
 9    capability to have a peaceful transfer of power.             If you
10    don't have that, the alternatives are revolutions.
11                    UNIDENTIFIED SPEAKER:        We call them voting
12    machines, but they're nothing more than obsolete
13    computers.
14                    UNIDENTIFIED SPEAKER:        2002 is when they
15    put them in service.
16                    UNIDENTIFIED SPEAKER:        A commonly used
17    argument, they are never connected to internet.
18                    MR. HICKS:     No voting machines are
19    connected to the internet.
20                    MR. COMEY:     Not connected to the internet.
21                    MR. HAAS:     Not connected to the internet
22    and therefore cannot be attacked.
23                    UNIDENTIFIED SPEAKER:        Oh.   It wants to go
24    to internet.    That's very nice.
25                    MS. NIELSEN:      In 2016, we know that Russian




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP759
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 760 of 971

                                                                             21
                          Absolute Interference


 1    actors targeted state election systems.
 2                    UNIDENTIFIED SPEAKER:        When people say "no
 3    votes were changed," it misses the point.
 4                    UNIDENTIFIED SPEAKER:        Imagine you go in
 5    and flip the digits of everybody's address.
 6                    UNIDENTIFIED SPEAKER:        When you prevent
 7    people from casting a ballot, you've hacked an election.
 8                    UNIDENTIFIED SPEAKER:        We may be buying the
 9    world's best 20th century military when the battlefront
10    is election security.
11                    UNIDENTIFIED SPEAKER:        I had full access.
12    I could have changed any vote.
13                    UNIDENTIFIED SPEAKER:        It's called a kill
14    chain.
15                    UNIDENTIFIED SPEAKER:        (Inaudible),
16    paralyzation.    When the governments cannot take action,
17    that's when you finish the target.
18                    UNIDENTIFIED SPEAKER:        How confident are
19    you that the 2018 midterm elections are going to be
20    legitimate.
21                    MS. KLOBUCHAR:      I'm very concerned that you
22    could have a hack that finally went through.            You have
23    21 states that were hacked into.         They didn't find out
24    about it for a year, and the's one of the reasons that
25    we want to pass our bill so that -- that there's now a




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP760
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 761 of 971

                                                                             22
                          Absolute Interference


 1    requirement that they tell the individual Secretary of
 2    States immediately so they can protect themselves.
 3                     GENERAL FLYNN:     So they were concerned and
 4    they were saying it because -- and the reason -- the
 5    reason why Kill Chain was even done was because of all
 6    of the noise about Russian interference in the 2016
 7    election.   So as they looked at this and they looked at
 8    foreign interference, which is rampant --
 9                     MR. LINDELL:     Right.
10                     GENERAL FLYNN:     -- foreign interference has
11    happened in our country for -- for decades, as I
12    mentioned, and it's been going on forever.            We are now
13    just in a much more sophisticated means by which they
14    can interfere, and that's with these machines.             And --
15    and so we can't --
16                     MR. LINDELL:     And that's what they --
17                     GENERAL FLYNN:     -- count on --
18                     MR. LINDELL:     Right.
19                     GENERAL FLYNN:     That's what they were
20    arguing about.
21                     MR. LINDELL:     That's what they were
22    concerned about it.
23                     GENERAL FLYNN:     Yeah.
24                     MR. LINDELL:     So here we have -- we have
25    Democrats concerned a year ago.         They were concerned




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP761
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 762 of 971

                                                                             23
                          Absolute Interference


1     that it would happen to them --
2                      GENERAL FLYNN:       Right.
3                      MR. LINDELL:      -- you know, in --
4                      GENERAL FLYNN:       In the 2020 election.
5                      MR. LINDELL:      And -- and -- and here's
6     what -- here's what I want to say.             Right now, it
7     doesn't matter if you're a Democrat or a Republican.
8     These machines and this attack by China and other
9     countries on our country, this is everybody's concern.
10    If we don't -- if this doesn't get changed now, it's
11    over.
12                     GENERAL FLYNN:       We are at a transition
13    point in this country where we're sitting here after
14    this 3rd of November election, and here we are, you
15    know, in -- in March of 2021, and we're facing this sort
16    of divergence for our nation.          Either we're going to
17    continue down the path of being a constitutional
18    republic, or we're going to continue down the -- dow- --
19    toward this path of being a Marxist, socialist country.
20    And -- and I think that what we have to do, Mike, is we
21    have to really resolve this 3rd of November.
22                     MR. LINDELL:      No, and -- right.        And so
23    what we're going to do, just so everybody knows, in the
24    next six weeks, we're pushing out -- just like this
25    documentary you're watching right now, we're going to




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP762
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 763 of 971

                                                                             24
                          Absolute Interference


1     dump this out.     The new social media platform I have up
2     to fight -- right now, our institutional rights are just
3     getting -- our civil rights -- No. 1, the First
4     Amendment, the right to free speech --
5                      GENERAL FLYNN:       Right.
6                      MR. LINDELL:      -- that's the first thing
7     they've done is taken that way from all of us.               Nobody's
8     hearing about -- but we're going to do an evidence dump,
9     just dump it all out there.
10                     GENERAL FLYNN:       Let the (inaudible) --
11                     MR. LINDELL:      I believe that it's going to
12    get -- when it gets to the Supreme Court, they're going
13    to look at it this time because everybody -- they all
14    probably watched all this stuff over and over again.
15    And they all -- they -- I'm giving them every reason.
16    They can't say no (inaudible).
17                     GENERAL FLYNN:       I mean, we're kidding
18    ourselves on -- on -- on these machines in our -- in our
19    election process.      And for anybody in this country that
20    stands here and tells you, 0h, this is all a conspiracy
21    theory, how many times have we heard the United States
22    Government say we've been cyberhacked by the Chinese or
23    by the North Koreans --
24                     MR. LINDELL:      Right.
25                     GENERAL FLYNN:       -- or by Russia.       I mean,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP763
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 764 of 971

                                                                             25
                          Absolute Interference


1     we have big -- you know, the -- the -- the big U.S.
2     intelligence community with their intelligence community
3     assessments, the Senate select committee on
4     intelligence, the house select committee on
5     intelligence, the -- the reports that they've come out
6     year in and year out about hacking and about foreign
7     interference in our elections, we have reports in 2017,
8     2018, 2019 and the summer of 2020 that led us to what we
9     know to be true, which is --
10                     MR. LINDELL:      Right.
11                     GENERAL FLYNN:       -- we know foreign
12    interference is going to occur in our elections.
13                     MR. LINDELL:      Right.
14                     GENERAL FLYNN:       And so knowing all that,
15    Kill Chain, as you mentioned --
16                     MR. LINDELL:      Right.
17                     GENERAL FLYNN:       -- you had the Democrats
18    come out --
19                     MR. LINDELL:      Yeah.
20                     GENERAL FLYNN:       -- and they were all
21    worried about --
22                     MR. LINDELL:      Right.
23                     GENERAL FLYNN:       -- the machines in the --
24    in the -- in the --
25                     MR. LINDELL:      Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP764
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 765 of 971

                                                                             26
                          Absolute Interference


1                      GENERAL FLYNN:       -- the year leading up to
2     the --
3                      MR. LINDELL:      Right, right.
4                      GENERAL FLYNN:       -- 2020 election.
5                      And now, all of a sudden, when we find out
6     that the machines actually corrupted our -- our election
7     outcome in a -- in a massive way, everybody goes, Oh,
8     wait a second, there's nothing to see here --
9                      MR. LINDELL:      Because they've never
10    (inaudible) a certain party.
11                     GENERAL FLYNN:       -- that we never get
12    cyberattacked.     Right.
13                     MR. LINDELL:      Right.
14                     GENERAL FLYNN:       That's right.
15                     MR. LINDELL:      But -- but you know what,
16    here's what I say -- I want to say it again.              The
17    miracle -- I think it's a miracle where we're at right
18    now.   When we say we almost missed this, you -- you have
19    the first miracle that they out broke the algorithms
20    that night, because if it hadn't broke the machine
21    algorithms and Donald Trump getting more votes --
22                     GENERAL FLYNN:       Exactly.
23                     MR. LINDELL:      -- than they ever expected,
24    we would have all went to bed at 3:00 a.m., every state
25    would have turned in their number, we'd have said,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP765
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 766 of 971

                                                                             27
                          Absolute Interference


 1    Better luck next time.
 2                    GENERAL FLYNN:      Right.
 3                    MR. LINDELL:      You know, so instead, we
 4    open -- you know, we got to this point with all these
 5    machines, November 3rd passed, December 14th passed,
 6    January 6th passed, January 20 pa- -- March 4th passed.
 7    But you know what, I -- I look at it as a good thing.
 8    You know why?    Every single person in this country, my
 9    friends that are Democrats --
10                    GENERAL FLYNN:      Uh-huh.
11                    MR. LINDELL:      -- they're going, What is
12    this?
13                    GENERAL FLYNN:      Right.
14                    MR. LINDELL:      This is socialism that came
15    in and communism.
16                    GENERAL FLYNN:      Uh-huh.
17                    MR. LINDELL:      This isn't what they voted
18    for as being a Democrat, a traditional Democrat.
19                    GENERAL FLYNN:      Right.    Right.
20                    MR. LINDELL:      And I believe -- and you know
21    I believe this, we've talked.
22                    GENERAL FLYNN:      Yeah.
23                    MR. LINDELL:      I believe when this manifests
24    out, it's going to be the greatest uniting of this
25    country.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP766
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 767 of 971

                                                                             28
                          Absolute Interference


1                      GENERAL FLYNN:       Yeah.
2                      MR. LINDELL:      I don't care what party, I
3     don't care what people, and we're going to get back to a
4     time -- another thing that's come out of this is, all
5     the corruption has bubbled to the surface.              Whether
6     you're Republican, the crooked Republicans, like in --
7     in -- Brian Kemp --
8                      GENERAL FLYNN:       Right.
9                      MR. LINDELL:      -- and those people, Brad
10    Raffensperger, all these guys that bubbled up, senators
11    and Republicans and Democrats, all these people.                And
12    now -- what -- this is what I see -- I was never into
13    politics.    I didn't know anything about politics.              And
14    all of a sudden, now that I've been submersed in it for
15    four years and seeing all these -- meeting all these
16    people, what I found out is most of the politicians
17    either have a political agenda --
18                     GENERAL FLYNN:       Uh-huh.
19                     MR. LINDELL:      -- or a personal agenda or a
20    party agenda.     I mean, it's all --
21                     GENERAL FLYNN:       Or they're compromised.
22                     MR. LINDELL:      Or they're compri- -- that
23    was my next thing -- or they're comp- -- or blackmailed
24    somehow.
25                     GENERAL FLYNN:       Yeah.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP767
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 768 of 971

                                                                             29
                          Absolute Interference


 1                     MR. LINDELL:     So you have that.       And there
 2    were very few people that I found, one being Donald
 3    Trump --
 4                     GENERAL FLYNN:     Right.
 5                     MR. LINDELL:     -- that -- where he actually
 6    was for the people.      You're making decisions and
 7    ignoring all this noise and saying, Here's a problem,
 8    here's a solution.      But what will it manifest to help
 9    the people?    We're supposed to be a government for the
10    people.
11                     GENERAL FLYNN:     Right.
12                     MR. LINDELL:     And that's what we know -- we
13    talked about it.
14                     GENERAL FLYNN:     Well --
15                     MR. LINDELL:     You we start picking
16    politicians going forward, they better have an agenda to
17    help the people.
18                     GENERAL FLYNN:     Yeah.     I mean, they have to
19    be -- our -- our country -- you know, it was built on
20    individual liberties.       The Constitution is about
21    individual freedoms and choices.         I mean, that's what
22    it's about.    It's not about collectivism, it's not about
23    state control.
24                     So we -- we kid ourselves in this country
25    and -- and I think that this whole Kill Chain -- and




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP768
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 769 of 971

                                                                             30
                          Absolute Interference


 1    I -- and I -- and we've talked about that a few times in
 2    this -- in this show because people need to go and watch
 3    it to understand why we are making this argument now,
 4    because this has been going on for a while.
 5                    The Democrats -- and you're looking at a
 6    guy who stood with Donald Trump going into the campaign
 7    in 2016 as a Democrat.       I grew up as a lifelong
 8    Democrat, and I -- I've subsequently changed because --
 9    because it's never been about, as Mike talks about,
10    getting into politics, it's never been about politics,
11    it's been about the country and serving this country the
12    best that we can.
13                    And what I would say is that we are doing
14    our country a disservice if we don't get this thing
15    corrected and if we don't take a hard look of at what
16    happened on the 3rd of November.         If we don't do that,
17    folks, we are not going to have the country that we
18    believe we should have, which is a constitutional
19    republic, built on individual liberties.           We're going to
20    end up with a Marxist socialist country, and all of us
21    are going to wake up one of these days, and we're going
22    to be living in a -- in a police state.
23                    MR. LINDELL:      Absolutely.     And you know, in
24    Venezuela when we went back --
25                    GENERAL FLYNN:      Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP769
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 770 of 971

                                                                             31
                          Absolute Interference


 1                    MR. LINDELL:      -- and it started in
 2    Venezuela, didn't they flip that country in two years,
 3    right?
 4                    GENERAL FLYNN:      Right.     So that --
 5                    MR. LINDELL:      Take over.
 6                    GENERAL FLYNN:      But we -- what I learned
 7    almost right after the election when we started to
 8    really go, Okay.     Wait a second, what happened.          And we
 9    started to talk about how the machines really were
10    impacting as well as some of the other aspects of what
11    was done, really, from the 4th through the 7th of
12    November, we -- this -- this issue of Venezuela came up,
13    and we had the -- the opportunity to -- to -- to get
14    some feedback from one of the individuals who was in
15    Venezuela at the time who was working with the -- with
16    the Chavez government.
17                    And it actually caused -- they were able to
18    take the -- these machines that they had in Venezuela at
19    the time, to basically ensure that -- that Chavez won
20    the election, and then subsequent down the road, Maduro.
21    So -- so it was almost like the machinery was being
22    tested if you will --
23                    MR. LINDELL:      Absolutely.
24                    GENERAL FLYNN:      -- in another country to
25    kind of get a sense of can you actually do this --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP770
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 771 of 971

                                                                             32
                          Absolute Interference


 1                    MR. LINDELL:      Right.
 2                    GENERAL FLYNN:      -- and -- and work for
 3    them.   And one of the things and -- and -- and I don't
 4    know if -- if you can show it on this show, but
 5    certainly everybody needs to read Justice Clarence
 6    Thomas's Dissenting Opinion that he wrote because his
 7    Dissenting Opinion -- because of all of these cases
 8    that -- that doubled up to the U.S. Supreme Court,
 9    nobody looked at the evidence.
10                    MR. LINDELL:      Right.    Nobody -- nobody.
11                    GENERAL FLYNN:      No -- no judge --
12                    MR. LINDELL:      Zero.
13                    GENERAL FLYNN:      -- other than -- other than
14    one brave judge that I'm aware of up in -- up in
15    Michigan that looked at the actual evidence.            Even up to
16    the U.S. Supreme Court.
17                    So Justice Thomas's Dissent- -- Dissenting
18    Opinion, which is a -- which is a very historic read, he
19    essentially says, We are going to lose confidence in one
20    of the most precious institutions in our country, which
21    is our ability to conduct an election.           And so that
22    alone should scare every American citizen because --
23                    MR. LINDELL:      Right.
24                    GENERAL FLYNN:      -- if you have somebody
25    that looks at it like that -- because he's -- he's




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP771
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 772 of 971

                                                                             33
                          Absolute Interference


1     looking at the issues in play across the country because
2     he's smart enough to do that, and he's really one of the
3     only brave ones up there at the Supreme Court level
4     to -- to actually look at the system in place and say,
5     Wow, we've got a problem.         None of them looked at the
6     evidence and they didn't -- they didn't bother to do
7     that and that's a shame.
8                      So now what we have to do, is we've got to
9     get all this information out there.            Everything that we
10    know, all the things that I've talked about from -- from
11    what we know Venezuela did and what we learned from
12    Venezuela, what we know Iran did -- Iran was interfering
13    in our elections a couple of days prior and then the day
14    of the election.      We know from our own intelligence
15    assessments, we know from our -- from our congressional
16    inspections and investigations that they've done, we
17    have had massive foreign interference in our
18    elections --
19                     MR. LINDELL:      Right, right.
20                     GENERAL FLYNN:       -- for the last -- you
21    know, for the last ten years, certainly for the last
22    four years.    And they were all griping about it in 2016,
23    yet nobody wants to talk about it right now.
24                     MR. LINDELL:      When Brad Raffensperger and
25    the president were on the phone, I -- I -- I can't even




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP772
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 773 of 971

                                                                             34
                          Absolute Interference


1     believe that the logic where we're all li- -- we've all
2     been living in the twilight zone, this call where the
3     president says, Hey, you know, I -- and I don't know
4     about these exact numbers, but you have 8,000 dead
5     people that voted, 22,000 nonresidents, 8,000 minors,
6     10,000 non -- you know, people voted -- double-voted or
7     whatev- -- whatever it was.         He's got all these silos.
8                      He goes, We only lost by 11,730.            Can you
9     give us two of the columns and we win.             And -- and
10    what -- if you remember what Brad -- Brad said, he goes,
11    Well, those are the wrong numbers.             And the president
12    said, Well, where are the right numbers?             Or he said to
13    his person, he said --
14                     GENERAL FLYNN:       Right.
15                     MR. LINDELL:      -- or where do we get these
16    numbers, he said to his person.          His person said, Sir,
17    we got them from the Secretary of State's office.
18                     GENERAL FLYNN:       Exactly.
19                     MR. LINDELL:      And then what --
20                     GENERAL FLYNN:       Off their website.
21                     MR. LINDELL:      Yep, off their website.         And
22    then the president said, Well, when are we going to --
23    when are you going to give us the right numbers?                And he
24    didn't answer.     And the other person said, We've been
25    trying to get them for two months.             And you finally get




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP773
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 774 of 971

                                                                             35
                          Absolute Interference


1     Brad Raffensperger --
2                      GENERAL FLYNN:       Right.
3                      MR. LINDELL:      -- Raffensperger or --
4                      GENERAL FLYNN:       Right.
5                      MR. LINDELL:      -- whatever his name is, you
6     get him on -- up there on -- if I got him in a
7     courtroom, I'd say, Well, what were the real numbers
8     Brad?
9                      GENERAL FLYNN:       Right.
10                     MR. LINDELL:      You know, why wouldn't you
11    give the president of the United States the real
12    numbers?    I want -- I just want no one out there living
13    in fear anymore because --
14                     GENERAL FLYNN:       Right.
15                     MR. LINDELL:      -- that's what they want.
16    They want us to all live in fear --
17                     GENERAL FLYNN:       Yeah.
18                     MR. LINDELL:      -- the socialism, communism
19    coming in --
20                     GENERAL FLYNN:       Big time.
21                     MR. LINDELL:      -- cancer culture --
22                     GENERAL FLYNN:       Big time.
23                     MR. LINDELL:      -- keep the fear up.        Don't
24    live in fear.     We're in the greatest -- I said before,
25    these are the greatest times ever in history where we're




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP774
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 775 of 971

                                                                             36
                          Absolute Interference


 1    part of a thing -- like you just said, those two paths
 2    we can go.
 3                    GENERAL FLYNN:      Yeah.
 4                    MR. LINDELL:      Well, you know --
 5                    GENERAL FLYNN:      One is to continue on and
 6    be a constitutional republic or another is we're going
 7    to go the way of the wolves here and we're going to be a
 8    socialist --
 9                    MR. LINDELL:      And I --
10                    GENERAL FLYNN:      -- Marxist com- -- country.
11                    MR. LINDELL:      And I -- and I believe -- and
12    I believe we're going to be taking the right path --
13                    GENERAL FLYNN:      Yeah.
14                    MR. LINDELL:      -- and it's going to be the
15    greatest revival ever.       I use Proverbs 3:5, 6.        Trust in
16    the Lord with all your heart, lean not on your own
17    understandings.     In all ways, acknowledge Him and He
18    will guide your paths.
19                    GENERAL FLYNN:      Yeah.    Yep.
20                    MR. LINDELL:      And we're going down the
21    right path and it's going to -- it's going to all open
22    up and -- and it's going to be the greatest uniting
23    ever.   I really believe that.
24                    GENERAL FLYNN:      I -- I think that at the
25    end of this, as we go through this discovery of truth,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP775
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 776 of 971

                                                                             37
                          Absolute Interference


 1    which is really all we want --
 2                    MR. LINDELL:      Uh-huh.
 3                    GENERAL FLYNN:      -- that the -- the American
 4    public are going to realize just how great this country
 5    is again.
 6                    MR. LINDELL:      Uh-huh, yeah.
 7                    GENERAL FLYNN:      You know, when people start
 8    to say that there's an awakening going on, there's an
 9    awakening with -- with -- as Mike, you know, highlights
10    his faith and the faith that we have in our system and
11    in each other, what we need to have is we need to have
12    faith in the institutions of our country, particularly
13    our federal government.
14                    That faith in the -- in the institutions of
15    our country has broken down and it's broken down
16    primarily because of this election.          And we cannot have
17    this in this country.       So in order for us to renew that
18    faith, the faith that we have in -- in -- in God
19    Almighty and the faith that we have in the United States
20    of America as a great country, as the greatest country
21    on the planet in the history of the world, we have to
22    allow the truth to come out.        And trust me, folks, the
23    truth is going come out.
24                    And -- and I will say that -- and I forget
25    the particular date that he said it, but he gave a great




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP776
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 777 of 971

                                                                             38
                          Absolute Interference


 1    statement, and that was President Donald J. Trump while
 2    he was still in office, he made a statement, he said,
 3    essentially, If it was a fair game, I'm -- I'll be the
 4    first one to say I got it, you know, I -- I -- I worked
 5    hard to -- to win and I obviously didn't win.             But this
 6    wasn't a fair game.
 7                    MR. LINDELL:      Right.
 8                    GENERAL FLYNN:      It was not a fair game.
 9                    MR. LINDELL:      Right.
10                    GENERAL FLYNN:      And -- and the evolution of
11    our election system with this machinery that exists in
12    every single state, paid for by U.S. taxpayers, and --
13    and -- and now they're telling us that we can't look
14    inside of these things because --
15                    MR. LINDELL:      Now, that's --
16                    GENERAL FLYNN:      -- somebody's -- it's a
17    proprietary software.
18                    MR. LINDELL:      Yeah.
19                    GENERAL FLYNN:      Baloney.
20                    MR. LINDELL:      Yeah.
21                    GENERAL FLYNN:      No way in the world.        This
22    doesn't belong to Dominion, it doesn't belong to ES&S,
23    it doesn't belong to Hart.        It belongs to the American
24    citizenry of those particular states, because guess
25    what, folks, you're paying for it.          And federal dollars




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP777
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 778 of 971

                                                                             39
                          Absolute Interference


1     pay for it in this voting act stuff.            I think they put
2     out -- it's somewhere between 3- and $500 million spread
3     around the states to pay for some of these election
4     processes and systems, principally, these machines.
5                      MR. JEFFERSON:       I was the chief technical
6     advisor to the Secretary of State of the largest state
7     in the United States, and I was not allowed to look at
8     the software running in Diebold or any other vendors'
9     voting systems.      To this day, I have not been allowed to
10    look at that software.
11                     UNIDENTIFIED SPEAKER:         Software like this
12    is installed in more than 30 states.            If someone tampers
13    with it or it just malfunctions, then the wrong people
14    can win elections.       If that happens, hundreds of
15    representatives, judges and other officials may hold
16    offices they are not elected to.           Democrat or
17    Republican, it affects us all.
18                     DR. DILL:     Suppose that we didn't have any
19    computers at all and when you went to vote, the voting
20    booth was separated by a curtain and there was a guy
21    behind the curtain who would write down your votes.                So
22    you just dictate them, he writes them down and when
23    you're done, you leave without being able to look at the
24    ballot.
25                     Most people in their right mind would not




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP778
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 779 of 971

                                                                             40
                          Absolute Interference


 1    trust this process.      The guy the behind the curtain
 2    could be incompetent, he could hear your votes wrong and
 3    record them improperly, or it could be that he doesn't
 4    like your political affiliation and would prefer to see
 5    your votes cast for someone else.
 6                    In an electronic voting machine, you don't
 7    have a little guy inside the machine taking dictation,
 8    but you have lots of people who are involved in writing
 9    the software and lots of people who could have touched
10    the software before it went into that machine.             If one
11    of those people put something malicious in the software
12    and it's distributed to all the machines, then that one
13    person could be responsible for the change of possibly
14    tens of thousands of votes, maybe even hundreds of
15    thousands across the country.         That's a very dangerous
16    situation.
17                    MS. HARRIS:      You know, I began looking into
18    these voting machines and one reason I was so curious is
19    because it's a secret how they work.          The companies that
20    make them keep it a secret, none of computer scientists
21    felt they could even look at the code because the code
22    was supposed to be a secret.        The certification labs
23    that examine it keep their process a secret of what they
24    do, and even the election officials who buy the
25    equipment are prohibited by their contract from ever




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP779
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 780 of 971

                                                                             41
                          Absolute Interference


1     looking and seeing how it works.
2                      MR. LINDELL:      Now we have with us
3     Dr. Douglas G. Frank.       And I want to tell a little bit
4     of a introduction here.        I met a gal that actually ran
5     for Congress in Pennsylvania, and she got completely
6     cheated out of her race.        She was in the lead, now the
7     machines did their -- did their flip and she checked
8     in -- she went precinct by precinct, actually.               I got to
9     become good friends with her and -- and I find out just
10    before we were doing this documentary that she had also
11    reached out to other people to get help, and you were
12    one of them, actually the main one, I think, that --
13    that has dug into this.        And what's your background,
14    Doctor?
15                     DR. FRANK:     I have a Ph.D. in surface
16    electrochemistry.      It's a -- it's a fancy name, but it
17    basically means, I like to study surfaces.
18                     MR. LINDELL:      Right.
19                     DR. FRANK:     And in my field, usually there
20    are lots of data coming in and you have to model it.
21                     MR. LINDELL:      Right.
22                     DR. FRANK:     So give me lots of data --
23                     MR. LINDELL:      Right.
24                     DR. FRANK:     -- and I have to make models,
25    that sounds like an election to me.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP780
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 781 of 971

                                                                             42
                          Absolute Interference


 1                    MR. LINDELL:      Right.    Right.    Absolutely.
 2                    DR. FRANK:     And so she asked me to look
 3    at --
 4                    MR. LINDELL:      Right, right.
 5                    DR. FRANK:     -- at her results.
 6                    MR. LINDELL:      So you would know deviations
 7    and you would know --
 8                    DR. FRANK:     Oh, yeah.
 9                    MR. LINDELL:      -- the numbers and -- and --
10                    DR. FRANK:     Absolutely.
11                    MR. LINDELL:      See, I -- I deal with a lot
12    of that too daily in my -- with my business too where
13    you see these --
14                    DR. FRANK:     Of course.
15                    MR. LINDELL:      -- you see these spikes or
16    whatever and you wonder how did it happen.
17                    DR. FRANK:     How did it happen.
18                    MR. LINDELL:      Has to have a different input
19    to get a different output, right?
20                    DR. FRANK:     That's right.
21                    MR. LINDELL:      And -- and so you -- well,
22    why don't we dig in to what you did then --
23                    DR. FRANK:     Sure.
24                    MR. LINDELL:      -- with -- so she reached out
25    to you and -- and said --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP781
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 782 of 971

                                                                             43
                          Absolute Interference


 1                     DR. FRANK:     Yes.
 2                     MR. LINDELL:     -- Hey, can you help me
 3    because she --
 4                     DR. FRANK:     Yes.
 5                     MR. LINDELL:     (Inaudible.)
 6                     DR. FRANK:     And I immediately saw some
 7    problems.
 8                     MR. LINDELL:     Okay.     Okay.
 9                     DR. FRANK:     And I began investigating those
10    problems in her data.
11                     MR. LINDELL:     Uh-huh.
12                     DR. FRANK:     It's sort of like a physicist
13    trying to figure out a phenomenon.
14                     MR. LINDELL:     Right.
15                     DR. FRANK:     And I started studying those
16    data, and after a while, I uncovered the algorithm
17    that's being used to control how many registrations
18    there are in a county and how many ballots there are in
19    a county.
20                     MR. LINDELL:     Uh-huh.
21                     DR. FRANK:     And it's surprising.       And I
22    figured that out in her county, and there's a
23    fascinating correlation with the national census.
24                     MR. LINDELL:     Okay.
25                     DR. FRANK:     They're using the national




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP782
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 783 of 971

                                                                             44
                          Absolute Interference


 1    census to regulate that.       But anyway, you can get the
 2    census county by county.       But I analyzed her county.
 3                    MR. LINDELL:      Right.     Right.   I want to --
 4    before you -- before we get started on that --
 5                    DR. FRANK:     Yeah.      Yeah.
 6                    MR. LINDELL:      -- what you found -- I want
 7    everybody to know.      This could only have been done
 8    through the internet or through machines; is that
 9    correct?
10                    DR. FRANK:     Oh, no question.
11                    MR. LINDELL:      You could not have done this
12    by hand --
13                    DR. FRANK:     No.
14                    MR. LINDELL:      -- or this --
15                    DR. FRANK:     No.
16                    MR. LINDELL:      Had to be done through a
17    machine being online or being a hack coming in or --
18                    DR. FRANK:     Absolutely.
19                    MR. LINDELL:      Okay.
20                    DR. FRANK:     And there are stages to it.
21    You have to prepare ahead of time.
22                    MR. LINDELL:      Right.
23                    DR. FRANK:     You have to have access during
24    and you have to have access afterwards.
25                    MR. LINDELL:      Did everybody hear that?         All




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP783
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 784 of 971

                                                                             45
                          Absolute Interference


 1    three.   Access before, during and after.
 2                    DR. FRANK:     That's correct.
 3                    MR. LINDELL:      Wow.     Wow.
 4                    DR. FRANK:     And by the way, in
 5    Pennsylvania, we proved each of those.
 6                    MR. LINDELL:      Okay.
 7                    DR. FRANK:     You could see.         We have
 8    forensic evidence.
 9                    MR. LINDELL:      Wow.
10                    DR. FRANK:     In other words, this isn't just
11    some scientist geek having fun in his laboratory --
12                    MR. LINDELL:      Right, right.
13                    DR. FRANK:     -- hypothesizing something.
14                    MR. LINDELL:      Right.     You --
15                    DR. FRANK:     We actually went and knocked on
16    doors.
17                    MR. LINDELL:      You have a hu- -- you have
18    absolute proof?
19                    DR. FRANK:     Yes, we do.
20                    MR. LINDELL:      What do you mean?        So you
21    knocked on doors?
22                    DR. FRANK:     We -- 1600 doors, we knocked
23    on.   And --
24                    MR. LINDELL:      To see if the people were --
25    actually existed.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com               800.445.9548
                                   APP784
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 785 of 971

                                                                                 46
                          Absolute Interference


 1                    DR. FRANK:     And they don't.
 2                    MR. LINDELL:      And they don't exist?
 3                    DR. FRANK:     Right.      And so --
 4                    MR. LINDELL:      You know --
 5                    DR. FRANK:     Then the questions --
 6                    MR. LINDELL:      By the way, everyone, I'm
 7    hearing this for the first time, too, the first time.
 8    We've never talked about this.
 9                    DR. FRANK:     No, but it's a pleasure.
10                    MR. LINDELL:      I want everyone to know that.
11    And the reason I want to do this is because I'm going to
12    have the same questions you would all have out there.                  I
13    just heard, Doug -- this -- this is going to be an
14    amazing presentation.
15                    DR. FRANK:     Well, when --
16                    MR. LINDELL:      Why don't we get right into
17    it.
18                    DR. FRANK:     When I use the word
19    "algorithm," a simple way to understand that is it's
20    just like a recipe.
21                    MR. LINDELL:      Right.
22                    DR. FRANK:     It's a set of steps, a set
23    of --
24                    MR. LINDELL:      Right.
25                    DR. FRANK:     -- measurements, two teaspoons,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP785
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 786 of 971

                                                                             47
                          Absolute Interference


 1    whatever.
 2                     MR. LINDELL:     Uh-huh.
 3                     DR. FRANK:     But it's not just numbers.
 4    It's also got some steps involved.
 5                     MR. LINDELL:     Right.
 6                     DR. FRANK:     And so that's -- that's what I
 7    figured.     I figured, how were they doing this.
 8                     MR. LINDELL:     Uh-huh.
 9                     DR. FRANK:     So the first thing you need to
10    understand is that every county in the Uni- -- -- in the
11    United States has what they call a "registration
12    database."
13                     MR. LINDELL:     Uh-huh.
14                     DR. FRANK:     It's got the names, it's got
15    the -- the -- when they were registered, when they were
16    born.   And it's also got their entire voter history.
17                     MR. LINDELL:     Uh-huh.
18                     DR. FRANK:     So you can -- and this -- you
19    know, like, for example, this last column is -- is
20    November 3rd election, so everybody who voted in the
21    November 3rd election has a little X here.
22                     MR. LINDELL:     Right.
23                     DR. FRANK:     Okay?   But you notice, a lot of
24    people didn't vote.
25                     MR. LINDELL:     Uh-huh.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP786
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 787 of 971

                                                                             48
                          Absolute Interference


 1                     DR. FRANK:     Look.    Here's a person.
 2                     MR. LINDELL:     Right.
 3                     DR. FRANK:     In fact, they shouldn't be on
 4    the rolls legally --
 5                     MR. LINDELL:     Right.
 6                     DR. FRANK:     -- but there they are, boom,
 7    they voted.
 8                     MR. LINDELL:     Right.
 9                     DR. FRANK:     Here's one.     Never voted at
10    all.
11                     MR. LINDELL:     Wow.
12                     DR. FRANK:     So -- they're on the rolls,
13    though.     So the first thing you do, you think of it like
14    a credit line.     You need to fill up the registrations so
15    you have more registrations than you need.
16                     MR. LINDELL:     Right.
17                     DR. FRANK:     Then you fill in the ballots to
18    get the outcome that you want.
19                     MR. LINDELL:     Right.
20                     DR. FRANK:     And all you have to do is
21    control one number and you can control the whole
22    election.     Just decide how many --
23                     MR. LINDELL:     So these are people that
24    were -- that were registered or never reg- -- right?
25                     DR. FRANK:     Well, right now, these are all




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP787
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 788 of 971

                                                                             49
                          Absolute Interference


 1    registered.
 2                    MR. LINDELL:      Right.
 3                    DR. FRANK:     The -- the thing about it is,
 4    is how do you know if they're real?
 5                    MR. LINDELL:      Right.
 6                    DR. FRANK:     There's only one way to know.
 7    You have to go knock on the door and say, hey --
 8                    MR. LINDELL:      And that's what -- and that's
 9    what you guys did?
10                    DR. FRANK:     We did do that.
11                    MR. LINDELL:      And they didn't exist.
12                    DR. FRANK:     We predicted, out of the 1600
13    doors we knocked out, we predicted we would find
14    30 percent of the houses would have at least one phantom
15    voter.   Phantom voter is like, you knock on the door
16    and -- and it says on the list that John Smith lives
17    there.
18                    MR. LINDELL:      Right.
19                    DR. FRANK:     And you have a ballot from John
20    Smith, right, you have an X.
21                    MR. LINDELL:      Right.
22                    DR. FRANK:     But no John Smith lives there.
23                    MR. LINDELL:      Right.
24                    DR. FRANK:     And so --
25                    MR. LINDELL:      So they're using people that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP788
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 789 of 971

                                                                             50
                          Absolute Interference


 1    don't exist, but they're registering them to use for
 2    their algorithms in the machines?
 3                    DR. FRANK:     Exactly.     Because you --
 4    because if you think about it, after the election, what
 5    if the election's challenged?         Somebody's going to count
 6    ballots.
 7                    MR. LINDELL:      Right.
 8                    DR. FRANK:     You better have registrations
 9    and you better have ballots.
10                    MR. LINDELL:      To make -- that they match
11    up.
12                    DR. FRANK:     Yes.
13                    MR. LINDELL:      Yeah.
14                    DR. FRANK:     And so you have to control it,
15    don't you?
16                    MR. LINDELL:      Right, right.
17                    DR. FRANK:     So -- but the thing about it
18    is, the country's big.
19                    MR. LINDELL:      Right.
20                    DR. FRANK:     You can't have a million people
21    sitting in your computers controlling this.
22                    MR. LINDELL:      Right.
23                    DR. FRANK:     So you have to have some
24    algorithm, some set of steps --
25                    MR. LINDELL:      Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP789
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 790 of 971

                                                                             51
                          Absolute Interference


1                      DR. FRANK:     -- that can -- computers can
2     run automatically to control it.
3                      MR. LINDELL:      Uh-huh.
4                      DR. FRANK:     That's what I figured out.
5                      MR. LINDELL:      Right.
6                      DR. FRANK:     How could I do that?         Well, I
7     knew who's registered and I knew who the ballots were.
8                      MR. LINDELL:      Uh-huh.
9                      DR. FRANK:     What had to happen in between?
10    So it's sort of like -- it's like a translation, kind of
11    like the windtalkers in World War II.
12                     MR. LINDELL:      Right.
13                     DR. FRANK:     You know, they translated it
14    into Navajo, then the Navajo would -- and then on the
15    other side --
16                     MR. LINDELL:      Right.
17                     DR. FRANK:     -- the -- they would translate
18    it back into English so you could get the commands.
19                     MR. LINDELL:      Right.
20                     DR. FRANK:     So you -- I needed to figure
21    out that language in between --
22                     MR. LINDELL:      Uh-huh.
23                     DR. FRANK:     -- to get from population or
24    registrations to the ballots.          So --
25                     MR. LINDELL:      So, yeah.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP790
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 791 of 971

                                                                             52
                          Absolute Interference


 1                     DR. FRANK:     -- that's what I figured out.
 2    So this is -- this is Hamilton County, Ohio.            And you
 3    notice that across the bottom here, you've got age.
 4    Okay?   And then this is how many people in each of those
 5    coun- -- are of each age.
 6                     MR. LINDELL:     Right.
 7                     DR. FRANK:     This -- these are real data, by
 8    the way, you can download this right from the United
 9    States Census.
10                     MR. LINDELL:     Okay.
11                     DR. FRANK:     Don't even have to do anything
12    nefarious.
13                     MR. LINDELL:     Right.     So these are all
14    registered voters.
15                     DR. FRANK:     This -- no, this one is just
16    population.
17                     MR. LINDELL:     Oh, that's just the
18    population?
19                     DR. FRANK:     Just the population.
20                     MR. LINDELL:     Just the population.
21                     DR. FRANK:     Yeah.     You have 12,000
22    people --
23                     MR. LINDELL:     Okay.     I got ya.
24                     DR. FRANK:     -- in this age and --
25                     MR. LINDELL:     I got ya.     All right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP791
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 792 of 971

                                                                             53
                          Absolute Interference


 1                    DR. FRANK:     -- and the rest of the people,
 2    you have the Millennials and the Baby Boomers --
 3                    MR. LINDELL:      Yep.     Yep.
 4                    DR. FRANK:     -- and then people passing
 5    away.
 6                    MR. LINDELL:      Okay.     Yep.   All right.
 7                    DR. FRANK:     And that's just United States
 8    Census.
 9                    So as it turns out, the black curve are the
10    number of people who are registered in Hamilton County.
11                    MR. LINDELL:      Right.
12                    DR. FRANK:     It looks a lot like the
13    population.
14                    MR. LINDELL:      It's exactly the population.
15                    DR. FRANK:     So the look on your face is
16    exactly the right response.
17                    MR. LINDELL:      Right.     Like, how could that
18    be?
19                    DR. FRANK:     How can that be?       They've got
20    just about everybody registered.
21                    MR. LINDELL:      It's impossible.
22                    DR. FRANK:     Just -- everybody is
23    registered.
24                    MR. LINDELL:      Everybody's registered.        Wow.
25                    DR. FRANK:     So I've shown this to several




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP792
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 793 of 971

                                                                             54
                          Absolute Interference


 1    political analysts and experts, and when I showed it,
 2    they're like, Wait a minute.        That can't be.
 3                    MR. LINDELL:      Right.
 4                    DR. FRANK:     The -- most of the time, it's
 5    70, 80 percent.
 6                    MR. LINDELL:      Right.
 7                    DR. FRANK:     How can you --
 8                    MR. LINDELL:      You can't.
 9                    DR. FRANK:     But county after county, I have
10    seen this.
11                    MR. LINDELL:      County after county?
12                    DR. FRANK:     Yes.
13                    MR. LINDELL:      Now, let -- let me interject
14    right there.
15                    DR. FRANK:     Yeah.
16                    MR. LINDELL:      This is Ohio.      I want
17    everybody to know that these machines, this stuff went
18    across the country, every state, you know.            And they
19    said, Well, how can that be?        Ohio was like 70 percent
20    that --
21                    DR. FRANK:     Trump --
22                    MR. LINDELL:      -- that Trump won by, Donald
23    Trump.
24                    DR. FRANK:     Yeah.
25                    MR. LINDELL:      He actually won by 15 or




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP793
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 794 of 971

                                                                             55
                          Absolute Interference


 1    16 percent.
 2                    DR. FRANK:     Exactly.
 3                    MR. LINDELL:      This is what we had in the
 4    first Absolute Proof where we show you the attack on our
 5    country and the algorithms we show there.
 6                    DR. FRANK:     Yes.
 7                    MR. LINDELL:      Now, I want everyone to know,
 8    this is completely separate from that.           This is what we
 9    have over here that the -- that we showed you in the
10    first documentary, completely separate.           What you have
11    done is validated what we told them --
12                    DR. FRANK:     Yes.
13                    MR. LINDELL:      -- in the first Absolute
14    Proof.
15                    DR. FRANK:     And as a scientist, I love
16    that --
17                    MR. LINDELL:      Yeah.
18                    DR. FRANK:     -- because it's a control.
19                    MR. LINDELL:      Yeah.
20                    DR. FRANK:     This is the first time I've
21    ever spoken like --
22                    MR. LINDELL:      That we've -- that we've ever
23    even spoke about it.
24                    DR. FRANK:     Exactly.
25                    MR. LINDELL:      I -- I'm surpri- -- this is




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP794
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 795 of 971

                                                                             56
                          Absolute Interference


 1    amazing.
 2                     DR. FRANK:     Well -- yeah.
 3                     MR. LINDELL:     So why would they do -- why
 4    would they register everybody?
 5                     DR. FRANK:     Well, because -- think of it
 6    like a credit line.
 7                     MR. LINDELL:     Right.
 8                     DR. FRANK:     The more people you have
 9    registered, the more ballots you can put in wherever you
10    need them.
11                     MR. LINDELL:     Right.    Right.    Right.
12                     DR. FRANK:     In fact, speaking of ballots --
13                     MR. LINDELL:     Okay.    That was the first red
14    flag that they (inaudible) --
15                     DR. FRANK:     Exactly.    There's something --
16    everything here, none of this is theoretical.             This is
17    all real data.
18                     MR. LINDELL:     This is all -- this is all
19    absolute facts and proof.
20                     DR. FRANK:     Yes.   And any --
21                     MR. LINDELL:     Right.
22                     DR. FRANK:     And the exciting thing to me
23    about it is that anybody can do this.
24                     MR. LINDELL:     Right.
25                     DR. FRANK:     You could go right now online,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP795
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 796 of 971

                                                                             57
                          Absolute Interference


 1    Secretary of State web page in Ohio, which is why I
 2    picked Ohio.
 3                    MR. LINDELL:      Right.
 4                    DR. FRANK:     You can't do it in some states.
 5                    MR. LINDELL:      Right, right.
 6                    DR. FRANK:     And you can download these data
 7    for yourself.
 8                    MR. LINDELL:      And where -- where are all
 9    the crooked Secretary of States?          You can't do them in
10    those states, right?
11                    DR. FRANK:     That's right.
12                    MR. LINDELL:      Brad, we can't do it in
13    Georgia, we get that.
14                    DR. FRANK:     I've done several states
15    already and there's several states ongoing.
16                    MR. LINDELL:      Right.
17                    DR. FRANK:     I've already shown this in
18    Florida --
19                    MR. LINDELL:      Right.
20                    DR. FRANK:     -- Pennsylvania --
21                    MR. LINDELL:      Right.
22                    DR. FRANK:     -- in Colorado and Ohio.
23                    MR. LINDELL:      Yeah.    And they're all
24    identical?
25                    DR. FRANK:     Everywhere.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP796
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 797 of 971

                                                                             58
                          Absolute Interference


 1                    MR. LINDELL:      Every single state that
 2    you've been in --
 3                    DR. FRANK:     Is using the same algorithm.
 4                    MR. LINDELL:      The same algorithms --
 5                    DR. FRANK:     Yes.
 6                    MR. LINDELL:      -- with the machines?
 7                    DR. FRANK:     Yes.
 8                    MR. LINDELL:      Wow.
 9                    DR. FRANK:     The blue curve is the
10    population.
11                    MR. LINDELL:      Right.
12                    DR. FRANK:     And that's just downloaded from
13    the census.
14                    MR. LINDELL:      Yep.
15                    DR. FRANK:     The black curve are the number
16    of people that are registered.
17                    MR. LINDELL:      Right.
18                    DR. FRANK:     That's just downloaded from the
19    downloadable --
20                    MR. LINDELL:      Right, right.
21                    DR. FRANK:     -- database.      And the red curve
22    are the number of ballots.        Now, here's --
23                    MR. LINDELL:      Now, are these the ballots of
24    people that voted, that actually -- or that they're
25    saying voted?




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP797
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 798 of 971

                                                                             59
                          Absolute Interference


 1                    DR. FRANK:     Well, stated.      It's who they
 2    say voted.
 3                    MR. LINDELL:      Say voted.
 4                    DR. FRANK:     Yes.
 5                    MR. LINDELL:      Now, I don't have -- I -- I
 6    can see this right now.       I hope everybody notices this.
 7    There is no way in mathematical history that the same --
 8    that the -- that the curve would be like that, the same
 9    amount of people 20 years old voted proportionate to the
10    population; the same amount of 30-year-olds, same amount
11    of 50-year-olds, same amount of 80-year-olds, same
12    amount of 90-year-olds; right?
13                    DR. FRANK:     Absolutely.
14                    MR. LINDELL:      That's the deviation of all
15    time.   It's impossible.
16                    DR. FRANK:     And you ain't seen nothing yet.
17                    MR. LINDELL:      Wow.
18                    DR. FRANK:     Just look -- just look at the
19    sha- -- look at how the details are mirrored.
20                    MR. LINDELL:      Right.
21                    DR. FRANK:     I mean, the shape of the
22    registration is mirrored --
23                    MR. LINDELL:      It's exactly.
24                    DR. FRANK:     -- in the ballot.       In fact --
25                    MR. LINDELL:      This is -- this is --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP798
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 799 of 971

                                                                             60
                          Absolute Interference


 1                    DR. FRANK:     I'll make it obvious for you.
 2                    MR. LINDELL:      Wow.
 3                    DR. FRANK:     Okay.     I'll make it obvious.
 4                    MR. LINDELL:      You guy- -- everybody, look
 5    at this.
 6                    DR. FRANK:     Yeah.
 7                    MR. LINDELL:      This is what -- it didn't
 8    matter what -- who you voted for or what you did.
 9                    DR. FRANK:     No.
10                    MR. LINDELL:      They -- they did it for you.
11    This attack on our country by foreign interference,
12    foreign actors coming in at -- with Dominion actors,
13    too, because it had to be preprogrammed, right?
14                    DR. FRANK:     Yep.
15                    MR. LINDELL:      These out -- they had --
16    remember, they had to be -- it had to be planned, they
17    had to be online --
18                    DR. FRANK:     Yes.
19                    MR. LINDELL:      -- and then they had to be
20    online afterwards.
21                    DR. FRANK:     Before, during and after.
22                    MR. LINDELL:      Before, during and after.
23                    DR. FRANK:     Yes.
24                    MR. LINDELL:      And this is 100 percent proof
25    that this happened.      And this is Ohio, but you're




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP799
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 800 of 971

                                                                             61
                          Absolute Interference


 1    finding every -- every place you're checking.
 2                     DR. FRANK:     I did all 88 counties in Ohio
 3    perfectly.     I can predict every one.       I'll show you that
 4    in a minute.
 5                     MR. LINDELL:     All 88 counties in Ohio.
 6                     DR. FRANK:     Yeah.     Yeah.   Yeah.   And you
 7    would think -- and honestly, when I was working in
 8    Pennsylvania --
 9                     MR. LINDELL:     Right.
10                     DR. FRANK:     -- I was bragging about Ohio.
11    Yeah, you guys have all these problems in Pennsylvania.
12                     MR. LINDELL:     Right.
13                     DR. FRANK:     And -- and so one of the people
14    there said, Well, have you run any other states?             And I
15    hadn't even thought about it --
16                     MR. LINDELL:     Right.     Right.
17                     DR. FRANK:     -- because I was so busy
18    digging up all the corruption here.
19                     MR. LINDELL:     Right, right.
20                     DR. FRANK:     So I went over to Ohio and I
21    was all ready to be all proud about it and suddenly --
22                     MR. LINDELL:     You're going, what?
23                     DR. FRANK:     What?
24                     MR. LINDELL:     Yeah.     Well, it's just
25    like -- it's just like Texas.         You know, they didn't --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com               800.445.9548
                                    APP800
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 801 of 971

                                                                             62
                          Absolute Interference


1     they were all proud they didn't use the Dominion
2     machines.    Well, we have -- we have 100 percent proof
3     that it was all in Texas with the other machine --
4                      DR. FRANK:     Ex- --
5                      MR. LINDELL:      -- the ES&S or Smartmatic,
6     whatever they had.
7                      DR. FRANK:     Yes.
8                      MR. LINDELL:      So when -- this is why
9     everyone out there, when I say to you-all what we showed
10    in Absolute Proof in the first one, the actual vote
11    totals were almost 80 million for Donald Trump.               And for
12    Biden, it was a little over 66 million.             Those are real.
13    How can these numbers flip so much?            You see this is
14    just Ohio, and all 88 counties having that algorithm.
15                     DR. FRANK:     Yes.
16                     MR. LINDELL:      And you know, this is --
17    it's -- it was done every single state.
18                     DR. FRANK:     Every state.
19                     MR. LINDELL:      And this is what -- we have
20    over here with the spyware, we've all -- we've all told
21    you in Absolute Proof, the first one.            Well, we're going
22    to show so- -- you know, some of that in this -- in this
23    documentary too.      But I just -- this is -- this
24    absolutely validates the attack of the algorithms in
25    this --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP801
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 802 of 971

                                                                             63
                          Absolute Interference


 1                    DR. FRANK:     Yes.
 2                    MR. LINDELL:      -- you know, flipping
 3    through.   So they -- I can't even believe this.
 4                    DR. FRANK:     Well -- and -- and this is --
 5    and all I did here was just take this black curve and
 6    multiply it by one number, 86 percent.
 7                    MR. LINDELL:      86 percent.
 8                    DR. FRANK:     Yeah.
 9                    MR. LINDELL:      So what did -- now, what is
10    that telling everybody?
11                    DR. FRANK:     One simple number --
12                    MR. LINDELL:      Right.
13                    DR. FRANK:     -- does that.      But what if you
14    wanted it to fit everywhere?
15                    MR. LINDELL:      Right.
16                    DR. FRANK:     Why not multiply it by
17    86 percent here and something else here.
18                    MR. LINDELL:      Right.
19                    DR. FRANK:     Well, anyway, that was red flag
20    number two --
21                    MR. LINDELL:      Okay.
22                    DR. FRANK:     -- the fact that there's such a
23    good appearance.
24                    MR. LINDELL:      Right.
25                    DR. FRANK:     That -- that -- what if I




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP802
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 803 of 971

                                                                             64
                          Absolute Interference


 1    allowed you to have different percentages for each age?
 2                    MR. LINDELL:      Right.
 3                    DR. FRANK:     Then the 86 percent works here,
 4    but it doesn't work here.
 5                    MR. LINDELL:      Right.
 6                    DR. FRANK:     But what have I have a number
 7    for each one.
 8                    MR. LINDELL:      Right.
 9                    DR. FRANK:     Okay.      I can do that.
10                    MR. LINDELL:      Right.
11                    DR. FRANK:     You need a different --
12                    MR. LINDELL:      Proportion for --
13                    DR. FRANK:     -- proportion --
14                    MR. LINDELL:      -- every age.
15                    DR. FRANK:     -- for every age.
16                    MR. LINDELL:      Right.     So you could put --
17    they can put that in too.
18                    DR. FRANK:     When you do put in a proportion
19    for every age, then you can predict it much better.
20                    MR. LINDELL:      Wow.
21                    DR. FRANK:     Now, I left a little bit of an
22    error here on purpose, and you'll see why in a minute.
23                    MR. LINDELL:      Okay.
24                    DR. FRANK:     Because the proportions I'm
25    using are the same ones I used in every county in the




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP803
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 804 of 971

                                                                             65
                          Absolute Interference


 1    entire state.
 2                    MR. LINDELL:      Oh, wow.
 3                    DR. FRANK:     In other words one set of
 4    numbers --
 5                    MR. LINDELL:      Right.
 6                    DR. FRANK:     -- works every county.
 7                    MR. LINDELL:      Every single county.          Now,
 8    this is -- it could only be done with on -- machines
 9    that are online.
10                    DR. FRANK:     Has to be.
11                    MR. LINDELL:      Now -- now, I'm -- now, I'm
12    going to ask you this because you not knowing what we've
13    had --
14                    DR. FRANK:     Nope.
15                    MR. LINDELL:      Did you watch Absolute Proof?
16                    DR. FRANK:     Of course.
17                    MR. LINDELL:      Okay.    The stuff that you
18    seen at the end with all the attacks from -- with this
19    spyware --
20                    DR. FRANK:     Are you kidding --
21                    MR. LINDELL:      Okay.    Now, those --
22                    DR. FRANK:     Go ahead.     I'm sorry.     I
23    interrupted you.
24                    MR. LINDELL:      Now, those -- now, those --
25    now, those -- what they used there, that system, okay --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP804
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 805 of 971

                                                                             66
                          Absolute Interference


 1                    DR. FRANK:     Yes.
 2                    MR. LINDELL:      -- now -- it's because you
 3    don't know how this happened, you just know it's -- it
 4    was -- it couldn't be done by -- by -- by humans.
 5                    DR. FRANK:     It could not be done by people,
 6    no.
 7                    MR. LINDELL:      By people?
 8                    DR. FRANK:     No.
 9                    MR. LINDELL:      It could not be done by
10    people.
11                    DR. FRANK:     No.
12                    MR. LINDELL:      So what he's validated, it
13    could not be done by people, but we also know who did
14    it, where it came from, where the hacks came from, how
15    they got in, did they break the firewall, did they --
16                    DR. FRANK:     Yeah.
17                    MR. LINDELL:      -- did they -- were they --
18    were they allowed access, you know?          And it's amazing
19    you haven't found -- you didn't find one -- one county
20    in Ohio or one -- I mean, you checked every one.
21                    DR. FRANK:     And boy -- and there's more to
22    that too.   So I was watching Absolute Proof and the
23    first three-fourths of it or so was just stuff I'd
24    already kind of heard in the news, following --
25                    MR. LINDELL:      Right, right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP805
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 806 of 971

                                                                             67
                          Absolute Interference


 1                    DR. FRANK:     -- what's going on.
 2                    MR. LINDELL:      Right.
 3                    DR. FRANK:     But when you got to the last
 4    fourth, I was on the edge of my seat because --
 5                    MR. LINDELL:      With all that -- with all the
 6    actual attacks.
 7                    DR. FRANK:     Well, and the graphics were
 8    great, but that -- but I'm a numbers guy.            The graphics
 9    are cool, but you know what, I was looking at your log.
10    3,000 pages of logs.      And I noticed in the last column,
11    every one of those things is like, take this many
12    ballots away, take that many ballots --
13                    MR. LINDELL:      Right, right.
14                    DR. FRANK:     -- away, take that many ballots
15    away.   And I'm thinking, I know exactly -- I know
16    exactly what is going on right there.           So I felt like,
17    okay, you're providing all the access.
18                    MR. LINDELL:      Right.
19                    DR. FRANK:     And I -- what -- but what
20    does -- what does it do once it's in?
21                    MR. LINDELL:      Right.
22                    DR. FRANK:     I can tell you what it's doing
23    when it's in.
24                    MR. LINDELL:      Right.
25                    DR. FRANK:     So the two married --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP806
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 807 of 971

                                                                             68
                          Absolute Interference


 1                     MR. LINDELL:     Fit perfect.
 2                     DR. FRANK:     And so I'm -- the whole time --
 3                     MR. LINDELL:     Right, right.
 4                     DR. FRANK:     -- I'm thinking, I got to talk
 5    to Mike.
 6                     MR. LINDELL:     Yeah, yeah.
 7                     DR. FRANK:     I got to talk to Mike.       Because
 8    I've got what -- exactly --
 9                     MR. LINDELL:     Right, right.
10                     DR. FRANK:     -- the other half of the story.
11                     MR. LINDELL:     And then -- and then everyone
12    realized this.     And we have the -- this divine
13    connection between the gal that I had met --
14                     DR. FRANK:     Yes.
15                     MR. LINDELL:     -- and the gal that you had
16    met.
17                     DR. FRANK:     Yes.
18                     MR. LINDELL:     And that's how you ended up
19    here.
20                     GENERAL FLYNN:        Yes.
21                     MR. LINDELL:     And I -- and -- and I want to
22    tell you this, as all -- which we found out since you
23    watched that, you know, you seen all those IP addresses
24    and those ID (inaudible) --
25                     DR. FRANK:     Oh, yeah, absolutely.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP807
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 808 of 971

                                                                             69
                          Absolute Interference


1                      MR. LINDELL:      -- now we've went across the
2     country and validated, you know, and validated, does the
3     I- -- is [sic] this computer exist, does this IP
4     address --
5                      DR. FRANK:     Yeah.    Yes.
6                      MR. LINDELL:      So we validated that.
7                      DR. FRANK:     Yes.
8                      MR. LINDELL:      I mean, this is since --
9     since Absolute Proof.       And it's -- and then now to have
10    100 percent evidence --
11                     DR. FRANK:     Yes.
12                     MR. LINDELL:      -- that it happened
13    everywhere, you know.
14                     DR. FRANK:     Yes.
15                     MR. LINDELL:      And just -- they just marry
16    each other.    It's perfect.       This is amazing.
17                     DR. FRANK:     What I like what you did is
18    you -- you -- you have the log, but then you went on the
19    ground, boots on the ground and confirmed.
20                     MR. LINDELL:      And confirmed it.
21                     DR. FRANK:     We --
22                     MR. LINDELL:      And that's what we did.         And
23    there's -- what you seen there, that was just a
24    sampling.    We have the whole United States.            We have --
25                     DR. FRANK:     Yeah.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP808
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 809 of 971

                                                                             70
                          Absolute Interference


 1                    MR. LINDELL:      -- thou- -- hundreds of
 2    thou- -- actually, millions of --
 3                    DR. FRANK:     Yes.
 4                    MR. LINDELL:      -- millions of pages of cyber
 5    footprints --
 6                    DR. FRANK:     I have no doubt.
 7                    MR. LINDELL:      -- of these all attacks.         And
 8    then we have -- we convert them into the actual IP
 9    address --
10                    DR. FRANK:     Yes.
11                    MR. LINDELL:      -- that cyber footprint --
12                    DR. FRANK:     Yes.
13                    MR. LINDELL:      -- who attacked, who did it,
14    what time they did it.
15                    DR. FRANK:     Yes.
16                    MR. LINDELL:      What computer came out of
17    China to do it and what -- what -- what county attacked
18    here, what computer it went into, the IP of the
19    computer --
20                    DR. FRANK:     Wow.
21                    MR. LINDELL:      -- the ID of the computer.
22                    Now, what I'm going to be doing, just so
23    everybody knows, is taking the data from that and then
24    we're going take this now --
25                    DR. FRANK:     Yes.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP809
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 810 of 971

                                                                             71
                          Absolute Interference


 1                    MR. LINDELL:      -- and go, Wow, they're
 2    identical.
 3                    DR. FRANK:     Yes.
 4                    MR. LINDELL:      You know.     I mean, this is --
 5    and all these states that think that this wasn't -- you
 6    know, that they weren't -- you know, the five swing
 7    states or six swing states, it was everybody.             So
 8    what -- so what that confirmed, like said, I -- I always
 9    wondered, like, states like Ohio and Iowa and Florida,
10    which you won by, you know, five to eight percent, they
11    were double that.
12                    DR. FRANK:     Oh, easy.
13                    MR. LINDELL:      They were easily double that.
14                    DR. FRANK:     Yeah.    Yes.
15                    MR. LINDELL:      And everyone says, Well, why
16    didn't they take those states too?          Well, because you've
17    got -- if they took everything, obviously, you would
18    have an investigation right away.          We were just a
19    blessing, a miracle --
20                    DR. FRANK:     Yes.
21                    MR. LINDELL:      -- that on election night,
22    they underpredict- -- they underpredicted by about 12 to
23    14 million votes --
24                    DR. FRANK:     Yeah, yes.
25                    MR. LINDELL:      -- that President Trump was




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP810
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 811 of 971

                                                                             72
                          Absolute Interference


1     going to get because of the -- everyone out voting and
2     getting, you know, this great president that he had
3     fulfilled all his promises and everything else.
4                      DR. FRANK:     Yeah.    Yeah.
5                      MR. LINDELL:      So they didn't expect that.
6                      DR. FRANK:     No.
7                      MR. LINDELL:      And that's what broke those
8     algorithms and -- you've seen in Absolute Proof.
9                      DR. FRANK:     Well --
10                     MR. LINDELL:      They broke it because why?
11    They were running out of railroad track.             They were
12    running out of race.
13                     DR. FRANK:     That's why they had to stop it
14    in certain places.
15                     MR. LINDELL:      That's why they had to stop
16    it --
17                     DR. FRANK:     Exactly.
18                     MR. LINDELL:      -- in the middle of the
19    night.   And everybody knows that story and -- and by the
20    way, I want to tell them one more time.             Those --
21    everyone thought that was mail-in votes, those big
22    spikes --
23                     DR. FRANK:     No, no.
24                     MR. LINDELL:      No, that was -- the mail-in
25    votes came in the day before, the morning of the 3rd.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP811
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 812 of 971

                                                                             73
                          Absolute Interference


 1                    DR. FRANK:     Yeah.
 2                    MR. LINDELL:      I know that was -- that was a
 3    big truck, going --
 4                    DR. FRANK:     Yeah.
 5                    MR. LINDELL:      -- Well, what do we do now,
 6    what do we do now?      That's why it took Arizona a week to
 7    figure some out, Pennsylvania a week, you know.
 8                    DR. FRANK:     Yes.
 9                    MR. LINDELL:      All these things.       Michigan,
10    they just went all in.       Boom, let's just put in
11    100-and-something-thousand votes for Biden, just pop
12    them in there, you know.       But this -- this attack, you
13    know, I don't care if you're a Democrat or a Republican,
14    it doesn't matter.      This is -- what did you think when
15    you seen this as just a citizen of our country going,
16    it's over, right, elections are done forever?
17                    DR. FRANK:     Well, I'm a scientist and so
18    the first thing I had was elation.          Woo-hoo, I solved
19    the problem, eureka.
20                    MR. LINDELL:      Yeah.
21                    DR. FRANK:     Then after that, I felt
22    violated.
23                    MR. LINDELL:      Yeah.
24                    DR. FRANK:     I felt, our country has been
25    violated.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP812
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 813 of 971

                                                                              74
                          Absolute Interference


 1                     MR. LINDELL:     Right.    This is coming out --
 2    now, we have states coming out all over, like Wisconsin
 3    now and --
 4                     DR. FRANK:     Yes.
 5                     MR. LINDELL:     -- and New Hampshire, and all
 6    these things are coming up where they're --
 7                     DR. FRANK:     Yeah.
 8                     MR. LINDELL:     It's just going to validate
 9    this massive --
10                     DR. FRANK:     Oh, yeah.
11                     MR. LINDELL:     -- crime against humanity --
12                     DR. FRANK:     Yeah.
13                     MR. LINDELL:     -- crime against the United
14    States --
15                     DR. FRANK:     Yes.
16                     MR. LINDELL:     -- and crime against all
17    people.     I don't care what political side you're on.            Do
18    you know that they -- there was a movie, Kill Chain, it
19    came out a year ago, and the Democrats were in there
20    going, We cannot use machines because they have these
21    algorithm, you know.
22                     DR. FRANK:     And they were afraid it's going
23    to be used against them?
24                     MR. LINDELL:     They were afraid against
25    them.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP813
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 814 of 971

                                                                             75
                          Absolute Interference


1                      DR. FRANK:     Yeah.
2                      MR. LINDELL:      You know, just because
3     you're -- just because you're a -- a Democrat out there
4     and this happened to be this time, you think it's on
5     your side.
6                      DR. FRANK:     Yeah.
7                      MR. LINDELL:      This isn't the Democratic
8     Party that came in.       This is communism and socialism
9     that came into our country now.
10                     DR. FRANK:     Uh-huh.
11                     MR. LINDELL:      And everybody -- this is why
12    I'm saying -- actually, what's going on right now, even
13    my Democrat friends are going, Wow, this is -- you know,
14    this is not what we voted for.
15                     DR. FRANK:     Right.
16                     MR. LINDELL:      This is attack on our First
17    Amendment rights or --
18                     DR. FRANK:     Yes.
19                     MR. LINDELL:      They -- what do they do when
20    communism and socialism come in, you take away the First
21    Amendment.    You take away free speech, suppress that,
22    cancel culture, cancel people out.
23                     DR. FRANK:     Yeah.
24                     MR. LINDELL:      And then -- and then you
25    start just going -- going out there and saying,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP814
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 815 of 971

                                                                             76
                          Absolute Interference


 1    Here's -- this is one voice and that's their voice
 2    and -- and it's all control, you know.
 3                    DR. FRANK:     Yes.
 4                    MR. LINDELL:      So this is -- it's exciting.
 5    I've told before, I said, it's exciting what you just
 6    said, then you have peace.        But there's also an
 7    excitement.    It would be different --
 8                    DR. FRANK:     Yes, I agree.
 9                    MR. LINDELL:      You know, at least we know --
10                    DR. FRANK:     Yeah.
11                    MR. LINDELL:      -- that -- that we have all
12    the evidence now.
13                    DR. FRANK:     Yes.
14                    MR. LINDELL:      So what is done with that --
15    you know, I said we're -- over the next five or
16    six weeks, we're going to an evidence dump of just of --
17    of the country and the world --
18                    DR. FRANK:     Yes, yes.
19                    MR. LINDELL:      -- so they can see everything
20    before we get this to the Supreme Court because -- by
21    the way, everyone, no one has seen this evidence.              No
22    one out there -- this wasn't -- this wasn't available
23    on --
24                    DR. FRANK:     No.
25                    MR. LINDELL:      -- in November.      It wasn't




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP815
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 816 of 971

                                                                             77
                          Absolute Interference


 1    available in December.       This is all new.      It was -- and
 2    yours is even brand-new right now.
 3                    DR. FRANK:     Right.    This --
 4                    MR. LINDELL:      Brand-new.
 5                    DR. FRANK:     Mo- -- (inaudible).
 6                    MR. LINDELL:      This is brand-new and it
 7    validates what I found --
 8                    DR. FRANK:     Yeah.
 9                    MR. LINDELL:      -- on Ja- -- brought to me on
10    January 9th.    And from then on, it's been just -- and
11    they're finding it all over the country.           This is the
12    miracle that if we would have -- if -- if everyone would
13    have done their job and -- with the dead people, and
14    like I said in the first Absolute -- and the -- the
15    nonresidents that voted, you could take all the swing
16    states and Donald Trump won them anyway, even with
17    those --
18                    DR. FRANK:     Oh, easily.
19                    MR. LINDELL:      I call it "organ-" --
20    "organic cheating."
21                    DR. FRANK:     Sure.
22                    MR. LINDELL:      But then we wouldn't be where
23    we're at now to catch these machines.
24                    DR. FRANK:     Yeah.
25                    MR. LINDELL:      And if we -- if we didn't do




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP816
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 817 of 971

                                                                             78
                          Absolute Interference


1     this, if this didn't happen, it's over.             Once you say
2     there's never -- why even have another election, right?
3                      DR. FRANK:     Oh, no.     The whole thing is an
4     illusion.
5                      MR. LINDELL:      It's an illusion.        If --
6     if --
7                      DR. FRANK:     Yeah.    Yeah.
8                      MR. LINDELL:      If you -- I mean, did that
9     scare you, they're going, Wow, we're never going to have
10    a fair election again in history.
11                     DR. FRANK:     And what -- what's the first
12    thing that happens with the --
13                     MR. LINDELL:      Yeah.
14                     DR. FRANK:     -- new administration, HB1.
15                     MR. LINDELL:      Yeah.    Yeah.
16                     DR. FRANK:     What does that do?
17                     MR. LINDELL:      Yeah.
18                     DR. FRANK:     It basically registers
19    everybody.    You're giving them an infinite credit line.
20                     MR. LINDELL:      Right.    Yep, you're --
21    it's -- yeah, you're done.
22                     DR. FRANK:     It's over.
23                     MR. LINDELL:      You're done.      It's over.
24                     DR. FRANK:     Yes.
25                     MR. LINDELL:      And -- and that's why, the




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP817
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 818 of 971

                                                                             79
                          Absolute Interference


1     whole world is watching.        I've had calls from other
2     countries like you wouldn't believe going, you know,
3     we're praying that you guys can, you know, get this
4     exposed, get the --
5                      DR. FRANK:     Yes.
6                      MR. LINDELL:      -- truth exposed --
7                      DR. FRANK:     Yes.
8                      MR. LINDELL:      -- because they're next.
9     They asked me, Would you run?           I said, I wouldn't run
10    for a dogcatcher right now because somebody else would
11    pick the winner.
12                     DR. FRANK:     Yeah, right.
13                     MR. LINDELL:      Just so everybody knows,
14    we've been -- we've -- have everyone out there, I have
15    all these different groups now on the ground in all
16    these states and, you know, it just came up, I just seen
17    it yesterday in Wisconsin, they're going to -- you know,
18    all these places now, they're going to open up stuff for
19    auditing.
20                     DR. FRANK:     Yeah.    Yes, yes.
21                     MR. LINDELL:      Wisconsin, Georgia, New
22    Hampshire, all these -- all these deviations.               Now
23    they're going to finally open up so we can look at it.
24    And then we're going to have you -- I'm going to have
25    you, Dr. Frank, out there, you know --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP818
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 819 of 971

                                                                             80
                          Absolute Interference


 1                     DR. FRANK:     I'm looking forward to --
 2                     MR. LINDELL:     -- using those algorithms --
 3                     DR. FRANK:     Yes.
 4                     MR. LINDELL:     -- because there's just --
 5    now we can validate 3, 4 different ways and validate --
 6                     DR. FRANK:     Yes.
 7                     MR. LINDELL:     -- that this was the biggest
 8    attack ever.     It'll be one of the biggest crimes, I
 9    think, committed in world history.
10                     DR. FRANK:     Another word for algorithm is
11    model.     The cool thing about having a model is you can
12    predict the way things should be.
13                     MR. LINDELL:     Right.
14                     DR. FRANK:     Well, if it deviates from
15    there --
16                     MR. LINDELL:     Right.
17                     DR. FRANK:     -- why?
18                     MR. LINDELL:     Yeah, right.
19                     DR. FRANK:     Those are the mistakes.
20                     MR. LINDELL:     Yeah, those are the mistakes.
21                     DR. FRANK:     And we've got a lot of those.
22                     MR. LINDELL:     Right.    Oh, that's --
23                     DR. FRANK:     And I can take you right to
24    door -- I can take you right to the address of the
25    person we need to knock on their door.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP819
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 820 of 971

                                                                             81
                          Absolute Interference


 1                    MR. LINDELL:      Right.
 2                    DR. FRANK:     Which is so fun about -- that's
 3    what's fun about these algorithms.
 4                    MR. LINDELL:      Right.    Well, you -- yeah,
 5    you can -- it's a validation, validation, validation.
 6                    DR. FRANK:     Absolutely, yes.
 7                    MR. LINDELL:      And I want everyone -- you
 8    know, when you talk about algorithms, too, it's like --
 9    like I've said before, you know, I look at -- with my
10    company, I look at -- every day, all I do is look for
11    the deviations, what -- you know --
12                    DR. FRANK:     Wow.
13                    MR. LINDELL:      If one station does ten times
14    more than it was supposed to --
15                    DR. FRANK:     Yeah.
16                    MR. LINDELL:      -- something's wrong.
17                    DR. FRANK:     Yeah.
18                    MR. LINDELL:      You know, or you're cer- --
19    you know --
20                    DR. FRANK:     Yes.
21                    MR. LINDELL:      -- it had to have a different
22    input to get out the output.
23                    DR. FRANK:     Yes.
24                    MR. LINDELL:      Now, over here, I might
25    have -- I might have, let's say, a station did 20,000




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP820
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 821 of 971

                                                                             82
                          Absolute Interference


 1    that normally does 2,000.        That individual station, you
 2    can look into, find out, you know, was the commercial
 3    different, did it rain that day, whatever.
 4                     DR. FRANK:     Yeah.
 5                     MR. LINDELL:     Something changed it.
 6                     DR. FRANK:     Yeah.
 7                     MR. LINDELL:     But when -- but if all of a
 8    sudden, one day, all My Pillow outlets were all the --
 9    the same and the same -- the same exact percentage --
10                     DR. FRANK:     Yes.
11                     MR. LINDELL:     -- I'm going, Okay, something
12    happened here.     And it wouldn't be that they really did
13    that money.    It would be something that changed in
14    the -- in my computers that had to do that because you
15    could not --
16                     DR. FRANK:     Right.
17                     MR. LINDELL:     No way could you ever do that
18    humanly to make all of them exactly --
19                     DR. FRANK:     Right.
20                     MR. LINDELL:     -- increase the same
21    percentage.
22                     DR. FRANK:     When I've shown this to other
23    people, they've said, Well, gee, how could people do
24    that?   And I say, you can't --
25                     MR. LINDELL:     They couldn't.      You can't.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP821
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 822 of 971

                                                                             83
                          Absolute Interference


1                      DR. FRANK:     -- you couldn't.
2                      MR. LINDELL:      It has to be --
3                      DR. FRANK:     Has to be.
4                      MR. LINDELL:      -- machines.
5                      DR. FRANK:     It has to be.
6                      MR. LINDELL:      And it rhymes with Dominion,
7     and it rhymes with Smartmatic and ES&S.             All these
8     machines that were used out there and -- and it -- it
9     could be -- and it could be -- once again, I just want
10    you to say it one more time.          Cannot be done by humans.
11                     DR. FRANK:     Cannot be done.
12                     MR. LINDELL:      And you have to have access
13    before, during and after?
14                     DR. FRANK:     The -- this is too extensive.
15    It could not be done by humans.          It has to be done by
16    computers.
17                     MR. LINDELL:      Right.
18                     DR. FRANK:     I'm imagining a room full of
19    computers somewhere --
20                     MR. LINDELL:      Right.
21                     DR. FRANK:     -- that's connected to the
22    internet --
23                     MR. LINDELL:      Right.
24                     DR. FRANK:     -- preparing, monitoring,
25    controlling --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP822
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 823 of 971

                                                                             84
                          Absolute Interference


1                      MR. LINDELL:      Right.
2                      DR. FRANK:     -- cleaning up the mess
3     afterwards.
4                      MR. LINDELL:      Right.
5                      DR. FRANK:     And you have to have each
6     step --
7                      MR. LINDELL:      Right.
8                      DR. FRANK:     -- and it could not be humans.
9     There's too much going on.
10                     MR. LINDELL:      So it was -- it was a
11    well-thought-out plan.
12                     DR. FRANK:     And I don't think it started
13    this year.    I think it's been going at least --
14                     MR. LINDELL:      Right, right.
15                     DR. FRANK:     -- since 2008.
16                     MR. LINDELL:      Yeah, right.      And they --
17    and -- and you're exactly right, too.            We've got --
18    that's what we have over here.
19                     DR. FRANK:     You have evidence.
20                     MR. LINDELL:      Yeah.    Yeah, we have all the
21    evidence where it came from.
22                     DR. FRANK:     As a scientist, its fun when
23    you come up with conclusions and they match others.
24                     MR. LINDELL:      And they match other
25    conclusions, yeah.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP823
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 824 of 971

                                                                             85
                          Absolute Interference


 1                    DR. FRANK:     And this is what's happening
 2    for me tonight.
 3                    MR. LINDELL:      So what do we have here?
 4                    DR. FRANK:     Just a particular random
 5    precinct in Ohio.
 6                    MR. LINDELL:      Right.
 7                    DR. FRANK:     And what it is, is you've got
 8    age across the bottom, just like before, and number of
 9    people of each age.
10                    MR. LINDELL:      Right.      Right.
11                    DR. FRANK:     And so you notice, this is how
12    many people are registered, the blue curve.
13                    MR. LINDELL:      Right.
14                    DR. FRANK:     And then this is how many
15    ballots there are.
16                    MR. LINDELL:      Right, right.
17                    DR. FRANK:     So let's say you need to inject
18    a bunch of ballots --
19                    MR. LINDELL:      Uh-huh.
20                    DR. FRANK:     -- into the election, you need
21    a few more ballots for Biden.         Okay?    Where do you get
22    them?   You come here and you say, Oh, we haven't filled
23    this one up yet, so now you --
24                    MR. LINDELL:      Right, right.
25                    DR. FRANK:     -- just go back to the data




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP824
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 825 of 971

                                                                             86
                          Absolute Interference


1     rolls, you find out who hasn't voted --
2                      MR. LINDELL:      Right.
3                      DR. FRANK:     -- and you --
4                      MR. LINDELL:      And you find -- and you also
5     would have to know if they -- now, what I asked you off
6     camera was --
7                      DR. FRANK:     Yeah.
8                      MR. LINDELL:      -- yeah, everyone should
9     understand this.      We all heard stories of people after
10    they got -- went to the precinct.
11                     DR. FRANK:     Yes.
12                     MR. LINDELL:      And they said, Well, you've
13    already voted.     And they go, No, I haven't.
14                     DR. FRANK:     Yes.
15                     MR. LINDELL:      Because that means they had
16    already took their vote --
17                     DR. FRANK:     Yes.
18                     MR. LINDELL:      -- and used it.       They might
19    not have ever voted before so -- and they --
20                     DR. FRANK:     Yes.
21                     MR. LINDELL:      -- didn't expect them to
22    vote.
23                     DR. FRANK:     Right.
24                     MR. LINDELL:      But in this election, they
25    did vote.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP825
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 826 of 971

                                                                             87
                          Absolute Interference


1                      DR. FRANK:     Because people --
2                      MR. LINDELL:      Or they wanted to vote.         So
3     there -- that was --
4                      DR. FRANK:     Yes.
5                      MR. LINDELL:      -- these -- these things, it
6     set up all these, you know, deviations.             I mean --
7                      DR. FRANK:     Yes.
8                      MR. LINDELL:      -- I'm sure in any other
9     election, they're going --
10                     DR. FRANK:     Yeah.
11                     MR. LINDELL:      -- you don't get there and
12    say, You've already voted.         I mean, they're -- but
13    everybody -- how did they mix it up?            They're going, Oh,
14    it's because we have mail-in votings and they're just
15    confusing -- you know, and we had the China virus and
16    all this stuff going on.
17                     DR. FRANK:     Yes.    Yes.
18                     MR. LINDELL:      So they're all using that to
19    try and disguise -- once these deviations started
20    popping up, someone's got to come up with an excuse
21    because, I mean they -- they didn't think -- they did
22    not plan on Donald Trump getting 80 million votes.
23    That's the whole thing right there.
24                     DR. FRANK:     I think he got more than that.
25                     MR. LINDELL:      Yeah.    Yeah.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP826
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 827 of 971

                                                                             88
                          Absolute Interference


 1                    DR. FRANK:     Okay.    I think he --
 2                    MR. LINDELL:      Well, we've -- well, we've --
 3    we've actually looked at the -- at the spyware that
 4    these guys had.
 5                    DR. FRANK:     Yes.
 6                    MR. LINDELL:      And we've come up with right
 7    around 80 million.
 8                    DR. FRANK:     I'll take your word for it.
 9                    MR. LINDELL:      I would bet when you -- yeah,
10    I would bet when you did this, though, across the
11    country, by the time you're done doing every state --
12                    DR. FRANK:     Yeah.
13                    MR. LINDELL:      -- I bet it will be (makes
14    noise) identical.
15                    DR. FRANK:     Oh, yeah.
16                    MR. LINDELL:      When they only predicted 67
17    to 68 million, that's 12 million more votes.            And -- and
18    the only way to get that --
19                    DR. FRANK:     Yes.
20                    MR. LINDELL:      -- is throughout the whole
21    country --
22                    DR. FRANK:     Yes.
23                    MR. LINDELL:      -- which is exactly what they
24    did.
25                    DR. FRANK:     People ask me, Well, gee,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP827
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 828 of 971

                                                                             89
                          Absolute Interference


1     Dr. Frank, if -- if -- why -- if Trump won in Ohio and
2     they could have manipulated it, why didn't they make
3     Trump win?
4                      MR. LINDELL:      Uh-huh.
5                      DR. FRANK:     And the answer is, there just
6     aren't enough bodies --
7                      MR. LINDELL:      Right.
8                      DR. FRANK:     -- left --
9                      MR. LINDELL:      Right.
10                     DR. FRANK:     -- in Ohio --
11                     MR. LINDELL:      Right.
12                     DR. FRANK:     -- to assign.
13                     MR. LINDELL:      Right.
14                     DR. FRANK:     So --
15                     MR. LINDELL:      Right.
16                     DR. FRANK:     -- they still have to
17    manipulate it, though, because they've been doing it for
18    years.
19                     MR. LINDELL:      Right.
20                     DR. FRANK:     And if they suddenly stopped,
21    that would stand out.
22                     MR. LINDELL:      Right.
23                     DR. FRANK:     That's one red flag.
24                     MR. LINDELL:      Right.
25                     DR. FRANK:     Another thing is, this is how




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP828
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 829 of 971

                                                                             90
                          Absolute Interference


 1    they do all the down ballot stuff.
 2                    MR. LINDELL:      Right.
 3                    DR. FRANK:     Because --
 4                    MR. LINDELL:      Did you hear that, everybody?
 5    We're talk -- this -- said something -- we're talking
 6    about "the down ballot stuff."           John James in Michigan,
 7    you know, who really won.        Okay.
 8                    DR. FRANK:     How can you have a situation
 9    where, for example, in Ohio, where Trump is winning by
10    this massive --
11                    MR. LINDELL:      Right.
12                    DR. FRANK:     -- yet you lose conservative
13    judges.
14                    MR. LINDELL:      Yeah.
15                    DR. FRANK:     How?
16                    MR. LINDELL:      Yeah.
17                    DR. FRANK:     You come down here and you say,
18    Hey -- and those are usually smaller races.            You only
19    need a few extra hundred ballots --
20                    MR. LINDELL:      Right, right.
21                    DR. FRANK:     -- to win those.
22                    So, you know, and this -- this was Butler
23    County.   They've got 280 precincts.
24                    MR. LINDELL:      Right.
25                    DR. FRANK:     You only need a couple hundred




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP829
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 830 of 971

                                                                             91
                          Absolute Interference


 1    ballots?    Can you find two provision -- can you find two
 2    ballots in this one?      Yeah --
 3                    MR. LINDELL:      Yes, you can.
 4                    DR. FRANK:     -- you can find two in it.
 5                    MR. LINDELL:      So you can -- everything --
 6                    DR. FRANK:     Yes.
 7                    MR. LINDELL:      I want everyone to realize
 8    that this isn't -- this is a -- this crime against
 9    our -- our nation and humanity and the world, they --
10    when they go for every- -- it wasn't just the top
11    ticket.    They worried because --
12                    DR. FRANK:     Oh, yes.
13                    MR. LINDELL:      -- once the algorithms broke,
14    now they had -- that had to be their number one concern.
15                    DR. FRANK:     Yeah.
16                    MR. LINDELL:      We got to make sure --
17                    DR. FRANK:     Yes.
18                    MR. LINDELL:      -- that Donald Trump doesn't
19    win.   Even though we're losing a lot of these other
20    ones, a lot of these congressmen got through --
21                    DR. FRANK:     Yes.
22                    MR. LINDELL:      -- because they -- they
23    didn't have enough track left to do their cheat.
24                    DR. FRANK:     Exactly.
25                    MR. LINDELL:      There wasn't enough people




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP830
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 831 of 971

                                                                             92
                          Absolute Interference


 1    left in all these states to cheat.
 2                    DR. FRANK:     Yes.
 3                    MR. LINDELL:      And especially in places
 4    where these Congressmen were.         They -- because how did
 5    they win -- I think it was like, I don't know how
 6    many -- 15 to 17 of them won?
 7                    DR. FRANK:     Yeah.
 8                    MR. LINDELL:      And you lose the presidential
 9    ra- -- it's impossible.
10                    DR. FRANK:     Not likely, absolutely.
11                    MR. LINDELL:      You know, that's what this is
12    about.
13                    DR. FRANK:     Yeah, exactly.
14                    MR. LINDELL:      So if -- if this wouldn't
15    have happened, if we wouldn't have had that -- this
16    great present where these algorithms broke because of
17    everybody got out and voted --
18                    DR. FRANK:     Yes.     Yes.
19                    MR. LINDELL:      -- if that wouldn't have
20    happened, I mean, it's over.        At 3 o'clock in the
21    morning, we -- all the states would have been done,
22    turned in.    We'd all went to bed, better luck next time.
23    And there wouldn't be a next time because now --
24                    DR. FRANK:     Right.
25                    MR. LINDELL:      -- this is what -- this was




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP831
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 832 of 971

                                                                             93
                          Absolute Interference


1     the big --
2                      DR. FRANK:     Yes.
3                      MR. LINDELL:      -- this was the big
4     takeover --
5                      DR. FRANK:     Yes.
6                      MR. LINDELL:      -- in history, starting here
7     and the world, you know.        And their big test was
8     Venezuela.    They did it, two years, boom, and it's done.
9     And you know, sai- -- you take over the world, you never
10    have -- and that's down tickets, that's everything.                And
11    you could disguise it.        We know all the -- all the
12    corrupt Republicans that popped their head up, you know.
13                     DR. FRANK:     Yeah.
14                     MR. LINDELL:      Brian Kemp, Brad
15    Raffensperger.     I mean, all these Republicans, a lot of
16    Secretary of State, governors like Doug Ducey --
17                     DR. FRANK:     Yes.
18                     MR. LINDELL:      -- you know, these guys
19    popped their heads up, and a lot of senators and, you
20    know, you're showing that they could have -- they could
21    have just manipulated back and forth whoever they wanted
22    to win between them.
23                     DR. FRANK:     Yes.
24                     MR. LINDELL:      But in -- in reality, it's a
25    new thing coming, and it's socialism and communism.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP832
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 833 of 971

                                                                             94
                          Absolute Interference


1                      DR. FRANK:     Yes.
2                      MR. LINDELL:      And these guys that have --
3     what I've learned in politics, when you get a mix, how
4     could this happen to our country?           With all these bad
5     actors here, though, is how it could happen.              Because
6     what I've learned, in poli- -- in politics -- and I
7     didn't know a thing about them.          I was an ex-addict.
8     That they have -- it seems like there's three things,
9     they either have a political agenda for their party,
10    they're not worried about the people, or they have a
11    personal agenda.      That's really big one.
12                     Or maybe they're getting compromised,
13    blackmailed, who knows, you know.           But there's -- it
14    seems to be that.      There's very few of them that I've
15    seen.   You know, our president we had, Donald Trump,
16    when we -- you know, it happened to him where they
17    have -- where the things they're doing are for the
18    people.
19                     DR. FRANK:     Yes.
20                     MR. LINDELL:      It's supposed to be for the
21    people.   And you have a problem, solution, and what does
22    it manifest to help all people.          I don't care what party
23    you're in or what people, you know, or what race,
24    whatever.    It's for all of us.
25                     DR. FRANK:     Yes.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP833
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 834 of 971

                                                                             95
                          Absolute Interference


1                      MR. LINDELL:      And that's where this will
2     all be fixed.     I really believe that, because this
3     exposed not only this -- the machine, the fraud, the
4     election steal, but it also, for a lot of the
5     corruption, the corruption, people that don't -- laws
6     that should be changed that don't do their job.
7                      DR. FRANK:     Oh, yeah.
8                      MR. LINDELL:      The constitution that wasn't
9     followed every -- anywhere.           It was not followed
10    anywhere.    And I want everyone to know, well, why did
11    this evidence get looked at or it did get looked at?
12    No, this is all brand-new.         This is new right now,
13    today.   We're in March, you know, and this just -- this
14    just come out now --
15                     DR. FRANK:     Yes.
16                     MR. LINDELL:      -- to me.
17                     DR. FRANK:     Yes.
18                     MR. LINDELL:      You know?     And all this
19    stuff, they didn't have this back then.             So anyone that
20    says, Oh, it's all been looked at, the judges looked at
21    it, there was a (inaudible) --
22                     DR. FRANK:     No.    No.
23                     MR. LINDELL:      -- absolutely not true.
24                     And we -- all of you out there, I want you
25    to share this, I want you to get it out everywhere.                You




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP834
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 835 of 971

                                                                             96
                          Absolute Interference


 1    get this out everywhere because we're going to keep
 2    dumping evidence.     We're going to have you back,
 3    Dr. Frank, as you do state by state by state --
 4                     DR. FRANK:     Absolutely.
 5                     MR. LINDELL:     -- and it's amazing.       But
 6    thanks for coming and being a part of this.
 7                     DR. FRANK:     My pleasure.
 8                     MR. LINDELL:     This is exciting.       God bless
 9    you.
10                     Well, everyone, we have great breaking news
11    here.   Since we were filming a couple weeks ago this
12    documentary, John has went out and we -- with all these
13    other questions we had and he has done a great
14    investigation.     And John, what do you have for us right
15    now today?
16                     CONFIDENTIAL INFORMANT NO. 3:         Yeah, Mike.
17    I was actually watching the November 3rd election and I
18    was sick to my stomach.       I was watching the vote dump at
19    4:00 a.m. in the morning, I watched the videos on live
20    television of the vote totals slipping in front of
21    everybody.    The mainstream media was so overly quick to
22    call the election in Biden's favor.
23                     From there, I decided to see for myself.              I
24    kept on turning over stones, and I found multiple pieces
25    of evidence that proved to me that this was actually a




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP835
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 836 of 971

                                                                             97
                          Absolute Interference


 1    well-orchestrated vote theft.
 2                    A poll manager contacted me on January 3rd,
 3    2021, and basically conveyed to me that they were very
 4    uncomfortable with this phone that they had.            Now, this
 5    phone is a model 40440 flip phone.          Now, what was
 6    interesting about this particular phone is that it is a
 7    4G Wi-Fi hotspot.     After further digging on this device,
 8    we bought it and we were -- I was asked to go back and
 9    attain more evidence from poll managers and poll
10    workers.
11                    Seeing the device, I was very concerned and
12    I actually bought a copy myself to try to find out who
13    exactly manufactured it.       The phone manufacturer appears
14    to be AT&T, but it was, in fact, outsourced to Alcatel.
15    Alcatel was -- for the cellular world is expected to be
16    a European company.      But back in 2005, TCL bought the
17    Alcatel name out, out of a joint venture.            TCL is
18    actually the true manufacturer/parent company of
19    Alcatel.
20                    The operating system on the phone is KaiOS.
21    It was made in Hong Kong and TCL is one of the largest
22    shareholders, and Google invested at least $22 million
23    with this.    So you may ask, who is TCL?         TCL is
24    headquartered in China, founded as a state-owned
25    enterprise.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP836
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 837 of 971

                                                                             98
                          Absolute Interference


 1                    Mike, you might ask yourselves, is TCL
 2    trustworthy?    Multiple warnings over TCL devices and TCL
 3    TVs in government buildings.        They've had multiple
 4    security scandals such as their weather forecast app,
 5    including major portions of spyware and multiple
 6    backdoors into networks via their devices.
 7                    From here, I decided that I was going to
 8    try to do my best to catch them in the act.            I went and
 9    collected parts and built a Raspberry Pi Zero W in order
10    to install Kismet, a Lenox operating system, to try to
11    capture Wi-Fi in the air.
12                    The device that I worked on actually is
13    able to, like a camera, record all Wi-Fi signals in its
14    vicinity.   So it records anything that's transmitted
15    over Wi-Fi in its immediate vicinity.           Now, what we
16    found with the Raspberry Pi Zeros is we found hidden
17    SSIDs and questionable hack addresses.
18                    So is this important?        We found them not in
19    one, but six different precincts in three different
20    counties in Georgia, Cobb, Gwinnett and Fulton, on the
21    January 5th runoff.      The phones were connected to the
22    internet via the TCL flip phones.
23                    Mike, you know the first Absolute Proof,
24    you know where we had the white Y area networks?             Well,
25    now here's the other half of the LAN, the local area




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP837
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 838 of 971

                                                                             99
                          Absolute Interference


1     networks at the precinct levels.           We found that at the
2     precinct levels, they were connected to the internet,
3     and TCL was one of the IP addresses that we traced back
4     to China during the steal.         In fact, Mike, TCL accessed
5     over 150 election servers in 14 different states,
6     including multiple Secretary of State networks,
7     according to my data that I collected and other
8     corroborating source.
9                      MR. LINDELL:      So what you're saying, John,
10    this actually even shows more evidence of the -- of a
11    state-owned company right out of China attacking us
12    directly with -- through the Secretaries of States,
13    their computers, the -- the machines, using these cell
14    phones that were owned by China as internet devices?
15                     CONFIDENTIAL INFORMANT NO. 3:           Mike, what
16    we're saying is, we have verified connection to the
17    (inaudible) paths with China by this TCL flip phone.                   We
18    also have the absolute proof of interference by the fact
19    that we have transmissions that go back to this Chinese
20    state-owned company, TCL.         We have the absolute proof of
21    their incursion, their illegal incursion into 150
22    election servers in 14 different states, including
23    multiple Secretary of State offices.            China chose Biden,
24    not the American people.
25                     MR. LINDELL:      So you have China, you have




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP838
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 839 of 971

                                                                             100
                          Absolute Interference


1     the TCL company, you have the machines, your Dominions,
2     your Smartmatics, you have these.           You have cell phones
3     that went onto the internet owned by the Chinese
4     company, TCL?
5                      CONFIDENTIAL INFORMANT NO. 3:           Yes, sir.
6     What I'm saying is, we have multiple sources that are
7     recording this at the exact same time, showing matching
8     MAC addresses and matching IP addresses for devices
9     communicating with this TCL company in China.
10                     MR. LINDELL:      Well, now we're going to
11    welcome back two guests that were on Absolute Proof,
12    General McInerney and Colonel Phil Waldron.              And we all
13    remember during that, the last third of Absolute Proof
14    that all of these IP address, IDs of computers, who
15    attacked, what country it came from.            And we put this
16    out there.    It was evidence that had never been seen
17    before and proved an attack on our country, mostly by
18    China.
19                     I want everyone out there to know, none of
20    the mainstream, none of them, you know, said -- refuted
21    everything.    They just went completely silent on us.
22    They didn't say that -- that the evidence was wrong or
23    didn't re- -- refute it or anything.            But I did hear
24    from people going, Well, have you validated these IDs
25    and these I- -- I- -- IP addresses and stuff.               So is




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP839
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 840 of 971

                                                                             101
                          Absolute Interference


 1    there news on that?
 2                    COLONEL WALDRON:       Yeah, so our team started
 3    basically doing an independent verification of the --
 4    the IP addresses and looking at -- focusing on, you
 5    know, the battleground states and those areas that
 6    seemed to have the biggest impact.          That's -- that's the
 7    piece that our team, our white hat hackers have started
 8    working on, at least to confirm the IP addresses and
 9    the -- both the U.S. and the foreign IP addresses, for
10    the most part, in areas where the -- the attacks or the
11    interventions were successful.         Those have been
12    verified.
13                    MR. LINDELL:      You said that you -- that you
14    even checked some overseas, huh?
15                    COLONEL WALDRON:       Correct.    And -- and the
16    point that you just made on independent multiparty
17    validation is really, really critical, using -- using
18    different tools, using different suites and software, so
19    that's -- that's going to be really critical that all of
20    that information folds in together, and there's multiple
21    validations for the -- you know, for the foreign
22    interference.
23                    MR. LINDELL:      Right.    And that's what we're
24    going to show in, you know, the five, six weeks as we
25    dump all the evidence to the public and show the world




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP840
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 841 of 971

                                                                             102
                          Absolute Interference


1     all the evidence.      When it -- by the time it gets to the
2     door of the Supreme Court and we put this case there,
3     all nine of them are going to say, Wow.
4                      General McInerney, what happened to our
5     country on January -- or on November 3rd?
6                      GENERAL MCINERNEY:        Well, we had the most
7     massive cyber warfare attack, Mike, in history on our
8     electoral system.      It's never been anything of that
9     magnitude.    We have precise examples and evidence for
10    the Supreme Court and any other court in the whole
11    world.   It is very precise.        And it shows the magnitude
12    led by the Chinese communist party as a foreign entity.
13                     MR. LINDELL:      And these machines, now,
14    allowing for this foreign interference, we've been all
15    the way back to Venezuela when the machines first came
16    in.   And it took only two years for them to completely
17    take Venezuela.
18                     I think it's all getting shown to everyone
19    that -- what communism and socialism is like now with
20    our -- their cancel culture, taking away our free speech
21    and -- and all this -- and taking away our freedoms.
22    What an easier way to do it, like you said, with -- you
23    know, introducing a virus, a pandemic, that's going to
24    keep everybody -- take our freedoms away and -- and once
25    again, put fear into everybody.          They have a world




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP841
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 842 of 971

                                                                             103
                          Absolute Interference


1     agenda, don't they?
2                      GENERAL MCINERNEY:        Absolutely.      It's a
3     global agenda.     They demonstrated it, what they did to
4     the global economy.       And then specifically the leader in
5     national security and the world was the United States,
6     and look who they put in.
7                      MR. LINDELL:      Right.
8                      GENERAL MCINERNEY:        And as you said,
9     socialism is the front door to communism.
10                     MR. LINDELL:      Right.
11                     GENERAL MCINERNEY:        And Venezuela seen it.
12    They're using the same model, Mike.            And it's your
13    leadership that has enabled us to put Absolute Proof
14    together and get Brandon Haas and Mary Fanning, and all
15    these people, Colonel Phil, to show the American people
16    what has happened to them, and they've got to take their
17    country back.
18                     MR. LINDELL:      What we're going to is
19    we're -- we've got this new social media platform
20    because, obviously, they've been taking every -- all the
21    influence in the country off, they're suppressing their
22    speech.   But this new platform called "Frank" is going
23    to -- everyone's going to come on there, all the
24    influencers, and they're going to be able to talk about
25    Dominion and Smartmatic and communism coming into our




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP842
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 843 of 971

                                                                             104
                          Absolute Interference


 1    country and talk about the vaccine.
 2                     COLONEL WALDRON:      Something that General
 3    McInerney said was -- was very, very important, that --
 4    that the viewers can go look up.         This is the Chinese
 5    doctrine of unrestricted warfare, and this goes back to
 6    the writings of Sun Tzu and Mao Zedong in -- in the --
 7    the communist revolution.        So these doctrines are -- are
 8    there.     They're there for people to -- to look at.           They
 9    can go to -- probably to Barnes & Noble and buy Mao's On
10    Guerilla Warfare, which is a -- a very good primer on
11    what -- what happened to the -- China as the -- the
12    communist revolution took place.
13                     This is cyber warfare.       This is the Chinese
14    doctrine of unrestricted warfare.          And it goes all the
15    way back to the writings of Sun Tzu, the -- the acme or
16    the pinnacle of -- of war is to win without fighting.
17    And they've done that.       They -- they've won their
18    island-building campaign.        They won't have to fire a
19    shot.
20                     They probably won Taiwan.        They'll be
21    unrestricted operating through the Panama Canal -- Canal
22    zone, down through Central and South America, the
23    Caribbean, Africa, Afghanistan, the -- the Ring Road
24    project.     They plan in hundreds of years in -- in
25    strategy.     One other thing that you mentioned, the news




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP843
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 844 of 971

                                                                             105
                          Absolute Interference


 1    and the FBI and all these other folks said that, Well,
 2    we never saw anything.       It's because they weren't
 3    looking.   They didn't know where to look.
 4                     Just like General McInerney said, this was
 5    an unprecedented cyber warfare attack.           You have to
 6    understand that our intelligence community works on
 7    national intelligence priorities.          And they work
 8    generally on Band 1 and 2.        In the counter-terrorism,
 9    we've got, you know, tar- -- targets, priority target
10    that -- that we look at.        And those lower levels don't
11    get looked at.
12                     MR. LINDELL:     That's so bizarre because we
13    talked about in this documentary, we talked about a
14    movie, Kill Chain, that was last year.           And even the
15    Democrats in that -- my own senator from Minnesota, Amy
16    Klobuchar, talked about if these machines are used, we
17    are vulnerable for an attack by foreign country to take
18    our -- to -- you know, interfere with our election.
19                     And so with all that -- I mean, they made a
20    movie about it.     How come our intelligence teams would
21    not at least be looking for that?          Isn't that strange?
22                     GENERAL MCINERNEY:      Let me interject there.
23    You're being very kind to them.         There is no way that
24    our cyber command and NSA could have ever missed the
25    amount of cyber warfare that went on in the early hours




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP844
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 845 of 971

                                                                             106
                          Absolute Interference


1     of 4 November.     There's no way they could miss it.
2                      Now, I think we have a cancer there.             That
3     part of the military and that part of the intelligence
4     community, like the FBI missing it, DHS missing it,
5     there is no way that they could miss it.             And that's
6     extremely important, I think, Mike --
7                      MR. LINDELL:      Right.
8                      GENERAL MCINERNEY:        -- for why Absolute
9     Proof is such a -- a paramount -- you know, of paramount
10    importance to the nation, that this information get out
11    to the American people.
12                     MR. LINDELL:      Right.    And we are.      We're
13    going to put all the information out there, and we're
14    going to just pour it out there.            And we're going to
15    keep doing these all the way up to the Supreme Court.                   I
16    want to do it where even if you're -- I don't care if
17    you're a Democrat, Republican, who you are.              By the time
18    this gets to the Supreme Court, even those nine will
19    have watched this and -- watched over and over again and
20    seen all the evidence, going, Wow, this is the biggest
21    cyberattack, like the general says, in history.
22                     And then, General, I don't know what they
23    do from there, but obviously, you can never have
24    machines ever again.       I want to thank both of you again.
25    And is there anything else either of you would want to




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP845
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 846 of 971

                                                                             107
                          Absolute Interference


 1    add before we go?
 2                    GENERAL MCINERNEY:       I'd just like to say,
 3    Mike, that this nation has never been here before.              And
 4    every American, every American, as you're pointing out,
 5    this is their Normandy battlefield, this is their Iwo
 6    Jima, this is the Mount Suribachi.          We've never been
 7    here before, but we're presenting -- you are presenting
 8    that -- the evidence to show that this election was
 9    stolen with the aid of a foreign power that is bent on
10    global domination.
11                    MR. LINDELL:      Thank you.     Thank you.
12                    COLONEL WALDRON:       And, Mike, the -- the
13    American people are -- are waking up.           I know we had a
14    conference call earlier this week with the Secretary of
15    State of New Hampshire.       Brilliant -- a brilliant
16    gentleman, knows more about election history and
17    election law than anyone that we've ever -- we've come
18    in contact with since last August.          The folks in Florida
19    and Washington and -- and Georgia, Louisiana, they're --
20    people are becoming involved, and they're finally waking
21    up and understanding what happened and trying to do
22    their best to prevent it from happening again.
23                    MR. LINDELL:      Oh, that's awesome.       And that
24    gives everybody out there great hope.           Thanks, Colonel.
25    Thank you, General.      And God bless you both and -- and




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP846
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 847 of 971

                                                                             108
                          Absolute Interference


 1    we can't look forward -- we'll look forward to seeing
 2    you again in the next report.
 3                    COLONEL WALDRON:       Thank you, Mike.
 4                    GENERAL MCINERNEY:       God bless you, Mike.
 5                    MR. LINDELL:      Thank you.
 6                    GENERAL FLYNN:      And one of the things that,
 7    I think, for the American people is the -- the --
 8    this -- this awakening, but paying attention to the
 9    local things that are happening in your communities.
10    You have to do this.      I mean, you absolutely.         You
11    cannot -- you know, and the -- and the way I would say
12    it is, like a gentleman talked to me the other day in --
13    in the state of Florida at this -- at this one
14    particular event.     He says, I watched what happened and
15    now I am -- I'm getting off my couch and I'm going to
16    get involved in my community because I can't have this
17    happen to -- with my children and my grandchildren going
18    forward in this country.
19                    If there's one thing that I sit here, and
20    why I'm sitting here with -- with Mike Lindell today,
21    one, because we met and we found a -- a -- a common
22    effort that we wanted to get behind, which was this --
23    fighting against this incredibly corrupt election system
24    and process that we have with this machinery.
25                    We have to stop this, we have to get to




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP847
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 848 of 971

                                                                             109
                          Absolute Interference


 1    another place, and we have to bring our communities
 2    together in a much greater way to be able to -- to
 3    basically coordinate and -- and to keep an eye on the
 4    kinds of things that we need to do for our election
 5    system.   So get involved.       Get out there at the local
 6    level.
 7                    Our Constitution gives us those individual
 8    rights and individual liberties.         I don't care about the
 9    cancel culture, I don't think about the censorship.              The
10    American people are going to work through this, we're
11    going to fight through this, and we're going to overcome
12    this problem because we now know -- we now know what
13    happened in our election and -- and, folks, more and
14    more information is going to come out in the future, and
15    I'm talking about in the very near future --
16                    MR. LINDELL:      Uh-huh.
17                    GENERAL FLYNN:      -- as Mike talks about with
18    dumping all this information out there.           Pay attention
19    to it, get smart about it, and use it in your own
20    arguments and your own debates in your communities to be
21    able to say, Never again will we allow this to happen.
22    And -- and we should not.
23                    MR. LINDELL:      And -- and, you know, I'm
24    getting emails from all over the country.            It -- they --
25    people have already started that.          In their communities,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP848
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 849 of 971

                                                                             110
                          Absolute Interference


 1    the com- -- one of the common things is they're going --
 2    they're going and approaching their -- their county
 3    election boards and stuff and going, we -- do we have
 4    machines?    They're going, Yeah.       And they're going, When
 5    did we get them?     2019, 2020.
 6                    GENERAL FLYNN:      Right.
 7                    MR. LINDELL:      I mean, they're all going --
 8    they all just, like, they came in like this big
 9    invasion.
10                    GENERAL FLYNN:      Right.
11                    MR. LINDELL:      And they're going, Why do we
12    have them?    We don't want them.       You know, so you get
13    down to that level because we had -- we had Dr. Frank
14    on earlier and, you know, these -- the -- the -- down --
15    down the little -- even school board elections.
16                    GENERAL FLYNN:      Uh-huh, that's right.
17                    MR. LINDELL:      All these things, they can do
18    anything with that.      This isn't just talking about a
19    presidential election.       All the down tickets and stuff,
20    all these down tickets, right down to your own
21    community.    You know, you've got a machine going --
22    somebody could just -- you know, you have -- you have
23    micro- -- micro things down there, all the way up to the
24    macro, the presidential election.          And you take
25    everything in between.       This isn't about just one




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP849
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 850 of 971

                                                                             111
                          Absolute Interference


 1    election, this is about everything.
 2                    GENERAL FLYNN:      Right.
 3                    MR. LINDELL:      It's about everything we
 4    have.
 5                    GENERAL FLYNN:      I mean, you know, when --
 6    when you think about it -- and Mike talked about, you
 7    know, rocks and glass and bottles or whatever, broken
 8    things inside of his pillow, somebody would go, Hey, you
 9    know, this is a bad pillow.        He'd open it up and look at
10    it and go, Yeah, you're right.         We'll fix it.
11                    MR. LINDELL:      Right.
12                    GENERAL FLYNN:      And every -- every mom that
13    goes to every store, picks up, you know, the -- the milk
14    carton or the cereal box or, you know, the -- the -- the
15    thing of butter and they look at the ingredients inside,
16    and we don't -- the -- the -- these companies, these --
17    these machine-owning companies, they don't want to list
18    the ingredients inside, because they don't want us to
19    know what's inside of these machines.
20                    So it's just like buying a -- a piece of
21    food at the supermarket --
22                    MR. LINDELL:      Right.
23                    GENERAL FLYNN:      -- for every mother out
24    there that -- you know, what we want is -- I want, as an
25    American citizen, I want to know what's inside of that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP850
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 851 of 971

                                                                             112
                          Absolute Interference


 1    thing that is going to elect the next president of the
 2    United States --
 3                     MR. LINDELL:     Right.
 4                     GENERAL FLYNN:     -- or the next member of
 5    the school board that's going to make policy for the
 6    education of my children.        I want to know the
 7    ingredients in every single box that I'm about to use to
 8    make a massive decision about my country or about my
 9    community.
10                     MR. LINDELL:     Wow, that's a great --
11                     GENERAL FLYNN:     And it's that simple.
12                     MR. LINDELL:     Yeah, that's a great analogy.
13    I mean, and we ask ourselves across our country and
14    across the world, why, if there's nothing to hide --
15                     GENERAL FLYNN:     Right.
16                     MR. LINDELL:     -- why can't you see what's
17    inside the box?
18                     GENERAL FLYNN:     Just let us see it.        Just
19    let us see it.     That's it.     I mean, the -- Dominion,
20    Hart, ES&S, I don't care what the name is.            If we're
21    using these electronic machines to vote for president or
22    dogcatcher --
23                     MR. LINDELL:     Right.
24                     GENERAL FLYNN:     -- I want to make sure that
25    when I -- when I vote -- when I slip that piece of paper




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP851
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 852 of 971

                                                                             113
                          Absolute Interference


 1    in or how ever it is that -- that I do it at my local
 2    office, my local precinct, I want to make sure that it
 3    counts.     So back to -- and -- and I -- I -- you know, as
 4    I -- as I look at the audience, you know, I really hope
 5    that Senator Amy Klobuchar, Senator Dick Blumenthal
 6    watch this show, because if they do, what they need to
 7    reflect on is what they said during the documentary,
 8    Kill Chain.
 9                     MR. LINDELL:     Yeah.
10                     GENERAL FLYNN:     Which they said, The
11    machines are bad.     We have to be careful of the
12    machines.     I mean, go back and look at what you said --
13                     MR. LINDELL:     Right.
14                     GENERAL FLYNN:     -- Klobuchar, Senator
15    Klobuchar --
16                     MR. LINDELL:     Yeah.
17                     GENERAL FLYNN:     -- and Senator Blumenthal
18    and others who were on that show about the -- the way
19    the machines are manipulated, the way that they're used
20    against, in their case, you know, their party, right?
21                     MR. LINDELL:     Right.
22                     GENERAL FLYNN:     So now, all of a sudden, we
23    had the -- the tables turned, and it's nothing to see
24    here, folks, don't worry about it.
25                     MR. LINDELL:     Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP852
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 853 of 971

                                                                             114
                          Absolute Interference


 1                    GENERAL FLYNN:         You know, these people are
 2    conspiracy theorists, they're lying to you, you know,
 3    they're sore losers.      No.    No.    If this thing was a free
 4    and fair election and -- and as transparent as it's
 5    supposed to be, we wouldn't be sitting here today
 6    talking to the American people about this.
 7                    MR. LINDELL:      Absolutely not.
 8                    GENERAL FLYNN:         These -- this election was
 9    manipulated both internally and by -- by foreign
10    interference.    The foreign interference is real.             I
11    mean, if you -- if you just believe what the -- what the
12    intelligence community just reported, which is very hard
13    to believe these days, but they just reported that
14    foreign interference did occur in our election, so --
15                    MR. LINDELL:      Right.
16                    GENERAL FLYNN:         -- okay, let's -- let's see
17    how it occurred because we do not want to have this
18    happen again.    I don't want it happening at the state
19    level for election of a governor or election of a -- of
20    a -- of a -- a county board of supervisors.            And I
21    definitely -- I certainly don't want it happen again at
22    the presidential elec- -- presidential level.
23                    I mean, we just cannot allow this type of
24    activity to occur with machines that we know are --
25    they're connected to the internet when they're not




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP853
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 854 of 971

                                                                             115
                          Absolute Interference


1     supposed to be.      We have IP addresses, internet protocol
2     addresses, that are high- -- electronic highways going
3     back into these countries, and we can see the activity.
4     We can actually see the electronic activity.
5                      And believe me, folks, if you're paying
6     attention and you watch some of the -- some of the data
7     that -- that Mike Lindell is talking about putting out
8     there, take a look at it.         I mean, this is not made-up
9     stuff.   This is real stuff, and it's going to -- and it
10    proves that we had foreign interference in our election.
11                     MR. LINDELL:      And now -- you know, we even
12    went a bunch of steps further.          We went and we -- we
13    checked the IP address -- -dresses and the IDs of the
14    computers.
15                     GENERAL FLYNN:       Right.
16                     MR. LINDELL:      And guess what?       They're a
17    perfect match.
18                     GENERAL FLYNN:       Right.
19                     MR. LINDELL:      You know, i- -- identical.
20                     GENERAL FLYNN:       Right.    Right.
21                     MR. LINDELL:      You know, it's just -- it's
22    amazing.    But -- yeah, and we're going to keep making
23    these documentaries, we're going to keep pouring
24    evidence out.     General Flynn, I can't thank you enough
25    for what you've done for our country and for -- you




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP854
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 855 of 971

                                                                             116
                          Absolute Interference


1     know, you look up patriot in the dictionary --
2                      GENERAL FLYNN:       (Inaudible.)
3                      MR. LINDELL:      Remember when dictionaries
4     were out there?      But there you are.        There's a picture
5     of you, you know.
6                      GENERAL FLYNN:       Thank you, Michael.
7                      MR. LINDELL:      And, you know, we'll -- you
8     know --
9                      GENERAL FLYNN:       This is an important --
10                     MR. LINDELL:      This is the most important
11    thing --
12                     GENERAL FLYNN:       Yeah, it really is.
13                     MR. LINDELL:      -- in our lifetimes, you
14    know.
15                     GENERAL FLYNN:       Yeah.    If there's anything
16    I've done in my life to -- you know, in service to this
17    country in uniform, overseas, and I love our military --
18                     MR. LINDELL:      Yeah.
19                     GENERAL FLYNN:       -- I love our veterans
20    community, I would just tell you that if I fought for
21    anything, as I've reflected back on what happened on the
22    3rd of November and what I know to be true, this is
23    probably the most important endeavor in my life.                And
24    it's really not for me and it's not for Donald J.
25    Trump.    It's really for my children and my -- especially




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP855
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 856 of 971

                                                                             117
                          Absolute Interference


1     my grandchildren going forward because I want this
2     country to continue to be a -- a country of life,
3     liberty and the pursuit of happiness, a constitutional
4     republic.
5                      It is an experiment in democracy, but
6     that's okay.     And we have to continue to protect our
7     individual liberties and our individual rights.               To
8     breathe the fresh air of liberty, we need to have a free
9     and fair election process.         And right now, the American
10    people across the board, I don't care what party
11    persuasion you have or you're a part of, nobody trusts
12    our election system right now.            No one.
13                     MR. LINDELL:      Wow.    Thanks for coming,
14    General.
15                     So now the moment we've all been waiting
16    for.   When we came out with Absolute Proof on
17    February 5th, up to that point, the mainstream media,
18    they called me all day long every day and badmouthed me
19    and said, you know, There's no evidence, there's no
20    evidence.    I said, You wait till February 5th.
21    February 5th came out, 9:00 a.m., we launched Absolute
22    Proof, by the way, seen by 150 million people.
23                     And the mainstream media -- everybody went
24    silent.    Everyone.     Social media took it down, they --
25    they just blocked it everywhere.           No one said -- they --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP856
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 857 of 971

                                                                             118
                          Absolute Interference


1     nobody discredited it.        But I -- so, you know, you had a
2     few people out there that said, Well, Mike, you should
3     validate that.     And you know what, I said, You know,
4     that's a real good idea.        Let's validate this
5     100 percent proof of evidence of this cyberattack by
6     China on the U.S. and these vote flips.
7                      So on February 21st, I went out and
8     retained one of the best cybersecurity and digital
9     forensic experts ever.        And we have him blacked out for
10    a very good reason.       He's going to be one of the
11    experts, witnesses, of many we have once we get this to
12    the Supreme Court.       So, everybody, you're going to now
13    hear about his amazing credentials.
14                     UNIDENTIFIED COMPUTER EXPERT:           So I've
15    been, you know, in cybersecurity and advanced threats
16    for the better part of 15 years, IT, you know, longer
17    than that.    Been around computers a long time.
18                     MR. LINDELL:      Right.    So you've been
19    working within the government and the private sector.
20                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.
21                     MR. LINDELL:      Okay.
22                     UNIDENTIFIED COMPUTER EXPERT:           Both, you
23    know, companies, personal and government.
24                     MR. LINDELL:      Right.    And it -- and with
25    the -- with this, this what we have here on the screen,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP857
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 858 of 971

                                                                             119
                          Absolute Interference


 1    this is the certificates that we have.           This is the
 2    highest standard in cybersecurity that there is,
 3    correct?
 4                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, in
 5    terms of certification.
 6                    MR. LINDELL:      Right.    Can you show -- I
 7    want everyone to really see these qualifications.
 8    They're amazing.     Okay.    So if we go here -- so where --
 9    which part of these do you -- will you specialize in?
10                    UNIDENTIFIED COMPUTER EXPERT:          Probably the
11    first four --
12                    MR. LINDELL:      Okay.
13                    UNIDENTIFIED COMPUTER EXPERT:          -- cyber
14    defense, offensive operations, DFIR, which is digital
15    forensic and incident response and file security.
16                    MR. LINDELL:      Okay.    And if we go to the
17    next page here, I want everybody to see this.             This
18    here, this is protect and defend.          When you talk about
19    government, right, this is your wheelhouse right here,
20    cyber defense analysis, everybody.          Is this correct?
21                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, cyber
22    security defense, infrastructure support, incident
23    response, vulnerability assessment and management.               And
24    essentially, that kind of goes both ways in this chart.
25    So analyze the threat analysis, exploitation analysis,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP858
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 859 of 971

                                                                             120
                          Absolute Interference


1     all source analysis, targets and language analysis.
2                      MR. LINDELL:      Right.    So what I had you
3     look into was in -- directly in your wheelhouse,
4     correct?
5                      UNIDENTIFIED COMPUTER EXPERT:           Correct.
6                      MR. LINDELL:      So I wanted you-all to see
7     these amazing credentials.         And now what I had him look
8     at was, starting with the raw data all the way to the
9     end, basically do what he does for the government and
10    for the private sector, being one of the best there is.
11    So can you take us from the raw data -- and by the way,
12    you're going to see something you didn't see in Absolute
13    Proof right now.
14                     This is the computer -- why don't you
15    explain what this is here.
16                     UNIDENTIFIED COMPUTER EXPERT:           I mean,
17    really, it's just the encrypted data, so you have to
18    take it from this form in -- in HEX and convert it into,
19    you know, human readable.
20                     MR. LINDELL:      Right.    Now -- now, this is
21    just one piece.      There's a -- there's a lot, right?
22                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.    This
23    is -- there -- there's -- there's millions of rows.
24                     MR. LINDELL:      Millions of rows for -- just
25    for the election?




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP859
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 860 of 971

                                                                             121
                          Absolute Interference


 1                    UNIDENTIFIED COMPUTER EXPERT:          Just for the
 2    election.
 3                    MR. LINDELL:      Just for the election.
 4    Everyone hear that?      So this is what you -- you start
 5    with.   Now, could this be -- I want everyone to be clear
 6    on this.    Could this be taken from any other -- can
 7    anyone duplicate these millions of rows or whatever?
 8    Where -- where -- with -- that was the first thing you
 9    had to validate.
10                    UNIDENTIFIED COMPUTER EXPERT:          Well,
11    because -- yeah.     So ea- -- each segment has its own
12    unique signature and -- and so that's what we look for.
13    And, you know, starting there, you preserve, you know,
14    the original copy to maintain the, you know, chain of
15    custody of that so that it's admissible.           And so I work
16    off a copy just like, you know, any other --
17                    MR. LINDELL:      Right.
18                    UNIDENTIFIED COMPUTER EXPERT:          We -- we use
19    a write-block so, you know, nothing ever touches
20    their -- you know, the source stuff.
21                    MR. LINDELL:      Right.    So -- and to explain
22    that to everyone out there, this is -- when you seen
23    this for the first time, when you -- this is the fir- --
24    when you seen this, you -- what did you -- when -- right
25    away, you -- you knew you were looking at something that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP860
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 861 of 971

                                                                             122
                          Absolute Interference


 1    was real and you've seen it before, this kind of data,
 2    but you knew there was a lot of it?
 3                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    So
 4    the -- you know, when I -- I first looked, there --
 5    there's more to this, you know, this picture or image,
 6    you know, there -- there's more rows there.            But
 7    essentially, the position of -- of this shot was, you
 8    know, millions and millions and millions of rows in.               So
 9    I knew I was dealing with a -- a lot of data.
10                    MR. LINDELL:      Like a -- and that -- that
11    would be like a big co- -- a big computer?
12                    UNIDENTIFIED COMPUTER EXPERT:          A big
13    computer, something --
14                    MR. LINDELL:      A mega computer?
15                    UNIDENTIFIED COMPUTER EXPERT:          Yes.
16                    MR. LINDELL:      Okay.    So what he's saying is
17    these -- this just this -- this -- what we pulled here,
18    just this little picture, is mil- -- there's millions of
19    rows just from the election, correct?
20                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
21                    MR. LINDELL:      Okay.    I want everybody to
22    know that.    So then what did you do when you started,
23    you know, tha- -- doing your job as a cyber expert
24    forensic -- by the way, I want to ask one more thing.
25    So what you're saying is, these can't be gone in and be




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP861
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 862 of 971

                                                                             123
                          Absolute Interference


 1    changed, correct?     They're like a imprint that --
 2                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    So
 3    that -- you know, there's signatures and, you know, you
 4    can look at the actual -- you know, the drive of that
 5    data, look at the metadata, and you can see when it was
 6    created, when it was, you know, changed, essentially.
 7                    MR. LINDELL:      Right.
 8                    UNIDENTIFIED COMPUTER EXPERT:          And so that
 9    would be, you know, the period just before the election
10    and, you know, days after.
11                    MR. LINDELL:      Right.    But -- but nobody
12    could go back in and change any of that.
13                    UNIDENTIFIED COMPUTER EXPERT:          Right.
14                    MR. LINDELL:      It's a cyber footprint that's
15    locked in time; is that correct?
16                    UNIDENTIFIED COMPUTER EXPERT:          (Inaudible.)
17    It's 100 percent locked in time because you're capturing
18    a packet as it --
19                    MR. LINDELL:      Right.
20                    UNIDENTIFIED COMPUTER EXPERT:          -- is being
21    transferred, right?      So you can't go back and --
22                    MR. LINDELL:      And change it.
23                    UNIDENTIFIED COMPUTER EXPERT:          -- recreate.
24                    MR. LINDELL:      You can't recreate?
25                    UNIDENTIFIED COMPUTER EXPERT:          There's --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP862
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 863 of 971

                                                                             124
                          Absolute Interference


1     there's a time stamp, there's a signature, there's, you
2     know, a lot of different identifying, you know,
3     identifiers within that that are just, you know,
4     impossible to kind of recreate.
5                      MR. LINDELL:      So in your expert opinion,
6     100 percent, this could not be changed in any way, shape
7     or form.
8                      UNIDENTIFIED COMPUTER EXPERT:           No. And you
9     know, the data that I worked off of is a copy, so, you
10    know, that'll never -- that source data will never be
11    altered --
12                     MR. LINDELL:      Right.
13                     UNIDENTIFIED COMPUTER EXPERT:           -- in any
14    way.   It'll be preserved in its natural...
15                     MR. LINDELL:      Right.    What he means by
16    that, "preserved," so when this does get to the Supreme
17    Court, it's locked in, 100 percent, what do you call it,
18    the chain of custody --
19                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.
20                     MR. LINDELL:      -- and nothing is -- now, if
21    it -- with what you're about to show us, this would be
22    100 percent evidence in -- that -- that -- that this
23    happened on election night, this China attack and these
24    flips.
25                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.    I




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP863
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 864 of 971

                                                                             125
                          Absolute Interference


 1    mean, it's -- it's pretty -- it's pretty impressive.
 2    It's -- it's wild.      You know, I -- I've been doing this
 3    a long time, and I have not quite encountered something
 4    this --
 5                    MR. LINDELL:      Of this magnitude?
 6                    UNIDENTIFIED COMPUTER EXPERT:          -- of this
 7    magnitude.
 8                    MR. LINDELL:      Right.
 9                    UNIDENTIFIED COMPUTER EXPERT:          And not just
10    as it relates to everybody, but just the amount of data
11    that you need to unencrypt to, you know, process.
12                    MR. LINDELL:      So with that raw data, now
13    I'm going to show you, when we seen in Absolute Proof
14    all those lines going back and forth, each one of them
15    was an individual attack.        And now we're going to show
16    you again, so if you didn't watch Absolute Proof, go
17    ahead, show us what we have here.          What do we have on
18    the screen?
19                    UNIDENTIFIED COMPUTER EXPERT:          So right
20    here, when you see green, that is a successful
21    intrusion, meaning they -- they flipped votes.
22                    MR. LINDELL:      Right.
23                    UNIDENTIFIED COMPUTER EXPERT:          Red is
24    unsuccessful in terms of flipping votes, but it could be
25    reconnaissance or, you know, passive recon, just looking




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP864
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 865 of 971

                                                                             126
                          Absolute Interference


 1    at the different machines to see what the totals are.
 2                    MR. LINDELL:      So -- so -- so the green --
 3    say that again.     The green attacks here, as we're
 4    watching --
 5                    UNIDENTIFIED COMPUTER EXPERT:          Those --
 6                    MR. LINDELL:      -- those were actually
 7    attacks that flipped votes --
 8                    UNIDENTIFIED COMPUTER EXPERT:          Correct.
 9                    MR. LINDELL:      -- from -- now, from Trump to
10    Biden, correct?
11                    UNIDENTIFIED COMPUTER EXPERT:          From Trump
12    to Biden.
13                    MR. LINDELL:      And the red one -- the red
14    lines are all -- they're like checking on it?
15                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
16                    MR. LINDELL:      Okay.    Does everyone get
17    that?    They're checking to see what -- what the tallies
18    are.    And then they're -- -- and then the green ones are
19    actually -- when it goes over to this computer, it says,
20    Hey, I'm going to flip some because it's keeping it this
21    cert- -- this certain percentage, correct?
22                    UNIDENTIFIED COMPUTER EXPERT:          So -- so the
23    red doe- -- doesn't necessarily mean -- well, it's
24    unsuccessful in terms of flipping votes, but it serves a
25    purpose because it identifies which votes to flip.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP865
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 866 of 971

                                                                             127
                          Absolute Interference


 1                    MR. LINDELL:      Right.    So it comes back,
 2    gives an identifier, then it'll send a green one over
 3    that gets through, flip the votes.          And it's keeping
 4    these, is -- in -- in your expertise, it's keeping this
 5    so that the -- the person that's set to win the election
 6    by a certain percentage --
 7                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
 8                    MR. LINDELL:      -- that's all it's doing is
 9    keeping that?
10                    Now -- now, before we get any further, now,
11    I -- I had talked to you before we got on here.             It
12    happened in every state, correct?
13                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, as
14    you can --
15                    MR. LINDELL:      And even Alaska and Hawaii,
16    right?
17                    UNIDENTIFIED COMPUTER EXPERT:          As you can
18    see there, that pretty much (inaudible) --
19                    MR. LINDELL:      Yeah.    Look at this.     Okay.
20                    UNIDENTIFIED COMPUTER EXPERT:          -- the
21    entire United States.
22                    MR. LINDELL:      Entire United States.          But
23    what I had him do, I said, I want you to do -- show us
24    just, like, 19 attacks just on five states:            Arizona,
25    Michigan, Pennsylvania, Wisconsin and Georgia.             Okay?




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP866
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 867 of 971

                                                                             128
                          Absolute Interference


 1    And what did we find here?
 2                    UNIDENTIFIED COMPUTER EXPERT:          So --
 3                    MR. LINDELL:      Oh, and by -- by the way,
 4    now, what you're going to see, these -- each one of
 5    these is an attack, and you have a -- a graph here
 6    that's going to show us what they con- -- what that
 7    means, right?
 8                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
 9                    MR. LINDELL:      So when you've seen all those
10    lines everybody, though, that's -- each one's an
11    individual attack.      And when you take that -- that kind
12    of -- I call it the gibberish that came off of the
13    machine, that there's millions of those lines that we
14    can't read, and then converted -- each one of these is a
15    converted attack that we're going to read across.              This
16    is what you seen in the first Absolute Proof that Mary
17    read and each one that went across, but now you've
18    expanded on that.
19                    This -- he -- what I've had him do here is
20    validate every single -- every single thing from IP
21    address to IDs, and he's going to explain each one, as
22    we go across, what happened.
23                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    So
24    each -- each line will essentially represent one of the
25    lines in the map.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP867
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 868 of 971

                                                                             129
                          Absolute Interference


1                      MR. LINDELL:      Yep.
2                      UNIDENTIFIED COMPUTER EXPERT:           Right?    So
3     if you go horizontally across, that's -- that's one line
4     in the map.    We have 19 there.
5                      MR. LINDELL:      Yeah, there's -- so there's
6     19 of them here, 19 attacks, and they all came from
7     China?
8                      UNIDENTIFIED COMPUTER EXPERT:           Yeah.
9                      MR. LINDELL:      All came from China.          Now, I
10    want to show over here.        We go line by line.        Let's talk
11    about the date and the time stamp.           Okay?    And by the
12    way, I asked -- I asked him before we started,
13    obviously, they're not going by 3rd, 4th, 5th because
14    they're on what?      You were saying something to me.
15                     UNIDENTIFIED COMPUTER EXPERT:           Yeah, so
16    they -- so when you're looking at this, it's UTC time,
17    which is a universal time.         And it's -- military would
18    be Zulu time.     And so, essentially, you have that UTC,
19    and you back it up to, you know, each state.
20                     MR. LINDELL:      Right.    I got ya.
21                     UNIDENTIFIED COMPUTER EXPERT:           It'll
22    be ahead, you know, six hours from the East Coast, you
23    know --
24                     MR. LINDELL:      Right.
25                     UNIDENTIFIED COMPUTER EXPERT:           -- going --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP868
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 869 of 971

                                                                             130
                          Absolute Interference


1     going back towards the west.
2                      MR. LINDELL:      Right on.     Right.     So the
3     source, as we go through, what is the source?
4                      UNIDENTIFIED COMPUTER EXPERT:           Source is
5     the source IP of the attack, so the -- you know, the --
6     the bad guy.
7                      MR. LINDELL:      The bad guy.      Now, this IP,
8     now, this is the -- and then you have latitude,
9     longitude -- la- -- latitude and longitude.               So this is
10    the source, so this should be in China, correct?
11                     UNIDENTIFIED COMPUTER EXPERT:           Correct.
12                     MR. LINDELL:      And you've validated every
13    longitude, latitude at basically the building where the
14    attack came from, correct?
15                     UNIDENTIFIED COMPUTER EXPERT:           There --
16    there's a couple more that are outside of China, but
17    controlled by China.
18                     MR. LINDELL:      By China?
19                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.
20                     MR. LINDELL:      Okay.    So if you tell us
21    here, so this would be the source, the IP address, that
22    you validated, correct?
23                     UNIDENTIFIED COMPUTER EXPERT:           Correct.
24                     MR. LINDELL:      The latitude/longitude, the
25    building where it's at?




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP869
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 870 of 971

                                                                             131
                          Absolute Interference


 1                     UNIDENTIFIED COMPUTER EXPERT:         Correct.
 2                     MR. LINDELL:     And then here's the province,
 3    city, country.     I think everybody gets that, China,
 4    where it came from.
 5                     UNIDENTIFIED COMPUTER EXPERT:         So the
 6    source was in your original film, right?           So where it
 7    says Beijing, you know, Baidu Netcom Science and
 8    Technol.    So what that is is the actual network is
 9    Beijing Baidu Netcom Science.
10                     MR. LINDELL:     That's right here?
11                     UNIDENTIFIED COMPUTER EXPERT:         Yeah.
12                     MR. LINDELL:     Right.
13                     UNIDENTIFIED COMPUTER EXPERT:         So I grabbed
14    what that ac- -- that network actual registration is,
15    and so there's the full -- full written network, which
16    is Beijing Baidu Netcom Science and Technology Co., Ltd.
17         Q.    So what does this mean?       It came right out of
18    here from that building, that IP address and -- and I
19    mean --
20                     UNIDENTIFIED COMPUTER EXPERT:         So the raw
21    data, you know, is being converted from Chinese, too.
22                     MR. LINDELL:     Oh, you had to convert it
23    from Chinese into that?
24                     UNIDENTIFIED COMPUTER EXPERT:         So the
25    output for, you know, the original source data, you




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP870
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 871 of 971

                                                                             132
                          Absolute Interference


 1    know, is coming in here, right?
 2                     MR. LINDELL:     Right.
 3                     UNIDENTIFIED COMPUTER EXPERT:         And so I
 4    looked and grabbed, you know, that actual (inaudible) in
 5    English to, you know, go side by side with what was the
 6    output to validate it.
 7                     MR. LINDELL:     Right.    Wow.   Okay.    Then you
 8    get over here.     What's this -- network name, what does
 9    that mean, and network registration?
10                     UNIDENTIFIED COMPUTER EXPERT:         So when
11    you're going through, you know, there -- there are ghost
12    IPs or, you know, essentially phantom IPs that are out
13    there.
14                     MR. LINDELL:     Uh-huh.
15                     UNIDENTIFIED COMPUTER EXPERT:         They're no
16    longer in use or, you know, being used as (inaudible) as
17    bought -- you know, bought networks or, you know, just
18    different things.
19                     MR. LINDELL:     Uh-huh.
20                     UNIDENTIFIED COMPUTER EXPERT:         I wanted to
21    validate is it current, it is registered, is it in use
22    and --
23                     MR. LINDELL:     So you went above and beyond
24    the call of duty here on this one?
25                     UNIDENTIFIED COMPUTER EXPERT:         Yeah,




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP871
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 872 of 971

                                                                             133
                          Absolute Interference


 1    because, I mean, this -- this is a lot of information,
 2    but, you know, you want to make sure it's right.
 3                    MR. LINDELL:      And everyone, it took a long
 4    time to get these 19, correct?         And so now -- what is
 5    this network name?      How is this different from the
 6    network and the oth- -- the network name and the network
 7    registration, the network code; what does all tho- --
 8    three of those mean?      We're still on the attacker,
 9    correct?
10                    UNIDENTIFIED COMPUTER EXPERT:          We're still
11    on the attacker, so, you know, it's -- it's different
12    fields in the registration.
13                    MR. LINDELL:      Cyber guys know this stuff?
14                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.     It --
15    it's -- I mean, if you register your network, you know,
16    the network name could be a d/b/a.
17                    MR. LINDELL:      Okay.    I got ya.
18                    UNIDENTIFIED COMPUTER EXPERT:          (Inaudible.)
19                    MR. LINDELL:      Okay.    So now as we move
20    on -- now, this is all the attacker, correct?
21                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
22                    MR. LINDELL:      From here, this is the
23    attacker.   And what was -- the commonality in every one
24    was China, correct?
25                    UNIDENTIFIED COMPUTER EXPERT:          It was.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP872
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 873 of 971

                                                                             134
                          Absolute Interference


 1                    MR. LINDELL:        China.   Every single one.
 2    These -- of just these 19 attacks of -- of -- by the
 3    way, I think you told me before, we had 200 -- 2,995
 4    counties were attacked?
 5                    UNIDENTIFIED COMPUTER EXPERT:           Yeah,
 6    that -- that is essentially the attack surface, is what
 7    we would call it.       And so --
 8                    MR. LINDELL:        In all 50 states?     Okay.    So
 9    we -- this is just a sample we have here of 19 of the
10    2,995 counties that were attacked, but 19 -- just 19 of
11    the flips, correct?
12                    Okay.     So now this is the target here, so
13    what -- what does that mean?          This is the IP address of
14    the -- of the --
15                    UNIDENTIFIED COMPUTER EXPERT:           Of the
16    target machine, you know, where it is,
17    latitude/longitude, you know, state.          Entry point would
18    be the owner and what the network registration is here
19    in the U.S., network code.          In some cases, al- -- almost
20    all, as we'll get into, they're -- they're registered to
21    that county.    So most of the intrusions look like
22    they're at the county level.
23                    MR. LINDELL:        Right.
24                    UNIDENTIFIED COMPUTER EXPERT:           But --
25                    MR. LINDELL:        Now -- now, I want to ask you




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP873
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 874 of 971

                                                                             135
                          Absolute Interference


 1    this.   So the only way any of this could happen is if
 2    the machines were online, correct?
 3                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, you
 4    wouldn't -- you wouldn't see this otherwise.
 5                    MR. LINDELL:      Right.    Right.    So what we
 6    have here, then, the target is the attack with the IP of
 7    the actual computer?
 8                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, so --
 9                    MR. LINDELL:      Or the machine.
10                    UNIDENTIFIED COMPUTER EXPERT:          -- just
11    right there, you wouldn't have an IP if it wasn't --
12                    MR. LINDELL:      If it wasn't online?
13                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, if it
14    wasn't connected to the internet.
15                    MR. LINDELL:      Right.    Right.    Then you have
16    the longitude/latitude, that would be the actual
17    building it happened at.
18                    UNIDENTIFIED COMPUTER EXPERT:          Yep.
19                    MR. LINDELL:      The state, Michigan.
20                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
21                    MR. LINDELL:      Entry point or Delta County,
22    so that's just the -- at the county level.
23                    UNIDENTIFIED COMPUTER EXPERT:          Uh-huh.
24                    MR. LINDELL:      Then network registration, so
25    you have the actual -- now, would these guys be guilty




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP874
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 875 of 971

                                                                             136
                          Absolute Interference


 1    of anything or that's just the registration?
 2                     UNIDENTIFIED COMPUTER EXPERT:         No.    But you
 3    know when you look at that registration and the domain,
 4    it -- it goes back to Delta County.          So, you know, they
 5    might say, Oh, that -- that's my network.            It's actually
 6    the domain is registered as Delta County.
 7                     MR. LINDELL:     Okay.    I got ya.    And then
 8    the network code, what would that mean?
 9                     UNIDENTIFIED COMPUTER EXPERT:         That's
10    essentially just the -- the (inaudible).
11                     MR. LINDELL:     Intrusion.     Now, this is if
12    they either -- tell us what intrusion means here.
13                     UNIDENTIFIED COMPUTER EXPERT:         So they
14    could have used credentials implanted in the firewall if
15    there was one present or essentially both.
16                     MR. LINDELL:     Right.
17                     UNIDENTIFIED COMPUTER EXPERT:         The star is
18    just carrying -- carrying over from the one above it.
19                     MR. LINDELL:     Oh, I got -- okay.       Okay.
20    Now, this just means they got in and -- and flipped
21    votes, correct, yes?
22                     UNIDENTIFIED COMPUTER EXPERT:         Yes.
23                     MR. LINDELL:     Okay.    Now, here, what we
24    want to show -- this is really important.            I want to
25    show everyone.     So Trump down 3,215.       You go all the way




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP875
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 876 of 971

                                                                             137
                          Absolute Interference


 1    down here, this one here, it goes all the way through
 2    these, Trump down 2,4- -- 24,311.          Now, in those there,
 3    those are time stamped, you can't change them, cyber
 4    flips that you have validated 100 percent?
 5                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    It is
 6    captured in the -- in the data and you -- you know,
 7    there -- there's -- you're -- you're -- you're checking
 8    information and preserving it in its state at the time.
 9                    MR. LINDELL:      So what we have here, what
10    you can see here, Trump down 3,215, all the way down,
11    all these lists here, this is votes that were flipped
12    from Trump to Biden, correct?
13                    UNIDENTIFIED COMPUTER EXPERT:          Correct.
14                    MR. LINDELL:      And then all the -- like
15    here, 24,311 votes flipped.        And that was in Michigan.
16    Okay.   Remember, Michigan had that big spike in all
17    these things too.     Well, so all of these, you have
18    validated; they're like time stamped in the computer; is
19    that correct?
20                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    So in
21    that file, you know, you can look at the data and see if
22    there's been any -- you know, anybody's messed with it,
23    any sort of -- anything done to it.          And you know, it's
24    essentially as -- as it was.
25                    MR. LINDELL:      So you're 100 percent that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP876
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 877 of 971

                                                                             138
                          Absolute Interference


 1    these are -- everything on here is 100 percent accurate,
 2    correct?
 3                     UNIDENTIFIED COMPUTER EXPERT:         As the data
 4    was collected.
 5                     MR. LINDELL:     Right.
 6                     UNIDENTIFIED COMPUTER EXPERT:         You know, we
 7    were seeing votes go down, you know, during the
 8    election, which it was weird.
 9                     MR. LINDELL:     Right.
10                     UNIDENTIFIED COMPUTER EXPERT:         You know,
11    just for -- for me, I pick up on stuff like that.
12                     MR. LINDELL:     Right, right, right.
13                     UNIDENTIFIED COMPUTER EXPERT:         You know,
14    like, wait.    If you're adding you know --
15                     MR. LINDELL:     Right, right.
16                     UNIDENTIFIED COMPUTER EXPERT:         -- it's a --
17    it's a building block, you can never go back on it.              So,
18    you know, looking at this, it --
19                     MR. LINDELL:     It makes sense to you now?
20                     UNIDENTIFIED COMPUTER EXPERT:         It really
21    makes sense.
22                     MR. LINDELL:     Right, right.
23                     UNIDENTIFIED COMPUTER EXPERT:         It's not
24    just Trump going down, it's Biden going up --
25                     MR. LINDELL:     Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP877
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 878 of 971

                                                                             139
                          Absolute Interference


 1                     UNIDENTIFIED COMPUTER EXPERT:         -- so those
 2    numbers are actually double.
 3                     MR. LINDELL:     They're actually double.
 4    Let's go to that.       Let's look what happened.       So now
 5    with just these 19 attacks, everybody, just 19 in those
 6    five states, let's see what happened.           So 518,617 votes
 7    were switched from Trump to Biden in just those 19
 8    intrusions.     Okay.    And now you have here -- what --
 9    what do you -- explain what's going on here.
10                     UNIDENTIFIED COMPUTER EXPERT:         So this
11    matches up to the -- the number above, the 518,617 and
12    it's just broken out --
13                     MR. LINDELL:     By --
14                     UNIDENTIFIED COMPUTER EXPERT:         -- by state.
15                     MR. LINDELL:     Okay.    By state.    So, now,
16    these were all -- these were all flipped, so they
17    actually are double then?
18                     UNIDENTIFIED COMPUTER EXPERT:         They're
19    double.
20                     MR. LINDELL:     And what does that do?
21                     UNIDENTIFIED COMPUTER EXPERT:         So if Trump
22    goes down, Biden goes up, essentially (inaudible) the
23    ballots.
24                     MR. LINDELL:     So does everyone understand
25    that?     This flip here, that -- that -- you're taking 47




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP878
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 879 of 971

                                                                             140
                          Absolute Interference


1     away and adding 47 to the other guy.            So let's go to the
2     next video here.      So everyone, I can do this part.            This
3     is exciting.     Okay.    So out of those 19 flips that came
4     from China over to these five states, just 19 of
5     literally thousands --
6                      UNIDENTIFIED COMPUTER EXPERT:           Thousands.
7                      MR. LINDELL:      Okay.    Here's what it did.
8     Here's Pennsylvania, Georgia, Arizona, Michigan and
9     Wisconsin.    Here's what they told us that Biden won by
10    each state.    Now, remember, with those 19 attacks you
11    just seen, the absolute interference of our election by
12    China, here is the switches and here is what Donald
13    Trump actually won each one of those statements by just
14    with 19 of the flips.       And actually, these numbers are
15    going to be a lot more.        I just wanted to show you one
16    little attack.     So now we have absolute proof of
17    absolute interference by China to switch our election,
18    and we have proven it with one of the government's own
19    cyber experts, one of the best in his field, cert- --
20    certified, validated, every single thing that we've had
21    in Absolute Proof.
22                     And we showed Democrats earlier in this
23    film that said, You know what, these machines cannot be
24    used because a foreign country can attack us and flip
25    our election.     They said this.       But now you've got to




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP879
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 880 of 971

                                                                             141
                          Absolute Interference


 1    see this.   Just the other day, like a week or so ago,
 2    Adam Schiff and Chris Krebs said this.
 3                     MR. GEIST:    It's Willie Geist, good to see
 4    you this morning.     Can you be more specific on China?               I
 5    think people understand that China broadly is a threat,
 6    and I know this is what you'll be picking through at the
 7    hearing today.     But if you're an American, sitting,
 8    watching this show right now, what is the most immediate
 9    threat that China poses?
10                     MR. SCHIFF:     Well, probably what -- what
11    would strike people most in their living room right now
12    is that China has one of the most capable cyber hacking
13    and cyber espionage capabilities.          So China may be in
14    the process of stealing your private data, they may have
15    already stolen your private data.          If you're a business
16    owner or a business leader, they may have stole your
17    corporate trade secrets.       They may be hacking into
18    government agencies to steal defense plans.
19                     So this is, you know, how China's actions
20    influence people's lives every day.          It's affecting our
21    economic competitiveness.        They don't need to do the
22    same kind of research and development we do if they can
23    simply steal it from our innovators.
24                     MR. GEIST:    Chris, you look down the barrel
25    of these threats in your job inside the government.              How




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                    APP880
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 881 of 971

                                                                             142
                          Absolute Interference


1     did you assess them at the time and how different do you
2     suspect they are right now in terms of China?
3                      MR. KREBS:     So I think the best
4     characterization of the Chinese threat was -- was po- --
5     posed by Rob Joyce, who's now the National Security
6     Agency cybersecurity director at -- leader.              And this
7     was at a conference couple years ago out in
8     San Francisco.     And he said, Russia is like a hurricane,
9     China is like climate change.          So Russia's much more
10    disruptive in the current moment, but China is much more
11    subtle, much more patient.         It -- it's almost a
12    rope-a-dope.     They kind of lull you to sleep, you don't
13    see it, they use their soft power very effectively.                And
14    even at the local level, they -- they influence
15    politics, not just here in the halls of Washington,
16    which they do, but also in our local communities.
17                     So they're -- they're much more deliberate
18    and they have a longer term strategy as opposed to the
19    Russians who are trying to make an -- an impact today.
20                     MR. GEIST:     So Chris, what does that mean
21    when you say that China influences on the local level?
22    So if I'm sitting in my town somewhere in America, China
23    is putting its thumb on the scale somehow, what do you
24    mean by that?
25                     MR. KREBS:     Absolutely.      So they -- they




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP881
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 882 of 971

                                                                             143
                          Absolute Interference


1     influence local races.        If you think about some of the
2     Confucius institutes that have been established across
3     our country at colleges and universities, it's an
4     attempt to influence and say, Hey, you know what, Hong
5     Kong is part of China long term.           It's -- it's not --
6     and it -- you know, same goes for Taiwan, the -- the
7     weaker issue.     Not a big deal.       This is us, you know,
8     demonstrating our own sovereignty.           So they -- they just
9     try to shape the narrative locally to -- to their
10    benefit.
11                     MR. LINDELL:      So we can all agree, whether
12    you're a Democrat or Republican, doesn't matter, that
13    China attacked our country with their cyber technology,
14    and we are in the middle of the biggest national
15    security threat ever.
16                     So now we've all seen more evidence in
17    Absolute Proof times two.         And in just six weeks since
18    we launched Absolute Proof, look what has happened to
19    our country.     You have our First Amendment rights of
20    free speech just attacked, cancel culture running
21    rampant.    You have new- -- news stations afraid to tell
22    the news because they're afraid of getting sued.
23                     People -- I have friends of mine have lost
24    their podcasts, the -- their free speech has just been
25    absolutely taken away from us.          Well, I'm going to tell




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP882
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 883 of 971

                                                                             144
                          Absolute Interference


1     y'all now what's coming.        What we're going to do -- we
2     have launched -- we've worked for years on a new social
3     media called Frank.       It's launching in 10 to 14 days.
4     By the time you see this, it should already be launched,
5     hopefully.    But it's going to be launched.
6                      And what it is, it's like a YouTube and a
7     Twitter combined.      And this is going to be -- it's going
8     to be the most safe, secure place where you're able to
9     take millions and millions of people, of voices, and
10    you're going to be able to speak out and talk about the
11    election fraud.      You're going to be able to say the
12    word, "Dominion," you're going to be able to say the
13    word, "Smartmatic."       You're going to be able to talk
14    about the vaccine or talk about the borders or talk
15    about what's happening to our country.
16                     And what we all need to do -- what all you
17    need to do right now is spread the word, you know, take
18    this -- take this documentary and get it out far and
19    wide.   Tell everyone about it.         And get it -- you know,
20    you've all seen Absolute Proof.          Tell them they need to
21    see Absolute Proof times two.          And what we're going to
22    do for the next six weeks, four to six weeks, we're just
23    going to dump evidence.
24                     What you've seen here tonight is just a
25    small portion of what we have.          Every day, we're going




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP883
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 884 of 971

                                                                             145
                          Absolute Interference


 1    to just pour the evidence out for the -- for everyone in
 2    the world to see, everyone, whether you're a Democrat or
 3    Republican.    By the time we get to this -- to the
 4    Supreme Court, which will be four to six weeks from now,
 5    when that gets there, they're -- all nine of them are
 6    going to go -- they're already going to know.             The case
 7    will have already been over going, everyone -- even if
 8    you're a Democrat, Republican, this was an attack.
 9    They're all going to know, this was an attack on
10    everybody.
11                    This was an attack by the communist party
12    coming into our country, foreign entities starting with
13    China, that -- that stole our election, attacked through
14    these machines, and everyone's already going to know
15    that.   And this -- when this gets to the Supreme Court,
16    they're going to welcome it with open arms and go, Wow,
17    9-0, this was an attack, and then what are we going to
18    do about it?
19                    And this is going to be -- I really believe
20    that when we get through this, if everybody plays their
21    part and just spreads the word, spreads the evidence,
22    show everybody what really happened, educate everybody
23    on what's going on.      We -- we -- we have shown -- right
24    now, people are seeing that socialism isn't just having
25    a cup of coffee and socializing.         We've all seen that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP884
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 885 of 971

                                                                             146
                          Absolute Interference


1     now.
2                      We've seen what can happen in just
3     14 months to a country, to the United States.               What
4     happened from January and February of 2020 until now, we
5     have been flipped upside down, a thing we've never felt
6     before.    Our freedoms are being taken away.            But when we
7     mani- -- when this all manifests out and we get through
8     this, I do believe that we will be -- once again,
9     there'll be the greatest uniting ever of a country,
10    and -- and it'll end up being the greatest revival in
11    history.
12                     President Ronald Reagan famously said, "If
13    we lose freedom here, there is no place to escape to.
14    This is the last stand on earth."           And President Reagan
15    was absolutely right.       Please share this information
16    with everyone you know.        God bless you and God bless
17    America.
18                     (Recording ends.)
19

20

21

22

23

24

25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP885
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 886 of 971

                                                                             147
                          Absolute Interference


1                       C E R T I F I C A T E
2          I, TERRI GARCIA, Certified Shorthand Reporter in
3     and for the State of Texas, certify that the foregoing
4     is a correct transcription from the video recording of
5     the above-entitled matter.
6          I further certify that I am neither counsel for,
7     related to, nor employed by any of the parties to the
8     action in which this recording was transcribed, and
9     further that I am not financially or otherwise
10    interested in the outcome of the action.
11         I further certify that the transcription fee of
12    $___________ was paid/will be paid in full by
13    _____________________________________.
14
15
                                      f\_   ~ ),JG-- -
16                                    ~ /J - .. -~
                                  ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP886
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 887 of 971

                                                                                             148
                              Absolute Interference

         A            67:17 83:12       Africa 104:23       altered 124:11      anyway 44:1
a.m 3:23 26:24      accessed 99:4       age 52:3,5,24       alternatives          63:19 77:16
  96:19 117:21      accurate 138:1        64:1,14,15,19       20:10             app 98:4
ABC 3:1             acknowledge           85:8,9            amazing 4:21        appalled 19:4
ability 32:21         36:17             agencies 141:18       46:14 56:1        appearance
able 31:17 39:23    acme 104:15         Agency 142:6          66:18 69:16         63:23
  98:13 103:24      act 39:1 98:8       agenda 28:17,19       96:5 115:22       appears 97:13
  109:2,21 144:8    action 21:16          28:20 29:16         118:13 119:8      applied 6:10
  144:10,11,12        147:8,10            94:9,11 103:1,3     120:7             appointment 5:2
  144:13            actions 141:19      ago 17:13 20:1      Amendment 24:4      appreciate 15:9
above-entitled      activity 114:24       22:25 74:19         75:17,21          approaching
  147:5               115:3,4             96:11 141:1         143:19              110:2
absolute 1:13 2:4   actors 21:1 60:12     142:7             America 8:3         approved 18:20
  2:7,10,12,15        60:12 94:5        agree 76:8            37:20 104:22      area 98:24,25
  3:20 5:7,14,15    actual 10:18,18       143:11              142:22 146:17     areas 101:5,10
  11:2,6 45:18        32:15 62:10       ahead 44:21         American 32:22      arena 18:16
  55:4,13 56:19       67:6 70:8 123:4     65:22 125:17        37:3 38:23        arguing 22:20
  62:10,21 65:15      131:8,14 132:4      129:22              99:24 103:15      argument 20:17
  66:22 69:9 72:8     135:7,16,25       aid 107:9             106:11 107:4,4      30:3
  77:14 98:23       Adam 141:2          ain't 59:16           107:13 108:7      arguments
  99:18,20          add 4:21 107:1      air 98:11 117:8       109:10 111:25       109:20
  100:11,13         adding 138:14       al- 134:19            114:6 117:9       Arizona 16:20
  103:13 106:8        140:1             Alaska 127:15         141:7               73:6 127:24
  117:16,21         address 9:17 21:5   Alcatel 97:14,15    amount 16:9,9         140:8
  120:12 125:13       69:4 70:9 80:24     97:17,19            59:9,10,10,11     arm 9:23 10:7
  125:16 128:16       100:14 115:13     alerted 10:3          59:12 105:25      arms 145:16
  140:11,16,17        128:21 130:21     alerts 9:25 10:11     125:10            asked 42:2 79:9
  140:21 143:17       131:18 134:13     Alex 14:3           Amy 17:14 19:23       86:5 97:8
  143:18 144:20     addresses 4:19      algorithm 15:5        105:15 113:5        129:12,12
  144:21              9:16 11:9 68:23     16:3 43:16        analogy 112:12      aspects 31:10
absolutely 8:11       98:17 99:3          46:19 50:24       analysis 119:20     assess 142:1
  30:23 31:23         100:8,8,25          58:3 62:14          119:25,25         assessment
  42:1,10 44:18       101:4,8,9 115:1     74:21 80:10         120:1,1             119:23
  59:13 62:24         115:2             algorithms 16:3     analysts 54:1       assessments 25:3
  68:25 81:6        administration        26:19,21 50:2     analyze 119:25        33:15
  92:10 95:23         78:14               55:5 58:4 62:24   analyzed 13:23      assign 89:12
  96:4 103:2        admissible            72:8 80:2 81:3      44:2              AT&T 97:14
  108:10 114:7        121:15              81:8 91:13        answer 19:22        attack 4:10 10:16
  142:25 143:25     advanced 118:15       92:16               34:24 89:5          23:8 55:4 60:11
  146:15            advisor 39:6        allow 18:23 37:22   anybody 13:9          62:24 73:12
ac- 131:14          affiliation 40:4      109:21 114:23       15:6 18:5 24:19     75:16 80:8
access 11:19        Afghanistan         allowed 39:7,9        56:23               100:17 102:7
  18:25 19:17         104:23              64:1 66:18        anybody's             105:5,17
  21:11 44:23,24    afraid 74:22,24     allowing 102:14       137:22              124:23 125:15
  45:1 66:18          143:21,22         Almighty 37:19      anymore 35:13         128:5,11,15


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                           800.445.9548
                                            APP887
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 888 of 971

                                                                                          149
                            Absolute Interference

  130:5,14 134:6  100:11 102:15      began 40:17 43:9      143:14             57:12 93:14
  135:6 140:16    103:17 104:5       beginning 7:7       bill 21:25          bragging 61:10
  140:24 145:8,9  104:15 113:3       begins 2:1          birth 6:1,4         brand-new 77:2
  145:11,17       113:12 115:3       behold 15:14        bit 41:3 64:21       77:4,6 95:12
attacked 3:9      116:21 123:12      Beijing 131:7,9     bizarre 105:12      Brandon 103:14
  20:22 70:13,17  123:21 125:14        131:16            black 53:9 58:15    BRAUN 18:9
  100:15 134:4    127:1 129:19       belaboring 5:19       63:5              brave 32:14 33:3
  134:10 143:13   130:1 136:4        believe 8:19 9:5    blacked 118:9       break 7:24 66:15
  143:20 145:13   138:17               24:11 27:20,21    blackmailed         breaking 96:10
attacker 14:16   backdoors 98:6        27:23 30:18         28:23 94:13       breathe 117:8
  18:23 19:13    background            34:1 36:11,12     bless 96:8 107:25   Brian 28:7 93:14
  133:8,11,20,23  41:13                36:23 63:3 79:2     108:4 146:16      brilliant 107:15
attacking 15:20  bad 94:4 111:9        95:2 114:11,13      146:16             107:15
  99:11           113:11 130:6,7       115:5 145:19      blessing 71:19      bring 2:18 109:1
attacks 11:7     badmouthed            146:8             block 138:17        Britain 7:8
  65:18 67:6 70:7 117:18             belong 38:22,22     blocked 117:25      Broadcast 2:2
  101:10 126:3,7 Baidu 131:7,9,16      38:23             blue 58:9 85:12     broadly 141:5
  127:24 129:6   ballot 21:7 39:24   belongs 38:23       Blumenthal          broke 26:19,20
  134:2 139:5     49:19 59:24        benefit 143:10        19:24 113:5,17     72:7,10 91:13
  140:10          90:1,6             bent 107:9          board 110:15         92:16
attain 97:9      ballots 7:16        best 21:9 30:12       112:5 114:20      broken 37:15,15
attempt 143:4     43:18 48:17          98:8 107:22         117:10             111:7 139:12
attention 108:8   50:6,9 51:7,24       118:8 120:10      boards 110:3        brought 77:9
  109:18 115:6    56:9,12 58:22        140:19 142:3      bodies 89:6         bubbled 28:5,10
audience 113:4    58:23 67:12,12     bet 88:9,10,13      book 8:6            building 130:13
auditing 79:19    67:14 85:15,18     better 27:1 29:16   books 8:5            130:25 131:18
August 107:18     85:21 90:19          50:8,9 64:19      boom 48:6 73:10      135:17 138:17
automatically     91:1,2 139:23        92:22 118:16        93:8              buildings 98:3
  16:12 51:2     Baloney 38:19       beyond 132:23       Boomers 53:2        built 29:19 30:19
available 8:17   Band 105:8          Biden 15:6 62:12    booth 39:20          98:9
  76:22 77:1     Barnes 104:9          73:11 85:21       boots 69:19         bunch 85:18
awakening 37:8   barrel 141:24         99:23 126:10      borders 144:14       115:12
  37:9 108:8     basically 9:25        126:12 137:12     born 47:16          business 18:6,7
aware 32:14       16:8 31:19           138:24 139:7      bother 33:6          42:12 141:15
awesome 107:23    41:17 78:18          139:22 140:9      bottles 111:7        141:16
                  97:3 101:3         Biden's 96:22       bottom 52:3 85:8    busy 61:17
        B         109:3 120:9        big 4:9 11:16,16    bought 97:8,12      Butler 90:22
ba- 19:17         130:13               25:1,1 35:20,22     97:16 132:17      butter 111:15
Baby 53:2        battlefield 107:5     50:18 72:21         132:17            buy 40:24 104:9
back 5:18 7:7    battlefront 21:9      73:3 93:1,3,7     box 111:14 112:7    buying 21:8
 9:16,19,21 28:3 battleground          94:11 110:8         112:17             111:20
 30:24 51:18      101:5                122:11,11,12      boy 66:21
 85:25 93:21     becoming 107:20       137:16 143:7      boycotting 3:5              C
 95:19 96:2 97:8 bed 26:24 92:22     biggest 80:7,8      Brad 28:9 33:24     C 147:1,1
 97:16 99:3,19   beef 14:6             101:6 106:20        34:10,10 35:1,8   cake 15:22


                            Dickman Davenport, Inc
214.855.5100               www.dickmandavenport.com                          800.445.9548
                                         APP888
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 889 of 971

                                                                                               150
                                Absolute Interference

California 18:18       134:19               137:3 142:9       Chinese 12:16        columns 34:9
call 3:25 20:11      cast 40:5            changed 21:3,12       24:22 99:19        com- 36:10 110:1
  34:2 47:11         casting 21:7           23:10 30:8 82:5     100:3 102:12       combined 144:7
  77:19 96:22        catch 77:23 98:8       82:13 95:6          104:4,13           come 4:5 5:9
  107:14 124:17      caused 31:17           123:1,6 124:6       131:21,23            13:14,15 15:25
  128:12 132:24      CBS 3:1              characterization      142:4                16:10,22,23
  134:7              cell 99:13 100:2       142:4             choices 29:21          18:11 25:5,18
called 3:3,20,25     cellular 97:15       chart 119:24        chose 99:23            28:4 37:22,23
  21:13 103:22       censorship 109:9     Chavez 31:16,19     Chris 141:2,24         75:20 84:23
  117:18 144:3       census 43:23 44:1    cheat 16:25 91:23     142:20               85:22 87:20
calls 79:1             44:2 52:9 53:8       92:1              CISA 9:23 10:7         88:6 90:17
camera 86:6            58:13              cheated 41:6        citizen 9:16 32:22     95:14 103:23
  98:13              Central 104:22       cheating 6:23         73:15 111:25         105:20 107:17
campaign 30:6          147:18               77:20             citizenry 38:24        109:14
  104:18             centuries 6:24       check 8:5           city 19:18 131:3     comes 127:1
Canal 104:21,21      century 7:16 21:9    checked 41:7        civil 24:3           COMEY 20:20
cancel 75:22,22      cer- 81:18             66:20 101:14      Clarence 32:5        coming 3:10
  102:20 109:9       cereal 111:14          115:13            Claudia 15:12          35:19 41:20
  143:20             cert- 126:21         checking 61:1       cleaning 84:2          44:17 60:12
cancer 35:21           140:19               126:14,17         clear 121:5            74:1,2,6 93:25
  106:2              certain 9:2 16:9       137:7             clearly 12:5           96:6 103:25
canvassing 15:14       26:10 72:14        chief 39:5          climate 142:9          117:13 132:1
canvassings            126:21 127:6       children 108:17     close 12:2             144:1 145:12
  15:13              certainly 15:3         112:6 116:25      CNNs 2:24            command 105:24
capabilities 11:21     32:5 33:21         China 3:10 7:9      co- 122:11           commands 51:18
  14:20 141:13         114:21               11:7,16,17 12:4   Coast 129:22         commercial 82:2
capability 20:9      certificates 119:1     12:5,14 13:12     Cobb 98:20           commission
capable 141:12       certification          14:18 23:8        code 19:9,14           147:20
capture 98:11          40:22 119:5          70:17 87:15         40:21,21 133:7     committed 80:9
captured 137:6       certified 1:12         97:24 99:4,11       134:19 136:8       committee 25:3,4
capturing 123:17       140:20 147:2         99:14,17,23,25    coffee 145:25        common 108:21
care 28:2,3 73:13      147:16               100:9,18          collect 7:21           110:1
  74:17 94:22        certify 147:3,6,11     104:11 118:6      collected 98:9       commonality
  106:16 109:8       chain 11:23 12:4       124:23 129:7,9      99:7 138:4           133:23
  112:20 117:10        17:10 19:25          130:10,16,17      collectivism         commonly 20:16
careful 113:11         21:14 22:5           130:18 131:3        29:22              communicating
Caribbean              25:15 29:25          133:24 134:1      colleges 143:3         100:9
  104:23               74:18 105:14         140:4,12,17       Colonel 100:12       communism 3:10
carrying 136:18        113:8 121:14         141:4,5,9,12,13     101:2,15             27:15 35:18
  136:18               124:18               142:2,9,10,21       103:15 104:2         75:8,20 93:25
carton 111:14        chains 11:22           142:22 143:5        107:12,24            102:19 103:9
case 13:22 14:1      challenged 50:5        143:13 145:13       108:3                103:25
  16:14 102:2        change 14:1 19:1     China's 141:19      Colorado 57:22       communist
  113:20 145:6         19:17,18 40:13     China-based         column 47:19           102:12 104:7
cases 18:13 32:7       123:12,22            12:1                67:10                104:12 145:11


                                Dickman Davenport, Inc
214.855.5100                   www.dickmandavenport.com                            800.445.9548
                                              APP889
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 890 of 971

                                                                                            151
                               Absolute Interference

communities           128:2,8,23          96:16 99:15        29:23 43:17       counted 9:10
  108:9 109:1,20      129:2,8,15,21       100:5              48:21,21 50:14      15:5
  109:25 142:16       129:25 130:4      confirm 101:8        51:2 55:18 76:2   counter-terrori...
community 25:2        130:11,15,19      confirmed 69:19    controlled 130:17     105:8
  25:2 105:6          130:23 131:1,5      69:20 71:8       controlling 17:24   counties 6:22
  106:4 108:16        131:11,13,20      Confucius 143:2      50:21 83:25         15:3 61:2,5
  110:21 112:9        131:24 132:3      confusing 87:15    convert 70:8          62:14 98:20
  114:12 116:20       132:10,15,20      Congress 14:5        120:18 131:22       134:4,10
comp- 28:23           132:25 133:10       41:5             converted 128:14    countries 7:7,9
companies 11:20       133:14,18,21      congressional        128:15 131:21       7:10 11:12
  12:1,9 17:21,24     133:25 134:5        33:15            conveyed 97:3         13:10 14:19
  18:4 40:19          134:15,24         congressmen        cool 67:9 80:11       23:9 79:2 115:3
  111:16,17           135:3,7,8,10,13     91:20 92:4       coordinate 109:3    country 3:9 5:1
  118:23              135:18,20,23      Congresswoman      copy 97:12            5:19 6:11 7:7
company 11:24         136:2,9,13,17       15:16              121:14,16           9:4,19 12:11
  81:10 97:16,18      136:22 137:5      connected 9:3,7      124:9               13:9 14:22
  99:11,20 100:1      137:13,18,20        9:12 13:5,8      corporate 141:17      22:11 23:9,13
  100:4,9             138:3,6,10,13       14:12,15 20:17   correct 44:9 45:2     23:19 24:19
competent 13:24       138:16,20,23        20:19,20,21        101:15 119:3        27:8,25 29:19
competitiveness       139:1,10,14,18      83:21 98:21        119:20 120:4,5      29:24 30:11,11
  141:21              139:21 140:6        99:2 114:25        122:19 123:1        30:14,17,20
completely 4:12     computers 2:6         135:14             123:15 126:8        31:2,24 32:20
  41:5 55:8,10        4:19 16:6 20:13   connection 68:13     126:10,21           33:1 36:10 37:4
  100:21 102:16       39:19 50:21         99:16              127:12 130:10       37:12,15,17,20
components            51:1 82:14        conservative         130:11,14,22        37:20 40:15
  11:25               83:16,19 99:13      90:12              130:23 131:1        54:18 55:5
compri- 28:22         100:14 115:14     conspiracy 3:16      133:4,9,20,24       60:11 69:2
compromised 8:1       118:17              3:16 24:20         134:11 135:2        73:15,24 75:9
  28:21 94:12       CON 7:20              114:2              136:21 137:12       76:17 77:11
computer 40:20      con- 3:16 128:6     constitution         137:13,19           88:11,21 94:4
  69:3 70:16,18     concede 15:12         29:20 95:8         138:2 147:4         100:15,17
  70:19,21          concern 23:9          109:7            corrected 30:15       102:5 103:17
  118:14,20,22        91:14             constitutional     correlation 43:23     103:21 104:1
  119:4,10,13,21    concerned 17:20       23:17 30:18      corroborating         105:17 108:18
  120:5,14,16,22      21:21 22:3,22       36:6 117:3         99:8                109:24 112:8
  121:1,10,18         22:25,25 97:11    contact 107:18     corrupt 20:3          112:13 115:25
  122:3,11,12,13    concerns 11:18      contacted 97:2       93:12 108:23        116:17 117:2,2
  122:14,15,20      conclusions         contains 4:9       corrupted 26:6        131:3 140:24
  123:2,8,13,16       84:23,25          continue 12:25     corruption 28:5       143:3,13,19
  123:20,23,25      conduct 32:21         23:17,18 36:5      61:18 95:5,5        144:15 145:12
  124:8,13,19,25    conference 7:21       117:2,6          couch 108:15          146:3,9
  125:6,9,19,23       107:14 142:7      continued 15:14    coun- 52:5          country's 50:18
  126:5,8,11,15     confidence 32:19    contract 40:25     counsel 147:6       counts 113:3
  126:19,22         confident 21:18     contracts 13:4     count 9:11 20:4     county 19:19
  127:7,13,17,20    CONFIDENTI...       control 19:15        22:17 50:5          43:18,19,22


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                          800.445.9548
                                            APP890
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 891 of 971

                                                                                            152
                               Absolute Interference

  44:2,2,2 47:10       40:1             137:6,21 138:3       117:5               79:15 80:5
  52:2 53:10 54:9    curve 53:9 58:9    141:14,15          Democrat 17:14        81:21 82:3
  54:9,11,11           58:15,21 59:8   database 19:17        23:7 27:18,18       98:19,19 99:5
  64:25 65:6,7         63:5 85:12       47:12 58:21          30:7,8 39:16        99:22 101:18
  66:19 70:17        custody 121:15    databases 12:14       73:13 75:3,13       101:18 124:2
  90:23 110:2          124:18          date 2:19 37:25       106:17 143:12       126:1 132:18
  114:20 134:21      cyber 2:11 9:22    129:11               145:2,8             133:5,11 142:1
  134:22 135:21        10:7,22 12:12   Davenport           Democratic 20:2     dig 42:22
  135:22 136:4,6       70:4,11 102:7    147:17               75:7              digging 61:18
couple 4:4 10:5        104:13 105:5    day 3:3,13 10:2,6   Democrats 22:25       97:7
  12:13 33:13          105:24,25        15:4 33:13 39:9      25:17 27:9        digital 10:18,19
  90:25 96:11          119:13,20,21     72:25 81:10          28:11 30:5          12:15 118:8
  130:16 142:7         122:23 123:14    82:3,8 108:12        74:19 105:15        119:14
course 13:17           133:13 137:3     117:18,18            140:22            digits 21:5
  42:14 65:16          140:19 141:12    141:1,20           demonstrated        DILL 39:18
court 24:12 32:8       141:13 143:13    144:25               103:3             direct 2:22,23 3:1
  32:16 33:3         cyberattack 4:18  days 2:8 10:5,6     demonstrating       directly 99:12
  76:20 102:2,10       10:14 106:21     30:21 33:13          143:8               120:3
  102:10 106:15        118:5            114:13 123:10      Department 9:23     director 142:6
  106:18 118:12      cyberattacked      144:3                10:7              disadvantage
  124:17 145:4         26:12           dead 34:4 77:13     details 59:19         15:18
  145:15             cyberhacked       deal 42:11 143:7    development         discovered 8:10
courtroom 35:7         24:22           dealing 122:9         141:22              9:6 19:3
created 123:6        cybersecurity     debates 109:20      deviates 80:14      discovery 36:25
credentials            14:20 18:5,7    decade 7:12         deviation 59:14     discredited 118:1
  118:13 120:7         118:8,15 119:2  decades 6:24        deviations 42:6     disguise 87:19
  136:14               142:6            12:13 22:11          79:22 81:11         93:11
credit 48:14 56:6                      December 11:22        87:6,19           disruptive 142:10
  78:19                      D          27:5 77:1          device 8:6 97:7     Dissent- 32:17
crickets 3:24        d/b/a 133:16      decide 48:22          97:11 98:12       Dissenting 32:6,7
crime 2:11 74:11     daily 42:12       decided 96:23       devices 98:2,6        32:17
  74:13,16 91:8      Dallas 147:19      98:7                 99:14 100:8       disservice 30:14
crimes 80:8          dangerous 40:15 decision 112:8        DFIR 119:14         distributed 40:12
criminals 8:8        DANIEL 18:3       decisions 29:6      DHS 106:4           district 15:2,11
critical 101:17,19   data 14:1,13 16:6 DEF 7:20            Dick 113:5          divergence 23:16
crooked 28:6           41:20,22 43:10 defend 119:18        Dickman 147:17      divine 5:1 68:12
  57:9                 43:16 52:7      defense 15:19       dictate 39:22       Doctor 41:14
culture 35:21          56:17 57:6       119:14,20,22       dictation 40:7      doctrine 104:5,14
  75:22 102:20         70:23 85:25      141:18             dictionaries        doctrines 104:7
  109:9 143:20         99:7 115:6      definitely 114:21     116:3             documentaries
cup 145:25             120:8,11,17     degree 18:3         dictionary 116:1      115:23
curious 40:18          122:1,9 123:5   deliberate 142:17   Diebold 39:8        documentary
current 132:21         124:9,10        Delta 135:21        different 6:8 7:6     3:20 4:16 23:25
  142:10               125:10,12        136:4,6              17:23 42:18,19      41:10 55:10
curtain 39:20,21       131:21,25       democracy 19:10       64:1,11 76:7        62:23 96:12


                               Dickman Davenport, Inc
214.855.5100                  www.dickmandavenport.com                         800.445.9548
                                           APP891
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 892 of 971

                                                                                         153
                             Absolute Interference

 105:13 113:7      double-voted       57:25 58:3,5,7     85:7,11,14,17        13:20
 144:18             34:6              58:9,12,15,18      85:20,25 86:3,7    eat 15:22
documented 8:12    doubled 32:8       58:21 59:1,4,13    86:11,14,17,20     economic 141:21
documents 8:12     doubt 70:6         59:16,18,21,24     86:23 87:1,4,7     economy 103:4
DocuMovie 2:4,7    Doug 46:13 93:16   60:1,3,6,9,14      87:10,17,24        edge 67:4
doe- 126:23        Douglas 41:3       60:18,21,23        88:1,5,8,12,15     educate 145:22
dogcatcher 79:10   dow- 23:18         61:2,6,10,13,17    88:19,22,25        education 112:6
 112:22            download 8:14      61:20,23 62:4,7    89:1,5,8,10,12     effectively 142:13
doing 3:8 4:15      52:8 57:6         62:15,18 63:1,4    89:14,16,20,23     effort 108:22
 11:15,15 15:10    downloadable       63:8,11,13,16      89:25 90:3,8,12    eight 71:10
 17:23 18:7         58:19             63:19,22,25        90:15,17,21,25     either 12:4 23:16
 30:13 41:10       downloaded         64:3,6,9,11,13     91:4,6,12,15,17      28:17 94:9
 47:7 67:22         58:12,18          64:15,18,21,24     91:21,24 92:2,7      106:25 136:12
 70:22 88:11       dozen 8:4          65:3,6,10,14,16    92:10,13,18,24     elation 73:18
 89:17 94:17       Dr 39:18 41:3,15   65:20,22 66:1,5    93:2,5,13,17,23    elec- 114:22
 101:3 106:15       41:19,22,24       66:8,11,16,21      94:1,19,25 95:7    elect 112:1
 122:23 125:2       42:2,5,8,10,14    67:1,3,7,14,19     95:15,17,22        elected 39:16
 127:8              42:17,20,23       67:22,25 68:2,4    96:3,4,7 110:13    election 2:6 5:21
dollars 38:25       43:1,4,6,9,12     68:7,10,14,17     draft 14:5            5:23 6:10,21,25
domain 136:3,6      43:15,21,25       68:25 69:5,7,11   dresses 115:13        7:11 8:20,22
domestic 2:6        44:5,10,13,15     69:14,17,21,25    drive 123:4           10:2,2,6,12
domination          44:18,20,23       70:3,6,10,12,15   Ducey 93:16           12:23 13:1,2
 107:10             45:2,4,7,10,13    70:20,25 71:3     dug 41:13             14:1,6,10,11
Dominion 3:12       45:15,19,22       71:12,14,20,24    dump 24:1,8,9         15:15,15 19:1
 5:23 6:3,8         46:1,3,5,9,15     72:4,6,9,13,17     76:16 96:18          19:18 20:2 21:1
 38:22 60:12        46:18,22,25       72:23 73:1,4,8     101:25 144:23        21:7,10 22:7
 62:1 83:6          47:3,6,9,14,18    73:17,21,24       dumping 96:2          23:4,14 24:19
 103:25 112:19      47:23 48:1,3,6    74:4,7,10,12,15    109:18               26:4,6 31:7,20
 144:12             48:9,12,17,20     74:22 75:1,6,10   duplicate 121:7       32:21 33:14
Dominion's          48:25 49:3,6,10   75:15,18,23       duty 132:24           37:16 38:11
 19:10              49:12,19,22,24    76:3,8,10,13,18                         39:3 40:24
Dominions 100:1     50:3,8,12,14,17   76:24 77:3,5,8             E            41:25 47:20,21
Donald 26:21        50:20,23 51:1,4   77:18,21,24       E 147:1,1             48:22 50:4
 29:2 30:6 38:1     51:6,9,13,17,20   78:3,7,11,14,16   ea- 121:11            71:21 78:2,10
 54:22 62:11        51:23 52:1,7,11   78:18,22,24       earlier 5:10 17:8     85:20 86:24
 77:16 87:22        52:15,19,21,24    79:5,7,12,20,25     107:14 110:14       87:9 95:4 96:17
 91:18 94:15        53:1,4,7,12,15    80:1,3,6,10,14      140:22              96:22 99:5,22
 116:24 140:12      53:19,22,25       80:17,19,21,23    early 105:25          105:18 107:8
door 49:7,15        54:4,7,9,12,15    81:2,6,12,15,17   earth 146:14          107:16,17
 80:24,25 102:2     54:21,24 55:2,6   81:20,23 82:4,6   easier 102:22         108:23 109:4
 103:9              55:12,15,18,20    82:10,16,19,22    easily 17:21          109:13 110:3
doors 45:16,21      55:24 56:2,5,8    83:1,3,5,11,14      71:13 77:18         110:19,24
 45:22 49:13        56:12,15,20,22    83:18,21,24       East 129:22           111:1 114:4,8
double 71:11,13     56:25 57:4,6,11   84:2,5,8,12,15    easy 71:12            114:14,19,19
 139:2,3,17,19      57:14,17,20,22    84:19,22 85:1,4   easy-to-hack          115:10 117:9


                            Dickman Davenport, Inc
214.855.5100               www.dickmandavenport.com                         800.445.9548
                                        APP892
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 893 of 971

                                                                                              154
                               Absolute Interference

  117:12 120:25     ES&S 3:12 6:9       evidence 3:16,20    expect 72:5 86:21   explain 120:15
  121:2,3 122:19      19:3,12 38:22       4:6,10,21 5:4,4   expected 26:23        121:21 128:21
  123:9 124:23        62:5 83:7           5:5 24:8 32:9       97:15               139:9
  127:5 138:8         112:20              32:15 33:6 45:8   experiment 117:5    exploitation
  140:11,17,25      escape 146:13         69:10 76:12,16    expert 118:14,20      119:25
  144:11 145:13     especially 18:16      76:21 84:19,21      118:22 119:4      exposed 79:4,6
election's 50:5       92:3 116:25         95:11 96:2,25       119:10,13,21        95:3
elections 3:11      espionage 141:13      97:9 99:10          120:5,16,22       Expressway
  5:18 7:23 8:25    essentially 16:5      100:16,22           121:1,10,18         147:18
  10:4 11:13          19:13 32:19         101:25 102:1,9      122:3,12,15,20    extensive 83:14
  12:19,22 19:18      38:3 119:24         106:20 107:8        122:23 123:2,8    extra 90:19
  20:7 21:19 25:7     122:7 123:6         115:24 117:19       123:13,16,20      extremely 106:6
  25:12 33:13,18      128:24 129:18       117:20 118:5        123:23,25         eye 109:3
  39:14 73:16         132:12 134:6        124:22 143:16       124:5,8,13,19
  110:15              136:10,15           144:23 145:1        124:25 125:6,9             F
electoral 102:8       137:24 139:22       145:21              125:19,23         F 147:1
electrochemistry    established 143:2   evolution 38:10       126:5,8,11,15     face 53:15
  41:16             eureka 73:19        Ex- 62:4              126:22 127:7      Facebook 4:7,8
electronic 8:5,6    European 97:16      ex-addict 94:7        127:13,17,20      facing 23:15
  9:13,14,18 40:6   evaluated 19:10     exact 34:4 82:9       128:2,8,23        fact 9:5 17:23
  112:21 115:2,4    event 108:14          100:7               129:2,8,15,21       19:8 48:3 56:12
emails 109:24       every- 91:10        exactly 11:4,4        129:25 130:4        59:24 63:22
employed 147:7      everybody 6:5         26:22 34:18         130:11,15,19        97:14 99:4,18
enabled 103:13        23:23 24:13         50:3 53:14,16       130:23 131:1,5    facts 56:19
encountered           26:7 32:5 44:7      55:2,24 56:15       131:11,13,20      fair 9:11 38:3,6,8
  125:3               44:25 47:20         59:23 67:15,16      131:24 132:3        78:10 114:4
encrypted 120:17      53:20,22 54:17      68:8 72:17          132:10,15,20        117:9
endeavor 116:23       56:4 59:6 60:4      82:18 84:17         132:25 133:10     faith 37:10,10,12
ended 68:18           63:10 70:23         88:23 91:24         133:14,18,21        37:14,18,18,19
ends 146:18           71:7 72:19          92:13 97:13         133:25 134:5      false 13:1,2
enemies 2:5           75:11 78:19       examine 40:23         134:15,24         famously 146:12
engineer 7:25         79:13 87:13       example 14:23         135:3,8,10,13     fancy 41:16
English 51:18         90:4 92:17          47:19 90:9          135:18,20,23      Fanning 103:14
  132:5               96:21 102:24      examples 102:9        136:2,9,13,17     far 4:17 144:18
ensure 31:19          102:25 107:24     excitement 76:7       136:22 137:5      fascinating 43:23
enterprise 97:25      117:23 118:12     exciting 56:22        137:13,20         favor 96:22
entire 47:16 65:1     119:17,20           76:4,5 96:8         138:3,6,10,13     FBI 9:22 10:7
  127:21,22           122:21 125:10       140:3               138:16,20,23        105:1 106:4
entities 145:12       128:10 131:3      excuse 87:20          139:1,10,14,18    fear 35:13,16,23
entity 102:12         139:5 145:10      execute 19:14         139:21 140:6        35:24 102:25
Entry 134:17          145:20,22,22      exist 46:2 49:11    expertise 127:4     February 2:20
  135:21            everybody's 21:5      50:1 69:3         experts 54:1          3:18,22,23
equipment 7:22        23:9 53:24        existed 45:25         118:9,11            117:17,20,21
  40:25             everyone's          exists 38:11          140:19              118:7 146:4
error 64:22           103:23 145:14     expanded 128:18     expires 147:20      federal 20:7


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                           800.445.9548
                                            APP893
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 894 of 971

                                                                                            155
                                Absolute Interference

   37:13 38:25          46:7 47:9 48:13     17:5,11,16,19     foregoing 147:3   Frank 41:3,15,19
fee 147:11              55:4,10,13,20       19:23 20:6 22:3   foreign 2:5 3:10   41:22,24 42:2,5
feedback 31:14          56:13 62:10,21      22:10,17,19,23      5:6,17,17 6:17   42:8,10,14,17
felt 40:21 67:16        66:23 73:18         23:2,4,12 24:5      7:5,6 11:11      42:20,23 43:1,4
   73:21,24 146:5       75:16,20 77:14      24:10,17,25         22:8,10 25:6,11  43:6,9,12,15,21
field 41:19             78:11 98:23         25:11,14,17,20      33:17 60:11,12   43:25 44:5,10
   140:19               102:15 119:11       25:23 26:1,4,11     101:9,21         44:13,15,18,20
fields 133:12           121:8,23 122:4      26:14,22 27:2       102:12,14        44:23 45:2,4,7
fight 24:2 109:11       128:16 143:19       27:10,13,16,19      105:17 107:9     45:10,13,15,19
fighting 104:16      fit 63:14 68:1         27:22 28:1,8,18     114:9,10,14      45:22 46:1,3,5
   108:23            five 71:6,10           28:21,25 29:4       115:10 140:24    46:9,15,18,22
figure 43:13            76:15 101:24        29:11,14,18         145:12           46:25 47:3,6,9
   51:20 73:7           127:24 139:6        30:25 31:4,6,24   forensic 45:8      47:14,18,23
figured 43:22           140:4               32:2,11,13,24       118:9 119:15     48:1,3,6,9,12
   47:7,7 51:4       fix 111:10             33:20 34:14,18      122:24           48:17,20,25
   52:1              fixed 95:2             34:20 35:2,4,9    forever 22:12      49:3,6,10,12,19
file 119:15          flag 56:14 63:19       35:14,17,20,22      73:16            49:22,24 50:3,8
   137:21               89:23               36:3,5,10,13,19   forget 37:24       50:12,14,17,20
fill 48:14,17        flip 21:5 31:2         36:24 37:3,7      form 120:18        50:23 51:1,4,6
filled 85:22            41:7 62:13 97:5     38:8,10,16,19       124:7            51:9,13,17,20
film 131:6 140:23       98:22 99:17         38:21 68:20       forth 93:21        51:23 52:1,7,11
filming 2:15            126:20,25           108:6 109:17        125:14           52:15,19,21,24
   96:11                127:3 139:25        110:6,10,16       forward 12:24      53:1,4,7,12,15
finally 21:22           140:24              111:2,5,12,23       29:16 80:1       53:19,22,25
   34:25 79:23       flipped 125:21         112:4,11,15,18      108:1,1,18       54:4,7,9,12,15
   107:20               126:7 136:20        112:24 113:10       117:1            54:21,24 55:2,6
financially 147:9       137:11,15           113:14,17,22      fought 116:20      55:12,15,18,20
find 19:22 21:23        139:16 146:5        114:1,8,16        found 11:6 13:24   55:24 56:2,5,8
   26:5 41:9 49:13   flipping 63:2          115:15,18,20        18:15,21 19:5    56:12,15,20,22
   66:19 82:2 86:1      125:24 126:24       115:24 116:2,6      19:10,12 28:16   56:25 57:4,6,11
   86:4 91:1,1,4     flips 118:6            116:9,12,15,19      29:2 44:6 66:19  57:14,17,20,22
   97:12 128:1          124:24 134:11     focusing 101:4        68:22 77:7       57:25 58:3,5,7
finding 61:1            137:4 140:3,14    folds 101:20          96:24 98:16,16   58:9,12,15,18
   77:11             Florida 57:18        folks 30:17 37:22     98:18 99:1       58:21 59:1,4,13
fingerprint 10:19       71:9 107:18         38:25 105:1         108:21           59:16,18,21,24
finish 21:17            108:13              107:18 109:13     founded 97:24      60:1,3,6,9,14
fir- 121:23          Flynn 5:1,11,13        113:24 115:5      founding 5:19      60:18,21,23
fire 104:18             6:2,6,15,21 7:1   followed 95:9,9     four 2:8,9 17:2    61:2,6,10,13,17
firewall 66:15          7:4,14 9:1,21     following 6:17        28:15 33:22      61:20,23 62:4,7
   136:14               10:10,15,17,21      66:24               119:11 144:22    62:15,18 63:1,4
firm 2:22 147:18        10:23 11:1,4,8    food 111:21           145:4            63:8,11,13,16
first 2:8,9 3:24        11:10 12:5,9,18   footprint 10:21     fourth 67:4        63:19,22,25
   4:4,20 5:3,4,24      12:21 13:7,12       70:11 123:14      Foxes 2:24         64:3,6,9,11,13
   8:1 19:9 24:3,6      13:17 14:21,25    footprints 70:5     France 7:8         64:15,18,21,24
   26:19 38:4 46:7      16:2,18,21 17:1   forecast 98:4       Francisco 142:8    65:3,6,10,14,16


                                Dickman Davenport, Inc
214.855.5100                   www.dickmandavenport.com                         800.445.9548
                                              APP894
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 895 of 971

                                                                                       156
                             Absolute Interference

 65:20,22 66:1,5     93:2,5,13,17,23 general 4:25 5:9      116:9,12,15,19   140:1 145:6,16
 66:8,11,16,21       94:1,19,25 95:7   5:11,13 6:2,6       117:14          God 37:18 96:8
 67:1,3,7,14,19      95:15,17,22       6:15,21 7:1,4     generally 105:8    107:25 108:4
 67:22,25 68:2,4     96:3,4,7 103:22   7:14 9:1,21       gentleman          146:16,16
 68:7,10,14,17       110:13 144:3      10:10,15,17,21      107:16 108:12   goes 4:7 5:18
 68:25 69:5,7,11   fraud 95:3          10:23 11:1,4,8    Georgia 57:13      9:16,18,21 26:7
 69:14,17,21,25      144:11            11:10 12:5,9,18     79:21 98:20      34:8,10 104:5
 70:3,6,10,12,15   free 9:10 13:7      12:21 13:7,12       107:19 127:25    104:14 111:13
 70:20,25 71:3       24:4 75:21        13:17 14:21,25      140:8            119:24 126:19
 71:12,14,20,24      102:20 114:3      16:2,18,21 17:1   Germany 13:15      136:4 137:1
 72:4,6,9,13,17      117:8 143:20      17:5,11,16,19     getting 24:3       139:22,22
 72:23 73:1,4,8      143:24            19:23 20:6 22:3     26:21 30:10      143:6
 73:17,21,24       freedom 146:13      22:10,17,19,23      72:2 87:22      going 3:19,19
 74:4,7,10,12,15   freedoms 29:21      23:2,4,12 24:5      94:12 102:18     4:15,17,20,23
 74:22 75:1,6,10     102:21,24         24:10,17,25         108:15 109:24    7:15 12:24
 75:15,18,23         146:6             25:11,14,17,20      143:22           15:25 16:21,22
 76:3,8,10,13,18   fresh 117:8         25:23 26:1,4,11   ghost 132:11       16:23 17:13
 76:24 77:3,5,8    friends 27:9 41:9   26:14,22 27:2     gibberish 128:12   18:19 21:19
 77:18,21,24         75:13 143:23      27:10,13,16,19    give 2:16,21 34:9  22:12 23:16,18
 78:3,7,11,14,16   front 96:20 103:9   27:22 28:1,8,18     34:23 35:11      23:23,25 24:8
 78:18,22,24       fulfilled 72:3      28:21,25 29:4       41:22            24:11,12 25:12
 79:5,7,12,20,25   full 21:11 83:18    29:11,14,18       gives 107:24       27:11,24 28:3
 80:1,3,6,10,14      131:15,15         30:25 31:4,6,24     109:7 127:2      29:16 30:4,6,17
 80:17,19,21,23      147:12            32:2,11,13,24     giving 24:15       30:19,21,21
 81:2,6,12,15,17   Fulton 98:20        33:20 34:14,18      78:19            32:19 34:22,23
 81:20,23 82:4,6   fun 3:15 45:11      34:20 35:2,4,9    glass 111:7        36:6,7,12,14,20
 82:10,16,19,22      81:2,3 84:22      35:14,17,20,22    global 103:3,4     36:21,21,22
 83:1,3,5,11,14    function 20:6       36:3,5,10,13,19     107:10           37:4,8,23 46:11
 83:18,21,24       further 97:7        36:24 37:3,7      go 5:18 8:13 9:4   46:13 50:5
 84:2,5,8,12,15      115:12 127:10     38:8,10,16,19       9:8 12:24 20:23  61:22 62:21
 84:19,22 85:1,4     147:6,9,11        38:21 68:20         21:4 30:2 31:8   65:12 67:1,16
 85:7,11,14,17     Furthermore         100:12 102:4,6      36:2,7,25 49:7   70:22,24 72:1
 85:20,25 86:3,7     12:2              103:2,8,11          56:25 65:22      73:3,15 74:8,20
 86:11,14,17,20    future 109:14,15    104:2 105:4,22      71:1 85:25       74:22 75:12,13
 86:23 87:1,4,7                        106:8,21,22         86:13 91:10      75:25,25 76:16
 87:10,17,24                G          107:2,25 108:4      97:8 99:19       78:9,9 79:2,17
 88:1,5,8,12,15    G 41:3              108:6 109:17        104:4,9 107:1    79:18,23,24,24
 88:19,22,25       gain 18:25          110:6,10,16         111:8,10         82:11 84:9,13
 89:1,5,8,10,12    gal 41:4 68:13,15   111:2,5,12,23       113:12 119:8     87:9,13,16 96:1
 89:14,16,20,23    game 38:3,6,8       112:4,11,15,18      119:16 123:12    96:2 98:7
 89:25 90:3,8,12   Garcia 147:2,16     112:24 113:10       123:21 125:16    100:10,24
 90:15,17,21,25    gee 82:23 88:25     113:14,17,22        128:22 129:3     101:19,24
 91:4,6,12,15,17   geek 45:11          114:1,8,16          129:10 130:3     102:3,23
 91:21,24 92:2,7   Geist 141:3,3,24    115:15,18,20        132:5 136:25     103:18,22,23
 92:10,13,18,24      142:20            115:24 116:2,6      138:7,17 139:4   103:24 106:13


                             Dickman Davenport, Inc
214.855.5100                www.dickmandavenport.com                       800.445.9548
                                          APP895
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 896 of 971

                                                                                          157
                              Absolute Interference

  106:14,14,20     graph 128:5          17:22 18:11         114:18 144:15       119:2
  108:15,17        graphics 67:7,8      21:22 44:17       happens 39:14       highlights 37:9
  109:10,11,11     great 3:15 4:23      98:17               78:12             highway 9:18
  109:14 110:1,2     4:23,23 7:8       hacked 8:17,20     happiness 117:3     highways 115:2
  110:3,4,4,7,11     37:4,20,25 67:8    8:22 21:7,23      hard 30:15 38:5     historic 32:18
  110:21 112:1,5     72:2 92:16        hackers 7:23         114:12            history 2:11 5:20
  115:2,9,22,23      96:10,13           18:11 101:7       HARRIS 40:17          35:25 37:21
  117:1 118:10       107:24 112:10     hacking 7:21 8:3   Hart 6:8 38:23        47:16 59:7
  118:12 120:12      112:12             25:6 141:12,17      112:20              78:10 80:9 93:6
  125:13,14,15     greater 109:2       hacks 66:14        hat 101:7             102:7 106:21
  126:20 128:4,6   greatest 27:24      Halderman          Hawaii 127:15         107:16 146:11
  128:15,21          35:24,25 36:15     13:22 14:3,9      HB1 78:14           hold 39:15
  129:13,25          36:22 37:20       half 8:1 68:10     HBO 17:14           Homeland 9:23
  130:1 132:11       146:9,10           98:25             head 93:12            10:8
  138:24,24        green 125:20        halls 142:15       headquartered       honestly 61:7
  139:9 140:15       126:2,3,18        Hamilton 52:2        97:24             Hong 97:21
  143:25 144:1,5     127:2              53:10             heads 93:19           143:4
  144:7,7,10,11    grew 30:7           Hampshire 14:22    hear 14:10 40:2     hope 59:6 107:24
  144:12,13,21     griping 33:22        14:25 15:1,8,10     44:25 90:4          113:4
  144:23,25        ground 69:19,19      74:5 79:22          100:23 118:13     hopefully 144:5
  145:6,6,7,9,14     79:15              107:15              121:4             hops 14:15
  145:16,17,19     group 7:23          hand 7:15 44:12    heard 4:21 24:21    horizontally
  145:23           groups 11:12        hands 7:16           46:13 66:24         129:3
good 27:7 41:9       79:15             happen 4:2 23:1      86:9              host 2:12
  63:23 104:10     Guerilla 104:10      42:16,17 51:9     hearing 24:8 46:7   hosted 18:17
  118:4,10 141:3   guess 15:2 38:24     78:1 94:4,5         141:7             hotspot 97:7
Google 97:22         115:16             108:17 109:21     heart 36:16         hour 8:1
gorilla 11:17      guests 100:11        114:18,21         Hello 2:14 4:25     hours 4:4,23
government         guide 36:18          135:1 146:2       help 29:8,17          105:25 129:22
  24:22 29:9       guilty 135:25       happened 3:24        41:11 43:2        house 25:4
  31:16 37:13      guy 16:13 30:6       20:1 22:11          94:22             houses 49:14
  98:3 118:19,23     39:20 40:1,7       30:16 31:8        helped 14:5         hu- 45:17
  119:19 120:9       67:8 130:6,7       60:25 66:3        hero 5:1            huh 101:14
  141:18,25          140:1              69:12 75:4        HEX 120:18          human 120:19
government's       guy- 60:4            82:12 92:15,20    hey 3:3 10:11       humanity 74:11
  140:18           guys 28:10 49:9      94:16 102:4         34:3 43:2 49:7      91:9
governments          61:11 79:3 88:4    103:16 104:11       90:18 111:8       humanly 82:18
  21:16              93:18 94:2         107:21 108:14       126:20 143:4      humans 66:4
governor 114:19      133:13 135:25      109:13 116:21     HICKS 20:18           83:10,15 84:8
governors 93:16    Gwinnett 98:20       124:23 127:12     hidden 98:16        hundred 90:19
grabbed 131:13                          128:22 135:17     hide 112:14           90:25
  132:4                   H             139:4,6 143:18    hiding 8:13         hundreds 8:14,15
graduated 7:2      Haas 20:21           145:22 146:4      high- 115:2           39:14 40:14
grandchildren       103:14             happening 85:1     high-tech 7:3,4       70:1 104:24
  108:17 117:1     hack 2:6 14:8        107:22 108:9      highest 18:23,24    hurricane 142:8


                             Dickman Davenport, Inc
214.855.5100                www.dickmandavenport.com                          800.445.9548
                                           APP896
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 897 of 971

                                                                                            158
                             Absolute Interference

hypothesizing     improperly 40:3       106:13 109:14        101:22 102:14       70:8,18 99:3
 45:13            in- 15:9              109:18 133:1         114:10,10,14        100:8,14,25
                  inaudible 7:20        137:8 146:15         115:10 140:11       101:4,8,9 115:1
          I         8:8 21:15 24:10   information's          140:17              115:13 128:20
i- 4:19 69:3        24:16 26:10         15:25              interfering 10:3      130:5,7,21
   100:25,25        43:5 56:14        infrastructure         10:11 33:12         131:18 134:13
   115:19           68:24 77:5          119:22             interject 54:13       135:6,11
ID 68:24 70:21      95:21 99:17       ingredients            105:22            IPs 132:12,12
idea 8:9 118:4      116:2 123:16        111:15,18          internally 114:9    Iran 7:9 10:3,11
identical 57:24     127:18 132:4        112:7              internet 9:3,7,13     11:14 13:13
   71:2 88:14       132:16 133:18     inject 13:25           13:5,8,9 14:13      14:18 33:12,12
   115:19           136:10 139:22       19:14 85:17          14:14 20:17,19    island-building
identifier 127:2  incident 119:15     innovators             20:20,21,24         104:18
identifiers 124:3   119:22              141:23               44:8 83:22        issue 31:12 143:7
identifies 126:25 including 7:22      input 42:18            98:22 99:2,14     issues 18:10 33:1
identifying 124:2   98:5 99:6,22        81:22                100:3 114:25      it'll 80:8 124:14
IDs 4:19 100:14   incompetent 40:2    inside 6:18,21         115:1 135:14        127:2 129:21
   100:24 115:13  increase 82:20        12:10 38:14        Interos 11:23         146:10
   128:21         incredibly 108:23     40:7 111:8,15      interrupted         Italy 13:14
ignoring 29:7     incursion 99:21       111:18,19,25         65:23             Iwo 107:5
II 51:11            99:21               112:17 141:25      interventions
illegal 99:21     independent         inspections 33:16      101:11                     J
illusion 78:4,5     101:3,16          inspired 7:19        introducing         J 14:2 38:1
image 122:5       individual 5:22     install 98:10          102:23              116:24
Imagine 21:4        6:12 9:15 22:1    installed 39:12      introduction        Ja- 77:9
imagining 83:18     29:20,21 30:19    institutes 143:2       41:4              James 90:6
immediate 98:15     82:1 109:7,8      institutional 24:2   intrusion 125:21    January 5:2,5
   141:8            117:7,7 125:15    institutions 32:20     136:11,12           27:6,6 77:10
immediately 22:2    128:11              37:12,14           intrusions 134:21     97:2 98:21
   43:6           individuals 31:14   intelligence 2:5       139:8               102:5 146:4
impact 101:6      infinite 78:19        25:2,2,4,5         invasion 110:9      JEFFERSON
   142:19         influence 103:21      33:14 105:6,7      invested 15:9         39:5
impacting 31:10     141:20 142:14       105:20 106:3         97:22             Jima 107:6
implanted 136:14    143:1,4             114:12             investigating       Jimmy 3:14
importance        influencers         interested 19:7        43:9              job 77:13 95:6
   106:10           103:24              147:10             investigation         122:23 141:25
important 98:18 influences 7:6        interesting 97:6       71:18 96:14       Joe 15:6
   104:3 106:6      142:21            interfere 11:13      investigations      John 49:16,19,22
   116:9,10,23    INFORMANT             22:14 105:18         33:16               90:6 96:12,14
   136:24           96:16 99:15       interference 1:13    involved 40:8         99:9
impossible 53:21    100:5               2:4,12 3:11          47:4 107:20       joint 97:17
   59:15 92:9     information           5:17,17 7:6          108:16 109:5      Joyce 142:5
   124:4            12:12,16 15:24      11:11 22:6,8,10    Iowa 71:9           judge 32:11,14
impressive 125:1    18:13 33:9          25:7,12 33:17      IP 4:18 9:16,17     judges 39:15
imprint 123:1       101:20 106:10       60:11 99:18          11:9 68:23 69:3     90:13 95:20


                            Dickman Davenport, Inc
214.855.5100               www.dickmandavenport.com                            800.445.9548
                                          APP897
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 898 of 971

                                                                                            159
                             Absolute Interference

Justice 32:5,17     10:12,18 12:23     110:12,14,21      Koreans 24:23        legitimate 9:10
                    12:24 13:2,12      110:22 111:5,7    Krebs 141:2             21:20
         K          13:12,13,13        111:9,13,14,19     142:3,25            Lenox 98:10
KaiOS 97:20         15:8,21,23,23      111:24,25                              let's 73:10 81:25
keep 35:23 40:20    16:3,14 17:3,7     112:6 113:3,4              L              85:17 114:16
  40:23 96:1        17:25 20:25        113:20 114:1,2    la- 130:9               114:16 118:4
  102:24 106:15     23:3,15 25:1,9     114:24 115:11     laboratory 45:11        129:10 139:4,4
  109:3 115:22      25:11 26:15        115:19,21         labs 40:22              139:6 140:1
  115:23            27:3,4,7,8,20      116:1,5,7,8,14    LAN 98:25            level 18:23,24
keeping 126:20      28:13 29:12,19     116:16,22         language 51:21          33:3 109:6
  127:3,4,9         30:23 32:4         117:19 118:1,3      120:1                 110:13 114:19
Kemp 28:7 93:14     33:10,11,12,14     118:3,15,16,23    largest 2:11 39:6       114:22 134:22
kept 3:7,18 96:24   33:15,21 34:3,3    120:19 121:13       97:21                 135:22 142:14
kid 29:24           34:6 35:10 36:4    121:13,14,16      late 3:14               142:21
kidding 24:17       37:7,9 38:4        121:19,20         latitude 130:8,9     levels 99:1,2
  65:20             40:17 42:6,7       122:4,5,6,8,22      130:13                105:10
kill 17:9 19:25     44:7 46:4,10       122:23 123:3,3    latitude/longit...   li- 34:1
  21:13 22:5        47:19 49:4,6       123:4,6,9,10        130:24 134:17      liberties 29:20
  25:15 29:25       51:13 54:17,18     124:2,2,3,9,10    launch 3:19             30:19 109:8
  74:18 105:14      55:7 61:25         125:2,11,25       launched 2:18           117:7
  113:8             62:16,22 63:2      129:19,22,23        3:23 117:21        liberty 117:3,8
Kimmell 3:15        66:3,3,13,18       130:5 131:7,21      143:18 144:2,4     life 12:15 116:16
kind 6:1 31:25      67:9,15,15         131:25 132:1,4      144:5                 116:23 117:2
  51:10 66:24       68:23 69:2,13      132:5,11,12,16    launching 144:3      lifelong 30:7
  105:23 119:24     71:4,6,6,10        132:17,17         law 107:17           lifetimes 116:13
  122:1 124:4       72:2 73:2,7,12     133:2,11,13,15    laws 95:5            Lindell 2:3,7,10
  128:11 141:22     73:13 74:18,21     134:16,17         lead 9:14 41:6          2:13,14 5:12,25
  142:12            75:2,13 76:2,9     136:3,4 137:6     leader 103:4            6:4,14,20,23
kinds 109:4         76:9,15 79:2,3     137:21,22,23        141:16 142:6          7:2,13,18 9:20
Kismet 98:10        79:16,17,25        138:6,7,10,13     leadership              10:9,13,16,20
Klobuchar 17:14     81:8,9,11,18,19    138:14,18           103:13                10:22,24 11:2,5
  17:20 21:21       82:2 86:5 87:6     140:23 141:6      leading 14:4 26:1       11:9 12:8,17,20
  105:16 113:5      87:15 90:7,22      141:19 143:4,6    lean 36:16              13:6,11,16
  113:14,15         92:5,11 93:7,9     143:7 144:17      learn 8:14              14:24 16:1,17
Klobuchar's         93:11,12,18,20     144:19 145:6,9    learned 5:20 9:12       16:19,23 17:2,6
  19:23             94:7,13,15,16      145:14 146:16       9:24 12:6,11          17:12,17 20:5
knew 6:12 51:7,7    94:23 95:10,13    knowing 12:25        15:1 31:6 33:11       22:9,16,18,21
  121:25 122:2,9    95:18 98:23,24     25:14 65:12         94:3,6                22:24 23:3,5,22
knock 49:7,15       100:19,20         knows 5:9 23:23    leave 39:23             24:6,11,24
  80:25             101:5,21,24        70:23 72:19       leaving 3:6             25:10,13,16,19
knocked 45:15       102:23 105:3,9     79:13 94:13       led 25:8 102:12         25:22,25 26:3,9
  45:21,22 49:13    105:18 106:9       107:16            left 3:22 64:21         26:13,15,23
know 3:4,7,15,16    106:22 107:13     Kong 97:21           89:8 91:23 92:1       27:3,11,14,17
  4:11 5:3,3,14     108:11 109:12      143:5             legally 48:4            27:20,23 28:2,9
  6:7 9:2,2,9,22    109:12,23         Korea 7:10 14:18   legislation 14:5        28:19,22 29:1,5


                            Dickman Davenport, Inc
214.855.5100               www.dickmandavenport.com                           800.445.9548
                                          APP898
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 899 of 971

                                                                                         160
                            Absolute Interference

 29:12,15 30:23    60:24 61:5,9,12   88:2,6,9,13,16       129:1,5,9,20,24   locations 12:4
 31:1,5,23 32:1    61:16,19,22,24    88:20,23 89:4,7      130:2,7,12,18     locked 123:15,17
 32:10,12,23       62:5,8,16,19      89:9,11,13,15        130:20,24           124:17
 33:19,24 34:15    63:2,7,9,12,15    89:19,22,24          131:2,10,12,22    LOFGREN
 34:19,21 35:3,5   63:18,21,24       90:2,4,11,14,16      132:2,7,14,19       11:18
 35:10,15,18,21    64:2,5,8,10,12    90:20,24 91:3,5      132:23 133:3      log 67:9 69:18
 35:23 36:4,9,11   64:14,16,20,23    91:7,13,16,18        133:13,17,19      logic 34:1
 36:14,20 37:2,6   65:2,5,7,11,15    91:22,25 92:3,8      133:22 134:1,8    logs 67:10
 38:7,9,15,18,20   65:17,21,24       92:11,14,19,25       134:23,25         long 7:25 18:8
 41:2,18,21,23     66:2,7,9,12,17    93:3,6,14,18,24      135:5,9,12,15       117:18 118:17
 42:1,4,6,9,11     66:25 67:2,5,13   94:2,20 95:1,8       135:19,21,24        125:3 133:3
 42:15,18,21,24    67:18,21,24       95:16,18,23          136:7,11,16,19      143:5
 43:2,5,8,11,14    68:1,3,6,9,11     96:5,8 99:9,25       136:23 137:9      longer 11:20
 43:20,24 44:3,6   68:15,18,21       100:10 101:13        137:14,25           118:16 132:16
 44:11,14,16,19    69:1,6,8,12,15    101:23 102:13        138:5,9,12,15       142:18
 44:22,25 45:3,6   69:20,22 70:1,4   103:7,10,18          138:19,22,25      longitude 130:9,9
 45:9,12,14,17     70:7,11,13,16     105:12 106:7         139:3,13,15,20      130:13
 45:20,24 46:2,4   70:21 71:1,4,13   106:12 107:11        139:24 140:7      longitude/latit...
 46:6,10,16,21     71:15,21,25       107:23 108:5         143:11              135:16
 46:24 47:2,5,8    72:5,7,10,15,18   108:20 109:16     Lindell's 3:17       look 12:22 19:9
 47:13,17,22,25    72:24 73:2,5,9    109:23 110:7      line 48:14 56:6        24:13 27:7
 48:2,5,8,11,16    73:20,23 74:1,5   110:11,17            78:19 128:24        30:15 33:4
 48:19,23 49:2,5   74:8,11,13,16     111:3,11,22          129:3,10,10         38:13 39:7,10
 49:8,11,18,21     74:24 75:2,7,11   112:3,10,12,16    lines 125:14           39:23 40:21
 49:23,25 50:7     75:16,19,24       112:23 113:9         126:14 128:10       42:2 48:1 53:15
 50:10,13,16,19    76:4,9,11,14,19   113:13,16,21         128:13,25           59:18,18,19
 50:22,25 51:3,5   76:25 77:4,6,9    113:25 114:7      list 49:16 111:17      60:4 79:23 81:9
 51:8,12,16,19     77:19,22,25       114:15 115:7      lists 137:11           81:10,10 82:2
 51:22,25 52:6     78:5,8,13,15,17   115:11,16,19      literally 140:5        103:6 104:4,8
 52:10,13,17,20    78:20,23,25       115:21 116:3,7    little 40:7 41:3       105:3,10 108:1
 52:23,25 53:3,6   79:6,8,13,21      116:10,13,18         47:21 62:12         108:1 111:9,15
 53:11,14,17,21    80:2,4,7,13,16    117:13 118:18        64:21 110:15        113:4,12 115:8
 53:24 54:3,6,8    80:18,20,22       118:21,24            122:18 140:16       116:1 120:3,7
 54:11,13,16,22    81:1,4,7,13,16    119:6,12,16       live 35:16,24          121:12 123:4,5
 54:25 55:3,7,13   81:18,21,24       120:2,6,20,24        96:19               127:19 134:21
 55:17,19,22,25    82:5,7,11,17,20   121:3,17,21       lives 49:16,22         136:3 137:21
 56:3,7,11,13,18   82:25 83:2,4,6    122:10,14,16         141:20              139:4 141:24
 56:21,24 57:3,5   83:12,17,20,23    122:21 123:7      living 30:22 34:2      143:18
 57:8,12,16,19     84:1,4,7,10,14    123:11,14,19         35:12 141:11      looked 13:3,4
 57:21,23 58:1,4   84:16,20,24       123:22,24         lo 15:14               22:7,7 32:9,15
 58:6,8,11,14,17   85:3,6,10,13,16   124:5,12,15,20    local 98:25 108:9      33:5 88:3 95:11
 58:20,23 59:3,5   85:19,24 86:2,4   125:5,8,12,22        109:5 113:1,2       95:11,20,20
 59:14,17,20,23    86:8,12,15,18     126:2,6,9,13,16      142:14,16,21        105:11 122:4
 59:25 60:2,4,7    86:21,24 87:2,5   127:1,8,15,19        143:1               132:4
 60:10,15,19,22    87:8,11,18,25     127:22 128:3,9    locally 143:9        looking 16:15


                           Dickman Davenport, Inc
214.855.5100              www.dickmandavenport.com                          800.445.9548
                                       APP899
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 900 of 971

                                                                                       161
                            Absolute Interference

  30:5 33:1 40:17  108:24             40:11              60:8 73:14         25:15 104:25
  41:1 67:9 80:1 machines 3:11       management          143:12 147:5      mess 84:2
  101:4 105:3,21   5:6,24 6:4,8,9     14:12 119:23      McInerney          messed 137:22
  121:25 125:25    7:17,22 8:4,17    manager 97:2        100:12 102:4,6    met 5:2 6:13,14
  129:16 138:18    9:1,3,6 11:21     managers 97:9       103:2,8,11         41:4 68:13,16
looks 32:25 53:12  12:7,25 13:4,21   mani- 146:7         104:3 105:4,22     108:21
Lord 36:16         14:6 15:4,17,18   manifest 29:8       106:8 107:2       metadata 123:5
lose 32:19 90:12   15:21 16:7,8,16    94:22              108:4             Michael 116:6
  92:8 146:13      16:25 17:18       manifests 27:23    mean 3:2 7:1       Michigan 14:3
losers 114:3       20:3,4,12,18       146:7              8:22 12:5 13:15    32:15 73:9 90:6
losing 91:19       22:14 23:8        manipulate 16:5     24:17,25 28:20     127:25 135:19
lost 3:4,4 34:8    24:18 25:23        89:17              29:18,21 45:20     137:15,16
  143:23           26:6 27:5 31:9    manipulated         59:21 66:20        140:8
lot 5:9,10 42:11   31:18 39:4         89:2 93:21         69:8 71:4 78:8    micro 110:23
  47:23 53:12      40:12,18 41:7      113:19 114:9       87:6,12,21        micro- 110:23
  80:21 91:19,20   44:8 50:2 54:17   manufactured        92:20 93:15       Microsoft 18:9
  93:15,19 95:4    58:6 62:2 65:8     97:13              105:19 108:10     middle 72:18
  120:21 122:2,9   74:20 77:23       manufacturer        110:7 111:5        143:14
  124:2 133:1      83:4,8 99:13       97:13              112:13,19         midterm 21:19
  140:15           100:1 102:13      manufacturer/...    113:12 114:11     migrated 7:8,14
lots 40:8,9 41:20  102:15 105:16      97:18              114:23 115:8      Mike 2:3,7,10,12
  41:22            106:24 110:4      Mao 104:6           120:16 125:1       3:4,17 5:1,13
Louisiana 107:19   111:19 112:21     Mao's 104:9         126:23 131:17      16:16 17:9
love 55:15 116:17  113:11,12,19      map 128:25          131:19 132:9       23:20 30:9 37:9
  116:19           114:24 126:1       129:4              133:1,8,15         68:5,7 96:16
lower 105:10       135:2 140:23      March 23:15         134:13 136:8       98:1,23 99:4,15
luck 27:1 92:22    145:14             27:6 95:13         142:20,24          102:7 103:12
lull 142:12       macro 110:24       married 67:25      meaning 125:21      106:6 107:3,12
lying 114:2       made-up 115:8      marry 69:15        means 7:24 13:9     108:3,4,20
                  Maduro 31:20       Marxist 23:19       19:13 22:13        109:17 111:6
         M        magnitude 102:9     30:20 36:10        41:17 86:15        115:7 118:2
MAC 100:8          102:11 125:5,7    Mary 103:14         124:15 128:7      mil- 122:18
machine 8:3 9:15 mail-in 72:21,24     128:16             136:12,20         military 21:9
  11:25 13:23      87:14             massive 26:7       measurements        106:3 116:17
  15:5 16:12 18:4 main 18:7 41:12     33:17 74:9         46:25              129:17
  18:13 26:20     mainstream          90:10 102:7       media 2:21,24      milk 111:13
  40:6,7,10 44:17  96:21 100:20       112:8              3:21,25 14:22     Millennials 53:2
  62:3 95:3        117:17,23         match 50:10         24:1 96:21        million 2:8,8,17
  110:21 128:13   maintain 121:14     84:23,24           103:19 117:17      39:2 50:20
  134:16 135:9    major 98:5          115:17             117:23,24          62:11,12 71:23
machine's 12:3    making 3:15 29:6   matches 139:11      144:3              87:22 88:7,17
machine-owning     30:3 115:22       matching 100:7,8   meeting 28:15       88:17 97:22
  111:17          malfunctions       mathematical       mega 122:14         117:22
machinery 12:22    39:13              59:7              member 112:4       millions 70:2,4
  31:21 38:11     malicious 13:25    matter 8:23 23:7   mentioned 22:12     120:23,24


                           Dickman Davenport, Inc
214.855.5100              www.dickmandavenport.com                         800.445.9548
                                         APP900
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 901 of 971

                                                                                            162
                               Absolute Interference

 121:7 122:8,8,8    movie 17:8,9,12    nefarious 52:12     Nobody's 24:7       obviously 38:5
 122:18 128:13       17:15 74:18       neither 11:16       noise 22:6 29:7       71:17 103:20
 144:9,9             105:14,20           147:6              88:14                106:23 129:13
mind 39:25          multiparty         Netcom 131:7,9      non 34:6            occur 25:12
mine 143:23          101:16              131:16            nonresidents          114:14,24
Minnesota           multiple 18:22     network 2:3          34:5 77:15         occurred 2:11
 105:15              19:12 96:24         11:21 131:8,14    Nope 65:14            114:17
minors 34:5          98:2,3,5 99:6       131:15 132:8,9    normally 82:1       October 10:1
minute 4:5,6 54:2    99:23 100:6         133:5,6,6,6,7     Normandy 107:5      offensive 14:20
 61:4 64:22          101:20              133:15,16         North 7:9 14:18       119:14
miracle 26:17,17    multiply 63:6,16     134:18,19          24:23 147:18       offer 5:17
 26:19 71:19                             135:24 136:5,8    notice 47:23 52:3   office 7:23 18:19
 77:12                      N          networks 98:6,24     85:11                34:17 38:2
mirrored 59:19      name 13:10           99:1,6 132:17     noticed 67:10         113:2
 59:22               16:19 35:5        never 17:17         notices 59:6        offices 39:16
missed 26:18         41:16 97:17         20:17 26:9,11     November 5:21         99:23
 105:24              112:20 132:8        28:12 30:9,10      10:2 16:11 20:2    officials 14:10
misses 21:3          133:5,6,16          46:8 48:9,24       23:14,21 27:5        39:15 40:24
missing 19:13       names 47:14          78:2,9 93:9        30:16 31:12        Oh 4:11 8:21
 106:4,4            narrative 143:9      100:16 102:8       47:20,21 76:25       20:23 26:7 42:8
mistakes 80:19      nation 12:24         105:2 106:23       96:17 102:5          44:10 52:17
 80:20               23:16 91:9          107:3,6 109:21     106:1 116:22         65:2 68:25
mix 87:13 94:3       106:10 107:3        124:10,10         NSA 105:24            71:12 74:10
Mo- 77:5            national 2:5         138:17 146:5      nudity 4:9            77:18 78:3
mock 7:23            43:23,25 103:5    new 2:24 5:4        number 2:22,22        80:22 85:22
mocking 3:13,14      105:7 142:5         14:22,25 15:1,8    3:1 16:12 19:11      87:13 88:15
model 41:20          143:14              15:10,12,16        26:25 48:21          91:12 95:7,20
 80:11,11 97:5      natural 124:14       24:1 74:5 77:1     53:10 58:15,22       107:23 128:3
 103:12             Navajo 51:14,14      78:14 79:21        63:6,11,20 64:6      131:22 136:5
models 41:24        NBC 3:1              93:25 95:12        85:8 91:14           136:19
mom 111:12          near 109:15          103:19,22          139:11             Ohio 52:2 54:16
moment 117:15       necessarily          107:15 144:2      numbers 34:4,11       54:19 57:1,2,22
 142:10              126:23            new- 143:21          34:12,16,23          60:25 61:2,5,10
money 82:13         necessary 7:24     news 3:14 66:24      35:7,12 42:9         61:20 62:14
monitoring 11:23    need 11:21 14:17     96:10 101:1        47:3 62:13 65:4      66:20 71:9 85:5
 83:24               30:2 37:11,11       104:25 143:21      67:8 139:2           89:1,10 90:9
months 34:25         47:9 48:14,15       143:22             140:14             okay 31:8 43:8,8
 146:3               56:10 64:11       nice 20:24          nuts 3:17             43:24 44:19
morning 3:3,23       80:25 85:17,20    NIELSEN 20:25                             45:6 47:23 52:4
 16:10,11 72:25      90:19,25 109:4    night 3:3,14                O             52:10,23 53:6
 92:21 96:19         113:6 117:8         26:20 71:21       o'clock 16:10,11      56:13 60:3
 141:4               125:11 141:21       72:19 124:23        92:20               63:21 64:9,23
mother 111:23        144:16,17,20      nine 102:3          o- 4:3                65:17,21,25
Mount 107:6         needed 51:20         106:18 145:5      obsolete 20:12        67:17 82:11
move 133:19         needs 32:5         Noble 104:9         obvious 60:1,3        85:21 88:1 90:7


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                          800.445.9548
                                           APP901
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 902 of 971

                                                                                         163
                              Absolute Interference

  114:16 117:6      organ- 77:19      119:9 140:2         28:3,9,11,16      period 123:9
  118:21 119:8      organic 77:20     143:5 145:21        29:2,6,9,10,17    person 27:8
  119:12,16         organize 18:1    parti- 15:2          30:2 34:5,6         34:13,16,16,24
  122:16,21         organizers 7:20  participated 5:22    37:7 39:13,25       40:13 48:1
  126:16 127:19     original 121:14  particular 15:2      40:8,9,11 41:11     80:25 127:5
  127:25 129:11       131:6,25        16:14 37:25         45:24 47:24       personal 28:19
  130:20 132:7      oth- 133:6        38:24 85:4 97:6     48:23 49:25         94:11 118:23
  133:17,19         outcome 26:7      108:14              50:20 52:4,22     persuasion
  134:8,12 136:7      48:18 147:10   particularly         53:1,4,10 56:8      117:11
  136:19,19,23      outdated 13:20    12:13 37:12         58:16,24 59:9     Ph.D 41:15
  137:16 139:8      outlets 82:8     parties 147:7        61:13 66:5,7,10   phantom 49:14
  139:15 140:3,7    output 42:19     parts 98:9           66:13 74:17         49:15 132:12
old 59:9              81:22 131:25   party 26:10 28:2     75:22 77:13       phenomenon
once 67:20 78:1       132:6           28:20 75:8 94:9     82:23,23 85:9       43:13
  83:9 87:19        outside 130:16    94:22 102:12        85:12 86:9 87:1   Phil 100:12
  91:13 102:24      outsourced 97:14  113:20 117:10       88:25 91:25         103:15
  118:11 146:8      overcome 109:11   145:11              94:10,18,21,22    phone 2:21,22
one's 128:10        overly 96:21     pass 21:25           94:23 95:5          33:25 97:4,5,5
one-fifth 11:24     overseas 101:14  passed 27:5,5,6,6    99:24 100:24        97:6,13,20
ones 15:21 33:3       116:17         passes 14:14         103:15,15           99:17
  64:25 91:20       owned 99:14      passing 53:4         104:8 106:11      phones 16:6
  126:18              100:3          passive 125:25       107:13,20           98:21,22 99:14
ongoing 57:15       owner 134:18     patches 19:12        108:7 109:10        100:2
online 14:7,16        141:16         path 23:17,19        109:25 114:1,6    physicist 43:12
  17:6 44:17        ownership 12:6    36:12,21            117:10,22         Pi 98:9,16
  56:25 60:17,20                     paths 9:13 36:1      118:2 141:5,11    pick 79:11
  65:9 135:2,12             P         36:18 99:17         143:23 144:9        138:11
open 27:4 36:21     pa- 27:6         pathways 9:14        145:24            picked 57:2
  79:18,23 111:9    packet 123:18    patient 142:11      people's 141:20    picking 29:15
  145:16            page 57:1 119:17 patriot 116:1       percent 3:9 4:22     141:6
opened 4:3          pages 67:10 70:4 pay 39:1,3           11:7,24 12:3      picks 111:13
operating 12:10     paid 38:12        109:18              49:14 54:5,19     picture 116:4
  15:18 19:12        147:12          paying 38:25         55:1 60:24 62:2     122:5,18
  97:20 98:10       paid/will 147:12  108:8 115:5         63:6,7,17 64:3    piece 5:4 9:8
  104:21            Panama 104:21    peace 76:6           69:10 71:10         101:7 111:20
operations          pandemic 102:23 peaceful 20:9         118:5 123:17        112:25 120:21
  119:14            paper 7:16 8:6   Pennsylvania         124:6,17,22       pieces 7:21 96:24
opinion 32:6,7,18    9:9 112:25       41:5 45:5 57:20     137:4,25 138:1    pillow 82:8 111:8
  124:5             paralyzation      61:8,11 73:7       percentage 82:9      111:9
opportunity          21:16            127:25 140:8        82:21 126:21      Pillows 3:5
  31:13             paramount 106:9 people 2:17 4:5,6     127:6             pinnacle 104:16
opposed 8:6          106:9            6:18 7:15 8:5      percentages 64:1   place 33:4 61:1
  142:18            part 36:1 96:6    9:4,4,24 10:12     perfect 68:1         104:12 109:1
opposite 18:14       101:10 106:3,3   14:21 15:10,20      69:16 115:17        144:8 146:13
order 37:17 98:9     117:11 118:16    16:4 21:2,7        perfectly 61:3     places 72:14


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                       800.445.9548
                                          APP902
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 903 of 971

                                                                                             164
                               Absolute Interference

  79:18 92:3        posed 142:5          94:15 112:1,21     proof 2:5,7,10      pursuit 117:3
plan 18:18,20,20    poses 141:9          146:12,14           3:9,9,21 4:22      pushing 23:24
  19:5 84:11        position 8:20       presidential 92:8    5:7,14 11:3,7      put 4:8 9:9 20:15
  87:22 104:24       122:7               110:19,24           45:18 55:4,14       39:1 40:11 56:9
planet 37:21        possibility 19:15    114:22,22           56:19 60:24         64:16,17,18
planned 60:16       possibly 40:13      pressure 7:5         62:2,10,21          73:10 100:15
plans 19:4 141:18   Post 2:25           pretty 12:15 19:6    65:15 66:22         102:2,25 103:6
platform 24:1       postelection 9:25    125:1,1 127:18      69:9 72:8 98:23     103:13 106:13
  103:19,22         pour 106:14         prevent 21:6         99:18,20           putting 115:7
play 7:11 33:1       145:1               107:22              100:11,13           142:23
plays 145:20        pouring 115:23      primarily 37:16      103:13 106:9
Please 146:15       power 20:9 107:9    primer 104:10        117:16,22                  Q
pleased 2:3          142:13             principally 39:4     118:5 120:13       qualifications
pleasure 46:9       PR 2:22             prior 10:1,6         125:13,16           119:7
  96:7              praying 79:3         33:13               128:16 140:16      question 8:22
po- 142:4           precinct 41:8,8     priorities 105:7     140:21 143:17       44:10
podcasts 143:24      85:5 86:10 99:1    priority 105:9       143:18 144:20      questionable
point 21:3 23:13     99:2 113:2         private 118:19       144:21              98:17
  27:4 101:16       precincts 90:23      120:10 141:14      properly 15:18      questions 46:5,12
  117:17 134:17      98:19               141:15              20:7                96:13
  135:21            precious 32:20      privilege 18:24     proportion 64:12    quick 96:21
pointing 107:4      precise 102:9,11    probably 7:11        64:13,18           quite 125:3
poli- 94:6          predict 61:3         24:14 104:9,20     proportionate
                                                                                       R
police 30:22         64:19 80:12         116:23 119:10       59:9
policy 112:5        predicted 49:12      141:10             proportions         R 147:1
political 28:17      49:13 88:16        problem 15:17        64:24              ra- 92:9
  40:4 54:1 74:17   prefer 40:4          19:9 29:7 33:5     proprietary 18:2    race 15:13,15,22
  94:9              prepare 44:21        73:19 94:21         38:17                41:6 72:12
politicians 28:16   preparing 83:24      109:12             protect 22:2          94:23
  29:16             preprogrammed       problems 43:7,10     117:6 119:18       races 90:18 143:1
politics 28:13,13    60:13               61:11              protocol 115:1      Raffensperger
  30:10,10 94:3,6   present 2:3 92:16   process 6:22 9:25   proud 61:21 62:1      28:10 33:24
  142:15             136:15              10:12 12:23        proved 45:5           35:1,3 93:15
poll 8:5 97:2,9,9   presentation         24:19 40:1,23       96:25 100:17       railroad 72:11
pop 73:11            46:14               108:24 117:9       proven 140:18       rain 82:3
popped 5:24         presenting 107:7     125:11 141:14      Proverbs 36:15      raising 7:15
  93:12,19           107:7              processes 7:11      proves 115:10       rampant 22:8
popping 87:20       preserve 121:13      39:4               providing 67:17       143:21
popular 11:25       preserved 124:14    profanity 4:9       province 131:2      ran 41:4
population 51:23     124:16             Professor 14:2      provision 91:1      random 85:4
  52:16,18,19,20    preserving 137:8    programmed          public 8:12 18:12   Raspberry 98:9
  53:13,14 58:10    president 33:25      14:14               37:4 101:25          98:16
  59:10              34:3,11,22         prohibited 40:25    pulled 122:17       raw 120:8,11
portion 144:25       35:11 38:1         project 104:24      purpose 64:22         125:12 131:20
portions 98:5        71:25 72:2         promises 72:3        126:25             re- 100:23
                                                                                reached 41:11

                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                           800.445.9548
                                            APP903
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 904 of 971

                                                                                          165
                               Absolute Interference

  42:24               125:23 126:13     reports 25:5,7      25:10,13,16,22     80:16,18,22,23
read 32:5,18          126:13,23         represent 12:15     25:25 26:3,3,12    80:24 81:1,4
  128:14,15,17      reflect 113:7         128:24            26:13,14,17        82:16,19 83:17
readable 120:19     reflected 116:21    representatives     27:2,13,19,19      83:20,23 84:1,4
ready 61:21         refute 100:23         39:15             28:8 29:4,11       84:7,14,14,16
Reagan 146:12       refuted 100:20      republic 23:18      30:25 31:3,4,7     84:17 85:6,10
  146:14            reg- 48:24            30:19 36:6        32:1,10,23         85:10,13,16,16
real 8:8 35:7,11    register 56:4         117:4             33:19,19,23        85:24,24 86:2
  49:4 52:7 56:17     133:15            Republican 23:7     34:12,14,23        86:23 87:23
  62:12 114:10      registered 47:15      28:6 39:17        35:2,4,9,14        88:6 89:7,9,11
  115:9 118:4         48:24 49:1 51:7     73:13 106:17      36:12,21 38:7,9    89:13,15,19,22
  122:1               52:14 53:10,20      143:12 145:3,8    39:25 41:18,21     89:24 90:2,11
reality 93:24         53:23,24 56:9     Republicans 28:6    41:23 42:1,1,4     90:20,20,24
realize 37:4 91:7     58:16 85:12         28:11 93:12,15    42:4,19,20         92:24 95:12
realized 68:12        132:21 134:20     requirement 22:1    43:14 44:3,3,22    96:14 99:11
really 13:1 18:6      136:6             research 141:22     45:12,12,14        101:23 103:7
  18:17 23:21       registering 50:1    researchers         46:3,16,21,24      103:10 106:7
  31:8,9,11 33:2    registers 78:18       13:24             47:5,22 48:2,5     106:12 110:6
  36:23 37:1        registration        resolve 23:21       48:8,16,19,24      110:10,16,20
  82:12 90:7          47:11 59:22       response 53:16      48:25 49:2,5,18    111:2,10,11,22
  94:11 95:2          131:14 132:9        119:15,23         49:20,21,23        112:3,15,23
  101:17,17,19        133:7,12          responsible 40:13   50:7,16,16,19      113:13,20,21
  113:4 116:12        134:18 135:24     rest 53:1           50:22,25 51:5      113:25 114:15
  116:24,25           136:1,3 147:18    results 42:5        51:12,16,19        115:15,18,20
  119:7 120:17      registrations       retailers 3:6       52:6,8,13,25       115:20 117:9
  136:24 138:20       43:17 48:14,15    retained 118:8      53:6,11,16,17      117:12 118:18
  145:19,22           50:8 51:24        reverse 7:24        54:3,6,14 56:7     118:24 119:6
reason 3:8 22:4,5   regular 14:22       revival 36:15       56:11,11,11,21     119:19,19
  24:15 40:18       regulate 44:1         146:10            56:24,25 57:3,5    120:2,13,20,21
  46:11 118:10      related 147:7       revolution 104:7    57:5,10,11,16      121:17,21,24
reasons 21:24       relates 12:13         104:12            57:19,21 58:11     123:7,11,13,19
receiving 19:15       125:10            revolutions 20:10   58:17,20,20        123:21 124:12
recipe 46:20        released 11:23      rhymes 83:6,7       59:6,12,20         124:15 125:8
recon 125:25        remember 34:10      right 5:16,21 6:1   60:13 61:9,12      125:19,22
reconnaissance        60:16 100:13        6:6,7,14,14,14    61:16,16,19,19     127:1,16 128:7
  125:25              116:3 137:16        6:20 7:13,18      63:12,15,18,24     129:2,20,24
record 40:3 98:13     140:10              8:19 9:20 10:9    64:2,5,8,10,16     130:2,2 131:6
recording 2:1       remote 11:19          10:20,23 11:1     65:5 66:25,25      131:10,12,17
  100:7 146:18        18:25               12:8,8,20 13:6    67:2,13,13,16      132:1,2,7 133:2
  147:4,8           renew 37:17           13:6,11 14:8      67:18,21,24        134:23 135:5,5
records 98:14       report 108:2          15:8 16:1 17:1    68:3,3,9,9         135:11,15,15
recreate 123:23     reported 114:12       17:5,11,19 20:5   71:18 73:16        136:16 138:5,9
  123:24 124:4        114:13              20:5 22:9,18      74:1 75:12,15      138:12,12,12
red 56:13 58:21     Reporter 147:2        23:2,6,22,25      77:2,3 78:2,20     138:15,15,22
  63:19 89:23         147:17              24:2,4,5,24       79:10,12 80:13     138:22,25


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                         800.445.9548
                                            APP904
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 905 of 971

                                                                                              166
                                Absolute Interference

  141:8,11 142:2     San 142:8             10:8 13:24 14:6   sell 11:20 19:20      136:25 140:15
  144:17 145:23      saw 43:6 105:2        18:10 21:10       Senate 25:3           141:8 145:22
  146:15             saying 15:20          98:4 103:5        senator 17:14       showed 11:24
rights 18:24 24:2      17:17 18:19         119:15,22           19:24,24            54:1 55:9 62:9
  24:3 75:17           22:4 29:7 58:25     142:5 143:15        105:15 113:5,5      140:22
  109:8 117:7          75:12,25 99:9     security's 18:17      113:14,17         showing 93:20
  143:19               99:16 100:6       see 4:5,20 10:13    senators 20:2         100:7
Ring 104:23            122:16,25           10:16,17 14:21      28:10 93:19       shown 53:25
road 31:20             129:14              26:8 28:12 40:4   send 127:2            57:17 82:22
  104:23             says 4:8 32:19        42:11,13,15       sense 31:25           102:18 145:23
roads 9:14             34:3 49:16          45:7,24 59:6        138:19,21         shows 99:10
roadway 9:18           71:15 95:20         62:13 64:22       separate 55:8,10      102:11
Rob 142:5              106:21 108:14       76:19 96:23       separated 39:20     shut 19:2
rocks 111:7            126:19 131:7        112:16,18,19      Serbia 13:14        sic 69:3
rolls 48:4,12 86:1   scale 142:23          113:23 114:16     seriously 18:17     sick 96:18
Ronald 146:12        scandals 98:4         115:3,4 119:7     servers 99:5,22     side 6:17 51:15
room 11:17 83:18     scare 32:22 78:9      119:17 120:6      serves 126:24         74:17 75:5
  141:11             Schiff 141:2,10       120:12,12         service 20:15         132:5,5
rope-a-dope          school 110:15         123:5 125:20        116:16            sign 4:8 18:5
  142:12               112:5               126:1,17          serving 30:11       signals 98:13
routinely 18:11      Science 131:7,9       127:18 128:4      set 16:8,16 46:22   signature 121:12
rows 120:23,24         131:16              135:4 137:10        46:22 50:24         124:1
  121:7 122:6,8      scientific 2:4        137:21 139:6        65:3 87:6 127:5   signatures 123:3
  122:19             scientist 45:11       141:1,3 142:13    sha- 59:19          silent 100:21
run 51:2 61:14         55:15 73:17         144:4,21 145:2    shame 33:7            117:24
  79:9,9               84:22             seeing 28:15 41:1   shape 59:21         silos 34:7
running 39:8         scientists 40:20      97:11 108:1         124:6 143:9       simple 46:19
  72:11,12           screen 118:25         138:7 145:24      share 95:25           63:11 112:11
  143:20               125:18            seen 2:7,17 4:14      146:15            simply 141:23
runoff 15:15         seat 67:4             4:15,18 54:10     shareholders        single 3:2 13:22
  98:21              second 26:8 31:8      59:16 65:18         97:22               14:1 27:8 38:12
Russia 7:9 12:4      secret 40:19,20       68:23 69:23       Shorthand 147:2       58:1 62:17 65:7
  13:18 14:18          40:22,23            72:8 73:15          147:17              112:7 128:20
  24:25 142:8        Secretaries 99:12     76:21 79:16       shot 104:19 122:7     128:20 134:1
Russia's 11:15       Secretary 8:13        94:15 100:16      show 3:19 4:13        140:20
  142:9                18:18 22:1          103:11 106:20       4:17 5:15 30:2    sir 34:16 100:5
Russian 20:25          34:17 39:6 57:1     117:22 121:22       32:4,4 55:4,5     sit 108:19
  22:6                 57:9 93:16 99:6     121:24 122:1        61:3 62:22        sitting 23:13
Russians 142:19        99:23 107:14        125:13 128:9        101:24,25           50:21 108:20
                     secrets 141:17        128:16 140:11       103:15 107:8        114:5 141:7
         S           sector 118:19         143:16 144:20       113:6,18 119:6      142:22
safe 144:8             120:10              144:24 145:25       124:21 125:13     situation 40:16
sai- 93:9            secure 144:8          146:2               125:15,17           90:8
sample 134:9         securing 8:24       segment 121:11        127:23 128:6      six 23:24 71:7
sampling 69:24       security 9:23       select 25:3,4         129:10 136:24       76:16 98:19


                               Dickman Davenport, Inc
214.855.5100                  www.dickmandavenport.com                           800.445.9548
                                             APP905
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 906 of 971

                                                                                               167
                               Absolute Interference

  101:24 129:22     someone's 87:20        144:17              139:15 140:10      stones 96:24
  143:17 144:22     something's          spreads 145:21        147:3              stood 30:6
  144:22 145:4        81:16                145:21            State's 18:18        stop 72:13,15
skilled 18:6        sophisticated        spyware 10:24         34:17                108:25
sleep 142:12          14:19 22:13          62:20 65:19       state-owned          stopped 89:20
slip 112:25         sore 114:3             88:3 98:5           97:24 99:11,20     store 111:13
slipping 96:20      sorry 65:22          SSIDs 98:17         stated 59:1          stories 86:9
small 144:25        sort 11:17 19:15     stages 44:20        statement 38:1,2     story 68:10 72:19
smaller 90:18         23:15 43:12        staggering 18:22    statements           straight 19:22
smart 33:2            51:10 137:23       stamp 124:1           140:13             strange 105:21
  109:19            sounds 41:25           129:11            states 8:5 13:3,19   strategy 104:25
Smartmatic 3:12     source 99:8 120:1    stamped 137:3         13:20 15:24          142:18
  5:25 6:2 62:5       121:20 124:10        137:18              16:2,19 17:22      strike 141:11
  83:7 103:25         130:3,3,4,5,10     stand 89:21           21:23 22:2         studio 2:15 3:22
  144:13              130:21 131:6         146:14              24:21 35:11        study 11:23
Smartmatics           131:25             standard 119:2        37:19 38:24          41:17
  100:2             sources 100:6        stands 24:20          39:3,7,12 47:11    studying 43:15
Smith 49:16,20      South 104:22         star 136:17           52:9 53:7 57:4     stuff 4:20 24:14
  49:22             sovereignty          start 11:10 29:15     57:9,10,14,15        39:1 54:17
so- 62:22             143:8                37:7 75:25          61:14 69:24          65:17 66:23
social 24:1         Spain 13:13            121:4               71:5,7,7,9,16        79:18 87:16
  103:19 117:24     speak 144:10         started 4:2,24        74:2,14 77:16        90:1,6 95:19
  144:2             SPEAKER 2:2            5:10 6:15 15:4      79:16 92:1,21        100:25 110:3
socialism 27:14       7:19 8:2,7,11        18:20 31:1,7,9      99:5,12,22           110:19 115:9,9
  35:18 75:8,20       8:16,21 13:19        43:15 44:4          101:5 103:5          121:20 133:13
  93:25 102:19        14:2 17:25 20:8      84:12 87:19         112:2 127:21         138:11
  103:9 145:24        20:11,14,16,23       101:2,7 109:25      127:22,24          submersed 28:14
socialist 23:19       21:2,4,6,8,11        122:22 129:12       134:8 139:6        subsequent 31:20
  30:20 36:8          21:13,15,18        starting 93:6         140:4 146:3        subsequently
socializing           39:11                120:8 121:13      station 81:13,25       30:8
  145:25            speaking 56:12         145:12              82:1               subtle 142:11
soft 142:13         specialists 14:4     state 8:14 16:14    stations 143:21      successful 8:23
software 11:19      specialize 119:9       19:19 21:1        STAUFFER               101:11 125:20
  14:1 18:2 38:17   specific 141:4         26:24 29:23         18:15              successfully 8:18
  39:8,10,11 40:9   specifically 103:4     30:22 38:12       steal 95:4 99:4      sudden 26:5
  40:10,11          speech 24:4            39:6,6 54:18        141:18,23            28:14 82:8
  101:18              75:21 102:20         57:1 58:1 62:17   stealing 141:14        113:22
solution 29:8         103:22 143:20        62:18 65:1        step 84:6            suddenly 61:21
  94:21               143:24               88:11 93:16       steps 46:22 47:4       89:20
solved 73:18        spike 137:16           96:3,3,3 99:6       50:24 115:12       sued 143:22
somebody 32:24      spikes 42:15           99:23 107:15      stole 141:16         Suite 19:10
  79:10 110:22        72:22                108:13 114:18       145:13               147:19
  111:8             spoke 55:23            127:12 129:19     stolen 12:16         suites 101:18
somebody's          spoken 55:21           134:17 135:19       107:9 141:15       summer 25:8
  38:16 50:5        spread 39:2            137:8 139:14      stomach 96:18        Sun 104:6,15


                               Dickman Davenport, Inc
214.855.5100                  www.dickmandavenport.com                            800.445.9548
                                             APP906
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 907 of 971

                                                                                             168
                              Absolute Interference

supermarket          38:11 65:25          127:11            terms 119:5           94:17 108:6,9
  111:21             97:20 98:10        talking 17:7 20:2     125:24 126:24       109:4 110:1,17
supervisors          102:8 108:23         90:5 109:15         142:2               110:23 111:8
  114:20             109:5 117:12         110:18 114:6      Terri 147:2,16        132:18 137:17
suppliers 12:3     systems 11:19          115:7             test 93:7           think 8:7,24 10:1
supply 11:22,23      14:5 21:1 39:4     talks 30:9 109:17   tested 31:22          11:19 14:17
  12:4               39:9               tallies 126:17      testing 18:18,21      15:11,13 16:15
support 119:22                          tampers 39:12         19:4,5              19:24 23:20
Suppose 39:18              T            tar- 105:9          Texas 61:25 62:3      26:17 29:25
supposed 9:6,8     T 147:1,1            target 21:17          147:3,16,19         36:24 39:1
  13:5,7 29:9      T.V 3:14               105:9 134:12      tha- 122:23           41:12 48:13
  40:22 81:14      tables 113:23          134:16 135:6      thank 106:24          50:4 56:5 61:7
  94:20 114:5      Taiwan 104:20        targeted 21:1         107:11,11,25        71:5 73:14 75:4
  115:1              143:6              targets 105:9         108:3,5 115:24      80:9 84:12,13
suppress 75:21     take 7:25 9:8          120:1               116:6               87:21,24 88:1
suppressing          12:18,21 21:16     taxpayers 38:12     thanks 5:12,14        92:5 102:18
  103:21             30:15 31:5,18      TCL 97:16,17,21       96:6 107:24         106:2,6 108:7
Supreme 24:12        63:5 67:11,12        97:23,23 98:1,2     117:13              109:9 111:6
  32:8,16 33:3       67:14 70:24          98:2,22 99:3,4    the's 21:24           131:3 134:3
  76:20 102:2,10     71:16 75:20,21       99:17,20 100:1    theft 12:14 97:1      141:5 142:3
  106:15,18          77:15 80:23,24       100:4,9           theoretical 56:16     143:1
  118:12 124:16      88:8 93:9          team 19:7 101:2     theorists 114:2     thinking 67:15
  145:4,15           102:17,24            101:7             theory 24:21          68:4
sure 11:20 42:23     103:16 105:17      teams 105:20        thing 15:7 19:11    third 100:13
  77:21 87:8         110:24 115:8       teaspoons 46:25       24:6 27:7 28:4    tho- 133:7
  91:16 112:24       120:11,18          technical 39:5        28:23 30:14       Thomas's 32:6
  113:2 133:2        128:11 144:9       Technol 131:8         36:1 47:9 48:13     32:17
surface 28:5         144:17,18          technology            49:3 50:17        thou- 70:1,2
  41:15 134:6      taken 18:17 24:7       131:16 143:13       56:22 73:18       thought 61:15
surfaces 41:17       121:6 143:25       television 96:20      78:3,12 80:11       72:21
Suribachi 107:6      146:6              tell 7:23 22:1        87:23 89:25       thousands 40:14
surpri- 55:25      takeover 5:6 93:4      41:3 67:22          93:25 94:7          40:15 140:5,6
surprising 43:21   talk 2:23 4:13 6:7     68:22 72:20         104:25 108:19     threat 119:25
suspect 142:2        6:16 11:11 31:9      116:20 130:20       111:15 112:1        141:5,9 142:4
swing 71:6,7         33:23 68:4,7         136:12 143:21       114:3 116:11        143:15
  77:15              81:8 90:5            143:25 144:19       121:8 122:24      threats 118:15
switch 140:17        103:24 104:1         144:20              128:20 140:20       141:25
switched 139:7       119:18 129:10      telling 3:7,18        146:5             three 15:13 17:21
switches 140:12      144:10,13,14         38:13 63:10       things 3:6,17         17:23 45:1 94:8
syllables 16:4       144:14             tells 24:20           5:20 9:2 11:5       98:19 133:8
system 6:11,19     talked 10:25         ten 33:21 81:13       12:11 15:1        three-fourths
  14:12,15 18:16     27:21 29:13        Tenney 15:12          17:23 32:3          66:23
  18:25 19:2,12      30:1 33:10 46:8    tens 40:14            33:10 38:14       thumb 142:23
  19:14,16,20        105:13,13,16       term 142:18           67:11 73:9 74:6   ticket 91:11
  33:4 37:10         108:12 111:6         143:5               80:12 87:5 94:8   tickets 93:10


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                           800.445.9548
                                            APP907
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 908 of 971

                                                                                          169
                               Absolute Interference

  110:19,20         trade 141:17          97:12 98:8,10     uncomfortable      129:25 130:4
till 3:3 117:20     traditional 27:18     143:9              97:4              130:11,15,19
time 2:15 4:20      transcribed         trying 34:25        uncovered 43:16    130:23 131:1,5
  5:3,16 14:10        147:8               43:13 107:21      underpredict-      131:11,13,20
  18:8 24:13 27:1   transcription         142:19             71:22             131:24 132:3
  28:4 31:15,19       1:12 147:4,11     turn 16:12          underpredicted     132:10,15,20
  35:20,22 44:21    transfer 20:9       turned 15:7,7        71:22             132:25 133:10
  46:7,7 54:4       transferred           26:25 92:22       understand         133:14,18,21
  55:20 59:15         123:21              113:23             11:12,22 16:4     133:25 134:5
  68:2 70:14        transition 23:12    turning 96:24        30:3 46:19        134:15,24
  72:20 75:4        translate 51:17     turns 53:9           47:10 86:9        135:3,8,10,13
  83:10 88:11       translated 51:13    TVs 98:3             105:6 139:24      135:18,20,23
  92:22,23 100:7    translation 51:10   twilight 34:2        141:5             136:2,9,13,17
  102:1 106:17      transmissions       Twitter 3:4,5       understanding      136:22 137:5
  118:17 121:23       99:19               144:7              107:21            137:13,20
  123:15,17         transmitted         two 4:22,23 10:5    understandings     138:3,6,10,13
  124:1 125:3         98:14               14:15 31:2 34:9    36:17             138:16,20,23
  129:11,16,17      transparent 9:11      34:25 36:1        unencrypt          139:1,10,14,18
  129:18 133:4        18:10 114:4         46:25 63:20        125:11            139:21 140:6
  137:3,8,18        truck 73:3            67:25 91:1,1,4    Unfortunately     uniform 116:17
  142:1 144:4       true 4:12,12          93:8 100:11        14:11            unique 121:12
  145:3               14:11 25:9          102:16 143:17     Uni- 47:10        United 13:20
times 2:25 4:22       95:23 97:18         144:21            UNIDENTIFI...      24:21 35:11
  24:21 30:1          116:22            two-hour 4:16        2:2 7:19 8:2,7    37:19 39:7
  35:25 81:13       truly 18:6          two-thirds 12:2      8:11,16,21        47:11 52:8 53:7
  143:17 144:21     Trump 26:21         type 114:23          13:19 14:2        69:24 74:13
today 2:25 8:10       29:3 30:6 38:1    Tzu 104:6,15         17:25 20:8,11     103:5 112:2
  95:13 96:15         54:21,22,23                            20:14,16,23       127:21,22
  108:20 114:5        62:11 71:25               U            21:2,4,6,8,11     146:3
  141:7 142:19        77:16 87:22       U.S 5:18 9:15        21:13,15,18      uniting 27:24
told 3:21 19:6        89:1,3 90:9        13:23 14:10         39:11 118:14      36:22 146:9
  55:11 62:20         91:18 94:15        25:1 32:8,16        118:20,22        universal 129:17
  76:5 134:3          116:25 126:9       38:12 101:9         119:4,10,13,21   universities
  140:9               126:11 136:25      118:6 134:19        120:5,16,22       143:3
tonight 4:15,19       137:2,10,12       Uh-huh 12:8          121:1,10,18      University 14:3
  85:2 144:24         138:24 139:7       27:10,16 28:18      122:3,12,15,20   unprecedented
tools 101:18          139:21 140:13      37:2,6 43:11,20     123:2,8,13,16     105:5
top 91:10           trust 36:15 37:22    47:2,8,13,17,25     123:20,23,25     unrestricted
totals 62:11          40:1               51:3,8,22 75:10     124:8,13,19,25    104:5,14,21
  96:20 126:1       trusts 117:11        85:19 89:4          125:6,9,19,23    unsuccessful
touched 40:9        trustworthy 98:2     109:16 110:16       126:5,8,11,15     125:24 126:24
touches 121:19      truth 2:16 5:15      132:14,19           126:22 127:7     update 2:16
town 142:22           36:25 37:22,23     135:23              127:13,17,20     upside 146:5
traced 99:3           79:6              unbelievable         128:2,8,23       USA 2:25
track 72:11 91:23   try 7:24 87:19       5:15                129:2,8,15,21    use 12:25 13:20


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                         800.445.9548
                                            APP908
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 909 of 971

                                                                                      170
                              Absolute Interference

 16:7 36:15           101:3              11:19,21,25      111:25 112:6     59:7 72:20
 46:18 50:1 62:1    verified 99:16       13:21,23 14:4    112:24 113:2     76:21 80:12
 74:20 109:19         101:12             18:3,13,16       114:17,18,21     82:17 88:18
 112:7 121:18       veterans 116:19      19:20 20:8,11    117:1 119:7,17   102:15,22
 132:16,21          vicinity 98:14,15    20:18 39:1,9,19  121:5 122:21     104:15 105:23
 142:13             video 140:2 147:4    40:6,18 72:1     122:24 127:23    106:1,5,15
usually 18:8        videos 96:19        voting-related    129:10 133:2     108:11 109:2
 41:19 90:18        viewers 104:4        7:22             134:25 136:24    110:23 113:18
UTC 129:16,18       Vimeo 4:3           votings 87:14     136:24           113:19 117:22
                    violated 73:22,25   vulnerabilities  wanted 5:8 63:14  120:8,11
        V           virus 87:15          8:9,15 13:25     87:2 93:21       122:24 124:6
vaccine 104:1         102:23             18:12,22 19:6    108:22 120:6     124:14 128:3
  144:14            voice 76:1,1         19:11,21         132:20 140:15    129:12 134:3
validate 74:8       voices 144:9        vulnerability    wants 20:23       135:1 136:25
  80:5,5 118:3,4    vote 8:4 9:5,9       119:23           33:23            137:1,10
  121:9 128:20        14:7 21:12        vulnerable       war 51:11 104:16 ways 17:2,6
  132:6,21            39:19 47:24        105:17          warfare 12:12,12  36:17 80:5
validated 4:18        62:10 86:16,22                      102:7 104:5,10   119:24
  55:11 66:12         86:25 87:2                W         104:13,14       we'll 6:7 108:1
  69:2,2,6 100:24     96:18,20 97:1     W 98:9            105:5,25         111:10 116:7
  130:12,22           112:21,25         wait 4:24 26:8   warning 18:5      134:20
  137:4,18            118:6              31:8 54:2       warnings 98:2    we're 3:19,19
  140:20            voted 9:15,16        117:20 138:14   Washington 2:25   4:15,15 6:17
validates 62:24       27:17 34:5,6      waiting 117:15    107:19 142:15    7:16 8:3,23
  77:7                47:20 48:7,9      wake 30:21       wasn't 38:6 71:5  12:24 13:14
validation 81:5,5     58:24,25 59:2,3   waking 107:13     76:22,22,25      14:15 16:15
  81:5 101:17         59:9 60:8 75:14    107:20           91:10,25 95:8    17:20 23:13,15
validations           77:15 86:1,13     Waldron 100:12    135:11,12,14     23:16,18,23,24
  101:21              86:19 87:12        101:2,15 104:2 watch 17:9 19:25   23:25 24:8,17
various 6:22          92:17              107:12 108:3     30:2 65:15       26:17 28:3 29:9
  12:14             voter 8:2 47:16     want 2:16,18      113:6 115:6      30:19,21 34:1
vendor 19:20          49:15,15           11:20 16:13      125:16           35:24,25 36:6,7
vendors 18:13       voters 52:14         19:1 21:25 23:6 watched 17:8,12   36:12,20 62:21
  19:8              votes 15:4,6,8       26:16 35:12,12   24:14 68:23      70:24 76:15,16
vendors' 39:8         16:9 21:3 26:21    35:15,16 37:1    96:19 106:19     77:23 78:9 79:3
Venezuela 5:22        39:21 40:2,5,14    41:3 44:3,6      106:19 108:14    79:24 90:5,5
  7:9 30:24 31:2      71:23 72:21,25     46:10,11 48:18 watching 4:5       91:19 95:13
  31:12,15,18         73:11 87:22        54:16 55:7       23:25 66:22      96:1,2 99:16
  33:11,12 93:8       88:17 125:21       68:21 72:20      79:1 96:17,18    100:10 101:23
  102:15,17           125:24 126:7       81:7 83:9 91:7   126:4 141:8      103:18,19
  103:11              126:24,25          95:10,24,25     way 2:19,20 5:18  106:12,13,14
Venezuela's           127:3 136:21       100:19 106:16    14:7 16:5,24     107:7 109:10
  11:15               137:11,15          106:24,25        24:7 26:7 36:7   109:11 112:20
venture 97:17         138:7 139:6        110:12 111:17    38:21 45:4 46:6  115:22,23
verification        voting 7:15,22       111:18,24,24     46:19 49:6 52:8  125:15 126:3


                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                     800.445.9548
                                            APP909
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 910 of 971

                                                                                           171
                               Absolute Interference

 128:15 133:8         70:18 73:10       word 16:3 46:18      81:12 102:3        74:7,10,12 75:1
 133:10 144:1         86:10 92:22        80:10 88:8          106:20 112:10      75:6,23 76:10
 144:21,22,25         96:12 98:8         144:12,13,17        117:13 132:7       77:8,24 78:7,7
we've 7:14 9:11       100:3,21           145:21              145:16             78:13,15,15,17
 10:24 12:6,11        105:25 115:12     words 45:10 65:3    write 3:25 39:21    78:21 79:12,20
 13:14,14 24:22       115:12 117:23     work 32:2 40:19     write-block         80:18,20 81:4
 27:21 30:1 33:5      118:7 128:17       64:4 105:7          121:19             81:15,17 82:4,6
 33:8 34:1,24         132:23             109:10 121:15      writes 39:22        84:16,20,20,25
 46:8 55:22,22       weren't 71:6       worked 38:4         writing 40:8        86:7,8 87:10,25
 62:20,20 65:12       105:2              98:12 124:9        writings 104:6,15   87:25 88:9,12
 69:1 79:14,14       west 130:1          144:2              written 131:15      88:15 90:14,16
 80:21 84:17         whatev- 34:7       workers 97:10       wrong 34:11         91:2,15 92:7,13
 88:2,2,3,6          whe- 19:1          working 6:18         39:13 40:2         93:13 95:7
 102:14 103:19       wheelhouse          11:13 31:15         81:16 100:22       96:16 101:2
 105:9 107:6,17       119:19 120:3       61:7 101:8         wrote 32:6          110:4 111:10
 107:17 117:15       white 98:24         118:19             WVW 2:2             112:12 113:9
 140:20 143:16        101:7             works 18:2 41:1                         113:16 115:22
 144:2 145:25        Wi-Fi 97:7 98:11    64:3 65:6 105:6             X          116:12,15,18
 146:2,5              98:13,15          workstations        X 18:19 47:21       118:20 119:4
weaker 143:7         wide 144:19         14:12                49:20             119:21 120:22
weather 98:4         wild 125:2         world 2:11,18                           121:11 122:3
                                                                     Y
web 57:1             Willie 141:3        37:21 38:21                            122:20 123:2
website 34:20,21     win 15:14 16:14     51:11 76:17        Y 18:19 98:24       124:19,25
websites 8:14         34:9 38:5,5        79:1 80:9 91:9     y'all 17:8 144:1    126:15 127:7
week 73:6,7           39:14 89:3         93:7,9 97:15       ya 52:23,25         127:13,19
 107:14 141:1         90:21 91:19        101:25 102:11        129:20 133:17     128:8,23 129:5
weekend 8:17          92:5 93:22         102:25 103:5         136:7             129:8,15
weeks 2:9 23:24       104:16 127:5       112:14 145:2       yeah 5:11,11,13     130:19 131:11
 76:16 96:11         windtalkers        world's 14:4 21:9     10:10,15 11:8     132:25 133:14
 101:24 143:17        51:11             worried 25:21         14:24 16:17,21    133:21 134:5
 144:22,22           winner 79:11        91:11 94:10          17:16 22:23       135:3,8,13,20
 145:4               winning 90:9       worry 14:17           25:19 27:22       137:5,20
weird 138:8          Wisconsin 74:2      113:24               28:1,25 29:18   year 17:13 20:1
welcome 100:11        79:17,21          wouldn't 35:10        35:17 36:3,13     21:24 22:25
 145:16               127:25 140:9       77:22 79:2,9         36:19 37:6        25:6,6 26:1
well-orchestrat...   witnesses 118:11    82:12 92:14,15       38:18,20 42:8     74:19 84:13
 97:1                wolves 36:7         92:19,23 114:5       44:5,5 50:13      105:14
well-thought-out     won 15:16 31:19     135:4,4,11           51:25 52:21     year's 7:20
 84:11                54:22,25 71:10    wow 33:5 45:3,3       54:15,24 55:17 years 28:15 31:2
went 5:5 13:1         77:16 89:1 90:7    45:9 48:11           55:19 56:2        33:21,22 59:9
 21:22 26:24          92:6 104:17,20     53:24 58:8           57:23 60:6 61:6   89:18 93:8
 30:24 39:19          140:9,13           59:17 60:2           61:6,6,11,24      102:16 104:24
 40:10 41:8          wonder 42:16        64:20 65:2           63:8 66:16 68:6   118:16 142:7
 45:15 54:17         wondered 71:9       70:20 71:1           68:6,25 69:5,25   144:2
 61:20 69:1,18       Woo-hoo 73:18       75:13 78:9           71:14,24 72:4,4 Yep 34:21 36:19
                                                              73:1,4,20,23

                               Dickman Davenport, Inc
214.855.5100                  www.dickmandavenport.com                          800.445.9548
                                            APP910
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 911 of 971

                                                                                       172
                               Absolute Interference

  53:3,3,6 58:14   1600 45:22 49:12    3- 39:2             6581 147:17
  60:14 78:20      17 92:6             3,000 67:10         66 62:12
  129:1 135:18     19 127:24 129:4,6   3,215 136:25        67 88:16
yesterday 79:17     129:6 133:4          137:10            68 88:17
York 2:25 15:12     134:2,9,10,10      3:00 26:24          6th 27:6
  15:17             139:5,5,7 140:3    3:5 36:15
you-all 62:9        140:4,10,14        30 7:21 39:12               7
  120:6                                  49:14             7 16:11
YouTube 4:3                2           30-year-olds        7-31-25 147:20
  144:6            2 105:8               59:10             70 2:7 54:5,19
                   2,000 82:1          300 15:4,6,8        75206 147:19
       Z           2,4- 137:2          312 147:18          7th 31:11
Z 18:19            2,995 134:3,10      35,000 16:16,18
Zedong 104:6       20 11:24 15:11                                  8
                                       3rd 10:2 16:11
Zero 32:12 98:9      27:6 59:9           23:14,21 27:5     8,000 34:4,5
Zeros 98:16        20,000 81:25          30:16 47:20,21    80 54:5 62:11
zone 34:2 104:22   200 134:3             72:25 96:17         87:22 88:7
Zulu 129:18        2002 20:14            97:2 102:5        80-year-olds
                   2005 97:16            116:22 129:13       59:11
        0          2008 84:15                              855-5100 147:20
0h 24:20           2014 19:10                  4           86 63:6,7,17 64:3
                   2016 20:25 22:6     4 80:5 106:1        88 61:2,5 62:14
        1
                     30:7 33:22        4:00 96:19
1 24:3 105:8                                                        9
                   2017 25:7           40440 97:5
10 144:3           2018 21:19 25:8     4228 147:18         9-0 145:17
10,000 34:6        2019 11:22 25:8     47 139:25 140:1     9:00 3:23 117:21
100 3:9 4:22         110:5             4G 97:7             90-year-olds
  60:24 62:2       2020 2:6 8:20,22    4th 2:20 3:2 27:6     59:12
  69:10 118:5        14:18 23:4 25:8     31:11 129:13      9th 5:5 77:10
  123:17 124:6       26:4 110:5
  124:17,22          146:4                     5
  137:4,25 138:1   2021 23:15 97:3     50 134:8
100-and-somet...   20th 21:9           50-year-olds
  73:11            21 21:23              59:11
101 147:19         214 147:20          50,000 4:4,6
11,730 34:8        21st 7:16 118:7     500 39:2
12 71:22 88:17     22 15:11 97:22      518,617 139:6,11
12,000 52:21       22,000 34:5         59 12:3
14 71:23 99:5,22   24,311 137:2,15     5th 2:20 3:18,22
  144:3 146:3      280 90:23             3:23 98:21
14th 27:5          28th 10:1             117:17,20,21
15 54:25 92:6                            129:13
  118:16                   3
150 2:8,17 99:5    3 5:21 20:1 80:5            6
  99:21 117:22       92:20 96:16       6 16:10 36:15
16 55:1              99:15 100:5       60 11:7

                                Dickman Davenport, Inc
214.855.5100                   www.dickmandavenport.com                        800.445.9548
                                           APP911
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 912 of 971




      Exhibit A-20




                             APP912
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 913 of 971

                                                                            1
                         News Segment - May 3, 2021


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12   CERTIFIED TRANSCRIPTION OF
13    MAY 3, 2021 NEWS SEGMENT
14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP913
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 914 of 971

                                                                                 2
                           News Segment - May 3, 2021


1                      (Recording begins.)
2                      MR. SHARP:     Mike, the pillow man, Lindell.       How
3    are you doing?     Thanks for coming on today.
4                      MR. LINDELL:     Yeah.     Thanks for having me on.
5                      MR. SHARP:     Absolutely.     So you were on Jimmy
6    Kimmel the other day.     How was [sic] that go?
7                      MR. LINDELL:     Well, it went great.      I -- I got
8    to -- I got to say the word "Dominion," I think, "Smartmatic."
9                      MR. SHARP:     And they didn't kick you off?
10                     MR. LINDELL:     They didn't kick me off and
11   actually --
12                     MR. SHARP:     He didn't get up and walk away?
13                     MR. LINDELL:     No.     That's right.   But, no, it
14   was amazing.     He let me -- he asked me, you know, hard
15   questions, trying -- I think, you know, he expected maybe me to
16   get upset, but -- you know.
17                     MR. SHARP:     It seems like he was trying to push
18   your buttons.
19                     MR. LINDELL:     Right.     But I've been through it
20   all, you know, with the media.       I -- I do it every day.      All
21   the media, they have my direct number from your New York Times
22   to your Washington Post.       They all have my direct numbers and,
23   you know, when -- when they -- when there's something I need to
24   say, they don't call, they don't write --
25                     MR. SHARP:     So --




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP914
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 915 of 971

                                                                               3
                            News Segment - May 3, 2021


1                      MR. LINDELL:     So for being on Jimmy, that was
2    amazing now brave he was, because they --
3                      MR. SHARP:     Yeah.
4                      MR. LINDELL:     -- did not want me on there.     The
5    bots and trolls and all the le- -- people on the left said,
6    Don't bring him on, Jimmy.       And everybody here goes, Don't go
7    on there, Mike, you know?
8                      MR. SHARP:     Well, you even got a couple of claps
9    from the audience when you were saying, you know, when you were
10   talking there.
11                     MR. LINDELL:     Oh, yeah.   No, the audience was
12   great.    I -- I talked to some -- a lot of them.      They -- they
13   were all, you know -- they're -- they're not -- they were
14   not -- when I got there, it was like, immediately, from his
15   producer on down, it's, like, they might have different -- be
16   very, you know, liberal or whatever you perceive, but there
17   were even some conservatives and -- but they're all people, you
18   know?
19                     MR. SHARP:     So for anyone unfamiliar, what have
20   you been working on?     What have you been -- what have you been
21   doing the last few months?
22                     MR. LINDELL:     Ever since January 9th when I got
23   a piece of evidence -- obviously, since November 4th, I looked
24   into everything too.     Poured money wherever it needed to go.
25   People that were finding -- you know, you know, anything to do




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP915
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 916 of 971

                                                                            4
                            News Segment - May 3, 2021


1    with fraud.
2                      But on January 9th, it was different.     This was
3    a piece of evidence came off a computer and it was a -- it was
4    a -- it showed -- it showed this attack, just one footprint of
5    an attack by China.     And I'm going -- you know, it was a
6    spyware.
7                      Well, then I find out -- so then from that point
8    on, obviously, I went all in.       I met the guys that -- three --
9    there's three different individuals that were part that they --
10   they're going to be heroes when this comes out, because they --
11   they had -- they got all these footprints from the computers.
12   They got billions of printouts.
13                     And -- and so then I -- since then, I've been,
14   obviously, just fighting every day to get this -- to tell the
15   nation and everybody, the world, these machines where it got
16   hacked, Dominion, Smartmatic, Hart, all of them are the same.
17   ES&S.    Don't -- you just say Dominion, but it's all machines.
18   China hacked into our election and foot -- millions upon
19   millions of votes.
20                     And we have 100 percent evidence, so I put out
21   the two -- three movies now, Absolute Proof, Scientific
22   Proof --
23                     MR. SHARP:     Irrefutable --
24                     MR. LINDELL:     Huh?
25                     MR. SHARP:     Is it Irrefutable Truth?




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com     800.445.9548

                                    APP916
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 917 of 971

                                                                               5
                            News Segment - May 3, 2021


1                    MR. LINDELL:     It's Absolute.
2                    MR. SHARP:     Okay.
3                    MR. LINDELL:     I mean, that's even higher than
4    irrefutable.
5                    MR. SHARP:     Yeah.
6                    MR. LINDELL:     Okay?   They -- when you get to
7    Absolute Interference, the one I just put out, everybody's got
8    to spread that far and wide, because what I did, I took any
9    questions, any doubt you would have on Absolute Proof, I went
10   and got -- this guy is -- he works for the government.          Okay?
11   He's a white hat hacker, one of the best in the world.          Now, I
12   have him and two other ones, but this guy is the best.          Okay?
13                   The -- he spent five weeks validating just 19
14   attacks from China.      There was -- there was thousands or hu- --
15   about 2,000 something, I believe that night, from there.          And
16   he went, got the -- where's the building, the building, the IP
17   address, the ID of the computer.       But more importantly, of
18   course, then it comes over here.       This is just one hack.     Where
19   it came in, which building, which computer, which IP address.
20   But here's the thing.      He also got the sp- -- stuff that comes
21   off the computer.      We -- I call it gibberish.   You can't read
22   it.   And he goes --
23                   MR. SHARP:     Like the metadata.
24                   MR. LINDELL:     Yeah, yeah, this is right --
25   something -- you and I wouldn't be able to read it.




                              Dickman Davenport, Inc
           214.855.5100      www.dickmandavenport.com    800.445.9548

                                   APP917
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 918 of 971

                                                                                6
                           News Segment - May 3, 2021


1                      MR. SHARP:     Right.
2                      MR. LINDELL:     But he said, what these are,
3    they're cyber footprints and he validated when they did the
4    flips.   So let's say it was at the exact minute.         So let's say
5    it's 11:03 a.m. on November 3rd.          Here comes an attack.   It
6    goes into this computer.        We got -- pick a county, Fulton
7    County, whatever.
8                      MR. SHARP:     And you can see the votes flip?
9                      MR. LINDELL:     And you can see -- and he's got
10   the cyber flip.     Now, I said -- I asked him, Can you go back in
11   time and change that?     No.     This has "chain of custody," he
12   called it.   It's very important.
13                     MR. SHARP:     Right.
14                     MR. LINDELL:     He said, No, it's impossible.       I
15   said, So this would hold up in any court?          He said, This would
16   hold up anywhere.     You can't change --
17                     MR. SHARP:     Okay.    So --
18                     MR. LINDELL:     Two plus two is two [sic].
19                     MR. SHARP:     This is something I wanted to bring
20   up, because a lot of people, when you go out and you make these
21   statements, they say, Oh, Mike Lindell, you know, he's just
22   making these conspiracy theories, you know, he sell s pillows.
23   What does he know about this?        But the important thing to know
24   is that you are not saying these things.          You have people --
25                     MR. LINDELL:     Oh, no.    I'm saying the thing --




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                     APP918
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 919 of 971

                                                                               7
                           News Segment - May 3, 2021


1                    MR. SHARP:     -- you hired tea- -- well, no, no.
2    You're saying that.    But you have teams of investigators who
3    are finding this information --
4                    MR. LINDELL:     Right.
5                    MR. SHARP:     -- and providing you with it?
6                    MR. LINDELL:     Right, right.       They -- here's why
7    I ended up with -- and they even said it on Jimmy.           He goes,
8    Why you, a pillow guy, when no one else -- you know --
9                    MR. SHARP:     Right.     Exactly.
10                   MR. LINDELL:     It's only because I had the
11   biggest voice in this country, that becau- -- and -- and that's
12   what God gave me this platform, where ev- -- all the media was
13   coming to me, especially when I started doing -- when bombastic
14   things started happening, where -- cancel culture, where I'm
15   losing -- you know, I would lose, like, three box stores a day,
16   and they'd say -- they'd come to me, Mike, you lost H.E.B. and
17   Kohls and Bed Bath & Beyond turned on you.           What do you say
18   about that?
19                   Did you hear about Dominion and China attacking
20   our country?   So I put the voice out there.          What these guys
21   were, they -- evidence was already there, you know, they -- but
22   there were other people trying to get this out there, but they
23   didn't have a voice.
24                   MR. SHARP:     So that brings up --
25                   MR. LINDELL:     So -- right.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com         800.445.9548

                                  APP919
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 920 of 971

                                                                             8
                           News Segment - May 3, 2021


1                      MR. SHARP:     -- my -- my next point that I want
2    to ask you.
3                      MR. LINDELL:     Right.
4                      MR. SHARP:     It's fair to say, you're a
5    successful businessman.        You have a great business, you've been
6    selling stuff all over the country.         Why did you feel the need
7    to personally get involved with this?         How did you feel
8    compelled to get involved with this election?
9                      MR. LINDELL:     Well, I would -- I would hope
10   anybody --
11                     MR. SHARP:     Why you?
12                     MR. LINDELL:     Well, first -- first of all, when
13   you talk about November 4th, you know, the day after,
14   obviously, I seen deviations.        I look -- the one thing I do --
15   am an expert at is deviations.        I look at numbers all day long.
16   They don't lie.     If I have a radio station that normally does
17   3,000 and it does 15,000, you had to have a different input to
18   change that output.
19                     So there were all these deviations and so I dove
20   in there, mostly with just resources and -- and -- and also
21   with myself looking, my own investigation, going county by
22   county, going this is mathematically impossible.
23                     MR. SHARP:     So you saw something suspicious and
24   you wanted to investigate it?
25                     MR. LINDELL:     No, it -- well, suspicious wasn't




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com       800.445.9548

                                     APP920
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 921 of 971

                                                                               9
                          News Segment - May 3, 2021


1    even the word.    There was thousands of deviations.      You could
2    look at -- I could peck out a county and go -- in Wisconsin, so
3    to speak, and look at the track record, look what happened,
4    it's impossible, because the same people lived in the county
5    before.
6                     Now, what happened was, though, all these
7    people, after -- after January 9th, when I went public with
8    that -- with that piece that these guys had gotten me,
9    that piece of Dominion -- Dominion, you know, the -- the
10   cyberattack, when I did that, then these guys trusted me.           The
11   guys that are -- these guys are whistleblowers.        These guys
12   are, you know, that work inside the government and used to work
13   for the government, these are the guys that have all this
14   information, and so they had this.       They can't just go out
15   there.    They're in danger, but they trusted me, so they brought
16   it to me.    I'm not a computer geek.     I don't know anything
17   about it.
18                    MR. SHARP:     Right.
19                    MR. LINDELL:     I don't know this from this.
20                    MR. SHARP:     Right.
21                    MR. LINDELL:     But I do know -- I do know
22   deviations and I do know that this was the answer.        Now, I seen
23   it, so I even validated it by the people that work -- that
24   protect our country.
25                    MR. SHARP:     Okay.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com     800.445.9548

                                   APP921
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 922 of 971

                                                                              10
                           News Segment - May 3, 2021


1                     MR. LINDELL:     These people protect our country
2    when there's a cyberattack.
3                     MR. SHARP:     So --
4                     MR. LINDELL:     So I got the best in the world to
5    validate it.
6                     MR. SHARP:     The big question that we all want to
7    know, was the 2020 election stolen?
8                     MR. LINDELL:     Well, I -- I think everybody
9    already knows that.    I mean, of course it was stolen.      Donald
10   Trump won just shy of 80 million to 66 million for Biden, and
11   that doesn't count the organic theft that was on the ground.
12   Donald Trump won -- now, get -- everyone hear this, 80 million
13   to 66 million.    Mike, come on.     You know, that's just because
14   you like Donald Trump as president.       No.
15                    If the -- I'm just telling you the truth.        What
16   do you want me to minimize it and say that, you know, Donald
17   Trump won, but it was close.       It was the biggest landslide
18   ever, I mean, for -- it's just a complete landslide.
19   Highest le- -- highest black vote ever for someone -- for, you
20   know, in -- in the -- that he had.       These were -- in mail-in
21   votes -- even the mail-in votes, everybody -- everyone goes,
22   You know those mail-in votes in Michigan when everything
23   stopped in the middle of the night, they go, Wow, the 106,000
24   votes came in for Biden with no down ticket.
25                    Let me tell you, those weren't mail-in votes.




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com      800.445.9548

                                   APP922
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 923 of 971

                                                                              11
                          News Segment - May 3, 2021


1    They were count -- mail-in votes were counted on the morning of
2    the 3rd.   They were the first thing counted, everybody, except
3    for Pennsylvania, which they -- they had to take a whole week
4    to cheat over there.
5                     But -- and then you had -- you know, like,
6    Arizona took one week to count one percent.       That's all going
7    to be found out now when they open up Maricopa County.         They
8    finish that audit, you guys are going to see 100-some thousand
9    votes flipped.    This was a crime of -- of Biblical proportions.
10   I mean, it's historical proportion.
11                    What I want everyone to know, and I said it on
12   Jimmy, they said, Well, what if it was on the other foot?          You
13   know, what if it had -- if Donald Trump, you know?        And I said,
14   You know what, I would do the same thing.       Here's why.    When
15   you ask what's compelling me to do this, if they would have
16   done their jobs, everybody, and put Donald Trump in on
17   December 14th and said, Yes, we found this -- this theft, you
18   know, there's dead people voted, all these other vote -- things
19   they were talking about that nobody looked at -- nobody looked
20   at that either, not one judge in this country.       It was a joke.
21   So -- but if they do that, if they do their job and the
22   legislators do their job, Donald Trump wins.
23                    MR. SHARP:     So --
24                    MR. LINDELL:     Now, if I'm given the same
25   evidence on January 9th, you don't think that I would say -- of




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com     800.445.9548

                                   APP923
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 924 of 971

                                                                            12
                            News Segment - May 3, 2021


1    course, I would be telling the world.
2                      MR. SHARP:     So if -- if President Trump had won
3    the election, but you saw the same evidence that showed that
4    Biden had actually won, you would be doing the same thing you
5    are now?
6                      MR. LINDELL:     Yes.   Because it's -- this is
7    China attacked our country.       This is -- it doesn't matter --
8    you have to right the 2020 election.        But I'm telling you,
9    everyone, we can never have machines again in history.         The
10   whole world is watching.       If I knew now what I -- you know,
11   right now what I have, I could not keep -- the only person that
12   were to have all this stuff, at one person, it was me and four
13   guys that trusted me.     Then it expanded from there as I got
14   more people, more investigators, put a lot of resources into
15   hiring the best in the world to -- is this real?        Is this true?
16   And they're all going, Yes, it's true.
17                     Now, everyone says, Well, why didn't you bring
18   it to the -- to the FBI or to the government?        The -- you know
19   what?    I trust -- I -- right now, I trust bringing it all to
20   the people first, so everyone in this country, whether you're a
21   Democrat or Republican, you see all the evidence and you go,
22   guilty; China attacked our country.
23                     When we have all that, because what are we up
24   against?    We're up against this twilight zone thing where,
25   like, the Supreme Court wouldn't look at stuff and judges




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP924
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 925 of 971

                                                                                13
                           News Segment - May 3, 2021


1    wouldn't look at stuff.        Well, what I want to do, you dump this
2    evidence -- we're going to dump it over the next three, four,
3    five weeks, and we're going to do this evidence dump, just like
4    I did in Absolute Interference.          The -- the guy was actually on
5    there telling about what he found.          Okay?
6                      This is the stuff -- all the Supreme Court
7    there -- by the time it gets there, then, they're going to go,
8    Wow.     We're under pressure from the -- to save the United
9    States and they're going to accept it.          Well, when they look at
10   it, it's going to be 9-0.        Boom.    It's pulled down.    And
11   there's also two other paths, too, where this election gets
12   pulled down.
13                     There's three of them.       The first one's the quo
14   warranto that we're bringing to the Supreme Court.            That's what
15   I've been working on every day to bring that there.            The other
16   part, you start bringing -- you -- Arizona --
17                     MR. SHARP:     That's what I wanted to ask you
18   about.
19                     MR. LINDELL:     Yeah.    Yeah.
20                     MR. SHARP:     -- like, with everything going on in
21   Arizona, what do you see happening there?           How is this going to
22   turn out?
23                     MR. LINDELL:     Well, as soon as Arizona fi- -- as
24   soon as the audit's done, there's going to be 100-and-some
25   thousand votes just in that county that got flipped.            The whole




                             Dickman Davenport, Inc
            214.855.5100    www.dickmandavenport.com         800.445.9548

                                     APP925
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 926 of 971

                                                                               14
                            News Segment - May 3, 2021


1    state of Arizona, Donald Trump won by over a half a million
2    votes.    That's all going to come out.      They're going to go,
3    wow, amazing --
4                      MR. SHARP:     Now, they've been saying that we're
5    not doing this so we can overturn the election.        We're doing
6    this, you know, for cybersecurity efforts and stuff like that.
7    If it turns out that Trump, you know, did win these votes, you
8    know, we're not going to do anything.        What do you think about
9    that?
10                     MR. LINDELL:     Who says that?
11                     MR. SHARP:     The -- the Maricopa County people,
12   the --
13                     MR. LINDELL:     Oh, is that what they say?
14                     MR. SHARP:     Yeah.   They say they're just --
15                     MR. LINDELL:     Well, I -- I don't know what
16   they're doing, but I --
17                     MR. SHARP:     -- doing it for election integrity.
18                     MR. LINDELL:     -- I know what I'm doing.     I'm --
19                     MR. SHARP:     They say they're not out to change
20   the outcome to the election, is what they said.
21                     MR. LINDELL:     Well, you -- you -- there's
22   twofold there.     Then what are they doing it for?     They're doing
23   it because they'll hold Dominion accountable.        If they had
24   nothing to hide this whole time, then why were they hiding it
25   from the people?




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com      800.445.9548

                                    APP926
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 927 of 971

                                                                             15
                            News Segment - May 3, 2021


1                      MR. SHARP:     Exactly.    Exactly.
2                      MR. LINDELL:     They're -- you know, if you find
3    something -- let me be very clear.          There's no statute of
4    limitations on a crime of this magnitude or any crime like
5    this.    Do you know that there's a precedence for many down
6    tickets -- many down tickets, when they find out the real
7    winner was this person, they flip it over.          And this is that --
8    that's just -- the one pathway of those states, just because
9    there's dates, do you think because, oh, there was a date that
10   went by on December 14, January 6, January 20th, just because
11   those date [sic] pass, and then you find out that this was
12   criminally done, by another country no less, too --
13                     MR. SHARP:     Several countries.
14                     MR. LINDELL:     -- you know, by -- well, the main
15   one was China --
16                     MR. SHARP:     Right.
17                     MR. LINDELL:     -- and then -- you know, you can
18   have servers in other countries, too, that did this, but -- but
19   the main one was China.
20                     MR. SHARP:     Germany, Pakistan, Italy.
21                     MR. LINDELL:     The -- the main one was China.
22   The attack s would come from everywhere.          We -- I have proof,
23   19 attacks directly from China flipped five states, including
24   Arizona.    So that's all I need is just those 19.
25                     MR. SHARP:     I just wanted to mention, for anyone




                             Dickman Davenport, Inc
             214.855.5100   www.dickmandavenport.com         800.445.9548

                                    APP927
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 928 of 971

                                                                            16
                           News Segment - May 3, 2021


1    who does want to help out in Arizona, that there is a
2    fundraiser right now to help pay for everything.        And you
3    can -- you can find it on the website you see on your screen
4    right now.
5                    MR. LINDELL:     Yeah.    Yeah.
6                    MR. SHARP:     You can go and donate --
7                    MR. LINDELL:     Yeah.
8                    MR. SHARP:     -- and it'll help the -- help pay
9    for the venue --
10                   MR. LINDELL:     Right.
11                   MR. SHARP:     -- help pay for the people working
12   there.
13                   MR. LINDELL:     Yeah.
14                   MR. SHARP:     Because the Democrats are trying to
15   shut that down right now.
16                   MR. LINDELL:     Right.    You guys, I can't tell you
17   that's -- you have to donate to this.       There is no other time
18   in the world -- this is the -- I've never asked for any money
19   myself for any of the stuff I put in.       I've just been doing it.
20   I've done -- and put -- ask for any money.        And -- but I do get
21   behind good causes.    Like right now that you're putting up that
22   fund, that fund is so important.     I can tell you, 100 percent
23   of that money is going -- could be -- could be just that
24   state -- that state is a domino.     Once that falls, they -- they
25   all are going to fall like --




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP928
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 929 of 971

                                                                              17
                            News Segment - May 3, 2021


1                      MR. SHARP:     Right.
2                      MR. LINDELL:     -- dominoes.    That's another path
3    to (inaudible) --
4                      MR. SHARP:     They'll have the precedence to show
5    if this happens.
6                      MR. LINDELL:     But that -- it's -- it's important
7    in more ways than you could ever imagine, because when they do
8    that audit there, it -- they're going to -- it's going to show
9    that -- what went on with these machines being -- being a part
10   of this cyberattack by -- by China.          But those machines, you
11   know, there's two things.        We're going to get the 2020 election
12   fixed, but we also need to get rid of the machines, all of
13   them, forever, around the world.          Never, ever a machine, ever.
14   You can never have an election, ever, with a machine.          So that
15   whole industry goes bye-bye.
16                     It's -- you know -- let me tell you in Arizona,
17   too -- and by the way, put money into that fund.          These guys
18   need it.     I just thought it was a -- it was, you know, they are
19   short money and we cannot have -- we've come this far to be
20   short.     You know?   And -- but in Arizona, it's interesting, we
21   were -- we're doing a recall on Doug Ducey -- sorry, Doug.
22   Lose my number.
23                     And -- so this recall on Doug Ducey, we --
24   interesting enough, when you do a recall, it's a certain size
25   piece of paper, every -- every signature has to be validated,




                              Dickman Davenport, Inc
          214.855.5100       www.dickmandavenport.com       800.445.9548

                                    APP929
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 930 of 971

                                                                             18
                           News Segment - May 3, 2021


1    ID and validated by another -- by -- I think a notary, even.            I
2    mean, it's very -- it's a very -- it's quite a process.           But
3    it's all hand done.     And every vote is hand counted.     There are
4    no machines involved.
5                      What a concept.    Wow.   I mean, you have --
6    there -- it's more strict doing that than this just
7    fly-by-night using machines where, you know, a 10-year-old
8    could hack these machines.
9                      MR. SHARP:     Right.   Exactly.
10                     MR. LINDELL:     They really could.   I mean, it's
11   so simple if you know anything about hacking.
12                     MR. SHARP:     Well, they have these hacking
13   conferences where people go in and they said they could do it
14   in under seven minutes.
15                     MR. LINDELL:     Yeah, they hack them all.     They
16   hack them all.     You know, you did a great piece on that and
17   they -- but this is -- I can't stress how important Arizona is
18   for all things.     Even to strengthen the -- the quo warranto
19   that we're doing with the Supreme Court, you have -- you
20   compile all that -- I believe there are all these rail- --
21   these three tracks are going to all intersect and that Supreme
22   Court gets their 9-0, let's do something.
23                     MR. SHARP:     Okay.
24                     MR. LINDELL:     I'm waiting for them to call and
25   say, Hey, we want to do something right now, America.          What




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com      800.445.9548

                                    APP930
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 931 of 971

                                                                             19
                           News Segment - May 3, 2021


1    they should do is all nine of them walk out there and bring us
2    what you got, protect our country, because every day that goes
3    by, whatever's in office right now is destroying it.         I saw a
4    picture of the wall where the wall ended, and they -- and the
5    guy said, You know what -- the guy -- reporters down there, he
6    goes, This just didn't end the wall, this will end America.
7                      MR. SHARP:     So last question, and this is the
8    really big one.     With all the evidence you've seen and if
9    Arizona flips and everything else, will the election be
10   overturned?    Will President Trump be put back in office?
11                     MR. LINDELL:     Yeah, by August.    I've said that
12   before.   Donald Trump will be back in power in August.         We
13   will --
14                     MR. SHARP:     You're certain?
15                     MR. LINDELL:     Yes.   That's me.   That's -- now,
16   that's me.    Now, do I have -- to back that up?       That's subj- --
17   that's subjective.     That's why -- you know, having me on,
18   that's my opinion, but it's opinion based on a lot of things
19   that when I believe this election's going to be pulled --
20                     MR. SHARP:     Why August?
21                     MR. LINDELL:     The reason I say August is because
22   of the timeline here.     We're already into April, and I know
23   by -- you know, you get through May, I know that this -- the
24   Supreme Court should probably get our case somewhere around the
25   end of May, maybe early June.       So you have all of June, but




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP931
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 932 of 971

                                                                               20
                             News Segment - May 3, 2021


1    there's going to be so much pressure on them to look at it
2    fast, because you're getting -- this country's getting damaged
3    each and every day.       Every day that goes by, some nonsensical
4    thing gets done by this administration.          50,000 union jobs on
5    the first day of the inauguration, 13 of them have committed
6    suicide.
7                        You guys, if things are going on out there that
8    don't make common sense and don't help you, I don't care if
9    you're a Democrat or Republican, if it doesn't help the people,
10   that means politicians -- somebody's making the decision for a
11   political reason or a personal reason or maybe an attack by
12   China.     Hello?    You know, out -- you know, if you -- if you're
13   in this country and you went to college in the last few
14   decades, you've been so brainwashed that socialism is having a
15   cup of coffee and socializing.
16                       MR. SHARP:     Oh, China's great.   They're
17   wonderful.
18                       MR. LINDELL:     Yeah.   Well, now they're -- yeah.
19   Well, they're all now noticing.         Even -- even them.   I've
20   talked to them people that went to college that were strong
21   Democrats, liberals, lefts.         And they're going -- I said, Is
22   this what you -- you know, is this -- what do you think this is
23   benefiting, this wall ending here, when everything was working?
24   And now we have human traffickers coming over --
25                       MR. SHARP:     Bringing drugs.




                               Dickman Davenport, Inc
          214.855.5100        www.dickmandavenport.com       800.445.9548

                                      APP932
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 933 of 971

                                                                            21
                           News Segment - May 3, 2021


1                    MR. LINDELL:     -- we have drugs pouring in again.
2                    MR. SHARP:     Yep.
3                    MR. LINDELL:     All these --
4                    MR. SHARP:     From China.
5                    MR. LINDELL:     -- things and -- yes.    And then
6    here are these guy- -- and the guy goes -- I said, Yeah, you
7    know, I said -- they go, Do you see now how socialism is bad?
8    And they go, Yeah, we're kind of seeing this isn't -- you know,
9    it doesn't make sense.    I said, If it doesn't make sense, guess
10   what, that socialism skipped right over China -- it leads to
11   Chi- -- communism, but it skipped over.        Communism is here.
12   The first thing they do is take away your voice.        That's what
13   they do, everybody.    They've been suppressing --
14                   MR. SHARP:     Well, they're doing that everywhere.
15                   MR. LINDELL:     Everywhere.
16                   MR. SHARP:     All over the country.
17                   MR. LINDELL:     Churches speak out for Jesus --
18                   MR. SHARP:     You would know.
19                   MR. LINDELL:     Yes, I would know.    You know,
20   right now you can talk about borders, machines, vaccines,
21   Jesus.   I mean, you talk about -- I've talked to churches.
22   They're getting suppressed with YouTube and Vimeo.        This is
23   what they're doing.    (Makes noise.)    It'll be pretty soon you
24   won't be able to talk.    There will be -- there won't even be
25   bad journalists anymore, because they -- and I'll give you an




                            Dickman Davenport, Inc
          214.855.5100     www.dickmandavenport.com       800.445.9548

                                  APP933
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 934 of 971

                                                                              22
                           News Segment - May 3, 2021


1    example of that.     I -- they -- about, oh, three weeks ago, I
2    was on a network and I said the vaccine was the mark of the
3    beast.     And I said that and it went -- you know, it started to
4    go viral, just two outlets grabbed it.          And you know what?
5    Somebody, Big Brother, shut it down.          They did not want me even
6    saying that.
7                      Now, in a normal environment, they would mock me
8    and go, Mike Lindell believes the Bible, you know, that -- you
9    know, mark of the beast.       Instead, they just killed it.     So
10   they do two things.     They either kill a story, kill your voice,
11   or they'll try and say that you're a liar, you know, or a
12   conspiracy theory, right?        Those are their two narratives.      But
13   it's all over.     It's not just social media.
14                     MR. SHARP:     Yep.
15                     MR. LINDELL:     It's all over the mainstream
16   media --
17                     MR. SHARP:     It is, absolutely.
18                     MR. LINDELL:     -- and it's horrible.    You've got
19   One America News that's -- you guys are like the -- the only
20   ones -- it should be the Only One America News.
21                     MR. SHARP:     All right.    I think that's -- we're
22   running out of time here, but thank you very much, Mike.
23                     MR. LINDELL:     Well, thanks for having me on.
24                     MR. SHARP:     I appreciate you coming on.
25   Absolutely.




                             Dickman Davenport, Inc
          214.855.5100      www.dickmandavenport.com        800.445.9548

                                    APP934
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 935 of 971

                                                                            23
                         News Segment - May 3, 2021


 1                      MR. LINDELL:       All right.
 2                      MR. SHARP:      Cleared some things up.
 3                      MR. LINDELL:       Right on.
 4                      (Recording ends.)
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25




                            Dickman Davenport, Inc
         214.855.5100      www.dickmandavenport.com       800.445.9548

                                  APP935
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 936 of 971

                                                                            24
                         News Segment - May 3, 2021


 1                          C E R T I F I C A T E
 2       I, TERRI GARCIA, Certified Shorthand Reporter in and for
 3   the State of Texas, certify that the foregoing is a correct
 4   transcription from the video recording of the the
 5   above-entitled matter.
 6       I further certify that I am neither counsel for, related
 7   to, nor employed by any of the parties to the action in which
 8   this recording was transcribed, and further that I am not
 9   financially or otherwise interested in the outcome of the
10   action.
11       I further certify that the transcription fee of
12   $___________ was paid/will be paid in full by
13   _____________________________________.
14

15

16                               ________________________________
                                 Terri Garcia, Texas Certified
17                               Shorthand Reporter No. 6581
                                 Dickman Davenport, Inc.
18                               Firm Registration No. #312
                                 4228 North Central Expressway
19                               Suite 101
                                 Dallas, Texas     75206
20                               (214) 855-5100
                                 My commission expires:       7-31-25
21

22

23

24

25




                           Dickman Davenport, Inc
         214.855.5100     www.dickmandavenport.com         800.445.9548

                                  APP936
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 937 of 971

                                                                                             25
                          News Segment - May 3, 2021

       A                   B          business 8:5          20:24 22:24         18:22 19:24
a.m 6:5           back 6:10 19:10     businessman 8:5     commission          crime 11:9 15:4,4
able 5:25 21:24     19:12,16          buttons 2:18          24:20             criminally 15:12
above-entitled    bad 21:7,25         bye-bye 17:15       committed 20:5      culture 7:14
  24:5            based 19:18                             common 20:8         cup 20:15
                                               C          communism           custody 6:11
Absolute 4:21 5:1 Bath 7:17
  5:7,9 13:4      beast 22:3,9        C 24:1,1              21:11,11          cyber 6:3,10
absolutely 2:5    becau- 7:11         call 2:24 5:21      compelled 8:8       cyberattack 9:10
  22:17,25        Bed 7:17              18:24             compelling 11:15      10:2 17:10
accept 13:9       begins 2:1          called 6:12         compile 18:20       cybersecurity
accountable       believe 5:15        cancel 7:14         complete 10:18        14:6
  14:23             18:20 19:19       care 20:8           computer 4:3
                                      case 19:24            5:17,19,21 6:6             D
action 24:7,10    believes 22:8
address 5:17,19   benefiting 20:23    causes 16:21          9:16              Dallas 24:19
administration    best 5:11,12 10:4   Central 24:18       computers 4:11      damaged 20:2
  20:4              12:15             certain 17:24       concept 18:5        danger 9:15
ago 22:1          Beyond 7:17           19:14             conferences         date 15:9,11
amazing 2:14 3:2 Bible 22:8           Certified 1:12        18:13             dates 15:9
  14:3            Biblical 11:9         24:2,16           conservatives       Davenport 24:17
America 18:25     Biden 10:10,24      certify 24:3,6,11     3:17              day 2:6,20 4:14
  19:6 22:19,20     12:4              chain 6:11          conspiracy 6:22       7:15 8:13,15
answer 9:22       big 10:6 19:8       change 6:11,16        22:12               13:15 19:2 20:3
anybody 8:10        22:5                8:18 14:19        correct 24:3          20:3,5
anymore 21:25     biggest 7:11        cheat 11:4          counsel 24:6        dead 11:18
appreciate 22:24    10:17             Chi- 21:11          count 10:11 11:1    decades 20:14
April 19:22       billions 4:12       China 4:5,18          11:6              December 11:17
Arizona 11:6      black 10:19           5:14 7:19 12:7    counted 11:1,2        15:10
  13:16,21,23     bombastic 7:13        12:22 15:15,19      18:3              decision 20:10
  14:1 15:24 16:1 Boom 13:10            15:21,23 17:10    countries 15:13     Democrat 12:21
  17:16,20 18:17 borders 21:20          20:12 21:4,10       15:18               20:9
  19:9            bots 3:5            China's 20:16       country 7:11,20     Democrats 16:14
asked 2:14 6:10   box 7:15            churches 21:17        8:6 9:24 10:1       20:21
  16:18           brainwashed           21:21               11:20 12:7,20     destroying 19:3
attack 4:4,5 6:5    20:14             claps 3:8             12:22 15:12       deviations 8:14
  15:22 20:11     brave 3:2           clear 15:3            19:2 20:13          8:15,19 9:1,22
attacked 12:7,22 bring 3:6 6:19       Cleared 23:2          21:16             Dickman 24:17
attacking 7:19      12:17 13:15       close 10:17         country's 20:2      different 3:15 4:2
attacks 5:14        19:1              coffee 20:15        county 6:6,7 8:21     4:9 8:17
  15:23           bringing 12:19      college 20:13,20      8:22 9:2,4 11:7   direct 2:21,22
audience 3:9,11     13:14,16 20:25    come 7:16 10:13       13:25 14:11       directly 15:23
audit 11:8 17:8   brings 7:24           14:2 15:22        couple 3:8          doing 2:3 3:21
audit's 13:24     Brother 22:5          17:19             course 5:18 10:9      7:13 12:4 14:5
August 19:11,12 brought 9:15          comes 4:10 5:18       12:1                14:5,16,17,18
  19:20,21        building 5:16,16      5:20 6:5          court 6:15 12:25      14:22,22 16:19
                    5:19              coming 2:3 7:13       13:6,14 18:19       17:21 18:6,19


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                  800.445.9548
                                          APP937
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 938 of 971

                                                                                                26
                           News Segment - May 3, 2021

 21:14,23            19:8             foregoing 24:3      grabbed 22:4         history 12:9
Dominion 2:8       exact 6:4          forever 17:13       great 2:7 3:12 8:5   hold 6:15,16
 4:16,17 7:19      Exactly 7:9 15:1   found 11:7,17         18:16 20:16          14:23
 9:9,9 14:23         15:1 18:9          13:5              ground 10:11         hope 8:9
domino 16:24       example 22:1       four 12:12 13:2     guess 21:9           horrible 22:18
dominoes 17:2      expanded 12:13     fraud 4:1           guilty 12:22         hu- 5:14
Donald 10:9,12     expected 2:15      full 24:12          guy 5:10,12 7:8      Huh 4:24
 10:14,16 11:13    expert 8:15        Fulton 6:6            13:4 19:5,5        human 20:24
 11:16,22 14:1     expires 24:20      fund 16:22,22         21:6
 19:12             Expressway           17:17             guy- 21:6              I
donate 16:6,17       24:18            fundraiser 16:2                   ID 5:17 18:1
                                                          guys 4:8 7:20 9:8
doubt 5:9                             further 24:6,8,11                 imagine 17:7
                                                            9:10,11,11,11
Doug 17:21,21,23           F                                            immediately 3:14
                                                            9:13 11:8 12:13
dove 8:19         F 24:1                     G              16:16 17:17 important 6:12
drugs 20:25 21:1  fair 8:4           Garcia 24:2,16         20:7 22:19    6:23 16:22 17:6
Ducey 17:21,23    fall 16:25         geek 9:16                            18:17
dump 13:1,2,3     falls 16:24        Germany 15:20             H        importantly 5:17
                  far 5:8 17:19      getting 20:2,2    H.E.B 7:16       impossible 6:14
         E        fast 20:2            21:22           hack 5:18 18:8     8:22 9:4
E 24:1,1          FBI 12:18          gibberish 5:21      18:15,16       inaudible 17:3
early 19:25       fee 24:11          give 21:25        hacked 4:16,18   inauguration
efforts 14:6      feel 8:6,7         given 11:24       hacker 5:11        20:5
either 11:20      fi- 13:23          go 2:6 3:6,24     hacking 18:11,12 including 15:23
  22:10           fighting 4:14        6:10,20 9:2,14  half 14:1        individuals 4:9
election 4:18 8:8 financially 24:9     10:23 12:21     hand 18:3,3      industry 17:15
  10:7 12:3,8     find 4:7 15:2,6,11   13:7 14:2 16:6 happened 9:3,6    information 7:3
  13:11 14:5,17      16:3              18:13 21:7,8    happening 7:14     9:14
  14:20 17:11,14 finding 3:25 7:3      22:4,8            13:21          input 8:17
  19:9            finish 11:8        God 7:12          happens 17:5     inside 9:12
election's 19:19  Firm 24:18         goes 3:6 5:22 6:6 hard 2:14        integrity 14:17
employed 24:7     first 8:12,12 11:2   7:7 10:21 17:15 Hart 4:16        interested 24:9
ended 7:7 19:4       12:20 13:13       19:2,6 20:3     hat 5:11         interesting 17:20
ends 23:4            20:5 21:12        21:6            hear 7:19 10:12    17:24
environment       five 5:13 13:3     going 4:5,10 8:21 Hello 20:12      Interference 5:7
  22:7               15:23             8:22 11:6,8     help 16:1,2,8,8    13:4
ES&S 4:17         fixed 17:12          12:16 13:2,3,7    16:11 20:8,9   intersect 18:21
especially 7:13   flip 6:8,10 15:7     13:9,10,20,21   heroes 4:10      investigate 8:24
ev- 7:12          flipped 11:9         13:24 14:2,2,8  Hey 18:25        investigation
everybody 3:6        13:25 15:23       16:23,25 17:8,8 hide 14:24         8:21
  4:15 10:8,21    flips 6:4 19:9       17:11 18:21     hiding 14:24     investigators 7:2
  11:2,16 21:13   fly-by-night 18:7    19:19 20:1,7,21 higher 5:3         12:14
everybody's 5:7   foot 4:18 11:12    good 16:21        highest 10:19,19 involved 8:7,8
evidence 3:23 4:3 footprint 4:4      gotten 9:8        hired 7:1          18:4
  4:20 7:21 11:25 footprints 4:11    government 5:10 hiring 12:15       IP 5:16,19
  12:3,21 13:2,3     6:3               9:12,13 12:18   historical 11:10 irrefutable 4:23


                             Dickman Davenport, Inc
     214.855.5100           www.dickmandavenport.com                  800.445.9548
                                          APP938
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 939 of 971

                                                                                              27
                            News Segment - May 3, 2021

  4:25 5:4           22:3,4,8,9,11       lose 7:15 17:22     minute 6:4         Okay 5:2,6,10,12
it'll 16:8 21:23    knows 10:9           losing 7:15         minutes 18:14        6:17 9:25 13:5
Italy 15:20         Kohls 7:17           lost 7:16           mock 22:7            18:23
                                         lot 3:12 6:20       money 3:24         Once 16:24
        J                     L            12:14 19:18        16:18,20,23       one's 13:13
January 3:22 4:2    landslide 10:17                           17:17,19          ones 5:12 22:20
  9:7 11:25 15:10     10:18                      M           months 3:21        open 11:7
  15:10             le- 3:5 10:19        machine 17:13       morning 11:1       opinion 19:18,18
Jesus 21:17,21      leads 21:10           17:14              movies 4:21        organic 10:11
Jimmy 2:5 3:1,6     left 3:5             machines 4:15,17                       outcome 14:20
  7:7 11:12         lefts 20:21           12:9 17:9,10,12            N            24:9
job 11:21,22        legislators 11:22     18:4,7,8 21:20     narratives 22:12   outlets 22:4
jobs 11:16 20:4     let's 6:4,4 18:22    magnitude 15:4      nation 4:15        output 8:18
joke 11:20          liar 22:11           mail-in 10:20,21    need 2:23 8:6      overturn 14:5
journalists 21:25   liberal 3:16          10:22,25 11:1        15:24 17:12,18   overturned 19:10
judge 11:20         liberals 20:21       main 15:14,19,21    needed 3:24
judges 12:25        lie 8:16             mainstream          neither 24:6               P
June 19:25,25       limitations 15:4      22:15              network 22:2       paid 24:12
                    Lindell 2:2,4,7,10   making 6:22         never 12:9 16:18   paid/will 24:12
         K            2:13,19 3:1,4       20:10                17:13,14         Pakistan 15:20
keep 12:11            3:11,22 4:24       man 2:2             New 2:21           paper 17:25
kick 2:9,10           5:1,3,6,24 6:2,9   Maricopa 11:7       News 1:13 22:19    part 4:9 13:16
kill 22:10,10         6:14,18,21,25       14:11                22:20             17:9
killed 22:9           7:4,6,10,25 8:3    mark 22:2,9         night 5:15 10:23   parties 24:7
Kimmel 2:6            8:9,12,25 9:19     mathematically      nine 19:1          pass 15:11
kind 21:8             9:21 10:1,4,8       8:22               noise 21:23        path 17:2
knew 12:10            11:24 12:6         matter 12:7 24:5    nonsensical 20:3   paths 13:11
know 2:14,15,16       13:19,23 14:10     mean 5:3 10:9,18    normal 22:7        pathway 15:8
  2:20,23 3:7,9       14:13,15,18,21      11:10 18:2,5,10    normally 8:16      pay 16:2,8,11
  3:13,16,18,25       15:2,14,17,21       21:21              North 24:18        peck 9:2
  3:25 4:5 6:21       16:5,7,10,13,16    means 20:10         notary 18:1        Pennsylvania
  6:22,23,23 7:8      17:2,6 18:10,15    media 2:20,21       noticing 20:19      11:3
  7:15,21 8:13        18:24 19:11,15      7:12 22:13,16      November 3:23      people 3:5,17,25
  9:9,12,16,19,21     19:21 20:18        mention 15:25         6:5 8:13          6:20,24 7:22
  9:21,22 10:7,13     21:1,3,5,15,17     met 4:8             number 2:21         9:4,7,23 10:1
  10:16,20,22         21:19 22:8,15      metadata 5:23         17:22             11:18 12:14,20
  11:5,11,13,13       22:18,23 23:1,3    Michigan 10:22      numbers 2:22        14:11,25 16:11
  11:14,18 12:10    lived 9:4            middle 10:23          8:15              18:13 20:9,20
  12:18 14:6,7,8    long 8:15            Mike 2:2 3:7 6:21                      perceive 3:16
  14:15,18 15:2,5   look 8:14,15 9:2      7:16 10:13 22:8             O         percent 4:20 11:6
  15:14,17 17:11      9:3,3 12:25         22:22              obviously 3:23      16:22
  17:16,18,20         13:1,9 20:1        million 10:10,10      4:8,14 8:14      person 12:11,12
  18:7,11,16 19:5   looked 3:23           10:12,13 14:1      office 19:3,10      15:7
  19:17,22,23,23      11:19,19           millions 4:18,19    oh 3:11 6:21,25    personal 20:11
  20:12,12,22       looking 8:21         minimize 10:16        14:13 15:9       personally 8:7
  21:7,8,18,19,19                                              20:16 22:1

                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                   800.445.9548
                                             APP939
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 940 of 971

                                                                                               28
                            News Segment - May 3, 2021

pick 6:6              19:7               19:3              shut 16:15 22:5      subj- 19:16
picture 19:4         questions 2:15    saying 3:9 6:24     shy 10:10            subjective 19:17
piece 3:23 4:3 9:8    5:9                6:25 7:2 14:4     sic 2:6 6:18 15:11   successful 8:5
  9:9 17:25 18:16    quite 18:2          22:6              signature 17:25      suicide 20:6
pillow 2:2 7:8       quo 13:13 18:18   says 12:17 14:10    simple 18:11         Suite 24:19
pillows 6:22                           Scientific 4:21     size 17:24           suppressed 21:22
platform 7:12                 R        screen 16:3         skipped 21:10,11     suppressing
plus 6:18            R 24:1            see 6:8,9 11:8      Smartmatic 2:8         21:13
point 4:7 8:1        radio 8:16          12:21 13:21         4:16               Supreme 12:25
political 20:11      rail- 18:20         16:3 21:7         social 22:13           13:6,14 18:19
politicians 20:10    read 5:21,25      seeing 21:8         socialism 20:14        18:21 19:24
Post 2:22            real 12:15 15:6   seen 8:14 9:22        21:7,10            suspicious 8:23
Poured 3:24          really 18:10 19:8   19:8              socializing 20:15      8:25
pouring 21:1         reason 19:21      SEGMENT 1:13        Somebody 22:5
power 19:12            20:11,11        sell 6:22           somebody's                    T
precedence 15:5      recall 17:21,23   selling 8:6           20:10              T 24:1,1
  17:4                 17:24           sense 20:8 21:9,9   soon 13:23,24        take 11:3 21:12
president 10:14      record 9:3        servers 15:18         21:23              talk 8:13 21:20
  12:2 19:10         recording 2:1     seven 18:14         sorry 17:21            21:21,24
pressure 13:8          23:4 24:4,8     SHARP 2:2,5,9       sp- 5:20             talked 3:12 20:20
  20:1               Registration        2:12,17,25 3:3    speak 9:3 21:17        21:21
pretty 21:23           24:18             3:8,19 4:23,25    spent 5:13           talking 3:10
printouts 4:12       related 24:6        5:2,5,23 6:1,8    spread 5:8             11:19
probably 19:24       Reporter 24:2,17    6:13,17,19 7:1    spyware 4:6          tea- 7:1
process 18:2         reporters 19:5      7:5,9,24 8:1,4    start 13:16          teams 7:2
producer 3:15        Republican          8:11,23 9:18,20   started 7:13,14      tell 4:14 10:25
proof 4:21,22 5:9      12:21 20:9        9:25 10:3,6         22:3                 16:16,22 17:16
  15:22              resources 8:20      11:23 12:2        state 14:1 16:24     telling 10:15 12:1
proportion 11:10       12:14             13:17,20 14:4       16:24 24:3           12:8 13:5
proportions 11:9     rid 17:12           14:11,14,17,19    statements 6:21      Terri 24:2,16
protect 9:24 10:1    right 2:13,19       15:1,13,16,20     states 13:9 15:8     Texas 24:3,16,19
  19:2                 5:24 6:1,13 7:4   15:25 16:6,8,11     15:23              thank 22:22
providing 7:5          7:6,6,9,25 8:3    16:14 17:1,4      station 8:16         thanks 2:3,4
public 9:7             9:18,20 12:8,11   18:9,12,23 19:7   statute 15:3           22:23
pulled 13:10,12        12:19 15:16       19:14,20 20:16    stolen 10:7,9        theft 10:11 11:17
  19:19                16:2,4,10,15,16   20:25 21:2,4,14   stopped 10:23        theories 6:22
push 2:17              16:21 17:1 18:9   21:16,18 22:14    stores 7:15          theory 22:12
put 4:20 5:7 7:20      18:25 19:3        22:17,21,24       story 22:10          they'd 7:16,16
  11:16 12:14          21:10,20 22:12    23:2              strengthen 18:18     thing 5:20 6:23
  16:19,20 17:17       22:21 23:1,3    short 17:19,20      stress 18:17           6:25 8:14 11:2
  19:10              running 22:22     Shorthand 24:2      strict 18:6            11:14 12:4,24
putting 16:21                            24:17             strong 20:20           20:4 21:12
                              S                                                 things 6:24 7:14
                                       show 17:4,8         stuff 5:20 8:6
       Q             s 6:22 15:22      showed 4:4,4          12:12,25 13:1,6      11:18 17:11
question 10:6        save 13:8           12:3                14:6 16:19           18:18 19:18
                     saw 8:23 12:3

                               Dickman Davenport, Inc
      214.855.5100            www.dickmandavenport.com                  800.445.9548
                                            APP940
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 941 of 971

                                                                                               29
                            News Segment - May 3, 2021

  20:7 21:5 22:10   two 4:21 5:12       Washington 2:22    write 2:24          312 24:18
  23:2                6:18,18,18        wasn't 8:25                            3rd 6:5 11:2
think 2:8,15 10:8     13:11 17:11       watching 12:10            X
  11:25 14:8 15:9     22:4,10,12        way 17:17                                      4
                                                                   Y           4228 24:18
  18:1 20:22        twofold 14:22       ways 17:7
  22:21                                 we're 12:24 13:2   yeah 2:4 3:3,11     4th 3:23 8:13
thought 17:18               U            13:3,8,14 14:4      5:5,24,24 13:19
                    unfamiliar 3:19                          13:19 14:14               5
thousand 11:8                            14:5,8 17:11,21
  13:25             union 20:4           18:19 19:22         16:5,5,7,13       50,000 20:4
thousands 5:14      United 13:8          21:8 22:21          18:15 19:11
                                                             20:18,18 21:6,8           6
  9:1               upset 2:16          we've 17:19
                                                           Yep 21:2 22:14      6 15:10
three 4:8,9,21                          website 16:3                           6581 24:17
                             V                             York 2:21
  7:15 13:2,13                          week 11:3,6                            66 10:10,13
  18:21 22:1        vaccine 22:2        weeks 5:13 13:3    YouTube 21:22
ticket 10:24        vaccines 21:20       22:1                      Z                   7
tickets 15:6,6      validate 10:5       went 2:7 4:8 5:9
                    validated 6:3                          zone 12:24          7-31-25 24:20
time 6:11 13:7                           5:16 9:7 15:10                        75206 24:19
  14:24 16:17         9:23 17:25 18:1    17:9 20:13,20             0
  22:22             validating 5:13      22:3                                          8
timeline 19:22      venue 16:9          weren't 10:25              1           80 10:10,12
Times 2:21          video 24:4          whatever's 19:3    10-year-old 18:7    855-5100 24:20
today 2:3           Vimeo 21:22         whistleblowers     100 4:20 16:22
track 9:3           viral 22:4           9:11              100-and-some                9
tracks 18:21        voice 7:11,20,23    white 5:11          13:24              9-0 13:10 18:22
traffickers 20:24     21:12 22:10       wide 5:8           100-some 11:8       9th 3:22 4:2 9:7
transcribed 24:8    vote 10:19 11:18    win 14:7           101 24:19             11:25
transcription         18:3              winner 15:7        106,000 10:23
  1:12 24:4,11      voted 11:18         wins 11:22         11:03 6:5
trolls 3:5          votes 4:19 6:8      Wisconsin 9:2      13 20:5
true 12:15,16         10:21,21,22,24    won 10:10,12,17    14 15:10
Trump 10:10,12        10:25 11:1,9       12:2,4 14:1       14th 11:17
  10:14,17 11:13      13:25 14:2,7      wonderful 20:17    15,000 8:17
  11:16,22 12:2             W           word 2:8 9:1       19 5:13 15:23,24
  14:1,7 19:10,12   waiting 18:24       work 9:12,12,23
trust 12:19,19                          working 3:20               2
                    walk 2:12 19:1                         2,000 5:15
trusted 9:10,15     wall 19:4,4,6        13:15 16:11
  12:13                                  20:23             2020 10:7 12:8
                     20:23                                   17:11
truth 4:25 10:15    want 3:4 8:1 10:6   works 5:10
try 22:11                               world 4:15 5:11    2021 1:13
                     10:16 11:11                           20th 15:10
trying 2:15,17       13:1 16:1 18:25     10:4 12:1,10,15
  7:22 16:14                             16:18 17:13       214 24:20
                     22:5
turn 13:22          wanted 6:19 8:24    wouldn't 5:25
                                                                   3
turned 7:17          13:17 15:25         12:25 13:1
turns 14:7                              wow 10:23 13:8     3 1:13
                    warranto 13:14                         3,000 8:17
twilight 12:24       18:18               14:3 18:5


                              Dickman Davenport, Inc
      214.855.5100           www.dickmandavenport.com                   800.445.9548
                                            APP941
Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 942 of 971




      Exhibit $-




                             APP942
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 943 of 971

                                                                             1
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11    CERTIFIED TRANSCRIPTION OF
12            ABSOLUTE 9-0
13

14

15

16

17

18

19

20

21

22

23

24

25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP943
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 944 of 971

                                                                             2
                  Absolutely 9-0 (2023-10-11_9-19-39)


1                      (Recording begins.)
2                      MR. LINDELL:      Hello, everyone.       I'm Mike
3     Lindell, and as you-all know, on January 9th, I received
4     evidence of a cyberattack orchestrated by China on our
5     2020 election.     I took that one piece of evidence and I
6     just went all in.      This was something different nobody
7     had seen.    This was something that came through the
8     machines, the Dominion machines, the Smartmatic and
9     other machine.     This was a cyberattack.          I didn't know
10    anything about cyberattacks and, boy, I learned -- I had
11    to learn real fast.
12                     And I hired experts to validate this.             I
13    hired -- these guys are white hat hackers that work for
14    the government.      But what I'm going to show you tonight,
15    is you're going to all know now why I have been
16    100 percent sure that when this gets before the Supreme
17    Court, it's going to be 9-0; 9-0 to pull this election
18    down and that this was a -- 100 percent an attack by
19    China on our country through these machines.
20                     And with us right now is one of my
21    cybersecurity experts.        These guys are the best.          And
22    this guy has over 20 years of experience working in both
23    the private sector and with government law enforcement
24    and intelligence agencies.         Man- -- he has many
25    information and cybersecurity certifications that




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP944
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 945 of 971

                                                                              3
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    specialize in advanced adversary detection, mitigation
 2    and elimination.     And here he is now.        Hello.
 3                     UNIDENTIFIED COMPUTER EXPERT:           Hello, Mike.
 4    Thanks for having me.
 5                     MR. LINDELL:     Yeah.    Thanks for all the
 6    work you've done for our country and thanks for all the
 7    work you've done for myself.        And I know I put yourself
 8    and many others through a couple months' worth of work
 9    now just to get everything validated for our country to
10    show that this evidence is real.
11                     So what I'm going to go through, everybody,
12    I'm going to start from -- let's start from January 9th.
13    The stuff that -- that these guys brought to me, these
14    guys were there the night of the election.            And it was
15    like taking a movie -- I compared it to, like, taking a
16    movie, and they have all this information, millions of
17    lines of data.     Why don't we show that right now.             Can
18    you go ahead and say what we're watching here?
19                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.
20    That's essentially the raw encrypted data.            And I mean,
21    that would run for -- for the next couple days, you
22    know, that's the amount of data that that we're dealing
23    with here.
24                     MR. LINDELL:     So what this contains here is
25    what?   What are the -- what are these?          Is this cyber




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com               800.445.9548
                                   APP945
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 946 of 971

                                                                             4
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1    forensics?     What are we -- what are we looking at?
 2    What -- what are what are these called?           I know -- I
 3    know you had told me before they're called, like, PCAPs
 4    or something.
 5                     UNIDENTIFIED COMPUTER EXPERT:         Yeah.     So
 6    PCAP is just an acronym for packet capture.            So it's
 7    essentially a moment in time that is captured and that
 8    the transmission of those packets -- any information
 9    that travels between Point A and Point B is essentially
10    a packet.     And so those packets moving back and forth
11    during the election were captured.          But you need to
12    actually record it.      And -- and so that's where we're
13    very blessed and fortunate to have, you know, some of
14    these guys that actually recorded the information as it
15    happened.
16                     MR. LINDELL:     Did you -- you heard it here,
17    people.     You heard it here, everyone.        We have -- what a
18    blessing it is that we have the evidence.            This is what
19    I've been telling the -- everybody for months now, since
20    January 9th.     These are these -- the actual evidence
21    that was collected the night of the election and a
22    couple days following.       Now, I can't read these and
23    neither can anyone else that's probably watching unless
24    you're an expert like you --
25                     UNIDENTIFIED COMPUTER EXPERT:         Well --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP946
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 947 of 971

                                                                             5
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1                    MR. LINDELL:      -- like you guys are.
 2                    UNIDENTIFIED COMPUTER EXPERT:          One -- on
 3    more --
 4                    MR. LINDELL:      What --
 5                    UNIDENTIFIED COMPUTER EXPERT:          -- one more
 6    piece to that is, you can't go back in time and fake a
 7    PCAP, essentially.      You have to capture that packet in
 8    real time, so you need to record it.          You can't -- you
 9    don't go backwards and, you know, recreate this whole,
10    you know, chain of events.        It happens --
11                    MR. LINDELL:      Wow.
12                    UNIDENTIFIED COMPUTER EXPERT:          -- and you
13    record it.
14                    MR. LINDELL:      Right.    So -- okay.     That's a
15    great point.    So what -- what he's saying there,
16    everyone, is you can't go back in time and say, Okay,
17    I'm going to make these up.        And also, you can't go back
18    and change anything, right?        Once you -- if you have
19    these PCAPs, you can't go change them.           It's a -- it's a
20    blessing we have them.       If we didn't have them,
21    everything -- the evidence would be long gone, correct?
22                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, it --
23    it -- it would definitely be gone.          And, you know,
24    luckily, somebody pressed record during the entire
25    election, so --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP947
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 948 of 971

                                                                              6
                 Absolutely 9-0 (2023-10-11_9-19-39)


1                      MR. LINDELL:      Wow.
2                      UNIDENTIFIED COMPUTER EXPERT:           -- you
3     know...
4                      MR. LINDELL:      Yeah, that is a blessing.
5     And -- and they brought it to me.           Why did they bring it
6     to me?    Because I -- I -- at that point, on January 9th,
7     you know, you know, nobody else was -- all the other
8     evidence they'd found for November and December, all
9     that -- I call it the "organic cheating."             All the --
10    you know, dead people voting, nonresidents voting, all
11    this other stuff.      Everyone is so focused on that.            And
12    that -- and these guys, they're -- I mean, they're heros
13    that ended up collecting this the night of the election.
14                     So they bring it to me, now, everybody.
15    And I'm going, okay.       I wanted to find -- learn all I
16    could about it.      And one of the things is, I -- now, if
17    you take this stuff here -- and I -- what did I -- one
18    of the things I asked you and many others I -- because I
19    have many cyber -- cyber experts -- I'm going, is there
20    any way -- any way you can go back in time and -- and
21    doctor it, change it?       I -- I think you compared it to,
22    like, a forensic scene at a -- at a crime scene for,
23    like, DNA evidence; is that correct?
24                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.    So
25    really what you're looking at is -- I mean there's hatch




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP948
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 949 of 971

                                                                              7
                 Absolutely 9-0 (2023-10-11_9-19-39)


1     values, which are unique to each item.             Any change to
2     that, it'll -- it'll change the hatch.             So that's how
3     you verify images or, you know, the PCAP in this -- in
4     this case.    So when you're looking at, you know, this
5     file, you make sure that it hasn't been doctored or
6     anything's been done it to, because when you do the
7     work, it needs to match that original file.              And so
8     that -- that's where you start.
9                      And then, you know, we work to unencrypt
10    and pull the data out to identify exactly what happened
11    during that period of time.
12                     MR. LINDELL:      Okay.    So have -- now, when
13    you -- in all your work in 20 years, then, you work with
14    these PCAPs a lot or do I -- do most cyber experts?                Is
15    that -- that's what you work with all the time?
16                     UNIDENTIFIED COMPUTER EXPERT:           Yeah, a
17    lot -- a lot of the time, we do because, you know --
18    well, you -- if there is a active cyberattack, you
19    record it.    And the way you record it is through a PCAP.
20    That's how you capture that traffic.            And that traffic,
21    when -- when you capture that information, you have the
22    source, you have the destination, you know, you have the
23    files that are being transmitted.
24                     MR. LINDELL:      Right.
25                     UNIDENTIFIED COMPUTER EXPERT:           And through




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP949
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 950 of 971

                                                                              8
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    what -- through what protocol, it -- it captures a lot
 2    of information and, you know, you go through it --
 3                    MR. LINDELL:      Right.    That's what --
 4                    UNIDENTIFIED COMPUTER EXPERT:          -- and you
 5    essentially translate it.
 6                    MR. LINDELL:      Right.    That's what took so
 7    long.   I -- I believe it's been a couple months now
 8    with -- I've had yourself and many others validating and
 9    translating this -- these CPACs [sic].           And there was
10    literally thousands of hacks, right, from China?
11                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.    Well,
12    there were -- there were -- there were a lot.             And there
13    were a lot successful.       Some were just doing
14    reconnaissance and others were flipping votes.             And so
15    it --
16                    MR. LINDELL:      Right.
17                    UNIDENTIFIED COMPUTER EXPERT:          -- would
18    go -- go in and identify where it needed to flip and
19    then it would flip, so --
20                    MR. LINDELL:      Okay.
21                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, there
22    was a lot of activity.
23                    MR. LINDELL:      So what I had you guys do was
24    go out and get 20 -- just grab 20 of the PCAPs, 20 of
25    them that tran- -- that you could take that data and




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP950
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 951 of 971

                                                                             9
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1    translate it into something that was readable for all of
 2    us here.     So what I did, I said, you know what, let's
 3    just see how this -- you know, 'cause this was in the
 4    millions and millions of votes that were flipped in our
 5    election by China from -- from Trump to Biden.
 6                     Okay.   So I said, Well, let's just grab 20
 7    of them so we can make this -- this absolutely 9-0
 8    video.     So we went out, we grabbed 20 of them.          Now, it
 9    took, I don't know, what'd it take, four to six weeks to
10    validate just those 20 PCAPs and -- and -- because I
11    wanted every -- I was very particular, wasn't I?             I
12    wanted every little thing validated and 100 percent
13    foolproof.     And these were the five states, these were
14    five states:     Michigan, Wisconsin, Pennsylvania, Arizona
15    and Georgia.
16                     Okay.   So now what I want to do is bring up
17    the data that you -- that you took, the PCAPs, and --
18    and translated for us and showed just these 20 attacks,
19    exactly what these PCAPs show and -- that we can all
20    read.
21                     On the first line, if we start on the top
22    here, this was from -- if we look at the date, it's
23    11/3/20, the day of the election, at 10:49 p.m.             Can you
24    go ahead and take us through this, when you talk about
25    the source, and take us through it line by line and




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP951
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 952 of 971

                                                                             10
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    explain what this -- what this is.
 2                     UNIDENTIFIED COMPUTER EXPERT:         Yeah.    So
 3    the source is the IP address from the computer that
 4    essentially, you know, changed that vote.            So since we
 5    focused on the 20, each one of these resulted in votes
 6    being changed.     So that's the source.        Latitude and
 7    longitude is essentially within 400 yards of where that
 8    device is located.      Beijing, obviously China,
 9    Province/City.
10                     And then this next part is the network that
11    was pulled out of -- out of the PCAP, essentially.              But,
12    you know, some of this is in Chinese, so when you
13    translate it, you just want to make sure and, you know,
14    as you've asked us to do, double, triple, quadruple, you
15    know, validate.
16                     MR. LINDELL:     Right.
17                     UNIDENTIFIED COMPUTER EXPERT:         And so we've
18    been going through, making sure the translations and
19    ev- -- all the information checks out.
20                     MR. LINDELL:     So what he's saying here,
21    everybody, is what I did, is I made them all validate
22    the validation.     Isn't that correct?
23                     UNIDENTIFIED COMPUTER EXPERT:         Yeah, so
24    we -- you know, because we're dealing with other
25    languages, we validated the validation that was




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP952
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 953 of 971

                                                                             11
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1    validated.
 2                    MR. LINDELL:      So the -- the next line
 3    there, which is the network code, what -- what would
 4    that be?
 5                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, so
 6    that -- that -- that's essentially from the registration
 7    of -- of that IP.     So, you know, most every single IP is
 8    registered to somebody.
 9                    MR. LINDELL:      Okay.
10                    UNIDENTIFIED COMPUTER EXPERT:          So when you
11    look at that network, that network range and, you know,
12    identify who -- who the registered owner is.
13                    MR. LINDELL:      Right.    Okay.
14                    UNIDENTIFIED COMPUTER EXPERT:          So that's
15    where it comes down.
16                    MR. LINDELL:      Okay.    So you got all of this
17    information from the PCAPs; is that correct?
18                    UNIDENTIFIED COMPUTER EXPERT:          Yeah.
19                    MR. LINDELL:      The next line, it says
20    "target."    Now, we just went through, which would be
21    the -- the hacker or the attacker, so to speak, correct?
22                    UNIDENTIFIED COMPUTER EXPERT:          Yes.
23                    MR. LINDELL:      And now we're going to get
24    into the target, which is -- I -- I -- I guess I could
25    pull that out, the target, that's the target -- would --




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP953
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 954 of 971

                                                                             12
                 Absolutely 9-0 (2023-10-11_9-19-39)


1     that'd be the target's address, and then again, the
2     longitude/latitude.       And the state that it came -- that
3     it was hacked into, correct?
4                      UNIDENTIFIED COMPUTER EXPERT:           Yep.
5                      MR. LINDELL:      And then we have the entry
6     point.   You know, there's Delta County here in this
7     case, and then the network registration.             What is -- so
8     the network registration, that also -- all this stuff
9     came right out of the PCAPs that's preserved in time,
10    you can't change it, and when you have it, it's a --
11    it's 100 percent, it's nonnegotiable, it's not --
12    there's no -- I mean, here it is, this is what it is; is
13    that correct?
14                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.    I
15    think we were saying that it -- it's -- this isn't
16    subjective.    It just is what it is.          It's fact, the
17    information, you know, speaks for itself and --
18                     MR. LINDELL:      Right.
19                     UNIDENTIFIED COMPUTER EXPERT:           -- you go
20    from there.
21                     MR. LINDELL:      So before -- before we go to
22    the last couple lines, I want to ask you this.               If you
23    were going to prove a case, a cyber case, a cyberattack,
24    and if you -- if you had a wish list, like, let's say --
25    you know, obviously, when I came to you and said -- and




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP954
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 955 of 971

                                                                              13
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    others and said, Hey, I have something that's really
 2    going to change the world and it's going to be --
 3    because these guys brought me these -- I didn't know
 4    they were called PCAPs at the time, from -- but I knew
 5    they were from the night of the election -- what would
 6    you -- would you say, if you could have your wish list,
 7    100 percent proof something, is this what it would be?
 8    What would it be in a cyberattack?
 9                     UNIDENTIFIED COMPUTER EXPERT:         Yeah.    This
10    is 100 percent.     I mean...
11                     MR. LINDELL:     This is what you would want?
12    This is --
13                     UNIDENTIFIED COMPUTER EXPERT:         Yeah.    A lot
14    of times, you know, you come in, at least, you know, in
15    our line of work, we get called in after the attack.               So
16    this was something that was captured during the attack.
17                     MR. LINDELL:     Wow.
18                     UNIDENTIFIED COMPUTER EXPERT:         You always
19    want that.
20                     MR. LINDELL:     Right.    You always want that?
21                     UNIDENTIFIED COMPUTER EXPERT:         You want to
22    catch somebody -- yeah, you want to catch the -- you
23    know, somebody's robbing a bank, you want to have it on
24    video, like --
25                     MR. LINDELL:     Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP955
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 956 of 971

                                                                             14
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1                     UNIDENTIFIED COMPUTER EXPERT:         -- that's
 2    definitive evidence.      This is robbing the bank and
 3    having it on video.
 4                     MR. LINDELL:     So I wanted to hear --
 5    everyone to hear that.       This is -- we have what everyone
 6    would ever want if -- if there was a crime committed
 7    cyberly, a cyberattack, we have the forensic evidence,
 8    we have the movie, we have the video of the bank being
 9    robbed, so to speak.      And right before I -- I wanted
10    y'all to hear that before you look at the last couple
11    lines here.
12                     You have the -- you have the intrusion,
13    what -- how they got in, firewall or credentials,
14    whether they had the credentials, and was it a success,
15    yes, it was a success.       Here it is, everybody.        What
16    happened?     In this case, Donald Trump, it says down,
17    there were 3,215 votes flipped.         And you can go all the
18    way down this list, and every one of them was a Trump --
19    votes taken from Trump given to Biden.           It was a flip.
20                     So these cyber hacks and these attacks, are
21    you saying that these -- these numbers here at the end
22    came right off of those PCAPs; is that correct?
23                     UNIDENTIFIED COMPUTER EXPERT:         Yeah,
24    those -- I mean, they're specific numbers, right?
25                     MR. LINDELL:     Right.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP956
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 957 of 971

                                                                              15
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1                    UNIDENTIFIED COMPUTER EXPERT:          So those --
 2    you're not just rounding up.        It's actual specific,
 3    like, to-the-vote numbers that were --
 4                    MR. LINDELL:      Wow.
 5                    UNIDENTIFIED COMPUTER EXPERT:          -- pulled
 6    out of the PCAPs.
 7                    MR. LINDELL:      That is so awesome.       So,
 8    everybody, do you see what this is?          What we have here,
 9    you talk about a smoking gun.         This is why I've been
10    so -- why everyone -- you know, for two months, people
11    have attacked me and told me I didn't have the evidence
12    and all this stuff, and we made these other movies.               But
13    I wanted to get on here and explain to everyone, this
14    was an attack by China on our country through these
15    Dominion and these other machines where -- and they just
16    hacked in -- a cyberattack hacked into our election and
17    flipped it to everyone -- anyone that they wanted to
18    win.   In this case, it was the Democrat Party.
19                    I want to ask you something before we go to
20    the next chart.     Going to the Supreme Court, when this
21    gets there, when we -- when we bring this to the Supreme
22    Court and -- so what you're saying, because this isn't
23    subjective and you can't change anything, and with this
24    evidence, if -- and you go in there and -- what would
25    you expect?    Is there any way it could be 5 to 4 or 6 to




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP957
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 958 of 971

                                                                             16
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    3 that this is real or 8 to 1, or does it have --
 2                    UNIDENTIFIED COMPUTER EXPERT:          No.
 3                    MR. LINDELL:      -- to be 9-0.
 4                    UNIDENTIFIED COMPUTER EXPERT:          It's
 5    irrefutable.
 6                    MR. LINDELL:      Irrefutable.
 7                    UNIDENTIFIED COMPUTER EXPERT:          That's the
 8    word.
 9                    MR. LINDELL:      Irrefutable.
10                    (Speaking simultaneously.)
11                    UNIDENTIFIED COMPUTER EXPERT:          (Inaudible.)
12                    MR. LINDELL:      And it's not subjective,
13    right?   I mean, this is -- if you --
14                    UNIDENTIFIED COMPUTER EXPERT:          Not at all.
15                    MR. LINDELL:      Right.
16                    UNIDENTIFIED COMPUTER EXPERT:          Yeah, it's
17    blood specks- -- sometimes you have little specks of
18    blood, right?
19                    MR. LINDELL:      Right.
20                    UNIDENTIFIED COMPUTER EXPERT:          This is a
21    buck- -- a bucket of it.
22                    MR. LINDELL:      Wow.
23                    UNIDENTIFIED COMPUTER EXPERT:          It --
24    it's -- yeah, you -- you have --
25                    MR. LINDELL:      That's so awesome.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP958
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 959 of 971

                                                                             17
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1                     UNIDENTIFIED COMPUTER EXPERT:         -- you
 2    have --
 3                     MR. LINDELL:     Now -- now everybody knows
 4    why I -- why I've had the confidence I've had over the
 5    last couple months.      And now I want to show you -- I
 6    want to show everybody what just -- remember, these are
 7    just 20 of the hacks, everybody, out of thousands that
 8    China orchestrated.      And so whether you're a Democrat or
 9    Republican, this is the most serious thing that's ever
10    happened.    This is the biggest crime against our country
11    and humanity I could think of ever.
12                     So now let's pull up the next chart here,
13    and what it's going to show, everybody, is just
14    remember -- we just did -- I just had 20 of the attacks,
15    20 of the thousands of attack on our 2020 election by
16    China.    I just took 20 of them and I had 20 of them
17    validated and revalidated and revalidated.
18                     So right now, as we pull up this chart, I'm
19    going to show you what those 20 attacks did.            What they
20    did, if you look at Pennsylvania here, it's where it
21    said Biden won by over 80,000.         Just with these attacks
22    that we showed you, this small sampling, Donald Trump
23    won by over 107,000.
24                     You go to Georgia, Donald -- they say Biden
25    won by 11,779.     Just with this small sampling of the




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP959
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 960 of 971

                                                                             18
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    attacks, Donald Trump won by al- -- over 35,000 votes.
 2    Arizona, same story, over 10,000 votes for Biden, and
 3    after you add in these -- just this small sampling of --
 4    of the attacks, Donald Trump wins by almost 37,000.
 5                     You go to Michigan.       Michigan, it says
 6    Biden won.     Remember, we had the big thing in Michigan
 7    where they injected votes there.         But you have
 8    154,000-plus votes in Michigan, and with this small
 9    sampling of hacks, these 20 -- these 20 attacks, just 20
10    of them, now Donald Trump wins Michigan by over 48,000
11    votes.
12                     Now -- now when you go to Wisconsin, you
13    can see Donald Trump lost by over 20,000 votes, but he
14    really wins by over 49,000, almost 50,000 votes.             And
15    rea- -- realize, this was just 20 of the thousands of
16    attacks.     This is why when we say that Donald Trump
17    really won this election by, like, almost 80 million to
18    68 million for Biden, how can you switch tens of
19    millions of votes?      It had to be done with computers, it
20    had to be done with the machines through these Dominion,
21    through all these machines.        And China -- China did it.
22    It's a cyberattack of historical proportions.
23                     And I want to ask you now, if you took this
24    into the Supreme Court with all of this and you -- and
25    just with these -- just with this sampling and with




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP960
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 961 of 971

                                                                             19
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    these -- and brought it in there, could any -- any cyber
 2    person that works in cyber -- what do you call it, cyber
 3    warfare or cyber forensics, they would be able to show
 4    these nine justices this evidence.          And is there any way
 5    that it would not be a 9-0 vote saying this is
 6    100 percent true?
 7                    UNIDENTIFIED COMPUTER EXPERT:          No.    And --
 8    and I -- I think it would be great for, you know, some
 9    of my colleagues and -- and, you know, more people
10    within that community to -- to weigh in because --
11                    MR. LINDELL:      Right.
12                    UNIDENTIFIED COMPUTER EXPERT:          --
13    they'll -- they'll reach the same conclusion.             And, you
14    know, we've been doing this for a long time, we know
15    what we're looking at, and I'm confident in, you know,
16    them seeing the same exact thing as --
17                    MR. LINDELL:      Right.
18                    UNIDENTIFIED COMPUTER EXPERT:          -- you know,
19    we -- we have, so it's -- it's real, it's there, and you
20    can't change it.     So what do you do with that?           You have
21    to -- you have to rule and that ruling is -- it has to
22    be -- you know -- I mean, it's not just majority -- it's
23    not just majority, it's the whole thing, like, it's
24    just -- it's that black and white.          And you know, it
25    doesn't come down to any politics.          That's not what this




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP961
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 962 of 971

                                                                             20
                  Absolutely 9-0 (2023-10-11_9-19-39)


1     is about.    It's about, you know, our country and, you
2     know, that -- that falls on both sides of the aisle.
3                      So I -- I think, you know, at the end of
4     the day, that's -- that's what needs to be done and I
5     think they'll -- they'll choose the right, you know,
6     decision.
7                      MR. LINDELL:      Right.    Well, it'll be 9-0,
8     everybody.    You've heard it here.         These guys, these
9     nine Supreme Court justices, are going to be heros as
10    far as I'm concerned.       They look at this and -- and they
11    don't even have to -- I would like to be one of them,
12    it'd be very easy to be one, knowing that you got
13    brought evidence that is not subjective, is 100 percent
14    nonnegotiable, and so it's a very easy decision for all
15    nine of them.
16                     UNIDENTIFIED COMPUTER EXPERT:           Yeah.
17                     MR. LINDELL:      I mean, everybody --
18    everybody, you have to realize that these -- these are
19    nine justices, they are Americans, they grew -- they
20    grew up here, they have families, they have
21    grandchildren, and they have neighbors, they have
22    friends.    It doesn't matter what -- if you're a
23    Democrat, a Republican or what you are.             This was
24    100 percent attack by China, the CCP coming into our
25    country, and -- and they just happened to use the




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP962
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 963 of 971

                                                                             21
                 Absolutely 9-0 (2023-10-11_9-19-39)


1     Democratic Party.      That's who they picked to do it with.
2                      Well, you know what, the -- the Democrats
3     warned us about this, everybody.           They -- they warned us
4     about this for a long time, that these machines could
5     get hacked.
6                      VICE PRESIDENT HARRIS (VIA VIDEO PLAYING):
7     We recently also -- I actually held a demonstration for
8     my colleagues here at the Capitol, where we brought in
9     folks who, before our eyes, hacked election machines,
10    those that are not -- those that are being used in many
11    states, but are not state of the art from our
12    perspective.
13                     SENATOR KLOBUCHAR (VIA VIDEO PLAYING):
14    We're very concerned because there's only three
15    companies.    You could easily hack into them.            It makes
16    it seem like all these states are doing different
17    things, but in fact, three companies are controlling
18    that.
19                     SENATOR WYDEN (VIA VIDEO PLAYING):
20    43 percent of American voters use voting machines that
21    researchers have found have serious security flaws,
22    including backdoors.       These companies are accountable to
23    no one.   They won't answer basic questions about their
24    cybersecurity practices, and the biggest companies won't
25    answer any questions at all.




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP963
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 964 of 971

                                                                             22
                  Absolutely 9-0 (2023-10-11_9-19-39)


 1                    Five states have no paper trail, and that
 2    means there is no way to prove the numbers the voting
 3    machines put out are legitimate.         So much for
 4    Cybersecurity 101.
 5                    MR. HALDERMAN (VIA VIDEO PLAYING):           I know
 6    America's voting machines are vulnerable because my
 7    colleagues and I have hacked them repeatedly.             We've
 8    created attacks that can spread from machine to machine
 9    like a computer virus and silently change election
10    outcomes.    And in every single case, we've found ways
11    for attackers to sabotage machines and to steal votes.
12                    REPRESENTATIVE LOFGREN (VIA VIDEO PLAYING):
13    Early voters in Georgia in 2018 saw machines deleting
14    votes and switching them to other candidates.
15                    UNIDENTIFIED SPEAKER (VIA VIDEO PLAYING):
16    When you say "hacked," what were they able to do once
17    they gained access to the machines?
18                    MR. LUTE (VIA VIDEO PLAYING):          Oh, all
19    sorts of things.     They could manipulate the outcome of
20    the vote, they could manipulate the tally, they could
21    delete the tally, and -- and they could compromise the
22    vote in any number of ways.
23                    MR. HALDERMAN (VIA VIDEO PLAYING):           I'm
24    pretty sure my undergrad computer security class at
25    Michigan could have changed the outcome of the 2016




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP964
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 965 of 971

                                                                             23
                 Absolutely 9-0 (2023-10-11_9-19-39)


 1    Michigan election if we wanted to.          It -- it is that
 2    bad.   And we have a combination of very powerful
 3    adversaries and, unfortunately, quite vulnerable and
 4    obsolete systems.     That's -- that's why I say it's only
 5    a matter of time.
 6                    MR. LINDELL:      This is -- this is why I have
 7    been so confident, and everybody that's watching this
 8    now, you need to share this video with everyone you know
 9    in the world.    Every day, get up, text it to people,
10    share it, call people, talk about it.           Because, you know
11    what, this is -- this is our country.           And right now,
12    you have a job to do, everyone.         Spread the word.       Show
13    this evidence everywhere.
14                    And why are we doing that?         Because when
15    this gets to the Supreme Court, the big win is, they
16    have to accept it to look at it, everybody.            They have
17    to accept it to look at it.        Because once they look at
18    it, it will be absolutely 9-0.
19                    (Recording ends.)
20

21

22

23

24

25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP965
      Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 966 of 971

                                                                             24
                 Absolutely 9-0 (2023-10-11_9-19-39)


1                       C E R T I F I C A T E
2          I, TERRI GARCIA, Certified Shorthand Reporter in
3     and for the State of Texas, certify that the foregoing
4     is a correct transcription from the video recording of
5     the above-entitled matter.
6          I further certify that I am neither counsel for,
7     related to, nor employed by any of the parties to the
8     action in which this recording was transcribed, and
9     further that I am not financially or otherwise
10    interested in the outcome of the action.
11         I further certify that the transcription fee of
12    $___________ was paid/will be paid in full by
13    _____________________________________.
14
15
16                                ________________________________
                                  Terri Garcia, Texas Certified
17                                Shorthand Reporter No. 6581
                                  Dickman Davenport, Inc.
18                                Firm Registration No. #312
                                  4228 North Central Expressway
19                                Suite 101
                                  Dallas, Texas 75206
20                                (214) 855-5100
                                  My commission expires: 7-31-25
21
22
23
24
25




                          Dickman Davenport, Inc
     214.855.5100        www.dickmandavenport.com              800.445.9548
                                   APP966
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 967 of 971

                                                                                            25
                    Absolutely 9-0 (2023-10-11_9-19-39)

         A           18:16 22:8       capture 4:6 5:7     coming 20:24          14:10 17:5
able 19:3 22:16     awesome 15:7        7:20,21           commission          Court 2:17 15:20
above-entitled       16:25            captured 4:7,11       24:20               15:22 18:24
  24:5                                  13:16             committed 14:6        20:9 23:15
                             B        captures 8:1        community 19:10     CPACs 8:9
ABSOLUTE
  1:12              B 4:9             case 7:4 12:7,23    companies 21:15     created 22:8
absolutely 9:7      back 4:10 5:6,16    12:23 14:16         21:17,22,24       credentials 14:13
  23:18               5:17 6:20         15:18 22:10       compared 3:15         14:14
accept 23:16,17     backdoors 21:22 catch 13:22,22          6:21              crime 6:22 14:6
access 22:17        backwards 5:9     cause 9:3           compromise            17:10
accountable         bad 23:2          CCP 20:24             22:21             cyber 3:25 6:19
  21:22             bank 13:23 14:2 Central 24:18         computer 3:3,19       6:19 7:14 12:23
acronym 4:6           14:8            certifications        4:5,25 5:2,5,12     14:20 19:1,2,2
action 24:8,10      basic 21:23         2:25                5:22 6:2,24         19:3
active 7:18         begins 2:1        Certified 1:11        7:16,25 8:4,11    cyberattack 2:4,9
activity 8:22       Beijing 10:8        24:2,16             8:17,21 10:2,3      7:18 12:23 13:8
actual 4:20 15:2    believe 8:7       certify 24:3,6,11     10:17,23 11:5       14:7 15:16
add 18:3            best 2:21         chain 5:10            11:10,14,18,22      18:22
address 10:3 12:1   Biden 9:5 14:19   change 5:18,19        12:4,14,19 13:9   cyberattacks
advanced 3:1          17:21,24 18:2,6   6:21 7:1,2          13:13,18,21         2:10
adversaries 23:3      18:18             12:10 13:2          14:1,23 15:1,5    cyberly 14:7
adversary 3:1       big 18:6 23:15      15:23 19:20         16:2,4,7,11,14    cybersecurity
agencies 2:24       biggest 17:10       22:9                16:16,20,23         2:21,25 21:24
ahead 3:18 9:24       21:24           changed 10:4,6        17:1 19:7,12,18     22:4
aisle 20:2          black 19:24         22:25               20:16 22:9,24
                    blessed 4:13      chart 15:20 17:12   computers 18:19             D
al- 18:1
America's 22:6      blessing 4:18       17:18             concerned 20:10     Dallas 24:19
American 21:20        5:20 6:4        cheating 6:9          21:14             data 3:17,20,22
Americans 20:19     blood 16:17,18    checks 10:19        conclusion 19:13     7:10 8:25 9:17
amount 3:22         boy 2:10          China 2:4,19        confidence 17:4     date 9:22
answer 21:23,25     bring 6:5,14 9:16   8:10 9:5 10:8     confident 19:15     Davenport 24:17
anything's 7:6        15:21             15:14 17:8,16       23:7              day 9:23 20:4
Arizona 9:14        brought 3:13 6:5    18:21,21 20:24    contains 3:24        23:9
  18:2                13:3 19:1 20:13 Chinese 10:12       controlling 21:17   days 3:21 4:22
art 21:11             21:8            choose 20:5         correct 5:21 6:23   dead 6:10
asked 6:18 10:14    buck- 16:21       class 22:24           10:22 11:17,21    dealing 3:22
attack 2:18 13:15   bucket 16:21      code 11:3             12:3,13 14:22      10:24
  13:16 15:14                         colleagues 19:9       24:4              December 6:8
                             C                                                decision 20:6,14
  17:15 20:24                           21:8 22:7         counsel 24:6
                    C 24:1,1          collected 4:21      country 2:19 3:6    definitely 5:23
attacked 15:11      call 6:9 19:2
attacker 11:21                        collecting 6:13       3:9 15:14 17:10   definitive 14:2
                      23:10           combination           20:1,25 23:11     delete 22:21
attackers 22:11     called 4:2,3 13:4
attacks 9:18                            23:2              County 12:6         deleting 22:13
                      13:15           come 13:14 19:25    couple 3:8,21       Delta 12:6
  14:20 17:14,19    candidates 22:14 comes 11:15
  17:21 18:1,4,9                                            4:22 8:7 12:22    Democrat 15:18
                    Capitol 21:8

                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                         800.445.9548
                                          APP967
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 968 of 971

                                                                                             26
                   Absolutely 9-0 (2023-10-11_9-19-39)

  17:8 20:23      ev- 10:19           falls 20:2             14:17 15:19,24    held 21:7
Democratic 21:1 events 5:10           families 20:20         17:24 18:5,12     Hello 2:2 3:2,3
Democrats 21:2    everybody 3:11      far 20:10            going 2:14,15,17    heros 6:12 20:9
demonstration       4:19 6:14 10:21   fast 2:11              3:11,12 5:17      Hey 13:1
  21:7              14:15 15:8 17:3   fee 24:11              6:15,19 10:18     hired 2:12,13
destination 7:22    17:6,7,13 20:8    file 7:5,7             11:23 12:23       historical 18:22
detection 3:1       20:17,18 21:3     files 7:23             13:2,2 15:20      humanity 17:11
device 10:8         23:7,16           financially 24:9       17:13,19 20:9
Dickman 24:17     evidence 2:4,5      find 6:15            government 2:14             I
different 2:6       3:10 4:18,20      firewall 14:13         2:23           identify 7:10 8:18
  21:16             5:21 6:8,23       Firm 24:18           grab 8:24 9:6      11:12
DNA 6:23            14:2,7 15:11,24   first 9:21           grabbed 9:8      images 7:3
doctor 6:21         19:4 20:13        five 9:13,14 22:1    grandchildren    Inaudible 16:11
doctored 7:5        23:13             flaws 21:21            20:21          including 21:22
doing 8:13 19:14 exact 19:16          flip 8:18,19 14:19   great 5:15 19:8  information 2:25
  21:16 23:14     exactly 7:10 9:19   flipped 9:4 14:17    grew 20:19,20      3:16 4:8,14
Dominion 2:8      expect 15:25           15:17             guess 11:24        7:21 8:2 10:19
  15:15 18:20     experience 2:22     flipping 8:14        gun 15:9           11:17 12:17
Donald 14:16      expert 3:3,19 4:5   focused 6:11 10:5    guy 2:22         injected 18:7
  17:22,24 18:1,4   4:24,25 5:2,5     folks 21:9           guys 2:13,21 3:13intelligence 2:24
  18:10,13,16       5:12,22 6:2,24    following 4:22         3:14 4:14 5:1  interested 24:10
double 10:14        7:16,25 8:4,11    foolproof 9:13         6:12 8:23 13:3 intrusion 14:12
                    8:17,21 10:2,17   foregoing 24:3         20:8           IP 10:3 11:7,7
         E          10:23 11:5,10     forensic 6:22                         irrefutable 16:5,6
E 24:1,1            11:14,18,22          14:7                      H          16:9
Early 22:13         12:4,14,19 13:9   forensics 4:1 19:3   hack 21:15       it'd 20:12
easily 21:15        13:13,18,21       forth 4:10           hacked 12:3      it'll 7:2,2 20:7
easy 20:12,14       14:1,23 15:1,5    fortunate 4:13        15:16,16 21:5,9 item 7:1
election 2:5,17     16:2,4,7,11,14    found 6:8 21:21       22:7,16
  3:14 4:11,21                                             hacker 11:21               J
                    16:16,20,23          22:10
  5:25 6:13 9:5     17:1 19:7,12,18   four 9:9             hackers 2:13     January 2:3 3:12
  9:23 13:5 15:16   20:16             friends 20:22        hacks 8:10 14:20   4:20 6:6
  17:15 18:17     experts 2:12,21     full 24:12            17:7 18:9       job 23:12
  21:9 22:9 23:1    6:19 7:14         further 24:6,9,11    HALDERMAN justices 19:4 20:9
elimination 3:2   expires 24:20                             22:5,23           20:19
employed 24:7     explain 10:1                G            happened 4:15
                                                                                      K
encrypted 3:20      15:13             gained 22:17          7:10 14:16
ended 6:13                            Garcia 24:2,16        17:10 20:25     KLOBUCHAR
                  Expressway                                                  21:13
ends 23:19          24:18             Georgia 9:15         happens 5:10
enforcement 2:23 eyes 21:9              17:24 22:13        HARRIS 21:6      knew 13:4
entire 5:24                           given 14:19          hat 2:13         know 2:3,9,15
entry 12:5                 F          go 3:11,18 5:6,9     hatch 6:25 7:2     3:7,22 4:2,3,13
essentially 3:20  F 24:1                5:16,17,19 6:20    hear 14:4,5,10     5:9,10,23 6:3,7
  4:7,9 5:7 8:5   fact 12:16 21:17      8:2,18,18,24       heard 4:16,17      6:7,10 7:3,4,9
  10:4,7,11 11:6 fake 5:6               9:24 12:19,21       20:8              7:17,22 8:2 9:2
                                                                              9:3,9 10:4,12

                            Dickman Davenport, Inc
214.855.5100               www.dickmandavenport.com                            800.445.9548
                                          APP968
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 969 of 971

                                                                                        27
                   Absolutely 9-0 (2023-10-11_9-19-39)

 10:13,15,24       long 5:21 8:7        million 18:17,18    once 5:18 22:16
                                                                          22:12,15,18,23
 11:7,11 12:6,17     19:14 21:4         millions 3:16 9:4     23:17     point 4:9,9 5:15
 12:25 13:3,14     longitude 10:7        9:4 18:19          orchestrated 2:4
                                                                          6:6 12:6
 13:14,23 15:10    longitude/latit...   mitigation 3:1        17:8      politics 19:25
 19:8,9,14,14,15     12:2               moment 4:7          organic 6:9 powerful 23:2
 19:18,22,24       look 9:22 11:11      months 4:19 8:7     original 7:7practices 21:24
 20:1,2,3,5 21:2     14:10 17:20         15:10 17:5         outcome 22:19
                                                                        preserved 12:9
 22:5 23:8,10        20:10 23:16,17     months' 3:8           22:25 24:10
                                                                        PRESIDENT
knowing 20:12        23:17              movie 3:15,16       outcomes 22:1021:6
knows 17:3         looking 4:1 6:25      14:8               owner 11:12 pressed 5:24
                     7:4 19:15          movies 15:12                    pretty 22:24
          L        lost 18:13           moving 4:10           P         private 2:23
languages 10:25    lot 7:14,17,17 8:1                 p.m 9:23          probably 4:23
Latitude 10:6        8:12,13,22              N        packet 4:6,10 5:7 proof 13:7
law 2:23             13:13          need 4:11 5:8     packets 4:8,10    proportions
learn 2:11 6:15    luckily 5:24       23:8            paid 24:12          18:22
learned 2:10       LUTE 22:18       needed 8:18       paid/will 24:12   protocol 8:1
legitimate 22:3                     needs 7:7 20:4    paper 22:1        prove 12:23 22:2
let's 3:12 9:2,6          M         neighbors 20:21 part 10:10          Province/City
   12:24 17:12     machine 2:9 22:8 neither 4:23 24:6 particular 9:11     10:9
Lindell 2:2,3 3:5   22:8            network 10:10     parties 24:7      pull 2:17 7:10
   3:24 4:16 5:1,4 machines 2:8,8     11:3,11,11 12:7 Party 15:18 21:1    11:25 17:12,18
   5:11,14 6:1,4    2:19 15:15        12:8            PCAP 4:6 5:7 7:3 pulled 10:11 15:5
   7:12,24 8:3,6    18:20,21 21:4,9 night 3:14 4:21     7:19 10:11      put 3:7 22:3
   8:16,20,23       21:20 22:3,6,11   6:13 13:5       PCAPs 4:3 5:19
   10:16,20 11:2,9  22:13,17        nine 19:4 20:9,15   7:14 8:24 9:10           Q
   11:13,16,19,23 majority 19:22      20:19             9:17,19 11:17   quadruple 10:14
   12:5,18,21       19:23           nonnegotiable       12:9 13:4 14:22 questions 21:23
   13:11,17,20,25 making 10:18        12:11 20:14       15:6              21:25
   14:4,25 15:4,7 Man- 2:24         nonresidents      Pennsylvania      quite 23:3
   16:3,6,9,12,15  manipulate 22:19   6:10              9:14 17:20
   16:19,22,25      22:20           North 24:18       people 4:17 6:10           R
   17:3 19:11,17   match 7:7        November 6:8        15:10 19:9 23:9 R 24:1
   20:7,17 23:6    matter 20:22     number 22:22        23:10           range 11:11
line 9:21,25,25     23:5 24:5       numbers 14:21     percent 2:16,18   raw 3:20
   11:2,19 13:15   mean 3:20 6:12     14:24 15:3 22:2   9:12 12:11 13:7 rea- 18:15
lines 3:17 12:22    6:25 12:12                          13:10 19:6      reach 19:13
   14:11            13:10 14:24             O           20:13,24 21:20 read 4:22 9:20
list 12:24 13:6     16:13 19:22     obsolete 23:4     period 7:11       readable 9:1
   14:18            20:17           obviously  10:8   person 19:2       real 2:11 3:10 5:8
literally 8:10     means 22:2         12:25           perspective 21:12   16:1 19:19
little 9:12 16:17  Michigan 9:14    Oh  22:18         picked 21:1       realize 18:15
located 10:8        18:5,5,6,8,10   okay  5:14,16     piece 2:5 5:6       20:18
LOFGREN             22:25 23:1        6:15 7:12 8:20 PLAYING 21:6       really 6:25 13:1
   22:12           Mike 2:2 3:3       9:6,16 11:9,13    21:13,19 22:5     18:14,17
                                      11:16                             received 2:3

                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                          800.445.9548
                                            APP969
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 970 of 971

                                                                                               28
                    Absolutely 9-0 (2023-10-11_9-19-39)

reconnaissance      sabotage 22:11      sorts 22:19            23:10             transmitted 7:23
  8:14              sampling 17:22      source 7:22 9:25     tally 22:20,21      travels 4:9
record 4:12 5:8       17:25 18:3,9,25     10:3,6             target 11:20,24     triple 10:14
  5:13,24 7:19,19   saw 22:13           speak 11:21 14:9       11:25,25          true 19:6
recorded 4:14       saying 5:15 10:20   SPEAKER 22:15        target's 12:1       Trump 9:5 14:16
recording 2:1         12:15 14:21       Speaking 16:10       telling 4:19          14:18,19 17:22
  23:19 24:4,8        15:22 19:5        speaks 12:17         tens 18:18            18:1,4,10,13,16
recreate 5:9        says 11:19 14:16    specialize 3:1       Terri 24:2,16       two 15:10
registered 11:8       18:5              specific 14:24       Texas 24:3,16,19
  11:12             scene 6:22,22         15:2               text 23:9                   U
registration 11:6   sector 2:23         specks 16:17         thanks 3:4,5,6      undergrad 22:24
  12:7,8 24:18      security 21:21      specks- 16:17        that'd 12:1         unencrypt 7:9
related 24:7          22:24             spread 22:8          they'd 6:8          unfortunately
remember 17:6       see 9:3 15:8          23:12              thing 9:12 17:9      23:3
  17:14 18:6          18:13             start 3:12,12 7:8      18:6 19:16,23     UNIDENTIFI...
repeatedly 22:7     seeing 19:16          9:21               things 6:16,18       3:3,19 4:5,25
Reporter 24:2,17    seen 2:7            state 12:2 21:11       21:17 22:19        5:2,5,12,22 6:2
REPRESENT...        SENATOR 21:13         24:3               think 6:21 12:15     6:24 7:16,25
  22:12               21:19             states 9:13,14         17:11 19:8 20:3    8:4,11,17,21
Republican 17:9     serious 17:9          21:11,16 22:1        20:5               10:2,17,23 11:5
  20:23               21:21             steal 22:11          thousands 8:10       11:10,14,18,22
researchers         share 23:8,10       story 18:2             17:7,15 18:15      12:4,14,19 13:9
  21:21             Shorthand 24:2      stuff 3:13 6:11,17   three 21:14,17       13:13,18,21
resulted 10:5         24:17               12:8 15:12         time 4:7 5:6,8,16    14:1,23 15:1,5
revalidated 17:17   show 2:14 3:10      subjective 12:16       6:20 7:11,15,17    16:2,4,7,11,14
  17:17               3:17 9:19 17:5      15:23 16:12          12:9 13:4 19:14    16:16,20,23
right 2:20 3:17       17:6,13,19 19:3     20:13                21:4 23:5          17:1 19:7,12,18
  5:14,18 7:24        23:12             success 14:14,15     times 13:14          20:16 22:15
  8:3,6,10,16       showed 9:18         successful 8:13      to-the-vote 15:3    unique 7:1
  10:16 11:13         17:22             Suite 24:19          told 4:3 15:11      use 20:25 21:20
  12:9,18 13:20     sic 8:9             Supreme 2:16         tonight 2:14
                                                                                         V
  13:25 14:9,22     sides 20:2            15:20,21 18:24     top 9:21
  14:24,25 16:13    silently 22:9         20:9 23:15         traffic 7:20,20     validate 2:12
  16:15,18,19       simultaneously      sure 2:16 7:5        trail 22:1            9:10 10:15,21
  17:18 19:11,17      16:10               10:13,18 22:24     tran- 8:25          validated 3:9
  20:5,7 23:11      single 11:7 22:10   switch 18:18         transcribed 24:8      9:12 10:25 11:1
robbed 14:9         six 9:9             switching 22:14      transcription         17:17
robbing 13:23       small 17:22,25      systems 23:4           1:11 24:4,11      validating 8:8
  14:2                18:3,8                                 translate 8:5 9:1   validation 10:22
rounding 15:2       Smartmatic 2:8              T              10:13               10:25
rule 19:21          smoking 15:9        T 24:1,1             translated 9:18     values 7:1
ruling 19:21        somebody 5:24       take 6:17 8:25       translating 8:9     verify 7:3
run 3:21              11:8 13:22          9:9,24,25          translations        VICE 21:6
                    somebody's          taken 14:19            10:18             video 9:8 13:24
       S              13:23             talk 9:24 15:9       transmission 4:8      14:3,8 21:6,13
                                                                                   21:19 22:5,12

                              Dickman Davenport, Inc
214.855.5100                 www.dickmandavenport.com                            800.445.9548
                                            APP970
     Case 1:21-cv-02900-CJN Document 136-4 Filed 12/09/23 Page 971 of 971

                                                                                        29
                   Absolutely 9-0 (2023-10-11_9-19-39)

  22:15,18,23      what'd 9:9          100 2:16,18 9:12            7
  23:8 24:4        white 2:13 19:24     12:11 13:7,10      7-31-25 24:20
virus 22:9         win 15:18 23:15      19:6 20:13,24      75206 24:19
vote 10:4 19:5     wins 18:4,10,14     101 22:4 24:19
  22:20,22         Wisconsin 9:14      107,000 17:23               8
voters 21:20        18:12              11,779 17:25        8 16:1
  22:13            wish 12:24 13:6     11/3/20 9:23        80 18:17
votes 8:14 9:4     won 17:21,23,25     154,000-plus        80,000 17:21
  10:5 14:17,19     18:1,6,17           18:8               855-5100 24:20
  18:1,2,7,8,11    word 16:8 23:12
  18:13,14,19      work 2:13 3:6,7,8           2                    9
  22:11,14          7:7,9,13,13,15     20 2:22 7:13 8:24   9-0 1:12 2:17,17
voting 6:10,10      13:15               8:24,24 9:6,8        9:7 16:3 19:5
  21:20 22:2,6     working 2:22         9:10,18 10:5         20:7 23:18
vulnerable 22:6    works 19:2           17:7,14,15,16      9th 2:3 3:12 4:20
  23:3             world 13:2 23:9      17:16,19 18:9,9      6:6
                   worth 3:8            18:9,15
        W          Wow 5:11 6:1        20,000 18:13
want 9:16 10:13     13:17 15:4         2016 22:25
 12:22 13:11,19     16:22              2018 22:13
 13:20,21,22,23    WYDEN 21:19         2020 2:5 17:15
 14:6 15:19 17:5                       214 24:20
 17:6 18:23               X
wanted 6:15 9:11                               3
 9:12 14:4,9                Y          3 16:1
 15:13,17 23:1     y'all 14:10         3,215 14:17
warfare 19:3       yards 10:7          312 24:18
warned 21:3,3      yeah 3:5,19 4:5     35,000 18:1
wasn't 9:11          5:22 6:4,24       37,000 18:4
watching 3:18        7:16 8:11,21
                     10:2,23 11:5,18           4
 4:23 23:7
way 6:20,20 7:19     12:14 13:9,13     4 15:25
 14:18 15:25         13:22 14:23       400 10:7
 19:4 22:2           16:16,24 20:16    4228 24:18
ways 22:10,22      years 2:22 7:13     43 21:20
we're 3:18,22      Yep 12:4            48,000 18:10
 4:12 10:24        you-all 2:3         49,000 18:14
 11:23 19:15                                   5
                          Z
 21:14                                 5 15:25
we've 10:17                0           50,000 18:14
 19:14 22:7,10
weeks 9:9                  1                   6
weigh 19:10        1 16:1              6 15:25
went 2:6 9:8       10,000 18:2         6581 24:17
 11:20             10:49 9:23          68 18:18


                                Dickman Davenport, Inc
214.855.5100                   www.dickmandavenport.com                        800.445.9548
                                           APP971
